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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


STANDING ROCK SIOUX TRIBE;
YANKTON SIOUX TRIBE; ROBERT
FLYING HAWK; OGLALA SIOUX
TRIBE,
                                    Plaintiffs,
and
CHEYENNE RIVER SIOUX TRIBE,
                          Intervenor Plaintiff,     Case No. 1:16-cv-01534-JEB

           v.
U.S. ARMY CORPS OF ENGINEERS,
                                   Defendant,
and
DAKOTA ACCESS LLC,
                        Intervenor Defendant.



DECLARATION OF WILLIAM S. SCHERMAN IN SUPPORT OF DAKOTA ACCESS,
   LLC’S CONSOLIDATED (1) RESPONSE IN OPPOSITION TO PLAINTIFF
CHEYENNE RIVER SIOUX TRIBE’S MOTION FOR SUMMARY JUDGMENT AND
        (2) CROSS-MOTION FOR PARTIAL SUMMARY JUDGMENT

      I, William S. Scherman, declare as follows:

1.    I am a partner with the law firm of Gibson, Dunn & Crutcher LLP, counsel of record for

      Intervenor Defendant Dakota Access, LLC. I am a member in good standing of the Bar

      of this Court.

2.    The table below lists all exhibits cited in Dakota Access’s responses to both Cheyenne

      River’s and Standing Rock’s summary judgment motions. The exhibits common to both

      responses are attached herein, as are the new exhibits: DD-VV.
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EXHIBIT                           DESCRIPTION                             CITATION
    *=
 included    EXHIBITS CITED IN DAKOTA ACCESS’S RESPONSE
   as an      TO SRST’S MOTION FOR SUMMARY JUDGMENT
attachment
               Letter from Monica Howard to Brent Cossette, Nat. Res.
   A*                                                                     AR OAHE34
                          Specialist USACE (Oct. 21, 2014)

                                                                           D.E. 6-19
   B*                     Draft Environmental Assessment
                                                                          (AR 74119)

    C                SRST Comments on Draft EA (Jan. 8, 2016)              AR 69152

    D        SRST Supplemental Comments on Draft EA (Mar. 24, 2016)        AR 66166

             Letter from Dave Archambault, Chairman SRST, to Col. Joel
    E                                                                      AR 69809
               R. Cross, District Commander USACE (Aug. 19, 2015)

              Letter from Dave Archambault, Chairman SRST, to Martha
    F                                                                      AR 66548
                     Chieply & Joel Ames, USACE (Jan. 27, 2016)

              Letter from Dave Archambault, Chairman SRST, to Martha
    G                                                                      AR 66476
                     Chieply & Joel Ames, USACE (Feb. 12, 2016)

               Letter from Dave Archambault, Chairman SRST, to Col.
    H                                                                      AR 66360
               Henderson, District Commander USACE (Feb. 29, 2016)

             Letter from Dave Archambault, Chairman SRST, to Col. John
    I                                                                      AR 64280
               Henderson, District Commander USACE (May 11, 2016)

             Letter from Dave Archambault, Chairman SRST, to Col. John
    J                                                                      AR 64004
               Henderson, District Commander USACE (July 11, 2016)

                Letter from Jan Hasselman, Earthjustice, to Col. John
    K                                                                      AR 84802
               Henderson, District Commander USACE (Apr. 26, 2016)

   L*                     Final Environmental Assessment                   AR 71220

   M*                Mitigated Finding of No Significant Impact            AR 71174

                 Joint Statement from the Department of Justice, The
    N         Department of the Army and the Department of the Interior    D.E. 42-1
                                    (Sept. 9, 2016)

    O               Status Conference Transcript (Sept. 16, 2016)           D.E. 49
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             Letter from Jo-Ellen Darcy, Assistant Secretary of the Army, to
    P            Dave Archambault, Chairman SRST, & Kelcy Warren,                D.E. 56-1
                        Chairman and CEO ETP (Nov. 14, 2016).

              Public Statement of Department of the Army and Department
    Q                                                                            D.E. 56-2
                            of the Interior (Nov. 14, 2016)

              Memorandum from K. Jack Haugrud, Acting Secretary of the
    R           Interior, to Acting Solicitor, Department of the Interior       D.E. 127-15
                                     (Feb. 6, 2017)

             Memorandum for Record, from Col. John Henderson, District         D.E. 73-14 (AR
   S*
                      Commander USACE (Dec. 3, 2016)                            ESMT 652)

               Memorandum for the Commander, USACE, from Jo-Ellen
    T                                                                            D.E. 65-1
                Darcy, Assistant Secretary of the Army (Dec. 4, 2016)

                Presidential Memorandum Regarding Construction of the
    U                                                                            D.E. 89-1
                         Dakota Access Pipeline (Jan. 24, 2016)

    V            Congressional Notification of Intent to Grant Easement          D.E. 95-1

              Memorandum for the Record from Douglas Lamont, Senior
   W          Official Performing the Duties of Assistant Secretary of the       D.E. 95-2
                                Army (Jan. 24, 2017)

                    Notice of Termination of the Intent to Prepare an
    X                                                                            D.E. 95-3
                            Environmental Impact Statement

                                                                                 D.E. 96-1
   Y*            Final Easement for Lake Oahe Crossing (Feb. 8, 2016)
                                                                               (AR ESMT 1)

    Z                Declaration of Robert D. Comer (Mar. 6, 2017)

                    E-mail Exchange re: Cultural Resource Surveys
   AA                                                                            AR 64200
                                 (May 19–20, 2016)

   BB                   Summary of Comments Received on EA                       AR 72463

   CC                Declaration of Joey Mahmoud (Aug. 18, 2016)                 D.E. 22-1
All of the
following    EXHIBITS CITED IN DAKOTA ACCESS’S RESPONSE
    are       TO CRST’S MOTION FOR SUMMARY JUDGMENT
attached
               Declaration of Martha Chieply, Chief, Regulatory Branch
   DD                                                                            D.E. 21-18
                               USACE (Aug. 18, 2016)
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EE              Declaration of Joel Ames (Aug. 18, 2016)           D.E. 21-17

         Letter from Col. John Henderson, District Commander
FF                                                                 AR 64300
        USACE, to Harold Frazier, Chairman CRST (May 6, 2016)

         E-mail from Joel Ames, USACE, to Col. John Henderson,
GG                                                                 AR 64317
               District Commander USACE (May 3, 2016)

          Letter from Steven Vance, THPO CRST, to Col. John
HH                                                                 AR 67923
         Henderson, District Commander USACE (May 19, 2016)

        Letter from Steven Vance, THPO CRST, to Richard Harnois,
II                                                                 AR 68220
                 Sr. Field Archeologist CRST (May 2, 2016)

          Letter from Col. John Henderson, District Commander
JJ                                                                 AR 64062
        USACE, to Harold Frazier, Chairman CRST (June 22, 2016)

           Letter from Martha Chieply, Chief, Regulatory Branch
KK                                                                 AR 64120
          USACE, to Steven Vance, THPO CRST (June 13, 2016)

LL                         Section 408 Permit                      AR 71180

MM              Form Letter from USACE (Oct. 24, 2014)             AR 67130

        Letter from Steve Vance, THPO CRST, to Richard Harnois,
NN                                                                 AR 69815
               Sr. Field Archeologist USACE (Aug. 17, 2015)

         Letter from Col. John Henderson, District Commander
OO                                                                 AR 69758
        USACE, to Harold Frazier, Chairman CRST (Sep. 3, 2015)

            E-mail from Joel Ames, USACE, to Harold Frazier,
PP                                                                 AR 66310
                      Chairman CRST (Mar. 7, 2016)

         E-mail from Joel Ames, USACE, to Larry Janis, USACE
QQ                                                                 AR 64289
                            (May 9, 2016)

RR             Form Letter from USACE (Dec. 4 2013 [sic])          AR 67166

          Letter from Martha Chieply, Chief, Regulatory Branch
SS                                                                 AR 70663
          USACE, to Steven Vance, THPO CRST (Feb. 17, 2015)

                 E-mail from Jeff Breckenridge, USACE,
TT                                                                 AR 70574
                 to Devetta Hill, USACE (Mar. 23, 2015)

UU            Michels Corporation HDD Drilling Experience
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               Declaration of Jonathan Shelman, Environmental Resource
     VV                                                                          D.E. 21-20
                           Specialist USACE (Aug. 18, 2016)




3.    Exhibit UU consists of information from a document prepared by Michels Corporation,

      Dakota Access’s horizontal directional drilling contractor. The underlying document

      shows the experience of Michels Corporation with horizontal directional drilling of long

      bores (i.e., those over 7,000 feet) in the United States and Canada.




Executed on March 23, 2017


                                                           /s/ William S. Scherman
                                                           William S. Scherman
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  EXHIBIT A
      Case
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        DAKOTA ACCESS, LLC
        A n E N E R G Y T R A N S F E R Company




VIA CERTIFIED MAIL and EMAIL


October 21, 2014

Brent Cossette
Natural Resource Specialist
Environmental Stewardship
CENWO-OD-TN
United States Army Corps o f Engineers, Omaha District
1616 Capital Avenue, Suite 9000
Omaha, NE 68102
BrentJ.Cossette@usace.army.mil


Re:     Request for Pipeline Easement and Temporary Construction License for the
        Proposed Dakota Access Pipeline Project at Lake Oahe

Dear Mr. Cossette:

Dakota Access, LLC, is proposing the Dakota Access Pipeline (DAPL) Project; an approximate
1,100 mile long, 30-inch diam eter light crude oil pipeline project beginning near Stanley,
North Dakota, and routing through South Dakota, Iowa and ending at Patoka, Illinois. DAPL is
proposed to cross the Missouri River (Lake Oahe) on the boarder o f M orton and Emmons
Counties in North Dakota. Dakota Access understands that this crossing involves COE owned
and controlled lands on both sides of this waterbody (Figure 1).

Dakota Access is currently securing access rights on private and COE lands to perform
geotechnical analysis of the subsurface at this crossing to determ ine a feasible crossing
method. It is currently anticipated that the pipeline w ill cross Lake Oahe via Horizontal
Directional Drill (HDD). The proposed pipeline is routed across the Lake where tw o linear
utilities already exist, an overhead powerline and a buried natural gas pipeline.

The purpose of this letter is to form ally request the COE easement process be initiated as
well as the process fo r DAPL to secure a tem porary construction license.

DAPL Project Crossing and Easement Information
The proposed pipeline will cross Lake Oahe and COE lands on both the east and west side of
the waterbody. The proposed crossing is located in Section 10, Township 134 North, Range
79 West in M orton County, North Dakota, and Section 11, Township 134 North, Range 79
West in Emmons County, North Dakota (Figure 1).




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         DAKOTA ACCESS, LLC
         A n E N E R G Y T R A N S F E R Company




Dakota Access is securing a 50 fo o t wide permanent easement along the entire Project
alignment that is generally centered on the pipeline (i.e. 25 feet on either side of the
centerline). Dakota Access understands that the distance from the western boundary of COE
owned lands to the eastern boundary of COE lands on both sides of the lake at the proposed
crossing location is approxim ately 6,450 feet. The final length of the requested easement will
be determined upon final design of the crossing subsequent to perform ing a geotechnical
analysis.


A tem porary construction license is also requested at this tim e due to the current uncertainty
of the HDD layout and if any conventional pipeline installation w ill be required, if either or
both the HDD e n try/exit point would be located w ithin COE lands, if access to the waterbody
would be required fo r tem porary w ater rights, etc.                     The proposed typical construction
easement fo r the DAPL is 150 feet wide (and includes the 50 feet of permanent easement).
HDD entry/exit points are typically 200 feet or 250 feet square. All dimensions will be firm ed
up in the Environmental Assessment to be prepared based on design that is currently
ongoing.


We appreciate your assistance w ith this request fo r a permanent easement and tem porary
construction license at Lake Oahe. We understand this form al DAPL Project request fo r a
pipeline easement and tem porary construction license from the COE w ill officially initiate the
COE easement process. Should you have any questions or comments, or require any other
inform ation            fo r        this           request,   please   contact   me     at    713.989.7186,
Monica.Howard@ energytransfer.com, or at Dakota Access, LLC, c/o Monica Howard, 1300
Main Street Rm 14.030, Houston, TX 77002.



Sincerely,

Dakota Access, LLC




Monica Howard
Director Environmental Sciences

cc:     Phillip Sheffield, COE Natural Resource Manager Oahe Project

Enc.    Figure 1 - Preliminary Proposed Easement at Missouri River/Lake Oahe


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                                                                                                                                                      Figure 1                                                                  O         M ilepost
            0                 1,000                   2,000
                                                               Feet
                                                                                                                                           Dakota Access, LLC                                                                 / \ /       Route
                                                                                  (i                                                  Dakota Access Pipeline Project
                   1 inch = 2,000 feet                                                                                                                                                                                                    Tracts
    ?ierjent                                                                                                                                 at Missouri River/Lake Oahe                                                      k y /l Proposed 50ft Easem ent
F o r E n v iro n m e n ta l R e v ie w P u rp os e s O n ly




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               DRAFT
      ENVIRONMENTAL ASSESSMENT
        Dakota Access Pipeline Project
      Crossings of Flowage Easements
                     and Federal Lands



                              Prepared by:

                       Dakota Access, LLC
                              1300 Main Street
                             Houston, TX 77002




                              Prepared for:

       U.S. A rm y Corps of Engineers - O m ah a District
                       1616 Capitol Avenue, Suite 9000
                             Omaha, NE 68102




                            Septem ber 2015




DAKOTA ACCESS, LLC



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Appendix J:    Sample Scoping Letter, D istribution List, and Comments Received
Appendix K:    Notice o f Availability o f Draft Environmental Assessment (EA) fo r Comm ent -pending




IV




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September 2015




                                            EXECUTIVE SUMMARY

In accordance w ith th e National Environmental Policy Act (NEPA) and im plem enting regulations, the
fo llo w ing Environmental Assessment (EA) has been prepared to evaluate the effects of the Dakota Access,
LLC (Dakota Access) Dakota Access Pipeline Project (Project or Proposed Action), which w ould cross lands
owned by the federal governm ent or cross lands th a t have federal governm ent flow age easements under
management by the U.S. Arm y Corps o f Engineers (Corps). Specifically th e Proposed Action crosses
federal flow age easements near the upper end of Lake Sakakawea north o f th e Missouri River in W illiams
County, N orth Dakota and crosses federally owned lands at Lake Oahe in M orton and Emmons counties.
North Dakota.

This EA was prepared by Dakota Access fo r the Project on behalf o f the Corps as the non-federal
representative fo r compliance w ith the NEPA Act o f 1969, th e Council on Environmental Q uality (CEQ)
Regulations (40 Code o f Federal Regulations (CFR) 1500-15-8), Corps o f Engineers Regulation ER 200-2-2
(33 CFR Part 230), and related environm ental compliance requirem ents fo r these crossings, including the
National Flistoric Preservation Act (Section 106). Tribes, Tribal Flistoric Preservation Offices, State Flistoric
Preservation Offices, th e Advisory Council on Flistoric Preservation, and interested parties w ere consulted
by Corps Omaha District personnel as required through th e ir Programmatic Agreem ent w ith tribes th a t
reside w ith in th e Missouri River basin.

The Corps takes ownership o f this EA and incorporates findings w ith in as part o f stipulations to issue a
real estate easement and consent to cross flowage easements (federal actions) to Dakota Access fo r the
proposed activity. This action is being com pleted in accordance w ith CEO regulations in Section 1506.5(a)
and 1506.5(b), w hich allow an applicant to prepare an E A forfederal actions. The Corps has independently
evaluated and verified th e info rm atio n and analysis undertaken in this EA and takes full responsibility fo r
th e scope and content contained herein.

Based upon extensive route analysis route and system alternatives, including the preferred route
(Proposed Action), no action, system options, and various transportation options, th e preferred
alternative was chosen, because it best meets the purpose and need w hile avoiding, minimizing, and
m itigating environm ental impacts. It w ould also fo llo w the greatest length o f existing disturbed linear
u tility corridors, traverse p roperty whose landowners have previously granted permissions fo r similar
projects, and w ould m inim ize the num ber o f perm anent aboveground launchers/receivers and valve sites.

Impacts on the environm ent w ould be tem porary and not significant as a result of avoiding, minimizing,
and m itigating any potential impacts. Impacts on th e Missouri River/Lake Oahe are avoided by installing
th e pipeline via horizontal directional drill (FIDD) beneath th e feature. Impacts on wetlands are lim ited to
vegetation maintenance in th e perm anent pipeline easement. No known cultural resources w ould be
impacted by th e proposed Project. Dakota Access w ould com ply w ith all applicable local, state, and
federal regulations and perm its associated w ith the construction o f the Project. Thus, construction o f the
proposed Project is not expected to have any significant direct, indirect, or cum ulative impacts on the
environm ent.




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                                           1.0      INTRODUCTION

In coordination w ith the U.S. Arm y Corps o f Engineers (Corps), the Applicant, Dakota Access, LLC (Dakota
Access) as th e non-federal representative fo r compliance w ith th e National Environmental Policy Act of
1969 (NEPA), the Council on Environmental Q uality (CEQ) Regulations (40 Code o f Federal Regulations
(CFR) 1500-15-8), Corps o f Engineers Regulation ER 200-2-2 (33 CFR Part 230), and related environm ental
compliance requirem ents, prepared this Environmental Assessment (EA) fo r th e Dakota Access Pipeline
(DAPL) Project (Project or Proposed Action). Dakota Access is proposing to construct a new crude oil
pipeline th a t w ould provide transportatio n service fro m points of origin in th e Bakken and Three Forks
plays in North Dakota through portions o f South Dakota and Iowa to a term inus in Patoka, Illinois (Figure
1). The operator o f the Project is DAPL-ETCQ Qperations Management, LLC.

1.1     DAPL Project Location

The overall proposed DAPL route is an approxim ate 1,100 mile long crude oil pipeline project beginning
near Stanley, North Dakota, and ending at Patoka, Illinois. In North Dakota, there are tw o pipeline
segments, including the 148-mile Supply Line and th e 210 mile M ainline, which to ta l approxim ately 358
miles across seven counties (M ountrail, W illiams, McKenzie, Dunn, Mercer, M orton, and Emmons). The
diam eter o f the pipeline increases increm entally at designated tank term inals from 12 inches to 20, 24,
and ultim ately, 30 inches. The DAPL pipeline is co-locating w ith existing pipelines and other linear facilities
to the extent practical.

1.2     Purpose and Need of the Project

The Project purpose is to efficiently and safely tra n sp o rt crude oil from th e Bakken and Three Forks
production region in North Dakota to a crude oil m arket hub located near Patoka, Illinois. The Dakota
Access Pipeline is being designed to safely carry 570,000 barrels per day (bpd) or more o f crude oil
(approxim ately 450,000 bpd initially) through th e states o f North Dakota, South Dakota, Iowa, and Illinois
and ultim ately term in atin g in Patoka, Illinois. From th e Patoka hub, the crude oil w ould be transported by
o th er pipelines to refineries located in th e M idw est and the Gulf Coast, where 80% o f th e U.S. refining
capabilities exist today to fu rth e r th e country's goal o f energy independence and support th e U.S.
consumer's energy demand.

1.3     Authority and Scope of the EA

The proposed Project crossings o f Corps-owned lands and easements w ould require real estate actions
and regulatory perm its from th e Corps, which are th e federal actions associated w ith this EA.

To obtain com m ents on th e EA and Project, Dakota Access sent a request fo r com m ent le tte r on behalf of
th e Corps as the non-federal representative fo r compliance w ith NEPA, th e CEQ Regulations (40 CFR 1500-
15-8), Corps o f Engineers Regulation ER 200-2-2 (33 CFR Part 230), and related environm ental compliance
requirem ents fo r these crossings. In addition to other requirem ents, th e Lake Qahe and Missouri River
crossing portions o f this Project shall com ply w ith the National Flistoric Preservation Act (Section 106).
Further, tribes. Tribal Flistoric Preservation Qffices, State Flistoric Preservation Qffices, th e Advisory
Council on Flistoric Preservation, and interested parties w ere consulted w ith by Corps Qmaha District




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personnel as required through th e ir Programmatic Agreem ent w ith tribes th a t reside w ith in the Missouri
River basin.

These crossings require Departm ent o f the Arm y (DA) authorization under Section 404 o f th e Clean W ater
Act (CWA Section 404) a n d /o r Section 10 o f th e Rivers and Harbors Act (Section 10). Separate Corps
authorizations are being sought fo r Section 404, Section 10, and Section 408 crossings along th e route.
The Corps Regulatory branch is evaluating each separate and distinct crossing of waters of the United
States as a single and com plete project, consistent w ith th e requirem ents o f Nationwide Perm it 12 (NWP
12) fo r u tility lines. A single and com plete project includes crossing a single w ater at a specific location.

This effect analysis is being com pleted in accordance w ith CEQ regulations in Section CFR 1506.5(b), which
allow an applicant to prepare an EA fo r a federal action in coordination w ith the lead federal agency (i.e..
Corps). The Corps w ill make a final determ ination regarding compliance of th e activities w ith NEPA and
NWP 12 w ith the com pleted inform ation contained herein. The Corps independently evaluated and
verified the inform ation and analysis undertaken in this EA and takes full responsibility fo r the scope and
content contained w ithin.




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                                             2.0      ALTERNATIVES

The Project w ould be Energy Transfer's (Company's) firs t asset in the state. For this reason, the
m anipulation o f operating pressures to increase transport capacity in pipelines or altering existing
infrastructure to increase storage and transport capacity are not viable options to m eet the Project's
objectives or shippers' demands. Shipping and routing alternatives w ere evaluated fo r th e pipeline route
as a w hole, including through the Proposed Action Areas, which are th e focus o f this evaluation and
discussed below.

2.1      Alternatives Considered but Eliminated from Detailed Analysis

2.1.1    Alternative 1 - Trucking Transportation Alternative

Currently, due to a lack o f tra nsp ort capacity in the W illiston Basin, approxim ately 1% o f th e crude oil is
moved via truck (Kringstad, 2014). W hile trucking is instrum ental in th e gathering and distribution of
crude on a lim ited scale, trucking as an alternative fo r transporting th e volum e of crude oil th e distances
planned fo r th e Project is not viable. Factors such as road safety, roadway capacity, and a lack of reliability
due to seasonal constraints, in addition to other logistical issues involving availability o f labor force, tra ile r
truck capacity, and economics, all contribute to truck transportation not being a realistic alternative.

A sharp increase in tra ffic on North Dakota roads as a result o f th e rapid expansion in th e num ber o f
commercial trucks linked to the oil industry speaks to th e issues associated w ith road safety. In 2012, the
Federal M o to r Carrier Safety A dm inistration reported a tra ffic fa ta lity rate in North Dakota of 0.48 per
m illion vehicle miles traveled, w ith 48 deaths involving a bus or large truck, fa r surpassing any o ther state
(U.S. D epartm ent o f T ransportation [DOT], 2014). In th e pre-boom years o f 2001 to 2005, there was an
average o f only 13 annual deaths involving commercial trucks. Furtherm ore, th e economic cost of severe
truck crashes has m ore than doubled between 2008 and 2012. Much of th e increase in th e fa ta lity rate
can be a ttrib u te d to th e energy production boom, along w ith th e fact th a t the state's infrastructure still
consists o f single-lane, rural, and unpaved roads in many areas (Bachman, 2014). Flarsh w in te r w eather
and seasonal road restrictions com prom ise th e reliability o f truck transportation even further.

To m eet shippers' demands, Dakota Access plans to transport 450,000 bpd approxim ately 1,100 miles
across fo u r states. A pipeline is a safer and more economical alternative than trucking fo r th e volumes
transported and distances covered by the Project. Assuming the average oil tanker truck is capable of
holding about 220 barrels of oil, the transportation of 450,000 bpd w ould require a to ta l o f 2,045
(450,000/220) full trucks to depart th e proposed tank term inals daily, and m ore than 85 (2,045/24) trucks
w ould have to be fille d every hour w ith a 24-hour/day operation.                 Time spent in transit,
loading/offloading, and additional tim e fo r m aintenance w ould add to th e num ber o f trucks needed to
offset fo r the Project.

Analysis o f infrastructure considerations (the burden o f thousands o f additional trucks on county, state,
and interstate highways, as well as th e loading and offloadingfacilities th a t w ould have to be constructed),
economic considerations (e.g., labor costs, purchase and maintenance o f hauling equipm ent, fuel, public
infrastructure, etc.), and reliability considerations (e.g., w eather, mechanical, m anpower, road closures)
all contribute to making the tru ck transportatio n alternative unviable.




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2.1.2    Alternative 2 - Rail Transportation Alternative

Reliance on rail as a transportation m ethod in the W illiston Basin has drastically increased in recent years,
carrying a negligible percentage of the overall m arket share as recently as 2010 to nearly 60% of the
overall m arket share by m id-2014 (Nixon, 2014). The rise in the use o f rail as a prim ary transportation
m ethod has been driven in large part by th e rapid increase in production o f crude oil coupled w ith a lack
o f pipeline capacity to account fo r additional supplies.

Negative impacts fro m th e grow th in popularity o f rail as a m ethod o f long-distance transportation of
crude oil include delays th a t disrupt the agricultural sector, reductions in coal-fired pow er plant
inventories, and significant production issues in th e food production industry. In August 2014, reports
filed w ith th e federal governm ent indicated th a t the Burlington Northern Santa Fe Railway had a backlog
o f 1,336 rail cars w aiting to ship grain and o ther products, w hile Canadian Pacific Railway had a backlog
o f nearly 1,000 cars (Nixon, 2014). For industries, such as those listed, in which th e use o f pipelines is not
an option, th e only viable alternative w ould be increased reliance on trucking, which w ould exacerbate
some o f the issues listed in the section above.

Assuming a carrying capacity o f 600 barrels per car, a to ta l o f 750 rail cars w ould be required to depart
the tank term inal daily to tran spo rt 450,000 barrels o f crude oil to its final destination. Loading and
offloading 750 rail cars in a day w ould require servicing m ore than 31 rail cars per hour. W ith an
assumption of 125 rail cars per train, six trains w ould have to depart the tank term inal every day. W ith
10 to 12 trains currently leaving the state per day carrying Bakken crude, the DAPL Project w ould represent
a 50 to 60% increase in th e num ber o f trains transporting crude oil out o f th e state, likely exacerbating
issues w ith delays (Florwath and Owings, 2014).

Rail operations on the scale o f th e DAPL Project do not exist in th e U.S. An oil-by-rail facility designed to
handle an average o f 360,000 bpd has been proposed in th e Port o f Vancouver, W ashington. Known as
the Vancouver Energy proposal, the project w ould be the largest rail term inal in th e country (Florip, 2014).
A rail transp orta tio n alternative to handle the volumes o f the DAPL Project w ould require the design and
construction o f 125 to 158% o f th a t o f the Vancouver Energy proposal.

From a safety standpoint, railroad tra nsport consistently reports a substantially higher num ber o f
tran spo rtatio n accidents than pipelines (DOT, 2005). A series o f m ajor accidents taking place in 2013 to
2014 in Canada and the U.S. has heightened concern about th e risks involved in shipping crude by rail
(Fritelli, 2014).

W hile rail tanker cars are a vital part o f the short-haul distribution netw ork fo r crude oil, pipelines are a
m ore reliable, safer, and m ore economical alternative fo r the large volumes transported and long
distances covered by th e DAPL Project. As such, rail transportation is not considered a viable alternative.

2.1.3    Alternative 3 - Route Alternatives

M ajor route alternatives were evaluated fo r the pipeline route as a whole. During th e Project fatal flaw
analysis and early routing process, Dakota Access utilized a sophisticated and proprietary Geographic
Inform ation System (GlS)-based routing program to determ ine th e pipeline route based on m ultiple
publicly available and purchased datasets. Datasets utilized during the Project routing analysis included




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engineering (e.g., existing pipelines, railroads, karst, powerlines, etc.), environm ental (e.g., critical habitat,
fa u lt lines, state parks, national forests, brownfields, national registry o f historic places, etc.), and land
(e.g., fee owned federal lands, federal easements, dams, airports, cemeteries, schools, mining, and
m ilitary installations, etc.).

Each o f these datasets w ere w eighted based on the risk (e.g., low, m oderate, or high based on a scale o f
1,000) associated w ith crossing or fo llo w ing certain features. In general, the route fo r the pipeline w ould
fo llo w features identified as low risk, avoid or minimize crossing features identified as m oderate risk, and
exclude features identified as high risk. For example, th e existing pipelines dataset was w eighted as a low
risk feature, so th a t th e routing to o l follow ed existing pipelines to th e extent possible to minimize
potential impacts. An example o f a high risk feature is the national park dataset. Since national parks
were w eighted fo r this Project as high risk, th e GIS routing program excluded any national parks from the
pipeline route to avoid impacts on these federal lands.

Early in th e routing phase o f th e Dakota Access Project described above, th e centerline originated in
Stanley, North Dakota w ith in M ountrail County w here it connected to custom er receipt points and headed
southw est through W illiam s County and crossed th e Missouri River approxim ately 8.5 miles east o f the
Yellowstone River and Missouri River confluence (Figure 12). The centerline then headed southeast across
the state and crossed Lake Oahe approxim ately 10 miles north o f Bismarck (Figure 13) and entered South
Dakota approxim ately 35 miles east o f Lake Oahe in McIntosh County.

A fter review o f the route alternative using publically available datasets, concerns w ith some o f the areas
crossed by the route im m ediately rem oved this route alternative as a feasible option. The route
alternative was in proxim ity to an d /o r crossing m ultiple conservation easements, habitat management
areas. National W ildlife Refuges, state tru s t lands, w aterfow l production areas, and private tribal lands.
Since the route alternative crossed north o f Bismarck, wellhead sourcewater protection areas were
prevalent due to th e proxim ity o f th e city. The route alternative also crossed an area o f th e state th a t is
characterized by a m ore w e t landscape when compared to some o f the o ther regions o f the state.

In addition to concerns over th e environm entally sensitive areas described above, the route alternative
included approxim ately nine additional miles o f pipeline to cross north o f Bismarck. It was also estim ated
th a t an additional 10 to 15 miles o f pipe w ould be needed to avoid th e wellhead sourcewater areas near
Bismarck and other exclusion areas identified in the GIS routing program, as previously referenced. The
additional nine miles o f pipeline to cross north o f Bismarck w ould add an exceedance of approxim ately
145 acres o f workspace to get to the custom er receipt points. This increase in pipeline distance to avoid
the Corps fee-ow ned properties at Lake Oahe w ould significantly increase not only the cost o f the Project,
but also the area of disturbance and potential environm ental impacts.

W hile th e route alternative w ould avoid crossing Corps fee-owned properties at Lake Oahe, the
abundance o f easement and triba l properties, potential environm ental impacts, and significant cost
increase result in the route alternative not being a viable option fo r Dakota Access to m eet th e purpose
and need of the Project.

Crossing the Missouri River at a location th a t does not contain flowage easements w ould move the
centerline w est o f th e flow age easements in W illiam s County. This was not considered, given th a t this
w ould require approxim ately eight additional miles o f pipe, an exceedance of an additional 130 acres of




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workspace, and another m ajor river crossing (Yellowstone River) in addition to the Missouri River.
Furtherm ore, state and federal properties are located along the river west o f th e confluence of Missouri
and Yellowstone Rivers.

2.1.4    Alternative 4 - M ajor W aterbody Crossing Alternatives

Once an optim al route was selected based on the evaluation of impacts discussed in Section 2.1.3, Dakota
Access then identified th e preferred m ajor w aterbody crossing construction m ethod th a t w ould m eet the
purpose and need w hile m inim izing impacts to resources. Pipeline construction methods utilized at
w aterbody crossings are highly dependent on th e characteristics o f th e w aterbody encountered. A variety
o f w aterbody crossing techniques w ere considered during the Project planning stages fo r the crossings of
m ajor w aterbodies, including Dam and Pump, Flume, Open-Cut, and Florizontal Directional Drill (FIDD).

Three possible w aterbody crossing methods involving th e excavation o f a trench on the bottom o f the
w aterbody are typically em ployed on pipeline construction projects. Two d iffe re n t techniques, including
dam and pump and flu m e crossing methods, are typically used on w aterbody crossings well under 100
fe e t in w id th and require a tem porary diversion o f flo w w ith in th e w aterbody. Because of th e large
volum e o f w a ter w ith in the Missouri River system, it is n o t feasible to te m porarily divert the w ater either
by pum p or flum e, and these m ethods were ruled out o f consideration fo r the crossing o f th e Missouri
River and Lake Oahe.

Aside from trenchless or FIDD crossing techniques, the only feasible crossing m ethod fro m a
constructability standpoint fo r the m ajor w aterbodies associated w ith the Proposed Action is the w et
open-cut crossing m ethod, in which flo w w ould be m aintained th ro u g h o u t installation of th e pipeline.
This m ethod o f construction w ould require th e construction right-of-w ay (ROW) to extend right up to the
w aterbody itself, allow ing equipm ent to operate fro m the banks o f the w aterbody to excavate a trench.
The sensitive habitat adjacent to the banks o f the w aterbodies w ould be cleared of vegetation and graded
to create a safe and level workspace th a t could accom m odate excavation equipm ent and spoil storage fo r
the duration o f th e open-cut installation (approxim ately 6 m onths). Since the w idths o f the Missouri River
and Lake Oahe at the crossing locations is such th a t operating trenching equipm ent entirely from the
banks w ould not be possible, trench excavation in th e w aterbodies w ould require equipm ent operating
from barges. Furtherm ore, th e depth o f the w aterbodies crossed (15 to 25 feet) exceeds th e reach o f a
backhoe, and th e use o f mechanical dragline dredgers w ould be necessary. Spoil dredged fro m the
bottom o f th e w aterbody w ould be stored on a spoil barge or otherw ise te m p o ra rily stockpiled in the
w aterbody itself. This m ethod of excavation w ould greatly influence the overall sedim ent load generated
in th e w aterbody fo r the duration o f th e installation. The generation o f a downstream tu rb id ity plume
w ould have a direct effect on th e aquatic habitat o f th e waterbody. In addition, th e operation o f
equipm ent w ith in and on th e banks o f the w aterbody has the potential fo r adverse effects on surface
w ate r quality (i.e., potential contam ination o f surface w ater resources fro m fuel or leaks from the
equipm ent). Compared to trenchless technology, the open-cut m ethod w ould incur fa r greater impacts
on sensitive habitat located on both the banks o f the waterbodies and w ith in th e waterbodies. Therefore,
this m ethod o f construction was elim inated fro m consideration.

The trenchless construction m ethod known as horizontal directional drilling (FIDD) was selected as the
preferred construction m ethod o f the Proposed Action, because this m ethod o f construction involves far
less impacts on resources. In addition, the Garrison Project - Lake Sakakawea Oil and Gas Management




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Plan explicitly states th at: Oil and gas pipelines should use directional drilling technology to traverse
beneath sensitive habitat areas. Further inform ation regarding the HDD construction m ethod is provided
in Section 2.3.2.6 below.

2.2     No Action Alternative

Under the "no action" alternative, Dakota Access w ould not construct the proposed Project. The "no
action" alternative w ould not provide the infrastructure necessary to transport light sweet crude oil to
refining facilities. In n orthw est North Dakota, exploration and production o f oil is a m ajor economic
activity, w ith crude oil production being the prim ary mineral resource o f interest. Although the "no
action" alternative itself w ould not incur environm ental impacts, it w ould also not address th e existing
demand to tran spo rt crude oil to refining facilities.

It is purely speculative to predict the resulting effects and actions th a t could be taken by another company
or Dakota Access' shippers and any associated direct or indirect environm ental impacts in response to the
"no action" alternative.       However, th e "no action" alternative has been carried forw ard in the
environm ental analysis of this EA to provide a comparison between it and the impacts of im plem enting
the Preferred Alternative.

2.3     The Proposed Action (Preferred Alternative)

2.3.1    Location and Detailed Description of the Proposed Action

The DAPL Project originates near Stanley, North Dakota, traversing westerly northw est o f W illiston then
tu rn ing south, crossing th e Missouri River and traverses southeasterly across th e state, exiting through
the central portion o f th e southern border. Dakota Access proposes to construct the pipeline, ranging in
size fro m 12 to 30 inches in diam eter, so th a t the m ajority o f lands crossed w ould be privately-owned
lands. The locations fo r collecting product into th e proposed system were largely fixed based on results
o f the open season, which guided th e routing o f th e supply line. Connecting th e input locations was largely
a m a tte r o f m inim izing length and maximizing the avoidance o f sensitive features, developments, public
lands, and constructability issues (e.g., steep terrain, potholes, excessive bedrock, etc.), as discussed
above. Based on the location o f the collection points, crossing the Missouri River (Lake Sakakawea) was
unavoidable. The selected crossing location o f th e Proposed Action avoids federally-ow ned lands to the
extent practical, is at a narrow w id th o f the river upstream o f the w ider Lake Sakakawea, and minimizes
impacts on sensitive resources (e.g., piping plover critical habitat, eagle nests, etc.). The pipeline is 24
inches in diam eter w here it crosses approxim ately 14,942 fe e t (2.83 miles) o f th e Corps flowage
easements at the Missouri River and is 30 inches in diam eter w here it crosses approxim ately 1,109 feet
(0.21 mile) of the Corps-owned federal lands at Lake Oahe.

W ithin North Dakota, the proposed Supply pipeline crosses seven tracts o f flowage easement retained by
the Corps located north o f th e Missouri River in W illiam s County (Figure 2). The proposed DAPL Project
M ainline route travels through land owned and managed by the Corps on both sides o f th e Lake Oahe
crossing at the border between M orton and Emmons counties (Figure 3). These lands, and th e associated
Project im pact acreages, expressed as construction workspace, are identified in Table 2-1 below.




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                                                 Table 2-1
                                 Flowage Easements and Federal Land Crossings
                                                                             Construction Workspace W ithin
      Grant o f Easement Document Number                   County
                                                                                      Tract (acres)
 Flowage Easements
 LL3440E                                                  Williams                          9.4
 LL3483E-1                                                Williams                         10.8
 LL3453E                                                  Williams                         10.7
 LL3430E                                                  Williams                          5.0
 LL3450E-2                                                Williams                          5.2
 LL3431E                                                  Williams                         14.7
 LL3426E-2                                                Williams                          3.4
                                      Total Acres             -                            59.2
 Federally-Owned Lands
 Federal Land                                              Morton                           0.4
 Federal Land                                             Emmons                            0.8
                                      Total Acres             -                             1.2


The EA review area includes areas w ith in th e Corps flowage easements and federal lands th a t are
potentia lly impacted by construction an d /o r operation of th e Project. The EA review area is hereafter
referred to as the Project Area(s). Actions th a t occur outside o f th e flow age easements and th e federal
lands at th e Lake Oahe crossing are considered Connected Actions. Connected Actions are those actions
th a t are "closely related" and "should be discussed" in th e same NEPA docum ent (40 CFR § 1508.25 (a)(i)).
Actions are connected if they autom atically trigger other actions th a t may require an EA, cannot or w ill
not proceed unless other actions are taken previously or sim ultaneously or if th e actions are
interdependent parts o f a larger action and depend upon the large action fo r th e ir justification (40 CFR §
1508.25 (a)(i, ii, iii)). Connected Actions are lim ited to actions th a t are currently proposed (ripe fo r
decision). Actions th a t are not ye t proposed are n o t Connected Actions, but may need to be analyzed in
the cum ulative effects analysis if they are reasonably foreseeable. The only Connected Actions associated
w ith the Proposed Action are those th a t relate to the FIDD workspace at the Missouri River crossing and
the FIDD workspace, FIDD stringing area, and th e perm anent easement on private lands in the vicinity of
the Lake Oahe crossing.

Dakota Access initially proposed an isolation valve to be located w ith in the flowage easements (easement
LL3453E); however, the Omaha District has assessed th e potential fo r open w ater and ice jam flooding
w ith in th e vicinity o f th e Project Area in the "Reconnaissance Report, Missouri River, Buford-Trenton
Irrigation District, North Dakota" and based on the findings the valve w ould be located w ith in an area th a t
has th e potential to be submerged or damaged by ice jam flooding. Therefore, the valve has been
removed fro m th e Project Area.

Table 2-2 defines the com ponents o f both th e Project Area and related Connected Actions.




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                                                  Table 2-2
                                  Environmental Assessment Areas o f Interest
                                                                Federal/
                     Action/Activity                                            EA Review        Acres
                                                              Private Land
 Flowage Easements—Williams County
                                                             Private; Federal
     Construction ROW within Corps flowage easements                            Project Area      58.0
                                                                Easement
      HDD workspace (exit point) within Corps flowage        Private; Federal
                                                                                Project Area       1.2
                       easement                                 Easement
     Permanent easement over HDD profile within Corps
                                                             Private; Federal
      flowage easement and placement of temporary                               Project Area       1.2
                                                                Easement
                       waterline



 Flowage Easements Connected Actions - McKenzie County
                                                                                Connected
      HDD workspace (entry point) on private land                Private                           2.0
                                                                                 Action
 Federal Lands and Connected Actions - Morton County
                                                                                Connected
         HDD workspace (exit point) on private land              Private                           1.2
                                                                                 Action
                                                                                Connected
              HDD stringing area on private land                 Private                          13.1
                                                                                 Action
      Permanent easement over HDD profile on private
                                                                                Connected
       land between HDD workspace (exit point) and               Private                           0.8
                                                                                 Action
                     federal lands
      Permanent easement over HDD profile on federal
                                                                 Federal        Project Area       0.4
                         lands
 Federal Lands and Connected Actions - Emmons County
       Permanent easement over HDD profile on federal
                                                                 Federal        Project Area       0.8
                             land
       Permanent easement over HDD profile on private
                                                                                Connected
     land between federal land and HDD workspace (entry          Private                           0.3
                                                                                 Action
                            point)
                                                                                Connected
         HDD workspace (entry point) on private land             Private                           1.2
                                                                                 Action
 Lake Oahe
      Permanent easement over HDD profile across Lake
                                                                   N/A          Project Area       6.3
                          Oahe

                 2.3.1.1    Flowage Easements

The Missouri River HDD is located ju st upstream o f Lake Sakakawea and downstream of the confluence
o f the Yellowstone and Missouri rivers. The proposed crossing o f flowage easements near upper Lake
Sakakawea (flowage easements) is located in Sections 1, 18, 19, and 30, Township 152 North, Range 103
West, in W illiam s County, North Dakota (Figure 2). The proposed pipeline is routed parallel to an existing
buried natural gas pipeline and associated valve sites, which cross the Missouri River and flowage
easements ju s t w est o f the proposed Dakota Access pipeline.



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The HDD exit workspace w ould be located on a flowage easement tract. Access to th e Project Area on
the flow age easements w ould be via the construction ROW fro m an existing road (38*^ Street NW). No
additional tem porary access roads w ould be required. The Connected Action at the flowage easements
includes th e HDD entry workspace, located on th e south side o f the Missouri River on private lands in
McKenzie County. Access to the HDD entry workspace w ill be via the existing access road located adjacent
to the HDD entry workspace. No additional tem porary access roads w ould be required.

                 2.3.1.2    Federal Lands

The proposed crossing o f federally-ow ned tracts at Lake Oahe (federal lands) is located in Section 10,
Township 134 North, Range 79 W est in M orton County, North Dakota, and Section 11, Township 134
North, Range 79 W est in Emmons County, North Dakota (Figure 3). The proposed pipeline is routed to
parallel existing linear infrastructure (an overhead pow erline and a buried natural gas pipeline) in this
area. The HDD entry and exit point workspaces and stringing area w ould be located on private land
outside o f th e federal lands and are considered Connected Actions in this analysis. HDD design reflects a
crossing length of approxim ately 7,500 feet, o f which approxim ately 5,420 fe e t occurs beneath the bed
o f Lake Oahe.

2.3.2    Description of Construction Techniques and Construction Mitigation Measures

All facilities associated w ith the Project w ould be designed, constructed, tested, operated, and m aintained
in accordance w ith th e U.S. DOT regulations in Title 49 CFR Part 195. Dakota Access is currently developing
Project-specific plans and w ould im plem ent best management practices (BMPs) to m itigate fo r potential
construction-related impacts associated w ith storm w ater runoff. This includes im plem entation of th e ir
S torm w ater Pollution Prevention Plan (SWPPP; see Appendix A), which includes th e Spill Prevention
Control and Countermeasure Plan (SPCC Plan) as an appendix. Additionally, Dakota Access would
im plem ent th e ir HDD Construction Plan and HDD Contingency Plan (HDD Construction/Contingency Plan;
see Appendix B) fo r inadvertent release o f drilling mud during HDD construction w ork at wetland and
w aterbody crossings to protect sensitive resources from such releases. The Project w ould be constructed
via a com bination o f conventional and specialized construction procedures, as described below.

                 2.3.2.1    Clearing and Grading

Prior to com m encem ent o f ground-disturbing activities, a standard survey and stakeout w ould be
conducted to identify ROW and workspace boundaries and to locate existing foreign u tility lines w ithin
the construction ROW. Following com pletion of th e surveys, th e construction ROW w ould be cleared of
vegetation and debris. Clearing of wetlands is lim ited to removal o f w oody debris in the forested wetlands
above the HDD profile on the north bank of the Missouri River w ith in the flowage easements. Stumps
w ould be cut flush w ith the ground and left in place, as described in Section 3.2.3. Cleared vegetation and
debris along th e ROW w ould be disposed o f in accordance w ith federal, state, and local regulations either
by burning, chipping and spreading, or transportation to a commercial disposal facility. W here necessary,
to contain disturbed soils during clearing and grading in upland areas, and to m inimize potential erosion
and sedim entation o f wetlands and w aterbodies, tem porary erosion control devices (ECDs) w ould be
installed p rior to initial ground disturbance and m aintained th ro u g h o u t construction. Vegetative buffers
w ould be le ft w here practical at all w aterbody crossings to lim it th e exposure and im pact to these
features. Final clearing w ould take place im m ediately prior to crossing th e feature rather than advance.



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                  2.3.2.2   Trenching

Trenching involves excavation o f a ditch fo r pipeline placem ent and is accomplished through the use o f a
trenching machine, backhoe, or sim ilar equipm ent. Trench spoil w ould be deposited adjacent to each
trench w ith in the construction w ork areas, w ith topsoil segregation utilized w here necessary based on
land use (see the typical ROW configuration drawings in Appendix C). In standard conditions, the trench
w ould be excavated to an appropriate depth to allow fo r a m inim um o f 36 inches o f cover over the pipe.
Ground disturbance associated w ith conventional pipeline construction is generally lim ited to
approxim ately 6 to 10 fe et below the existing ground surface. Typically th e bottom o f the trench w ould
be cut at least 12 inches greater than th e w idth of th e pipe. The w id th at the to p o f the trench w ould vary
to allow the side slopes to adapt to local conditions at the tim e o f construction.

                  2.3.2.3    Pipe Stringing, Bending, and Welding

Following preparation o f the trench, th e new pipe w ould be strung and distributed along the ROW parallel
to th e trench. Depending on available workspace, some pipe may be fabricated off-site and transported
to the ROW in differing lengths or configurations. Pipe w ould be bent by hydraulic bending machines, as
necessary, to conform th e pipe to the trench. Once in place along th e ROW, pipe lengths w ould be aligned,
bends fabricated, and join ts welded togethe r on skids (i.e., tem porary supports). W elding w ould be
perform ed in accordance w ith the American Petroleum Institute Standards, Pipeline and Hazardous
M aterials Safety A dm inistration (PHMSA) pipeline safety regulations, and company w elding specifications.
All welds w ould be coated fo r corrosion protection and visually and radiographically inspected to ensure
there are no defects. Segments o f com pleted pipeline w ould undergo hydrostatic pressure testing as
described in Sections 3.2.1.2 and 3.11.

                  2.3.2.4    Pipeline Installation and Trench Backfilling

Completed sections o f pipe w ould be lifted o ff th e tem porary supports by side boom tractors or similar
equipm ent and placed into the trench. Prior to lowering-in, the trench w ould be visually inspected to
ensure th a t it is free o f rock and o th er debris th a t could damage th e pipe or the coating. Additionally, the
pipe and th e trench w ould be inspected to ensure th a t the configurations are com patible. Tie-in welding
and pipeline coating w ould occur w ith in th e trench to join th e newly lowered-in section w ith the
previously installed sections o f pipe. Following this activity, th e trench w ould be backfilled w ith the
previously excavated m aterial and crowned to approxim ately 6 inches above its original elevation to
compensate fo r subsequent settling.

                  2.3.2.5   Clean-up and Restoration

Following pipeline installation and backfilling, disturbed areas w ould be restored and graded to pre­
construction contours as closely as practicable. Construction debris and organic refuse unsuitable fo r
distribution over th e construction ROW w ould be disposed o f at appropriate facilities in accordance w ith
applicable regulations. Permanent ECDs w ould be installed as appropriate, and revegetation measures
w ould be applied in accordance w ith the Environmental Construction Plan (ECP; see Appendix G), SWPPP,
and requirem ents o f applicable state and federal permits.




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                  2.3.2.6    M ajor W aterbody Crossing Method

As previously discussed, the preferred w aterbody crossing technique fo r the Proposed Action is the HDD
m ethod. The HDD m ethod allows fo r construction across a feature w ith o u t the excavation o f a trench by
drilling a hole significantly below conventional pipeline depth and pulling the pipeline through th e pre­
drilled hole. As described in subsequent sections of this docum ent and in greater detail in th e HDD
Construction Plan (Appendix B), by utilizing the trenchless technology, Dakota Access w ould minimize
impacts to resources w ith in and adjacent to th e w aterbodies crossed and reduce the anticipated duration
o f the crossing. The HDD equipm ent w ould be staged well outside o f the riparian area, avoiding impacts
on th e steep banks, cultural resources, and sensitive habitat im m ediately adjacent to the waterbody.

Depending on the HDD equipm ent utilized, to help guide the drill b it along th e pipeline ROW, electric-grid
guide w ires may be laid along th e predeterm ined HDD route. In thickly vegetated areas, a small path may
be cut to accom m odate laying th e electric-grid guide wires. Once th e electric-grid guide wires are
installed, the directional drilling rig w ould drill a small diam eter pilot hole along the prescribed profile.
Following the com pletion o f th e pilot hole, reaming tools w ould be utilized to enlarge th e hole to
accom m odate the pipeline diam eter. The reaming tools w ould be attached to th e drill string at the exit
point and w ould then be rotated and drawn back to increm entally enlarge th e pilo t hole. During this
process, drilling flu id consisting o f prim arily bentonite clay and w ater w ould be continuously pumped into
the p ilo t hole to remove cuttings and m aintain the integrity o f the hole. W hen the hole has been
sufficiently enlarged, a prefabricated segment o f pipe w ould be attached behind th e reaming to o l on the
exit side o f the crossing and pulled back through the drill hole tow ards the drill rig.

Fluid pressures can build up w ith in th e borehole during HDD operations. In some instances, this can result
in h ydraulicfracturing o f th e substrate and subsequent m igration o f drilling fluids either into th e w aterw ay
or to th e land surface—this is known as a "fra c-o u t." The depth of the proposed HDD profiles below the
beds o f the surface waters to be crossed w ould m inim ize th e potential fo r frac-outs to occur. Additionally,
precautions w ould be taken during all phases o f th e drilling operation. A high quality drilling flu id would
be used to m aintain and protect th e in tegrity o f th e borehole during th e entire HDD operation until the
final pipe pull is com pleted. The HDD Construction Plan (Appendix B) includes m ore details regarding
HDD construction technology and methods. The w ork w ould be perform ed by an experienced drilling
contractor, Michels Directional Crossings, a Division of Michels Corporation, th a t is knowledgeable in
effective HDD practices, including m aintaining proper drilling rate, drilling fluid com position, pum ping rate
o f the drilling fluid, pull-back rate, and pum ping rate on the back ream, and adjusting these as appropriate
fo r th e conditions.

                  2.3.2.7    M inor W aterbody Crossing Methods

There are no m inor waterbodies crossed by the pipeline on Corps Fee Lands. All m inor waterbodies
encountered on the flow age easements have been identified as falling under the jurisdiction o f the
B uford/Trenton Irrigation D istrict (BTID) and, in compliance w ith th e ir regulations, w ould be crossed via
trenchless pipeline construction m ethods (bores). Dakota Access is working through the BTID perm itting
and approval process separately. One in te rm itte n t w aterbody has been identified on the south side of
the Missouri River crossing, w ith in the connected action area but outside of the flowage easements, and
w ith in th e HDD workspace. Tem porary impacts to this w aterbody w ould be m itigated during construction
w ith a customized HDD equipm ent configuration, including the placement of tem porary m atting/bridging



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over th e feature as necessary to m aintain natural w ater flo w during construction, and installation of
appropriate ECDs. Therefore, impacts on surface waters and adjacent sensitive habitat w ould be
m inimized by elim inating open-cut pipeline installations and in-stream w ork fo r all crossed waterbodies.

                 2.3.2.8    W etland Crossings

As discussed in Section 3.2.3 below, the only wetlands th a t w ould be crossed by Project activities are
located w ith in the perm anent easement between HDD workspace and the Missouri River on th e flowage
easements. As such, no wetlands w ould be impacted by construction or operation o f th e Project facilities
w ith in the Project Area/Connected Actions o f th e federal lands, and no trenching w ith in wetlands w ould
occur w ith in th e Project Area on th e flow age easements. A tem porary w aterline w ould be laid
aboveground, across the wetlands located between th e HDD workspace and th e north bank o f the
M issouri River on flow age easement LL3440E (Figure 6-B). No ground disturbing activity w ould be
required fo r installation o f the tem porary w aterline. A m ore detailed discussion regarding wetlands is
provided in Section 3.2.3.

                 2.3.2.9    Operation and Maintenance

Following com pletion o f construction, a 50-foot-w ide perm anent easement along th e entire Project
alignm ent th a t is generally centered on th e pipeline (25 fe e t on either side o f th e centerline) w ould be
retained along the pipeline route. The 50-foot-w ide easement w ould be m aintained by th e Operator in
an herbaceous state (cleared o f large diam eter w oody vegetation) to facilitate inspection o f th e pipeline,
operational maintenance, and compliance w ith th e federal pipeline safety regulations. This 50-foot-w ide
m aintained co rridor w ould be reduced to a 30-foot-w ide corridor centered on the proposed pipeline
w ith in th e w etland area north o f th e Missouri River in Corps Flowage Easement LL3440E (Figure 6-B).

M aintenance o f the perm anent ROW w ould entail periodic vegetation clearing measures, in accordance
w ith PHMSA regulation fo r pipeline inspection. This may involve selective tre e cutting and periodic
mowing. The use o f herbicides w ould not occur on Corps Fee Lands w ith o u t obtaining prior approval from
the Corps. Vegetation maintenance o f th e ROW in areas o f active cropland is not expected to occur due
to agricultural practices.




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        3.0    THE AFFECTED ENVIRONMENT AND POTENTIAL ENVIRONMENTAL IMPACTS OF THE
                         PROPOSED ACTION AND NO ACTION ALTERNATIVE

3.1       Geology and Soils

Under th e "no action" alternative, Dakota Access w ould not construct the proposed Project and no
impacts on geology and soils w ould occur. However, if th e objectives o f th e Project are to be m et under
the "no action" alternative, other projects and activities w ould be required and these projects w ould
result in th e ir own impacts on geology and soils, which w ould likely be sim ilar to or greater than the
proposed Project. Nevertheless, the impacts associated w ith a fu tu re project developed in response to
the "no action" alternative are unknown, w hile only m inor and tem porary impacts, if any, on geological
resources and soils w ould occur as a result o f the Proposed Action, as described in th e sections below.

3.1.1     Geology

                    3.1.1.1   Affected Environment

The Corps flow age easements to be crossed extend approxim ately 2.83 miles north o f th e Missouri River
in W illiam s County (Figure 2). Conventional open trench construction methods w ould be used to install
the pipeline on approxim ately 13,553 fe e t o f th e 14,953 feet o f flowage easements. The remaining 1,400
fe e t w ould be installed via HDD fo r th e adjacent Missouri River crossing. The easements and Connected
Action (and th e river) lie w ith in th e Missouri River valley and floodplain on to p of th e Quaternary Oahe
Formation (Clayton, 1980). The Oahe Formation is comprised o f unconsolidated sediments, including clay,
sand, silt, and gravel, w ith some dispersed organic material. Geotechnical borings placed on both sides
o f th e river, ranging in depth fro m 75 to 95 fe e t below ground surface, confirm th e presence o f
unconsolidated sand, gravel, and clay to at least these depths. At this location, the Oahe Formation
unconform ably overlies th e Paleocene Bullion Creek Formation, which is made up o f silt, sand, clay,
sandstone, and lignite, and is th e upperm ost part o f a thick sequence o f early Tertiary and late Mesozoic
sedim entary form ations. W ell borehole data from McKenzie County indicates th a t this sequence occurs
in excess o f 15,000 fe e t thick in certain locations (Freers, 1970).

The flow age easements crossed by the Proposed Action and area crossed by the Connected Action occur
w ith in the Great Plains Physiographic Province, which is characterized by a broad expanse o f fla t land in
the central portion o f the U.S. The easements and the Missouri River Project Area lie w ith in an area w here
physiography is characterized by low -re lief alluvial and floodplain deposits and range in elevation from
1,856 to 1,879 fee t above mean sea level (MSL).

The bedrock geology of th e Lake Oahe crossing area is characterized by Cretaceous sedim entary
form ations (Clayton, 1980). The Fox Hills Formation (sandstone and shale) overlies the Pierre Formation
(shale), which has been exposed through erosion along th e axis of th e Lake Oahe reservoir o f the Missouri
River. The surficial geology is characterized by alluvium w ith in th e valley and dune deposits moving in an
eastward direction. This was corroborated by geotechnical soil borings th a t w ere placed on private lands
on both sides o f Lake Oahe th a t indicate th e presence o f sands and clays to depths ranging from at least
150 to 235 fe e t below ground surface (Appendix D).




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The Lake Oahe crossing area also lies w ith in the Great Plains Physiographic Province. On the w est side of
Lake Oahe, th e federal land tracts range in elevation fro m 1,609 to 1,712 feet above MSL. The HDD exit
point workspace ranges from 1,699 to 1,711 feet MSL, and the stringing area ranges from 1,671 to 1,766
fe et MSL. On th e east side o f Lake Oahe, th e federal lands range in elevation from 1,613 to 1,664 feet
MSL, and the HDD entry point workspace ranges fro m 1,636 to 1,644 fe e t MSL.

                 3.1.1.2    Impacts and Mitigation

To protect th e terrain o f the Project Area and Connected Actions, Dakota Access w ould, to the extent
feasible, restore the areas affected by pipeline construction to pre-construction contours and sim ilar
vegetation (excepting trees w ith in approxim ately 15 fe e t of th e centerline). Pre-construction and as-built
surveys w ould be com pleted and provided to the Garrison Project.

Construction o f the pipeline on the flowage easements and Connected Action at the Missouri River
crossing w ould result in m inor impacts on topography and geology, and no unique geologic features th a t
have received state or federal protection w ould be impacted w ith in th e Corps flowage easements or
Connected Action. The impacts a ttribu table to th e HDD w ould not be significant. Primary impacts o f open
trench installation w ith in the Corps flow age easements or Connected Action w ould be lim ited to
construction activities and consist of tem porary alteration due to grading and trenching operations.

Construction of the pipeline at the Lake Oahe crossing w ould not result in adverse impacts on topography
or geology on federal lands o f th e Project Area. Similarly, construction impacts on topography and
geology from the Connected Actions w ould be low to non-existent. No unique geologic features would
be impacted by any aspect o f th e HDD installation.

No impacts on topography or geology w ould occur during operations.

Based on recently obtained geotechnical analysis, no blasting w ould be expected to occur in association
w ith pipeline installation on th e Project Area or Connected Actions, given th a t th e HDD w ould be
conducted in unconsolidated or loosely indurated sediments, as described in Section 3.1.1.1. Although
not anticipated, if blasting is found to be necessary, Dakota Access w ould fo llo w procedures specified in
its Blasting Plan (Appendix E).

3.1.2    Mineral Resources

                 3.1.2.1    Affected Environment

W illiam s and McKenize counties have numerous mineral resources th a t include petroleum , lignite, halite,
sand and gravel, and scoria. Scoria, sediments baked fro m the in situ com bustion of lignite (Carlson, 1985),
is com m only used to surface roads. Although lignite occurs througho ut W illiam s and McKenzie Counties,
there are no lignite beds in the vicinity of the Corps flowage easement crossings (M urphy, 2006; 2007). A
review o f aerial photographic and USGS 1:24K topographic coverage indicates th a t there are no sand,
gravel, or scoria pits w ith in 1.5 miles o f th e Corps flow age easement crossing areas.




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Two oil/gas wells are located w ith in the Corps flowage easements (LL3440E), but neither occur w ith in 150
fe e t of th e proposed HDD workspace. In addition, no oil/gas wells are located w ith in 150 feet of the
Connected Action at th e Missouri River (North Dakota Departm ent o f M ineral Resources, 2015).

The prim ary mineral resources o f M orton and Emmons counties are sand and gravel aggregates. The
older Cretaceous sediments in the vicinity of the Lake Oahe crossing (i.e., scoria) do not contain
economical deposits o f fossil fuels. Although lignite occurs in M orton County, no lignite beds were
identified in the vicinity o f th e Lake Oahe crossing. A review o f aerial photographic and USGS 1:24K
topographic coverage indicates th a t there are no sand, gravel, or scoria pits w ith in 1.5 miles o f the Lake
Oahe crossing.

Since M orton and Emmons Counties are located outside th e areal extent of the Bakken Formation, there
is little to no developm ent o f oil/gas resources. This is reflected in the fact th a t no oil/gas wells were
located w ith in 150 fe e t of the federal lands or HDD workspace and stringing area. However, th e proposed
pipeline w ould be co-located w ith an existing buried natural gas pipeline and an overhead electric
transm ission line across th e lake.

                 3.1.2.2    Impacts and Mitigation

As noted previously, m ineral resources, including lignite, halite, sand and gravel, and scoria occur w ithin
the region around th e Corps flow age easements and Connected Action; however, the only com m ercially
exploited mineral resources in th e direct vicinity o f th e route are oil and gas, as evidenced by th e tw o
wells found w ith in the Corps flow age easements. These wells w ould n o t be impacted by the Proposed
Action due to proposed conventional construction m ethods and distance from the wells. No impacts on
any mineral resources are expected as a result o f the proposed flow age easement crossings or Connected
Action.

The Proposed Action does n o t cross active m ining areas nor any oil or gas wells and facilities in the vicinity
o f Lake Oahe. No impacts to any m ineral resources are expected as a result o f the proposed Lake Oahe
crossing.

Dakota Access, in accordance w ith N orth Dakota One Call, w ould require th a t the construction contractor,
prio r to initiating any ground disturbance activities, identify all underground utilities to minimize the
potential fo r encountering buried u tility structures. Accordingly, the Proposed Action is not expected to
have any im pact on mineral resources, because there w ould be no additional surface disturbance required
beyond th a t used fo r construction.

3.1.3    Geologic Hazards

                 3.1.3.1    Affected Environment

Earthquakes and Seismic Hazards

The Project route in North Dakota, including th e Proposed Action areas, traverses terrain th a t overall is
geologically stable. The potential seismic hazard was assessed by evaluating th e USGS 2014 Seismic
Hazard Map. According to the Seismic Hazard Map, an earthquake th a t has a 2% chance of being



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exceeded in a 50-year period w ould result in peak ground accelerations (PGAs) of 2 to 4 percent gravity
(g) in the Project Area and Connected Actions (USGS, 2014a).

Ground m ovem ent from an earthquake o f this m agnitude may cause a light perceived shaking but is not
expected to cause any structural damage. The low seismic hazard o f the Project Area is fu rth e r
corroborated by the relatively low num ber o f earthquakes th a t have historically occurred in North Dakota
(North Dakota GIS Hub Data Portal, 2010).

Landslides

Landslides refer to th e gravity-induced dow nw ard and outw ard m ovem ent o f slope-form ing materials and
pose the greatest risk to facilities on or near steep slopes or on soil materials th a t are susceptible to failure
particularly in response to earthquakes or heavy precipitation. A map developed by the USGS th a t
illustrates the regional potential fo r th e occurrence o f landslides was used to evaluate th e Project Areas
fo r landslide incidence and susceptibility (Radbruch et al., 1982).

Portions o f the Project Area w ith in th e Corps flowage easements are m oderately susceptible to landslides.
This includes 59.2 acres (100%) o f construction workspace, o f which 17.0 acres lies w ith in the 50-foot-
wide perm anent easement, and 0.55 acre occurs w ith in th e 30-foot-w ide m aintained corridor above the
HDD profile w ith in th e Corps flow age easement (which w ould not have surface disturbance aside from
selective tree cutting and roots w ould remain in place). The HDD entry point on the south side o f the
M issouri River outside o f the flow age easements is considered th e Connected Action. The HDD entry
workspace is approxim ately 2.0 acres and is also m oderately susceptible to landslides.

As designed, the Project does not require any surface impacts to th e federally owned lands at Lake Oahe,
although , 0.4 acre o f th e perm anent easement through the federal property on the west side o f th e Lake
Oahe (M orton County) is classified as having a high incidence o f landslides. Slopes greater than 25% in
the Project Area w ith in federal lands are not found on the east side o f Lake Oahe (Emmons County) and
comprise less than 0.02 acre on th e west side. Activities related to th e HDD crossing outside of th e federal
lands at th e Lake Oahe crossing are considered Connected Actions. On the west side of Lake Oahe, 1.2
acres o fth e HDD workspace (exit point) and 13.1 acres o f the pipe stringing area are designated as having
a high incidence fo r landslides. Additionally, the stringing area encompasses approxim ately 1.8 acres of
land th a t is classified as highly susceptible to landslides. Approxim ately 0.9 acre w ith in th e stringing area
has slopes exceeding 25%. Approxim ately 1.2 acres o fth e HDD entry point workspace on the east side of
Lake Oahe is designated as having a high incidence o f landslides, but there are no slopes w ith in either the
east or west HDD workspace th a t exceed 25%.

Karst and Subsidence

Geologic terrane beneath the flow age easements as well as the Connected Actions has potential fo r karst
developm ent owing to the presence o f evaporite deposits, consisting o f gypsum, salt, anhydrite, and/or
potash (Weary and Doctor, 2014). These deposits range in age fro m Devonian to Jurassic and occur at
depths ranging from 900 to 3,700 meters (3,000 to 12,000 feet). Fresh w ater must be present fo r the
necessary dissolution to occur fo r karst developm ent. However, since fresh w ater is not likely to be found
at these depths, dissolution and karst developm ent are not likely to occur (Ackerman, 1980). Even if karst




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conditions w ere to develop, any physiographic expression at the ground surface w ould be negligible given
the great depth o f these form ations.

Geologic terrane beneath the federal lands crossings as well as the HDD workspaces at Lake Oahe area
may have potential fo r karst developm ent due to deposits o f gypsum and o ther evaporates (Weary and
Doctor, 2014). However, a review o f topographic and aerial photographic coverages as well as
geotechnical testing gave no indication o f karst feature developm ent, and no docum entation was found
to indicate th a t karst features have actually developed in this area. Furtherm ore, an existing buried
pipeline and overhead electric transm ission line also cross in this location, and no inform ation was found
indicating those utilities have been impacted by karst.

Land subsidence may be caused by mining, underlying karst features, and extraction of fluids, such as oil
or groundw ater. No surface subsidence effects are expected to be incurred in th e Project Area since no
mines, oil/gas wells, w ater wells, or karst developm ent have been identified in th e Project vicinity.
M oreover, despite the fact th a t oil and gas production has occurred fo r decades in the W illiston Basin, no
surface subsidence effects have been docum ented in th a t area and, therefore, are not expected to impact
the Project Areas w ith in or near the margin o f the W illiston Basin.

                  3.1.3.2   Impacts and Mitigation

Although landslides can represent a significant geologic hazard during construction and operation o fth e
pipeline, th e pipeline w ould be installed via the HDD to significantly reduce ground disturbing activities in
areas w ith steep slopes (greater than 25%), effectively m itigating the risk.

As previously discussed, no ground disturbing activities w ould occur w ith in the Project Area on the federal
lands. Ground disturbing activities associated w ith th e HDD workspace and pipe stringing area w ould be
required as part o f the Connected Action; however, these activities w ould consist of clearing and grading
only and w ould occur, at th e closest distance, 1,040 fe e t from the bank o f Lake Oahe. As such, no
trenching or excavation activities w ould occur w ith in th e Project Area or Connected Action o f th e federal
lands, thereby reducing th e potential fo r erosion and off-site sedim entation which could otherw ise occur
as a result o f side-slope trench excavation methods and accum ulation o f w ater w ith in th e trench.

To fu rth e r m itigation impacts during construction, Dakota Access w ould utilize erosion and sedim ent
control devices in accordance w ith th e ECP and SWPPP, and in compliance w ith the National Pollutant
Discharge Elim ination System (NPDES) program, during construction in these areas w ith slopes greater
than 25%. Dakota Access w ould install sedim ent barriers (e.g., silt fence) at th e base of slopes and along
the sides o f slopes, as necessary, to prevent potential siltation downslope o fth e construction area from
entering waterbodies.

Tem porary erosion control devices (ECDs) w ould be m aintained until the areas disturbed by construction
have been successfully revegetated or are replaced w ith perm anent ECDs. Following th e com pletion of
construction activities, disturbed areas w ould be restored and graded to pre-construction contours as
closely as practical. In order to m inim ize the potential fo r fu tu re slip or landslide events during operation
o f the Project facilities, Dakota Access may install perm anent ECDs in addition to perform ing regular
restoration and revegetation activities.        Permanent ECDs w ould be installed in accordance w ith
revegetation measures outlined in the ECP, SWPPP, and specific landowner requests. The effectiveness of



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revegetation and perm anent ECDs w ould be m onitored by Dakota Access' operating personnel during the
long-term operation and m aintenance o fth e Project facilities. Therefore, construction and operation of
the Project facilities on the Project Area and Connected Action o fth e federal lands w ould not be expected
to increase the potential fo r significant landslide or slip events or result in adverse impacts on aquatic life
resources w ith in Lake Oahe.

Dakota Access has com pleted a geotechnical analysis o f the flowage easement and federal land crossing
sites to facilitate engineering and design, including selection o f appropriate materials and construction
m ethods to lim it any environm ental impacts a ttributable to landslides. Results of the geotechnical
analysis are included in Appendix D.

The strength and du ctility o f a properly designed pipeline w ould allow it to span a considerable distance
w ith o u t com prom ising its integrity in the event o f a landslide o r other ground m ovem ent, such as
subsidence. Arc-welded steel pipelines are the most resistant type o f piping, vulnerable only to very large
and abrupt ground displacem ent (e.g., earthquakes, severe landslides) and are generally highly resistant
to m oderate am ounts o f perm anent deform ation. This strength and du ctility effectively m itigates the
effects o f fa u lt m ovem ent, landslides, and subsidence. Therefore, by im plem enting the m itigation
measures presented here, impacts on th e pipeline fro m geologic hazards are expected to be minimal.

No impacts associated w ith seismic activity w ith in the Project Area are anticipated. Due to the lim ited
potential fo r large, seismically induced ground movements, there is m inim al risk o f earthquake-related
impacts on th e pipeline. Therefore, no m itigation beyond designing th e proposed pipeline to currently
accepted industry specifications is necessary.

3.1.4    Paleontology

                 3.1.4.1    Affected Environment

The surficial geology at th e Missouri River crossing is dom inated by Quaternary glacial d rift materials
w ith in th e floodplain overlying th e Bullion Creek and Sentinel Butte Formations. These bedrock
form ations have been known to contain w ide variety o f fossils, including fossilized wood and tree stumps,
mollusks, leaves, and insects (Hoganson and Campbell, 2002). Additionally, vertebrate fossils have been
found, including turtles, crocodile-like champosaurs, and bear-like titanoides.

The surficial geology at th e Lake Oahe crossing is also characterized by Quaternary glacial d rift materials;
however, it is underlain by th e Fox Flills and Pierre Formations. These form ations could contain diverse
fossils, including marine reptiles (e.g., mosasaurs, plesiosaurs, sea turtles), fish (e.g., sharks and rays),
birds, and invertebrates (Floganson, 2006).

W hile there is potential fo r the bedrock form ations underlying the Missouri River and Lake Qahe crossings
to contain fossils, all activities, including FIDDs, w ould only penetrate the surficial geology th a t is
dom inated by unconsolidated sediments, as evidenced in the geotechnical report provided in Appendix D.
The potential fo r encountering fossils in these unconsolidated sediments at the Missouri River and Lake
Qahe crossings is low, as fossils are prim arily found in sedim entary rock.




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                 3.1.4.2   Impacts and Mitigation

Activities associated w ith pipeline construction th a t have the potential to im pact paleontological
resources are clearing, grading, and trenching, as well as site preparation fo r HDD operations. The
paleontological resources o f concern pertaining to construction of th e Project are vertebrate fossils th a t
may be present in th e Paleocene bedrock sediments, and to a lesser degree, in Quaternary alluvium since
this type o f deposit only rarely contains vertebrate fossils.

In the event paleontological resources are discovered during construction, Dakota Access w ould
im plem ent measures outlined in its Unanticipated Discoveries Plan Cultural Resources, Human Remains,
Paleontological Resources and Contam inated Media (UDP) (Appendix F) to avoid fu rth e r impacts on these
resources.

Invertebrate fossils are considered to be insignificant, and m itigative measures w ould not be required,
should th e y be encountered. However, if any vertebrate fossils are found during pipeline construction,
Dakota Access w ould im m ediately cease construction activities and n otify appropriate agency personnel,
including the North Dakota state paleontologist as well as th e Corps archaeologist. The appropriate
authorities w ould determ ine the significance of the find and prescribe the m itigation procedures to be
com pleted prio r to resuming pipeline construction.

O peration o f th e pipeline w ould not disturb paleontological resources.

3.1.5    Soils

                 3.1.5.1   Affected Environment

Dakota Access identified and assessed soil characteristics in the Project Area and Connected Actions using
the Soil Survey Geographic Database, which is a digital version of th e original county soil surveys
developed by th e NRCSfor use w ith GIS (NRCS, 2015). The areas are located w ith in th e Rolling Soft Shale
Plain o f North Dakota, South Dakota, and M ontana. The dom inant soil orders in the Rolling Soft Shale
Plain are Mollisols and Entisols, which are shallow to very deep, generally som ewhat excessively drained
and loam y o r clayey (NRCS, 2006).

The flow age easements and Connected Action are w ith in Zone A o f th e Missouri River floodplain. Soils
w ith in the Project Area are form ed o u t o f alluvium deposited by the river over tim e. Slopes througho ut
this Project Area are very fla t, ranging fro m 0-2%. Approxim ately 94% o f the flowage easement Project
Area and Connected Action w ould be located w ith in either Scorio silty clay or Lohler silty clay (Table 3-1,
Figure 4). The Scorio and Lohler silty clay soils are m oderately w ell drained and form ed in clayey alluvium.
In the case o f the Scorio silty clay, the clay alluvium is deposited over a loam alluvium. The Scorio and
Lohler soils are identified as Hydrologic Soil Group C, which have slow in filtra tio n rates when thoroughly
w e t and a slow rate o f w ate r transmission. The average depth to the w ater table across th e m ajority of
this Project Area is 4.25 feet. The soils w ith in th e flowage easements experience occasional flooding but
are not generally ponded. Soil boring data is provided in (Appendix D).




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                                                   Table 3-1
                 Soil Types Mapped on the Flowage Easements Project Area and Connected Action
     Soil                                             Project                    Hydrologic                  Wind
                                                                  Farmland                       Hydric
     Map            Soil Map Unit Name                 Area                        Group ^                 Erodibility
                                                                   Rating                        Rating^
     Unit                                            (acres) ^                  (infiltration)              Group''
                Mckeen loam, 0-1% slopes,
 E4039A                                                0.1          None             B/D          96%          4L
                   frequently flooded
                                                                  Farmland
             Trembles fine sandy loam, slightly
                                                                      of
 E4051A        wet, 0-1% slopes, occasionally          0.5                            A            0%           3
                                                                  Statewide
                          flooded
                                                                 Importance
                Lohler silty clay, saline, 0-1%
 E4103A                                                0.9          None              C            0%           4
                slopes, occasionally flooded
                                                                  Farmland
             Lohler silty clay, slightly wet, 0-2%                    of
 E4106A                                                27.8                           C            5%           4
               slopes, occasionally flooded                       Statewide
                                                                 Importance
                                                                  Farmland
             Scorio silty clay, slightly wet, 0-2%                    of
 E4159A                                                29.9                           C            0%           4
                slopes, occasionally flooded                      Statewide
                                                                 Importance
             Arikara-Shambo-Cabba loams, 9-
 E2725F                                                2.0          None              B            0%           6
                       70% slopes
     EW                     Water                      0.3          None             N/A          N/A         N/A
                                            Total     61.5                                 -
 ^ The Project Area includes the construction workspace (58.0 acres) and 30-foot maintenance easement (1.0
   acre) located on the flowage easements as well as the Connected Action workspace (2.0 acres).
 ^ Hydrologic Soil Groups are used to estimate runoff from precipitation: A = high infiltration rate, low runoff
   potential; B = moderate infiltration rate; C = slow infiltration rate; D = very slow infiltration rate, high runoff
   potential.
 ^ Hydric Rating: Hydric (100%), Hydric (66-99%), Hydric (33-65%), Hydric (1-32%), Not Hydric (0%).
   Wind erodibility group in cultivated areas: Group 1 are the most susceptible to wind erosion, and those assigned
   to group 8 are the least susceptible. 4L indicates calcareous soils.

The predom inant soil type at the federal lands at Lake Oahe is th e Flasher-Vebar-Parshall complex. This
complex w ould comprise 7.5 acres (34%) of the Project Area and Connected Action (Table 3-2, Figure 5).
The Flasher-Vebar-Parshall complex contains 36% Flasher or sim ilar soils, 22% Vebar or sim ilar soils, 15%
Parshall or sim ilar soils, and 27% m inor components. The Flasher-Vebar-Parshall complex is form ed from
sandy residuum weathered from sandstone and is steep w ith in th e Project Area and Connected Action,
w ith slopes ranging fro m 9 to 35% (NRCS, 2015). The Flasher-Vebar-Parshall complex is Hydrologic Soil
Group D, which has very slow in filtra tio n (high ru n o ff potential) when thoroughly w et. The depth to the
w a te r table is greater than 6.5 feet. A m ajority of the soils w ith in the Project Area and Connected Action
are neither fre qu en tly flooded nor fre q uently ponded.




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                                                  Table 3-2
                   Soil Types Mapped on the Federal Lands Project Area and Connected Action
                                                                                Hydrologic                   Wind
 Soil Map                                       Project Area     Farmland                       Hydric
                  Soil Map Unit Name                                              Group ^                  Erodibility
   Unit                                           (acres) ^       Rating                        Rating ^
                                                                               (infiltration)               Group''
                                                                Farmland of
               Grail-Belfield clay loams, 2-
     E0623B                                         2.9          Statewide           C            0%           6
                        6% slopes
                                                                Importance
               Dogtooth-Janesburg-Cabba
     E0701F                                         0.8            None              D            3%           6
                complex, 6-35% slopes
                 Flasher-Vebar-Parshall
     E1423F                                         5.8            None              D            0%           2
                complex, 9-35% slopes
                                                                Farmland of
               Parshall fine sandy loam, 0-
     E1823A                                         0.7          Statewide           A            0%           3
                         2% slopes
                                                                Importance
                Amor-Cabba loams, 6-9%
     E2601C                                         0.3            None              C            0%           6
                        slopes
                                                                Farmland of
               Amor-Shambo loams, 3-6%
     E2803B                                         2.0          Statewide           C            0%           6
                       slopes
                                                                Importance
                                                                Farmland of
              Linton-Mandan silt loams, 2-
     E3802B                                         2.6          Statewide           B            0%           5
                      6% slopes
                                                                Importance
               Grassna silt loam, loess, 1-                        Prime
     E3813A                                         1.7                              B            2%           6
                        2% slopes                                Farmland
               Grassna silt loam, loess, 2-                        Prime
     E3813B                                         0.5                              B            2%           6
                        6% slopes                                Farmland
                  Korchea-Fluvaquents
     E4139A    complex, channeled, 0-2%             0.4            None              B           43%           4L
               slopes, frequently flooded
     EW
                          Water                     6.4            None             N/A           N/A         N/A
  /E49999
                                       Total        24.1                                  -
 ^ The Project Area includes Connected Action areas.
 ^ Hydrologic Soil Groups are used to estimate runoff from precipitation: A = high infiltration rate, low runoff
   potential; B = moderate infiltration rate; C = slow infiltration rate; D = very slow infiltration rate, high runoff
   potential.
 3 Hydric Rating: Hydric (100%), Hydric (66-99%), Hydric (33-65%), Hydric (1-32%), Not Hydric (0%).
   Wind erodibility group in cultivated areas: Group 1 are the most susceptible to wind erosion, and those assigned
   to group 8 are the least susceptible. 4L indicates calcareous soils.

Prime Farmland

Prime farm land has th e best com bination o f physical and chemical characteristics fo r producing food,
feed, forage, fiber, and oilseed crops and is available fo r these uses. Other soils th a t do not m eet the
criteria fo r prim e farm land may be considered farm land o f statewide im portance. These soils may
produce high yields o f crops when managed appropriately (NRCS, 2013). Climate is the prim ary lim iting




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fa cto r preventing farm land o f statew ide im portance in North Dakota from being considered prime
farm land; therefore, specific m anagement techniques or other soil am endm ents cannot elevate farm land
o f statew ide im portance to a prim e farm land designation (Sieler, 2015).

W ithin th e flow age easements and Connected Action, 95% o f soils are considered farm land o f statewide
im portance, and none o f th e soils are considered prim e farm land. A pproxim ately 9.5% o f th e soils on the
federal lands, consisting only o f Grassna silt loams, are considered prim e farm land. Additionally, Linton-
Mandan silt loam and Armo-Sambo loam, which comprise 25% o f th e soils on federal lands are designated
as farm land o f statew ide im portance. The remaining soils do not have a farm land designation.

                 3.1.5.2    Impacts and Mitigation

Pipeline construction activities such as clearing, grading, trench excavation, and backfilling, as well as the
m ovem ent o f construction equipm ent along th e ROW may result in impacts on soil resources. Clearing
removes protective cover and exposes soil to th e effects of w ind and precipitation, which may increase
the potential fo r soil erosion and m ovem ent of sediments into sensitive environm ental areas. Grading and
equipm ent tra ffic may com pact soil, reducing porosity and percolation rates, which could result in
increased ru n o ff potential and decreased soil productivity. Trench excavation and backfilling could lead
to a mixing o f topsoil and subsoil and may introduce rocks to th e soil surface from deeper soil horizons.

Dakota Access w ould m inim ize or avoid these impacts on soils by im plem enting the m itigation measures
described in the DAPL Project's SPCC, SWPPP, and ECP as well as requirem ents o f applicable state and
federal perm its. These docum ents w ould be included as contract docum ents and enforced as such
th ro u g h o u t the DAPL Project. As a result, impacts on soils as a result o f th e Project are expected to be
insignificant.

Tem porary erosion and sedim entation control measures may include installation o f silt fence, straw bales,
slope breakers, trench breakers, erosion control fabric, and mulch.

To m inim ize potential impacts on soil productivity, topsoil w ould be separated during trench excavation
in agricultural land, and if applicable, other areas where soil productivity is an im portant consideration.
Unless otherw ise requested by th e landowner, topsoil in cropland w ould be removed to a m aximum depth
o f 12 inches fro m th e trench and spoil storage area and stored separately fro m the trench spoil. A fte r the
trench is backfilled, topsoil w ould be returned to its approxim ate original location in the soil horizon.

Compaction o f agricultural soils w ould be minim ized by restricting construction activities during periods
o f prolonged rainfall. W here unacceptable levels o f com paction occur in agricultural lands, a chisel plow
or o the r deep tillage equipm ent w ould be utilized to loosen the soil.

Dakota Access w ould retain environm ental inspectors (Els) to m o n ito r th e contractor's compliance w ith
applicable requirem ents to p rotect soil resources during construction o f th e DAPL Project. The Garrison
Project w ould be notified if th e Els docum ent non-com pliant activities by th e contractor(s) on the Project
Area or Connected Action Areas.




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Soils w ould be te m p orarily disturbed w ith in HDD workspaces during construction at th e Missouri River
and Lake Oahe crossings. Primary impacts a ttributable through open trench installation w ith in the Corps
flow age easements and Connected Action w ould be lim ited to construction activities and consist o f
tem porary alteration o f th e construction ROW due to grading and trenching operations. Tables 3-3 and
3-4 present the soil types th a t w ould be impacted by construction and maintenance activities. By
im plem enting BMPs and recognized construction m ethods identified in the Project ECP (Appendix G),
impacts to soils should be lim ited.

Additionally, tem porary workspace used fo r staging HDD operations w ould im pact soils, particularly in
association w ith the HDD entry excavation p it (approxim ately 5 fe e t to 15 fe e t across). The pits w ould
contain th e drilling flu id th a t w ould be circulated through the borehole during drilling operations and the
cuttings th a t are removed from the borehole. All drilling mud and cuttings w ould be disposed at an
approved location on non-federal lands, which may include land farm ing on private property or disposal
at a licensed disposal facility. Drilling flu id pits at the HDD entry and exit workspaces w ould be backfilled
and the area returned as closely as practical to pre-construction conditions. Dakota Access w ould
im plem ent th e erosion control measures described in th e SWPPP (Appendix A). The HDD workspace sites
w ould be cleared, graded and m atted as needed to avoid ru ttin g and m inim ize compaction.

There w ould be no soil disturbance outside of the construction workspace. Permanent impacts on soils
w ould be avoided through th e im plem entation o f BMPs during construction, restoration, and post­
construction revegetation management.       A m ore com plete description o f BMPs and recognized
construction m ethods can be found in the ECP (Appendix G).

There w ould be no conversion o f prim e farm land soils to non-agricultural use.


                                                  Table 3-3
                   Soil Impacts on the Flowage Easements Project Area and Connected Action
                                                                                    Connected
                                                                     Project Area
     Soil                                                                             Action      Permanent
                                                                     Temporary
     Map                      Map Unit Name                                         Temporary      Impacts
                                                                       Impacts
     Unit                                                                            Impacts        (acres)
                                                                        (acres)
                                                                                      (acres)
 E4039A       McKeen loam, 0-1% slopes, frequently flooded               0.1            0              0
            Trembles fine sandy loam, slightly wet, 0-1% slopes,
 E4051A                                                                  0.5            0              0
                              occasionally flooded
              Lohler silty clay, saline, 0-1% slopes, occasionally
 E4103A                                                                  0.9            0              0
                                      flooded
                 Lohler silty clay, slightly wet, 0-2% slopes,
 E4106A                                                                  27.8           0              0
                              occasionally flooded
                 Scorio silty clay, slightly wet, 0-2% slopes,
 E4159A                                                                  29.9           0              0
                              occasionally flooded
 E2725F         Arikara-Shambo-Cabba loams, 9-70% slopes                  0            2.0             0
                                                            Total       59.3           2.0             0




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                                                     Table 3-4
                       Soil Impacts on the Federal Lands Pro ect Area and Connected Action
                                                                Project Area
                                                                                Connected Action        Total
 Soil Map                                                       Temporary
                              Map Unit Name                                        Temporary           Impact
   Unit                                                           Impacts
                                                                                 Impacts (acres)       Acres^
                                                                   (acres)
     E0623B        Grail-Belfield clay loams, 2-6% slopes            0                 2.9               2.9
                Dogtooth-Janesburg-Cabba complex, 6-35%
     E0701F                                                          0                 0.8               0.8
                                 slopes
     E1423F    Flasher-Vebar-Parshall complex, 9-35% slopes         0.4                5.4               5.8
  E1823A           Parshall fine sandy loam, 0-2% slopes             0                 0.7               0.7
  E2601C             Amor-Cabba loams, 6-9% slopes                   0                 0.3               0.3
  E2803B            Amor-Shambo loams, 3-6% slopes                   0                 2.0               2.0
  E3802B          Linton-Mandan silt loams, 2-6% slopes              0                 2.6               2.6
  E3813A           Grassna silt loam, loess, 1-2% slopes            0.7                1.0               1.7
  E3813B           Grassna silt loam, loess, 2-6% slopes             0                 0.5               0.5
               Korchea-Fluvaquents complex, channeled, 0-
  E4139A                                                             0                 0.4               0.4
                     2% slopes, frequently flooded
      EW                          Water                             0.1                 0                0.1
                                                        Total         1.2               16.6             17.8
        ^ All soil impacts on Federal Lands and Connected Action at Lake Oahe are considered to be temporary.

3.2        W ater Resources

Under th e "no action" alternative, Dakota Access w ould not construct the proposed Project, and no
impacts on w a te r resources w ould occur. However, if th e objectives o f the Project are to be m et under
the "no action" alternative, other projects and activities w ould be required and these projects w ould
result in th e ir own impacts on w a te r resources, which w ould likely be sim ilar to or greater than the
proposed Project. Nevertheless, th e impacts associated w ith a fu tu re project developed in response to
the "no action" alternative are unknown, w hile only tem porary and m inor impacts or insignificant
perm anent impacts on w ate r resources w ould occur as a result o f th e Proposed Action, as described in
the sections below.

3.2.1      Surface Waters

                   3.2.1.1    Affected Environment

The Missouri River is a large perennial river and form s th e border between W illiam s and McKenzie
counties. The flow age easements are located on the north side o f Lake Sakakawea in th e Lake Sakakawea
sub-basin (HUC 11010101) w ith in th e Upper Missouri River Basin. All drainage patterns fro m th e flowage
easements flo w east and south tow ards and into the Missouri River/Lake Sakakawea ending at the
Garrison Dam. Once released fro m th e dam, w ater flow s south into th e Missouri River (NRCS, 2008).

Lake Oahe is a large reservoir form ed behind the Oahe Dam on th e Missouri River. Lake Oahe form s the
border between M orton and Emmons counties. The Project Area is located in th e Upper Lake Oahe



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W atershed (HUC 10130102) w ith in the Missouri River Basin and adjoins both sides o f Lake Oahe at the
crossing.

The Oahe Dam/Lake Oahe project is part o f the chain o f Missouri River main stem lakes authorized in the
Flood Control Act o f 1944. The Oahe Dam is located 6 miles north of Pierre, South Dakota and was placed
into operation in 1962. The dam and associated reservoir (Lake Oahe) are congressionally authorized to
provide flood control, hydroelectric power, navigation, irrigation, fish and w ildlife enhancement,
m unicipal w a te r supply, w a te r quality, and recreational opportunities to the residents o f both South
Dakota and N orth Dakota. A t maximum normal operating pool level (1,617 feet MSL), Lake Oahe extends
roughly 231 miles from th e Oahe Dam in South Dakota to near Bismarck, North Dakota. A t this level, the
lake covers approxim ately 360,000 acres. A t elevation 1,607.5 fe e t MSL base flood control elevation, the
lake has over 2,250 miles o f shoreline.

Lake Oahe can be divided into th re e segments based on the character of the lake. The proposed Project
is located w ith in the northern segment. The northern segment extends north from the North
Dakota/South Dakota state line to th e upstream Oahe Dam/Lake Oahe project boundary near Bismarck,
North Dakota. This segment is m ore river-like in appearance and is characterized by both submerged and
em ergent snags, sandbars, many shallow areas, and a definite current (USACE, 2010a).

Dakota Access conducted field and desktop delineations o f th e Project Area/Connected Action on the
flow age easements and the Project Area/Connected Action o f the federal lands. Field surveys to o k place
upon permission to access the properties in order to verify desktop delineations and ensure th a t th e most
accurate, up-to-date data is used fo r Section 404 o f the CWA a n d /o r Section 10 o f the RHA perm it filings.
There are fo u r w aterbodies (one perennial stream and three ephem eral ditches) w ith in th e Project area
on the flow age easements and one in te rm itte n t w aterbody w ith in th e Connected Action Project area
(Figure 6). The Project Area and Connected Action o f th e federal lands encompass tw o w aterbodies (one
lake [Lake Oahe] and one ephemeral stream) (Figure 7). W aterbody ID, type and approxim ate mileposts
are summarized in Table 3-5 and Table 3-6.

                  3.2.1.2    Impacts and Mitigation

Impacts on Lake Oahe and the Missouri River w ould be minim ized by using HDD construction m ethods to
install th e proposed pipeline underneath the Missouri River and Lake Oahe. A tth e Missouri River crossing,
a 24-inch pipeline w ould be installed a m inim um of 60 feet below th e bottom of th e Missouri River. At
Lake Oahe, a 30-inch pipeline w ould be installed approxim ately 140 to 210 fe e t below the ground surface
o f federal lands and approxim ately 92 fe et below the bottom o f Lake Oahe (Appendix H).

The prim ary im pact th a t could occur as a result of an HDD is an inadvertent release o f drilling fluid directly
or indirectly into the w aterbody. Drilling fluid (also referred to as drilling mud) is prim arily comprised of
w ater. However, benton ite clay is added to the w a te r to enhance lubricating, spoil transport and caking
properties o f the drilling fluid. Bentonite is a naturally occurring, non-toxic, inert substance th a t meets
National Science Foundation (NSF)/American National Standards Institute (ANSI) Standard 60 Drinking
W ater Additives Standards and is fre q ue ntly used fo r drilling potable w ater wells. The potential exists fo r
drilling fluid to leak through previously unidentified fractures in the material underlying th e river bed.
Potential release sources o f th e drilling fluid include the drilling flu id e n try/e xit pit(s) and the directional
borehole itself, which is m aintained under pressure to keep it open. The probability o f an inadvertent



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release is greatest when th e drill b it is w orking near th e surface (i.e., near th e entry and exit points). To
alleviate this concern, the HDD Contractor plans to install steel surface casing at both th e entry and exit
locations o f th e Lake Oahe crossing. Because the HDD entry and exit points w ould be set back from the
banks o f th e Missouri River (approxim ately 1,400 feet north and 300 fe e t south) and Lake Oahe
(approxim ately 900 fee t east and 1,100 fe e t west) the potential fo r an inadvertent release to occur in the
w ate r w ould be minimized. Additionally, geotechnical investigations conducted by Dakota Access
indicated th a t the drill path is not located in materials th a t suggest a high probability o f an inadvertent
release of drilling fluids th a t w ould reach ground surface or enter Lake Oahe. Therefore, th e potential fo r
inadvertently released drilling fluids to enter any w aterbody from below or from the shoreline is low.

The drilling mud and cuttings w ould be disposed of in accordance w ith applicable laws and regulations,
likely in an existing landfill or by land farm ing. Final disposition w ould be negotiated w ith the fa cility or
private landow ner p rior to disposal. Dakota Access w ould conduct all HDD w ork according to the HDD
Construction Plan (Appendix B), and im plem ent the HDD Contingency Plan (Appendix B) in th e event of
an inadvertent release. The HDD Construction Plan establishes a 24-hour a day m onitoring program fo r
m onitoring and detection o f inadvertent releases, including m onitoring fo r loss o f drilling fluids. The HDD
Contingency Plan describes m onitoring and m itigation procedures fo r any inadvertent release o f drilling
mud into th e w aterbody or areas adjacent to the w aterbody and includes procedures to contain and clean
up inadvertent releases.

Dakota Access plans to hydrostatically test th e HDD pipeline segments prior to installation at the Lake
Oahe and Missouri River crossings. Hydrostatic testing involves fillin g th e new pipeline segments w ith
w a te r acquired in accordance w ith applicable permits, raising the internal pressure level, and holding th a t
pressure fo r a specific period o f tim e per U.S. DOT requirem ents.

Dakota Access is requesting permission to w ith d ra w w ater from the Missouri River th a t w ould be required
fo r installation of the HDD and hydrostatic testing o f the pipeline at th e Missouri River crossing.
A pproxim ately 470,000 gallons o f w a ter w ould be required fo r activities associated w ith th e installation
o f HDD and the hydrostatic testing o f HDD pipeline segment. Dakota Access intends to subm it an
application to th e N orth Dakota State W ater Commission, W ater Appropriations Departm ent fo r a
Tem porary W ater Permit. The exact num ber and size o f th e w ithdraw al pumps w ould be determ ined as
a result o f th e lim its imposed by the Tem porary W ater Permit. The w ithdraw al activity would com ply w ith
all applicable p erm it conditions and regulations, including th e specifications on perm itted intake
structures outlined in the Corps' Regional Conditions fo r North Dakota applicable to N ationw ide Permit
12 (U tility Line Activities) (Corps, 2012). This regional condition requires th a t the applicant 1) utilize an
intake screen w ith a maxim um mesh opening o f %-\nch; 2) wire, Johnson-like screens must have a
maximum distance between wires o f 1/8-inch; 3) w ater velocity at th e intake screen shall not exceed Vz-
fo o t per second; 4) intake structure shall be floating; and 5) at th e beginning o f pumping, the intake shall
be placed over w ate r w ith a m inim um depth of 20 feet.

The Acquisition point w ould coincide w ith the proposed pipeline crossing o f th e Missouri River. An 8"x 8"
Power Associates 2500 Single Stage Pump w ould be set on a barge or flo a t anchored just offshore at the
proposed perm anent easement. The barge/float w ould be approxim ately 12 fe e t w ide by 14 fe e t long
and fitte d w ith a secondary containm ent structure (an Eagle 4Drum Flexible Containm ent SpillNest-T8103
or similar). The pump, capable o f w ithdraw ing 2,400 gallons per m inute w ithdraw al and 120 fe e t of head
pressure, w ould be placed w ith in th e secondary containm ent on the barge/float.



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The pum p's flexible intake hose w ould be 8 inches in diam eter and connect th e screened intake to the
pump. The screened intake (approxim ately the size o f a 55 gallon drum ) w ould be suspended by floats
(approxim ately the size o f a tire ) w ith in the w ater column and w ould be screened to prevent im pingem ent
entrainm ent o f foreign objects and aquatic life. A hard 8-inch diam eter take-way pipe extending from the
pum p w ould push th e w a ter to th e to p of bank then to th e HDD equipm ent or pipeline section. This
tem porary w aterline w ould be laid by hand on to p of the ground surface w ith in the perm anent ROW, and
thus w ould not require any ground disturbance or trench excavation. The w aterline, barge, pump, and
associated equipm ent w ould be removed follow ing com pletion o f construction activities. A depiction o f
the layout of th e barge, pump, and w aterline is provided in Figure 6-B.

W ater needed fo r HDD construction and hydrostatic testing at th e Lake Oahe Crossing in Emmons and
M orto n counties. North Dakota w ould not be obtained fro m Lake Oahe. Required w ater w ould instead
be obtained fro m an alternate surface w ater, groundw ater, o r commercial source and transported to the
Project Area via w a ter trucks. W ater trucks w ould not be required to cross Corps Fee Lands. Prior to
construction, Dakota Access w ould id en tify a w ater source fo r construction activities at the Lake Oahe
crossing in accordance w ith all applicable perm its and regulations.

W ater discharges associated w ith hydrostatic testing on Corps flow age easements w ould be conducted in
accordance w ith applicable perm its. Hydrostatic test w ater discharges w ould not occur on Corps fee
property. Dakota Access w ould conduct trench dewatering and hydrostatic test discharges in a manner
consistent w ith th e North Dakota Pollutant Discharge Elimination System (NDPDES) General Permit NDG-
070000. Discharged hydrostatic te st w a ter w ould not contain additives unless w ritte n approval is received
from Dakota Access and applicable perm its authorize such additives. Els w ould m onitor perm it
compliance. W here appropriate, w a te r w ould be discharged in to an energy dissipation an d /o r filte rin g
device, as described in Dakota Access' SWPPP (Appendix A) to remove sedim ent and to reduce th e erosive
energy o f the discharge.

Of th e five w aterbodies located w ith in th e flow age easements Project Area and Connected Action, one
ephemeral ditch (d-k8-wi-011) is located w ith in th e portion o f th e Project th a t w ould be crossed via the
M issouri River HDD; therefore, no trenching w ould occur w ith in this feature. However, a tem porary
w aterline w ould be installed across this feature to transport surface w ater fro m th e Missouri River to the
HDD equipm ent. The te m p orary w aterline w ould be laid on to p o f the ground surface, and no grading or
ground disturbance in th e vicinity o f the w aterbody crossed by the w aterline w ould be required. The hard
pipe segments w ould be hand-carried down th e slope and assembled by hand. No tracked or wheeled
equipm ent w ould be necessary fo r construction or removal of th e tem porary aboveground w aterline.
Four w aterbodies w ould be te m p orarily impacted by pipeline construction. However, impacts on
w aterbodies w ould be minim ized by conducting pipeline construction activities in accordance w ith
applicable regulatory requirem ents and im plem enting trenchless w aterbody construction procedures, as
described in sections 2.3.2.6 and 2 3 .2 .1 and the ECP.

No w aterbody w ould be perm anently drained or filled as part o f the DAPL Project, and effects on
w aterbodies are expected to be short-term and m inor. Dakota Access w ould restore th e area as close to
its previous state and naturally functioning condition as practicable. Additionally, Dakota Access w ould
take measures to m inim ize the potential fo r surface w ater contam ination fro m an inadvertent spill o f fuel
or hazardous liquids during refueling or maintenance of construction equipm ent or during operation of
aboveground facilities. Fuel and all oth er hazardous materials w ould be stored in accordance w ith the



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requirem ents o f Dakota Access' SPCC, SWPPP, and ECP. These docum ents also describe response,
containm ent, and cleanup measures.


                                                   Table 3-5
                  Waterbodies w ithin the Flowage Easements Project Area and Connected Action
                                                                           Class of
                Waterbod       Waterbod                      Delineation
 Milepost                                     Flow Type                    Aquatic         Area o f Impact
                  V ID          yType                          Source
                                                                           Resource
                d-k8-wi-                                                                  Construction and
      92.7                       Ditch        Ephemeral         Field        §404
                  013                                                                     Permanent ROW
                s-k8-wi-                                                                  Construction and
     92.77                      Stream         Perennial        Field        §404
                  002                                                                     Permanent ROW
                d-k8-wi-                                                                  Construction and
     93.23                       Ditch        Ephemeral         Field        §404
                  007                                                                     Permanent ROW
                                                                                        Permanent ROW over
                d-k8-wi-
     94.64                       Ditch        Ephemeral         Field        §404      HDD Profile (Temporary
                  011
                                                                                            Waterline)
                s-mlO-wi-
                                                                                          Construction and
      94.9      001/s-k2-       Stream         Perennial        Field         §10
                                                                                          Permanent ROW
                  mk-001
                 s-k2-mk-                                                                 Construction and
                                                                             §404
      95.1          002         Stream        Intermittent      Field                     Permanent ROW

The only surface w aterbody identified on th e federal lands Project Area is Lake Oahe (s-kc4-em-001/s-
kc4-mo-002), which w ould be avoided via HDD. The pipe stringing corridor (Connected Action) at Lake
Oahe crosses tw o drainageways th a t are indicated on the National Hydrography Dataset.                    Field
delineations carried out by Dakota Access identified one ephemeral stream (s-kc-4-mo-004) associated
w ith these tw o drainageways th a t intersect the pipe stringing corridor o f th e Connected Action. Impacts
on th e delineated w aterbody w ould be entirely w ith in the pipe stringing ATWS and are expected to be
avoided by bridging th e w aterw ays fo r equipm ent and vehicle tra ffic during pipe stringing, fabrication and
pullback. No trenching w ould occur w ith in th e pipe stringing ATWS. W hile lim ited grading may be
necessary w ith in th e pipe stringing ATWS, no grading w ould be expected to occur w ith in the w aterbody
itself. Vegetation may be m owed/brush-hogged, however, no ro o t masses are anticipated to be removed.
Revegetation o f these areas w ould be in accordance w ith the North Dakota tre e and shrub regulations
and w ould not be im pacted during operation o f the Project. No trees are expected to be cleared on Corps
fee-ow ned lands.


                                                       Table 3-6
                       Waterbodies w ithin the Federal Lands Project Area and Connected Action
                                                                           Class of
                Waterbody       Waterbody                    Delineation
     Milepost                                   Flow Type                  Aquatic          Area of Impact
                   ID             Type                         Source
                                                                           Resource
                 s-kc4-em-
                                 Lake (Lake                                            Project Area - Permanent
      166.3     001 / s-kc4-                       N/A          Field        §10
                                   Oahe)                                                ROW over HDD Profile
                  mo-002




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                   s-kc4-mo-                                                          Connected Action - HDD
        166                      Stream    Ephemeral      Field         §404
                      004                                                                 Stringing Area

Els w ould m o n ito r compliance w ith applicable w aterbody protection requirem ents during construction o f
the facilities. The Project ECP (Appendix G) and SWPPP (Appendix A) describe additional m itigation
measures and contain illustrations o f how sedim ent control devices are typically installed at w aterbody
crossings. Additionally, Dakota Access w ould m aintain a vegetative buffer until th e actual crossing o f the
w aterbody takes place. Tem porary sedim ent control measures, such as silt fence installed at each
crossing, w ould m inim ize the introduction o f sedim ent into w aterbodies during construction and minimize
the m ovem ent o f spoil and sedim ent from surface ru n o ff during and after construction. Permanent
erosion control measures, such as vegetation and installation of slope breakers, w ould effectively stabilize
riparian zones. Dakota Access w ould stabilize stream banks disturbed during construction using methods
as directed by applicable state a n d /o r federal permits. Trenching and dew atering activities used in
construction o f th e proposed pipeline could tem porarily alter surface drainage patterns. However, these
impacts are expected to be localized and tem porary, since th e contours and vegetation w ould be returned
as closely as practical to pre-construction conditions. Dewatering activities w ould be conducted in
accordance w ith applicable perm its and Dakota Access' SWPPP and ECP.

3.2.2         Groundwater

                     3.2.2.1   Affected Environment

G roundw ater occurs w ith in the Project Areas o f the Corps flow age easements and federal lands in both
glacial d rift and bedrock aquifers. Although bedrock aquifers tend to have a greater distribution and be
m ore continuous than Quaternary aquifers. Quaternary aquifers typically provide higher yields to wells.

G roundw ater in the bedrock aquifers flow s tow ards th e Missouri River and Lake Oahe, a regional
groundw ater discharge zone. The w ater table w ith in phreatic aquifers, which may include both
Quaternary and bedrock form ations, is typically a subdued replica o f the surface topography. Although
groundw ater flo w directions may vary w idely particularly w ith in localized flo w regimes, overall regional
flo w o f groundw ater in th e phreatic aquifer w ould be to th e Missouri River and Lake Oahe.

The m ost econom ically im p o rta n t aquifers in the vicinity of th e Corps flowage easements are the
Cretaceous Dakota Group, th e T ertiary Fort Union Group (which includes th e Sentinel Butte and
Bullion/Tongue River Formations), and glacial d rift aquifers o f the Quaternary Period (Armstrong, 1969).
The glacial d rift aquifers are relatively th in at the Project Area, except w here th e y occur in buried or
present-day bedrock valleys. In th e absence o f Quaternary aquifers, members o f the Paleocene Fort Union
Group com m only serve as the shallowest aquifer. Individual aquifer members o f the Fort Union Group
include, in descending order, the Sentinel Butte, Tongue River, Cannonball, and Ludlow Formations (Croft,
1985). Other bedrock aquifers o f economic im portance in the flowage easement region are the late
Cretaceous Hell's Creek and Fox Hills A quifer system and th e Cretaceous Dakota Group.

Three dom estic wells and six observation wells (one o f which has been destroyed) are located on the
flow age easements, but occur outside o f the Project workspace. The closest well to the proposed pipeline
centerline is a dom estic w ell located approxim ately 430 fe e t fro m the centerline. The flow age easements
or Connected Action do not overlie any source w ater protection areas.



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The m ost econom ically im p ortan t aquifers in M orton and Emmons counties, w here th e federal lands along
Lake Oahe are located, include aquifers w ith in th e Cretaceous Fox Hills and Hell Creek Formations; the
Tertiary Fort Union Group, which includes th e Cannonball and Ludlow Formations, Tongue River
Formation, and Sentinel Butte Formation (northw est part o f the county only); and alluvial and glacial d rift
aquifers o f the Quaternary Period (Ackerman, 1980; Arm strong, 1978). The Pierre Formation is
considered th e base o f th e active near-surface aquifers, because it is thick and relatively impervious.

No w ater wells are located w ith in 150 fe e t o f the federal lands or Connected Actions at the Lake Oahe
crossing. Additionally, none o f the Project Area or Connected Action overlie any source w ater protection
areas.

                  3.2.2.2    Impacts and Mitigation

Ground disturbance associated w ith conventional pipeline construction is generally lim ited to
approxim ately 6 to 10 fe e t below the existing ground surface. W here excavation penetrates the w ater
table, potential groundw ater impacts fro m pipeline construction are prim arily lim ited to the radius o f
influence around the excavation profile.

Construction activities, such as trenching, dewatering, and backfilling th a t encounter shallow aquifers
w ould cause m inor fluctuations in groundw ater levels an d /o r increased tu rb id ity w ith in th e aquifer
adjacent to the activity due to dew atering activities. Dewatering w ould consist o f a single or series o f
submersible pumps th a t w ould be lowered into th e pipe trench to review excess w ater to facilitate pipe
installation. In cases o f greater w ate r in filtra tio n , well pointing (a series o f dewatering points along the
outside o f the trench connected in series to a pump to enable effective dewatering o f the trench) may be
used. These impacts are te m p o ra ry (only while th e trench is open) and highly localized as the infiltra tio n
o f th e dewatered groundw ater is in the im m ediate vicinity o f the dew atering activity.

Construction and dew atering activities are not expected to have a significant effect on regional
groundw ater flo w patterns. Shallow aquifers w ould quickly reestablish equilibrium if disturbed, and
tu rb id ity levels w ould rapidly subside. Consequently, th e effects o f construction w ould be m inor and
short-term . Impacts on deeper aquifers are not anticipated.

The introduction o f contam inants to groundw ater due to accidental spills o f construction-related
chemicals, fuels, or hydraulic flu id could have an adverse effect on groundw ater quality. Spill-related
impacts fro m construction activities are typically associated w ith im proper fuel storage, equipm ent
refueling, and equipm ent maintenance. Dakota Access' SPCC Plan outlines measures th a t w ould be
im plem ented to avoid, minimize, prevent, and respond to releases of fuels and other hazardous
substances during construction and includes measures fo r cleanup, docum entation, and reporting o f spills
(Appendix A). Project-specific SPCCs w ould be developed by the selected contractor and im plem ented
th rou g ho u t construction. By im plem enting th e protective measures set fo rth in these plans, groundw ater
contam ination due to construction activities is not anticipated. The d ra ft SPCC is included as Appendix B
o f Appendix A (SWPPP); the Project-specific plan to be developed by the Contractor w ould m eet or exceed
all conditions presented in the d ra ft plan.

Accidental releases fro m the pipeline system during operations could potentially affect groundw ater. As
part o f the pipeline operation, which is regulated by the PHMSA, Dakota Access has an ongoing



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maintenance, inspection, and integrity testing program to m o n ito r th e safety o f the pipeline system.
M onitoring activities include constant rem ote oversight o f th e entire system 24/7/365 fro m th e control
center, routine inspection of th e cathodic protection system, and th e use o f inspection tools th a t travel
through the inside o f th e pipeline to check pipe integrity (see Section 3.11 fo r additional inform ation
regarding reliability and safety and the proposed methods fo r m onitoring th e Project facilities). Dakota
Access also perform s regular aerial flyovers to inspect th e pipeline ROW. In th e event o f a leak, Dakota
Access w ould w ork aggressively to isolate the source through th e use o f rem ote-controlled shut-off valves,
initiate cleanup activities, and contact the appropriate federal and state authorities to coordinate leak
containm ent and cleanup. Dakota Access proposes to m eet or exceed all applicable regulations and
requirem ents fo r pipeline design, construction, and operation.

A prelim inary evaluation o f geology indicates th a t groundw ater w ith in th e floodplain th rougho ut most of
the Corps flow age easements is less than 6.5 feet deep (GeoEngineers, 2014). The pipeline w ould be
installed in saturated sediments as part o f the HDD crossing o f Lake Oahe. Due to the nature o f HDD
m ethodology, this construction m ethod is inherently not a risk to groundw ater resources and uses benign
substances (bentonite and w ater) to penetrate through soil, rock, and groundwater. Construction o f the
Project Area and Connected Action w ould not be expected to result in significant negative impacts on
groundw ater resources.

3.2.3    Wetlands

                 3.2.3.1    Affected Environment

W etland data fo r the Project Areas was derived from desktop analyses along th e entire route and verified
by field delineations. Using data fro m th e U.S. Fish & W ildlife Service's (USFWS) National W etlands
 Inventory (NWI) dataset, aerial imagery, and topography, an experienced biologist applied professional
judgm ent to create polygon coverage in GIS to define th e areal extent o f wetlands. These areas have been
field-verified to ensure th a t th e m ost accurate, up-to-date data is being used fo r perm it filings.

The field w etland investigations w ere conducted using th e on-site m ethodology set fo rth in the 1987
Corps o f Engineers W etland Delineation Manual and th e 2010 Regional Supplement to th e Corps o f
Engineers W etland Delineation Manual: Great Plains Region (USACE, 1987; 2010b). In addition to the
1987 Manual and the Regional Supplement, wetland areas were examined through analysis of the
vegetation, soils, and hydrology, as described in the Classification o f W etland and Deepwater Habitats of
the U.S. and The National W etland Plant List (Cowardin et al., 1979; Lichvar et al., 2014).

                 3.2.3.2    Impacts and Mitigation

The routing analysis utilized to determ ine the crossing locations was designed to avoid impacts to sensitive
environm ental resources including wetlands. Construction workspace on th e flowage easements has
been selected based on an absence of wetlands w ith in the Project area and, as confirm ed by field
verification in 2015, no wetlands w ould be impacted by trench excavation w ith in the construction ROW,
ATWS, HDD workspace, or HDD stringing corridor on th e flowage easements or Connected Action.

The field w etland investigations conducted by Dakota Access results identified fo u r wetlands located
w ith in the perm anent easement on th e flowage easements (w-ml0-wi-001_PSS, w -m l0-w i-001_PEM , w-



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m l0-wi-001_PFO , and w-ml0-wi-002_PSS). These wetlands occur in th e portion o f the Project Area on
the flowage easements th a t w ould be constructed via HDD; therefore, no trenching w ould occur w ith in
these wetlands. However, follow ing construction, a 30-foot-w ide corridor centered on the proposed
pipeline w ould be m aintained in non-forested state to facilitate inspections of the pipeline, operational
maintenance, and compliance w ith th e federal pipeline safety regulations. The 30 fo o t perm anent ROW
w ould encompass a to ta l of approxim ately 0.30 acre of th e fo u r wetlands. One o f these wetlands (w-
m l0-wi-001_PFO), approxim ately 0.05 acre, is classified as a palustrine forested (PFO) w etland and w ould
be converted to shrub-scrub or herbaceous wetland as a result o f th e Proposed Action since trees would
be routinely removed fo r the life of the pipeline. The rem aining palustrine em ergent (PEM) wetland (w-
m l0-w i-001_PEM ) and tw o palustrine scrub-shrub (PSS) wetlands {w-ml0-wi-001_PSS and w -m lO -w i-
002_PSS), comprising a to ta l o f 0.25 acres o f the perm anent pipeline easement, may require infrequent
vegetation clearing o f encroaching w oody vegetation but w ould otherwise remain in th e ir natural state.
Dakota Access is in the process o f obtaining verification fo r use o f Nationwide Permit 12 fo r th e crossings
o f wetlands and w aterbodies associated w ith DAPL Project.

Pending approval and receipt o f applicable perm its and easement permission, a tem porary w aterline
w ould be installed between the shoreline and th e HDD workspace on the flow age easements w ith in the
perm anent ROW (Figure 6-B), in order to supply the HDD equipm ent w ith w ater needed fo r drilling fluid
preparation and hydrostatic testing. The tem porary w aterline w ould be laid on to p o f the surface, and no
ground disturbance o f th e fo u r w etland features along th e perm anent easement is anticipated. The hard
pipe segments w ould be hand-carried down th e slope and assembled by hand. No tracked or wheeled
equipm ent w ould be necessary fo r construction or removal o f the tem porary aboveground pipeline. No
excavation or disturbance o f wetlands or the river bank is anticipated.

Table 3-7 summarizes wetlands w ith in the flowage easements th a t occur w ith in th e perm anent ROW,
which is 30-feet-w ide centered on th e centerline over th e HDD profile and 50-feet-w ide elsewhere.


                                                     Table 3-7
                               Wetlands w ithin the Flowage Easements Project Area


                                                   Pre-
             Wetland                                             Delineation       Area
 Milepost                   Wetland Type        Construction                                   Impacted Area ^
               ID                                                  Source         (Acres)
                                                  Notice?


             w-mlO-        Palustrine Scrub-                                                   Permanent ROW
     94.7                                            No             Field          0.07
             wi-001             Shrub                                                          over HDD Profile
             w-mlO-                                                                            Permanent ROW
     94.7                Palustrine Emergent         No             Field          0.04
             wi-001                                                                            over HDD Profile
             w-mlO-                                                                            Permanent ROW
     94.8                 Palustrine Forested        No             Field          0.05
             wi-001                                                                            over HDD Profile
             w-mlO-        Palustrine Scrub-                                                   Permanent ROW
     94.9                                            No             Field          0.14
             wi-002             Shrub                                                          over HDD Profile

No wetlands w ould be impacted by th e HDD workspace on private land and the perm anent ROW on
federal land at th e crossing o f Lake Oahe, because no wetlands exist w ith in the Project Area and
Connected Action Area at th e Lake Oahe Crossing.



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The Project ECP and SWPPP specify several measures to protect wetlands and waterbodies from becoming
polluted w ith fuels or other hazardous materials during construction. These plans pro h ib it the storage of
fuel or o th er hazardous materials w ith in 100 fe e t o f a w etland or w aterbody. The ECP also specifies th a t
equipm ent m ust be refueled at least 100 fe e t from waterbodies unless, due to site-specific conditions,
there is no practical alternative such as the proposed pum ping intake structure located on the barge at
the Missouri River Crossing. In th a t case, the contractor must im plem ent site-specific protective measures
and containm ent procedures described in th e ECP. Contractors w ould be required to provide trained
personnel, appropriate equipm ent, and materials to contain and clean up releases o f fuel, lubricating oil,
or hydraulic fluid th a t result from equipm ent failure or other circumstances.

3.2.4    Floodplain

                  3.2.4.1   Affected Environment

Floodplains refer to th e 100-year floodplain, as defined by Federal Emergency M anagem ent Agency
(FEMA), and as shown on Flood Insurance Rate Maps (FIRM) or Flood Flazard Boundary Maps fo r all
com m unities participating in the National Flood Insurance Program (NFIP). The 100-year floodplain is an
area subjected to inundation by the 1% chance of an annual flood event. Executive Order (EG) 11988
(Floodplain M anagement) requires federal agencies to avoid direct or indirect support of developm ent
w ith in th e 100-year floodplain whenever th e re is a practical alternative.

According to the FEMA FIRM map, the seven flow age easements are located w ith in Zone A (the 100-year
floodplain) o f th e Missouri River in W illiam s County. A FEMA flood map is not available fo r the Connected
Action w ith in McKenzie County. The Lake Oahe crossing in Emmons County is located in Zone D, which is
an area o f undeterm ined, but possible flood hazards (FEMA, 1987). FEMA has not com pleted a study to
determ ine flood hazards fo r M orton County; therefore, a flood map has not been published at this tim e.

                  3.2.4.2   Impacts and Mitigation

The Project has been designed in accordance w ith accepted floodplain managem ent practices; therefore,
no impacts on floodplain elevations or velocities are anticipated. Following construction, disturbed areas
w ould be restored to pre-construction grades and contours, as practical. If necessary, soil displaced by
installation o f th e 24-inch pipeline on the flowage easements w ould be removed from th e floodplain and
hauled to an upland location in order to ensure original floodplain elevations are restored

The Corps Omaha District Flood Risk and Floodplain M anagem ent Section (FRFM) is responsible fo r
coordinating compliance w ith th e requirem ents of EO 11988. The FRFM reviewed the proposed pipeline
plans the portion o f th e DAPL Project th a t crosses the flowage easements fo r compliance w ith Appendix
A (Typical Cut and Fill Volumes fo r Land Developm ent Proposals) o f NWDR 1110-2-5, Land Development
Guidance at Corps Reservoir Projects and found th a t th e lowest elevation o f th e Proposed Action on the
flow age easements (1872.25 fe et MSL) w ould be above the Garrison flood control pool maximum
operation elevation (1854.0 fe e t MSL). Therefore, there w ould be no adverse impacts on the operation
o f th e Garrison flood control pool. Provided th a t the site topography is left at its natural ground elevation
after construction and all excess m aterial is hauled o ff site, the FRFM concluded th a t there are no flood
risk and floodplain managem ent concerns associated w ith the Proposed Action. On April 7, 2015 the




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FRFM provided Dakota Access w ith a m em orandum verifying compliance under EO 1198 and
recom m ending approval o f the Proposed Action (Krause, 2015).

3.2.5    Levees

Based on a search o f th e Corps National Levee Database and FEMA FIRM maps, no levees are located
w ith in 10 miles o f the Lake Oahe or flowage easement crossings (Corps, 2014). Because no levees are
located w ith in 10 miles o f e ither crossing, construction of th e Project is not expected to im pact levees.

3.3      Vegetation, Agriculture, and Range Resources

Under th e "no action" alternative, Dakota Access w ould not construct the proposed Project and no
impacts on vegetation, agriculture, and range resources w ould occur. Flowever, if the objectives o f the
Project are to be m et under the "no action" alternative, other projects and activities w ould be required
and these projects w ould result in th e ir own impacts on vegetation, agriculture, and range resources,
which w ould likely be sim ilar to or greater than the proposed Project. Nevertheless, the impacts
associated w ith a fu tu re project developed in response to th e "no action" alternative are unknown, while
only tem porary and m inor impacts or insignificant perm anent impacts on vegetation, agriculture, and
range resources w ould occur as a result o f the Proposed Action, as described in the sections below.

3.3.1    Vegetation

                  3.3.1.1   Affected Environment

Land cover was analyzed fo r th e flow age easements and federal lands and associated Connected Actions
based on the 2011 U.S. Geological Survey (USGS) National Land Cover Dataset (NLCD) and was field-
verified w here access was available. Land cover on the flow age easements is comprised m ostly of
cultivated crops, which include corn, sugar beets, alfalfa, soybeans, and spring w heat. Other present land
cover types include developed areas, which are prim arily roads, pasture/hay/grassland areas th a t are
interspersed w ith the cultivated crops, em ergent wetlands, w oody wetlands, mixed forest and deciduous
forest associated w ith th e Missouri River.

Land cover on the federal lands is comprised o f cultivated crops, em ergent herbaceous wetlands,
grassland/herbaceous, and open w ater. Over half o f the area of the tracts is characterized as
grassland/herbaceous, which prim arily occurs on the west side of Lake Oahe. Cultivated cropland consists
m ainly of oats and canola on the east side o f the Lake.

A description o f each land cover type encountered at both crossing areas is provided below.

Cultivated Crop

The cultivated cropland com m unity is characterized by land used fo r the production o f annual crops, such
as corn and soybeans. This class includes all land being actively tilled.




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Deciduous Forest

Deciduous forest typically includes trees th a t are greater than 16 feet tall. M ore than 75% of the tree
species in this land cover class shed foliage sim ultaneously in response to seasonal change.

Mixed Forest

Mixed forest are generally areas dom inated by trees generally greater than 5 meters tall, and greater than
20% o f to ta l vegetation cover. The vegetation cover w ith in mixed forest typically does not have either
deciduous or evergreen species greater than 75% of th e to ta l tree cover.

Developed/Open Space

The developed/open space com m unity type is dom inated by lawn grasses and may include some
developed areas and roads. Impervious surfaces account fo r less than 20% o f th e to ta l cover. This class
w ould typically include m inor roads and associated ditches.

Developed/Low Intensity

The developed/low intensity com m unity includes areas w ith a m ixture of constructed m aterial and
vegetation. These areas m ost com m only include single-family housing units. Developed/low intensity in
the Project Area is associated w ith im pervious surfaces o f larger roads.

Emergent Herbaceous Wetland

Refer to Section 3.2.3, which provides a description o f data obtained during delineations o f th e wetlands
th a t w ould be impacted by th e Project.

Woody Wetlands

Refer to Section 4.2.3, which provides a description o f data obtained during delineations o f th e wetlands
th a t w ould be impacted by the Project.

Grassland/Herbaceous

The grassland/herbaceous com m unity is dom inated by gram inoid or herbaceous vegetation. These areas
are not subject to intensive m anagement such as tillin g but can be utilized fo r grazing.

Pasture/Hay

The pasture/hay com m unity type consists o f areas o f grasses, legumes, or grass-legume m ixtures planted
fo r livestock grazing or th e production o f seed or hay crops, typically on a perennial cycle.

Open W ater

The open w a te r cover type includes areas o f open w ater. This land cover type is associated w ith Lake Oahe
and th e Missouri River.



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                 3.3.1.2   Impacts and Mitigation

Tem porary impacts on land cover w ould occur in essentially all areas w ith in the construction fo o tp rin t,
the vast m ajority o f which w ould return to pre-construction land cover upon com pletion of construction.
One exception is at the flow age easement Project Area in forested areas along the perm anent easement
Impacts on cultivated crops make up th e m ajority o f tem porary impacts and w ould return to cultivated
crops post-construction.

Tables 3-8 and 3-9 show land cover types impacted by construction and maintenance activities. A
description o f each category is provided below.

                                                   Table 3-8
               Land Cover Impacts on the Flowage Easements Project Area and Connected Action
                                       Connected          Connected
                                         Action-            Action-       Construction
                                                                                         Permanent ROW
          Land Cover Type             Const ruction       Permanent       Workspace
                                                                                             (acres)
                                       Workspace         ROW (acres)        (acres) ^
                                         (acres)
 Cultivated Crops                           0                  0              47.4             13.3
 Deciduous Forest                          0.9                0.2               0                0
 Developed, Low Intensity                   0                  0               0.4             0.4
 Developed, Open Space                      .1                .01              1.2             0.4
 Emergent Herbaceous Wetlands               0                  0               0.9             0.4
 Hay/Pasture                                0                  0               6.6              1.8
 Grassland/Herbaceous                       .1                 0               1.7             0.5
 Mixed Forest                              0.2               0.03               0                0
 Open Water                                0.7                0.1               0                0
 Woody Wetlands                             0                  0               1.4             0.8
                             Total         2.0                0.3             59.3            17.6
                                     ^Construction workspace includes permanent ROW.

Permanent impacts on land cover in th e fe d e ra l lands w ould be lim ited to the perm anent ROW and involve
lim ited tre e removal w ith in th e perm anent easement. Impacts on land cover as part o f th e Connected
Action w ould occur on private lands and include the HDD workspaces, stringing area, and th e perm anent
easements betw een th e HDD workspaces and federal lands.

                                                  Table 3-9
                  Land Cover impacts on the Federal Lands Project Area and Connected Act ion
                                             Connected Action -      Connected Action -      Federal Lands
                 Land Cover                      Construction         Permanent ROW        Permanent ROW
                                              Workspace (acres)            (acres)             (acres) ^
 Cultivated Crops                                     0.0                    0.0                  0.1
 Emergent Herbaceous Wetlands                         0.0                    0.0                   0.4
 Woody Wetlands                                       0.2                    0.0                   0.0
 Grassland/ Herbaceous                                15.3                   1.1                   0.6
                                      Total           15.5                   1.1                   1.2




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                                                  Table 3-9
                  Land Lover impacts on tne -ederai Lands project Area and connected Action
                                               Connected Action -     Connected Action -       Federal Lands
                 Land Cover                       Construction         Permanent ROW          Permanent ROW
                                               Workspace (acres)            (acres)               (acres) ^
  ^ Land cover impacts on federal lands are limited to the maintained 50-foot permanent easement and do not
   include approximately 6.3 acres of permanent easement over the HDD profile across Lake Oahe. Land cover
   within the banks of Lake Oahe (open water, woody wetlands, and emergent herbaceous wetlands) would not
   be disturbed during construction.

Measures to Protect Vegetation

Dakota Access w ould clear the ROW to the extent necessary to assure suitable access fo r construction,
safe operation, and maintenance of th e DAPL Project. Clearing o f herbaceous vegetation during
construction is anticipated to result in short-term impacts. W ithin areas disturbed by construction o f the
Project, including the flow age easements Project Area, Dakota Access w ould im plem ent active
revegetation measures and rapid colonization by annual and perennial herbaceous species to restore
m ost vegetative cover w ith in the firs t growing season. In areas th a t require perm anent revegetation,
Dakota Access w ould specify appropriate seed mixes, application rates, and seeding dates, taking into
account recom m endations o f appropriate state and federal agencies and landow ner requests. Ground
disturbing activities w ould not occur on Corps fee-ow ned lands; therefore, reseeding is not anticipated in
these areas. However, if reseeding w ere to become necessary on Corps fee-owned lands, all activities
w ould be conducted in accordance w ith applicable Lake Oahe or Garrison Project revegetation guidelines.

In non-agricultural areas, vegetation cleared from ATWS w ould be allowed to revegetate after
construction depending on arrangem ents w ith th e landowner. Consequently, significant changes in cover
types are not anticipated. Revegetation w ould allow w ildlife species to return to th e area after
construction is com pleted. Tem porary revegetation measures may also be im plem ented to quickly
establish ground cover to m inim ize th e potential fo r soil erosion and noxious weeds to establish. A
tem porary seed mix may be applied in these situations. The Project ECP (Appendix G) contains more
details regarding tem porary revegetation.

A fte r com pletion o f w aterbody crossings, Dakota Access w ould revegetate disturbed stream banks in
accordance w ith th e ECP, SWPPP, and requirem ents o f applicable state and federal permits. W hen
constructing in agricultural areas, up to 1 fo o t o f topsoil (organic layer) w ould be stripped from the trench
line and stockpiled separately fro m trench spoil to preserve the native seed stock. The ECP contains
additional details regarding topsoil segregation.

At stream approaches, the Contractor w ould leave a 20-foot buffer o f undisturbed herbaceous vegetation
on all stream banks during initial clearing, except where grading is needed fo r bridge installation or where
restricted by applicable regulations a n d /or perm it conditions.




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3.3.2    Invasive and Noxious Weeds

                 3.3.2.1   Affected Environment

The state o f North Dakota has 11 state-listed noxious and invasive weeds ("invasive species"). The species
listed are: Russian knapweed (Acroptilon repens), absinth w orm w ood {Artemisia absinthium), musk thistle
(Carduus nutans), diffuse knapweed (Centaurea diffusa), yellow toadflax (Linaria vulgaris), spotted
knapweed (Centaurea maculosa), Canada th istle (Cirsium arvense), leafy spurge (Euphorbia esula),
dalm atian toadflax (Linaria dalm atica), purple loosestrife (Lythrum salicaria), and saltcedar (Tamarix
chinensis). These state invasive species are controlled and regulated under North Dakota Law (NDCC §
4.1-47-02) (North Dakota D epartm ent o f Agriculture, 2014a).

Each county in North Dakota has a County W eed Board, which consists o f a regulation com m ittee to
manage noxious and invasive weeds. Each of these county boards is responsible fo r th e addition of
county-specific invasive species to the state-listed species. Additional noxious weeds are listed in
McKenzie County including field bindweed (Convolvulus arvensis), burdock (Arctium sp.), black hendane
(Hyoscyamus niger), houndstongue (Cynoglossum officinale), and yellow starthistle (Centaurea
solstitialis). No additional invasive species have been identified fo r listing in W illiams, M orton, and
Emmons counties.

                 3.3.2.2   Environmental impact and Mitigation

Dakota Access sent notifications to the McKenzie, W illiam s, M orton, and Emmons counties weed boards
describing th e Project and requesting any guidance regarding th e known locations o f noxious and invasive
weeds pertaining to th a t county. Dakota Access w ould w ork w ith th e county weed boards to ensure the
Project ECP contains relevant and necessary m itigation measures th a t w ould be im plem ented to prevent
the spread of noxious weed species during construction and operation o f th e Project.

3.3.3    Threatened, Endangered, Candidate, and Proposed Plant Species

                 3.3.3.1   Affected Environment

There is one federally-listed plant species in North Dakota, the threatened w estern prairie fringed orchid.
This plant species is associated w ith high quality moist, tall grass prairie. M ost of the orchids in North
Dakota are located in the Sheyenne National Grasslands in Ransom and Richland counties in the
southeastern corner o f the state. The population at Sheyenne National Grasslands is the largest
population le ft in th e w orld, w ith over 7,000 orchids (USFWS, 2013a).

North Dakota does not have a state threatened and endangered species program or track plant species
th a t are not federally listed.

                 3.3.3.2   impacts and Mitigation

There are no known records o f w estern prairie fringed orchids in th e Project Area counties, and no suitable
habitat was docum ented; therefore, no effect on th e western prairie fringed orchid is expected as a result




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o f the proposed undertaking. In the unlikely event th a t any are observed during construction on federal
lands, w ork w ould stop and th e Corps w ould be contacted.

3.4      W ildlife Resources

Under th e "no action" alternative, Dakota Access w ould not construct the proposed Project, and no
impacts on w ild life resources w ould occur. However, if the objectives o f th e Project are to be m et under
the "no action" alternative, other projects and activities w ould be required and these projects w ould
result in th e ir own impacts on w ildlife resources, which w ould likely be sim ilar to or greater than the
proposed Project. Nevertheless, the impacts associated w ith a fu tu re project developed in response to
the "no action" alternative are unknown, w hile only tem porary and m inor impacts, if any, on w ildlife
resources w ould occur as a result of th e Proposed Action, as described in th e sections below.

3.4.1    Recreationally and Economically Important Species and Nongame W ildlife

                 3.4.1.1   Affected Environment

The Project region is home to a large num ber of mammal and bird species. Big game species th a t occur
in th e Project region include pronghorn and w hite-tailed deer. Game birds potentially using the types o f
w ild life habitat in th e Project Area include th e ruffed grouse, sharp-tailed grouse, pheasant, woodcock,
snipe, and doves. Furbearers and predators potentially occurring w ith in the Project Area include coyote,
beaver, badger, red fox, raccoon, bobcat, fisher, mink, weasel, and muskrat. Potential small mammal
species occurring w ith in the habitat types associated w ith th e Project Area include pocket gopher, skunk,
and w hite-tailed jackrabbit.

W aterfow l and shorebird species potentially occurring w ith in the Project Area include mallards, pintails,
American wigeon, blue-winged teal, w estern grebe, California gull, Canada goose, common tern, killdeer,
W ilson's phalarope, and lesser yellowlegs. Numerous songbirds, including the American goldfinch, black-
capped chickadee, cedar waxwing, clay-colored sparrow, lark bunting, song sparrow, tree swallow,
w estern kingbird, w estern meadowlark, and yellow w arbler can be expected to occur in the Project
vicinity.

Numerous species o f reptiles and amphibians may also occur w ith in the Project Area. Some amphibian
species th a t may be expected to occur in the Project Area include th e northern leopard frog, tiger
salamander, and w estern chorus frog. Reptile species th a t may be expected to occur w ith in th e Project
Area include com m on snapping tu rtle , western painted tu rtle , com mon garter snake, and racer (Hoberg
and Gause, 1992).

                 3.4.1.2   Impacts and Mitigation

Tem porary impacts on w ildlife could occur during construction due to clearing o f vegetation and
m ovem ent o f construction equipm ent along th e ROW. The ROW and ATWS w ould remain relatively clear
o f vegetation until restoration is com pleted. M ost w ildlife, including the larger and more m obile animals,
w ould disperse fro m the Project Area as construction activities approach. Displaced species may
recolonize in adjacent, undisturbed areas, or reestablish in th e ir previously occupied habitats after
construction has been com pleted and suitable habitat is restored. Some smaller, less m obile w ildlife



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species such as amphibians, reptiles, and small mammals have th e potential to be directly impacted during
clearing and grading activities, but given the lim ited extent o f the proposed crossing, measurable impacts
are not anticipated.

Herbaceous cover w ould be seeded on disturbed upland areas during restoration, and it is expected th a t
pre-existing herbaceous and shrub habitats w ould quickly reestablish themselves. Consequently, it is
expected th a t th e w ild life species th a t use these habitats w ould also return w ith in one grow ing season of
construction com pletion. Routine clearing of the perm anent easement to im prove visibility and remove
encroaching trees w ould be perform ed in compliance w ith PHMSA requirem ents. The lack o f trees
reestablishing w ould be the only potential long-term im pact to w ild life th a t depends on forested
com m unities. This im pact is expected to be negligible, as it only pertains to extrem ely small portions o f
the perm anent easement and very little forested habitat is present w ith in the proposed area o f impact.

3.4.2    Threatened, Endangered, Candidate, and Proposed W ildlife Species

The Endangered Species Act (ESA) directs all federal agencies to w ork to conserve endangered and
threatened species. Crossing the Corps flowage easements and federal lands triggers the consultation
procedures o f section 7 o f th e ESA. This section serves as th e Biological Evaluation o r w ritte n analysis
docum enting the Corps' conclusions and th e rationale to support those conclusions regarding the effects
o f th e Proposed Action on protected w ild life resources.

                  3.4.2.1    Affected Environment

Nine federally listed species have been identified in Williams, McKenzie, M orton, and Emmons counties.
Designated critical habitat fo r the piping plover also occurs in each o f th e fo u r counties

Interior Least Tern

In North Dakota, th e in te rio r least te rn [Sterna antillarum ) utilizes sparsely vegetated sandbars on the
Missouri River. Birds nest, raise young, and relax on barren river sandbars. In North Dakota, th e least
te rn is found m ainly on th e Missouri River from Garrison Dam south to Lake Oahe and on th e Missouri
and Yellowstone Rivers upstream o f Lake Sakakawea. A pproxim ately 100 pairs breed in North Dakota
during the sum m er before flying to coastal areas o f Central and South American and the Caribbean Islands
(USFWS, 2013b).

Whooping Crane

W hooping cranes [Grus am ericana] em bark on a bi-annual m igration fro m sum mer nesting and breeding
grounds in W ood Buffalo National Park in northern Alberta to th e barrier islands and coastal marshes o f
the Aransas National W ildlife Refuge on the Gulf Coast of Texas. Twice yearly in the spring and fall,
whooping cranes m igrate along th e Central Flyway, a m igratory corridor approxim ately 220 miles wide
and 2,400 miles in length. The Central Flyway includes eastern M ontana and portions of North Dakota,
South Dakota, Nebraska, Kansas, Oklahoma, and eastern Texas (USFWS, 2014a). During th e m igration,
cranes make numerous stops, roosting fo r short durations in large shallow marshes, and feeding in
harvested grain fields. Approxim ately 75% o f the whooping crane sightings in North Dakota occur w ithin




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the Central Flyway. The prim ary threats to whooping cranes are pow er lines, illegal hunting, and habitat
loss.

Black-footed Ferret

The black-footed fe rre t (M ustela nigripes) is a small m em ber of th e M ustelidae fam ily native to North
American shortgrass and mixed grass prairie. Prairie dogs make up approxim ately 90% o f the black-footed
fe rre t diet and as such, th e species is associated alm ost exclusively w ith large complexes o f prairie dog
tow ns (USFWS, 2013c; Black-footed Ferret Recovery Im plem entation Team [BFFRIT], 2011). Black-footed
ferrets are fossorial, nocturnal predators, spending nearly 90% o f th e ir tim e underground in prairie dog
burrows, leaving only to hunt (Defenders o f W ildlife, 2014; BIFFRIT, 2011). Once though t to be extirpated
in the w ild, captive-born individuals have been reintroduced to 21 sites in W yoming, M ontana, South
Dakota, Colorado, Utah, Kansas, New Mexico, and Arizona since 1991 (USFWS, 2013c).

Gray W olf

A habitat generalist, the gray w o lf (Canis lupus) historically occupied most habitat types in North America.
They show little preference fo r one cover type over another and successfully utilize alpine, forest,
grassland, shrubland, and w oodland habitats across th e ir range (Mech, 1974). Once th o u g h t to require
wilderness areas w ith little to no human disturbance, recent range expansions have dem onstrated the
species' ability to to le ra te higher rates o f anthropogenic developm ent than previously thought. Given
abundant prey and low rates of human-caused m ortality, wolves can survive in proxim ity to human-
dom inated environm ents (Fuller, 1989).

Northern Long-eared Bat

N orthern long-eared bats {M yotis septentrionalis) occur th ro u g h o u t the eastern and north-central U.S.
Eastern populations have declined significantly in recent years as a result o f w hite-nose syndrom e (WNS),
a contagious fungal infection. Although historically less common in the w estern portion of its range than
in th e northern portion, northern long-eared bats occur th ro u g h o u t North Dakota. Flabitat througho ut
its range includes caves and abandoned mines during th e w in te r and hardwood or mixed forests fo r
roosting and foraging during the sum m er (USFWS, 2015).

N orthern long-eared bats may roost singly or in colonies in cavities, crevices, hollows, or beneath th e bark
o f live and dead trees a n d /o r snags, regardless o f tree species. They pre fe rtre e s w ith a diam eter at breast
height o f at least 3 inches. Less frequently. N orthern long-eared bats have been observed roosting in
man-made structures such as sheds o r barns. N orthern long-eared bats prim arily forage at dusk on insects
in forests, but w ill occasionally forage over small forest clearings and w ater (USFWS, 2015).

Piping Plover

Piping plovers (Charadrius melodus) are shore birds th a t inhabit areas near w ater, preferring river
sandbars and alkali wetlands in the Great Plains fo r nesting, foraging, sheltering, brood-rearing, and
dispersal. Piping plovers w in te r along large coastal sand or m udflats near a sandy beaches througho ut
the southeastern U.S. Critical Flabitat fo r the piping plover is designated along the Missouri River system
th rou g ho u t North Dakota (USFWS, 2012).



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Dakota Skipper

The Dakota skipper (Hesperia dacotae) is a small b u tte rfly found in dry-mesic and wet-m esic tallgrass and
mesic mixed grass prairie rem nants characterized by alkaline and com posite soils. The Dakota skipper is
a habitat specialist requiring high-quality prairie habitat (i.e., grasslands or discrete patches of habitat
w ith in grasslands th a t are predom inantly native and th a t have not been tilled). Only 146 populations are
docum ented in three states and tw o Canadian provinces (McCabe, 1981; Royer and Marrone, 1992;
Cochrane and Delphey, 2002; USFWS, 2011; 2013d). Remaining populations vary in size and density and
fo r the m ost part are not influenced by dispersal between populations (McCabe, 1981; Dana, 1991; Dana,
1997; Cochrane and Delphey, 2002). The species overw inters at th e base o f grasses in the soil o f the site
which they inhabit. In North Dakota, th e skipper typically occupies both wet-m esic and dry-mesic prairie
(Royer and M arrone, 1992; Cochrane and Delphey, 2002). The current status o f th e Dakota skipper in the
state is considered tenuous, and m ost populations are considered vulnerable due to th e ir extrem ely
isolated nature.

Rufa Red Knot

The rufa red knot (Calidris canutus rufa) is a large sandpiper noted fo r its long-distance m igration between
sum m er breeding grounds in th e Arctic and w intering areas at high latitudes in the Southern Hemisphere
(USFWS, 2014b). Some rufa red knots w intering in th e northw estern Gulf o f Mexico m igrate through
in te rio r North America during both spring and fall and use stopover sites in th e N orthern Great Plains.
The species relies heavily on exposed substrate at w etland edges fo r stopover habitat, and the suitability
o f a w etland fo r rufa red knots depends on w ater levels and may vary annually (G ratto-Trevor et al., 2001).
A dditionally, rufa red knots have also been reported to forage in cultivated fields when m igrating through
in te rio r North America.

Pallid Sturgeon

Pallid sturgeon (Scaphirhynchus albus) prefer benthic environm ents associated w ith sw ift waters o f large
turbid , free-flow ing rivers w ith braided channels, dynamic flo w patterns, periodic flooding o f terrestrial
habitats, and extensive m icrohabitat diversity. Pallid sturgeon inhabit the Missouri and Mississippi Rivers
from M ontana to Louisiana and have been docum ented in the Missouri River downstream from the Fort
Peck Dam in M ontana to th e headwaters o f Lake Sakakawea, North Dakota, and dow nstream from
Garrison Dam, N orth Dakota to th e headwaters of Lake Oahe, South Dakota (USFWS, 2014c). Pallid
sturgeon populations are fragm ented by dams on th e Missouri River and are very scarce in th e Lake Oahe
portion o f th e Missouri River.

                  3.4.2.2   Impacts and Mitigation

Dakota Access conducted pedestrian surveys o f the workspace at th e flowage easements in September
2014 and July 2015 and at th e Lake Oahe crossing in April 2015 to assess suitable habitat fo r listed species.
Given the lim ited scope o f this Project, m inim ization measures, and th e im plem entation of specialized
construction techniques, Dakota Access has determ ined th a t th e Project w ould have no effect on six o f
the listed species and may affect, but not likely to adversely affect three of the listed species in the Project
area. Table 3-10 lists the im pact determ inations o f th e protected species w ith potential to occur w ith in




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the Project Area and Connected Action. A summary of habitat evaluations and th e basis fo r the
determ ination o f impacts fo r each listed species is provided below.


                                                              Table 3-10
                  Federally Listed Species w ith Potential to Occur w ithin the Project Area and Connected Action
                                                     County
     Species                                                                               Impact Determination
                               Williams       McKenzie      Morton            Emmons
   Interior                                                                                 May Affect, Not Likely
               Endangered          X               X              X              X
 Least Tern                                                                                  to Adversely Affect
 Whooping
               Endangered          X               X              X              X                No Effect
    Crane
    Black­
   footed      Endangered                          X              X                               No Effect
    Ferret
 Gray Wolf     Endangered          X               X              X                               No Effect
  Northern
    Long­      Threatened          X               X              X              X                No Effect
 eared Bat
    Piping                                                                                  May Affect, Not Likely
               Threatened          X               X              X              X
    Plover                                                                                   to Adversely Affect
   Dakota
               Threatened                          X              X              X                No Effect
  Skipper
  Rufa Red
               Threatened          X               X              X              X                No Effect
     Knot
    Pallid                                                                                  May Affect, Not Likely
               Endangered          X               X              X              X
 Sturgeon                                                                                    to Adversely Affect

Interior Least Tern

Suitable habitat may exist fo r in te rio r least terns at th e Missouri River and at th e Lake Oahe crossing
depending on precipitation and seasonal flo w variations as exposed sand/gravel bars can be present.
Dakota Access proposes to cross the Missouri River and Lake Oahe utilizing the HDD construction m ethod
to avoid direct impacts to th e in te rio r least tern. Dakota Access w ill im plem ent the HDD Contingency Plan
(Appendix B) at these crossings.

Dakota Access plans to w ithdraw al w ater from the Missouri River, which is required fo r activities
associated w ith the installation o f th e HDD and th e hydrostatic testing o f th e HDD segment. A te m p o ra ry
w aterline w ould be installed at th e Missouri River between the shoreline and th e HDD workspace on the
flow age easements w ith in th e perm anent ROW (Figure 6-B).The tem porary w aterline w ould be laid by
hand on to p o f the surface, and no tracked or wheeled equipm ent w ould be necessary fo r installation or
removal o f th e tem porary aboveground w aterline. No disturbance o f th e river banks is anticipated.
Additionally, installation and removal of the w aterline are anticipated to be com plete prior to nesting
season; therefore, no impacts on th e in te rio r least tern are anticipated to occur at th e Missouri River. If
the w a ter w ithdraw al activities are not able to be com pleted prior to nesting season as expected, Dakota
Access w ould conduct surveys p rior to placement o f the w aterline to confirm the presence/absence of
in te rio r least terns w ith in the pipeline ROW. If in te rio r least terns are nesting w ith in th e pipeline ROW,




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Dakota Access w ould postpone w ate r w ithdraw al activities at th e Missouri River until the in te rio r least
terns have le ft th e area. No w a ter access is required to com plete the crossing at Lake Oahe.

As designed, no indirect impacts, such as those associated w ith noise, are anticipated due to the distance
(greater than 960 feet) of th e drill sites from the habitat.. Potential impacts on th e tern w ould be fu rth e r
reduced if construction activities occur outside the nesting season. . Both direct and indirect impacts on
in te rio r least terns w ould be avoided and minimized through utilization o f th e HDD crossing m ethod and
the HDD Contingency Plan. Therefore, the Project may affect, but is not likely to adversely affect the
in te rio r least tern.

Whooping Crane

In N orth Dakota, w hooping cranes are only present during the tw ice-yearly m igration between w in te r
grounds and sum m er nesting sites. As the w hooping crane is a m igrant and does not breed in North
Dakota, the species cannot be confirm ed as present in or absent fro m the Proposed Action areas. If a
w hooping crane w ere to be sighted during construction o f the Project, w ork activities w ould halt and the
Corps would be contacted. Ongoing construction activities during the m igration periods w ould likely cause
birds to choose m ore suitable landing and overnight roosting locations away from construction activities
given th e abundance o f sim ilar habitat througho ut the flyw ay and in the general vicinity of the Project
area. Therefore, the Project w ould have no effect on whooping cranes.

Black-footed Ferret

No suitable black-footed fe rre t habitat is present in the Project areas. The black-footed fe rre t has been
recorded in M orton County; however, based on occurrence data received fro m North Dakota Parks and
Recreation, there are no docum ented occurrences w ith in the vicinity o f the Project. Further, the nearest
prairie dog colony (suitable habitat) is m ore than 0.17 m ile from th e proposed Lake Oahe crossing location
(USFWS, 2014d). Due to the lack o f suitable habitat and th e distance o f the Project areas from known
black-footed fe rre t occurrences, th e Project w ould have no effect on black-footed ferrets.

Gray W olf

The gray w o lf is listed as endangered in all three counties o f the Proposed Action areas in North Dakota
(south and w est o f th e Missouri River upstream to Lake Sakakawea and west of th e centerline o f Highway
83 fro m Lake Sakakawea to the Canadian border). Wolves in eastern North Dakota are part o f the Great
Lakes Distinct Population Segment th a t was delisted by the USFWS in January 2012 (USFWS, 2014e).
North Dakota does not currently have an established breeding population (North Dakota Departm ent of
A griculture, 2014b). Observations o f wolves are sporadic, and it is believed th a t these individuals are
dispersers from adjacent populations (i.e., from M innesota and M anitoba) (USFWS, 2006; Licht and Fritts,
1994). Given th e unlikely occurrence and high m obility o f this species, th e Project w ould have no effect
on gray wolves.

Northern Long-eared Bat

The northern long-eared bat is currently listed by th e USFWS as threatened in North Dakota. On April 2,
2015, the USFWS published th e final listing in the Federal Registrar w ith an effective date o f May 4, 2015.



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The USFWS listed th e northern long-eared bat as threatened and chose to exercise the option of issuing
an interim 4(d) rule to allow fo r m ore flexible im plem entation o f th e ESA and "to ta ilo r prohibitions to
those th a t make th e m ost sense fo r protecting and managing at-risk species." In areas outside o f the 150-
mile WNS buffer zone, incidental take fro m lawful activities is not prohibited. The State o f North Dakota
currently falls outside of the WNS 150-mile buffer zone. Per th e exem ptions o f th e interim 4(d) rule, the
Project w ould have no effect on th e northern long-eared bat (USFWS, 2015).

Piping Plover

P otentially suitable habitat may exist at the Missouri River and at th e Lake Oahe crossing, depending on
precipitation and seasonal flo w variations. These areas are also designated as critical habitat fo r this
species under the ESA. Direct impacts on the potentially suitable habitat w ould be avoided by crossing
the Missouri River and Lake Oahe via FIDD. Dakota Access w ill im plem ent the FIDD Contingency Plan
(Appendix B) at these crossings.

Impacts associated w ith installation o f th e tem porary w aterline at th e Missouri River required fo r
activities associated w ith the installation o f the FIDD and the hydrostatic testing o f th e FIDD segment
w ould be avoided, as installation and removal o f the w aterline are anticipated to be com plete prior to
nesting season. If th e w a te r w ithdraw al activities are not able to be com pleted prior to nesting season as
expected, Dakota Access w ould conduct surveys prior to placement o f the w aterline to confirm the
presence/absence o f piping plovers w ith in th e pipeline ROW. If piping plovers are nesting w ith in the
pipeline ROW, Dakota Access w ould postpone w a te r w ithdraw al activities at th e Missouri River until the
piping plovers have le ft the area. No w ater access is required to com plete the Lake Oahe crossing.

As designed, no indirect impacts, such as noise, are anticipated due to the distance (greater than 960 feet)
o f the drill sites fro m th e habitat. Both direct and indirect impacts on piping plovers w ould be avoided
and minimized through utilization o f th e FIDD crossing m ethod and th e FIDD Contingency Plan. Therefore,
the Project may affect, but is not likely to adversely affect th e piping plover.

Dakota Skipper

There is no suitable Dakota skipper habitat w ith in th e Project Area based on species occurrence and
grassland analysis. As such, activities at these crossings w ould have no effect on this species.

Rufa Red Knot

Rufa red knots do not nest in th e Project area and only occur as an occasional m igrant. During spring and
fall migrations, the rufa red knot has th e potential to occur in North Dakota. M igrating rufa red knot
w ould likely only occur at m igratory stopover habitat (suitable shoreline and sandy beach habitat along
m ajor rivers, streams, w aterbodies, and wetlands) fo r a brief am ount o f tim e (24 hours or less). The
results o f the habitat assessment field surveys indicate th a t potentially suitable loafing habitat (sandbar
and beach habitats) fo r m igrating rufa red knots is present at the Lake Oahe crossing. Lake Oahe w ould
be crossed using the FIDD construction m ethod, and thus w ould avoid impacts on potential m igrating rufa
red knot loafing habitat. Based on the results o f the habitat assessment field survey, the brief am ount of
tim e th a t rufa red knots could be in th e area, and th e proposed im plem entation o f th e FIDD construction
m ethod to cross Lake Oahe, construction of the Project w ould have no effect on rufa red knots.



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Pallid Sturgeon

P otentially suitable habitat fo r th e pallid sturgeon occurs at the Missouri River and Lake Oahe. Impacts on
suitable habitat present w ith in Lake Oahe w ould be avoided by crossing these waterbodies via HDD.
Dakota Access w ill im plem ent the HDD Contingency Plan (Appendix B) at both o f these crossings.

Dakota Access plans to w ith d ra w w a ter fro m the Missouri River fo r installation activities and hydrostatic
testing o f the HDD segment on th e flo w a g e easements. However, potential impacts on the pallid sturgeon
or suitable habitat present w ith in the Missouri River w ould be avoided by im plem enting the conditions
on perm itted intake structures outlined in th e Corps' Regional Conditions fo r North Dakota applicable to
N ationw ide Permit 12 (U tility Line Activities) (Corps, 2012) (see Section 3.2.1.2) and as described in the
USFWS Recovery Plan fo r the Pallid Sturgeon (USFWS, 2014f). No w a te r access is required to com plete
the Lake Oahe crossing. The HDD construction m ethod, application o f the HDD Contingency Plan, and
im plem entation o f the Corps' conditions on the intake structure w ith in th e Missouri River w ould avoid
and m inim ize potential impacts to th e pallid sturgeon; therefore, the Project may affect, but is not likely
to adversely affect th e pallid sturgeon.

3.5      Aquatic Resources

Under th e "no action" alternative, Dakota Access w ould not construct the proposed Project, and no
impacts on aquatic resources w ould occur. However, if th e objectives o f the Project are to be m et under
the "no action" alternative, other projects and activities w ould be required and these projects w ould
result in th e ir own impacts on aquatic resources, w hich w ould likely be sim ilar to or greater than the
proposed Project. Nevertheless, the impacts associated w ith a fu tu re project developed in response to
the "no action" alternative are unknown, w hile only tem p o ra ry and m inor impacts, if any, on aquatic
resources w ould occur as a result of th e Proposed Action, as described in th e sections below.

3.5.1    Habitat and Communities

                  3.5.1.1   Affected Environment

W est of W illiston, the Missouri River is a braided channel varying in w idth from 800 fe e t to over 1,500
feet, w ith sand bars in many locations. The Yellowstone River confluence w ith the Missouri River is
approxim ately 20 miles w est o f W illiston and 3.5 river miles upstream from th e proposed Missouri
crossing. East o f W illiston, th e Missouri River feeds into Lake Sakakawea, th e th ird largest man-made lake
in the U.S. form ed by th e Garrison Dam, several hundred miles downstream . This portion of the Missouri
River is home to several fish species, including cu tth ro a t tro u t, rainbow tro u t, brown tro u t, walleye,
northern, and sauger. Am phibians are found along the shores and nearby riparian areas of th e Missouri
River. Common species found near th e Missouri River crossing include W oodhouse's toad, the northern
leopard frog, and western chorus frog (Hoberg and Gause, 1992).

Lake Oahe is a 232-m ile-long reservoir th a t extends upriver from th e Oahe Dam on the Missouri River
from Pierre, South Dakota, to Bismarck, North Dakota. Approxim ately three-quarters o f a mile south of
the proposed pipeline crossing is th e confluence o f the Cannonball River into th e Missouri. This portion
o f the Missouri River is home to several fish species, including walleye, northern pike, and channel catfish.
Am phibians are found along the shores and nearby riparian areas o f Missouri River. Common species



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found near the Lake Oahe crossing include th e Great Plains toad, W oodhouse's toad, northern leopard
frog, and tig er salamander (Hoberg and Gause, 1992).

                  3.5.1.2   Impacts and Mitigation

The Missouri River, including Lake Oahe, is the only w aterbody th a t w ould be crossed by the Project w ith
aquatic resources th a t have potential to be impacted by th e Project.

All subsurface disturbing activities w ould be set back from the banks o f Lake Oahe at th e HDD entry point.
This provides a buffer of undisturbed land between active construction and th e Lake. There is potential,
although very low due to setbacks o f approxim ately 1,100 fe e t on the west bank and 900 fe e t on th e east
bank, fo r sedim ent to be transported from th e workspace into th e river during precipitation events, which
could increase the local tu rb id ity and sedim ent load in th e lake. These increased loads have potential to
te m p orarily affect sensitive fish eggs, fish fry, and invertebrates inhabiting th e river. However, sediment
levels w ould quickly attenuate both over tim e and distance and w ould n o t adversely affect resident fish
populations or perm anently alter existing habitat. By also im plem enting the erosion and sedim ent control
measures specified in the ECP (Appendix G) and SWPPP (Appendix A), the potential fo r sedim ent
tran spo rt is likely avoided or minimized.           Following construction, the ROW w ould be restored,
revegetated, m aintained in an herbaceous or scrub-shrub state, and m onitored in accordance w ith
applicable regulations and perm it conditions.

A successfully com pleted HDD crossing w ould minimize environm ental impacts on Lake Oahe since the
pipeline w ould be installed w ith o u t disturbing the aquatic and benthic environm ents. However, crossings
via HDD carry a low risk o f an inadvertent release of drilling mud, composed prim arily o f bentonite (a
naturally occurring fin e clay) slurry. Increased levels o f sedim entation and tu rb id ity from an inadvertent
release could adversely affect fish eggs, juvenile fish survival, benthic com m unity diversity and health, and
spawning habitat. Dakota Access' HDD Construction/Contingency Plan (Appendix B) establishes
m onitoring procedures and prescribes measures to be im plem ented to m inimize the im pact in th e event
it occurs. All HDD operations conducted fo r crossing th e Lake Oahe w ould adhere to th e HDD Contingency
Plan and applicable p erm it conditions to reduce th e likelihood of an inadvertent release to minim ize and
m itigate environm ental impacts.          Dakota Access' construction contractor w ould ensure th a t the
appropriate response personnel and containm ent equipm ent are available onsite to effectively
im plem ent th e HDD Contingency Plan.

In addition to the crossing o f Lake Oahe, aquatic resources could also be impacted during w ater
w ithdraw al fro m the Missouri River, which is required fo r activities associated w ith the installation o f HDD
and the hydrostatic testing o f HDD pipeline segment located on th e flow age easements. However, w ater
w ithdraw al activities w ould be conducted in accordance w ith all applicable perm it conditions and
regulations and in a manner th a t w ould not reduce w ater flo w to a point th a t w ould im pair flo w or im pact
aquatic life. Intake screens and floats w ould also be utilized, as previously discussed in Section 3.2.1.2, to
prevent entrainm en t o f aquatic life and avoid impacts on aquatic resources. In addition, by placing the
pump w ith in a secondary containm ent structure on the barge, the potential fo r impacts on aquatic
resources associated w ith accidental fuel spills or leaks is likely avoided or minimized.

The prim ary issue related to impacts on the aquatic environm ent from operation o f the Project w ould be
related to releases from the pipeline. For portions o f the pipeline installed beneath th e lake, the depth



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o f th e pipeline profile, increased wall thickness o f th e pipe, installation o f rem otely operated valves on
both sides o f th e river crossing, and m onitoring o f the system 24/7 w ould fu rth e r lim it th e potential fo r
an inadvertent release into the w aterbody. As a result, operations activities are not anticipated to impact
aquatic resources or th e ir habitat. Adherence to the Dakota Access Facility Response Plan (under
developm ent and w ould be issued p rior to operating the Project, in accordance w ith PHMSA and federal
regulations) w ould minimize potential impacts on aquatic w ild life from potential spills during the
operation o f the pipeline. In the event o f a leak, Dakota Access w ould w ork aggressively to contain the
leak, initiate cleanup activities, and contact the appropriate authorities, including th e Corps.

3.6      Land Use and Recreation

Under th e "no action" alternative, Dakota Access w ould not construct the proposed Project, and no
impacts on land use and recreation w ould occur. However, if th e objectives of the Project are to be met
under the "no action" alternative, o the r projects and activities w ould be required and these projects
w ould result in th e ir own impacts on land use and recreation, which w ould likely be sim ilar to or greater
than th e proposed Project. Nevertheless, the impacts associated w ith a fu tu re project developed in
response to the "no action" alternative are unknown, w hile only tem porary and m inor impacts or
insignificant perm anent impacts on land use and recreation w ould occur as a result of th e Proposed
Action, as described in the sections below.

3.6.1    Land Ownership

The proposed 24-inch pipeline w ould cross seven contiguous Corps flowage easements over eight
privately-ow ned parcels (Figure 2) th a t are associated w ith the B uford-Trenton-lrrigation District
(Garrison Dam). Based upon Corps-provided easement docum ents and mapping, the distance across the
flow age easements on th e north side o f th e Missouri River in W illiam s County is approxim ately 14,953
fe et (2.83 miles).

The flow age easements allow the G overnm ent to flood and saturate th e land, surface, and subsurface o f
these properties. Generally, these easements pro h ib it th e construction o f structures fo r human
habitation; provide th a t any o the r structures require w ritte n approval by the Corps; and provide th a t no
mineral exploration, excavation o r placem ent o f fill material may occur on the easement area w ith o u t the
prio r approval o f th e Corps.

The proposed pipeline route w ould also cross federal lands on th e east and w est banks o f Lake Oahe in
M orto n and Emmons counties. The distance from the western boundary o f federally-ow ned lands to the
eastern boundary o f federally-ow ned lands on both sides of the lake, including the w id th o f the lake, at
the proposed crossing location is approxim ately 6,450 feet. The proposed pipeline w ould be routed to
parallel existing linear infrastructure (an overhead power line and a buried gas transmission pipeline)
across Lake Oahe in the same area. The HDD entry and exit points, measuring approxim ately 200 by 250
feet, w ould be located on private lands, as w ould th e stringing corridor required to facilitate the
installation.

Dakota Access is securing a 50-foot-w ide perm anent easement along the entire Project alignm ent th a t is
generally centered on th e pipeline (25 fe e t on either side o f th e centerline). W ithin th e 50-foot-w ide
easement, a 30-foot corridor free o f large w oody vegetation, located w ith in flowage easement LL3440E



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on the north bank o f th e Missouri River, w ould be required to allow fo r a clear line o f sight once
construction is com pleted to perform visual inspections during operation of th e pipeline. The corridor
w ould be m aintained in a vegetative state.

3.6.2    Land Use

                 3.6.2.1    Affected Environment

Land use w ith in the Project Area was assigned a classification based on the principal land characteristic in
a given area. Aerial photography, th e National Land Cover Database (M ulti-Resolution Land
Characteristics Consortium, 2011), the M orton County Zoning Map (M orton County, 2014), and the
W illiam s County Comprehensive Plan w ere used to identify and classify general land use fo r the Project
Area (Figures 10 and 11).

Agricultural Land

Agriculture is the prim ary land use w ith in th e Project Area. These lands are prim arily used fo r ranching
and cultivating crops. Agricultural lands allows fo r land uses such as farm ing, ranching, animal feeding
operations, grain storage, and related functions. Agricultural land w ith in th e flowage easements are
prim arily pivot irrigated cropland (i.e., areas used fo r production o f annual crops such as corn and
soybeans).

Developed Land

Developed land includes open space around structures such as homes, farmsteads, outbuildings, well
sites, and areas associated w ith roads and ditches.

Open Space

Open space includes all land th a t is not agriculture or developed; namely wetlands, open water,
grasslands, and scrub-shrub. Open space is found prim arily along th e river banks. See sections 3.2 and
3.3 fo r a discussion on w a ter resources and vegetation.

                 3.6.2.2    Impacts and Mitigation

The proposed Project w ould result prim arily in tem porary, short-term impacts on land use during
construction. Construction activities w ould require the tem porary and short-term removal o f existing
agricultural land from crop and forage production w ith in the construction fo o tp rin t. During construction,
tem porary impacts such as soil com paction and crop damage are possible along the construction ROW.
M itigation measures to m inim ize impacts such as topsoil segregation and decom paction practices w ould
be fu lly im plem ented in accordance w ith th e ECP and SWPPP. Upon th e com pletion o f construction
activities, the Project Area w ould be restored and returned to pre-construction land use.

As m entioned above, much o f the cropland w ith in th e Corps flow age easements uses pivot irrigation
systems. Dakota Access w ould coordinate w ith all landowners on acceptable methods fo r construction




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and restoration, including potential impacts to irrigated fields. Compensatory damages w ould be paid
accordingly.

The nearest residence to th e project on the flowage easements is approxim ately 1,750 feet east o f the
pipe centerline. Tem porary impacts on nearby residences could include inconvenience caused by noise
and dust generated fro m construction equipm ent and tra ffic congestion associated w ith the transport of
equipm ent, materials, and construction workers. Impacts from noise and dust during construction w ould
dim inish w ith distance fro m these areas and w ould be lim ited to the tim e o f construction which w ould
typically occur during daylight hours.

The prim ary im pact on fam ily farm s w ould be the loss o f standing crops and use o f the land w ith in the
w ork area fo r the seasons during which DAPL Project-related activities occur, as well as potential
dim inished yields fo r a fe w years follow ing construction. Dakota Access proposes to im plem ent m itigation
measures to m inim ize these potential impacts as described in th e ECP. Dakota Access w ould repair
surface drains and drainage tiles disturbed during ROW preparation, construction, and maintenance
activities. Dakota Access w ould repair or replace fences and gates removed o r damaged as a result of
ROW preparation, construction, or maintenance activities.

At Lake Oahe, prim ary im pact on ranching operations w ould be tem porary prohibition o f livestock grazing
in the construction ROW, workspace areas, and restrictions on livestock m ovem ent across the
construction ROW and workspace areas during construction. Given th e narrow, linear nature o f the DAPL
Project and the alignm ent o f the pipeline along property boundaries, livestock grazing reductions and
livestock m ovem ent restrictions w ould be m inor. Long-term or perm anent impacts on fam ily ranches are
not anticipated. Following construction and restoration, th e w o rk area w ould be restored and ranching
w ould be allowed to continue over the operational ROW. Landowners w ould be compensated fo r
tem porary loss o f land and low er yields. Grazing activities w ould return to normal after Revegetation of
the disturbed areas.

Once in operation, a perm anent 50 fo o t ROW w ould be m aintained along th e entire Project except at
segments o f th e ROW above th e HDD profile on th e flow age easements (between the HDD workspace
and the river shore) th a t w ould be m aintained by clearing w oody vegetation over a 30 fo o t corridor (a 50
fo o t easement w ould still be obtained). M aintenance w ould include the removal of any large trees and
shrubs; agricultural land use w ould not be impacted by maintenance activities in this area. Trees w ould
be protected by Dakota Access in a manner com patible w ith th e safe operation, maintenance, and
inspection o f the pipeline. Applicable regulations w ould be adhered to regarding tree and shrub removal
from along the route. Field surveys have confirm ed th a t no shelter belts w ould be impacted w ith in the
Project Area or Connected Actions. .

Tables 3-11 and 3-12 below detail the acreage o f land use impacts associated w ith the proposed Project.




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                                                 Table 3-11
                Land Use Impacts on the Flowage Easements Project Area and Connected Action


               Land Use                   Construction Workspace (acres) ^        Permanent ROW (acres) ^


 Agricultural Land                                  54.0                              15.1
 Developed                                           1.6                               0.8
 Open Space                                          6.0                               2.0
                                Total               61.3                              17.9
 ^Construction Workspace includes the permanent ROW.
 ^ Permanent ROW includes the 50-foot permanent easement and the 30-foot maintenance easement.



                                                   Table 3-12
                     Land Use Impacts on the Federal Lands Project Area and Connected Action
                                                                                            Federal Lands -
                                     Construction            Connected Action -
           Land Use                                                                        Permanent ROW
                                   Workspace (acres)       Permanent ROW (acres)
                                                                                               (acres)^
 Agricultural Land                         0.0                        0.0                        0.1
 Open Space                               15.5                        1.1                         1.0
                          Total             15.5                        1.1                       1.2
 ^ Land Use Impacts on federal lands are limited to the maintained 50 foot permanent easement and do not include
 approximately 6.3 acres of permanent easement beneath the HDD profile within the banks of Lake Oahe.

Dakota Access w ould obtain and com ply w ith applicable state regulations, county perm its, and zoning and
land use regulations. Permits may include, but are not lim ited to, grade and fill perm its, ditch crossing
perm its, road and u tility perm its, and conditional use permits. Dakota Access w ould retain one or more
Els to m o n ito r com pliance w ith environm ental conditions o f county permits.

3.6.3    Recreation and Special Interest Areas

                 3.6.3.1     Affected Environment

Generally, recreation and special interest areas include federal, state, or county parks and forests;
conservation lands; w ild life habitat management areas; hunter management areas; natural landmarks;
scenic byways; designated trails; recreational rivers; and campgrounds. Nearby recreational opportunities
in the vicinity o f the Proposed Action Area and the Connected Action areas include W ildlife Management
Areas (WMAs), Lake Oahe, and the Missouri River, none o f which are being impacted by the construction,
although th e HDD w ould cross under Lake Oahe itself.

The Missouri River and its shoreline are open to th e public and used fo r recreational activities such as
boating, swimming, and fishing. Because th e flowage easements are federally regulated and privately
owned, the re is very lim ited, if any, recreational opportunities w ith in the flow age easements.
A dditionally, there is little boating and open w ater angling on th e entire upper end o f Lake Sakakawea




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because o f lack o f access and extrem ely tu rb id w ater th rougho ut much o f th e recreational season (USAGE,
2007).

Lake Oahe's 2,250 m ile shoreline is open to th e public and offers a variety o f opportunities to outdoor
recreationists such as fishing, swim m ing, sightseeing, camping, and picnicking. M ore than 1.5 m illion
visitors enjoy Lake Oahe's recreation facilities each year. Fishing is th e m ajor recreational activity o f
visitors to the Oahe project, w ith 44% o f visitors engaging in this activity (USAGE, 2010c).

There are no public boat access sites, marinas, or public swim m ing beaches w ith in one mile o f th e flo w a g e
easements or federal lands crossings. There are no designated state parks or recreation areas, historic
trails, scenic by-ways, designated wilderness or natural areas or o th e r sensitive land uses th a t w ould be
affected by the crossings (North Dakota Parks and Recreation Departm ent, 2014).

A t the flow age easement crossing, the closest Nationwide Rivers Inventory (NRI) segment is a one mile
stretch o f the Missouri River w ith in the Fort Union Trading Post National Flistoric Site, which is about 9.2
river miles upstream from th e crossing. A t th e federal lands crossing, the closest NRI segment is Square
Butte Greek to th e O liver/M ercer Gounty Line, which is about 50 river miles upstream fro m th e Project
Area (National Park Service, 2009).

North Dakota has approxim ately 54,373 miles o f river, but no designated w ild & scenic rivers USFWS et
al., 2014).

W ildlife Management Areas

The North Dakota Game and Fish Departm ent manages th e Trenton and Overlook WMAs; neither o f which
are crossed by the proposed Project. The Trenton W M A encompasses 2,647 acres and is located
southw est of W illiston near Trenton, along th e Missouri River and Lake Sakakawea. About 13.55 acres of
the Trenton W M A extends into th e eastern portion o f flowage easement LL3440E (Figure 6) but the
closest edge is approxim ately 800 fee t from th e FIDD workspace. This area is largely prim itive and the
landscape has been allowed to develop naturally. The W M A provides recreational opportunities fo r fishing
and hunting w aterfow l, deer, and pheasants. The Overlook W M A encompasses 32 acres and is located
6.5 miles north o f Gartwright, about 1,430 fe e t west o f the FIDD entry point in McKenzie Gounty. The
Overlook W M A is only accessible by boat and is used fo r hunting deer.

The Oahe W M A is located along Missouri River and Oahe Reservoir, about 17 miles south of Bismarck
(USGS, 2014b). The proposed pipeline at the Lake Oahe crossing is about 14.5 miles south of the Oahe
WMA.

W ater Quality and Recreation

Section 303(d) o f the GWA requires states to subm it th e ir lists of w ater quality lim ited waterbodies. This
list has become known as the "TMDL list" or "Section 303(d) list." A TMDL is th e am ount of a particular
pollutan t a stream, lake, estuary, or other w aterbody can "handle" w ith o u t violating State w ater quality
standards. The final 2014 Section 303(d) list, which was subm itted to Environmental Protection Agency
(EPA) as part o f th e integrated Section 305(b) w ater quality assessment report and Section 303(d) TMDL
list, includes a list o f w aterbodies not m eeting w ater quality standards and which need TMDLs.



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Lake Sakakawea is on the 2014 Section 303(d) list of impaired waters as not supporting fish consum ption
because o f high levels o f m ethyl-m ercury; however, Lake Sakakawea w ould not be crossed or otherwise
impacted as a result o f Project activities on the flowage easements. Lake Oahe is not listed as needing a
TMDL and fu lly supports recreational use (North Dakota Departm ent of Health, 2015). Because Lake Oahe
already meets the state w ate r quality standards, the Proposed and Connected Action Areas are not
anticipated result in impacts th a t w ould cause an im pairm ent o f w ater quality or the designated use of
Lake Oahe.

Wilderness Areas

The W ilderness Act o f 1964 defines wilderness as lands th a t may contain ecological, geological, scientific,
educational, scenic or historical value. There are three designated wilderness areas w ith in North Dakota:
Chase Lake, Lostwood, and Theodore Roosevelt W ilderness Areas. There are no designated wilderness
areas, and no designated Nature Preserves or Natural Areas w ith in one mile o f either crossing (Wilderness
Institute, 2014).

                 3.6.3.2    Impacts and Mitigation

The recreational enjoym ent o f w ild life (such as hunting or bird watching) may be tem porarily affected by
construction activities, depending on season and location. However, this effect w ould be short-term .

Recreationists may observe ROW clearing along th e river banks. Because th e pipeline w ould cross
underneath the river via th e HDD m ethod, there w ould be no disruption to the course or cross-current o f
the river, and w ould not im pact lake/river recreationists.

3.7     Cultural and Historic Resources and Native American Consultations

Section 106 o f the National Historic Preservation Act o f 1966 (NHPA), as amended, and im plem ented by
36 CFR Part 800, requires Federal lead agencies to assess the effects o f perm itted actions on historic
properties. Historic properties are defined in th e NHPA as prehistoric and historic archaeological sites,
standing structures, or o the r historic resources listed in, or eligible fo r listing in the National Register of
Historic Places (NRHP).

Under th e "no action" alternative, Dakota Access w ould not construct th e proposed Project and no
impacts on cultural and historic resources w ould occur. However, If the objectives o f th e Project are to
be m et under the "no action" alternative, other projects and activities w ould be required and these
projects could result in th e ir own impacts on cultural and historic resources, which w ould likely be similar
to or greater than the proposed Project. Nevertheless, the impacts associated w ith a fu tu re project
developed in response to th e "no action" alternative are unknown, w hile no impacts on cultural and
historic resources w ould occur as a result o f the Proposed Action, as described in the sections below.

As detailed in Appendix I, an Archaeological Resource Protection Act (ARPA) perm it was not required fo r
any fee title or federal lands as these lands w ere determ ined through th e Class I literature search to have
been extensively surveyed fo r cultural resources. Subsequent conversations w ith Corps personnel
indicated th a t these surveys w ere o f sufficient intensity and no fu rth e r assessment o f these properties
was w arranted. For All Class III survey investigations were conducted on private property w here land



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access was voluntarily given by landowners. Cultural surveys w ere conducted in 2014 and were
com pleted during the 2015 survey season. Appendix I contains th e Cultural Resources Report which
details th e results o f th e Class I literature review, survey m ethodology, and survey results w ith
management recom m endations. The cultural resources investigations w ere supervised by Principal
Investigators w ho are perm itted by th e State Historical Society o f North Dakota (SHSND).

3.7.1    Cultural Resources Studies

Based on data com piled from previously executed archaeological investigations it is recognized th a t much
o f the region has been inhabited by human populations fo r approxim ately 12,000 years. Throughout much
o f the state th e recorded prehistoric occupations range from Paleoindian Period encampments to Late
Prehistoric Period sites. M ultip le sites have been explored th a t suggest the area was inhabited by societies
adapted fo r lifestyles on th e Plains and in th e various geographical regions of th e state dating back to 6000
BC. The current Project Areas have a m oderate to high probability fo r archaeological deposits based on
proxim ity to perm anent w ater sources, topography, lack o f significant ground disturbances, and
depositional processes.

                 3.7.1.1    Affected Environment

Cultural resources background studies and field surveys were conducted fo r the flowage easement and
federally-ow ned lands traversed by th e Project Area. The background studies determ ined th a t one
previously recorded site is mapped w ith in th e portion o f th e 400-ft survey corridor th a t traverses the
flow age easements. Additionally, portions o f th e flow age easement Project Area have been subject to
previous surveys (Larson e t al., 1987). Site 32WI1367, also known as th e Buford-Trenton Irrigation System
(BTIS), is a National Register nom inated cultural resource consisting o f a pum ping plant, main canal, and
associated irrigation components. The BTIS construction began in 1940 and continued through th e 1950's
managed by the Departm ent of Interior, W ork Progress A dm inistration, and the Farm Security
A dm inistration. The proposed Project intersects w ith one o f the extant irrigation canals listed as a
contributing elem ent o f th e BTIS in the northeastern corner o f Section 30 o f Township 152 North, Range
103 West.

The background review fo r th e portion o f th e Project area th a t traverses federal lands determ ined the
federal lands have been previously surveyed fo r cultural resources, and eight (8) previously recorded
cultural resource sites are mapped w ith in the 400-ft environm ental survey corridor. Five o f these sites
(32MOx0004, 32M 00054, 32M 00060, 32M 00061, and 32MO0259) are located in M orton County, on the
western side o f the Lake Oahe. The rem aining three sites (32EM0019, 32EM0021, and 32EM0221) are
located in Emmons County, on the eastern side o f Lake Oahe. These sites are all situated between the
banks o f Lake Oahe and w ill be entirely avoided as the proposed HDD workspace w ould be positioned
beyond the mapped boundaries o f these sites.



The Class ll/Class III cultural resource inventory of th e proposed Project Area was conducted in accordance
w ith th e N orth Dakota SHPO Guidelines M anual fo r Cultural Resources Inventory Projects (SHSND, 2012).
As outlined in Appendix I, systematic survey methods employed by field crews included surface inspection
and shovel probing. Surface inspection was conducted in areas w ith surface visibility greater than 10
percent along fixed 15 m (49 ft) interval transects. Shovel probes were excavated on a 30 m grid in areas



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w ith less than 10 percent surface visibility. In general, shovel probing was em ployed m inim ally to
docum ent soil profile data as th e m ajority o f these areas are dom inated by expansive agricultural pastures
w ith high surface visibility.

The survey of th e flow age easements resulted in th e assessment of the portion o f Site 32WI1367 w ith in
the survey corridor, and the docum entation o f a new prehistoric site (32MZ2874) located on th e southern
banks o f th e Missouri River. Dakota Access would entirely avoid im pacting this NRHP-eligible canal feature
by installing the pipe via HDD in this area. The HDD workspace w ould be off-set a sufficient distance to
ensure th a t no com ponents or associated features of this canal w ould be adversely impacted. Regarding
site 32MZ2874 on the south side o f th e Missouri River, th e HDD workspace has been designed in order to
avoid impacts to this site. Exclusionary fencing w ould be installed along th e eastern border of th e HDD
workspace during drilling activities to prevent inadvertent impacts or trespassing. No additional cultural
resources w ere docum ented w ith in th e portion o f the Project area th a t traverses th e flowage easements.

A Class ll/Class III Archaeological Survey was also conducted w ith in a 400-foot environm ental survey
corridor, and along a 100-foot-w ide potential stringing corridor across federal lands. Survey investigations
across th e federal lands resulted in the docum entation o f one new archaeological site (32MO570). This
site consists o f a singular lithic flake in isolated contexts and is recomm ended as not eligible fo r listing in
the National Register o f Historic Places (NRHP) and no fu rth e r w ork is w arranted.

These survey investigations did not include a revisit o f the 7 previously recorded sites mapped directly
adjacent to the Lake Oahe banks. The HDD workspaces fo r th e Project are off-set from the banks o f the
lake by a sufficient distance to entire ly avoid all seven o f these previously recorded archaeological sites.

A m ore thorough discussion o f th e cultural setting, relevant previous studies, as well as geologic and
geom orphic analysis o f th e region, and results o f th e current survey can be referenced in Appendix I.

As m entioned previously, survey investigations were restricted to those properties w here land access was
vo lu nta rily given by landowners. As detailed in Appendix I, an Archaeological Resource Protection Act
(ARPA) p erm it was not required fo r any fee title or federal lands as all Class ll/lll surveys were conducted
exclusively across private lands. Should significant m odifications to workspace design require impacts to
federal lands, Dakota Access w ould afford th e district com m ander or th e ir agent the o p p o rtu n ity to review
ARPA or o the r antiquities perm its th a t may be required to assess direct impacts to federal lands. Access
to the shoreline fo r w a te r acquisition is not required on Corps fee-lands.

                  3.7.1.2    Impacts and Mitigation

Dakota Access has conducted Class III inventory surveys th ro u g h o u t the 400-foot-w ide survey corridor,
and 100-foot-w ide pullback string. Regarding th e NRHP-eligible BTIS (site 32WI1367), the Project
proposes to traverse one historic canal feature th a t has been determ ined to be an eligible com ponent of
the site. Impacts to this feature w ould be avoided via HDD to ensure the integrity of construction design
fo r these historic-age features is preserved. This management recom m endation has been included as a
viable avoidance option in th e Class III report subm itted to both the ND SHPOs office th a t the USACE
regional archaeological staff. To date, th e SHPO has deferred consultation to the regional USACE
archaeologist and has not provided com m ent regarding these avoidance options.




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There are no other previously or newly recorded historic properties identified on or near the flowage
easements th a t are crossed by the Project. Although there are seven previously docum ented cultural
sites w ith in th e 400-foot survey corridor in the vicinity o f the Lake Oahe crossing, these sites w ould not
be adversely impacted by the Project. HDD workspaces, as well as staging and stringing areas w ould be
positioned in excess o f 100 fe e t beyond the mapped boundaries of these previously recorded sites.
Specifically, th e western HDD workspace w ould be located approxim ately 630 feet west of previously
cultural resource sites, and th e eastern HDD workspace w ould be located 230 feet east o f the mapped
cultural resources sites. Additionally, Class III survey efforts conducted w ith in the Project workspace
directly adjacent to these site boundaries w ere negative fo r cultural resources thus confirm ing th a t no
cultural com ponents associated w ith these sites stretch into th e currently defined workspace areas.
Overview maps depicting workspace design in relation to these previously recorded sites is provided in
Appendix I.

In accordance w ith Section 106 of the NHPA, Dakota Access has made a good fa ith e ffo rt to identify
significant historic properties w ith in the Project area. Based on th e result o f these efforts, no properties
consisted to be eligible, or potentia lly eligible fo r listing in the National Register o f Historic Places (NRHP)
w ould be adversely impacted by th e proposed Project or Connected Action.

Dakota Access' UDP was developed (Appendix F) fo r use during all DAPL Project construction activities
which describes actions th a t w ould be taken in the event o f a previously unrecorded cultural resource site
is discovered during construction activities. The UDP explicitly calls fo r w ork to stop until the correct
a u th ority or agency can be contacted and th e find can be properly evaluated.

3.7.2    Native American Consultations

In October 2014, Dakota Access m et w ith representatives o f the Standing Rock Sioux Tribe and the Tribal
Historic Preservation Office (THPO) o f th e Standing Rock Sioux Tribe to inform ally introduce the Project,
and inquire about any potential areas o f interest or cultural im portance traversed by th e Project. This
triba l coordination was m eant as a good fa ith e ffo rt to involve potential stakeholders in early routing
evaluation. Formal consultation w ith federally-recognized tribal entities fo r those portions o f the Project
on federal o rfe e title d lands has not been conducted per Section 106 o f th e National Historic Preservation
Act (NHPA), which requires governm ent to governm ent consultations w ith tribal entities.

3.8      Social and Economic Conditions

Under th e "no action" alternative, Dakota Access w ould not construct th e proposed Project and no
impacts on social and econom ic conditions w ould occur. However, If the objectives o f th e Project are to
be m et under the "no action" alternative, other projects and activities w ould be required and these
projects w ould result in th e ir own impacts on social and econom ic conditions, which w ould likely be
sim ilar to or greater than th e proposed Project. Nevertheless, the impacts associated w ith a fu tu re project
developed in response to the "no action" alternative are unknown, w hile prim arily beneficial impacts on
social and economic conditions w ould occur as a result o f th e Proposed Action, as described in th e sections
below.

The overall Project is a $3.78 billion dollar investm ent directly impacting th e local, regional, and national
labor force by creating nearly 12,000 construction jobs. As a m atter of practice and th e ir promise as part



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o f this Project, Dakota Access w ould utilize American labor to build th e pipeline. Dakota Access has
team ed up w ith th e various craft and labor unions in the project regions and nationally to ensure the
Project is constructed by highly qualified and experienced local and regional labor resources. These well-
paying construction jobs w ould create considerable labor income and state income tax revenue -
including th e generation o f m ore than $13.4 m illion in ad valorem taxes. Upon authorization, the Project
w ould put welders, mechanics, electricians, pipefitters, heavy equipm ent operators, and others w ith in
the heavy construction industry to work.

3.8.1    Demographics, Employment, and Income

                  3.8.1.1   Affected Environment

Population, em ploym ent, and economic data w ere collected using Census tracts w ith in a 0.5 mile radius
o f th e Proposed Action.

Two Census tracts were identified in th e vicinity o f th e flowage easement crossing, including CT9625 in
McKenzie County and CT9535 in W illiam s County. The to ta l population fo r CT9625 in McKenzie County is
1,504 and 1,540 fo r CT9535 in W illiam s County. There are a 557 and 618, respectively, households in the
effected Census tracts in McKenzie and W illiam s counties. Unem ploym ent in McKenzie County CT9625 is
1.2% and in W illiam s County CT 9535 is 1.7%. For those w ho are employed, agriculture employs the largest
num ber o f people in both Census tracts, follow ed by educational services, health care and social
assistance fields. Construction is the th ird largest industry th a t employs residents in the tw o Census tracts.

Near the Lake Oahe crossing, tw o Census tracts w ere identified fo r this EA, including CT9665 in Emmons
County and CT204 in M orton County. The to ta l population fo r CT9665 in Emmons County is 3,521 and
3,063 fo r CT204 in M orto n County. There are 1,634 and 1,236, respectively, households in the effected
Census tracts in Emmons and M orton counties. Unem ploym ent in Emmons County CT9665 is 4.9% and in
M orto n County CT204 is 1.5%. For those who are employed, agriculture employs the largest num ber o f
people CT9665 in Emmons County, fo llo w ed by educational services, health care and social assistance
fields. Construction is th e th ird largest industry th a t employs residents in CT9665 in Emmons County.
Educational services, and health care and social assistance is th e leading industry em ployer in CT204 in
M orto n County follow ed by agriculture. Retail trade is th e th ird largest industry em ploying residents in
CT204 in M orton County.

                  3.8.1.2   Impacts and Mitigation

The Project is assumed to have a short construction w indow w ith a small num ber o f construction workers
dedicated to these crossings. It is possible th a t counties w ith in the Project Area could experience short­
term te m p orary effects to the local econom y through induced spending from construction employees
working on the crossing. No residential homes or farm s w ould be relocated resulting fro m the proposed
action. Additionally, no dem ographic changes in the Census tracts affected are anticipated because no
perm anent employees w ould be created as a result o f the Proposed Action.

The Project also has trem endous secondary and sustainable economic benefits to the United States by
supporting energy independence, increasing em ploym ent opportunities, and adding to demand in many
m anufacturing sectors, which w ould be a boost to th e overall economy. W hen considering th e economic



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im pact and benefit, once U.S. w orkers are em ployed on th e Project, consistent w ith most mega­
infrastructure projects, th e w orkers w ould spend th e ir earnings in th e com m unities w here th e y w ork and
live, resulting in m ultiplied economic impacts th a t w ould be nearly $5 billion ju st during th e construction
phase. This economic im pact w ould affect m anufacturing in many dom estic sectors such as the follow ing
examples. It result in new vehicles being purchased, which positively impacts th e auto industry. It would
result in new homes being built, which improves and increases the housing construction, resale, and
lending business located in the region and across th e U.S. It impacts the food industry by requiring more
food services and products to be delivered and consumed in th e DAPL Project region. The list could
continue w ith a description o f many secondary benefits, but in summary, the economic im pact to th e U.S.
as well as the im m ediate region where th e pipeline is located is trem endous and critical to keep Americans
employed and our econom y moving forw ard.

3.9      EnvironmentalJustice

Under th e "no action" alternative, Dakota Access w ould not construct th e proposed Project and no
environm ental justice impacts w ould occur. However, If the objectives of the Project are to be m et under
the "no action" alternative, other projects and activities w ould be required and these projects could result
in th e ir own environm ental injustice impacts, which w ould likely be sim ilar to or greater than th e proposed
Project. Nevertheless, th e impacts associated w ith a fu tu re project developed in response to th e "no
action" alternative are unknown, w hile no disproportional impacts on m inority or low-incom e populations
w ould occur as a result of th e Proposed Action, as described in th e sections below.

3.9.1    Affected Environment

EO 12898, Federal Actiorts to Address Environm ental Justice In M in o rity Populations and Low-lncome
Populations, requires all federal agencies to identify and address disproportionately high and adverse
human health or environm ental o f th e ir programs and policies on m inority and low-incom e populations
and com m unities. The CEQ guidance suggests th a t an environm ental justice population may be identified
if "th e m in o rity population percentage o f th e affected area exceeds 50%, or if the m inority population
percentage o f the affected area is m eaningfully greater than the m inority population in the general
population or other appropriate unit o f geographic analysis" (CEQ, 1997). The CEQ defines low-incom e
populations based on an annual statistical poverty threshold. In 2013, the poverty threshold fo r th e 48
contiguous states fo r an individual under th e age o f 65 living alone was $12,119 (U.S. Census Bureau,
2014). In this analysis, low -incom e populations were identified when the percentage o f th e population
living below the poverty rate exceeded th e U.S. average, which is 14.9%. EPA has identified ten
com m unities across th e U.S. term ed Environmental Justice Showcase Communities where EPA has
com m itted to address environm ental justice challenges existing in those comm unities.

3.9.2    Impacts and Mitigation

No appreciable m ino rity or low -incom e populations exist in these Census tracts at either crossing (Tables
3-13 through 3-16). Therefore, this to pic was om itted from fu rth e r analysis in this EA.




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                                                      Table 3-13
          M inority Population Statistics fo r the Flowage Easements Project Area and Connected Action
                                                                     Percent

                 Total                                                             Two or
  Location                    White                          Asian     Pacific                           Hispanic or
               Population                Black   NA/AN^                             More        Other
                              Alone^                         Alone    Islander                             Latino^
                                                                                    Races

 FEDERAL
 United
               309,138,711        63.7     12.2      0.7          4.8       0.2            2     0.2        16.4
 States
 STATE
 North
                 676,253          90.0      1.2       5.3         1.0       0.1          1.7     0.7         2.1
 Dakota
 COUNTY
 McKenzie
                  6,692           76.6     0.2       20.4         0.6       0.0          1.6     0.6         2.7
 County
 Williams
                  23,287          91.5     0.2        5.0         0.3       0.1          1.7     1.2         2.3
 County
 LOCAL
 McKenzie County
 CT9625            1,418          98.4     0.0       0.8          0.2       0.0          0.3     0.3         1.2
 Williams County
 CT9535           24,563          91.4     0.4       5.0          0.5       0.0           1.4    1.4         2.5
  Source: U.S. Census Bureau, American Community Survey (2008-2012 5-year estimates).
  ^ White Alone, not Hispanic or Latino.
  ^ NA/AN: Native American/Alaska Native.
  ^ Hispanic or Latino is ethnicity not race, although is still considered in this analysis.



                                                  Table 3-14
       Low-lncome Population Statistics for the Flowage Easements Project Area and Connected Action
          Location                Median Household Income ($)         Persons Below the Poverty Level (%)
FEDERAL
United States                                  53,046                                14.9
STATE
North Dakota                                   51,641                                12.1
COUNTY
McKenzie County                                61,893                                13.2
Williams County                                69,617                                 8.1
LOCAL
McKenzie County
  CT9625                                       65,650                                 6.1
Williams County
  CT9535                                       72,500                                 9.9
 Source: U.S. Census Bureau, American Community Survey (2008-2012 5-year estimates).




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No Environmental Justice Showcase Com m unities potentially affected by th e Proposed Action are located
w ith in th e federal lands or flow age easement Project Area (EPA, 2012).

                                                    Table 3-15
                        M inority Population Statistics for the Federai Lands Project Area
                                                                       Percent
                      Total                                                          Two or
     Location                     White                          Asian     Pacific                              Hispanic
                    Population             Black NA/AN^                               More           Other
                                  Alone^                         Alone    Islander                             or Latino^
                                                                                      Races
 FEDERAL
 United States     309,138,711       63.7       12.2      0.7         4.8         0.2         2          0.2      16.4
 STATE
 North Dakota        676,253         90.0        1.2      5.3         1.0         0.1        1.7         0.7      2.1
 COUNTY
 Emmons
                       3,544         99.4        0.0      0.3         0.0         0.0        0.3         0.1      0.2
 County
 Morton
                      27,439         93.8        0.5      3.7         0.2         0.0        1.3         0.5      1.5
 County
 LOCAL
 Emmons County
 CT9665                3,521         98.7        0.0      0.1         0.4          0         0.8         0.1      0.2
 Morton County
 CT204                 3,063         97.6        0.0       1.7        0.0         0.0        0.7         0.0      0.0
  Source: U.S. Census Bureau, American Community Survey (2008-2012 5-year estimates).
  ^ White Alone, not Hispanic or Latino.
  ^ NA/AN: Native American/Alaska Native.
  ^ Hispanic or Latino is ethnicity not race, although is still considered in this analysis.



                                                    Table 3-16
                         Low-lncome Population Statistics fo r the Federal Lands Project Area
                Location               Median Household Income ($)           Persons Below the Poverty Level (%)
 FEDERAL
   United States                                53,046                                             14.9
 STATE
   North Dakota                                 51,641                                             12.1
 COUNTY
   Emmons County                                37,304                                             14.7
   Morton County                                57,988                                             8.8
 LOCAL
   Emmons County
    CT9665                                      37,304                                             14.7
   Morton County
    CT0204                                      78,135                                             5.0
  Source: U.S. Census Bureau, American Community Survey (2008-2012 5-year estimates).




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3.10    Hazardous Waste

The EPA (2015) defines hazardous waste as waste th a t is dangerous or potentially harm ful to our health
or the environm ent, occurring as liquids, solids, gases, or sludges. They can be generated through the
disposal o f commercial products, such as cleaning fluids or pesticides, or m anufacturing processes.
Im proper managem ent and disposal of hazardous substances can lead to pollution o f groundw ater or
other drinking w a te r supplies and th e contam ination of surface w ater and soil. The prim ary federal
regulations fo r the m anagement and disposal o f hazardous substances are the Comprehensive
Environmental Response, Compensation, and Liability Act (CERCLA) and the Resource Conservation and
Recovery Act (RCRA).

A review o f regulated facilities fo r hazardous materials along th e Project corridor was conducted by
searching online records m aintained by th e EPA (2014). Presently, there are no recognized Radiation
Inform ation Database, Brownfields, Superfund, Toxic Release Inventory, or air emission sites w ith in one
mile o f th e flo w a g e easements and Lake Oahe crossings. No operating sensitive receptors, such as schools
or hospitals, are reported w ith in at least one mile. Additionally, there are no NPDES discharge sites w ith in
one m ile o f th e Project Areas.

W ith the Proposed Action, there is potential fo r tem porary impacts to public safety fro m hazardous
m aterial use. O ther hazards to w orker safety may also exist along the Project corridor, but do not pose a
significant impact. Because there w ere no regulated sites found w ith in the one-m ile search radius of the
Project Area, no impacts to the Project, Project media, or w orker safety are expected. In the unlikely
event contam ination is encountered during construction, th e UDP (Appendix F) w ould be im plem ented
to protect people and th e environm ent and avoid or m inimize any effects fro m unearthing th e material.

Any hazardous materials discovered, generated, or used during construction w ould be managed and
disposed o f in accordance w ith applicable local, tribal, state, and federal regulations. Should emergency
response be required during construction, the contractor w ould have some o f th e ir own trained or
contracted responders, and local response teams w ould be expected to assist.

Dakota Access w ould com ply w ith any laws, regulations, conditions, or instructions issued by th e EPA, or
any Federal, state, or local governm ental agency having jurisdiction to abate or prevent pollution, such as
the RCRA, and State hazardous waste managem ent rules.

3.11    Reliability and Safety

The PHMSA, a federal agency w ith in the U.S. DOT is the prim ary federal regulatory agency responsible fo r
ensuring th e safety o f Am erica's energy pipelines, including crude oil pipeline systems. As a part o f th a t
responsibility, PHMSA established regulatory requirem ents fo r the construction, operation, maintenance,
m onitoring, inspection, and repair of liquid pipeline systems.

Construction activities could present safety risks to those perform ing the activities, residents and other
pedestrians in the neighborhood. Given the low population density o f the area, risks w ould be lim ited to
workers involved w ith the Project. All activities w ould be conducted in a safe manner in accordance w ith
the standards specified in the Occupational Safety and Health A dm inistration (OSHA) regulations.




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To prevent pipeline failures resulting in inadvertent releases, Dakota Access w ould construct and m aintain
the pipeline to m eet or exceed industry and governm ental requirem ents and standards. Specifically, the
steel pipe w ould m eet PHMSA specifications under 49 CFR § 195, fo llo w standards issued by the American
Society o f Mechanical Engineers, National Association fo r Corrosion Engineers and American Petroleum
Institute (API). Once installed, the pipeline w ould be subjected to testing to verify its integrity and
compliance w ith specifications, including hydrostatic pressure testing at the crossings, checking coating
integrity, and X-ray inspection of th e welds. The pipeline w ould be placed into service only after
inspection to verify compliance w ith all construction standards and requirem ents. Dakota Access w ould
m aintain and inspect the pipeline in accordance w ith PHMSA regulations, industry codes and prudent
pipeline operating protocols and techniques. The pipeline ROW w ould be patrolled and inspected by air
every 10 days, w eather perm itting, but at least every three weeks and not less than 26 tim es per year, to
ch eckfo r abnorm al conditions or dangerous activities, such as unauthorized excavation along the pipeline
route.

As previously discussed, Dakota Access is currently drafting a Facility Response Plan, in accordance w ith
49 CFR 194, which details the procedures to be im plem ented in the event o f an inadvertent pipeline
release and w ould be in place prior to com mencing transportatio n o f crude oil. Dakota Access anticipates
subm itting th e Facility Response Plan to PHMSA fo r review and approval in the th ird quarter of 2016 by
PHMSA and w ould provide a copy to th e Corps at this tim e.

Following com pletion o f construction and th rougho ut operation o f th e Project facilities, th e Operator and
qualified contractors w ould m aintain emergency response equipm ent and personnel at strategic points
along th e pipeline route. These personnel w ould be trained to respond to pipeline emergencies as well
as in th e National Incident M anagem ent System (NIMS) Incident Command System (ICS). Additionally,
contracts w ould be in place w ith oil spill response companies th a t have th e capability to m obilize to
support cleanup and rem ediation efforts in the event of a pipeline release. The operator w ould also
coordinate w ith local emergency responders in preventing and responding to any pipeline related
problems. These activities w ould include conducting and hosting, over a period of tim e, emergency
response drills w ith both Dakota Access employees and local emergency responders along the pipeline
route.

In addition to the testing and inspection measures listed above, Dakota Access w ould utilize a supervisory
control and data acquisition (SCADA) system to provide constant rem ote oversight of the pipeline
facilities. Power fo r th e SCADA system w ould be provided fro m an existing pow er grid. In the event of a
pow er outage, a 500 w a tt U ninterruptable Power Supply w ould supply low voltage pow er to the
Programmable Logic C ontroller and com m unication equipm ent. Communication w ith the SCADA system
w ould be accomplished via satellite (Hughes Global Network) and telephone (4G cellular [ATT] or landline
depending on availability/coverage). Both form s o f com m unication are continually engaged to poll
inform ation fro m these sites fo r 100% reliable rem ote m onitoring / operation o f these sites through the
SCADA system to th e Operations Control Center (OCC) in Sugarland, Texas (a backup control room is
located in Bryan, Texas), and are proven to have th e least potential fo r in terruption during pipeline
operations.

The SCADA system w ould alert Dakota Access' OCC Operator, located in Sugarland, Texas (a backup
control room is located in Bryan, Texas), o f rapid drops in pressure, w ho w ould then activate the controls
as necessary and initiate procedures fo r an appropriate response. Leak Warn, a leading softw are program



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fo r m onitoring pipelines, is being tailored to the pipeline facilities, in accordance w ith Pipeline and
Hazardous M aterials Safety A dm inistration requirem ents. The Operator w ould utilize a Com putational
Pipeline M onitoring System (CPM) to m o nitor the pipeline fo r leaks. The CPM is a state-of-the-art pipeline
m onitoring to o l and features a real-tim e transient model th a t is based on pipeline pressure, flow , and
te m perature data, which is polled from various field instrum ents every 6 seconds and updates th e model
calculations to detect pipeline system variations every 30 seconds. A fte r the system is tuned, this state-
of-the -a rt CPM system is capable o f detecting leaks down to 1 percent or better of the pipeline flo w rate
w ith in a tim e span o f approxim ately 1 hour or less and capable of providing rupture detection w ith in 1 to
3 minutes. In th e event th a t a leak is confirm ed through verification, pum p station shutdown w ould be
initiated w ith in a predeterm ined am ount o f tim e to effectuate. Next, the rem otely controlled isolation
valves (m ainline valve sites w ould be installed on both sides o f large w aterbody crossings fo r isolation in
the event o f an emergency shutdown), which are operable from th e OCC, w ould be closed. These valves
have a closure tim e o f no greater than three (3) minutes. M onitoring o f the pipeline segments installed
via HDD w ould be accomplished in th e same manner as those segments installed by conventional methods
(i.e., SCADA, internal inspection devices, and aerial patrols). Typically, repairs are not made on any section
o f pipe greater than 10 to 20 fe e t below the ground surface depending on th e repair needed. If a material
im pact was on th e pipeline below th e 10-foot depth, operation o f th e system w ould be m odified
accordingly (e.g., reduce operating pressure) or th e line w ould be re-drilled. If inspections identify an
anomaly, requirem ents w ould be follo w e d to com ply w ith U.S. DOT requirem ents.

3.12    Air Quality and Noise

Under th e "no action" alternative, Dakota Access w ould not construct th e proposed Project and no
impacts on air quality and noise w ould occur. However, If th e objectives of th e Project are to be met
under the "no action" alternative, o th e r projects and activities w ould be required and these projects
w ould result in th e ir own impacts on air quality and noise, which w ould likely be sim ilar to or greater than
the proposed Project. Nevertheless, th e impacts associated w ith a fu tu re project developed in response
to the "no action" alternative are unknown, w hile only tem porary and m inor impacts on air quality and
noise w ould occur as a result o f the Proposed Action, as described in th e sections below.

3.12.1 Air Quality

                 3.12.1.1 Affected Environment

The Clean Air Act (CAA) o f 1970 requires th a t states adopt am bient air quality standards. The CAA (42 USC
7401 et seq.) establishes am bient air quality standards, perm it requirem ents fo r both stationary and
m obile sources, and standards fo r acid deposition and stratospheric ozone (03) protection. The standards
have been established in order to p rotect the public from potentially harm ful am ounts o f pollutants.
Under th e CAA, th e EPA establishes prim ary and secondary air quality standards. Primary air quality
standards p rotect public health, including the health o f "sensitive populations, such as people w ith
asthma, children, and older adults." Secondary air quality standards protect public w elfare by prom oting
ecosystem health, and preventing decreased visibility and damage to crops and buildings.

According to the EPA, North Dakota has no nonattainm ent areas fo r criteria pollutants. The Bismarck air
quality m onitoring station in Burleigh County is located approxim ately 23 miles north-northw e st o f the
Lake Oahe crossing. The Bismarck air quality m onitoring station measures sulfur dioxide, nitrogen dioxide.



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particulate m atter, ground-level ozone, and meteorological data (North Dakota Departm ent o f Health,
2013). The W illiston air quality m onitoring station in W illiam s County is located approxim ately 18 miles
northeast o f the flow age easement crossing. The W illiston air quality m onitoring station measures
particulate m atter, ground-level ozone, and m eteorological data. The m onitoring objective of both
stations is to measure population exposure to air quality parameters.

M onitoring data fo r these stations fro m 2003-2013 show pollutan t levels fo r sulfur dioxide, nitrogen
dioxide, ozone, and particulate m a tte r did not exceed state or deferral am bient air quality standards at
any o f th e state-operated m onitoring sites (North Dakota D epartm ent o f Health, 2013).

                  3.12.1.2 Impacts and Mitigation

W ith th e Proposed Action, no long-term impacts to air quality w ould occur; th e proposed pipeline w ould
not em it any criteria air pollutants.. Short-term impacts to air quality may occur during construction phase
o f th e Project. The contribution o f the Project to greenhouse gas emissions during construction w ould be
considered a m inor indirect im pact to clim ate change.

During construction, emissions from fuel-burning internal com bustion engines (e.g., transportation trucks,
heavy equipm ent, drill rigs, etc.) w ould te m p o ra rily increase th e levels of some o f th e criteria pollutants,
including carbon monoxide, nitrogen dioxide, ozone, particulate m atter, and non-criteria pollutants such
as volatile organic compounds. Construction o f th e Lake Oahe crossing is likely to take six to eight weeks
to com plete. Conventional pipeline construction across the flow age easements w ould take approxim ately
tw o weeks and activities at th e HDD exit point fo r crossing th e Missouri River on th e flowage easement
LL3440E w ould likely operate fo r fo u r to six weeks. To reduce th e emission of criteria pollutants, fuel-
burning equipm ent running tim es w ould be kept to a m inim um and engines w ould be properly
m aintained. This tem porary increase in emissions is not expected to im pact air quality or visibility in the
region long-term .

3.12.2    Noise

                  3.12.2.1 Affected Environment

Sound is a sequence o f waves of pressure th a t propagates through compressible media such as air or
w ater. W hen sound becomes excessive, annoying, or unwanted it is referred to as noise.

Decibels (dB) are the units o f m easurem ent used to quantify th e intensity o f noise. To account fo r the
human ear's sensitivity to low level noises, th e decibel values are corrected fo r human hearing to weighted
values known as decibels o f th e A-weighted scale (dBA; see Table 3-17). The EPA has set values th a t
should not be exceeded. W hile the prim ary responsibility of regulating noise was transferred from the
EPA to state and local governm ents in 1981, the Noise Control Act o f 1972 and the Q uiet Communities
Act o f 1978 are still in effect.




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                                                    Table 3-17
                                                   Noise Values
                            Area                                  Noise Level                  Effect
 All areas                                                   Leq (24) <70 dBA     Hearing
 Outdoors in residential areas and farms where people
                                                                                  Outdoor activity interference
 spend varying amounts of time in which quiet is a basis     Ldn <55 dBA
                                                                                  and annoyance
 for use
 Outdoor areas where people spend limited time such as                            Outdoor activity interference
                                                             Leq (24) < 55 dBA
 school yards, playgrounds, etc.                                                  and annoyance
                                                                                  Indoor activity interference
 Indoor residential areas                                    Ldn <45 dBA
                                                                                  and annoyance
                                                                                  Indoor activity interference
 Indoor areas with human activities such as schools, etc.    Leq (24) < 45 dBA
                                                                                  and annoyance
  Source: (The Engineering ToolBox, 2015)
  Leq: 24-hr equivalent sound level
  Ldn: day-night average sound level

The dom inant land use in the proposed Project Area is agricultural. The Day-Night Average Sound ( L d n )
level fo r agricultural crop land is 44 dBA, and rural residential is 39 dBA (The Engineering ToolBox, 2015).

                  3.12.2.2 Impacts and Mitigation

Construction o f the Project would te m po rarily affect the noise levels on and around th e flo w a g e easement
and federal lands crossing areas. Construction w ould cause tem p o ra ry increases in th e am bient sound
environm ent in the areas im m ediately surrounding active construction. The use o f heavy equipm ent or
trucks w ould be th e prim ary noise source during construction and excavation. The level o f im pact w ould
vary by equipm ent type, duration o f construction activity and the distance between th e noise source and
the receptor. Construction activities w ould typically be lim ited only to daytim e hours. Potential
exceptions include w o rk determ ined necessary based on w eather conditions, safety considerations,
a n d /or critical stages o f th e HDD [e.g. if pausing fo r th e night w ould put the drill at risk o f closing or
jam m ing].

Once constructed and in-service, norm al pipeline operations are not audible and noise impacts w ould be
lim ited to th e short-term construction w indow . Dakota Access w ould m itigate noise impacts by lim iting
equipm ent running tim es and th e duration of Project construction to th e m inim um am ount necessary to
com plete the Project. Noisy construction activities w ould typically be lim ited to the least noise-sensitive
tim es o f day (daytim e only).

It is not anticipated th a t th e tem porary increase in am bient sound levels associated w ith construction
w ould result in a significant noise impact.




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                                       4.0      CUMULATIVE IMPACTS

Cumulative impacts to th e environm ent result fro m th e increm ental im pact of the action when added to
other past, present, and reasonably foreseeable fu tu re actions regardless o f w hat agency (Federal or non-
Federal) or person undertakes such other actions. Cumulative impacts may result from individually m inor
but collectively significant actions taking place over a period o f tim e 40 CFR Part 1508.

Consultation w ith th e North Dakota Public Service Commission (NDPSC) personnel, and subsequent
evaluation o f its online resources, provided a systematic source o f inform ation th a t was useful fo r
evaluating cum ulative impacts. Although th e NDPSC does not m aintain a centralized repository fo r energy
infrastructure developm ent projects, it provides a summary o f siting applications, which offers one m etric
o f energy project developm ent (excluding gathering lines), particularly over tim e (NDPSC, 2012a). The
siting application sum m ary (NDPSC, 2012b) contains records starting in 1996. The num ber o f statewide
siting applications increases m arkedly starting in 2007, coinciding w ith developm ent o f the Bakken
Formation oil field. Prior to that, only three to fo u r applications w ould typically be subm itted on an annual
basis (NDPSC, 2012a).

Past actions in the vicinity o f th e Project include oil and gas developm ent and associated infrastructure,
u tility installation, and agriculture. These past activities m ost likely have had effects on soils, w ater
resources, vegetation, w ildlife, land use, visual resources, paleontological resources, and cultural
resources. The Dakota Access Project route was sited to minimize green-space impacts by co-locating
w ith existing u tility corridors over much o f its length. As a result, th e flow age easement crossing, as
designed, w ould be co-located w ith a Oneok/TransCanada natural gas pipeline and the Lake Oahe FIDD
w ould be co-located w ith a natural gas pipeline and a 345 kV pow er line. At both o f these locations, the
predom inant land use is agriculture. In addition to ongoing agricultural practices and the expansion of
regional oil and gas developm ent activities, cum ulative impacts associated w ith the Dakota Access Project
as w hole w ere also considered.

Cumulative impacts w ere evaluated fo r the follow ing resources and w ere determ ined to be negligible or
nonexistent based on past and foreseeable fu tu re actions in the Project Area and th e m inor and
tem porary contribu tion of the Project to effects on these resources:

     Geology and Soils                                                           Section 4.1
     W ater and Aquatic Life Resources                                           Section 4.2
     Vegetation, Agriculture, and RangeResources                                 Section 4.3
     Threatened, Endangered, Candidate, and Proposed Species                     Section 4.4
     W ildlife Resources                                                         Section 4.5
     Land Use and Recreation                                                     Section 4.6
     Cultural and Flistoric Resources and Native American Consultations         Section 4.7
     Social and Economic Conditions                                              Section 4.8
     Transportation and Traffic                                                  Section 4.9
     Environmental Justice                                                       Section 4.10
     Air Q uality and Noise                                                      Section 4.11




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4.1     Geology and Solis

The continued developm ent o f oil and gas exploration and production in th e region at its current level
increases the potential fo r adverse cum ulative impacts to geologic resources. Cumulative impacts could
occur when fu tu re utilities seek to be co-located w ith in existing corridors or alternatively when greenfield
developm ent occurs in landslide prone or highly erodible areas. However, w ith th e proper
im plem entation o f reclam ation and restoration BMPs these impacts can be reduced.

A second potential cum ulative im pact to geologic resources is the continued exploitation o f the mineral
resource which could lead to com plete depletion o f the resource. The mineral resource is understood to
be fin ite . The effect w ould be prim arily economic to the various entities w ith financial interests;
secondarily there could be indirect impacts, potentially beneficial, associated w ith technological advances
w ith in the industry th a t w ould facilitate the recovery o f mineral resources th a t cannot be recovered
currently.

Agricultural practices throu gh o u t th e region as well as the thousands of miles o f gathering pipelines th a t
may be bu ilt in the region on an annual basis could contribute to cum ulative impacts on soils. Agricultural
practices can result in increased erosion and ru n o ff when soils are exposed fo r long periods such as when
fields are fa llo w or prio r to seeding. Impacts to soils as a result of pipeline installation are typically
associated w ith excavation activities which may result in compaction and erosion when soils are exposed
prio r to revegetation. Impacts to soils as a result o f th e Project w ould be m itigated through the
im plem entation o f BMPs which may include topsoil segregation, erosion controls, and decompaction.
Furtherm ore, adherence to NPDES perm its w ould require adequate design, grading, and use o f BMPs to
ensure th a t erosion and sedim ent control measures are properly utilized. Generally, because o f the
utilization o f to p soil segregation and erosion controls, as well as th e m inimal workspace requirem ents
and m inim um duration o f exposed excavations during construction o f the Project, th e cum ulative impacts
on soils resulting from construction o f th e Project when combined w ith agricultural practices and other
pipeline installations w ould not be significant.

No impacts on mineral extraction, mining, or o ther deeper geologic resources w ould be cumulative, since
these uses o f geologic resources (i.e., mining) do not occur in th e Project Area. Clearing and grading
associated w ith construction o f th e Project and other projects in th e vicinity could increase soil erosion in
the area. Because the direct effects w ould be localized and lim ited prim arily to the period o f construction,
cum ulative impacts on geology, soils, and sediments w ould only occur if other Projects were constructed
at the same tim e and place as th e proposed Project facilities.

4.2    W ater and Aquatic Life Resources

Impacts on w ater resources (i.e., groundw ater, surface waters, wetlands) associated w ith the Project
w ould be avoided, tem porary, a n d /o r m inor, as all surface waterbodies w ould be crossed via trenchless
m ethods (i.e., HDD or bore), no perm anent fill or loss of wetlands are anticipated, and potential spill-
related impacts w ould be avoided or greatly reduced by regulating fuel storage and refueling activities
and by requiring im m ediate cleanup should a spill or leak occur.

Recently com pleted construction or current construction w ith in the vicinity o f th e proposed Project could
extend the period o f exposure o f soils as a result o f incom plete revegetation. These exposed soils may



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increase the potential fo r soil erosion or sedim ent transport via overland flo w during precipitation events
resulting in sedim entation in surface waterbodies. These increased loads could have the potential to
te m p orarily im pact w ate r quality, wetlands, and sensitive fish eggs, fish fry, and invertebrates inhabiting
waterbodies in the Project watersheds. However, all projects, including the Dakota Access Project as a
whole, are subject to regulation by the USACE under the GWA. By installing th e pipeline using th e HDD
technique at the Missouri River and Lake Oahe crossings, as well as other crossings associated w ith the
Dakota Access Project as a whole, and im plem enting th e erosion and sedim ent control measures specified
in the ECP (Appendix G) and SWPPP (Appendix A), the potential fo r increased sedim ent loading from
terrestrial sources is minimized and th e cum ulative effect is considered to be negligible.

In addition to w a ter quality impacts associated w ith sedim ent loading from erosion and run-off, an
inadvertent release o f non-hazardous drilling mud could occur during HDD activities, including those at
Lake Oahe and the Missouri River. The likelihood o f inadvertent releases o f drilling mud is greatly
m inim ized through thorough geotechnical analysis and detailed design/m itigation plans at each crossing
and careful m onitoring o f drilling mud returns and pressure during HDD activities. If an inadvertent
release w ere to occur w ith in a w aterbody during HDD activities, such as those at the Missouri River and
Lake Oahe crossings, impacts on w ater quality and aquatic resources w ould be m inor. Drilling mud is non-
hazardous and impacts on w ater quality and aquatic resources w ould be akin to those associated w ith
sedim ent loading. Due to the quantity o f drilling mud used in relation to the size of waterbodies typically
crossed via HDD, impacts w ould be tem porary and m itigated through im plem entation o f an HDD
Contingency Plan (Appendix B) Impacts on all w aterbodies crossed by the Dakota Access Project in its
e n tire ty w ould be minim ized or avoided via HDD an d /o r use o f erosion and sedim ent control measures;
thereby m inim izing the potential fo r cum ulative impacts on w ater and aquatic life resources.

Impacts on w ater and aquatic life resources associated w ith sedim ent loading, including potential
inadvertent releases o f non-hazardous drilling mud, as a result o f th e proposed Project and the Dakota
Access Project as a w hole w ould be tem porary and short term . Therefore, these impacts, when evaluated
w ith other oil and gas developm ent and infrastructure projects in the region and agricultural practices,
w ould result in m inor cum ulative impacts on w ater and aquatic life resources.

Spills or leaks o f hazardous liquids during construction and operation of the proposed Project, or other
projects in th e vicinity, have the potential to result in long-term impacts on surface and groundw ater
resources as well as aquatic life resources. However, construction impacts w ould be m itigated by the
proper design and im plem entation o f BMPs w ould ensure avoidance, m inim ization, an d /o r m itigation o f
potential impacts on w a te r resources and aquatic resources, as required by the various regulating
agencies th a t have jurisdiction over the project. Operational risks are being m itigated by the Project
design; th e Project w ould be designed to m eet or exceed the applicable federal regulations as detailed in
Sec 3.10- Reliability and Safety. Therefore, the potential cum ulative impacts on w ater resources and
aquatic resources resulting from spills w ould be m inor.

In addition, w hile construction and operation of the Project along w ith th e other potential projects and
activities could result in cum ulative impacts on existing wetlands in the Project watersheds, regulation o f
activities under the CWA by th e Corps requires perm itting and m itigation fo r w etland impacts so th a t
there w ould be no net loss in the regional wetland resources. Therefore, cum ulative impacts on wetland
resources in th e Project Area w ould be minimal.




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4.3     Vegetation, Agriculture, and Range Resources

As described w ith in Section 3.3.1, all vegetation disturbed by construction w ith in the flowage easements
and th e Project Area/Connected Actions o f the federal lands w ould be restored to pre-construction
conditions fo llow in g the com pletion o f construction activities, w ith the exception o f one PFO wetland
located w ith in the perm anent ROW on th e flow age easements th a t w ould be converted to shrub-scrub or
herbaceous wetlands.

No forest fragm entation w ould occur as a result o f construction and operation of the Project w ith in the
flow age easements and th e Project Area/Connected Actions o f the federal lands. No in te rio r (core) forest
habitat is crossed by the Project, and th e only w ooded area th a t w ould be perm anently impacted by the
Project include one PFO w etland (0.05 acre) located w ith in th e perm anent ROW on the flowage
easements between FIDD boxes. Flowever, much o f the forest and PFO wetlands in the vicinity of the
Project area have already been fragm ented by agricultural activities, roads, and other commercial or
industrial developments. Further, construction o f th e proposed Project facilities w ould not result in the
perm anent loss o f w etland features. Although trees w ith in a 30-foot corridor centered on the pipeline
th a t could com prom ise th e integrity o f the pipeline coating w ould be selectively removed througho ut the
operational life o f th e Project, this portion of th e PFO w etland impacted by proposed Project w ould be
converted to PEM or PSS and allowed to revegetate w ith scrub-shrub or herbaceous species. Therefore,
fu rth e r fragm entation o f wetlands or creation of new forest-edge habitat as a result o f the Project w ould
be negligible.

Regionally, th e greatest im pact to the native vegetative com m unity is associated w ith past and current
agricultural practices. Pipeline projects, however, im pact a relatively small area in relation to the total
landscape, as these impacts are typically short in duration and tem porary in nature. Examples o f impacts
to vegetation, agriculture, and range resources could include introduction o f non-native plants and/or
noxious weeds, habitat fragm entation, decreased vegetative structure, reduced populations below critical
threshold levels, sedim entation o r degradation o f surface waters, erosion, and siltation. Flowever, the
im plem entation o f BMPs outlined in th e SWPPP (Appendix A) and ECP (Appendix G) and reclam ation of
disturbed areas w ith native vegetation w ould reduce th e chances o f adverse individual or cum ulative
impacts. In addition, w hile other projects' pipeline corridors may require clearing o f forested areas and
potential habitat fragm entation, tem porary workspace areas w ould be able to revegetate upon
com pletion o f construction. Further, these projects w ould be located in a region o f North Dakota th a t is
dom inated by open o r agricultural land, thereby m inim izing th e potential fo r perm anent habitat
fragm entation.

4.4     Threatened, Endangered, Candidate, and Proposed Species

As required by the Endangered Species Act, th e status o f each species listed as threatened or endangered
is evaluated every 5 years by USFWS to assess its recovery and determ ine if a change in its listing status is
w arranted. W here available, these docum ents w ere utilized to identify the potential fo r ongoing regional
oil and gas developm ent to significantly threaten th e species listed in th e Project area. For species in
which a 5-Year Review was not available, Dakota Access utilized the species Recovery Plan an d /o r Final
Rule to evaluate potential threats on the species resulting from regional oil and gas development.




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Species fo r which no suitable habitat is present in th e Project Area or Connected Action Area, such the as
black-footed fe rret, Dakota skipper, and gray w olf, were not evaluated, as th e Project w ould not
contribute to cum ulative impacts on these species. Further, th e northern long-eared bat was not
evaluated since the species is not provided federal protection in the Project Area or Connected Action
Area under th e Interim 4(d) Rule; this area is well outside of th e published W hite-Nose Syndrome Buffer
Zone.

Habitat loss and m odification are the prim ary threats to the continued existence o f pallid sturgeon,
in te rio r least tern, rufa red knot, w hooping crane, and piping plover. The potential cum ulative impacts
from oil and gas activities in th e region on the current listing or potential elevated fu tu re listing o f these
five species are discussed in detail below.

The USFWS (2014c) Revised Recovery Plan fo r the Pallid Sturgeon {Scaphirhynchus albus) specifically
addresses th e potential effects o f energy developm ent such as oil and gas pipelines on pallid sturgeon. It
states th a t w hile a rupture o f a pipeline w ith in sturgeon habitat could pose a threat, th e impacts would
be localized and th e m agnitude o f the im pact w ould be dependent on the quantity and tim ing o f the
m aterial released. It is highly unlikely th a t a cum ulative im pact resulting from a spill or leak w ould occur,
as it w ould require m ultiple pipelines in the same general area to experience anomalous events
simultaneously. Even if this w ere to occur, these impacts w ould be localized and tem porary and w ould
likely not result in a significant im pact on th e recovery o f pallid sturgeon, as a whole.

According to the Final Rule (79 FR 73706) fo r the rufa red knot (USFWS, 2014b) and th e USFWS (2007)
International Recovery Plan fo r the W hooping Crane (Grus americana), the USFWS considers oil and gas
activities as a secondary thre a t, especially near the coast (prim arily in southeast Texas in the w intering
range). Potential threats to these species along th e Central Flyway m igratory route in th e region o f the
Project include loss o f stopover habitat from conversion o f natural wetlands (e.g., prairie potholes) to
croplands and developm ent (including oil and gas exploration). The Project w ould not result in any loss
o f stopover habitat fo r e ither th e w hooping crane or rufa red knot; therefore, it w ould not contribute to
cum ulative impacts on e ithe r species as result o f regional oil and gas activities.

The USFWS does not address oil and gas activities, including potential spills, as a potential or ongoing
th re a t to th e in te rio r least tern in e ither th e 5-year review, or the recovery plan (USFWS, 2013e). The
prim ary th re a t to in te rio r least terns and th e cause o f the initial population declines resulted from river
channelization, im poundm ents, and changes in river flo w resulting in loss of suitable habitat througho ut
th e ir range.

The USFWS (2009) 5-Year Review fo r the piping plover does specifically address threats fro m oil and gas
activities in North Dakota. However, impacts from oil and gas activities th a t are threatening piping plover
are associated w ith the developm ent o f oil and gas exploration wells located near the alkali lakes habitat,
which accounts fo r 83% o f the U.S. N orthern Great Plains piping plover breeding habitat. The Proposed
Action is not located w ith in th e vicinity o f any of these areas and w ould therefore not contribute to
cum ulative impacts on piping plovers resulting from oil and gas activities.

Based on the pipeline route, and the utilization o f HDDs, the proposed Project is not likely to im pact any
habitat utilized by listed species, including aquatic species as discussed in Section 4.2. The co-location o f
utilities in established corridors, th e proper im plem entation of erosion control devices, compliance w ith



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perm its issued fo r regulated activities, and rapid, thorough, and environm entally appropriate reclam ation
efforts are industry standards that, when applied consistently, on a regional basis, w ould minimize
cum ulative impacts now and in th e future.

4.5     W ildlife Resources

Regionally, th e greatest impacts to w ild life (past, present or future) can be associated w ith agricultural
developm ent. Agricultural land use replaced the existing natural diversity w ith th e m onoculture row
crops. The practice also introduced noxious weeds, soil pests, and other exotics, which all had significant
cum ulative impacts on regional w ildlife. Relative to the habitat and land use impacts associated w ith past
agricultural activities, the proposed Project impacts (as well as those associated w ith th e oil and gas
industry on a regional basis) w ould be nominal. This is due to th e short duration and small scale o f the
proposed Project relative to the regional landscape and the large scale o f agricultural activities in the
region.

The Project w ould not perm anently alter th e character of the m ajority o f available habitats as most
Project-related impacts are expected to be tem porary (see Section 4.3 fo r a discussion o f vegetation
impacts associated w ith the Project and the Dakota Access Project as a whole). Possible tem porary, short­
term impacts on w ild life as result o f the Project include th e displacem ent of some m obile individuals to
similar, adjacent habitats during construction activities. Further, w hile other oil and gas projects' pipeline
corridors may require clearing o f forested habitat (if present), once construction is com plete, tem porary
workspace areas w ould be able to revegetate. In addition, the perm anent easement w ould be allowed to
revegetate w ith herbaceous species, which provides habitat to a variety of species th a t utilize herbaceous
and edge habitats. W hen analyzed on a regional basis, these impacts do not change significantly in
m agnitude when compared to th e current and historic impacts previously imposed upon the regional
w ild life by agricultural developm ent. Therefore, fu rth e r habitat fragm entation as a result o f th e proposed
Project or o the r oil and gas developm ents in the region w ould be negligible and is not anticipated to
significantly contribute to cum ulative effects on w ildlife.

4.6     Land Use and Recreation

Regional oil and gas developm ent and related activities could cause an im pact to land use and recreation
in the Project area. However, increm ental increases are not anticipated based on th e design o f this Project
and BMPs th a t w ould be im plem ented to restore the impacted area. Tem porary impacts to land use
w ould potentially occur during th e period o f active construction but areas w ould revert to preconstruction
use fo llow in g restoration, e x c e p tfo ra small am ount of land converted fo r aboveground facilities. Because
construction w ould be short term and land use conversion w ould be m inim al, th e cum ulative im pact on
land use as a result o f th e Project w ould be tem porary and minor.

The flow age easement crossing w ould be located in an area w ith a greater density of prior development,
w hile the Lake Oahe crossing w ould be located in an area w ith relatively little surface developm ent. That
said, since th e proposed Project has been co-located w ith existing pipelines th e additional im pact incurred
by th e Project w ould be negligible if restored as proposed.




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4.7      Cultural and Historic Resources and Native American Consultations

Dakota Access w ould im plem ent measures to avoid or m itigate adverse effects to cultural resources th a t
have been determ ined, in consultation w ith the federal land managing agencies, NDSHPO, and Native
American tribes, to be eligible fo r listing in the National Register o f Historic Places (NRHP). In areas w here
NRHP-eligible sites are mapped directly adjacent to workspace, Dakota Access w ould install exclusionary
fencing along th e o uter workspace boundary during construction to prevent inadvertent trespassing by
construction staff or vehicles. These areas w ould be classified generically as sensitive environm ental
areas, and w ould be closely m onitored by Environmental Inspection (El) staff. If an unanticipated
discovery occurs during construction, Dakota Access w ould fo llo w the measures described in its UDP
(Appendix F).

Although th e possibility o f an unanticipated discovery is low based on th e negative findings o f the field
survey efforts, the measures outlined in th e UDP includes a thorough notification protocol which w ould
ensure th a t the necessary cultural resources specialists and agency personnel are involved to
appropriately address the nature significance and o f the find. The Project is n o t anticipated to impact
cultural resources; therefore, cum ulative impacts associated w ith th e Project w ould not occur.

4.8      Social and Economic Conditions

Construction of the overall DAPL Project w ould contribute m ore than $1 billion in direct spending just fo r
materials - th e m ajority o f which w ould be purchased here in the U.S. Fifty-seven percent o f th e pipe, the
m ajority o f the valves, fittings, valve actuators, and th e m ajority of th e remaining materials w ould be
m anufactured in the U.S., creating significant opportunities fo r regional and national m anufacturing. In
addition to m anufactured goods and services, th e Project w ould provide $195 m illion in easement
payments to the landowners whose property is crossed by th e proposed pipeline.

The proposed Project w ould have a relatively short construction w indow w ith a small num ber of
construction workers dedicated to the crossings. It is possible th a t nearby tow ns could experience short­
term tem porary increases to the local econom y through induced spending from construction employees
w orking on the crossings. No residential homes or farm s w ould be relocated resulting from the proposed
action. Additionally, no dem ographic changes in the Census tracts affected w ith in th e Project counties are
anticipated because no perm anent employees w ould be created as a result of the proposed Project.
Therefore, th e only indirect socioeconomic impacts fro m the Project are likely to be related to the
tem porary influx of workers, such as increased demand fo r housing and th e secondary economic benefits
discussed in Section 4.10.

The regional population has dram atically increased over the last seven year period due to oil and gas
developm ent; concentrated in the area o f th e flowage easement crossing. The m ajority of the current
available and transient labor force in the region is involved in th e exploration and production o f the
resources, or construction of related infrastructure, both of which are labor intensive efforts though
tem porary in nature. W ell rigs are m obile and the num ber of available drilling leases is lim ited as well as
th e mineral resource itself. For these reasons th e labor pool associated w ith the exploration and
production o f the resource are considered to be a tem porary impact.




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Regarding cum ulative impacts to socioeconomic resources, the Project w ould m inim ally provide a benefit
to local merchants and vendors as well as providing potential tem porary em ploym ent opportunities to
the local w orkforce. As such, no substantive negative direct, indirect, or cum ulative impacts to
socioeconomic resources w ould result from the Proposed Action.

4.9    Transportation and Traffic

As discussed in Section 3.3, roads th ro ug ho ut North Dakota have received a sharp increase in truck tra ffic
due to increased oil and gas activity. The greater am ount of tra ffic has led to a decline in the
transportation infrastructure and a decrease in road safety th ro u g h o u t th e state. Additional oil and gas
developm ent and production may continue to contribute to cum ulative effects on roads in the vicinity of
the Project Area requiring a higher frequency o f road maintenance and repair on public roadways.

Construction o f the project w ould te m p orarily increase tra ffic in th e im m ediate vicinity o f the Project
Area. This increase in tra ffic w ould be tem porary and is not expected to result in significant impacts to
North Dakota's transportatio n infrastructure. Road im provem ents such as grading w ould be made as
necessary and any impacts resulting from Dakota Access's use w ould be repaired in accordance w ith
applicable local perm its. Traffic interruptions w ould be minim ized to the extent practical and w ould result
in insignificant, tem porary cum ulative impacts on regional transportatio n resources as it w ould be
localized to th e im m ediate vicinity o f th e Project Area and m ajor delivery routes.

During operations o f the Project, there is expected to be a positive effect on tra ffic resources in North
Dakota. Once in operation, DAPL plans to transport 450,000 bpd o f crude oil via pipeline which w ould
significantly reduce the dem and fo r th e commercial trucking o f crude oil on county, state and interstate
highways. It is anticipated th a t the cum ulative effects o f the Project and o ther fu tu re pipeline projects
w ould be beneficial to th e transportation infrastructure in North Dakota by decreasing oil hauled by truck
tra ffic and th erefo re reducing w ear and te a r on roads and highways.

4.10    Environmental Justice

The proposed Project is being co-located w ith existing utilities and across USAGE easements and fee
owned property. Additionally, th e holders of the m ineral rights and landowners in the Project area have
witnessed a recent w indfall fro m th e oil and gas developments in the region. For these reasons, we
conclude th a t no substantive cum ulative impacts to m inority or low-incom e populations w ould result
from the proposed Project.

4.11    Air Quality and Noise

No operation emissions are associated w ith the Project activities, as no m ajor aboveground facilities
w ould be constructed in these areas. Potential cum ulative impacts on air quality w ould result from
concurrent construction o f the Project and o ther developm ent projects in the region. Impacts on air
quality associated w ith construction o f the Project w ould be tem porary and short-term ; therefore, even
if construction o f o the r projects were concurrent w ith this Project, cum ulative construction-related air
quality impacts w ould be negligible. .




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Construction o f the Project, including aboveground facilities, w ould affect am bient noise levels at some
nearby residences during active construction. The noise im pact o f the pipeline construction would
prim arily originate from th e HDD equipm ent and w ould be highly localized to the HDD entry and exit sites.
However, because the duration o f Project construction w ould be tem porary, the contribution o f the
Project to cum ulative impacts on noise w ould be negligible.




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                5.0      IRREVERSIBLE AND IRRETRIEVABLE COMMITMENT OF RESOURCES

As required by NEPA, any irreversible and irretrievable com m itm ents o f resources which w ould be
involved in th e proposed action should it be im plem ented, m ust be addressed in th e EA. Irreversible
com m itm ents o f resources result in a loss o f fu tu re options. Com m itm ents of resources which are
irreversible are those resources which are destroyed or consumed and are neither renewable nor
recoverable fo r use by fu tu re generations. Examples of irreversible com m itm ents o f resources include
consum ption o f petroleum -based fuels or minerals and destruction cultural resources. Irretrievable
com m itm ents o f resources result in a loss o f productivity. C om m itm ents o f resources which are
irretrievable occur when th e productive use or value o f a renewable resource is lost fo r a period o f tim e.
For example, tim b e r or soil productivity may be lost fo r a period o f tim e resulting in an irretrievable loss
o f production, but th e action is reversible.

Construction activities associated w ith th e Project w ould result in the consum ption o f materials such as
alum inum , steel, o th er metals, w ood, gravel, sand, plastics, and various form s o f petroleum -based fuels,
the use o f which w ould constitute an irreversible com m itm ent o f resources. M ost o f these m aterials are
nonrenewable and w ould be irreversibly com m itted if not recycled or reused during maintenance or at
the end o f th e life o f th e Project.

Areas o f vegetation removal or conversion along the perm anent right-of-way, such as areas where trees
or shrubs w ere established p rior to construction b u t w ould be m aintained in an herbaceous state during
operation, w ould represent an irretrievable com m itm ent of resources. Additionally, erosion, compaction,
or an overall loss o f soil productivity could occur if these impacts are not properly m itigated. Use of w ater
fo r dust control and hydrostatic testing w ould also be irretrievable. Other irretrievable com m itm ents o f
resources could occur if areas te m p orarily im pacted by construction were not restored.

Overall, the re w ould be a very m inim al com m itm ent o f irreversible an d /o r irretrievable resources as a
result o f this Project since the m a jo rity o f impacts w ould be tem porary and w ould occur w ith in agricultural
land. Additionally, irreversible an d /o r irretrievable com m itm ents o f resources w ould be minimized
through th e m itigation measures fo r the affected environm ents identified th rougho ut this EA.




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                                      6.0     MITIGATION SUMMARY

Dakota Access has selected the Proposed Action to m inimize impacts to natural/cultural resources.
System and routing alternatives were considered fo r the entire DAPL Project in order to m eet purpose
and need, design criteria and construction requirem ents, w hile m inim izing potential impacts to the
existing environm ent and socioeconomic setting. Impacts to the environm ent w ould be tem porary and
not significant as a result o f avoiding, m inim izing and m itigation any potential impacts. The m ajority o f
potential impacts w ould be m itigated by HDD technology which w ould bore beneath resources and allow
pipeline construction to proceed w ith th e least am ount o f impacts possible. Dakota Access has w ould
also im plem ent general m itigation measures such as those described in the ECP. The ECP has been
developed based on decades o f experience im plem enting BMPs during construction in accordance w ith
generally accepted industry practices fo r linear infrastructure and cross-county pipelines. It is intended
to m eet or exceed federal, state, and local environm ental protection and erosion control requirem ents,
specifications and practices. The ECP describes current construction techniques and m itigation measures
th a t w ould be em ployed to m inim ize the effects o f construction on environm ental resources. Some o f
the basic procedures identified in th e ECP are listed below:

             BMPs designed to m inim ize the effects o f construction on environm ental resources;
            Tem porary and perm anent erosion and sedim ent control measures;
            Soil handling procedures designed to preserve th e integrity o f the soil (e.g., topsoil
            segregation, decom paction, etc.);
            W etland and w aterbody crossing and stabilization procedures
            W ildlife and livestock m itigation measures
             Restoration and revegetaion procedures
             Refueling and waste m anagement procedures
            Weed m anagement procedures
            W in ter construction practices
            S torm w ater m anagem ent procedures

Dakota Access incorporates environm ental requirem ents into all construction specifications and the ECP
w ould be included in contract docum ents and enforced as such th rougho ut the proposed action. The
construction contractor(s) m ust com ply w ith all applicable perm its and plans during all phases of
construction. In addition to the ECP, th e Proposed Action w ould be constructed in accordance to the
measures detailed in Dakota Access' SWPPP, SPCCC, HD Construction Plan, HDD Contingency Plan, and
UDP.

To fu rth e r ensure compliance w ith perm its, plans, obligations, and com m itm ents, Dakota Access w ould
have fu ll-tim e Els to m o n ito r construction and compliance. The Els w ould be responsible fo r observing
construction activities to verify th a t w ork is carried o u t in accordance w ith environm ental perm it
requirem ents and ensure th a t designed avoidance and m itigation measures are properly executed during
construction.

No additional m itigation measures w ere identified fo r geology and soils; w ater resources; vegetation,
agriculture, and range resources; w ild life resources; aquatic resources; land use and recreation; cultural
and historic resources, social and economic conditions; environm ental justice; or air and noise. General




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m itigation measures, as described in sections 3.1 through 3.7, or avoidance associated w ith th e trenchless
installation (i.e., HDD or bore) o f the proposed pipeline are expected to m itigate adverse impacts to
resources.




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     7.0       FEDERAL, TRIBAL, STATE, AND LOCAL AGENCY CONSULTATION AND COORDINATION

The follow in g is a listing o f all individuals and agencies consulted during preparation o f th e EA regardless
o f w he the r a response was received. On March 30, 2015, Dakota Access sent letters to interested parties
(indicated by th e Corps) requesting comm ents on the federal actions associated w ith crossing Corps
flow age easements and Corps owned and managed federal land. A sample request fo r com m ent letter
sent to individuals and agencies consulted, along w ith th e m ailing list and comments received, is included
in Appendix J. Appendix K contains th e Notice of Availability o f th e Draft EA fo r com m ent. Table 7-1
includes a sum m ary o f agency personnel consulted.

                                                    Table 7-1
                                                       Cjnnsiilt'atinn i ist

                                                                                            Date Received/
        Agency/Entity                 Name                          Address
                                                                                          Relevant EA Section
                                                        110114th Ave. NW STE 1400
      American Rivers           Kristen McDonald                                                Pending
                                                        Washington, DC 20005-5637
  Bureau of Indian Affairs -                                   PO Box 370
                                  Floward Bemer                                                 Pending
   Fort Berthold Agency                                   New Town, ND 58763
  Bureau of Indian Affairs -
                                                           115 Fourth Avenue S.E.
   Great Plains Regional        William Benjamin                                                Pending
                                                            Aberdeen, SD 57401
           Office
  Bureau of Indian Affairs-                                      P.O. Box 370
                                     Earl Silk                                                  Pending
   Fort Berthold Agency                                     New Town, ND 58763
  Bureau of Indian Affairs-                                        P.O. Box E
                                  Robert Demery                                                 Pending
       Standing Rock                                        Fort Yates, ND 58538
      Bureau of Land                                    99 23rd Avenue West, Suite A
                                  Rick Rymerson                                                 Pending
       Management                                            Dickinson, ND 58601
                                                              1200 Missouri Ave
  Dakota Prairie Grasslands       Dennis Neitzke                                                Pending
                                                             Bismarck, ND 58504
                                                                 P.O. Box 1095
  Dakota Resource Council         Mark Trechock                                                 Pending
                                                             Dickinson, ND 58601
                                                         400 East Broadway Avenue,
     Bismarck-Mandan
                                   Brian Ritter                    Suite 417                    Pending
  Development Association
                                                             Bismarck, ND 58501
     Morton County                                             210 2nd Ave NW
                                   Dawn Rhone                                                   Pending
     Commissioners                                           Mandan, ND 58554
 Morton County Extension                                       210 2nd Ave NW
                                   Kari Presler                                                 Pending
          Agent                                           Mandan, ND 58554-3158
   Morton County Weed                                         2916 37th St. NW
                                  Wayne Carter                                                  Pending
          Board                                              Mandan, ND 58554
     Emmons County                                               P.O. Box 129
                                 Marlys Ohihauser                                               Pending
     Commissioners                                             Linton, ND 58552
 Emmons County Extension                                    Courthouse, Box 278
                                    Connie Job                                                  Pending
          Agent                                            Linton, ND 58552-0278
  Emmons County Weed                                          510 Sampson Ave.
                                  Sam Renschler                                                 Pending
          Board                                                Linton, ND 58552




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                                                 Table 7-1
                                        Agency/Entitv Consultation List
                                                                                        Date Received/
        Agency/Entity                 Name                       Address
                                                                                      Relevant EA Section
                                                             205 East Broadway
       Williams County
                                    Beth Innis                   PO Box 2047                Pending
       Commissioners
                                                         Williston, ND 58802-2047
                                                             302 East Broadway
 Williams County Extension
                                                                 PO Box 1109                Pending
           Agent
                                                         Williston, ND 58802-1109
  Williams County Weed                                           109 Main St
                                  Jim Basaraba                                              Pending
           Board                                         Williston, ND 58801-6018
 National Audubon Society                                 118 Broadway, Suite 512
                             Genevieve Thompson                                             Pending
        State Office                                           Fargo, ND 58102
     Natural Resources                                            PO Box 583
                                   Kyle Hartel                                              Pending
   Conservation Service                                   Watford City, ND 58854
     Natural Resources                                      2540 Overlook Lane
                                 Michele R. Doyle                                           Pending
   Conservation Service                                   Mandan, ND 58554-1593
     Natural Resources                                       318 Broadway St. S
                             Jennifer M. H. Vetter                                          Pending
   Conservation Service                                    Linton, ND 58552-7612
     Natural Resources                                        1106 West 2nd St
                                  David Schmidt                                             Pending
   Conservation Service                                  Williston, ND 58801-5804
     NDSU Dept of Soil                                 NDSU Dept 7680 PO Box 6050
                                                                                            Pending
 Science-Department Chair                                  Fargo, ND 58108-6050
  North Dakota Council of                                   1948 Anderson Drive
                                   Leo Keelan                                               Pending
     Humane Societies                                         Minot, ND 58701
 North Dakota Department                                     600 East Boulevard
                                    Peter Wax                                               Pending
         of Health                                           Bismarck, ND 58505
      North Dakota Farm                                      4900 Ottawa Street
                                                                                            Pending
            Bureau                                          Bismarck, ND 58503
      North Dakota Forest                                    307 1st Street East     April 22, 2015/ Section
                                 Larry Kotchman
            Service                                      Bottineau, ND 58318-1100     2.0 and Section 3.5
     North Dakota Game &                                100 N. Bismarck Expressway
                                   Steve Dyke                                               Pending
       Fish Department                                   Bismarck, ND 58501-5095
     North Dakota Game &                                       406 Dakota Ave
                                   Dave Fryda                                               Pending
       Fish Department                                      Riverdale, ND 58565
                                                             100 North Bismarck
     North Dakota Game &
                                   Bruce Kreft                   Expressway                 Pending
       Fish Department
                                                         Bismarck, ND 58501-5095
     North Dakota Game &                                  13932 West Front Street
                              Kent Luttschwager                                             Pending
       Fish Department                                   Williston, ND 58801-8602
     North Dakota Game &                                       406 Dakota Ave
                                  Fred Ryckman                                              Pending
       Fish Department                                      Riverdale, ND 58565
                                                             100 North Bismarck
     North Dakota Game &
                                 Terry Steinwand                 Expressway                 Pending
       Fish Department
                                                         Bismarck, ND 58501-5095




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                                                 Table 7-1
                                        Agency/Entitv Consultation List
                                                                                          Date Received/
         Agency/Entity                Name                       Address
                                                                                        Relevant EA Section
  North Dakota Industrial                                                              April 16, 2015/Section
                                                            600 East Boulevard
 Commission - Oil and Gas          Lynn Helms                                           3.1.2, Section 3.1.3,
                                                            Bismarck, ND 58505
         Division                                                                        and Section 3.1.4
  North Dakota Industrial
                                                            600 East Boulevard
 Commission - Oil and Gas         Bruce E. Hicks                                              Pending
                                                            Bismarck, ND 58505
         Division
                                                        1707 North 9th St. P.O. Box
       North Dakota Land
                                   Mike Brand                      5523                       Pending
          Department
                                                         Bismarck, ND 58506-5523
                                                        1600 East Century Avenue,      April 20, 2015/ Section
      North Dakota Parks &
                             Kathy Duttenhefner                   Suite 3              3.3.1, Section 3.4 and
     Recreation Department
                                                         Bismarck, ND 58503-0649             Section 3.5.
 North Dakota Petroleum                                        P.O Box 1395
                                    Ron Ness                                                  Pending
           Council                                          Bismarck, ND 58502
    North Dakota State                                    612 East Boulevard Ave.      April 2, 2015/ Section
                                  Susan Quinnell
     Historical Society                                     Bismarck, ND 58505                  3.7.1
 North Dakota State Water                                 900 East Boulevard Ave.
                                 John Paczkowski                                              Pending
        Commission                                       Bismarck, ND 58505-0850
  North Dakota Tourism                                        P.O. Box 2057
                             Sarah Otte Coleman                                               Pending
           Division                                      Bismarck, ND 58502-2057
    U.S. Army Corps of
                                                              1513 12th St. SE
  Engineers, Regulatory          Daniel Cimarosti                                             Pending
                                                            Bismarck, ND 58504
            Office
   U.S. Fish and Wildlife
                                                           3425 Miriam Avenue
  Service, North Dakota            Scott Larson                                               Pending
                                                         Bismarck, ND 58501-7926
        Field Office
                                                        2110 Miriam Drive, Suite A
        USDA-APHIS-WS        Philip Mastrangelo                                               Pending
                                                           Bismarck, ND 58501
 USDA-Natural Resources                               220 East Rosser Avenue, Room
                                                                                       April 13, 2015/Section
   Conservation Service-           Mary Podoll                      270
                                                                                       3.1.5 and Section 3.2.3
 North Dakota State Office                              Bismarck, ND 58502-5020
  USDOI-Office of Surface                                    P.O. Box 11018,
  Mining Reclamation and                                150 East B Street, Rm 1018     April 13, 2015/Section
                             Jeffrey Fleischman
 Enforcement-Dick Cheney                                    Casper, WY 82602                      1.1
      Federal Building
     U.S. Army Corps of          Omaha District;            1616 Capitol Avenue
                                                                                              Pending
          Engineers              CENWO-PM-AA              Omaha, NE 68101-4901
   North Dakota Parks &                                 1600 E. Century Ave. Suite 3
                                 Mr. Jesse Hanson                                             Pending
  Recreation Department                                  Bismarck, ND 58503-0649"
 North Dakota Chapter of                                        PO Box 1442
                             Mr. Kory Richardson                                              Pending
    the Wildlife Society                                    Bismarck, ND 58502




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                                                                                             USAGE DAPL0074205
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                                               Table 7-1
                                      Agency/Entitv Consultation List
                                                                                 Date Received/
       Agency/Entity                Name                       Address
                                                                               Relevant EA Section
                                                         311 East Thayer Ave
 Sierra Club - North Dakota                                   Suite 113
                              Mr. Blaine Nordwall                                   Pending
            Office                                       Bismarck, ND 58501




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                                                                                   USAGE DAPL0074206
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                           8.0       STATUS OF ENVIRONMENTAL COMPLIANCE

Table 8-1 is a listing o f environm ental protection statutes and o ther environm ental requirem ents, as well
as the status o f Applicant compliance w ith these statutes and requirem ents, regarding this EA.

                                                    Table 8-1
                             Fnuimnmontal Pormits. Annrnuals. anri rnnsiiltatinns

         Jurisdiction       Permit or Authorization          Status              Requirement or Action
 Federal
                                                           Pending,
                                                          Application     RHA, Section 10: Missouri River/Lake
            Corps                RHA, Section 10
                                                         Submitted Dec                   Oahe
                                                            2014
                                                           Pending,
                                                          Application       NWP 12, Section 404 Waters with
                                 Section 404 CWA
                                                         Submitted Dec                    PCN
                                                            2014
                              Survey permission,         Received April     Survey permission, geotechnical
                           geotechnical investigation        2015                    investigation
 Corps-Omaha District
                           Title 30 Rights-of-Way for                      Real Estate Agreement and EA for
                           pipelines through Federal                        Crossing the Missouri River/Lake
                                                            Pending
                              Lands and Temporary                         Oahe (Fee title Lands on both sides of
                              Construction License                                      river/lake)
                              Flowage Easement
                                                            Pending                 Consent to Cross
                               Consent to Cross
                             Section 7 Endangered
                                                                           Compliance under 404 Permit NWP
           USFWS               Species Act (ESA)            Pending
                                                                                  12 Joint Application
                                 Consultation
                           Letter of consent to cross                     BOR water conveyance facilities, near
 Bureau of Reclamation                                      Pending
                                irrigation works                            cities of Buford and Trenton, ND
 State
                             North Dakota Energy
                                                          Application
     North Dakota Public         Conversion and
                                                          Submitted
     Service Commission      Transmission Facility                            Siting Application, PU-14-842
                                                          December
           (NDPSC)          Siting Act: Certificate of
                                                            2014
                               Corridor and Route
                           Section 401 Water Quality
                                                            Pending             Automatic with NWP 12
                                  Certification
     North Dakota
                            Hydrostatic Test Water       Application to
  Department of Health                                                      Obtain permit coverage prior to
                             Discharge Permit No.        be submitted
                                                                                      discharge
                                  NDG07-0000               Q4 2015




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                                                                                               USAGE DAPL0074207
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                                                Table 8-1
                            Environmental Permits, Approvals, and Consultations

      Jurisdiction         Permit or Authorization        Status              Requirement or Action
                           North Dakota Pollutant
                           Discharge Elimination
                                                      Application to
                             System (NDPDES)
                                                      be submitted           Obtain permit coverage
                          Construction Stormwater
                                                        Q3 2015
                          General Permit (NDRIO-
                                   0000)

Table 8-2 provides a summary o f the environm ental m itigation measures discussed th ro u g h o u t this EA
th a t Dakota Access has com m itted to as part of the Project design to avoid or minimize potential impacts
on environm ental and human resources th ro u g h o u t construction and operation activities.




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                                                               Table 8-2
                                   Summary o f Environmental Impact Avoidance and Mitigation Measures
         Resource                                             Environmental Avoidance/Mitigation Measures
                          To protect the terrain of the Project Area and Connected Actions, Dakota Access would, to the extent feasible, restore
                          the areas affected by pipeline construction to pre-construction contours and similar vegetation (excepting trees within
                          approximately 15 feet of the centerline). Pre-construction and as-built surveys would be completed and provided to
                          the Garrison Project.
                          Although not anticipated, if blasting is found to be necessary, Dakota Access would follow procedures specified in its
                          Blasting Plan (Appendix E).
                          Dakota Access, in accordance with North Dakota One Call, would require that the construction contractor, prior to
                          initiating any ground disturbance activities, identify all underground utilities to minimize the potential for encountering
                          buried utility structures.
                          Dakota Access has completed a geotechnical analysis of the flowage easement and federal land crossing sites to
                          facilitate engineering and design, including selection of appropriate materials and construction methods to limit any
                          environmental impacts attributable to landslides.
                          The proposed pipeline would be designed and constructed to meet or exceed industry specifications, which would
                          effectively mitigate the effects of fault movement, landslides, subsidence, and subsidence.
                          In the event paleontological resources are discovered during construction, Dakota Access would implement measures
                          outlined in its Unanticipated Discoveries Plan Cultural Resources, Human Remains, Paleontological Resources and
     Geology and Soils
                          Contaminated Media (UDP) (Appendix F) to avoid further impacts to these resources.
                          If any vertebrate fossils are found during pipeline construction, Dakota Access would immediately cease construction
                          activities and notify the appropriate agency personnel, including the North Dakota state paleontologist as well as the
                          USACE archaeologist. The appropriate authorities would determine the significance of the find and prescribe the
                          mitigation procedures to be completed prior to resuming pipeline construction.
                          Dakota Access would minimize or avoid impacts on soils by implementing the mitigation measures described in the
                          DAPL Project's SPCC, SWPPP, and ECP as well as requirements of applicable state and federal permits. These
                          documents would be included as contract documents and enforced as such throughout the DAPL Project.
                          To minimize potential impacts on soil productivity, topsoil would be separated during trench excavation in agricultural
                          land, and if applicable, other areas where soil productivity is an important consideration. Unless otherwise requested
                          by the landowner, topsoil in cropland would be removed to a maximum depth of 12 inches from the trench and spoil
                          storage area and stored separately from the trench spoil. After the trench is backfilled, topsoil would be returned to its
                          approximate original location in the soil horizon.
                          Compaction of agricultural soils would be minimized by restricting construction activities during periods of prolonged
                          rainfall. Where unacceptable levels of compaction occur in agricultural lands, a chisel plow or other deep tillage
                          equipment would be utilized to loosen the soil.




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                                                                                                                                             USAGE DAPL0074209
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                                                              Table 8-2
                                  Summary o f Environmental Impact Avoidance and Mitigation Measures
        Resource                                             Environmental Avoidance/Mitigation Measures
                          Dakota Access would retain environmental inspectors (Els) to monitor the contractor's compliance with applicable
                          requirements to protect soil resources during construction of the DAPL Project. The Garrison Project would be notified
                          if the Els have concerns on the Project Area or Connected Action Area.
                          The HDD workspace sites would be cleared, graded and matted as needed to minimize rutting and compaction.
                          Permanent impacts to soils would be avoided through the application of BMPs during construction, restoration, and
                          post-construction revegetation management, as outlined in the ECP (Appendix G).
                          Impacts to Lake Oahe and the Missouri River would be minimized by using HDD construction methods to install the
                          proposed pipeline underneath the Missouri River and Lake Oahe.
                          The HDD Contractor plans to install steel surface casing, where defined in the site specific HDD plans, to reduce the
                          probability of an inadvertent release when the drill bit is working near the surface.
                          The drilling mud and cuttings would be disposed of in accordance with applicable laws and regulations, likely in an
                          existing landfill or by land farming.
                          Dakota Access would conduct all HDD work according to the HDD Construction Plan (Appendix B) that it has prepared,
                          and implement the HDD Contingency Plan (Appendix B) in the event of an inadvertent release.
                          The Missouri River water withdrawal activity would comply with all applicable permit conditions and regulations,
                          including the specifications on permitted intake structures outlined in the USACE's Regional Conditions for North
                          Dakota applicable to Nationwide Permit 12 (Utility Line Activities). This regional condition requires that the applicant
                          1) utilize an intake screen with a maximum mesh opening of %-inch, 2) wire, Johnson-like screens must have a
                          maximum distance between wires of 1/8-inch, 3) water velocity at the intake screen shall not exceed %-foot per
     Water Resources      second, 4) intake structure shall be floating, and 5) at the beginning of pumping, the intake shall be placed over water
                          with a minimum depth of 20 feet.
                          The barge/float required for water withdrawal from the Missouri River would be fitted with a secondary containment
                          structure, and the pump would be placed within this structure to contain accidental spills of fuels. The intake hose
                          would be suspended by floats within the water column and screened to prevent impingement entrainment of foreign
                          objects and aquatic species.
                          Water discharges associated with hydrostatic testing on Corps flowage easements would be conducted in accordance
                          with applicable permits. Hydrostatic test water discharges would not occur on Corps fee property.
                          Dakota Access would conduct trench dewatering and hydrostatic test discharges in a manner consistent with the North
                          Dakota Pollutant Discharge Elimination System (NDPDES) General Permit NDG-070000, as applicable.
                          Discharged hydrostatic test water would not contain additives unless written approval is received from Dakota Access
                          and applicable permits authorize such additives.
                          Where appropriate, water would be discharged into an energy dissipation and/or filtering device as described in
                          Dakota Access' SWPPP (Appendix A) to remove sediment and to reduce the erosive energy of the discharge.



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                                                                                                                                          USACE DAPL0074210
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                                                               Table 8-2
                                   Summary o f Environmental Impact Avoidance and Mitigation Measures
        Resource                                              Environmental Avoidance/Mitigation Measures
                          Impacts to waterbodies would be minimized by conducting pipeline construction activities in accordance with
                          applicable regulatory requirements and waterbody construction procedures described in Section 2.3.2.8 and the ECP.
                          Fuel and all other hazardous materials would be stored in accordance with the requirements of Dakota Access' SPCC,
                          SWPPP, and ECP. These documents also describe response, containment, and cleanup measures.
                          Els would monitor compliance with applicable waterbody protection requirements during construction of the facilities.
                          The Project ECP (Appendix G) and SWPPP (Appendix A) describe additional mitigation measures and contains
                          illustrations of how sediment control devices should be utilized.
                          Dakota Access would maintain a vegetative buffer until the actual crossing of the waterbody takes place.
                          Temporary sediment control measures, such as silt fence, would minimize the introduction of sediment into
                          waterbodies during construction and minimize the movement of spoil and sediment from surface runoff during and
                          after construction.
                          Dewatering activities would be conducted in accordance with applicable permits and Dakota Access' SWPPP, and ECP.
                          All surface drainage contours and vegetation would be returned as closely as practical to preconstruction conditions.
                          The potential for groundwater contamination would be avoided by implementing the protective measures set forth in
                          the Project specific SPCCs prepared by the contractor and in Dakota Access' SPCC Plan (Appendix A).
                          In the event of a leak, Dakota Access would work aggressively to isolate the source through the use of remote-
                          controlled shut-off valves, initiate cleanup activities, and contact the appropriate federal and state authorities to
                          coordinate leak containment and cleanup. Dakota Access proposes to meet or exceed all applicable regulations and
                          requirements for pipeline design, construction, and operation.
                          Construction workspace on the flowage easements has been selected based on an absence of wetlands within the
                          Project area.
                          Dakota Access is in the process of obtaining verification for use of Nationwide Permit 12 for the crossings of both the
                          Missouri River and Lake Oahe Section 10 waterbodies.
                          The Project ECP and SWPPP specify several measures to protect wetlands and waterbodies from becoming polluted
                          with fuels or other hazardous materials during construction. This plan prohibits the storage of fuel or other hazardous
                          materials within 100 feet of a wetland or waterbody. The ECP also specifies that equipment must be refueled at least
                          100 feet from waterbodies unless, due to site-specific conditions, there is no practical alternative such as the proposed
                          pumping intake structure located on the barge at the Missouri River Crossing. In that case, the contractor must
                          implement site-specific protective measures and containment procedures described in the ECP. Contractors would be
                          required to provide trained personnel, appropriate equipment, and materials to contain and clean up releases of fuel,
                          lubricating oil, or hydraulic fluid that result from equipment failure or other circumstances.




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                                                                                                                                           USACE DAPL0074211
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                                                              Table 8-2
                                  Summary o f Environmental Impact Avoidance and Mitigation Measures
        Resource                                             Environmental Avoidance/Mitigation Measures
                          The Project has been designed in accordance with accepted floodplain management practices; no impacts to floodplain
                          elevations or velocities are anticipated. Following construction, disturbed areas would be restored to pre-construction
                          grades and contours as practical.
                          If necessary, soil displaced by the installation of the 24-inch pipeline on the flowage easements would be removed
                          from the floodplain and hauled to an upland location in order to ensure original floodplain elevations are restored.
                          Remotely operated above-ground mainline valve sites would be installed on both sides of the Missouri River and Lake
                          Oahe crossings for isolation in the event of an emergency shutdown.
                          Impacts to cultivated crops make up the majority of temporary impacts and would return to cultivated crops post­
                          construction.
                          Within areas disturbed by construction of the Project, and not being actively cultivated, including the flowage
                          easement Project Area, Dakota Access would implement active revegetation measures and rapid colonization by
                          annual and perennial herbaceous species to restore most vegetative cover within the first growing season.
                          In areas that require permanent revegetation, Dakota Access would specify appropriate seed mixes, application rates,
                          and seeding dates, taking into account recommendations of appropriate state and federal agencies and landowner
                          requests.
                          In non-agricultural areas, vegetation cleared from ATWS would be allowed to revegetate after construction depending
                          on arrangements with the landowner.
                          Temporary revegetation measures may also be implemented to quickly establish ground cover to minimize the
                          potential for soil erosion and noxious weeds to establish. A temporary seed mix may be applied in these situations. The
                          Project ECP (Appendix G) contains more details regarding temporary revegetation.
                          When constructing in agricultural areas, a minimum of 1 foot of topsoil (organic layer) would be stripped from the
                          trench line and stockpiled separately from trench spoil to preserve the native seed stock. The ECP contains additional
                          details regarding topsoil segregation.
                          At stream approaches, the contractor would leave a 20-foot buffer of undisturbed herbaceous vegetation on all stream
                          banks during initial clearing, except where grading is needed for bridge installation or where restricted by applicable
                          regulations and/or permit conditions.
                          Dakota Access would work with County Weed Boards to ensure the Project ECP contains relevant and necessary
                          mitigation measures that would be implemented to prevent the spread of noxious weed species during construction
                          and operation of the Project.
                          Herbaceous cover would be seeded on disturbed upland areas during restoration and it is expected that pre-existing
                          herbaceous and shrub habitats would quickly reestablish themselves.
                          In the unlikely event that a listed species is encountered on the Project at Corps owned lands during construction,
                          construction activities would stop and the Corps would be contacted.



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                                                                                                                                         USACE DAPL0074212
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                                                               Table 8-2
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         Resource                                             Environmental Avoidance/Mitigation Measures
                          Herbaceous cover would be seeded on disturbed upland areas during restoration and it is expected that pre-existing
                          herbaceous and shrub habitats would quickly reestablish themselves.
                          In the unlikely event that a listed species is encountered on the Project at Corps owned lands during construction,
                          construction activities would stop and the Corps would be contacted.
                          Installation and removal of the temporary waterline on the flowage easements are anticipated to be complete prior to
                          nesting season; therefore, impacts on the interior least tern and piping plover are not anticipated. However, if the
                          water withdrawal activities are not able to be completed prior to nesting season as expected, Dakota Access would
                          conduct surveys prior to placement of the waterline to confirm the presence/absence of these species within the
                          pipeline ROW. If these species are nesting within the Project Area, Dakota Access would postpone water withdrawal
 Wildlife Resources       activities at the Missouri River until these species have left the area.
                          Direct impacts on potentially suitable habitat for the interior least tern and piping plover at the Missouri River and Lake
                          Oahe would be avoided by crossing the waterbodies via HDD.
                          Lake Oahe would be crossed using a HDD construction method, avoiding impacts on potential migrating rufa red knot
                          loafing habitat.
                          Impacts on the pallid sturgeon or suitable habitat present within the Missouri River would be avoided by implementing
                          the conditions on permitted intake structures outlined in the USACE's Regional Conditions for North Dakota applicable
                          to Nationwide Permit 12 (Utility Line Activities) and as described in the USFWS Recovery Plan for the Pallid Sturgeon.
                          Impacts on the pallid sturgeon or suitable habitat present within Lake Oahe would be avoided by crossing the lake via
                          HDD.
                          A successfully completed HDD crossing would avoid aquatic resource impacts to Lake Oahe since the pipeline would be
                          installed without disturbing the aquatic and benthic environments.
                          All HDD operations conducted for the Missouri River and Lake Oahe crossings would adhere to the HDD Contingency
                          Plan and applicable permit conditions to reduce the likelihood of an inadvertent release to minimize and mitigate
                          environmental impacts. Dakota Access' construction contractor would ensure that the appropriate response
                          personnel and containment equipment are available onsite to effectively implement the HDD Contingency Plan.
                          Water withdrawal activities at the Missouri River would be conducted in accordance with all applicable permit
     Aquatic Resources
                          conditions and regulations and in a manner that would not reduce water flow to a point that would impair flow or
                          impact aquatic life.
                          Intake screens and floats would also be utilized during the withdrawal of water from the Missouri River to prevent
                          entrainment of aquatic life and avoid impacts on aquatic resources.
                          The potential for impacts on aquatic resources associated with accidental fuel spills or leaks during the withdrawal of
                          water from the Missouri River would be avoided or minimized by placing the pump within a secondary containment
                          structure on the barge.



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                                                                                                                                             USACE DAPL0074213
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          Resource                                               Environmental Avoidance/Mitigation Measures
                             For portions of the pipeline installed beneath the lake, the depth of the pipeline profile, the increased wall thickness of
                             the pipe, the installation of remotely operated valves on both sides of the river crossing, monitoring of the system
                             24/7, aerial patrols, and in-line inspection, would further limit the potential for an inadvertent release into the river.
                             Adherence to the Geographic Response Plans for Lake Oahe and the Missouri River would minimize potential impacts
                             on aquatic wildlife from potential spills during the operation of the pipeline.
                             In the event of a leak, Dakota Access would work aggressively to contain the leak, initiate cleanup activities, and
                             contact the appropriate authorities, including the Corps.
                             Mitigation measures to minimize impacts to soils, such as topsoil segregation and decompaction practices, would be
                             fully implemented in accordance with the ECP and SWPPP.
                             Dakota Access would coordinate with all landowners on acceptable methods for construction and restoration,
                             including potential impacts to irrigated fields.
                             Dakota Access would repair surface drains and drainage tiles disturbed during ROW preparation, construction, and
                             maintenance activities.
                             Dakota Access would repair or replace fences and gates removed or damaged as a result of ROW preparation,
                             construction, or maintenance activities.
                             Following construction and restoration, the work area would be restored and ranching would be allowed to continue
 Land Use and Recreation
                             over the operational ROW. Landowners would be compensated for temporary loss of land and lower yields. Grazing
                             activities would return to normal after revegetation of the disturbed areas.
                             Trees would be protected by Dakota Access in a manner compatible with the safe operation, maintenance, and
                             inspection of the pipeline. Applicable regulations would be adhered to regarding tree and shrub removal from along
                             the route.
                             Dakota Access would obtain and comply with applicable state regulations, county permits, and zoning and land use
                             regulations. Permits may include, but are not limited to, grade and fill permits, ditch crossing permits, road and utility
                             permits, and conditional use permits. Dakota Access would retain one or more Els to monitor compliance with
                             environmental conditions of county permits.
                             In accordance with Section 106 of the NHPA, Dakota Access has made a good faith effort to identify significant historic
                             properties within the Project area. Based on the result of these efforts, no properties consisted to be eligible, or
                             potentially eligible for listing in the National Register of Historic Places (NRHP) would be adversely impacted by the
     Cultural and Historic   proposed Project or Connected Action.
          Resources          Impacts to the NRHP-eligible BTIS (site 32WI1367) would be avoided via HDD to ensure the integrity of construction
                             design for these historic-age features is preserved.
                             HDD workspaces, as well as staging and stringing areas, would be positioned in excess of 100 feet beyond the mapped
                             boundaries of the previously recorded cultural sites in the vicinity of the Lake Oahe crossing.



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                                                                                                                                                USACE DAPL0074214
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           Resource                                               Environmental Avoidance/Mitigation Measures
                              Dakota Access' UDP was developed (Appendix F) for use during all DAPL Project construction activities which describes
                              actions that would be taken in the event of a previously unrecorded cultural resource site is discovered during
                              construction activities. The UDP explicitly calls for work to stop until the correct authority or agency can be contacted
                              and the find can be properly evaluated.
                              No residential homes or farms would be relocated resulting from the proposed action.
     Social and Economic
                              No demographic changes in the Census tracts affected are anticipated, because no permanent employees would be
          Conditions
                              created as a result of the Proposed Action.
                              In the unlikely event contamination is encountered during construction, the UDP (Appendix F) would be implemented
                              to protect people and the environment and avoid or minimize any effects from unearthing the material.
                              Any hazardous materials discovered, generated, or used during construction would be managed and disposed of in
                              accordance with applicable local, tribal, state, and federal regulations. Should emergency response be required during
      Hazardous Waste
                              construction, the contractor would have some of their own trained or contracted responders, and local response
                              teams would be expected to assist.
                              Dakota Access would comply with all applicable laws and regulations to abate or prevent pollution, such as the RCRA,
                              and State hazardous waste management rules.
                              All activities would be conducted in a safe manner in accordance with the standards specified in the OSHA regulations.
                              To prevent pipeline failures resulting in inadvertent releases, Dakota Access would construct and maintain the pipeline
                              to meet or exceed industry and governmental requirements and standards. Specifically, the steel pipe would meet
                              PHMSA specifications under 49 CFR § 195, follow standards issued by the American Society of Mechanical Engineers,
                              National Association for Corrosion Engineers and American Petroleum Institute (API).
                              Dakota Access would maintain and inspect the pipeline in accordance with PHMSA regulations, industry codes and
                              prudent pipeline operating protocols and techniques. The pipeline ROW would be patrolled and inspected by air every
                              10 days, weather permitting, but at least every three weeks and not less than 26 times per year, to check for abnormal
                              conditions or dangerous activities, such as unauthorized excavation along the pipeline route.
     Reliability and Safety
                              Dakota Access is currently drafting a Facility Response Plan, in accordance with 49 CFR 194, which details the
                              procedures to be implemented in the event of an inadvertent pipeline release and would be in place prior to
                              commencing transportation of crude oil.
                              Following completion of construction and throughout operation of the Project facilities, the Operator and qualified
                              contractors would maintain emergency response equipment and personnel at strategic points along the pipeline route.
                              Contracts would be in place with oil spill response companies that have the capability to mobilize to support cleanup
                              and remediation efforts in the event of a pipeline release. The operator would also coordinate with local emergency
                              responders in preventing and responding to any pipeline related problems.
                              A SCADA system would be utilized to provide constant remote oversight of the Project facilities.



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                                                                                                                                               USACE DAPL0074215
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                             A Computational Pipeline Monitoring System (CRM) would be utilized to monitor the pipeline for leaks.
                             LeakWarn is being tailored to the Project facilities, in accordance with PHMSA requirements, to monitor the pipeline
                             for leaks.
                             To reduce the emission of criteria pollutants, fuel-burning equipment running times would be kept to a minimum and
                             engines would be properly maintained.
     Air Quality and Noise   Dakota Access would mitigate noise impacts by limiting equipment running times and the duration of Project
                             construction to the minimum amount necessary to complete the Project. Noisy construction activities would typically
                             be limited to the least noise-sensitive times of day (daytime).




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                                                                                                                                           USACE DAPL0074216
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                             9.0     LIST OF PREPARERS AND REVIEWERS

Dakota Access, in cooperation w ith th e USACE Preparers, reviewers, consultants and Federal officials
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                         10.0      ACRONYMS, INITIALS, AND ABBREVIATIONS

ANSI                   American National Standards Institute

API                    American Petroleum Institute

ATWS                   Additional Tem porary Workspace

BMP                     Best M anagem ent Practice

bpd                    barrels per day

BTIS                    Buford-Trenton Irrigation System

CAA                    Clean Air Act

CERCLA                 Comprehensive Environmental Response Compensation and Liability Act

CEQ                    Council on Environm ental Quality

CFR                    Code o f Federal Regulations

Corps                   U.S. Arm y Corps o f Engineers

Company                 Energy Transfer Company

CWA                    Clean W ater Act

DA                      D epartm ent o f th e Army

dB                      Decibels

Dakota Access           Dakota Access, LLC

DAPL                    Dakota Access Pipeline

DOT                     D epartm ent o f Transportation

EA                      Environmental Assessment

ECP                     Environmental Construction Plan

ECD                     Erosion Control Device

El                      Environmental Inspector

EG                      Executive Order

EPA                     U.S. Environmental Protection Agency

ESA                     Endangered Species Act

FEMA                    Federal Emergency M anagem ent Agency

FIRM                    Flood Insurance rate Maps

FPPA                    Farmland Protection Policy Act

FRFM                    Flood Risk and Floodplain M anagem ent Section




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                                                                                  USACE DAPL0074218
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g                      gravitational acceleration

GIS                    Geographic Inform ation System

HDD                     Horizontal Directional Drilling

MSL                     Mean Sea Level

NDPSC                   North Dakota Public Service Commission

NDPDES                  North Dakota Pollutant Discharge Elim ination System

NDSHPO                  North Dakota State Historic Preservation Office

NDPRD                   North Dakota Parks and Recreation Departm ent

NEPA                    National Environmental Preservation Act

NFIP                    National Flood Insurance Program

NHPA                    National Historic Preservation Act

NLCD                    National Land Cover Dataset

NPDES                   National Pollutant Discharge Elimination System

NPS                     U.S. National Park Service

NRCS                    Natural Resources Conservation Service

NRHP                    National Register o f Historic Places

NRI                     N ationw ide Rivers Inventory

NSF                     National Science Foundation

NWI                     National W etland Inventory

NWP                     N ationw ide Permit

NWSRS                   National W ild and Scenic River System

OSHA                   Occupational Safety and Health A dm inistration

PA                      Programmatic Agreem ent

PEM                     Palustrine Emergent

PFO                     Palustrine Forested

PH MSA                  Pipeline and Hazardous M aterials Safety A dm inistration

PL                      Public Law

Project                 Dakota Access Pipeline Project

RCRA                    Resource Conservation and Recovery Act

RHA                     Rivers and Harbors Act




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ROW                     Right-of-Way

SPCC                   Spill Prevention, Control and Countermeasure Plan

SWPPP                  S torm w ater Pollution Prevention Plan

THPO                   Tribal Historic Preservation Office

UDP                     Unanticipated Discoveries Plan Cultural Resources, Human Remains,

                        Paleontological Resources and Contaminated Media

USDA                    U.S. D epartm ent o f Agriculture

USES                    U.S. Forest Service

USFWS                   U.S. Fish and W ildlife Service

USGS                    U.S. Geological Survey

WEG                    W ind Erodibility Group

WMA                    W ildlife M anagem ent Area




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                                                                                     USAGE DAPL0074220
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     ENVIRONMENTAL ASSESSMENT
       Dakota Access Pipeline Project
     Crossings of Flowage Easements
                  and Federal Lands



                       Prepared on behalf of:

      U.S. A rm y Corps of Engineers - O m aha District
                      1616 Capitol Avenue, Suite 9000
                            Omaha, NE 68102




                               July 2016




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                                             EXECUTIVE SUMMARY

In accordance w ith the National Environmental Policy Act (NEPA) and im plem enting regulations, the
fo llo w ing Environmental Assessment (EA) has been prepared to evaluate th e effects o f the United States
Arm y Corps o f Engineers (USAGE), Omaha District (District) granting permission to Dakota Access, LEG
(Dakota Access) to place a portion o f th e Dakota Access Pipeline Project (DAPL Project) on federal real
p roperty interests acquired and managed fo r th e Garrison Dam/Lake Sakakawea and Oahe Dam/Lake
Oahe Projects in North Dakota. Section 14 o f the Rivers and Harbors Act o f 1899, codified 33 U.S.C. Section
408 (Section 408), authorizes the Corps to grant permission to Dakota Access to m odify federal flood
control and navigation projects, provided the m odifications are not injurious to the public interest and
w ill not im pair th e usefulness o f th e projects. The EA addresses the purpose and need o f th e pipeline, as
w ell as th e location and m ethod o f installation o f the pipeline, but the analysis is lim ited to the effects o f
allow ing the pipeline to cross federal flowage easements near Lake Sakakawea and federally owned lands
at Lake Oahe in North Dakota, to determ ine w hether the placement o f the pipeline on federal real
p roperty interests is injurious to th e public interest or w ill im pair th e usefulness o f th e federal projects.

This EA was prepared by Dakota Access on behalf of th e Corps in compliance w ith th e NEPA Act of 1969;
th e Council on Environmental Q uality (CEQ) Regulations (40 CFR 1500-1508); Corps o f Engineers
Regulation ER 200-2-2 (33 CFR Part 230), and related environm ental compliance requirem ents, including
th e Section 106 o f the National Historic Preservation Act (Section 106). Tribes, Tribal Historic Preservation
Offices, State Historic Preservation Offices, the Advisory Council on Historic Preservation, and interested
parties w ere consulted by representatives from Dakota Access and th e Corps Omaha D istrict as required
by th e Programmatic Agreem ent and th e National Historic Preservation Act.

This EA was prepared in accordance w ith CEQ regulations in Section 1506.5(a) and 1506.5(b), which allow
an applicant to prepare an EA fo r federal actions. The Corps has independently evaluated and verified
th e inform ation and analysis undertaken in this EA and takes full responsibility fo r th e scope and content
contained herein.

The Corps published a draft EA on December 8, 2015, on the U.S. Arm y Corps o f Engineers (USAGE) Omaha
D istrict w ebsite (http://w w w .nw o.usace.arm y.m il/M issions/C ivilW orks/Planning/ProjectR eports.aspx)
and hard copies w ere made available at public libraries in Bismarck, W illiston, and Pierre. Additionally,
notifications w here made to cooperating agencies, other federal, state and local agencies, and signatory
and non-signatory Tribes to the Omaha Corps District Programmatic Agreement.

The Corps received com m ents from 20 reviewers in response to th e Draft EA, prim arily from individuals
believed to be members o f th e Standing Rock Sioux Tribe, and tw o sets of comments from EPA. These
com m ents relate to topics in th e EA. The Corps fu lly considered and responded to these comments. There
is no new, significant inform ation on environm ental effects as a result of these comments. As such, neither
a supplem ental nor a revised EA w ill be published fo r fu rth e r public review nor are additional NEPA
compliance actions required p rior to the Corps making a decision on the proposed action.

Impacts on th e environm ent resulting from the placem ent o f th e pipeline on federal real property
interests is anticipated to be tem porary and not significant as a result of Dakota Access's efforts to avoid,
m inimize, and m itigate potential impacts. Dakota Access w ill comply w ith all applicable local, state, and




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federal regulations and perm its associated w ith th e construction and operation o f the pipeline, which is
not expected to have any significant direct, indirect, or cum ulative impacts on th e environm ent.




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                                            1.0      INTRODUCTION

Dakota Access is proposing to construct a new crude oil pipeline th a t w ould provide transportation service
fro m th e Bakken and Three Forks plays in North Dakota through portions o f South Dakota and Iowa to a
term inus in Patoka, Illinois (Figure 1). In coordination w ith th e U.S. Arm y Corps o f Engineers, the
Applicant, Dakota Access, LEG (Dakota Access), as th e non-federal representative fo r compliance w ith the
NEPA o f 1969, the CEQ Regulations (40 CFR 1500-1508), Corps of Engineers Regulation ER 200-2-2 (33 CFR
Part 230), and related environm ental compliance requirem ents, prepared this Environmental Assessment
to analyze w he the r the Corps could grant Section 408 permissions fo r th e placement o f Dakota Access
Pipeline Project (DAPL Project) on federal flowage easements near th e upper end o f Lake Sakakawea, and
federally owned lands at Lake Oahe in North Dakota ("the Requester's Preferred A lternative" or
"Proposed A ction"). Areas th a t are potentially impacted by construction an d /o r operation o f the
Proposed Action are referred to herein as the Project Area.

1.1     DAPL Project

The DAPL Project is an approxim ately 1,100-mile long crude oil pipeline project beginning near Stanley,
N orth Dakota, and ending at Patoka, Illinois. The DAPL project, as proposed and being evaluated herein,
w ould cross federal flow age easements near th e upper end o f Lake Sakakawea north of the Missouri River
in W illiam s County, North Dakota, and federally owned lands at Lake Oahe in M orton and Emmons
counties. North Dakota. The EA analysis is lim ited to these portions of th e pipeline only.

1.2      Purpose and Need

The purpose and need o f th e federal action is to determ ine w hether USAGE may grant permission fo r
Dakota Access to place the pipeline on federal real property interests acquired and managed by USAGE
fo r the Garrison Dam/Lake Sakakawea and Oahe Dam/Lake Oahe projects. Section 408 authorizes the
Corps to grant permission to Dakota Access to m odify federal flood control and navigation projects,
provided the m odifications are not injurious to th e public interest and w ill not im pair th e usefulness o f
th e projects. The EA addresses the purpose and need of th e pipeline, as well as the location and m ethod
o f installation o f th e pipeline, but th e analysis is lim ited to th e effects o f allowing the pipeline to cross
federal flow age easements near the upper end o f Lake Sakakawea and federally owned lands at Lake Oahe
in N orth Dakota.

1.3     Authority and Scope of the EA

The proposed crossings o f Corps-owned lands and easements w ould require the Corps to grant the Section
408 permissions as well as real estate outgrants. Therefore, th e scope o f this EA is lim ited to the crossings
o f Corps-owned lands and flow age easements. As noted below, separate Corps authorizations are being
sought fo r Section 404, Section 10, and Section 408 crossings on other portions of the DAPL route. Those
actions are not discussed in the EA.

The Proposed Action does not qualify fo r a Categorical Exclusion from NEPA docum entation as defined by
ER 200-2-2, 4 March 1998 paragraph 9. Thus, this EA has been prepared as required under NEPA to
determ ine potential impacts th a t may occur as result o f im plem enting the Proposed Action. If it is
determ ined th a t no significant impacts w ould be incurred after im plem enting the m itigation measures




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described w ith in this docum ent, the USAGE w ould issue a finding of no significant im pact (FONSI). If it is
determ ined th a t significant impacts w ould be incurred as a result o f construction an d /o r operations o f
th e Proposed Action, an environm ental im pact statem ent (EIS) w ould be prepared to fu rth e r evaluate the
Proposed Action under NEPA.

This effect analysis is being com pleted in accordance w ith CEQ regulations in Section CFR 1506.5(b), which
allow an applicant to prepare an EA fo r a federal action in coordination w ith th e lead federal agency (i.e..
Corps). The Corps w ill use the inform ation in th e EA to make a final determ ination w hether to grant the
required Section 408 permissions using the inform ation contained herein. The Corps independently
evaluated and verified the inform ation and analysis undertaken in this EA and takes full responsibility fo r
its scope and content.




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                                            2.0      ALTERNATIVES

Dakota Access proposes th e DAPL Project to efficiently and safely transport at least 570,000 barrels of
crude oil per day (bpd) from th e Bakken and Three Forks production region in North Dakota to a crude oil
m arket hub located near Patoka, Illinois, and ultim ately to refineries located in the M idw est and th e Gulf
Coast, w here 80% o f the U.S. refining capabilities exist. Because the Corps can only grant permission fo r
th e m odification o f a federal project if it w ould not be injurious to th e public interest, the EA evaluated
alternatives to th e construction o f th e pipeline as a whole, as well as the alignm ent o f th e pipeline and
m ethod fo r installation on federal property. The alternatives were compared using the proposed purpose
o f the DAPL project. The EA also analyzed the potential fo r th e pipeline to im pair the usefulness o f the
federal projects.

2.1      Alternatives Considered but Eliminated from Detailed Analysis

2.1.1    Alternative 1 - Modification of Existing Infrastructure

There are no o the r m ajor interstate pipelines th a t w ould m eet th e purpose and need o f the Project. The
DAPL Project w ould be Energy Transfer's (Company's) firs t asset in th e state. For this reason, the
m anipulation o f operating pressures or additional o f pum p stations to increase transport capacity in
pipelines or altering existing infrastructure to increase storage and transport capacity are not viable
options to m eet the purpose and need o f th e Project.

2.1.2    Alternative 2 - Trucking Transportation Alternative

 W hile trucking is instrum ental in th e gathering and d istribution o f crude on a lim ited scale, trucking as an
alternative fo r transporting volum e o f crude oil th e distances planned fo r th e DAPL Project is not viable.
Based on data recorded by the North Dakota Pipeline A u th o rity as recently as November o f 2015,
approxim ately 1% o f the crude oil in the W illiston Basin is transported via truck out o f th e W illiston Basin
due to a lack o f transp ort capacity (Kringstad, 2016). Factors such as road safety, roadway capacity, and
a lack o f reliability due to seasonal constraints, in addition to o ther logistical issues involving availability
o f labor force, tra ile r tru ck capacity, and economics, all contribute to truck transportation not being a
realistic alternative.

A sharp increase in tra ffic on N orth Dakota roads as a result o f the rapid expansion in the num ber of
commercial trucks linked to the oil industry speaks to the issues associated w ith road safety. In 2012, the
Federal M o to r Carrier Safety A dm inistration reported a tra ffic fa ta lity rate in North Dakota o f 0.48 per
m illion vehicle miles traveled, w ith 48 deaths involving a bus or large truck, fa r surpassing any other state
(U.S. D epartm ent o f Transportation [DOT], 2014). In the pre-boom years o f 2001 to 2005, there was an
average o f only 13 annual deaths involving commercial trucks. Furtherm ore, the economic cost o f severe
truck crashes has m ore than doubled between 2008 and 2012. Much o f th e increase in th e fa ta lity rate
can be a ttrib ute d to the energy production boom, along w ith th e fact th a t the state's infrastructure still
consists o f single-lane, rural, and unpaved roads in many areas (Bachman, 2014). Flarsh w in te r w eather
and seasonal road restrictions com prom ise the reliability of tru ck transportation even fu rth e r. Based on
th e above, a pipeline is a safer and m ore economical alternative than trucking fo r the volumes transported
and distances covered by the DAPL Project.




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Assuming the average oil tanker truck is capable o f holding about 220 barrels o f oil, the transportation o f
th e initial capacity o f the proposed Project (450,000 bpd), w ould require a to ta l o f 2,045 (450,000/220)
fu ll trucks to depart the proposed tank term inals daily, and m ore than 85 (2,045/24) trucks w ould have to
be filled every hour w ith a 24-hour/day operation. Time spent in transit, loading/offloading, and
additional tim e fo r m aintenance w ould add to the num ber o f trucks needed to offset fo r the DAPL Project.
For a trucking mode, an increase in daily truck tra ffic w ould lead to an increase in the degradation o f public
roads as well as contribute to the noise pollution adjacent to th e roads. For both truck and rail modes, an
increase in exhaust w ould be anticipated due to truck and locom otive combustion. An increase in air
pollution w ould also be anticipated from potential releases during th e filling operations fo r trucks or rail
cars.

Analysis o f infrastructure considerations (the burden o f thousands o f additional trucks on county, state,
and interstate highways, as well as the loading and offloading facilities th a t w ould have to be constructed
which w ould incur th e ir own environm ental impacts), economic considerations (e.g., labor costs, purchase
and m aintenance o f hauling equipm ent, fuel, public infrastructure, etc.), and reliability considerations
(e.g., w eather, mechanical, m anpower, road closures) all contribute to making the truck transportation
alternative unviable.

2.1.3    Alternative 3 - Rail Transportation Alternative

Reliance on rail as a transportatio n m ethod in the W illiston Basin has drastically increased in recent years,
carrying a negligible percentage o f th e overall m arket share as recently as 2010 to nearly 60% of the
overall m arket share by m id-2014 (Nixon, 2014). The rise in the use o f rail as a prim ary transportation
m ethod has been driven in large part by the rapid increase in production of crude oil coupled w ith a lack
o f pipeline capacity to account fo r additional supplies.

Negative impacts from th e grow th in popularity o f rail as a m ethod o f long-distance transportation o f
crude oil include delays th a t disrupt th e agricultural sector, reductions in coal-fired pow er plant
inventories, and significant production issues in the food production industry. In August 2014, reports
filed w ith the federal governm ent indicated th a t the Burlington Northern Santa Fe Railway had a backlog
o f 1,336 rail cars w aiting to ship grain and o ther products, w hile Canadian Pacific Railway had a backlog
o f nearly 1,000 cars (Nixon, 2014). For industries, such as those listed, in which the use of pipelines is not
an option, th e only viable alternative w ould be increased reliance on trucking, which w ould exacerbate
some o f the issues listed in th e section above.

Assuming a carrying capacity o f 600 barrels per car, a to ta l o f 750 rail cars w ould be required to depart
th e tank term inal daily to tra nsp ort 450,000 barrels o f crude oil to its final destination. Loading and
offloading 750 rail cars in a day w ould require servicing m ore than 31 rail cars per hour. W ith an
assumption of 125 rail cars per train, six trains w ould have to depart the tank term inal every day. W ith
10 to 12 trains currently leaving the state per day carrying Bakken crude, the DAPL Project w ould represent
a 50 to 60% increase in th e num ber o f trains transporting crude oil out o f th e state, likely exacerbating
issues w ith delays (Florwath and Owings, 2014).

Rail operations on th e scale o f the DAPL Project do not exist in the U.S. An oil-by-rail fa cility designed to
handle an average o f 360,000 bpd has been proposed in the Port o f Vancouver, W ashington. Known as
th e Vancouver Energy proposal, th e project w ould be the largest rail term inal in the country (Florip, 2014).




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A rail transportation alternative to handle th e volumes of the DAPL Project w ould require th e design and
construction o f 125 to 158% o f th a t of th e Vancouver Energy proposal. A facility o f this size w ould incur
its own environm ental consequences.

From a safety standpoint, railroad transport consistently reports a substantially higher num ber of
transportation accidents than pipelines (DOT, 2005). A series of m ajor accidents taking place in 2013 to
2014 in Canada and th e U.S. has heightened concern about th e risks involved in shipping crude by rail
(Fritelli, 2014).

Increases in rail tra ffic necessary to tran sport th e volum e of crude oil proposed by the DAPL project would
increase the emissions o f com bustion products due the use o f diesel engines which could have an adverse
im pact on air quality in the region. This alternative w ould also directly affect com m unities along utilized
rail lines by increasing noise and creating transportation delays due to th e substantial increasing rail tra ffic
across railroad crossings o f roads.

W hile rail tanker cars are a vital part o f the short-haul distribution netw ork fo r crude oil, pipelines are a
m ore reliable, safer, and m ore economical alternative fo r th e large volumes transported and long
distances covered by the DAPL Project. This alternative w ould create delays on the rail lines due to the
substantial increase in rail tra ffic, resulting in shipping delays in other industries such as agriculture th a t
cannot rely on pipeline transportatio n. Furtherm ore, the purpose and need o f the Project w ould not be
attainable w ith the current oil-by-rail infrastructure in th e country because rail loading facilities o f
sufficient size do not exist. As such, rail transportation is not considered a viable alternative.

2.1.4    Alternative 4 - Route Alternatives

Although this EA is lim ited to the pipeline placem ent on federal real property interests adm inistered by
th e Corps, m ajor route alternatives w ere evaluated fo r th e pipeline route as a whole. During the DAPL
Project fatal fla w analysis and early routing process, Dakota Access utilized a sophisticated and proprietary
Geographic Inform ation System (GlS)-based routing program to determ ine the pipeline route based on
m ultiple publicly available and purchased datasets. Datasets utilized during the Project routing analysis
included engineering (e.g., existing pipelines, railroads, karst, powerlines, etc.), environm ental (e.g.,
critical habitat, fa u lt lines, state parks, national forests, brownfields, national registry o f historic places,
etc.), and land (e.g., fee owned federal lands, federal easements, dams, airports, cemeteries, schools,
mining, trib al lands, and m ilitary installations, etc.).

Each o f these datasets was w eighted based on th e risk (e.g., low, moderate, or high based on a scale o f
1,000) associated w ith crossing or fo llo w ing certain features. In general, th e route fo r the pipeline would
fo llo w features identified as low risk, avoid or m inimize crossing features identified as m oderate risk, and
exclude features identified as high risk. For example, the existing pipelines dataset was weighted as a low
risk feature, so th a t th e routing to o l follow ed existing pipelines to th e extent possible to minimize
potential impacts. An example o f a high risk feature is the national park dataset. Since national parks
w ere w eighted fo r th e DAPL Project as high risk, th e GIS routing program excluded any national parks
fro m th e pipeline route to avoid impacts on these federal lands. In addition, th e routing program
established a buffer between the proposed route and certain types o f land, such as m aintaining a 0.5-mile
b uffer from trib al lands.




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Route Alternative for the Crossing of Flowage Easements at the Missouri River

Early in the routing process Dakota Access perform ed a cursory route evaluation to atte m p t crossing the
M issouri River at a location th a t does not contain flowage easements. This w ould dictate moving the
centerline west o f the flowage easements in W illiam s County. This alternative was not carried forw ard
through the environm ental consequences analysis, given th a t this w ould require approxim ately eight
additional miles o f pipe, an exceedance o f an additional 130 acres o f workspace, and another m ajor river
crossing (Yellowstone River) in addition to the Missouri River. Furtherm ore, other state and federal
properties are located along th e river w est of th e confluence o f Missouri and Yellowstone Rivers.

Route Alternative for the Crossing of Federal Lands at Lake Oahe

Early in th e routing phase o f the DAPL Project, Dakota Access considered but elim inated an alternative
centerline th a t originated in Stanley, North Dakota, w ith in M ountrail County, where it connected to
custom er receipt points and headed southw est through W illiam s County and crossed th e Missouri River
approxim ately 8.5 miles east o f the Yellowstone River and Missouri River confluence (Figure 12). The
centerline then headed southeast across th e state and crossed Lake Oahe approxim ately 10 miles north
o f Bismarck (Figure 13), w here it then headed south again and entered South Dakota approxim ately 35
miles east o f Lake Oahe in M cIntosh County. In addition to o ther evaluation criteria listed in Table 2.1,
th e route alternative was in proxim ity to a n d/or crossing m ultiple conservation easements, habitat
managem ent areas. National W ildlife Refuges, state tru s t lands, w aterfow l production areas, and private
triba l lands.

As a result o f public input and com m ent during this EA process, additional desktop evaluation of the North
Bismarck alternative portion o f th e early route (Figure 13) was undertaken. The comparison o f this
alternative to th e preferred route is included in Tables 2-1 and 2-2 contained herein. As illustrated in the
tables, th e data substantiates elim inating this route as a viable alternative. W hile the alternative does
avoid Corps fee owned land at Lake Oahe; therefore, w ould not require a Corps real estate outgrant or
Corps EA review, approxim ately 11-miles o f length w ould be added to the pipeline route, consisting of
roughly 165 additional acres o f impact, m ultiple additional road crossings, w aterbody and wetland
crossings, etc. In addition to th e criteria shown in the tables, due to th e proxim ity to Bismarck, the North
Bismarck route alternative crossed through or in close proxim ity to several wellhead source w ater
protection areas th a t are identified and avoided in order to protect areas th a t contribute w ater to
municipal w ate r supply wells. The route was also severely constrained by the North Dakota Public Service
Commission's 5 00-ft residential buffer requirem ent at m ultiple locations. Furtherm ore, this route
alternative crossed o th e r populated PFIMSA high consequence areas (FICAs), th a t are not present on the
preferred route. Pipeline safety regulations use the concept o f FICAs to identify specific locales where a
release from a pipeline could have the m ost significant adverse consequences.




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                                                              Table 2-1
         Alternatives Evaluation M atrix Between Preferred Crossing at Lake Oahe and Alternative Crossing North of Bismarck

                                                                                                           PREFERRED COMPARED
                                                  ALTERNATIVE ROUTE             PREFERRED ROUTE
               Evaluation Factors                                                                             TO ALTERNATIVE
                                               Crossing North of Bismarck      Crossing at Lake Oahe
                                                                                                                  ROUTE
 Total Overall Route Mileage
   Total Mileage                                          111.0                         100.4                       -10.6
 Collocation
       Pipeline (mi)                                       0.0                          34.6                        +34.6
       Powerline (mi)                                      2.9                           6.1                        +3.2
   Overall Corridor Collocation (%)                        3%                           41%                         +38%
   A m ount o f Greenfield Crossed
                                                          108.1                         59.6                        -48.4
   (non-collocated areas-mi)
 Existing Pipeline Crossing (count)
   Crossing Count                                           6                            10                          +4
 Floodplain 100 Year
   Floodplain Crossings (Count)                            13                             2                          -11
   Total Mileage                                           1.4                           0.2                        -1.2
 Land Cover Types (mi)
   Agriculture                                            42.5                          36.1                        -6.4
   Developed/Low Intensity                                 0.2                           0.1                        -0.1
   Developed/Open Space                                    6.6                           2.0                        -4.6
   Grass/Pasture                                          59.3                          60.7                        +1.4
 Land Ownership Potential Conflicts
   USAGE Reservoirs - Lake Oahe                            0                              1                          +1
 Flowlines- NFID*
   W aterbody Count                                        149                           116                         -33




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                                                               Table 2-1
          Alternatives Evaluation M atrix Between Preferred Crossing at Lake Oahe and Alternative Crossing North of Bismarck

                                                                                                               PREFERRED COMPARED
                                                      ALTERNATIVE ROUTE                 PREFERRED ROUTE
                 Evaluation Factors                                                                               TO ALTERNATIVE
                                                   Crossing North of Bismarck          Crossing at Lake Oahe
                                                                                                                      ROUTE
 Waterbodies- NHD*
   Perennial                                                     3                                1                    -2
   In te rm itte n t                                             1                                0                    -1
 NWI Wetland (count)
   Freshwater Emergent W etland                                 26                                5                   -21
   Freshwater Forested/Shrub W etland                            1                                0                    -1
   Freshwater Pond                                               2                                0                    -2
 PHMSA Populated Areas Dissolved (mi)
   Ecological MCA                                               2.6                              2.6                   0
   Highly Populated Areas                                        0                                0                    0
   O ther Populated Areas                                       1.6                               0                   -1.6
   Drinking W ater MCA                                           0                                0                    0
 Powerline Crossing
   Total Crossing Count                                          14                               13                   -1
 Transportation Crossing
   Total Crossing Count                                         139                              112                  -27
   Flowline and waterbody crossings from the U.S. Geological Survey (USGS) National Hydrography Dataset




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                                                             Table 2-2
                Construction Cost Comparison Between Crossing at Lake Oahe and Alternative Crossing North of Bismarck

                                                                                         ALTERNATIVE
                                                                                                                     PREFERRED ROUTE
                                                                                            ROUTE
                                                                                                                      Crossing at Lake
                                                                                       Crossing North of
                                                                                                                           Oahe
                                                                                           Bismarck
 Length of Segment                                                                                   111.0   miles                100.4   miles
                                                                                                  585,974    feet              530,112    feet
 Cost for Road/Railroad Bores
                                                    Number of Road/Railroad Bores                     139    bores                 112    bores
                                        Total Cost for Road Bores (at $34,600/bore)            $ 4,809,400   USD            $ 3,875,200
 Cost of Installation for Non-HDD Areas
                                                        Length of Pipeline Non-HDD                580,008    feet              522,312    feet
                                      Total Cost for Installation of Non-HDD Section         $201,262,915    USD          $ 181,242,264   USD
 Horizontal Directional Drill (HDD) Across Mo River/Lake Oahe
                                                                     Length of HDD                  5,966    feet                 7,800 feet
                                                         Total Cost of HDD Crossing            $ 7,696,140   USD           $ 10,062,000   USD
 Cost of Geotechnical Investigation
                                                                                                 $ 140,000   USD              $110,000    USD
 Aboveground Facility Costs
 Mainline Valves Needed (one per each 10 mile segment)                                                 11 valves                    10 valves
 Total Cost of Mainline Valves (at $450,000/valve location)                                    $ 4,995,000   USD            $ 4,500,000   USD
                                                                                              S 21 681 053   USD           S 19 614 144   USD
 Additional Cost Including Engineering and Consultants (at $131,000/mile)                     $ 14,538,380   USD           $ 13,152,400   USD

 Total Cost o f Alternative                                                                  $ 255,122,888   USD          S 232,556,008   USD




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A negative num ber indicates th a t th e value fo r the proposed action is less than the value fo r the
population th a t the proposed action is being compared to.

2.1.5    Alternative 5 - M ajor W aterbody Crossing Method Alternatives

Once an optim al route was selected based on the evaluation o f impacts discussed in Section 2.1.3, Dakota
Access then identified the preferred m ajor w aterbody crossing construction m ethod th a t w ould m eet the
purpose and need w hile m inim izing impacts to resources. Pipeline construction m ethods utilized at
w aterbody crossings are highly dependent on th e characteristics o f the w aterbody encountered. A variety
o f w aterbody crossing techniques w ere considered during th e DAPL Project planning stages fo r the
crossings o f m ajor w aterbodies, including Dam and Pump, Flume, Open-Cut, and Horizontal Directional
Drill.

Drv Crossings Methods

Two d iffe re n t techniques, including dam and pum p and flum e crossing methods, are typically used on
w aterbody crossings w ell under 100 fe e t in w id th and require a tem porary diversion o f flo w w ith in the
w aterbody. Because o f th e large volum e o f w ater w ith in the Missouri River system, it is not feasible to
te m p orarily divert th e w a ter e ither by pump or flum e, and these m ethods were ruled out of consideration
fo r the crossing of the Missouri River and Lake Oahe.

W et Open-Cut Crossing Method

Aside from trenchless or HDD crossing techniques, th e only feasible crossing m ethod from a
constructability standpoint fo r th e m ajor waterbodies associated w ith th e Proposed Action is th e w et
open-cut crossing m ethod, in which flo w w ould be m aintained througho ut installation of the pipeline.
This m ethod o f construction w ould require the construction right-of-w ay (ROW) to extend right up to the
w aterbody itself, allow ing equipm ent to operate from the banks o f the w aterbody to excavate a trench.
The sensitive habitat adjacent to the banks of the waterbodies w ould be cleared o f vegetation and graded
to create a safe and level workspace th a t could accommodate excavation equipm ent and spoil storage fo r
th e duration o f th e open-cut installation (approxim ately 6 months). Since th e w idths o f the Missouri River
and Lake Oahe at th e crossing locations is such th a t operating trenching equipm ent entirely from the
banks w ould not be possible, trench excavation in the w aterbodies w ould require equipm ent operating
fro m barges. Furtherm ore, th e depth o f the waterbodies crossed (15 to 25 feet) exceeds th e reach o f a
backhoe, and th e use o f mechanical dragline dredgers w ould be necessary. Spoil dredged from the
bottom o f the w aterbody w ould be stored on a spoil barge or otherwise tem porarily stockpiled in the
w aterbody itself. This m ethod of excavation w ould greatly influence th e overall sedim ent load generated
in the w aterbody fo r th e duration of the installation. The generation o f a downstream tu rb id ity plume
w ould have a direct effect on the aquatic habitat o f the waterbody. In addition, the operation of
equipm ent w ith in and on th e banks o f the w aterbody has th e potential fo r adverse effects on surface
w ate r quality (i.e., potential contam ination o f surface w ater resources from fuel or leaks from the
equipm ent). Compared to trenchless technology, the open-cut m ethod w ould incur fa r greater impacts
on sensitive habitat located on both the banks of the waterbodies and w ith in th e w aterbodies. Therefore,
this m ethod o f construction was elim inated from consideration.




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The trenchless construction m ethod known as HDD was selected as the preferred construction m ethod of
th e Proposed Action, because this m ethod o f construction involves fa r less impacts on resources. In
addition, the Garrison Project - Lake Sakakawea Oil and Gas M anagem ent Plan explicitly states th a t: Oil
and gas pipelines should use directional drilling technology to traverse beneath sensitive habitat areas.
Further inform ation regarding th e HDD construction m ethod is provided in Section 2.3.2.6 below.

2.2      No Action Alternative

Under th e "no action" alternative, Dakota Access w ould not construct th e DAPL Project. The "no action"
alternative w ould not provide th e infrastructure necessary to transport light sweet crude oil to refining
facilities. In northw est North Dakota, exploration and production o f oil is a m ajor economic activity, w ith
crude oil production being th e prim ary mineral resource o f interest. Although the "no action" alternative
itself w ould not incur direct environm ental impacts, it w ould also not address the existing demand to
tra nsp ort crude oil to refining facilities. M arket demands w ould likely compel shippers to rely on
alternative m ethods o f crude oil tran sport such as truck or rail. Although, both th e truck and rail
alternatives are not sufficient to m eet the purpose and need of th e Project due to th e lack o f available
infrastructure and o th e r lim itations described in Sections 2.1.3 and 2.1.4, it is reasonable to assume th a t
truck and rail tra ffic w ould increase if the "no action" alternative were im plem ented. These alternative
shipping m ethods w ould adversely affect resources as described in Sections 2.1.3 and 2.1.4 and
th ro u g h o u t this EA.

It is purely speculative to predict th e resulting effects and actions th a t could be taken by another company
or Dakota Access' shippers and any associated direct or indirect environm ental impacts in response to the
"no action" alternative. However, if this alternative is im plem ented, it is likely th a t other m ethods of
transporting crude oil to the m arketplace w ould be im plem ented and anticipated effects o f the "no
action" alternative has been carried forw ard in the environm ental analysis o f this EA to provide a
comparison between it and the impacts of im plem enting the Preferred Alternative.

2.3      The Proposed Action (Preferred Alternative)

2.3.1    Location and Detailed Description of the Proposed Action

The DAPL Project originates near Stanley, North Dakota, traversing w esterly northw est o f W illiston then
tu rn ing south, crossing the Missouri River and traverses southeasterly across the state, exiting through
th e central portion o f the southern border. Dakota Access proposes to construct the pipeline, ranging in
size fro m 12 to 30 inches in diam eter, so th a t the m ajority o f lands crossed w ould be privately-owned
lands. The locations fo r collecting product into the proposed system w ere largely fixed based on the
location o f existing term inals. The firs t o f the six fixed input locations is located at the pipeline's origin
near th e to w n o f Stanley in M ountrail County. Three other input locations exist near the tow ns o f
Ramberg, Epping, and Trenton in W illiam s County. Two additional collection points are located south of
th e proposed Missouri River crossing on the flowage easements in McKenzie County near the tow ns o f
W aterford City and Johnson's Corner. Connecting th e input locations was largely a m atter o f minim izing
length and maximizing th e avoidance o f sensitive features, developments, public lands, and
constructability issues (e.g., steep terrain, potholes, excessive bedrock, etc.), as discussed above in Section
2.1.4 Route Alternatives. Based on th e location o f th e collection points, crossing the Missouri River (Lake
Sakakawea) was unavoidable. The selected crossing location o f the Proposed Action avoids federally-



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owned lands to the extent practical, is at a narrow w id th of the river upstream o f th e w ider Lake
Sakakawea, and minimizes impacts on sensitive resources (e.g., piping plover critical habitat, eagle nests,
etc.). The pipeline is 24 inches in diam eter w here it crosses approxim ately 14,942 fe e t (2.83 miles) o f the
Corps flow age easements at th e Missouri River and is 30 inches in diam eter where it crosses
approxim ately 1,109 fe et (0.21 mile) o f th e Corps-owned federal lands at Lake Oahe.

W ith in North Dakota, the proposed Supply pipeline crosses seven tracts of flowage easement retained by
th e Corps located north o f th e Missouri River in W illiam s County (Figure 2). The proposed DAPL Project
M ainline route travels through land owned and managed by th e Corps on both sides of the Lake Oahe
crossing at the border between M orto n and Emmons counties, approxim ately 0.55 m ile north of the
northern boundary o f th e Standing Rock Sioux Reservation (Figure 3).

The follow ing narrative relates to Figures 1 through 3 in Section 12.0 and is provided to assist the reader
in identifying th e Project Area under consideration in this analysis. Purple polygons indicate real estate
interests; e ither th e flow age easements th a t th e Corps has w ith private landowners upstream o f Lake
Sakakawea, or th e fee title lands th a t the Corps has on th e upper end o f Lake Oahe. The red hyphenated
line shows the DAPL Project centerline as it approaches Federal property at the Lake Oahe crossing and
tem porary workspace areas. The straight solid redline indicates th e HDD pipeline th a t w ill go beneath
Corps managed federal surfaces and is the Project Area being considered as part o f the Federal action to
issue a real estate easement. The yellow polygon indicates workspace where tem porary w ork is proposed
to be com pleted th a t directly supports the HDD installation o f the pipeline underneath th e river/reservoir.
Tem porary activities th a t w ould occur in this workspace include: welding togethe r pipe, inspecting and
testing th e pipeline to ensure no leaks are present prior to preparing to install beneath the river/reservoir
at both locations.

Potential impacts have to be evaluated in tem porary workspace, as actions com pleted here are directly
connected to th e ability fo r the applicant to com plete th e proposed project (both the purple and yellow
polygons). Further, these actions are directly connected to the federal decision to allow an easement fo r
th e pipeline to cross federal lands in this area. Notice th a t the Corps is not analyzing th e effects o f the
red hyphenated line (DAPL centerline) at the Lake Oahe crossing as it is outside the EA review area. This
is an im po rta nt difference compared to the flowage easement location w here tem porary w ork happens
to coincide w ith the orientation o f th e flowage easements perpendicular to the Missouri River. Therefore,
tem porary workspace required fo r portions o f th e pipeline installed via conventional (non-HDD) methods
on th e flow age easements is included in the EA review area.

The flowage easements and Corps owned lands associated w ith th e Proposed Action, and th e associated
Project im pact acreages, expressed as construction workspace, are identified in Table 2-3 below.

                                         Table 2-3
                         Flowage Easements and Federal Land Crossings
                                                                    Construction Workspace
    Grant of Easement Document Number           County
                                                                      W ithin Tract (acres)
 Flowage Easements
 LL3440E                                                   Williams                         9.4
 LL3483E-1                                                 Williams                         10.8




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                                              Table 2-3
                              Flowage Easements and Federal Land Crossings
                                                                                 Construction Workspace
    Grant of Easement Document Number                       County
                                                                                    W ithin Tract (acres)
 Flowage Easements
 LL3453E                                                   Williams                          10.7
 LL3430E                                                   Williams                          5.0
 LL3450E-2                                                 Williams                          5.2
 LL3431E                                                   Williams                          14.7
 LL3426E-2                                                 Williams                          3.4
                                       Total Acres             -                             59.2
 Federally-Owned Lands
 Federal Land                                               Morton                           0.4
 Federal Land                                              Emmons                            0.8
                                       Total Acres             -                             1.2



The EA review area includes areas w ith in th e Corps flowage easements and federal lands th a t are
potentially impacted by construction an d /o r operation of th e DAPL Project. The EA review area is
hereafter referred to as th e Project Area(s). Actions th a t occur outside o f th e flowage easements and the
federal lands at the Lake Oahe crossing are considered Connected Actions. Connected Actions are those
actions th a t are "closely related" and "should be discussed" in the same NEPA docum ent (40 CFR §
1508.25 (a)(i)). Actions are connected if they autom atically trigger other actions th a t may require an EA,
cannot or w ill not proceed unless other actions are taken previously or sim ultaneously or if the actions
are interdependent parts o f a larger action and depend upon th e large action fo r th e ir justification (40
CFR § 1508.25 (a)(i, ii, iii)). Connected Actions are lim ited to actions th a t are currently proposed (ripe fo r
decision). Actions th a t are not yet proposed are not Connected Actions, but may need to be analyzed in
th e cum ulative effects analysis if they are reasonably foreseeable. The only Connected Actions at each
individual crossing location associated w ith th e Proposed Action are those th a t relate to th e FIDD
workspace at the Missouri River crossing and th e FIDD workspace, FIDD stringing area, and the perm anent
easement on private lands in the vicinity o f th e Lake Oahe crossing. The tw o federal permissions are not
connected actions because the locations o f each crossing are independent o f one another and the location
o f th e firs t does not dictate th e location o f th e second.

Dakota Access initially proposed an isolation valve to be located w ith in the flowage easements (easement
LL3453E); however, th e Omaha District has assessed th e potential fo r open w ater and ice jam flooding
w ith in th e vicinity o f the Project Area in the "Reconnaissance Report, Missouri River, Buford-Trenton
Irrigation District, North Dakota" and based on th e findings th e valve w ould be located w ith in an area th a t
has th e potential to be submerged or damaged by ice jam flooding. Therefore, th e valve has been
removed fro m th e Project Area.

The Project Area and Connected Actions analyzed w ith in this E A for both crossings are outlined in Table
2-4, which identifies land status (private. Federal or Easement) and provides associated acreages.




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                                                Table 2-4
                                Environmental Assessment Areas of Interest
                                                               Federal/
                     Action/Activity                                                EA Review        Acres
                                                             Private Land
 Flowage Easements—Williams County
                                                             Private; Federal
Construction ROW within Corps flowage easements                                     Project Area     58.0
                                                                Easement
HDD workspace (exit point) within Corps flowage              Private; Federal
                                                                                    Project Area      1.2
easement                                                        Easement
Permanent easement over HDD profile within Corps             Private; Federal
                                                                                    Project Area      1.2
flowage easement and placement of temporary waterline           Easement
 Flowage Easements Connected Actions - McKenzie County
 HDD workspace (entry point) on private land                     Private         Connected Action     2.0
 Federal Lands and Connected Actions - Morton County
 HDD workspace (exit point) on private land                      Private         Connected Action     1.2
 HDD stringing area on private land                              Private         Connected Action     13.1
 Permanent easement over HDD profile on private land
                                                                 Private         Connected Action     0.8
 between HDD workspace (exit point) and federal lands
 Permanent easement over HDD profile on federal lands            Federal            Project Area      0.4
 Federal Lands and Connected Actions - Emmons County
 Permanent easement over HDD profile on federal land             Federal            Project Area      0.8
 Permanent easement over HDD profile on private land
                                                                 Private         Connected Action     0.3
 between federal land and HDD workspace (entry point)
 HDD workspace (entry point) on private land                     Private         Connected Action     1.2
 Lake Oahe
 Permanent easement over HDD profile across Lake Oahe              N/A              Project Area      6.3



                  2.3.1.1   Flowage Easements

The Missouri River HDD is located ju st upstream o f Lake Sakakawea and downstream o f the confluence
o f the Yellowstone and Missouri rivers. The proposed crossing o f flowage easements near upper Lake
Sakakawea (flowage easements) is located in Sections 1, 18, 19, and 30, Township 152 North, Range 103
West, in W illiam s County, North Dakota (Figure 2). The proposed pipeline is routed parallel to an existing
buried natural gas pipeline and associated valve sites, which cross th e Missouri River and flowage
easements just west o f th e proposed Dakota Access pipeline.

The HDD exit workspace w ould be located on a flowage easement tract. Access to th e Project Area on
th e flowage easements w ould be via the construction ROW from an existing road (38*^ Street NW). No
additional tem porary access roads w ould be required. The Connected Action at th e flowage easements
includes th e HDD entry workspace, located on the south side o f th e Missouri River on private lands in
McKenzie County. Access to th e HDD entry workspace w ill be via the existing access road located adjacent
to th e HDD entry workspace. No additional tem porary access roads w ould be required.




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                 2.3.1.2    Federal Lands

The proposed crossing o f federally-ow ned tracts at Lake Oahe (federal lands) is located in Section 10,
Township 134 North, Range 79 W est in M orton County, North Dakota, and Section 11, Township 134
North, Range 79 W est in Emmons County, North Dakota (Figure 3). The proposed pipeline is routed to
parallel existing linear infrastructure (an overhead pow erline and a buried natural gas pipeline) in this
area. The HDD entry and exit point workspaces and stringing area w ould be located on private land
outside o f th e federal lands and are considered Connected Actions in this analysis. HDD design reflects a
crossing length o f approxim ately 7,500 feet, o f which approxim ately 5,420 feet occurs beneath the bed
o f Lake Oahe.

2.3.2    Description of Construction Techniques and Construction Mitigation Measures

All facilities associated w ith the Proposed Action w ould be designed, constructed, tested, operated, and
m aintained in accordance w ith th e U.S. DOT regulations in Title 49 CFR Part 195. Dakota Access is
currently developing project-specific plans and w ould im plem ent best m anagement practices (BMPs) to
m itigate fo r potential construction-related impacts associated w ith storm w ater runoff. This includes
im plem entation o f th e ir Storm w ater Pollution Prevention Plan (SWPPP; see Appendix A), which includes
th e Spill Prevention Control and Countermeasure Plan (SPCC Plan) as an appendix. Additionally, Dakota
Access w ould im plem ent th e ir HDD Construction Plan and HDD Contingency Plan (HDD
C onstruction/Contingency Plan; see Appendix B) fo r inadvertent release o f drilling mud during HDD
construction w ork at w etland and w aterbody crossings to protect sensitive resources from such releases.
The Proposed A ction w ould be constructed via a com bination o f conventional and specialized construction
procedures, as described below.

                 2.3.2.1    Clearing and Grading

Prior to com m encem ent o f ground-disturbing activities, a standard survey and stakeout w ould be
conducted to identify ROW and workspace boundaries and to locate existing foreign u tility lines w ith in
th e construction ROW. Following com pletion o f the surveys, the construction ROW w ould be cleared o f
vegetation and debris. Clearing of wetlands is lim ited to removal o f w oody debris in th e forested wetlands
above the HDD profile on th e north bank o f the Missouri River w ith in th e flowage easements. Stumps
w ould be cut flush w ith th e ground and le ft in place, as described in Section 3.2.3. Cleared vegetation and
debris along th e ROW w ould be disposed o f in accordance w ith federal, state, and local regulations either
by burning, chipping and spreading, or transportation to a commercial disposal facility. W here necessary,
to contain disturbed soils during clearing and grading in upland areas, and to m inimize potential erosion
and sedim entation o f wetlands and waterbodies, tem porary erosion control devices (ECDs) w ould be
installed p rior to initial ground disturbance and m aintained th ro u g h o u t construction. Vegetative buffers
w ould be left w here practical at all w aterbody crossings to lim it the exposure and im pact to these
features. Final clearing w ould take place im m ediately prior to crossing th e feature rather than advance.

                 2.3.2.2    Trenching

Trenching involves excavation of a ditch fo r pipeline placem ent and is accomplished through th e use o f a
trenching machine, backhoe, or sim ilar equipm ent. Trench spoil w ould be deposited adjacent to each
trench w ith in th e construction w ork areas, w ith topsoil segregation utilized where necessary based on



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land use (see the typical ROW configuration drawings in Appendix C). In standard conditions, th e trench
w ould be excavated to an appropriate depth to allow fo r a m inim um o f 36 inches o f cover over th e pipe.
Ground disturbance associated w ith conventional pipeline construction is generally lim ited to
approxim ately 6 to 10 fe et below th e existing ground surface. Typically the bottom of the trench w ould
be cut at least 12 inches greater than th e w id th o f th e pipe. The w id th at the to p o f the trench w ould vary
to allow th e side slopes to adapt to local conditions at th e tim e o f construction.

                  2.3.2.3    Pipe Stringing, Bending, and Welding

Following preparation o f the trench, th e new pipe w ould be strung and distributed along the ROW parallel
to the trench. Depending on available workspace, some pipe may be fabricated off-site and transported
to th e ROW in differing lengths or configurations. Pipe w ould be bent by hydraulic bending machines, as
necessary, to conform the pipe to th e trench. Once in place along th e ROW, pipe lengths w ould be aligned,
bends fabricated, and join ts welded togethe r on skids (i.e., tem porary supports). W elding w ould be
perform ed in accordance w ith th e American Petroleum Institute Standards, PHMSA pipeline safety
regulations, and Company welding specifications. All welds w ould be coated fo r corrosion protection and
visually and radiographically inspected to ensure there are no defects. Segments o f com pleted pipeline
w ould undergo hydrostatic pressure testing as described in Sections 3.2.1.2 and 3.11.

                  2.3.2.4    Pipeline Installation and Trench Backfilling

Completed sections o f pipe w ould be lifted o ff th e tem porary supports by side boom tractors or similar
equipm ent and placed into th e trench. Prior to lowering-in, the trench w ould be visually inspected to
ensure th a t it is free o f rock and o th er debris th a t could damage th e pipe or the coating. Additionally, the
pipe and th e trench w ould be inspected to ensure th a t the configurations are com patible. Tie-in welding
and pipeline coating w ould occur w ith in the trench to join th e newly lowered-in section w ith the
previously installed sections o f pipe. Following this activity, th e trench w ould be backfilled w ith the
previously excavated m aterial and crowned to approxim ately 6 inches above its original elevation to
compensate fo r subsequent settling.

                  2.3.2.5    Clean-up and Restoration

Following pipeline installation and backfilling, disturbed areas w ould be restored and graded to pre-
construction contours as closely as practicable. Construction debris and organic refuse unsuitable fo r
d istribution over th e construction ROW w ould be disposed o f at appropriate facilities in accordance w ith
applicable regulations. Permanent ECDs w ould be installed as appropriate, and revegetation measures
w ould be applied in accordance w ith the Environmental Construction Plan (ECP; see Appendix G), SWPPP,
and requirem ents o f applicable state and federal permits.

                  2.3.2.6    M ajor W aterbody Crossing Method

As previously discussed, th e preferred w aterbody crossing technique fo r th e Proposed Action is the FIDD
m ethod. The FIDD m ethod allows fo r construction across a feature w ith o u t th e excavation o f a trench by
drilling a hole significantly below conventional pipeline depth and pulling the pipeline through th e pre-
drilled hole. As described in subsequent sections o f this docum ent and in greater detail in the FIDD
Construction Plan (Appendix B), by utilizing th e trenchless technology, Dakota Access w ould minimize



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impacts to resources w ith in and adjacent to th e w aterbodies crossed and reduce the anticipated duration
o f the crossing. The HDD equipm ent w ould be staged well outside o f th e riparian area, avoiding impacts
on the steep banks, cultural resources, and sensitive habitat im m ediately adjacent to th e waterbody.
Cross sections o f th e Missouri River and Lake Oahe HDDs are provided in Figure 14 and Figure 15.

Depending on the HDD equipm ent utilized, to help guide the drill b it along the pipeline ROW, electric-grid
guide wires may be laid along the predeterm ined HDD route. In thickly vegetated areas, a small path may
be cut to accom m odate laying the electric-grid guide wires. Once th e electric-grid guide wires are
installed, th e directional drilling rig w ould drill a small diam eter pilot hole along the prescribed profile.
Following th e com pletion o f the pilo t hole, reaming tools w ould be utilized to enlarge th e hole to
accom m odate th e pipeline diam eter. The reaming tools w ould be attached to the drill string at th e exit
point and w ould then be rotated and drawn back to increm entally enlarge the pilot hole. During this
process, drilling fluid consisting o f prim arily bentonite clay and w ater w ould be continuously pumped into
th e pilot hole to rem ove cuttings and m aintain the integrity o f the hole. W hen the hole has been
sufficiently enlarged, a prefabricated segment o f pipe w ould be attached behind the reaming to o l on the
exit side o f th e crossing and pulled back through the drill hole tow ards th e drill rig.

Fluid pressures can build up w ith in th e borehole during HDD operations. In some instances, this can result
in hydraulic fracturing of the substrate and subsequent m igration o f drilling fluids either into the w aterw ay
or to th e land surface—this is known as a "frac-out." The depth o f th e proposed HDD profiles below the
beds o f the surface waters to be crossed w ould minimize the potential fo rfra c-o u ts to occur. Additionally,
precautions w ould be taken during all phases o f the drilling operation. A high quality drilling fluid w ould
be used to m aintain and p rotect th e integrity o f th e borehole during th e entire HDD operation until the
final pipe pull is com pleted. The HDD Construction Plan (Appendix B) includes m ore details regarding
HDD construction technology and methods. The w ork w ould be perform ed by an experienced drilling
contractor, Michels Directional Crossings, a Division o f Michels Corporation, th a t is knowledgeable in
effective HDD practices, including m aintaining proper drilling rate, drilling fluid com position, pumping rate
o f the drilling fluid, pull-back rate, and pumping rate on th e back ream, and adjusting these as appropriate
fo r the conditions.

The potential fo r river channel changes associated w ith w ater erosion and scour were considered when
selecting the m ajor w aterbody crossing m ethods and locations. Dakota Access has coordinated w ith the
N orth Dakota Office o f the State Engineer as part of th e Sovereign Lands Perm itting Process to verify
adequate depths fo r the pipe to be buried relative to geom orphological m ovem ents fo r th e Lake Oahe
and the Missouri River crossings. Accordingly, th e professional engineering firm evaluating HDD depths
fo r th e Proposed Action, GeoEngineers, has perform ed a scour analysis in order to evaluate th e scour risk
to the proposed pipeline during 100- and 500-year discharge events fo r th e Lake Oahe and the Missouri
River crossings.

The proposed HDD profile under Lake Oahe is designed to provide 92 feet o f cover below the bottom of
th e lake. Because o f th e depth o f the pipe below the waterbody, and the ponded condition of Lake Oahe,
this crossing is at a low risk to geom orphologic m ovements at the proposed crossing. The North Dakota
Office o f the State Engineer has issued Sovereign Lands Permit fo r the Lake Oahe crossing. A copy o f the
p e rm it is included in Appendix M.




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The Missouri River HDD profile is designed to provide a m inim um o f 36 feet o f cover at the crossing
location beneath the lowest point o f th e Missouri River. This crossing has less proposed cover between
th e bottom o f the w aterbody and the to p o f the buried pipe and it is an active channel. As part o f the
Sovereign Lands Perm itting Process w ith the Office of the State Engineer, conservative assumptions were
utilized in th e analysis o f the Missouri River HDD design profile as a factor o f safety. For example, the
proposed crossing is not located at a bend in the channel and is located over 3,000 feet downstream o f
th e nearest upstream channel bend. An analysis o f historic photographs of the proposed crossing show
th a t th e upstream bend has been stable and in th e same location and th a t the potential downstream
m igration o f this bend is highly unlikely. However, although bend scour is not likely to propagate
downstream to th e proposed crossing, to be conservative in th e ir evaluation GeoEngineers assumed th a t
th e bend could m igrate downstream and negatively influence th e crossing.

GeoEngineers estim ated the maximum bend scour at the proposed pipeline to be 23 to 25 fe e t fo r the
100- and 500-year peak flo w events, respectively. The bend scour at the crossing location w ould not be
additive fo r successive storms as long-term degradation is assumed to be zero. Historic aerial imagery
and recent Google Earth imagery indicates bar building and deposition of sediments in th e Project Area,
representing a dynamic sedim ent environm ent. This equates to a high likelihood th a t there is an adequate
upstream sedim ent supply and likely m inim al long term degradation at the proposed crossing location. In
general term s, if th e area over the pipeline was to experience a large scour event from one large storm
event (up to 23 fee t o f scour during the 500-year peak flo w event follow ing the conservative assumptions),
this area w ould be filled in/covered after th e storm event by deposition o f sediments from upstream and
potential exposure o f th e pipeline w ould be negligible.

In addition to bend scour, there is potential fo r contraction scour th a t occurs when channel w id th varies
w ith in a short reach o f the river. There is a small contraction upstream o f the proposed crossing at the
downstream end o f th e bend approxim ately 3,000 fe e t upstream. The DAPL proposed crossing is not
located in a contraction, but actually a small expansion and th e contraction point is not likely to migrate
downstream to the proposed crossing. However, to be conservative in th e ir analysis as an additional
fa c to r o f safety, GeoEngineers assumed th a t th e contraction scour upstream o f th e proposed crossing
could m igrate downstream to the proposed crossing location. Based on this conservative assumption,
contraction scour estimates fo r the 100-year discharge event are approxim ately 9 feet. This 100-year
contraction scour depth is greater than w hat w ould occur during th e 500-year event as flood waters
spreading across th e floodplain actually reduce contraction and therefore reduce th e contraction scour
depth.

Combining th e conservative assumptions from above, th e maximum estim ated to ta l potential scour depth
at th e proposed Missouri River HDD site w ould occur during a 100-year flood event. This conservatively
assumes "w o rst case" th a t both th e bend scour and th e contraction scour m igrate downstream and are
both realized directly over the pipeline crossing at the same tim e. Under this scenario, the bend scour
w ould create a scour o f 23 fe e t and th e contraction scour w ould contribute another 9 fe e t creating the
m aximum estim ated to ta l potential scour depth o f 32 fe e t below the existing channel elevation during a
100-year flood event. To assess th e factor o f safety applied using these assumptions, GeoEngineers
utilized general scour equations th a t take into account bend and contraction scour and compared them
to the to ta l scour estim ated using the M aynord equation fo r bend scour and Laursen's live-bed
contraction scour equation. Utilizing the Blodgett equation, Lacey equation, and Blench equation fo r




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general scour, th e estim ated general scour at th e proposed pipeline crossing ranges between 14 to 23
fe e t fo r the 100- and 500-year peak flo w events. This results in a to ta l factor of safety o f 1.4 to 2.3 fo r
to ta l scour at the proposed crossing.

Based upon th e ir calculated worst-case scenario scour estimate, GeoEngineers considers th e risk o f scour
occurring down to the level o f the proposed pipeline to be low and th e proposed Missouri River HDD
design profile to be appropriate. The North Dakota Office o f the State Engineer has issued Sovereign
Lands Permit fo r the Missouri River crossing. A copy o f th e perm it is included in Appendix M.

                  2.3.2.7    Minor W aterbody Crossing Methods

There are no m inor w aterbodies crossed by th e pipeline on Corps Fee Lands. All m inor waterbodies
encountered on th e flowage easements have been identified as falling under th e jurisdiction o f the
B uford/Trenton Irrigation D istrict (BTID) and, in compliance w ith th e ir regulations, w ould be crossed via
trenchless pipeline construction m ethods (bores). Dakota Access is w orking through the BTID perm itting
and approval process separately. One in te rm itte n t w aterbody has been identified on the south side o f
th e Missouri River crossing, w ith in the connected action area but outside of the flow age easements, and
w ith in th e HDD workspace. Tem porary impacts to this w aterbody w ould be m itigated during construction
w ith a customized HDD equipm ent configuration, including th e placement o f tem porary m atting/bridging
over the feature as necessary to m aintain natural w ater flo w during construction, and installation o f
appropriate ECDs. Therefore, impacts on surface w aters and adjacent sensitive habitat w ould be
m inim ized by elim inating open-cut pipeline installations and in-stream w ork fo r all crossed waterbodies.

                  2.3.2.8   W etland Crossings

As discussed in Section 3.2.3 below, the only wetlands th a t w ould be crossed by the Proposed Action are
located w ith in the perm anent easement between HDD workspace and th e Missouri River on th e flowage
easements. As such, no wetlands w ould be impacted by construction or operation o f the facilities w ithin
th e Project Area/Connected Actions o f the federal lands, and no trenching w ith in wetlands w ould occur
w ith in th e Project Area on th e flow age easements. A tem porary w aterline w ould be laid aboveground,
across the wetlands located between th e HDD workspace and the north bank o f the Missouri River on
flow age easement LL3440E (Figure 6-B). No ground disturbing activity w ould be required fo r installation
o f th e tem porary w aterline. A m ore detailed discussion regarding wetlands is provided in Section 3.2.3.

                  2.3.2.9   Operation and Maintenance

Following com pletion o f construction, a 50-foot-w ide perm anent easement th a t is generally centered on
th e pipeline (25 fee t on either side o f the centerline) w ould be retained along the pipeline route. The 50-
fo o t-w id e easement w ould be m aintained by the O perator in an herbaceous state (cleared o f large
diam eter w oody vegetation) to fa cilitate inspection o f th e pipeline, operational maintenance, and
compliance w ith th e federal pipeline safety regulations. This 50-foot-w ide m aintained corridor w ould be
reduced to a 30-foot-w ide co rridor centered on th e proposed pipeline w ith in the w etland area north of
th e Missouri River in Corps Flowage Easement LL3440E (Figure 6-B).

M aintenance o f th e perm anent ROW w ould entail periodic vegetation clearing measures, in accordance
w ith PHMSA regulation fo r pipeline inspection. This may involve selective tree cutting and periodic



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mowing. The use o f herbicides w ould not occur on Corps Fee Lands w ith o u t obtaining prior approval from
th e Corps. Vegetation maintenance o f the ROW in areas o f active cropland is not expected to occur due
to agricultural practices.




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        3.0    THE AFFECTED ENVIRONMENT AND POTENTIAL ENVIRONMENTAL IMPACTS OF THE
                         PROPOSED ACTION AND NO ACTION ALTERNATIVE

3.1       Geology and Soils

Under th e "no action" alternative, Dakota Access w ould not construct th e DAPL Project and no impacts
on geology and soils w ould occur. However, if th e objectives o f th e DAPL Project are to be m et under the
"no action" alternative, other projects and activities w ould be required and these projects w ould result in
th e ir own impacts on geology and soils, which w ould likely be sim ilar to or greater than the DAPL Project.
If the Project is not constructed, less reliable shipping methods such as truck or rail could result in an
adverse effect on geology and soils due to increases in transportation accidents and fu tu re construction
o f infrastructure necessary to support these methods (i.e. additional loading/offloading facilities, rail
spurs, etc.).

3.1.1     Geology

                    3.1.1.1   Affected Environment

The Corps flow age easements to be crossed extend approxim ately 2.83 miles north o f th e Missouri River
in W illiam s County (Figure 2). Conventional open trench construction methods w ould be used to install
th e pipeline on approxim ately 13,553 fe et of the 14,953 feet o f flowage easements. The rem aining 1,400
fe e t w ould be installed via HDD fo r the adjacent Missouri River crossing. The easements and Connected
Action lie w ith in th e Missouri River valley and floodplain on to p o f the Quaternary Oahe Formation
(Clayton, 1980). The Oahe Formation is comprised o f unconsolidated sediments, including clay, sand, silt,
and gravel, w ith some dispersed organic m aterial. Geotechnical borings placed on both sides of the river,
ranging in depth from 75 to 95 fe e t below ground surface, confirm the presence o f unconsolidated sand,
gravel, and clay to at least these depths. A t this location, the Oahe Formation unconform ably overlies the
Paleocene Bullion Creek Formation, which is made up o f silt, sand, clay, sandstone, and lignite, and is the
upperm ost part o f a th ick sequence o f early T ertiary and late Mesozoic sedim entary form ations. Well
borehole data from McKenzie County indicates th a t this sequence occurs in excess of 15,000 feet thick in
certain locations (Freers, 1970). No soil borings were obtained below th e Missouri River crossing because
th e banks of th e Missouri River the length o f th e crossing is sufficiently short (930 feet) to allow fo r a
comprehensive geotechnical analysis w ith o u t testing directly beneath th e river itself.

The flow age easements crossed by th e Proposed Action and area crossed by the Connected Action occur
w ith in the Great Plains Physiographic Province, which is characterized by a broad expanse o f fla t land in
th e central portion o f the U.S. The easements and th e Missouri River Project Area lie w ith in an area where
physiography is characterized by low -re lief alluvial and floodplain deposits and range in elevation from
1,856 to 1,879 fe e t above mean sea level (MSL).

The bedrock geology of the Lake Oahe crossing area is characterized by Cretaceous sedim entary
form ations (Clayton, 1980). The Fox Hills Formation (sandstone and shale) overlies th e Pierre Formation
(shale), which has been exposed through erosion along th e axis of th e Lake Oahe reservoir o f the Missouri
River. The surficial geology is characterized by alluvium w ith in the valley and dune deposits moving in an
eastward direction. This was corroborated by geotechnical soil borings th a t w ere placed on private lands




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on both sides o f Lake Oahe th a t indicate the presence of sands and clays to depths ranging from at least
150 to 235 fe e t below ground surface (Appendix D).

The Lake Oahe crossing area also lies w ith in the Great Plains Physiographic Province. On th e w est side of
Lake Oahe, the federal land tracts range in elevation fro m 1,609 to 1,712 fe e t above MSL. The HDD exit
point workspace ranges from 1,699 to 1,711 fe e t MSL, and the stringing area ranges from 1,671 to 1,766
fe e t MSL. On th e east side o f Lake Oahe, th e federal lands range in elevation from 1,613 to 1,664 feet
MSL, and th e HDD entry point workspace ranges from 1,636 to 1,644 fe e t MSL.

                 3.1.1.2    Impacts and Mitigation

To protect th e terrain o f th e Project Area and Connected Actions, Dakota Access w ould, to the extent
feasible, restore th e areas affected by pipeline construction to pre-construction contours and sim ilar
vegetation (excepting trees w ith in approxim ately 15 feet o f th e centerline). Pre-construction and as-built
surveys w ould be com pleted and provided to th e Garrison Project.

Construction o f the pipeline on the flowage easements and Connected Action at th e Missouri River
crossing w ould result in m inor impacts on topography and geology, and no unique geologic features th a t
have received state or federal protection w ould be impacted w ith in the Corps flowage easements or
Connected Action.

The impacts a ttrib u ta ble to the HDD w ould not be significant. Vibrations produced during the HDD
process are not o f a m agnitude th a t would cause any impacts to geologic features or o ther resources. Any
vibrations associated w ith th e drilling process w ould be lim ited to the im m ediate vicinity of th e drilling
equipm ent on the surface and downhole. The vibrations produced from th e dow nhole tooling are o f a
very low m agnitude and are attenuated very quickly by th e fo rm ation such th a t vibrations are not fe lt at
th e surface. A vibration m onitoring analysis conducted by GeoEngineers in 2009 found th a t peak particle
velocities were less than 0.07 inches/second w ith in approxim ately 50 feet o f HDD operations. These
velocities are w ell below th a t which w ould cause any structural impacts and m oreover, th e recorded
vibrations were, in fact, im perceptible to human senses (GeoEngineers, 2009). Primary impacts o f open
trench installation w ith in th e Corps flow age easements or Connected Action w ould be lim ited to
construction activities and consist o f te m porary alteration due to grading and trenching operations.

Construction o f the pipeline at the Lake Oahe crossing w ould not result in adverse impacts on topography
or geology on federal lands o f th e Project Area. Similarly, construction impacts on topography and
geology fro m th e Connected Actions w ould be low to non-existent. No unique geologic features would
be impacted by any aspect o f th e HDD installation.

No impacts on topography or geology w ould occur during operations.

Based on recently obtained geotechnical analysis, no blasting w ould be expected to occur in association
w ith pipeline installation on th e Project Area or Connected Actions, given th a t th e HDD w ould be
conducted in unconsolidated or loosely indurated sediments, as described in Section 3.1.1.1. Although
not anticipated, if blasting is found to be necessary, Dakota Access w ould fo llo w procedures specified in
its Blasting Plan (Appendix E).




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3.1.2    Mineral Resources

                 3.1.2.1    Affected Environment

W illiam s and McKenzie counties have numerous mineral resources th a t include petroleum , lignite, halite,
sand and gravel, and scoria. Scoria, sediments baked from the in situ com bustion o f lignite (Carlson, 1985),
is com m only used to surface roads. Although lignite occurs througho ut W illiam s and McKenzie Counties,
th ere are no lignite beds in th e vicinity o f the Corps flowage easement crossings (M urphy, 2006; 2007). A
review o f aerial photographic and USGS 1:24K topographic coverage indicates th a t there are no sand,
gravel, or scoria pits w ith in 1.5 miles o f the Corps flow age easement crossing areas.

Two oil/gas wells are located w ith in the Corps flowage easements (LL3440E), but neither occur w ith in 150
fe e t of th e proposed HDD workspace. In addition, no oil/gas wells are located w ith in 150 fe e t o f the
Connected Action at th e Missouri River (North Dakota Departm ent of M ineral Resources, 2015). Impacts
w ith in 150 fe et o f th e Project was used follow ing the Federal Energy Regulatory Commission (FERC)
guidelines fo r th e evaluation o f construction impacts to well integrity. Although the Project is not under
th e jurisdiction o f the FERC, FERC guidance was deemed to be an appropriate distance fo r this evaluation.

The prim ary mineral resources o f M orton and Emmons counties are sand and gravel aggregates. The
older Cretaceous sediments in th e vicinity o f the Lake Oahe crossing (i.e., scoria) do not contain
economical deposits o f fossil fuels. Although lignite occurs in M orton County, no lignite beds were
identified in th e vicinity o f the Lake Oahe crossing. A review o f aerial photographic and USGS 1:24K
topographic coverage indicates th a t th ere are no sand, gravel, or scoria pits w ith in 1.5 miles o f the Lake
Oahe crossing.

Since M orto n and Emmons Counties are located outside th e areal extent o f the Bakken Formation, there
is little to no developm ent o f oil/gas resources. This is reflected in the fact th a t no oil/gas wells were
located w ith in 150 fe e t o f the federal lands or HDD workspace and stringing area. However, th e proposed
pipeline w ould be co-located w ith an existing buried natural gas pipeline and an overhead electric
transm ission line across the lake.

                 3.1.2.2    Impacts and Mitigation

As noted previously, mineral resources, including lignite, halite, sand and gravel, and scoria occur w ith in
th e region around the Corps flow age easements and Connected Action; however, th e only com m ercially
exploited mineral resources in th e direct vicinity o f the route are oil and gas, as evidenced by th e tw o
wells found w ith in th e Corps flow age easements. These wells w ould not be impacted by the Proposed
Action due to proposed conventional construction methods and distance from th e wells. No impacts on
any m ineral resources are expected as a result o f the proposed flowage easement crossings or Connected
Action.

The Proposed Action does not cross active mining areas nor any oil or gas wells and facilities in the vicinity
o f Lake Oahe. No impacts to any m ineral resources are expected as a result o f the proposed Lake Oahe
crossing.




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Dakota Access, in accordance w ith North Dakota One Call, w ould require th a t th e construction contractor,
prio r to initiating any ground disturbance activities, identify all underground utilities to m inim ize the
potential fo r encountering buried u tility structures. Accordingly, the Proposed Action is not expected to
have any im pact on mineral resources, because there w ould be no additional surface disturbance required
beyond th a t used fo r construction.

3.1.3    Geologic Hazards

                  3.1.3.1   Affected Environment

Earthquakes and Seismic Hazards

The Project Area, traverses terrain th a t overall is geologically stable. The potential seismic hazard was
assessed by evaluating th e USGS 2014 Seismic Hazard Map. According to the Seismic Hazard Map, an
earthquake th a t has a 2% chance o f being exceeded in a 50-year period w ould result in peak ground
accelerations (PGAs) o f 2 to 4 percent gravity (g) in th e Project Area and Connected Actions (USGS, 2014a).

Ground m ovem ent from an earthquake o f this magnitude may cause a light perceived shaking but is not
expected to cause any structural damage. The low seismic hazard o f th e Project Area is fu rth e r
corroborated by the relatively low num ber o f earthquakes th a t have historically occurred in North Dakota
(N orth Dakota GIS Hub Data Portal, 2010).

Landslides

Landslides refer to the gravity-induced dow nw ard and outw ard m ovem ent o f slope-form ing materials and
pose the greatest risk to facilities on or near steep slopes or on soil materials th a t are susceptible to failure
particularly in response to earthquakes or heavy precipitation. A map developed by the USGS th a t
illustrates the regional potential fo r the occurrence o f landslides was used to evaluate th e Project Area
fo r landslide incidence and susceptibility (Radbruch et al., 1982).

Portions of th e Project Area w ith in th e Corps flow age easements are m oderately susceptible to landslides.
This includes 59.2 acres (100%) o f construction workspace, o f which 17.0 acres lies w ith in the 50-foot-
w ide perm anent easement, and 0.55 acre occurs w ith in th e 30-foot-w ide m aintained corridor above the
HDD profile w ith in th e Corps flow age easement (which w ould not have surface disturbance aside from
selective tree cutting and roots w ould remain in place). The HDD entry point on the south side o f the
M issouri River outside o f the flow age easements is considered th e Connected Action. The HDD entry
workspace is approxim ately 2.0 acres and is also m oderately susceptible to landslides.

As designed, th e Proposed Action does not require any surface impacts to the federally owned lands at
Lake Oahe, although , 0.4 acre of the perm anent easement through th e federal property on the west side
o f th e Lake Oahe (M orton County) is classified as having a high incidence o f landslides. Slopes greater
than 25% in the Project Area w ith in federal lands are not found on the east side o f Lake Oahe (Emmons
County) and comprise less than 0.02 acre on the west side. Activities related to the HDD crossing outside
o f the federal lands at th e Lake Oahe crossing are considered Connected Actions. On the west side o f
Lake Oahe, 1.2 acres o f the HDD workspace (exit point) and 13.1 acres of the pipe stringing area are
designated as having a high incidence fo r landslides. Additionally, the stringing area encompasses



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approxim ately 1.8 acres o f land th a t is classified as highly susceptible to landslides. Approxim ately 0.9
acre w ith in th e stringing area has slopes exceeding 25%. Approxim ately 1.2 acres o f th e HDD entry point
workspace on th e east side o f Lake Oahe is designated as having a high incidence o f landslides, but there
are no slopes w ith in either th e east or west HDD workspace th a t exceed 25%.

Karst and Subsidence

Geologic terrane beneath the flow age easements as well as th e Connected Actions has potential fo r karst
developm ent owing to the presence o f evaporite deposits, consisting o f gypsum, salt, anhydrite, and/or
potash (W eary and Doctor, 2014). These deposits range in age from Devonian to Jurassic and occur at
depths ranging from 900 to 3,700 meters (3,000 to 12,000 feet). Fresh w ater must be present fo r the
necessary dissolution to o c c u rfo r karst developm ent. However, since fresh w ater is not likely to be found
at these depths, dissolution and karst developm ent are not likely to occur (Ackerman, 1980). Even if karst
conditions were to develop, any physiographic expression at the ground surface w ould be negligible given
th e great depth o f these form ations.

Geologic terrane beneath the federal lands crossings as well as the HDD workspaces at Lake Oahe area
may have potential fo r karst developm ent due to deposits o f gypsum and o ther evaporates (Weary and
Doctor, 2014). However, a review o f topographic and aerial photographic coverages as well as
geotechnical testing gave no indication o f karst feature development, and no docum entation was found
to indicate th a t karst features have actually developed in this area. Furtherm ore, an existing buried
pipeline and overhead electric transm ission line also cross in this location, and no inform ation was found
indicating those utilities have been impacted by karst.

Land subsidence may be caused by mining, underlying karst features, and extraction of fluids, such as oil
or groundw ater. No surface subsidence effects are expected to be incurred in th e Project Area since no
mines, oil/gas wells, w a te r wells, or karst developm ent have been identified in the Project Area.
M oreover, despite the fact th a t oil and gas production has occurred fo r decades in the W illiston Basin, no
surface subsidence effects have been docum ented in th a t area and, therefore, are not expected to impact
th e Project Areas w ith in or near th e margin o f the W illiston Basin.

                 3.1.3.2    Impacts and Mitigation

Although landslides can represent a significant geologic hazard during construction and operation of the
pipeline, th e pipeline w ould be installed via th e HDD to significantly reduce ground disturbing activities in
areas w ith steep slopes (greater than 25%), effectively m itigating th e risk.

As previously discussed, no ground disturbing activities w ould occur w ith in the Project Area on the federal
lands. Ground disturbing activities associated w ith the HDD workspace and pipe stringing area w ould be
required as part o f the Connected Action; however, these activities w ould consist o f clearing and grading
only and w ould occur, at the closest distance, 1,040 fe e t from th e bank o f Lake Oahe. As such, no
trenching or excavation activities w ould occur w ith in the Project Area or Connected Action o f the federal
lands, the re b y reducing th e potential fo r erosion and off-site sedim entation which could otherw ise occur
as a result o f side-slope trench excavation m ethods and accum ulation of w a te r w ith in th e trench.




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To fu rth e r m itigate impacts during construction, Dakota Access w ould utilize erosion and sedim ent control
devices in accordance w ith th e ECP and SWPPP, and in compliance w ith th e National Pollutant Discharge
Elim ination System (NPDES) program, during construction in these areas w ith slopes greater than 25%.
Dakota Access w ould install sedim ent barriers (e.g., silt fence) at the base of slopes and along the sides o f
slopes, as necessary, to prevent potential siltation downslope o f th e construction area from entering
waterbodies.

Tem porary ECDs w ould be m aintained until th e areas disturbed by construction have been successfully
revegetated or are replaced w ith perm anent ECDs. Following the com pletion o f construction activities,
disturbed areas w ould be restored and graded to pre-construction contours as closely as practical. In
order to m inim ize th e potential fo r fu tu re slip or landslide events during operation o f the Proposed Action,
Dakota Access may install perm anent ECDs in addition to perform ing regular restoration and revegetation
activities. Permanent ECDs w ould be installed in accordance w ith revegetation measures outlined in the
ECP, SWPPP, and specific landow ner requests. The effectiveness o f revegetation and perm anent ECDs
w ould be m onitored by Dakota Access' operating personnel during the long-term operation and
maintenance o f the Proposed Action facilities. Therefore, construction and operation of th e Proposed
Action facilities on th e Project Area and Connected Action of th e federal lands w ould not be expected to
increase th e potential fo r significant landslide or slip events or result in adverse impacts on aquatic life
resources w ith in Lake Oahe.

Dakota Access has com pleted a geotechnical analysis of the flowage easement and federal land crossing
sites to facilitate engineering and design, including selection o f appropriate materials and construction
m ethods to lim it any environm ental impacts a ttributable to landslides. Results o f the geotechnical
analysis are included in Appendix D.

The strength and d u ctility o f a properly designed pipeline w ould allow it to span a considerable distance
w ith o u t com prom ising its integrity in th e event o f a landslide or other ground m ovem ent, such as
subsidence. Arc-welded steel pipelines are the most resistant type o f piping, vulnerable only to very large
and abrupt ground displacem ent (e.g., earthquakes, severe landslides) and are generally highly resistant
to m oderate am ounts o f perm anent deform ation. This strength and du ctility effectively mitigates the
effects o f fa u lt m ovem ent, landslides, and subsidence. Therefore, by im plem enting th e m itigation
measures presented here, impacts on th e pipeline from geologic hazards are expected to be minim al.

No impacts associated w ith seismic activity w ith in the Project Area are anticipated. Due to th e lim ited
potential fo r large, seismically induced ground movements, there is m inim al risk o f earthquake-related
impacts on th e pipeline. Therefore, no m itigation beyond designing th e proposed pipeline to currently
accepted industry specifications is necessary.

3.1.4    Paleontology

                  3.1.4.1   Affected Environment

The surficial geology at th e Missouri River crossing is dom inated by Quaternary glacial d rift materials
w ith in th e floodplain overlying th e Bullion Creek and Sentinel Butte Formations. These bedrock
form ations have been known to contain w ide variety of fossils, including fossilized wood and tre e stumps.




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mollusks, leaves, and insects (Hoganson and Campbell, 2002). Additionally, vertebrate fossils have been
found, including turtles, crocodile-like champosaurs, and bear-like titanoides.

The surficial geology at th e Lake Oahe crossing is also characterized by Quaternary glacial d rift materials;
however, it is underlain by th e Fox Hills and Pierre Formations. These form ations could contain diverse
fossils, including m arine reptiles (e.g., mosasaurs, plesiosaurs, sea turtles), fish (e.g., sharks and rays),
birds, and invertebrates (Hoganson, 2006).

W hile there is potential fo r th e bedrock form ations underlying the Missouri River and Lake Oahe crossings
to contain fossils, all activities, including HDDs, w ould only penetrate th e surficial geology th a t is
dom inated by unconsolidated sediments, as evidenced in the geotechnical report provided in Appendix D.
The potential fo r encountering fossils in these unconsolidated sediments at th e Missouri River and Lake
Oahe crossings is low, as fossils are prim arily found in sedim entary rock.

                 3.1.4.2   Impacts and Mitigation

Activities associated w ith pipeline construction th a t have the potential to im pact paleontological
resources are clearing, grading, and trenching, as well as site preparation fo r HDD operations. The
paleontological resources o f concern pertaining to construction o f the Proposed Action are vertebrate
fossils th a t may be present in the Paleocene bedrock sediments, and to a lesser degree, in Quaternary
alluvium since this type o f deposit only rarely contains vertebrate fossils.

In th e event paleontological resources are discovered during construction, Dakota Access w ould
im plem ent measures outlined in its Unanticipated Discoveries Plan Cultural Resources, Human Remains,
Paleontological Resources and Contam inated Media (UDP) (Appendix F) to avoid fu rth e r impacts on these
resources.

Invertebrate fossils are considered to be insignificant, and m itigation measures w ould not be required,
should they be encountered. However, if vertebrate fossils are found during pipeline construction, Dakota
Access w ould im m ediately cease construction activities and n otify appropriate agency personnel,
including the North Dakota state paleontologist as well as th e Corps archaeologist. The appropriate
authorities w ould determ ine th e significance o f the find and prescribe the m itigation procedures to be
com pleted prio r to resuming pipeline construction.

O peration o f th e pipeline w ould not disturb paleontological resources.

3.1.5    Soils

                 3.1.5.1   Affected Environment

Dakota Access identified and assessed soil characteristics in th e Project Area and Connected Actions using
th e Soil Survey Geographic Database, which is a digital version of th e original county soil surveys
developed by th e Natural Resources Conservation Service (NRCS) fo r use w ith GIS (NRCS, 2015). The
areas are located w ith in the Rolling Soft Shale Plain of North Dakota, South Dakota, and Montana. The
dom inant soil orders in the Rolling Soft Shale Plain are Mollisols and Entisols, which are shallow to very
deep, generally som ew hat excessively drained and loamy or clayey (NRCS, 2006).



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The flowage easements and Connected Action are w ith in Zone A o f the Missouri River floodplain. Soils
w ith in the Project Area are form ed o u t o f alluvium deposited by th e river over tim e. Slopes througho ut
this Project Area are very fla t, ranging from 0-2%. Approxim ately 94% o f th e flow age easement Project
Area and Connected Action w ould be located w ith in either Scorio silty clay or Lohler silty clay (Table 3-1,
Figure 4). The Scorio and Lohler silty clay soils are m oderately well drained and form ed in clayey alluvium.
In th e case o f the Scorio silty clay, the clay alluvium is deposited over a loam alluvium. The Scorio and
Lohler soils are identified as Hydrologic Soil Group C, which have slow infiltra tio n rates when thoroughly
w e t and a slow rate o f w a te r transmission. The average depth to th e w ater table across the m ajority of
this Project Area is 4.25 feet. The soils w ith in th e flowage easements experience occasional flooding but
are not generally ponded. Soil boring data is provided in (Appendix D).


                                             Table 3-1
           Soil Types Mapped on the Flowage Easements Project Area and Connected Action
                                                                                 Hydrologic
                                                    Project                                                   Wind
Soil Map                                                        Farmland          Group ^       Hydric
                 Soil Map Unit Name                  Area                                                   Erodibility
  Unit                                                           Rating         (infiltration   Rating^
                                                   (acres) ^                                                 G roup"
                                                                                      )
           Mckeen loam, 0-1% slopes,
 E4039A                                              0.1           None              B/D           96%           4L
           frequently flooded
           Trembles fine sandy loam, slightly                  Farmland of
 E4051A    wet, 0-1% slopes, occasionally            0.5        Statewide             A            0%            3
           flooded                                             Importance
           Lohler silty clay, saline, 0-1%
 E4103A                                              0.9           None               C            0%            4
           slopes, occasionally flooded
                                                               Farmland of
           Lohler silty clay, slightly wet, 0-2%
 E4106A                                              27.8       Statewide             C            5%            4
           slopes, occasionally flooded
                                                               Importance
                                                               Farmland of
           Scorio silty clay, slightly wet, 0-2%
 E4159A                                              29.9       Statewide             C            0%            4
           slopes, occasionally flooded
                                                               Importance
           Arikara-Shambo-Cabba loams,
 E2725F                                              2.0           None               B            0%            6
           9-70% slopes
   EW      Water                                     0.3           None              N/A           N/A          N/A
                                         Total      61.5                                  -
^ The Project Area includes the construction workspace (58.0 acres) and 30-foot maintenance easement (1.0
  acre) located on the flowage easements as well as the Connected Action workspace (2.0 acres).
^ Hydrologic Soil Groups are used to estimate runoff from precipitation: A = high infiltration rate, low runoff
  potential; B = moderate infiltration rate; C = slow infiltration rate; D = very slow infiltration rate, high runoff
  potential.
^ Hydric Rating: Hydric (100%), Hydric (66-99%), Hydric (33-65%), Hydric (1-32%), Not Hydric (0%).
  Wind erodibility group in cultivated areas: Group 1 are the most susceptible to wind erosion, and those
  assigned to group 8 are the least susceptible. 4L indicates calcareous soils.




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The predom inant soil type at th e federal lands at Lake Oahe is the Flasher-Vebar-Parshall complex. This
complex w ould comprise 7.5 acres (34%) o f th e Project Area and Connected Action (Table 3-2, Figure 5).
The Flasher-Vebar-Parshall complex contains 36% Flasher or sim ilar soils, 22% Vebar or sim ilar soils, 15%
Parshall or sim ilar soils, and 27% m inor components. The Flasher-Vebar-Parshall complex is form ed from
sandy residuum weathered from sandstone and is steep w ith in th e Project Area and Connected Action,
w ith slopes ranging fro m 9 to 35% (NRCS, 2015). The Flasher-Vebar-Parshall complex is Flydrologic Soil
Group D, which has very slow in filtra tio n (high ru n o ff potential) when thoroughly w et. The depth to the
w a te r table is greater than 6.5 feet. A m ajority o f th e soils w ith in th e Project Area and Connected Action
are neither freq ue n tly flooded nor fre q uently ponded.


                                             Table 3-2
              Soil Types Mapped on the Federal Lands Project Area and Connected Action
                                                                             Hydrologic                 Wind
Soil Map                                       Project Area   Farmland                       Hydric
                Soil Map Unit Name                                             Group ^                Erodibility
  Unit                                           (acres) ^     Rating                        Rating ^
                                                                            (infiltration)             Group "
                                                              Farmland of
            Grail-Belfield clay loams, 2-6%
  E0623B                                           2.9         Statewide          c            0%           6
            slopes
                                                              Importance
            Dogtooth-Janesburg-Cabba
  E0701F                                           0.8           None             D            3%           6
            complex, 6-35% slopes
            Flasher-Vebar-Parshall
  E1423F                                           5.8           None             D            0%           2
            complex, 9-35% slopes
                                                              Farmland of
            Parshall fine sandy loam, 0-2%
  E1823A                                           0.7         Statewide          A            0%           3
            slopes
                                                              Importance
            Amor-Cabba loams, 6-9%
  E2601C                                           0.3           None             C            0%           6
            slopes
                                                              Farmland of
            Amor-Shambo loams, 3-6%
  E2803B                                           2.0         Statewide          C            0%           6
            slopes
                                                              Importance
                                                              Farmland of
            Linton-Mandan silt loams, 2-6%
  E3802B                                           2.6         Statewide          B            0%           5
            slopes
                                                              Importance
            Grassna silt loam, loess, 1-2%                      Prime
  E3813A                                           1.7                            B            2%           6
            slopes                                             Farmland
            Grassna silt loam, loess, 2-6%                      Prime
  E3813B                                           0.5                            B            2%           6
            slopes                                             Farmland
            Korchea-Fluvaquents complex,
  E4139A    channeled, 0-2% slopes,                0.4           None             B           43%          4L
            frequently flooded
   EW
            Water                                  6.4           None            N/A           N/A        N/A
 /E49999
                                       Total       24.1                                “




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                                                       Table 3-2
               soil lypes iviappea on tne i-eoerai Lanas project Area ana connectei3 Action
                                                                                  Hydrologic                 Wind
Soil Map                                        Project Area       Farmland                       Hydric
                 Soil Map Unit Name                                                 Group ^                Erodibility
  Unit                                            (acres) ^         Rating                        Rating ^
                                                                                 (infiltration)             Group
   The Project Area includes Connected Action areas.
   Hydrologic Soil Groups are used to estimate runoff from precipitation: A = high infiltration rate, low runoff
   potential; B = moderate infiltration rate; C = slow infiltration rate; D = very slow infiltration rate, high runoff
   potential.
   Hydric Rating: Hydric (100%), Hydric (66-99%), Hydric (33-65%), Hydric (1-32%), Not Hydric (0%).
   Wind erodibility group in cultivated areas: Group 1 are the most susceptible to wind erosion, and those
   assigned to group 8 are the least susceptible. 4L indicates calcareous soils.



Prime Farmland

Prime farm land has the best com bination o f physical and chemical characteristics fo r producing food,
feed, forage, fiber, and oilseed crops and is available fo r these uses. Other soils th a t do not m eet the
criteria fo r prim e farm land may be considered farm land of statewide im portance. These soils may
produce high yields o f crops when managed appropriately (NRCS, 2013). Climate is the prim ary lim iting
fa c to r preventing farm land o f statew ide im portance in North Dakota from being considered prime
farm land; therefore, specific managem ent techniques or other soil amendments cannot elevate farm land
o f statew ide im portance to a prim e farm land designation (Sieler, 2015).

W ith in the flow age easements and Connected Action, 95% o f soils are considered farm land o f statewide
im portance, and none o f the soils are considered prim e farm land. Approxim ately 9.5% o f th e soils on the
federal lands, consisting only o f Grassna silt loams, are considered prim e farm land. Additionally, Linton-
Mandan silt loam and Armo-Sambo loam, which comprise 25% o f th e soils on federal lands, are designated
as farm land o f statew ide im portance. The rem aining soils do not have a farm land designation.

                   3.1.5.2    Impacts and Mitigation

Pipeline construction activities such as clearing, grading, trench excavation, and backfilling, as well as the
m ovem ent o f construction equipm ent along the ROW may result in tem porary impacts on soil resources.
Clearing removes protective cover and exposes soil to the effects o f w ind and precipitation, which may
increase th e potential fo r soil erosion and m ovem ent o f sediments into sensitive environm ental areas.
Grading and equipm ent tra ffic may compact soil, reducing porosity and percolation rates, which could
result in increased ru n o ff potential and decreased soil productivity. Trench excavation and backfilling
could lead to a mixing o f topsoil and subsoil and may introduce rocks to the soil surface from deeper soil
horizons.

Dakota Access w ould minimize or avoid these impacts on soils by im plem enting th e m itigation measures
described in the DAPL Project's SPCC, SWPPP, and ECP as well as requirem ents o f applicable state and
federal perm its. These docum ents w ould be included as contract documents and enforced as such
th ro u g h o u t the DAPL Project. As a result, impacts on soils as a result of th e Proposed Action are expected
to be insignificant.



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Tem porary erosion and sedim entation control measures may include installation o f silt fence, straw bales,
slope breakers, trench breakers, erosion control fabric, and mulch.

To minimize potential impacts on soil productivity, topsoil w ould be separated during trench excavation
in agricultural land, and if applicable, o ther areas where soil productivity is an im portant consideration.
Unless otherw ise requested by th e landowner, topsoil in cropland w ould be removed to a maximum depth
o f 12 inches from the trench and spoil storage area and stored separately from the trench spoil. A fte r the
trench is backfilled, topsoil w ould be returned to its approxim ate original location in th e soil horizon.

Compaction o f agricultural soils w ould be minimized by restricting construction activities during periods
o f prolonged rainfall. W here unacceptable levels o f com paction occur in agricultural lands, a chisel plow
or o th e r deep tillage equipm ent w ould be utilized to loosen the soil.

Dakota Access w ould retain environm ental inspectors (Els) to m o n ito r th e contractor's compliance w ith
applicable requirem ents to p rotect soil resources during construction o f th e DAPL Project. The Garrison
Project w ould be notified if th e Els docum ent non-com pliant activities by the contractor(s) on the Project
Area or Connected Action Areas.

Soils w ould be te m p orarily disturbed w ith in HDD workspaces during construction at the Missouri River
and Lake Oahe crossings. Primary impacts a ttributable through open trench installation w ith in the Corps
flow age easements and Connected Action w ould be lim ited to construction activities and consist of
tem porary alteration of the construction ROW due to grading and trenching operations. Tables 3-3 and
3-4 present the soil types th a t w ould be impacted by construction and maintenance activities. By
im plem enting BMPs and recognized construction methods identified in the ECP (Appendix G), impacts to
soils should be lim ited.

Additionally, tem porary workspace used fo r staging HDD operations w ould impact soils, particularly in
association w ith th e HDD entry excavation pit (approxim ately 5 fe e t to 15 fe e t across). The pits w ould
contain th e drilling flu id th a t w ould be circulated through th e borehole during drilling operations and the
cuttings th a t are removed fro m the borehole. All drilling mud and cuttings w ould be disposed at an
approved location on non-federal lands, which may include land farm ing on private property or disposal
at a licensed disposal facility. Drilling fluid pits at th e HDD entry and exit workspaces w ould be backfilled
and th e area returned as closely as practical to pre-construction conditions. Dakota Access would
im plem ent the erosion control measures described in th e SWPPP (Appendix A). The HDD workspace sites
w ould be cleared, graded and m atted as needed to avoid ru ttin g and m inimize compaction.

There w ould be no soil disturbance outside o f the construction workspace. Permanent impacts on soils
w ould be avoided through the im plem entation of BMPs during construction, restoration, and post-
construction revegetation management.        A m ore com plete description of BMPs and recognized
construction m ethods can be found in the ECP (Appendix G).

There w ould be no conversion of prim e farm land soils to non-agricultural use.




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                                              Table 3-3
              Soil Impacts on the Flowage Easements Project Area and Connected Action
                                                                         Project       Connected
  Soil                                                                    Area           Action         Permanent
  Map                        Map Unit Name                             Temporary       Temporary         Impacts
  Unit                                                                   Impacts        Impacts           (acres)
                                                                          (acres)        (acres)
 E4039A    McKeen loam, 0-1% slopes, frequently flooded                    0.1              0               0
           Trembles fine sandy loam, slightly wet, 0-1% slopes,
 E4051A                                                                    0.5              0               0
           occasionally flooded
           Lohler silty clay, saline, 0-1% slopes, occasionally
 E4103A                                                                    0.9              0               0
           flooded
           Lohler silty clay, slightly wet, 0-2% slopes,
 E4106A                                                                    27.8             0               0
           occasionally flooded
           Scorio silty clay, slightly wet, 0-2% slopes,
 E4159A                                                                    29.9             0               0
           occasionally flooded
 E2725F    Arikara-Shambo-Cabba loams, 9-70% slopes                         0              2.0              0
                                                             Total         59.3            2.0              0



                                                 Table 3-4
                   Soil Impacts on the Federal Lands Project Area and Connected Action
                                                                      Project Area     Connected Action     Total
Soil Map
                             M ap Unit Name                           Temporary          Temporary         Impact
  Unit
                                                                     Impacts (acres)    Impacts (acres)    Acres^
  E0623B   Grail-Belfield clay loams, 2-6% slopes                          0                     2.9            2.9
  E0701F   Dogtooth-Janesburg-Cabba complex, 6-35% slopes                  0                     0.8            0.8
  E1423F   Flasher-Vebar-Parshall complex, 9-35% slopes                    0.4                   5.4            5.8
  E1823A   Parshall fine sandy loam, 0-2% slopes                           0                     0.7            0.7
  E2601C   Amor-Cabba loams, 6-9% slopes                                   0                     0.3            0.3
  E2803B   Amor-Shambo loams, 3-6% slopes                                  0                     2.0            2.0
  E3802B   Linton-Mandan silt loams, 2-6% slopes                           0                     2.6            2.6
  E3813A   Grassna silt loam, loess, 1-2% slopes                           0.7                   1.0            1.7
  E3813B   Grassna silt loam, loess, 2-6% slopes                           0                     0.5            0.5
           Korchea-Fluvaquents complex, channeled,0-2%
  E4139A                                                                   0                     0.4            0.4
           slopes, frequently flooded
   EW      Water                                                           0.1                   0              0.1
                                                            Total          1.2                  16.6            17.8
  All soil impacts on Federal Lands and Connected Action at Lake Oahe are considered to be temporary.




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3.2      W ater Resources

Under the "no action" alternative, Dakota Access w ould not construct the DAPL Project, and no impacts
on w ate r resources w ould occur. However, if th e objectives of th e DAPL Project are to be m et under the
"no action" alternative, other projects and activities w ould be required and these projects w ould result in
th e ir own impacts on w ater resources, which w ould likely be sim ilar to or greater than the DAPL Project.
Less reliable shipping m ethods such as truck or rail could result in an adverse effect on w a te r resources
due to increases in transportation accidents and fu tu re construction of infrastructure necessary to
support these m ethods (i.e. additional loading/offloading facilities, rail spurs, etc.).

3.2.1    Surface Waters

                 3.2.1.1    Affected Environment

The Missouri River is a large perennial river and form s the border between W illiam s and McKenzie
counties. The flow age easements are located on th e north side of Lake Sakakawea in the Lake Sakakawea
sub-basin (HUC 11010101) w ith in the Upper Missouri River Basin. All drainage patterns from th e flowage
easements flo w east and south tow ards and into the Missouri River/Lake Sakakawea ending at the
Garrison Dam. Once released fro m th e dam, w a te r flow s south into th e Missouri River (NRCS, 2008).

Lake Oahe is a large reservoir form ed behind th e Oahe Dam on the Missouri River. Lake Oahe form s the
border between M orton and Emmons counties. The northern boundary o f the Standing Rock Sioux
Reservation is located in Sioux County, North Dakota approxim ately 0.55 m ile south o f th e DAPL Project
Area. The Project Area is located in th e Upper Lake Oahe W atershed (HUC 10130102) w ith in th e Missouri
River Basin and adjoins both sides o f Lake Oahe at th e crossing.

The Oahe Dam/Lake Oahe project is part o f the chain o f Missouri River main stem lakes authorized in the
Flood Control Act o f 1944. The Oahe Dam is located 6 miles north o f Pierre, South Dakota and was placed
into operation in 1962. The dam and associated reservoir (Lake Oahe) are congressionally authorized to
provide flood control, hydroelectric power, navigation, irrigation, fish and w ild life enhancement,
municipal w a te r supply, w a te r quality, and recreational opportunities to th e residents o f both South
Dakota and N orth Dakota. At maximum normal operating pool level (1,617 fe e t MSL), Lake Oahe extends
roughly 231 miles from th e Oahe Dam in South Dakota to near Bismarck, North Dakota. A t this level, the
lake covers approxim ately 360,000 acres. A t elevation 1,607.5 feet MSL base flood control elevation, the
lake has over 2,250 miles o f shoreline.

Lake Oahe can be divided into three segments based on the character of the lake. The Project Area is
located w ith in the northern segment. The northern segment extends north from th e North Dakota/South
Dakota state line to th e upstream Oahe Dam/Lake Oahe project boundary near Bismarck, North Dakota.
This segment is m ore river-like in appearance and is characterized by both submerged and em ergent
snags, sandbars, many shallow areas, and a definite current (USACE, 2010a).

Dakota Access conducted field and desktop delineations of th e Project Area/Connected Action on the
flow age easements and the Project Area/Connected Action o f the federal lands. Field surveys to o k place
upon permission to access the properties in order to verify desktop delineations and ensure th a t the most
accurate, up-to-date data is used fo r Section 404 o f the CWA a n d/or Section 10 o f the RHA perm it filings.



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There are fo u r w aterbodies (one perennial stream and three ephemeral ditches) w ith in the Project Area
on the flow age easements and one in te rm itte n t w aterbody w ith in the Connected Action (Figure 6). The
Project Area and Connected Action o f the federal lands encompass tw o waterbodies (one lake [Lake Oahe]
and one ephemeral stream) (Figure 7). W aterbody ID, type, surface w ater classification, and approxim ate
m ilepost (MP) are summarized in Table 3-5 and Table 3-6.

                  3.2.1.2    Impacts and Mitigation

Direct and indirect impacts on Lake Oahe and th e Missouri River w ould be minimized by using HDD
construction m ethods to install the proposed pipeline underneath the Missouri River and Lake Oahe. At
th e Missouri River crossing, a 24-inch pipeline w ould be installed at least 36 fe e t below th e bottom o f the
M issouri River. At Lake Oahe, a 30-inch pipeline w ould be installed approxim ately 140 to 210 fe e t below
th e ground surface o f federal lands and approxim ately 92 fe e t below the bottom of Lake Oahe (Appendix
H). A dditional docum entation elaborating on the rationale used to determ ine suitable HDD depth is
provided in Appendix D. Appendix M includes th e Sovereign Lands Permits issued by th e North Dakota
Office o f th e State Engineer.

The prim ary im pact th a t could occur as a result o f an HDD is an inadvertent release o f drilling fluid directly
or indirectly into th e w aterbody. Drilling fluid (also referred to as drilling mud) is prim arily comprised of
w ater. However, bentonite clay is added to the w ater to enhance lubricating, spoil transport and caking
properties o f the drilling fluid. Bentonite is a naturally occurring, non-toxic, inert substance th a t meets
National Science Foundation (NSF)/American National Standards Institute (ANSI) Standard 60 Drinking
W ater Additives Standards and is fre qu e ntly used fo r drilling potable w ater wells. The potential exists fo r
drilling flu id to leak through previously unidentified fractures in the material underlying the river bed.
Potential release sources of th e drilling fluid include the drilling fluid e n try/e xit pit(s) and the directional
borehole itself, which is m aintained under pressure to keep it open. The probability o f an inadvertent
release is greatest when the drill b it is w orking near the surface (i.e., near th e entry and exit points). To
alleviate this concern, the HDD Contractor plans to install steel surface casing at both the entry and exit
locations o f th e Lake Oahe crossing. Because the HDD entry and exit points w ould be set back from the
banks o f the Missouri River (approxim ately 1,400 fe e t north and 300 feet south) and Lake Oahe
(approxim ately 900 fe e t east and 1,100 feet west) the potential fo r an inadvertent release to occur in the
w a te r w ould be minimized. Additionally, geotechnical investigations conducted by Dakota Access
indicated th a t the drill path is not located in materials where there is a high probability o f an inadvertent
release o f drilling fluids th a t w ould reach ground surface or enter Lake Oahe. Therefore, th e potential fo r
inadvertently released drilling fluids to enter any w aterbody from below or from the shoreline is low. No
downstream impacts to Sovereign Nations from inadvertent release of drilling fluid are anticipated.

The drilling mud and cuttings w ould be disposed of in accordance w ith applicable laws and regulations,
likely in an existing landfill or by land farm ing. Final disposition w ould be negotiated w ith th e facility or
private landow ner prior to disposal. Dakota Access w ould conduct all HDD w ork according to the HDD
Construction Plan (Appendix B), and w ould im plem ent the HDD Contingency Plan (Appendix B) in the
event o f an inadvertent release. The HDD Construction Plan establishes a 24-hour a day m onitoring
program fo r m onitoring and detection o f inadvertent releases, including m onitoring fo r loss of drilling
fluids. The HDD Contingency Plan describes m onitoring and m itigation procedures fo r any inadvertent
release o f drilling mud into the w aterbody or areas adjacent to th e w aterbody and includes procedures
to contain and clean up inadvertent releases.



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Dakota Access plans to hydrostatically test the HDD pipeline segments prior to installation at the Lake
Oahe and Missouri River crossings. Hydrostatic testing involves fillin g th e new pipeline segments w ith
w a te r acquired in accordance w ith applicable permits, raising th e internal pressure level, and holding th a t
pressure fo r a specific period o f tim e per U.S. DOT requirem ents.

Dakota Access is requesting permission to w ith d ra w w ater from the Missouri River th a t w ould be required
fo r installation of the HDD and hydrostatic testing o f the pipeline at th e Missouri River crossing.
Approxim ately 470,000 gallons o f w a te r w ould be required fo r activities associated w ith the installation
o f HDD and th e hydrostatic testing o f HDD pipeline segment. Dakota Access intends to subm it an
application to th e North Dakota State W ater Commission, W ater Appropriations Departm ent fo r a
Tem porary W ater Permit. The exact num ber and size o f th e w ithdraw al pumps w ould be determ ined as
a result o f th e lim its imposed by the Tem porary W ater Permit. The w ithdraw al activity w ould com ply w ith
all applicable perm it conditions and regulations, including the specifications on perm itted intake
structures outlined in the Corps' Regional Conditions fo r North Dakota applicable to NWP 12 (U tility Line
Activities) (Corps, 2012). This regional condition requires th a t th e applicant 1) utilize an intake screen
w ith a maximum mesh opening of %-\nch; 2) w ire, Johnson-like screens must have a m aximum distance
between wires o f 1/8-inch; 3) w a ter velocity at th e intake screen shall not exceed Vi-foot per second; 4)
intake structure shall be floating; and 5) at the beginning o f pumping, th e intake shall be placed over w ater
w ith a m inim um depth o f 20 feet.

The Acquisition point w ould coincide w ith th e proposed pipeline crossing o f the Missouri River. An 8"x 8"
Power Associates 2500 Single Stage Pump w ould be set on a barge or flo a t anchored just offshore at the
proposed perm anent easement. The barge/float w ould be approxim ately 12 fe e t wide by 14 feet long
and fitte d w ith a secondary containm ent structure (an Eagle 4Drum Flexible Containm ent SpillNest-T8103
or similar). The pump, capable o f w ithdraw ing 2,400 gallons per m inute w ithdraw al and 120 fe e t of head
pressure, w ould be placed w ith in th e secondary containm ent on the barge/float.

The pum p's flexible intake hose w ould be 8 inches in diam eter and connect the screened intake to the
pump. The screened intake (approxim ately th e size of a 55 gallon drum ) w ould be suspended by floats
(approxim ately the size o f a tire ) w ith in th e w ater colum n and w ould be screened to prevent im pingem ent
entrainm en t o f foreign objects and aquatic life. A hard 8-inch diam eter take-w ay pipe extending from the
pum p w ould push the w ater to the to p of bank then to th e HDD equipm ent or pipeline section. This
tem porary w aterline w ould be laid by hand on to p o f the ground surface w ith in the perm anent ROW, and
thus w ould not require any ground disturbance or trench excavation. The w aterline, barge, pump, and
associated equipm ent w ould be removed follow ing com pletion o f construction activities. A depiction o f
th e layout o f the barge, pump, and w aterline is provided in Figure 6-B.

W ater needed fo r HDD construction and hydrostatic testing at th e Lake Oahe Crossing in Emmons and
M o rton counties. North Dakota w ould not be obtained from Lake Oahe. Required w ater w ould instead
be obtained fro m an alternate surface w ater, groundw ater, or commercial source and transported to the
Project Area via w a ter trucks. W ater trucks w ould not be required to cross Corps Fee Lands. Prior to
construction, Dakota Access w ould identify a w ater source fo r construction activities at th e Lake Oahe
crossing in accordance w ith all applicable perm its and regulations.

W ater discharges associated w ith hydrostatic testing on Corps flowage easements w ould be conducted in
accordance w ith applicable perm its. Hydrostatic test w ater discharges w ould not occur on Corps fee



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property. Dakota Access w ould conduct trench dewatering and hydrostatic test discharges in a manner
consistent w ith the N orth Dakota Pollutant Discharge Elimination System (NDPDES) General Permit NDG-
070000. Discharged hydrostatic test w a ter w ould not contain additives unless w ritte n approval is received
fro m Dakota Access and applicable perm its authorize such additives. Els w ould m o n ito r perm it
compliance. W here appropriate, w ater w ould be discharged into an energy dissipation an d /o r filtering
device, as described in Dakota Access' SWPPP (Appendix A) to remove sedim ent and to reduce the erosive
energy of th e discharge.

Of the five w aterbodies located w ith in th e flowage easements Project Area and Connected Action, one
ephemeral ditch (d-k8-wi-011) is located w ith in the portion of th e Project Area th a t w ould be crossed via
th e Missouri River HDD; therefore, no trenching w ould occur w ith in this feature. However, a tem porary
w aterline w ould be installed across this feature to transport surface w a te r from the Missouri River to the
HDD equipm ent. The tem porary w aterline w ould be laid on to p of the ground surface, and no grading or
ground disturbance in the vicinity o f th e w aterbody crossed by the w aterline w ould be required. The hard
pipe segments w ould be hand-carried down the slope and assembled by hand. No tracked or wheeled
equipm ent w ould be necessary fo r construction or removal of th e tem porary aboveground w aterline.
Four waterbodies w ould be te m p orarily impacted by pipeline construction. However, impacts on
w aterbodies w ould be minim ized by conducting pipeline construction activities in accordance w ith
applicable regulatory requirem ents and im plem enting trenchless w aterbody construction procedures, as
described in sections 2.3.2.6 and 2 3.2.1 and th e ECP.

No w aterbody w ould be perm anently drained or filled as part o f th e DAPL Project, and effects on
w aterbodies are expected to be short-term and m inor. Dakota Access w ould restore the area as close to
its previous state and naturally functioning condition as practicable. Additionally, Dakota Access w ould
take measures described in Dakota Access' SPCC, SWPPP (Appendix A), and ECP (Appendix G) to minimize
th e potential fo r surface w ate r contam ination from an inadvertent spill o f fuel or hazardous liquids during
refueling or maintenance o f construction equipm ent or during operation of aboveground facilities. Fuel
and all o the r hazardous materials w ould be stored in accordance w ith th e requirem ents o f Dakota Access'
SPCC, SWPPP, and ECP. These docum ents also describe response, containm ent, and cleanup measures.

Drinking w a te r intakes located downstream from th e Missouri River and Lake Oahe crossings could be at
risk if there was a release th a t reached these bodies o f w ater in th e vicinity o f the intake structures. The
Standing Rock Sioux Reservation is located south of th e Lake Oahe Project Area and th e m ajority of
reservation residents depend on wells fo r w ater supply (Standing Rock Sioux Tribe, 2016). However, the
Standing Rock Sioux also have intake structures w ith in the river downstream o f th e Lake Oahe Project
Area.

In order to m aintain th e integ rity o f the pipeline, prevent Project losses, and protect the general public
and th e environm ent, the operator w ill inspect, exercise, and deploy Company-owned protective and
response equipm ent in accordance w ith the National Preparedness fo r Response Exercise Program (PREP)
guidelines. However, in the unlikely event o f a pipeline leak, response measures to protect th e users of
downstream intakes w ill be im plem ented to minim ize risks to w ater supplies. Dakota Access w ould be
responsible party fo r im plem enting the response actions in accordance w ith Geographical Response Plan
(GRP) and the Facility Response Plan (FRP). The potential fo r a spill to compromise a potable w ater supply
intake w ould be continually evaluated as part of the response action. A lternative sources w ould be
included as part o f the contingency planning. Shutting down certain intakes and utilizing others or



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d iffe re n t drinking w a te r sources or bottled w ater w ill be evaluated as part o f this process. The Federal
On-Scene Incident Commander (USEPA) w ould be responsible fo r assimilating and approving the response
actions under th e Unified Command. Dakota Access maintains financial responsibility fo r th e duration of
th e response actions. The Dakota Access has prepared a FRP th a t includes measures such as notifications
to surrounding com m unities, affected governments, and utilities in th e event o f an inadvertent pipeline
release.

The FRP complies w ith the applicable requirem ents o f the Oil Pollution Act o f 1990 (OPA 90), and has been
prepared in accordance w ith th e National Oil and Flazardous Substances Pollution Contingency Plan (NCP)
and the M id-M issouri Sub-Area Contingency Plan (SACP). Specifically, this Plan is intended to satisfy the
applicable requirem ents of:

    •    Pipeline and Flazardous M aterials Safety A dm inistration, U.S. Departm ent o f Transportation
         requirem ents fo r an OPA 90 plan (49 CFR 194)
    •    South Dakota Environmental Protection Oil Pipeline Plan Requirements (34A-18).
    •    American Petroleum Industry (API) RP 1174 - Recommended Practice fo r Pipeline Emergency
         Preparedness and Response.
    •    N orth Dakota Adm inistrative Code 69-09-03-02

The operator has contractually secured personnel and equipm ent necessary to respond, to th e maximum
extent practicable, to a w orst case discharge or a substantial th re a t o f such discharge. The operator
requires an annual certification from each Oil Spill Response Organization (OSRO) to assure compliance
w ith the National PREP guidelines. Each listed OSRO has its own response equipm ent, including
containm ent booms, absorbents, boats, and vacuum trucks.

Sub-freezing tem peratures during th e w in te r m onths could cause ice to form on the surface o f Lake Oahe
and th e Missouri River. This layer of ice could impede th e deploym ent o f traditional containm ent booms.
Flowever, th e ice itself often serves as a natural barrier to the spread o f oil (Dickens 2011). Pockets o f oil
naturally contained by th e ice can be drilled to and removed using vacuum trucks.             Dakota Access's
contracted professional emergency responders are prepared to respond under w in te r conditions so th a t
response procedures can be carried out in accordance PFIMSA operational regulations. Therefore, a
release during w in te r conditions is anticipated to have lesser impacts to w ater resources, particularly w ith
respect to area o f extent, as compared to a release during the w arm er months.

A copy o f the Draft FRP fo r the Dakota Access Pipeline North Response Zone is included in Appendix L.
Dakota Access anticipates subm itting this plan to PFIMSA fo r review and approval in the th ird quarter of
2016 and w ill provide a copy o f the updated d ra ft to th e Corps concurrent w ith the subm ittal to PFIMSA.
The FRP w ould be in place prio r to operating the DAPL Project in accordance w ith PFIMSA and federal
regulations.




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                                             T ib le 3-5
             Waterbodies within the Flowage Easements Project Area and Connected Action
                                                                                ND Surface
                                                                       Class of
         Waterbody       W aterbody                    Delineation                 W ater
 MR                                     Flow Type                     Aquatic                       Area of Impact
             ID             Type                         Source                 Classificatio
                                                                      Resource
                                                                                     n
                                                                                                    Construction and
 92.7     d-k8-wi-013        Ditch       Ephemeral         Field        §404            III
                                                                                                    Permanent ROW
                                                                                                    Construction and
 92.77    s-k8-wi-002      Stream        Perennial         Field        §404            III
                                                                                                    Permanent ROW
                                                                                                    Construction and
 93.23    d-k8-wi-007        Ditch       Ephemeral         Field        §404            III
                                                                                                    Permanent ROW
                                                                                                    Permanent ROW
                                                                                                    over HDD Profile
 94.64    d-k8-wi-011        Ditch       Ephemeral         Field        §404            III
                                                                                                      (Temporary
                                                                                                       Waterline)
          s-mlO-wi-
                                                                                                    Construction and
 94.9    001/s-k2-mk-      Stream        Perennial         Field         §10             1
                                                                                                    Permanent ROW
             001
                                                                                                    Construction and
 95.1     s-k2-mk-002      Stream       Intermittent       Field        §404            III
                                                                                                    Permanent ROW
Surface water classifications from North Dakota Administrative Code 33-16-02.1-09:
Class I Streams: quality of the waters in this class shall be suitable for the propagation or protection, or both, of
  resident fish species and other aquatic biota and for swimming, boating, and other water recreation. The
  quality of the waters shall be suitable for irrigation, stock watering, and wildlife without injurious effects. After
  treatment consisting of coagulation, settling, filtration, and chlorination, or equivalent treatment processes,
  the water quality shall meet the bacteriological, physical, and chemical requirements of the department for
  municipal or domestic use.
Class III Streams: The quality of the waters in this class shall be suitable for agricultural and industrial
  uses. Streams in this class generally have low average flows with prolonged periods of no flow. During periods
  of no flow, they are of limited value for recreation and fish and aquatic biota. The quality of these waters
  must be maintained to protect secondary contact recreation uses (e.g. wading), fish and aquatic biota, and
  wildlife uses.



The only surface w aterbody identified on the federal lands Project Area is Lake Oahe (s-kc4-em-001/s-
kc4-mo-002), which w ould be avoided via HDD. The pipe stringing corridor (Connected Action) at Lake
Oahe crosses tw o drainageways th a t are indicated on th e National Hydrography Dataset.                Field
delineations carried out by Dakota Access identified one ephemeral stream (s-kc-4-mo-004) associated
w ith these tw o drainageways th a t intersect the pipe stringing corridor o f th e Connected Action. Impacts
on the delineated w aterbody w ould be entirely w ith in the pipe stringing additional tem porary workspace
(ATWS) and are expected to be avoided by bridging the waterways fo r equipm ent and vehicle tra ffic
during pipe stringing, fabrication and pullback. No trenching w ould occur w ith in the pipe stringing ATWS.
W hile lim ited grading may be necessary w ith in the pipe stringing ATWS, no grading w ould be expected to
occur w ith in th e w aterbody itself. Vegetation may be m owed/brush-hogged, however, no root masses
are anticipated to be removed. Revegetation o f these areas w ould be in accordance w ith the North




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Dakota tree and shrub regulations and w ould not be impacted during operation o f th e Proposed Action.
No trees are expected to be cleared on Corps fee-ow ned lands.

                                                 Table 3-6
                  Waterbodies within the Federal Lands Project Area and Connected Action
                                                                        Class of ND Surface
                       W aterbody           Delineation
   MR    W aterbody ID            Flow Type                            Aquatic     W ater              Area of Impact
                          Type                Source
                                                                       Resource Classification
                                                                                                     Project Area -
        s-kc4-em-001 /      Lake (Lake
  166.3                                       N/A           Field          §10              1        Permanent ROW
         s-kc4-mo-002         Oahe)
                                                                                                     over HDD Profile
                                                                                                     Connected Action -
   166    s-kc4-mo-004        Stream       Ephemeral        Field         §404             III
                                                                                                     HDD Stringing Area
  Surface water classifications from North Dakota Administrative Code 33-16-02.1-09:
  Class I Streams: quality of the waters in this class shall be suitable for the propagation or protection, or both, of
    resident fish species and other aquatic biota and for swimming, boating, and other water recreation. The
    quality of the waters shall be suitable for irrigation, stock watering, and wildlife without injurious effects. After
    treatment consisting of coagulation, settling, filtration, and chlorination, or equivalent treatment processes,
    the water quality shall meet the bacteriological, physical, and chemical requirements of the department for
    municipal or domestic use.
  Class III Streams: The quality of the waters in this class shall be suitable for agricultural and industrial
    uses. Streams in this class generally have low average flows with prolonged periods of no flow. During periods
    of no flow, they are of limited value for recreation and fish and aquatic biota. The quality of these waters must
    be maintained to protect secondary contact recreation uses (e.g. wading), fish and aquatic biota, and wildlife
    uses.



Environmental Inspectors w ould m o n ito r compliance w ith applicable w aterbody protection requirem ents
during construction o f th e facilities. The ECP (Appendix G) and SWPPP (Appendix A) describe additional
m itigation measures and contain illustrations o f how sedim ent control devices are typically installed at
w aterbody crossings. Additionally, Dakota Access w ould m aintain a vegetative buffer until th e actual
crossing o f th e w aterbody takes place. Tem porary sedim ent control measures, such as silt fence installed
at each crossing, w ould m inim ize th e introduction o f sedim ent into waterbodies during construction and
m inim ize the m ovem ent o f spoil and sedim ent from surface ru n o ff during and a fte r construction.
Permanent erosion control measures, such as vegetation and installation o f slope breakers, w ould
effectively stabilize riparian zones. Dakota Access w ould stabilize stream banks disturbed during
construction using m ethods as directed by applicable state a n d/or federal perm its. Trenching and
dew atering activities used in construction o f th e proposed pipeline could tem porarily alter surface
drainage patterns. However, these impacts are expected to be localized and tem porary, since the
contours and vegetation w ould be returned as closely as practical to pre-construction conditions.
Dewatering activities w ould be conducted in accordance w ith applicable perm its and Dakota Access'
SWPPP and ECP.

All construction equipm ent utilized on or in waters o f the state w ould be subject to inspection by the
D epartm ent in accordance w ith the North Dakota Adm inistrative Code (Title 30, Article 3, Chapter 6-01).
Further, Dakota Access w ould im plem ent required measures including th e removal of all aquatic




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vegetation fro m vessels, m otors, trailers, or construction equipm ent. All w ater w ould be drained from
bilges or confined spaces. All Aquatic Nuisance Species w ill be removed from equipm ent in accordance
w ith the North Dakota Adm inistrative Code (Title 30, Article 3, Chapter 6). The contractor or his agents
or subcontractors must provide the North Dakota Game and Fish D epartm ent a reasonable opp o rtu n ity
to inspect any and all vehicles, vessels, pumps and equipm ent th a t w ill be used in th e project in or on the
w aters o f the state p rior to those items being launched or placed in th e w aters of the state.

W ater Intake Mitigation Measures

In th e unlikely event of a release during pipeline operations, drinking and irrigation w ater intakes located
downstream fro m the Missouri River and Lake Oahe crossings could be at risk if hydrocarbons w ere to
reach these bodies o f w a ter in the vicinity o f th e intake structures. In order to m inim ize th e risk o f a
pipeline leak and p rotect the users o f downstream intakes, Dakota Access w ill im plem ent the design and
operation measures summarized below as well as all other measures described th ro u g h o u t this EA and in
th e FRP.

    •    Pipe specifications th a t m eet or exceed applicable regulations, w ith a quality assurance program
         fo r pipe m anufacturers
    •    Use o f th e highest quality external pipe coatings (fusion bond epoxy or FBE) to reduce the risk of
         corrosion, and stress corrosion cracking.
    •    Active Cathodic Protection applied to th e pipeline and facilities
    •    Four fe e t o f soil cover w ill be provided over th e buried pipeline on either side of th e FIDD
          crossings. The proposed FIDD profiles under th e Missouri River and Lake Oahe are designed to
          provide a m inim um o f 36 fe e t and 92 fe e t o f cover below th e w ater bodies, respectively. .
    •    Pipeline system inspection and testing programs w ill be im plem ented prior to operation to
         ensure the pipeline is b u ilt in accordance w ith the standards and specifications.
    •    Non-destructive testing o f 100 percent o f girth welds
    •     Flydrostatic testing o f the pipeline to 125% percent o f th e Maximum Operating Pressure (MOP).
    •    A continuous SCADA pipeline m onitoring th a t rem otely measures changes in pressure and
          volum e on a continual basis at all valve and pump stations, is im m ediately analyzed to
          determ ine potential product releases anywhere on the pipeline system.
              o   Pipeline variables are the parameters pertaining to SCADA systems, instrum entation,
                  fluid properties, physical attributes o f pipelines, pressure, tem perature, and flo w ra te
              o Includes pressure transm itters to m onitor flow ing pressure in real-tim e and alarm in the
                  event o f adverse pressure changes due to potential leaks / releases
              o Includes custody transfer quality meters to m onitor pipeline Receipts / Deliveries in real-
                  tim e and alarm in the event o f flo w ra te discrepancies due to potential leaks / releases
    •     Leak Detection System - LeakWarn - A Com putational Pipeline M onitoring System (CPM) to
          m o n ito r th e pipeline fo r leaks via com putational algorithm s perform ed on a continual basis.
               o     Includes separate ultrasonic meters at each pump station to continuously verify and
                     com pare flow rates along the pipeline in real-tim e as part o f a leak detection system,
               o This m easurem ent data is im m ediately analyzed to determ ine potential product
                     releases anywhere on the pipeline system,
               o The m athem atical algorithm s are based on physics and abide by the conservation
                     principles o f mass, m om entum and energy.



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        Periodic pipeline integrity inspection programs using internal inspection tools to detect pipeline
        diam eter anomalies indicating excavation damage, and loss o f wall thickness from corrosion.
        Periodic above-ground Close Interval Surveys (CIS) conducted along th e pipeline.
        Aerial surveillance inspections w ill be conducted 26 tim es per year (not to exceed 3 weeks
        apart) to detect leaks and spills as early as possible, and to identify potential th ird -p a rty
        activities th a t could damage the pipeline.
        M ainline valves are installed along th e pipeline route to reduce or avoid spill effects to PHMSA-
        defined HCAs.
        Periodic landow ner outreach and the im plem entation o f a Public Awareness program
        Participation in "One-Call" and "Before You Dig" notification systems.



Im m ediately upon discovery o f a release o f oil th a t could im pact the Missouri River or Lake Oahe, Dakota
Access w ill initiate emergency response efforts, including containm ent and recovery.

Site-specific GRPs have been developed fo r the Missouri River and Lake Oahe crossings. These security
sensitive documents, subm itted to the USACE as Privileged and Confidential, identify site-specific
resources and response measures fo r an im m ediate, safe, and effective response to a release o f crude oil
fro m the Dakota Access Pipeline w ith the potential to im pact th e Missouri River near these tw o crossings.
Response measures include, but are not lim ited to, th e deploym ent of containm ent or diversionary booms
at predeterm ined locations and oil collection/recovery activities to prevent fu rth e r m igration of crude oil.

Emergency response notifications w ill be made to Federal, State, and Local agencies and tribal officials as
outlined in the FRP. Dakota Access and its contractors w ill w o rk w ith Federal, State, local and Tribal
officials to protect downstream w a ter intakes. To m inimize potential impacts to intakes, protection and
m itigation measures w ill be im plem ented in cooperation w ith intake operators.

Dakota Access w ill identify an all-w eather access and collection point downstream o f both th e Missouri
River crossing and Lake Oahe crossing. A t each location, Dakota Access w ill provide an equipm ent storage
facility th a t includes a perm anent storage area fo r w in te r and open w ater spill response equipm ent.
Dakota Access w ould coordinate w ith the USACE and any o ther applicable stakeholders to obtain all
necessary perm its and approvals prior to construction fo r any ground disturbing activities associated w ith
these facilities.

Dakota Access w ill conduct emergency response drills/exercises at both the Missouri River crossing near
W illiston and th e crossing at Lake Oahe. These exercises w ill include both open w ater and ice response
activities. Regulatory and stakeholder participation w ill be encouraged and solicited fo r th e exercises.
Section 3.2.2.2 Impacts and M itigation Remediation, Section 3.11 Reliability and Safety and the FRP
(Appendix L) contain more detail regarding spill prevention, detection and response measures. The
emergency response drills/exercises are fu rth e r discussed in Section 3.11.




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3.2.2    Groundwater

                 3.2.2.1   Affected Environment

G roundw ater occurs w ith in th e Project Area o f th e Corps flow age easements and federal lands in both
glacial d rift and bedrock aquifers. Although bedrock aquifers tend to have a greater distribution and be
m ore continuous than Quaternary aquifers, Quaternary aquifers typically provide higher yields to wells.

G roundw ater in th e bedrock aquifers flow s tow ards th e Missouri River and Lake Qahe, a regional
groundw ater discharge zone. The w ater table w ith in phreatic aquifers, which may include both
Q uaternary and bedrock form ations, is typically a subdued replica o f th e surface topography. Although
groundw ater flo w directions may vary w idely particularly w ith in localized flo w regimes, overall regional
flo w o f groundw ater in the phreatic aquifer w ould be to th e Missouri River and Lake Qahe.

The most econom ically im p orta nt aquifers in the vicinity o f th e Corps flowage easements are the
Cretaceous Dakota Group, the Tertiary Fort Union Group (which includes the Sentinel Butte and
Bullion/Tongue River Formations), and glacial d rift aquifers o f th e Quaternary Period (Armstrong, 1969).
The glacial d rift aquifers are relatively th in at the Project Area, except w here th e y occur in buried or
present-day bedrock valleys. In the absence o f Quaternary aquifers, members o f the Paleocene Fort
Union Group com m only serve as the shallowest aquifer. Individual aquifer members o f th e Fort Union
Group include, in descending order, th e Sentinel Butte, Tongue River, Cannonball, and Ludlow Formations
(Croft, 1985). Q ther bedrock aquifers o f economic im portance in th e flowage easement region are the
late Cretaceous Flell's Creek and Fox Flills A quifer system and th e Cretaceous Dakota Group.

Three dom estic wells and six observation wells (one o f which has been destroyed) are located on the
flow age easements, but occur outside o f th e Project Area. The closest well to the proposed pipeline
centerline is a dom estic well located approxim ately 430 fe e t from the centerline. The flowage easements
or Connected Action do not overlie any source w ater protection areas.

The m ost econom ically im p orta n t aquifers in M orton and Emmons counties, w here th e federal lands along
Lake Qahe are located, include aquifers w ith in the Cretaceous Fox Flills and Flell Creek Formations; the
Tertiary Fort Union Group, which includes the Cannonball and Ludlow Formations, Tongue River
Formation, and Sentinel Butte Formation (northw est part of th e county only); and alluvial and glacial d rift
aquifers o f th e Quaternary Period (Ackerman, 1980; Arm strong, 1978). The Pierre Formation is
considered th e base o f the active near-surface aquifers, because it is thick and relatively impervious.

No w a te r wells are located w ith in 150 fe e t o f the federal lands or Connected Actions at the Lake Qahe
crossing. Impacts w ith in 150 fee t of the Project was used follow ing th e Federal Energy Regulatory
Commission (FERC) guidelines fo r th e evaluation o f construction impacts to w ater wells and springs.
Although the Project is not under the jurisdiction o f th e FERC, FERC guidance was deemed to be an
appropriate distance fo r this evaluation. Additionally, none of the Project Area or Connected Action
overlie any source w a te r protection areas.




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                  3.2.2.2    Impacts and Mitigation

Ground disturbance associated w ith conventional pipeline construction is generally lim ited to
approxim ately 6 to 10 fe et below th e existing ground surface. W here excavation penetrates the w ater
table, potential groundw ater impacts from pipeline construction are prim arily lim ited to the radius of
influence around th e excavation profile.

Construction activities, such as trenching, dewatering, and backfilling th a t encounter shallow aquifers
w ould cause m inor direct and indirect impacts via fluctuations in groundw ater levels an d /o r increased
tu rb id ity w ith in the aquifer adjacent to th e activity due to dewatering activities. Dewatering w ould consist
o f a single or series o f submersible pumps th a t w ould be low ered into the pipe trench to review excess
w a te r to fa cilitate pipe installation. In cases o f greater w ater in filtra tio n , well pointing (a series o f
dew atering points along the outside o f th e trench connected in series to a pump to enable effective
dew atering o f the trench) may be used. These impacts are tem porary (only while th e trench is open) and
highly localized as th e in filtra tio n o f the dewatered groundw ater is in th e im m ediate vicinity o f the
dew atering activity.

Construction and dew atering activities are not expected to have a significant direct or indirect effect on
regional groundw ater flo w patterns. Shallow aquifers w ould quickly reestablish equilibrium if disturbed,
and tu rb id ity levels w ould rapidly subside. Consequently, th e effects of construction w ould be m inor and
short-term . Impacts on deeper aquifers are not anticipated.

The introduction o f contam inants to groundw ater due to accidental spills o f construction-related
chemicals, fuels, or hydraulic fluid could have an adverse effect on groundw ater quality. Spill-related
impacts from construction activities are typically associated w ith im proper fuel storage, equipm ent
refueling, and equipm ent maintenance. Dakota Access' SPCC Plan outlines measures th a t w ould be
im plem ented to avoid, m inimize, prevent, and respond to releases o f fuels and o ther hazardous
substances during construction and includes measures fo r cleanup, docum entation, and reporting o f spills
(Appendix A). Project-specific SPCCs w ould be developed by th e selected contractor and im plem ented
th ro u g h o u t construction. By im plem enting th e protective measures set fo rth in these plans, groundw ater
contam ination due to construction activities is not anticipated. The d ra ft SPCC is included as Appendix B
o f Appendix A (SWPPP); the project-specific plan to be developed by the Contractor w ould m eet or exceed
all conditions presented in the d ra ft plan.

Accidental releases from the pipeline system during operations could potentially affect groundwater.
Although most com ponents o f crude oil are relatively insoluble (Neff and Anderson, 1981), crude oil
released into soil can m igrate tow ard w a ter where certain constituents can dissolve into groundw ater or
surface w ate r in lim ited amounts. As a liquid, th e product w ould travel along the path of least resistance
both laterally and vertically at a rate determ ined by a num ber o f factors including volum e released, soil
conditions (perm eability, porosity, m oisture, etc.), depth to groundw ater, and the speed and effectiveness
o f response and rem ediation measures.

The DAPL Project w ould tran spo rt light sweet crude oil from the m iddle Bakken and upper Three Forks
form ations (Bakken). The Energy Inform ation A dm inistration (EIA) categorizes light sweet crude oil as
having an API gravity between 35° and 50° and less than 0.3 w t % sulfur. API gravity is a measure o f how
heavy or light liquid oil is compared to w ater: if its API gravity is greater than 10, it is lighter and floats on



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w ater. The oil extracted from the Bakken has an API gravity generally between 40° and 43° and a sulfur
content o f less than 0.2 w eight percentage (w t %) (Turner, Mason and Company, 2014). Therefore, the
Bakken oil has properties th a t fall w ith in the m id-range o f light sweet crude.

M ost crude oil constituents are not very soluble in w ater. The dissolved concentration o f w ater soluble
compounds (e.g., benzene) is not controlled by th e am ount o f oil in contact w ith the w ater, but by the
concentration o f the specific constituent in th e oil (Charbeneau et al., 2000; Charbeneau, 2003; Freeze
and Cherry, 1979). Studies o f 69 crude oils found th a t benzene was the only arom atic or polycyclic
arom atic hydrocarbon com pound tested th a t is capable o f exceeding the 0.005 ppm groundw ater
protection threshold values fo r drinking w ater (i.e., maximum contam inant levels (MCLs) or W ater Health
Based Limits) (Kerr et al., 1999 as cited in O'Reilly et al., 2001).

In aquatic environm ents, crude oil's to xicity is a function o f the concentration o f its constituent
compounds and th e ir toxic effects, along w ith th e ir solubility (and bioavailability) in w ater. Based on the
com bination o f toxicity, solubility, and bioavailability, benzene is com m only considered to pose the
greatest to xicity th re a t from crude oil spills (M uller, 1987). The lowest acute to xicity threshold fo r aquatic
organisms fo r benzene is 7.4 ppm based on standardized to xicity tests (USEPA, 2016). .

Accordingly, theoretical concentrations o f benzene in river w ater fo r a range o f potential DAPL Project
spills at th e tw o pipeline river crossings are presented in Table 3-7. An assumption o f a 1-hour release
period fo r th e entire spill volum e at each location was used. The follow ing additional conservative
assumptions w ere developed to estim ate potential spill effects fo r planning purposes:

    •    The entire volum e o f a crude oil spill was released due to a catastrophic failure of the pipeline and
         reached the w aterbody;
    •    Complete, instantaneous mixing occurred;
    •    The entire benzene content o f the crude oil was solubilized into the w ater column; and
    •    The receptor is located at the im m ediate site o f the crude oil spill and there is no loss due to
         evaporation or degradation.


The conservative analysis presented in Table 3-7 includes a range o f values from 4 barrels to 10,000
barrels spilled. However, exam ination o f th e PHMSA dataset from 2002 to 2015 (PHMSA, 2016) indicates
th a t the m ajority o f actual pipeline spills are relatively small and fifty percent o f the spills consist o f 4 bbis
or less. The spill volum e w ould be likely small due to a num ber of factors including:

    •    M ost releases are not caused by fu ll ruptures o f the pipeline;
    •    The overburden on th e HDD section o f th e pipeline or the compacted back-fill over a buried
         pipeline restricts the volum e th a t could be released during a spill and restricts the affected area;
         and
    •    Due to anti-siphoning effects, a fu ll gravity drain-dow n between valve locations on either side of
         th e river crossings rarely occurs.


As indicated in Table 3-7, the acute to xicity threshold fo r aquatic organisms fo r benzene o f 7.4 ppm is not
exceeded under any o f th e hypothetical spill volum e scenarios. The most probable spill volum e (4 barrels



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   or less) does not yield benzene concentrations th a t exceed th e drinking w ater criteria even w ith the ultra
   conservative mixing assumptions. It should be noted th a t under real life conditions, th e spill and mixing
   events outlined by the assumptions are beyond physical actualities. Therefore the use o f the upper ranges
   o f spill volumes and the concentrations in th e table is lim ited and is not recom mended beyond this NEPA
   analysis.


                                               Table 3-7
    Estimated Benzene Concentrations Following a Hypothetical Crude Oil Spill at Project River Crossings
                                                             Estimated Benzene Concentration in Surface W ater
                               Acute
                                                                                    m)_________
   River          River Flow Toxicity       Benzene MCL
                                                                                            M oderate
  Crossing           (cfs)   Threshold         (ppm)         Very Small      Small Spill:                   Large Spill:
                               (ppm)                         Spill: 4 bbl     100 bbl                       10,000 bbl
                                                                                             1,000 bbl

Missouri River     20,374          7.4           0.005         0.00075          0.019           0.19            1.88


 Lake Oahe         22,484          7.4           0.005         0.00068          0.017           0.17            1.70

   Notes:
   - Adapted from Stantec, 2015
   - Estimated concentration is based on release of benzene into water over a 1-hour period with uniform mixing
     conditions.
   - Concentrations are based on a 0.28 percent by volume benzene content of the transported material (Marathon
     Oil 2010).
   - bbl - An oil barrel defined as 42 US gallons,
   - MCL-Maximum contaminant levels
   - ppm - Parts per million
   - cfs - Cubic feet per second
   - Stream flows are measured mean discharge from the gage stations closest to the pipeline crossings located on the
     Missouri River at Williston (USGS Station 06330000) and Bismarck (USGS Station 06342500)(USGS 2016; 2016b).



   Sub-freezing tem peratures during th e w in te r m onths could cause ice to form on the surface o f Lake Oahe
   and the Missouri River. This layer of ice w ill tra p oil released below the lake's surface and prevent benzene
   evaporation from occurring. Therefore, during the w inter, evaporative loss w ill be negligible, and w ill
   allow a longer contact between the crude oil and th e w ater column. Additionally, natural undulations in
   th e b ottom o f the ice w ill tra p th e m aterial and reduce horizontal spreading, potentially causing very
   localized impacts to organisms in prolonged contact w ith the near-surface w ater (e.g., phytoplankton)
   (Dickens 2011). Exposure to fish deeper in th e w ater column w ould not likely experience adverse impacts.
   The natural containm ent o f w in te r releases facilitates cleanup efforts as the pockets o f oil can be drilled
   to and removed using vacuum trucks. Thus, w in te r releases are predicted to have low er impacts,
   particularly w ith respect to area o f extent, as compared to releases occurring during th e w arm er seasons.




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If no active ground w a ter rem ediation activities w ere undertaken (see discussion below), dispersion,
evaporation, dissolution, sorption, photodegradation, biodegradation, and natural attenuation ultim ately
w ould allow a return to preexisting conditions in both soil and groundwater.

Remediation

As part o f the pipeline operation, which is regulated by the PHMSA, Dakota Access has an ongoing
maintenance, inspection, and integrity testing program to m o n ito r th e safety o f th e pipeline system.
M on itoring activities include constant rem ote oversight o f the entire system 24/7/365 from th e control
center, routine inspection of the cathodic protection system, and th e use o f inspection tools th a t travel
through the inside o f the pipeline to check pipe integrity (see Section 3.11 fo r additional inform ation
regarding reliability and safety and th e proposed m ethods fo r m onitoring the Proposed Action facilities).
Dakota Access also perform s regular aerial flyovers to inspect the pipeline ROW. In the event o f a leak,
Dakota Access w ould w ork aggressively to isolate the source through th e use o f rem ote-controlled shut-
o ff valves, in itiate cleanup activities, and contact the appropriate federal and state authorities to
coordinate leak containm ent and cleanup. To prevent pipeline failures resulting in inadvertent releases,
Dakota Access w ould construct and m aintain the pipeline to m eet or exceed industry and governmental
requirem ents and standards. Specifically, the steel pipe w ould m eet PHMSA specifications under 49 CFR
§ 195, fo llo w standards issued by th e American Society of Mechanical Engineers, National Association fo r
Corrosion Engineers and API. Once installed, th e pipeline w ould be subjected to testing to verify its
inte grity and compliance w ith specifications, including hydrostatic pressure testing at th e crossings,
checking coating integrity, and X-ray inspection o f th e welds. The pipeline w ould be placed into service
only afte r inspection to verify compliance w ith all construction standards and requirem ents. Dakota
Access w ould m aintain and inspect the pipeline in accordance w ith PHMSA regulations, industry codes
and prudent pipeline operating protocols and techniques. The pipeline ROW w ould be patrolled and
inspected by air every 10 days, w eather perm itting, but at least every three weeks and not less than 26
tim es per year, to check fo r abnorm al conditions or dangerous activities, such as unauthorized excavation
along the pipeline route.

W hile a release o f crude oil into groundw ater or a surface w aterbody has th e potential to cause
environm ental impacts, the likelihood o f such an event is very low. Dakota Access has detailed provisions
fo r protecting and m itigating potential impacts to w ater resources in Section 3.11 Reliability and Safety.
Emergency response and rem ediation efforts have th e potential fo r dram atically reducing the appreciable
adverse environm ental effects.

In th e unlikely event o f a spill during operations o f the pipeline, impacts to w ater resources w ould be
fu rth e r m itigated by follow ing th e cleanup procedures and rem ediation activities described in th e Dakota
Access' FRP (Appendix L).

Specific clean-up procedures and rem ediation activities w ould be determ ined by groundw ater
rem ediation specialists w ith in Dakota Access and contracted professional consultants. Each groundw ater
m itigation situation is unique and w ill be treated according to the actual circumstances present.

The firs t step in the m itigation process consists o f the delineation o f the plum e to define the nature and
extent o f the release. If appropriate, Dakota Access w ould recover product as soon as practical to prevent
th e spread of contam ination using excavators to remove the impacted soils, oil skimmers installed w ithin



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collection wells, pumps, and storage containers or vacuum trucks at collection areas or some other
m ethod appropriate fo r the site conditions.

Dakota Access w ould develop a groundw ater rem ediation plan in coordination w ith th e North Dakota
D epartm ent o f Health and other responsible federal, state or o ther governm ental authorities. The
proposed groundw ater rem ediation system w ould be designed to tre a t th e impacted groundw ater by
rem oving th e released oil, converting it into harmless products, m onitoring natural attenuation, etc.

Released product can often be physically removed from groundw ater by several methodologies. The
pum p and tre a t m ethod is one of the m ost w idely used physical methods o f ground w ater rem ediation
and consists o f pum ping th e groundw ater to surface and then using either biological or chemical
treatm ents to remove the oil. A nother common m ethod o f removing floating hydrocarbon contam inants
is th e use o f a m onitoring-w ell oil skimmer. This m ethod utilized a belt m aterial w ith a strong affin ity fo r
hydrocarbons to bring th e oil to the surface where it can be removed. A dual-phase vacuum extraction
removes both contam inated groundw ater and soil vapor. A high-vacuum extraction well is installed w ith
its screened section in th e zone o f contam inated soils and groundw ater to remove contam inants from
above and below the w ate r table. Released product can also be removed from groundw ater by applying
various chemical m ethodologies including ozone and oxygen gas injection, surfactant enhanced recovery.
Biological tre a tm e n t techniques can also be utilized including bioventing and bioaugm entation.

The ground w a te r tre a tm e n t rem ediation plan w ould be selected in coordination w ith th e North Dakota
D epartm ent o f Health and o th er responsible governm ental authorities and may utilize a com bination of
technologies.

A prelim inary evaluation o f geology indicates th a t groundw ater w ith in the floodplain th ro u g h o u t most of
th e Corps flow age easements is less than 6.5 feet deep (GeoEngineers, 2014). The pipeline w ould be
installed in saturated sediments as part o f th e HDD crossing o f Lake Oahe. Due to the nature o f HDD
m ethodology, this construction m ethod is inherently not a risk to groundw ater resources and uses benign
substances (bentonite and w ater) to penetrate through soil, rock, and groundwater. Construction of the
Project Area and Connected Action w ould not be expected to result in significant negative direct or
indirect impacts on groundw ater resources.

3.2.3    Wetlands

                  3.2.3.1    Affected Environment

W etland data fo r th e Project Areas was derived from desktop analyses along the entire route and verified
by field delineations. Using data fro m the U.S. Fish & W ildlife Service's (USFWS) National W etlands
Inventory (NWI) dataset, aerial imagery, and topography, an experienced biologist applied professional
ju dgm ent to create polygon coverage in GIS to define th e areal extent o f wetlands. These areas have been
field-verified to ensure th a t the m ost accurate, up-to-date data is being used fo r perm it filings.

The field w etland investigations w ere conducted using the on-site m ethodology set fo rth in the 1987
Corps o f Engineers W etland Delineation Manual and the 2010 Regional Supplement to the Corps o f
Engineers W etland Delineation Manual: Great Plains Region (USAGE, 1987; 2010b). In addition to the
1987 Manual and the Regional Supplement, wetland areas were examined through analysis o f the



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vegetation, soils, and hydrology, as described in th e Classification o f W etland and Deepwater Habitats o f
th e U.S. and The National W etland Plant List (Cowardin et al., 1979; Lichvar et al., 2014).

                  3.2.3.2   Impacts and Mitigation

The routing analysis utilized to determ ine the crossing locations was designed to avoid impacts to sensitive
environm ental resources including wetlands. Construction workspace on the flowage easements has
been selected based on an absence o f wetlands w ith in the Project Area and, as confirm ed by field
verification in 2015, no wetlands w ould be impacted by trench excavation w ith in the construction ROW,
ATWS, HDD workspace, or HDD stringing corridor on the flow age easements or Connected Action.

The field w etland investigations conducted by Dakota Access results identified fo u r wetlands located
w ith in th e perm anent easement on th e flowage easements (w-ml0-wi-001_PSS, w -m l0-w i-001_PEM , w-
m l0-wi-001_PFO , and w-m l0-wi-002_PSS). These wetlands occur in th e portion o f the Project Area on
th e flow age easements th a t w ould be constructed via HDD; therefore, no trenching w ould occur w ithin
these wetlands. However, fo llo w in g construction, a 30-foot-w ide corridor centered on the proposed
pipeline w ould be m aintained in non-forested state to facilitate inspections o f the pipeline, operational
maintenance, and compliance w ith the federal pipeline safety regulations. The 30 fo o t perm anent ROW
w ould encompass a to ta l o f approxim ately 0.30 acre o f the fo u r wetlands. One o f these wetlands (w-
m l0-wi-001_PFO ), approxim ately 0.05 acre, is classified as a palustrine forested (PFO) w etland and w ould
be converted to shrub-scrub or herbaceous w etland as a result o f the Proposed Action since trees w ould
be routinely removed fo r the life o f the pipeline. The rem aining palustrine em ergent (PEM) w etland (w-
m l0-w i-001_PEM ) and tw o palustrine scrub-shrub (PSS) wetlands (w-ml0-wi-001_PSS and w -m lO -w i-
002_PSS), comprising a to ta l o f 0.25 acres of th e perm anent pipeline easement, may require infrequent
vegetation clearing o f encroaching w oody vegetation but w ould otherwise remain in th e ir natural state.
Dakota Access is in th e process o f obtaining verification fo r use o f NWP 12 fo r the crossings o f wetlands
and w aterbodies associated w ith DAPL Project.

Pending approval and receipt o f applicable perm its and easement permission, a tem porary w aterline
w ould be installed between the shoreline and the HDD workspace on the flow age easements w ith in the
perm anent ROW (Figure 6-B), in order to supply the HDD equipm ent w ith w ater needed fo r drilling fluid
preparation and hydrostatic testing. The tem porary w aterline w ould be laid on to p o f the surface, and no
ground disturbance o f the fo u r w etland features along the perm anent easement is anticipated. The hard
pipe segments w ould be hand-carried down the slope and assembled by hand. No tracked or wheeled
equipm ent w ould be necessary fo r construction or removal o f th e tem porary aboveground pipeline. No
excavation or disturbance o f wetlands or th e river bank is anticipated.

Table 3-8 summarizes wetlands w ith in the flowage easements th a t occur w ith in the perm anent ROW,
which is 30-feet-w ide centered on th e centerline over the HDD profile and 50-feet-w ide elsewhere.

No wetlands w ould be impacted by th e HDD workspace on private land and th e perm anent ROW on
federal land at th e crossing o f Lake Oahe, because no wetlands exist w ith in the Project Area and
Connected Action Area at the Lake Oahe Crossing.

The ECP and SWPPP specify several measures to protect wetlands and w aterbodies from becoming
polluted w ith fuels or o th e r hazardous materials during construction. These plans pro h ib it th e storage o f



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fuel or o the r hazardous materials w ith in 100 feet o f a w etland or waterbody. The ECP also specifies th a t
equipm ent m ust be refueled at least 100 fe e t from w aterbodies unless, due to site-specific conditions,
th ere is no practical alternative such as th e proposed pum ping intake structure located on the barge at
th e Missouri River Crossing. In th a t case, the contractor m ust im plem ent site-specific protective measures
and containm ent procedures described in the ECP. Contractors w ould be required to provide trained
personnel, appropriate equipm ent, and materials to contain and clean up releases o f fuel, lubricating oil,
or hydraulic flu id th a t result from equipm ent failure or o ther circumstances in accordance w ith
containm ent plans as described above.


                                                 Table 3-8
                            Wetlands within the Flowage Easemen ts Project Area
                                                          Pre-
                                                                        Delineation    Area
  MR        W etland ID          W etland Type         Construction                              Impacted Area ^
                                                                          Source      (acres)
                                                          Notice?
                                                                                                 Permanent ROW
  94.7    w-mlO-wi-OOl      Palustrine Scrub-Shrub           No             Field       0.07
                                                                                                 over FIDO Profile
                                                                                                 Permanent ROW
  94.7    w-mlO-wi-001      Palustrine Emergent              No             Field       0.04
                                                                                                 over FIDO Profile
                                                                                                 Permanent ROW
  94.8    w-mlO-wi-001      Palustrine Forested              No             Field       0.05
                                                                                                 over FIDO Profile
                                                                                                 Permanent ROW
  94.9    w-mlO-wi-002      Palustrine Scrub-Shrub           No             Field       0.14
                                                                                                 over FIDO Profile



3.2.4    Floodplain

                 3.2.4.1    Affected Environment

Floodplains refer to th e 100-year floodplain, as defined by Federal Emergency M anagem ent Agency
(FEMA), and as shown on Flood Insurance Rate Maps (FIRM) or Flood Flazard Boundary Maps fo r all
com m unities participating in th e National Flood Insurance Program (NFIP). The 100-year floodplain is an
area subjected to inundation by the 1% chance o f an annual flood event. Executive Order (EG) 11988
(Floodplain M anagement) requires federal agencies to avoid direct or indirect support o f developm ent
w ith in th e 100-year floodplain whenever there is a practical alternative.

According to th e FEMA FIRM map, the seven flowage easements are located w ith in Zone A (the 100-year
floodplain) o f the Missouri River in W illiam s County. A FEMA flood map is not available fo r th e Connected
Action w ith in McKenzie County. The Lake Oahe crossing in Emmons County is located in Zone D, which is
an area o f undeterm ined, but possible flood hazards (FEMA, 1987). FEMA has not com pleted a study to
determ ine flood hazards fo r M orton County; therefore, a flood map has not been published at this tim e.

                 3.2.4.2    Impacts and Mitigation

The Proposed Action has been designed in accordance w ith accepted floodplain m anagem ent practices;
therefore, no impacts on floodplain elevations or velocities are anticipated. Following construction.



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disturbed areas w ould be restored to pre-construction grades and contours, as practical. If necessary, soil
displaced by installation o f th e 24-inch pipeline on the flowage easements w ould be removed fro m the
floodplain and hauled to an upland location in order to ensure original floodplain elevations are restored

The Corps Omaha District Flood Risk and Floodplain M anagem ent Section (FRFM) is responsible fo r
coordinating compliance w ith th e requirem ents of EG 11988. The FRFM reviewed the proposed pipeline
plans fo r the portion o f the DAPL Project th a t crosses th e flow age easements fo r compliance w ith
Appendix A (Typical Cut and Fill Volumes fo r Land Development Proposals) of NWDR 1110-2-5, Land
Developm ent Guidance at Corps Reservoir Projects, and found th a t the lowest elevation o f the Proposed
Action on th e flow age easements (1872.25 feet MSL) w ould be above the Garrison flood control pool
m aximum operation elevation (1854.0 fe et MSL). Therefore, there w ould be no adverse impacts on the
operation o f the Garrison flood control pool. Provided th a t th e site topography is left at its natural ground
elevation after construction and all excess material is hauled o ff site, the FRFM concluded th a t there are
no flood risk and floodplain managem ent concerns associated w ith th e Proposed Action. On April 7, 2015
th e FRFM provided Dakota Access w ith a m em orandum verifying compliance under EO 1198 and
recom m ending approval o f th e Proposed Action (Krause, 2015).

3.2.5    Levees

Based on a search o f the Corps National Levee Database and FEMA FIRM maps, no levees are located
w ith in 10 miles o f th e Lake Oahe or flow age easement crossings (Corps, 2014). Because no levees are
located w ith in 10 miles of e ither crossing, construction of th e Proposed Action is not expected to impact
levees.

3.3      Vegetation, Agriculture, and Range Resources

Under th e "no action" alternative, Dakota Access w ould not construct the proposed DAPL Project and no
impacts on vegetation, agriculture, and range resources w ould occur. Flowever, if th e objectives o f the
DAPL Project are to be m et under th e "no action" alternative, other projects and activities w ould be
required and these projects w ould result in th e ir own impacts on vegetation, agriculture, and range
resources, which w ould likely be sim ilar to or greater than th e DAPL Project. Impacts associated w ith a
fu tu re project developed in response to the "no action" alternative are unknown, w hile only tem porary
and m inor impacts or insignificant perm anent impacts on vegetation, agriculture, and range resources
w ould occur as a result of the Proposed Action, as described in the sections below.

3.3.1    Vegetation

                  3.3.1.1   Affected Environment

Land cover was analyzed fo r th e flow age easements and federal lands and associated Connected Actions
based on the 2011 USGS National Land Cover Dataset (NLCD) and was field-verified w here access was
available. Land cover on the flow age easements is comprised m ostly o f cultivated crops, which include
corn, sugar beets, alfalfa, soybeans, and spring w heat. Other present land cover types include developed
areas, which are prim arily roads, pasture/hay/grassland areas th a t are interspersed w ith the cultivated
crops, em ergent wetlands, w oody wetlands, mixed forest and deciduous forest associated w ith the
M issouri River.



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Land cover on the federal lands is comprised o f cultivated crops, em ergent herbaceous wetlands,
grassland/herbaceous, and open w ater. Over half o f the area of the tracts is characterized as
grassland/herbaceous, which prim arily occurs on the w est side of Lake Oahe. Cultivated cropland consists
m ainly of oats and canola on th e east side o f the Lake.

A description o f each land cover type encountered at both crossing areas is provided below.

Cultivated Crop

The cultivated cropland com m unity is characterized by land used fo r th e production o f annual crops, such
as corn and soybeans. This class includes all land being actively tilled.

Deciduous Forest

Deciduous forest typically includes trees th a t are greater than 16 feet tall. M ore than 75% o f th e tree
species in this land cover class shed foliage sim ultaneously in response to seasonal change.

Mixed Forest

M ixed forest are generally areas dom inated by trees generally greater than 5 meters tall, and greater than
20% o f to ta l vegetation cover. The vegetation cover w ith in mixed forest typically does not have either
deciduous or evergreen species greater than 75% o f the to ta l tree cover.

Developed/Open Space

The developed/open space com m unity type is dom inated by lawn grasses and may include some
developed areas and roads. Impervious surfaces account fo r less than 20% o f the to ta l cover. This class
w ould typically include m inor roads and associated ditches.

Developed/Low Intensity

The developed/low intensity com m unity includes areas w ith a m ixture of constructed m aterial and
vegetation. These areas m ost com m only include single-fam ily housing units. D eveloped/low intensity in
th e Project Area is associated w ith im pervious surfaces of larger roads.

Emergent Herbaceous Wetland

Refer to Section 3.2.3, which provides a description of data obtained during delineations of the wetlands
th a t w ould be impacted by th e Proposed Action.

Woody Wetlands

Refer to Section 4.2.3, which provides a description o f data obtained during delineations o f th e wetlands
th a t w ould be impacted by th e Proposed Action.




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Grassland/Herbaceous

The grassland/herbaceous com m unity is dom inated by gram inoid or herbaceous vegetation. These areas
are not subject to intensive m anagement such as tillin g but can be utilized fo r grazing.

Pasture/Hay

The pasture/hay com m unity type consists o f areas o f grasses, legumes, or grass-legume m ixtures planted
fo r livestock grazing or the production o f seed or hay crops, typically on a perennial cycle.

Open W ater

The open w a ter cover type includes areas o f open w ater. This land cover type is associated w ith Lake
Oahe and th e Missouri River.

                    3.3.1.2   Impacts and Mitigation

Tem porary impacts on land cover w ould occur in essentially all areas w ith in the construction fo o tp rin t of
th e Project Area and Connected Actions, the vast m ajority o f which w ould return to pre-construction land
cover upon com pletion o f construction. One exception is at the flow age easement Project Area in
forested areas along th e perm anent easement Impacts on cultivated crops make up th e m ajority of
tem porary impacts and w ould return to cultivated crops post-construction.

Tables 3-9 and 3-10 show land cover types impacted by construction and maintenance activities.                 A
description of each category is provided below.

                                             Table 3-9
           Land Cover Impacts on the Flowage Easements Project Area and Connected Action
                                      Connected Action- Connected Action- Construction
                                                                                       Permanent ROW
        Land Cover Type                 Construction     Permanent ROW     Workspace
                                                                                           (acres)
                                      Workspace (acres)      (acres)        (acres) ^
 Cultivated Crops                            0                   0                 47.4              13.3
 Deciduous Forest                           0.9                 0.2                 0                 0
 Developed, Low Intensity                    0                   0                 0.4               0.4
 Developed, Open Space                      0.1                 0.01               1.2               0.4
 Emergent Herbaceous                         0                   0                 0.9               0.4
 Wetlands
 Hay/Pasture                                 0                   0                 6.6                1.8
 Grassland/Herbaceous                       0.1                  0                 1.7               0.5
 Mixed Forest                               0.2                 0.03                0                 0
 Open Water                                 0.7                 0.1                 0                 0
 Woody Wetlands                              0                   0                 1.4               0.8
                              Total         2.0                 0.3                59.3              17.6
 ^ Construction workspace includes permanent ROW.




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Permanent impacts on land cover in th e federal lands w ould be lim ited to th e perm anent ROW and involve
lim ited tree removal w ith in th e perm anent easement. Impacts on land cover as part o f th e Connected
Action w ould occur on private lands and include th e HDD workspaces, stringing area, and the perm anent
easements between the HDD workspaces and federal lands.

                                            Table 3-10
             Land Cover impacts on the Federal Lands Project Area and Connected Action
                                                 Connected             Connected
                                                  Action-               Action-           Federal Lands
                Land Cover                      Construction        Permanent ROW        Permanent ROW
                                                 Workspace              (acres)              (acres) ^
                                                  (acres)
 Cultivated Crops                                    0.0                   0.0                   0.1
 Emergent Herbaceous Wetlands                        0.0                   0.0                   0.4
 Woody Wetlands                                      0.2                   0.0                   0.0
 Grassland/ Herbaceous                               15.3                  1.1                   0.6
                                     Total           15.5                  1.1                   1.2
 ^ Land cover impacts on federal lands are limited to the maintained 50-foot permanent easement and do not
   include approximately 6.3 acres of permanent easement over the HDD profile across Lake Oahe. Land cover
   within the banks of Lake Oahe (open water, woody wetlands, and emergent herbaceous wetlands) would not
   be disturbed during construction.



Measures to Protect Vegetation

Dakota Access w ould clear th e ROW to th e extent necessary to assure suitable access fo r construction,
safe operation, and maintenance o f th e DAPL Project. Clearing o f herbaceous vegetation during
construction is anticipated to result in short-term impacts. W ithin areas disturbed by construction in the
flow age easements Project Area and Connected Actions, Dakota Access w ould im plem ent active
revegetation measures and rapid colonization by annual and perennial herbaceous species to restore
m ost vegetative cover w ith in th e firs t growing season. In areas th a t require perm anent revegetation,
Dakota Access w ould utilize an NRCS native seed m ix th a t has been selected fo rth e Proposed Action based
on the North Dakota State University Extension Service Publication, Successful Reclamation o f Lands
Disturbed by Oil and Gas Developm ent and Infrastructure Construction. . Ground disturbing activities
w ould not occur on Corps fee-ow ned lands; therefore, reseeding is not anticipated in these areas.
However, if reseeding w ere to become necessary on Corps fee-ow ned lands, all activities w ould be
conducted in accordance w ith applicable Lake Oahe or Garrison Project revegetation guidelines.

In non-agricultural areas, vegetation cleared from ATWS w ould be allowed to revegetate after
construction depending on arrangements w ith th e landowner. Consequently, significant changes in cover
types are not anticipated. Revegetation w ould allow w ild life species to return to the area after
construction is com pleted. Tem porary revegetation measures may also be im plem ented to quickly
establish ground cover to m inim ize the potential fo r soil erosion and noxious weeds to establish. A
tem porary seed mix may be applied in these situations. Revegetation o f trees and shrubs w ould take




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place in accordance w ith the N orth Dakota tree and shrub regulations. The ECP (Appendix G) contains
m ore details regarding tem porary revegetation.

A fte r com pletion o f w aterbody crossings, Dakota Access w ould revegetate disturbed stream banks in
accordance w ith th e ECP, SWPPP, and requirem ents o f applicable state and federal permits. When
constructing in agricultural areas, up to 1 fo o t o f topsoil (organic layer) w ould be stripped from the trench
line and stockpiled separately from trench spoil to preserve the native seed stock. The ECP contains
additional details regarding topsoil segregation.

A t stream approaches, the C ontractor w ould leave a 20-foot buffer o f undisturbed herbaceous vegetation
on all stream banks during initial clearing, except w here grading is needed fo r bridge installation or where
restricted by applicable regulations a n d /o r perm it conditions.

3.3.2    Invasive and Noxious Weeds

                 3.3.2.1    Affected Environment

The state o f North Dakota has 11 state-listed noxious and invasive weeds ("invasive species"). The species
listed are: Russian knapweed (Acroptilon repens), absinth w orm w ood {Artem isia absinthium), musk thistle
(Carduus nutans), diffuse knapweed (Centaurea diffusa), yellow toadflax (Linaria vulgaris), spotted
knapweed (Centaurea maculosa), Canada th istle (Cirsium arvense), leafy spurge (Euphorbia esula),
dalm atian toadflax (Linaria dalm atica), purple loosestrife (Lythrum salicaria), and saltcedar (Tamarix
chinensis). These state invasive species are controlled and regulated under North Dakota Law (NDCC §
4.1-47-02) (North Dakota D epartm ent o f Agriculture, 2014a).

Each county in North Dakota has a County Weed Board, which consists o f a regulation com m ittee to
manage noxious and invasive weeds. Each o f these county boards is responsible fo r the addition of
county-specific invasive species to th e state-listed species. Additional noxious weeds are listed in
McKenzie County including field bindweed (Convolvulus arvensis), burdock (Arctium sp.), black hendane
(Hyoscyamus niger), houndstongue (Cynoglossum officinale), and yellow starthistle (Centaurea
solstitialis). No additional invasive species have been identified fo r listing in W illiams, M orton, and
Emmons counties.

                 3 3 .2.2   Environmental Impact and Mitigation

Dakota Access sent notifications to th e McKenzie, W illiams, M orton, and Emmons counties weed boards
describing th e Proposed Action and requesting any guidance regarding the known locations o f noxious
and invasive weeds pertaining to th a t county. Dakota Access w ould w ork w ith the county weed boards
to ensure th e ECP contains relevant and necessary m itigation measures th a t w ould be im plem ented to
prevent th e spread o f noxious weed species during construction and operation o f th e Proposed Action.




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3.3.3    Threatened, Endangered, Candidate, and Proposed Plant Species

                 3.3.3.1    Affected Environment

There is one federally-listed plant species in North Dakota, th e threatened w estern prairie fringed orchid.
This plant species is associated w ith high quality moist, tall grass prairie. M ost of the orchids in North
Dakota are located in the Sheyenne National Grasslands in Ransom and Richland counties in the
southeastern corner o f the state. The population at Sheyenne National Grasslands is th e largest
population le ft in the w orld, w ith over 7,000 orchids (USFWS, 2013a).

N orth Dakota does not have a state threatened and endangered species program or track plant species
th a t are not federally listed.

                 3.3.3.2    Impacts and Mitigation

There are no known records o f w estern p rairiefringed orchids in the Project Area counties, and no suitable
habitat was docum ented; therefore, no effect on the w estern prairie fringed orchid is expected as a result
o f the proposed undertaking. In the unlikely event th a t any are observed during construction on federal
lands, w o rk w ould stop and the Corps w ould be contacted.

3.4      W ildlife Resources

Under the "no action" alternative, Dakota Access w ould not construct the DAPL Project, and no impacts
on w ild life resources w ould occur. However, if the objectives o f the DAPL Project are to be m et under the
"no action" alternative, other projects and activities w ould be required and these projects w ould result in
th e ir own impacts on w ild life resources, which w ould likely be sim ilar to or greater than the DAPL Project.
Impacts associated w ith a fu tu re project developed in response to th e "no action" alternative are
unknown, w hile only tem porary and m inor impacts, if any, on w ild life resources w ould occur as a result
o f th e Proposed Action, as described in the sections below.

3.4.1    Recreationally and Economically Important Species and Nongame W ildlife

                 3.4.1.1    Affected Environment

The Proposed Action region is home to a large num ber of mammal and bird species. Big game species
th a t occur in the Proposed Action region include pronghorn and w hite-tailed deer. Game birds potentially
using th e types o f w ild life habitat in the Project Area include the ruffed grouse, sharp-tailed grouse,
pheasant, woodcock, snipe, and doves. Furbearers and predators potentially occurring w ith in the Project
Area include coyote, beaver, badger, red fox, raccoon, bobcat, fisher, mink, weasel, and muskrat.
Potential small mammal species occurring w ith in the habitat types associated w ith the Project Area
include pocket gopher, skunk, and w hite -tailed jackrabbit.

W aterfow l and shorebird species potentially occurring w ith in th e Project Area include mallards, pintails,
American wigeon, blue-winged teal, w estern grebe, California gull, Canada goose, common tern, killdeer,
W ilson's phalarope, and lesser yellowlegs. Numerous songbirds, including th e American goldfinch, black-




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capped chickadee, cedar waxwing, clay-colored sparrow, lark bunting, song sparrow, tree swallow,
w estern kingbird, w estern m eadowlark, and yellow w arbler can be expected to occur in the Project Area.

Numerous species o f reptiles and amphibians may also occur w ith in the Project Area. Some amphibian
species th a t may be expected to occur in the Project Area include the northern leopard frog, tiger
salamander, and western chorus frog. Reptile species th a t may be expected to occur w ith in the Project
Area include com m on snapping tu rtle , w estern painted tu rtle , com mon garter snake, and racer (Hoberg
and Gause, 1992).

                  3.4.1.2    Impacts and Mitigation

Tem porary impacts on w ild life could occur during construction due to clearing o f vegetation and
m ovem ent o f construction equipm ent along the ROW. The ROW and ATWS w ould remain relatively clear
o f vegetation until restoration is com pleted. M ost w ildlife, including the larger and m ore m obile animals,
w ould disperse from th e Project Area as construction activities approach. Displaced species may
recolonize in adjacent, undisturbed areas, or reestablish in th e ir previously occupied habitats after
construction has been com pleted and suitable habitat is restored. Some smaller, less m obile w ildlife
species such as amphibians, reptiles, and small mammals have the potential to be directly impacted during
clearing and grading activities, but given the lim ited extent o f th e proposed crossing, measurable impacts
are not anticipated. No impacts to tre a ty fishing and hunting rights are anticipated due to construction
w ith in th e Project Area or Connected Actions.

Herbaceous cover w ould be seeded on disturbed upland areas during restoration, and it is expected th a t
pre-existing herbaceous and shrub habitats w ould quickly reestablish themselves. Consequently, it is
expected th a t th e w ild life species th a t use these habitats w ould also return w ith in one growing season o f
construction com pletion. Routine clearing o f th e perm anent easement to im prove visibility and remove
encroaching trees w ould be perform ed in compliance w ith PHMSA requirem ents. The lack o f trees
reestablishing w ould be the only potential long-term im pact to w ild life th a t depends on forested
com m unities. This im pact is expected to be negligible, as it only pertains to extrem ely small portions of
th e perm anent easement and very little forested habitat is present w ith in the Project Area and Connected
Actions.

3.4.2    Threatened, Endangered, Candidate, and Proposed W ildlife Species

The Endangered Species Act (ESA) directs all federal agencies to w ork to conserve endangered and
threatened species. Crossing th e Corps flowage easements and federal lands triggers th e consultation
procedures o f section 7 o f th e ESA. This section serves as the Biological Evaluation or w ritte n analysis
docum enting th e Corps' conclusions and th e rationale to support those conclusions regarding th e effects
o f the Proposed Action on protected w ild life resources. The Bald Eagle (Haliaeetus leucocephalus) was
removed fro m the federal list of threatened and endangered species on August 9, 2007 and is no longer
protected under th e ESA. However, the bald eagle is provided protection under the Bald and Golden Eagle
Protection Act (BGEPA) and th e M igratory Bird Treaty Act (MBTA), which prohibits disturbance o f eagles
and other raptors. In order to ensure compliance w ith these acts, Dakota Access obtained USFWS and
state agency data regarding known eagle nests in th e vicinity o f th e Missouri River and Lake Oahe crossings
fro m th e North Dakota Game and Fish Departm ent, w ho houses th e eagle location database. The
Proposed Action and Connected action w ill be over 1,000 fe e t from known or historic eagle nesting areas.



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Based on th e known nest data, there are no eagle nests w ith in the USFWS National Bald Eagle
M anagem ent Guidelines recom m end nest buffers o f 660 fe e t fo r linear construction activities if the
activity w ill be visible from th e nest and 330 feet if the activity w ill not be visible from th e nest (USFWS,
2007). These guidelines are intended to help th e public m inimize impacts to bald eagles, particularly
w here they may constitute "disturbance", which is prohibited by th e BGEPA. Given th e distance from
known eagle nesting areas, and the m itigation o f use o f the FIDD m ethod fo r both th e Missouri and Lake
Oahe crossings, th e Proposed Action is not anticipated to have any effect on Bald or Golden eagles

                 3.4.2.1    Affected Environment

Nine federally listed species have been identified in W illiam s, McKenzie, M orton, and Emmons counties.
Designated critical habitat fo r the piping plover also occurs in each o f th e fo u r counties. The USFWS
concurred w ith the Corps effect determ inations included below in Section 3.4.2.2 fo r all listed species
w ith in th e EA review area.

Interior Least Tern

In North Dakota, th e in te rio r least te rn (Sterna antillarum ) utilizes sparsely vegetated sandbars on the
M issouri River. Birds nest, raise young, and relax on barren river sandbars. In North Dakota, the least
te rn is found m ainly on the Missouri River from Garrison Dam south to Lake Oahe and on the Missouri
and Yellowstone Rivers upstream o f Lake Sakakawea. A pproxim ately 100 pairs breed in North Dakota
during the sum m er before flying to coastal areas o f Central and South American and th e Caribbean Islands
(USFWS, 2013b).

Whooping Crane

W hooping cranes (Grus Americana) em bark on a bi-annual m igration from summer nesting and breeding
grounds in W ood Buffalo National Park in northern Alberta to th e barrier islands and coastal marshes o f
th e Aransas National W ildlife Refuge on the Gulf Coast of Texas. Twice yearly in the spring and fall,
w hooping cranes m igrate along the Central Flyway, a m igratory corridor approxim ately 220 miles wide
and 2,400 miles in length. The Central Flyway includes eastern M ontana and portions o f North Dakota,
South Dakota, Nebraska, Kansas, Oklahoma, and eastern Texas (USFWS, 2014a) (Figure 16). During the
m igration, cranes make numerous stops, roosting fo r short durations in large shallow marshes, and
feeding in harvested grain fields. Approxim ately 75% o f th e whooping crane sightings in North Dakota
occur w ith in th e Central Flyway. The prim ary threats to whooping cranes are power lines, illegal hunting,
and habitat loss.

Black-footed Ferret

The black-footed fe rre t (M ustela nigripes) is a small m em ber o f the Mustelidae fam ily native to North
American shortgrass and mixed grass prairie. Prairie dogs make up approxim ately 90% o f the black-footed
fe rre t diet and as such, the species is associated almost exclusively w ith large complexes o f prairie dog
tow ns (USFWS, 2013c; Black-footed Ferret Recovery Im plem entation Team [BFFRIT], 2011). Black-footed
ferrets are fossorial, nocturnal predators, spending the m ajority o f th e ir tim e underground in prairie dog
burrows, leaving only to hunt (BIFFRIT, 2011). Once th ough t to be extirpated in the w ild, captive-born




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individuals have been reintroduced to 21 sites in W yoming, Montana, South Dakota, Colorado, Utah,
Kansas, New Mexico, and Arizona since 1991 (USFWS, 2013c).

Gray W olf

A habitat generalist, the gray w o lf (Canis lupus) historically occupied m ost habitat types in North America.
They show little preference fo r one cover type over another and successfully utilize alpine, forest,
grassland, shrubland, and w oodland habitats across th e ir range (Mech, 1974). Once though t to require
wilderness areas w ith little to no human disturbance, recent range expansions have dem onstrated the
species' ability to to le ra te higher rates o f anthropogenic developm ent than previously thought. Given
abundant prey and low rates of human-caused m ortality, wolves can survive in proxim ity to human-
dom inated environm ents (Fuller, 1989).

Northern Long-eared Bat

N orthern long-eared bats (M yotis septentrionalis) occur th ro u g h o u t th e eastern and north-central U.S.
Eastern populations have declined significantly in recent years as a result o f w hite-nose syndrome (WNS),
a contagious fungal infection. Although historically less common in the w estern portion o f its range than
in the northern portion, northern long-eared bats occur th rougho ut North Dakota. Flabitat througho ut
its range includes caves and abandoned mines during th e w in te r and hardwood or mixed forests fo r
roosting and foraging during th e sum m er (USFWS, 2015).

N orthern long-eared bats may roost singly or in colonies in cavities, crevices, hollows, or beneath the bark
o f live and dead trees a n d /o r snags, regardless of tree species. They prefer trees w ith a diam eter at breast
height o f at least 3 inches. Less frequently. Northern long-eared bats have been observed roosting in
man-made structures such as sheds or barns. Northern long-eared bats prim arily forage at dusk on insects
in forests, but w ill occasionally forage over small forest clearings and w ater (USFWS, 2015).

Piping Plover

Piping plovers (Charadrius melodus) are shore birds th a t inhabit areas near w ater, preferring river
sandbars and alkali wetlands in th e Great Plains fo r nesting, foraging, sheltering, brood-rearing, and
dispersal. Piping plovers w in te r along large coastal sand or m udflats near a sandy beaches througho ut
th e southeastern U.S. Critical Flabitat fo r the piping plover is designated along the Missouri River system
th ro u g h o u t North Dakota (USFWS, 2012).

Dakota Skipper

The Dakota skipper (Hesperia dacotae) is a small b u tte rfly found in dry-mesic and wet-m esic tallgrass and
mesic mixed grass prairie rem nants characterized by alkaline and com posite soils. The Dakota skipper is
a habitat specialist requiring high-quality prairie habitat (i.e., grasslands or discrete patches of habitat
w ith in grasslands th a t are predom inantly native and th a t have not been tilled). Only 146 populations are
docum ented in th re e states and tw o Canadian provinces (McCabe, 1981; Royer and M arrone, 1992;
Cochrane and Delphey, 2002; USFWS, 2011; 2013d). Remaining populations vary in size and density and
fo r th e most part are not influenced by dispersal between populations (McCabe, 1981; Dana, 1991; Dana,
1997; Cochrane and Delphey, 2002). The species overw inters at the base o f grasses in the soil o f the site



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which th e y inhabit. In North Dakota, the skipper typically occupies both wet-m esic and dry-mesic prairie
(Royer and M arrone, 1992; Cochrane and Delphey, 2002). The current status o f the Dakota skipper in the
state is considered tenuous, and m ost populations are considered vulnerable due to th e ir extrem ely
isolated nature.

Rufa Red Knot

The rufa red knot (Calidris canutus rufa) is a large sandpiper noted fo r its long-distance m igration between
sum m er breeding grounds in th e Arctic and w intering areas at high latitudes in the Southern Hemisphere
(USFWS, 2014b). Some rufa red knots w intering in the northw estern Gulf o f Mexico m igrate through
in te rio r North America during both spring and fall and use stopover sites in the N orthern Great Plains.
During spring and fall migrations, rufa red knots are typically found in marine habitats along the Pacific
and A tlantic coasts o f North America, generally preferring sandy coastal habitats at or near tidal inlets or
th e m ouths o f bays and estuaries. However, some m igrating rufa red knots use sandbars and sandy shore
and beach habitats along large rivers and reservoirs of the in te rio r o f North America. This area contains
th e Atlantic, Mississippi, and Central Flyways (USFWS, 2014g). The species also heavily relies on exposed
substrate at w etland edges fo r stopover habitat, and the suitability of a wetland fo r rufa red knots
depends on w a ter levels and may vary annually (G ratto-Trevor et al., 2001).

Pallid Sturgeon

Pallid sturgeon (Scaphirhynchus albus) prefer benthic environm ents associated w ith sw ift waters of large
turbid , free-flow ing rivers w ith braided channels, dynamic flo w patterns, periodic flooding of terrestrial
habitats, and extensive m icrohabitat diversity. Pallid sturgeon inhabit the Missouri and Mississippi Rivers
fro m M ontana to Louisiana and have been docum ented in the Missouri River downstream from the Fort
Peck Dam in M ontana to the headwaters of Lake Sakakawea, North Dakota, and downstream from
Garrison Dam, North Dakota to th e headwaters of Lake Oahe, South Dakota (USFWS, 2014c). Pallid
sturgeon populations are fragm ented by dams on th e Missouri River and are very scarce in th e Lake Oahe
portion o f th e Missouri River.

                  S.4.2.2   Impacts and Mitigation

Dakota Access conducted pedestrian surveys of the workspace w ith in the Project Area at the flowage
easements in September 2014 and July 2015 and at th e Lake Oahe crossing in April 2015 to assess suitable
habitat fo r listed species. Given th e lim ited scope o f the Proposed Action, m inim ization measures, and
th e im plem entation o f specialized construction techniques, the Corps has determ ined th a t the Proposed
Action w ould have no effect on the black-footed fe rre t, gray w olf, northern long-eared bat, and Dakota
skipper w ith in the Project Area. The Corps also determ ined th a t th e Proposed Action may affect, but is
not likely to adversely affect the in te rio r least tern, w hooping crane, piping plover, rufa red knot, and
pallid sturgeon in the Project Area. The effect determ ination fo r these species th a t may be affected, but
are not likely to be adversely affected was concurred w ith in a le tte r received from the USFWS on May 2,
2016. A Biological Opinion (BO) associated w ith other portions of th e DAPL Project, outside o f the EA
review area, was issued by the USFWS on May 31, 2016 but is not applicable to this docum ent. Table 3-
11 lists the im pact determ inations o f the protected species w ith potential to occur w ith in the Project Area
and Connected Action. A summary o f habitat evaluations and th e basis fo r the determ ination o f impacts
fo r each listed species is provided below.



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                                                Table 3-11
     Federally Listed Species with Potential to Occur within the Project Area and Connected Action
                                                                      County
          Species                 Status                                                            Impact Determination
                                                Williams     McKenzie       Morton Emmons
                                                                                                    May Affect, Not Likely to
 Interior Least Tern           Endangered           X             X             X           X
                                                                                                    Adversely Affect
                                                                                                    May Affect, Not Likely to
 Whooping Crane                Endangered           X             X             X           X
                                                                                                    Adversely Affect
 Black-footed Ferret           Endangered                         X             X                   No Effect
 Gray Wolf                     Endangered           X             X             X                   No Effect
 Northern Long-eared Bat Threatened                 X             X             X           X       No Effect
                                                                                                    May Affect, Not Likely to
 Piping Plover                 Threatened           X             X             X           X
                                                                                                    Adversely Affect
 Dakota Skipper                Threatened                         X             X           X       No Effect
                                                                                                    May Affect, Not Likely to
 Rufa Red Knot                 Threatened           X             X             X           X
                                                                                                    Adversely Affect
                                                                                                    May Affect, Not Likely to
 Pallid Sturgeon               Endangered           X             X             X           X
                                                                                                    Adversely Affect



Interior Least Tern

Suitable habitat may exist fo r in te rio r least terns at the Missouri River and at the Lake Oahe crossing
depending on precipitation and seasonal flo w variations as exposed sand/gravel bars suitable fo r nesting
may be present. Dakota Access proposes to cross the Missouri River and Lake Oahe utilizing th e HDD
construction m ethod. Pipeline installation via HDD w ill avoid in-stream disturbance th a t w ould otherw ise
occur if th e pipe was installed via th e tra ditional open-cut m ethod, as described in Section 2.1.4.

Potential sources fo r indirect impacts on in te rio r least terns include the inadvertent release of non-toxic
benton ite mud (used fo r lubricating the drill path) into th e w aterbody or nesting habitat and noise
associated w ith th e drilling equipm ent. Dakota Access conducted geotechnical analyses at each o f the
proposed HDD crossings and designed the HDD to m inimize th e likelihood th a t the drilling mud is
inadvertently released. W hile th e likelihood o f an inadvertent release has been minimized to the
m aximum extent practicable, w ere it to occur, im plem entation o f Dakota Access' HDD Contingency Plan
(Appendix B) w ould minimize any potential impacts on in te rio r least terns by quickly and efficiently
containing and rem oving the released, non-toxic mud.

O peration o f the HDD equipm ent w ill result in a tem porary increase in noise in the im m ediate vicinity of
th e HDD activities. Although the HDD entry and exit sites are located m ore than 960 fe e t from any suitable
in te rio r least te rn habitat, it is p o s s ib le th a tth e activities w ould be audible if in te rio r leastterns are nesting
in th e area. However, Atw ood et al. (1977) found th a t noise associated w ith human activities (an airfield
in the case o f th e referenced study) did not affect site fid e lity or nesting success o f least terns. Similarly,
Hillman et al. (2015) found th a t noise from m ilitary and civilian overflights did not impact nest success and
th a t restricting human disturbance to greater than 50 meters (164 feet) from colony boundaries m itigated




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adverse impacts to nesting birds. Noise associated w ith aircraft overflights at low altitudes in the Hillman
et al. (2015) study were a m inim um o f 67.7 decibels (A-weighted) (dBA), greater than the anticipated
sound levels generated by HDD equipm ent. Noise studies conducted at the proposed HDD entry and exit
locations indicate th a t sound levels w ould be less than 60 dBA at approxim ately 600 fe e t from the
equipm ent. Therefore, noise associated w ith the HDD crossings o f the Missouri River and Lake Oahe may
affect, but are not likely to adversely affect in te rio r least terns potentially nesting in th e area.

Dakota Access plans to w ithdraw al w ater from the Missouri River, which is required fo r activities
associated w ith the installation o f the HDD and th e hydrostatic testing o f th e HDD segment. A tem porary
w aterline w ould be installed at the Missouri River between the shoreline and the HDD workspace on the
flow age easements w ith in the perm anent ROW (Figure 6-B). The tem porary w aterline w ould be laid by
hand on to p o f th e surface, and no tracked or wheeled equipm ent w ould be necessary fo r installation or
removal o f the tem porary aboveground w aterline. No disturbance o f the river banks is anticipated.
Additionally, installation and removal o f th e w aterline are anticipated to be com plete prior to nesting
season; therefore, no impacts on the in te rio r least tern are anticipated to occur at th e Missouri River. If
th e w ate r w ithdraw al activities are not able to be com pleted prior to nesting season, Dakota Access w ould
conduct surveys prior to placem ent o f the w aterline to confirm the presence/absence o f in te rio r least
terns w ith in th e pipeline ROW. If in te rio r least terns are nesting w ith in the pipeline ROW, Dakota Access
w ould postpone w ater w ithdraw al activities and contact th e Corps and USFWS. W ork w ould only resume
when th e USFWS has given permission follow ing a survey to ensure in te rio r least terns w ould no longer
be affected. No w ate r w ithdraw al from or access to Lake Oahe is required to com plete th e Lake Oahe
crossing.

As discussed in Section 2.3.2 above, Dakota Access w ould routinely m aintain its 30 to 50-foot-w ide
perm anent easement, including periodic m owing and removal of w oody vegetation. Because suitable
in te rio r least tern nesting habitat is on unvegetated flats w ith in th e Missouri River and Lake Oahe, routine
maintenance activities w ould not occur w ith in suitable habitat. During operation o f the pipeline, in the
unlikely event th a t a leak or spill w ere to occur and reach in te rio r least tern habitat, Dakota Access w ould
im plem ent its FRP and strictly adhere to PHMSA regulations.

Based on th e avoidance and m inim ization measures, literature review, field investigations, and habitat
types present in the proposed Project Area, USAGE has determ ined th a t the Proposed Action may affect,
but is not likely to adversely affect the in te rio r least tern.

Whooping Crane

In North Dakota, w hooping cranes are only present during th e tw ice-yearly m igration between w in te r
grounds and sum m er nesting sites. As the whooping crane is a m igrant and does not breed in North
Dakota, the species cannot be confirm ed as present in or absent from th e Project Area. The results o f the
habitat assessment field surveys indicate th a t the Project Area may contain suitable stopover habitat (i.e.,
agricultural fields). It is anticipated th a t whooping cranes w ould avoid the Project Area during active
construction, as th e y tend to avoid areas w ith human disturbance (Howe, 1989; USFWS, 1994; Lewis and
Slack, 2008). The noise and land disturbance from construction activities during th e m igration periods
w ould likely cause birds to choose m ore suitable landing and overnight roosting locations away from
construction activities given th e abundance o f sim ilar habitat th ro u g h o u t the m igration corridor in North
Dakota and in the general vicinity o f th e Project Area.



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W hile th ere is potential fo r individuals to land in the Project Area during construction, w ork w ould halt if
a w hooping crane is observed w ith in the Project Area and w ould not resume until the bird leaves the area.
A dditionally, Dakota Access w ould n o tify th e Corps and USFWS o f the observation. The presence o f
construction activities w ith in potentially suitable stopover habitat during m igration could disturb
w hooping cranes in th e area or cause flying w hooping cranes to avoid th e area and select o ther suitable
stopover habitat. Due to the abundance o f available stopover habitat along the N orth Dakota m igration
corridor and in the vicinity o f the Project Area (USFWS, 2009a), impacts w ould be negligible. As illustrated
in Figure 16, the Project Area represents a m inute fraction of th e w hooping crane m igration corridor in
N orth Dakota.

As discussed in Section 2.3.2 above, Dakota Access w ould routinely m aintain its 30 to 50-foot-w ide
perm anent easement, including periodic m owing and removal o f w oody vegetation. As w hooping cranes
utilize open fields and em ergent wetlands fo r stopover habitat, affects from maintenance activities w ould
be m inim al and w ould be sim ilar to those described above during construction activities. If whooping
cranes w ere observed in the area during maintenance activities, maintenance personnel w ould suspend
activities until the cranes leave the area. Similarly, if maintenance activities are ongoing at the tim e of
m igration, whooping cranes w ould likely avoid the disturbance area.

In order fo r w hooping cranes to be affected by a spill or leak during operation, an individual w ould have
to be present when the leak or spill occurred or land in the spill itself. Due to th e strict adherence to
PFIMSA regulations designed to prevent spills and leaks during operation, the short tim efram e th a t
w hooping cranes are present during m igration, and the abundance o f available stopover habitat along the
m igration corridor in North Dakota (USFWS, 2009a), the measures im plem ented by Dakota Access in the
event o f a leak in accordance w ith the FRP, such occurrences are unlikely.

Based on th e avoidance and m inim ization measures, literature review, field investigations, and habitat
types present in the Project Area, USAGE has determ ined th a t the Proposed Action may affect, but is not
likely to adversely affect the w hooping crane.

Black-footed Ferret

No suitable black-footed fe rre t habitat is present in th e Project areas. The black-footed fe rre t has been
recorded in M orton County; however, based on occurrence data received from North Dakota Parks and
Recreation, there are no docum ented occurrences w ith in the vicinity o f th e Proposed Action. Further, it
is believed th a t black-footed ferrets have been extirpated from North Dakota, and no reintroductions
have occurred in th e state (USFWS, 2013f; North Dakota Game and Fish D epartm ent, 2012). Due to the
lack o f suitable habitat and the distance o f the Project areas from known black-footed fe rre t occurrences,
construction, operation, and maintenance activities associated w ith the Proposed Action w ould have no
effect on black-footed ferrets.

Gray W olf

The gray w o lf is listed as endangered in all three counties o f the Proposed Action areas in North Dakota
(south and west o f the Missouri River upstream to Lake Sakakawea and west of the centerline o f Flighway
83 from Lake Sakakawea to th e Canadian border). Wolves in eastern North Dakota are part o f the Great
Lakes Distinct Population Segment th a t was delisted by the USFWS in January 2012 (USFWS, 2014e).



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N orth Dakota does not currently have an established breeding population (North Dakota D epartm ent of
A griculture, 2014b). Observations o f wolves are sporadic, and it is believed th a t these individuals are
dispersers from adjacent populations (i.e., from M innesota and M anitoba) (USFWS, 2006; Licht and Fritts,
1994). Given th e unlikely occurrence and high m obility o f this species, construction, operation and
maintenance activities associated w ith the Proposed Action w ould have no effect on gray wolves.

Northern Long-eared Bat

The northern long-eared bat is currently listed by the USFWS as threatened in North Dakota. On April 2,
2015, th e USFWS published th e final listing in the Federal Registrar w ith an effective date o f May 4, 2015.
The USFWS listed the northern long-eared bat as threatened and chose to exercise th e option of issuing
an interim 4(d) rule to allow fo r m ore flexible im plem entation o f th e ESA and "to ta ilo r prohibitions to
those th a t make the m ost sense fo r protecting and managing at-risk species." In areas outside of the 150-
m ile WNS buffer zone, incidental take from lawful activities is not prohibited. The State of North Dakota
currently falls outside o f the WNS 150-mile buffer zone. Per the exem ptions o f the interim 4(d) rule,
construction, operation and m aintenance activities associated w ith th e Proposed Action w ould have no
effect on the northern long-eared bat (USFWS, 2015).

Piping Plover

Due to th e sim ilarity in life history and habitat requirem ents, impacts on piping plovers w ould be similar
to those discussed in above fo r the in te rio r least tern. Suitable habitat may exist fo r piping plover at the
M issouri River and at the Lake Oahe crossing, depending on precipitation and seasonal flo w variations, as
exposed sand/gravel bars suitable fo r nesting may be present. These areas are also designated as critical
habitat fo r this species under the ESA. Dakota Access proposes to cross the Missouri River and Lake Oahe
utilizing the FIDD construction m ethod. Pipeline installation via FIDD w ill avoid in-stream disturbance th a t
w ould otherw ise occur if th e pipe was installed via the traditional open-cut m ethod, as described in
Section 2.1.4.

Potential sources fo r indirect impacts on piping plovers include th e inadvertent release o f non-toxic
benton ite mud (used fo r lubricating the drill path) into the w aterbody or nesting habitat and noise
associated w ith th e drilling equipm ent. Dakota Access conducted geotechnical analyses at each o f the
proposed FIDD crossings and designed th e FIDD to m inimize the likelihood th a t th e drilling mud is
inadvertently released. W hile th e likelihood o f an inadvertent release has been minimized to the
m aximum extent practicable, w ere it to occur, im plem entation o f Dakota Access' FIDD Contingency Plan
w ould m inim ize any potential impacts on piping plovers by quickly and efficiently containing and removing
th e released, non-toxic mud.

O peration o f the FIDD equipm ent w ill result in a tem porary increase in noise in the im m ediate vicinity of
th e FIDD activities. Although the FIDD entry and exit sites are located m ore than 960 feet from any suitable
piping plover habitat, it is possible th a t the activities w ould be audible if piping plovers are nesting in the
area. Flowever, piping plovers are fre q u ently observed nesting in and around active sand and gravel mines
and do not appear to be deterred by elevated noise levels associated w ith th e operation of equipm ent
(Marcus et al., 2008; Brown et al., 2013).




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As discussed fo r the in te rio r least te rn above, impacts associated w ith installation o f th e tem porary
w aterline at th e Missouri River required fo r activities associated w ith the installation o f the HDD and the
hydrostatic testing o f th e HDD segment w ould be avoided. If th e w ater w ithdraw al activities are not able
to be com pleted prior to nesting season as expected, Dakota Access w ould conduct surveys prior to
placem ent of th e w aterline to confirm the presence/absence of piping plovers w ith in the pipeline ROW.
If piping plovers are nesting w ith in th e pipeline ROW, Dakota Access w ould postpone w ater w ithdraw al
activities and contact the USFWS and th e Corps. W ork w ould only resume when the USFWS has given
permission fo llow ing a survey to ensure piping plovers w ould no longer be affected. No w ater w ithdraw al
fro m or access to Lake Oahe is required to com plete the Lake Oahe crossing.

As discussed in Section 2.3.2 above, Dakota Access w ould routinely m aintain its 30 to 50-foot-w ide
perm anent easement, including periodic m owing and removal o f w oody vegetation. Because suitable
piping plover nesting habitat is on unvegetated flats w ith in th e Missouri River and Lake Oahe, routine
maintenance activities w ould not occur in suitable piping plover habitat. In the unlikely event th a t a leak
or spill occurs and reaches piping plover habitat during operation o f the pipeline, Dakota Access w ould
im plem ent its FRP and strictly adhere to PHMSA regulations.

Based on th e avoidance and m inim ization measures, literature review, field investigations, and habitat
types present in the Project Area, USAGE has determ ined th a t the Proposed Action may affect, but is not
likely to adversely affect the piping plover.

Dakota Skipper

There is no suitable Dakota skipper habitat w ith in the Project Area based on species occurrence and
grassland analysis. As such, construction, operation and maintenance activities associated w ith the
Proposed Action w ould have no effect on this species.

Rufa Red Knot

Rufa red knots do not nest in th e Project Area and only occur as an occasional m igrant. During spring and
fall migrations, the rufa red knot has th e potential to occur in North Dakota. M igrating rufa red knot
w ould likely only occur at m igratory stopover habitat (suitable shoreline and sandy beach habitat along
m ajor rivers, streams, waterbodies, and wetlands) fo r a brief am ount o f tim e (24 hours or less). The
results o f the habitat assessment field surveys indicate th a t potentially suitable stopover habitat (sandbar
and beach habitats) fo r m igrating rufa red knots is present at th e Lake Oahe crossing. Lake Oahe w ould
be crossed using the HDD construction m ethod, and thus w ould avoid direct impacts on potentially
suitable rufa red knot stopover habitat. W hile direct impacts to the rufa red knot m igratory habitat w ould
be avoided through the HDD construction m ethod at Lake Oahe, indirect impacts could occur due to
potential disturbance during construction (i.e., noise or an inadvertent release o f non-toxic drilling mud).

During construction, noise associated w ith the HDD may act as deterrent to rufa red knots potentially
m igrating through the area. These individuals may have to travel to o ther suitable stopover habitat in the
area (e.g., upstream or downstream o f th e Proposed Action area). Similarly, if an inadvertent release of
non-toxic drilling mud w ere to occur when rufa red knots w ere present, it could cause individuals to
relocate to nearby habitat.




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As discussed in Section 2.3.2 above, Dakota Access w ould routinely m aintain its 30 to 50-foot-w ide
perm anent easement, including periodic m owing and removal o f w oody vegetation. As rufa red knots
utilize suitable shoreline and sandy beach habitat along m ajor rivers, streams, waterbodies, and wetlands
fo r stopover habitat, effects from m aintenance activities w ould be negligible and w ould be sim ilar to those
described above during construction activities. If rufa red knots w ere present in the area during
maintenance activities they w ould likely relocate to nearby suitable habitat. Similarly, if m aintenance
activities are ongoing at the tim e o f m igration, rufa red knots w ould likely avoid the disturbance area.

In order fo r rufa red knots to be affected by a spill or leak during operation, an individual w ould have to
be present when the leak or spill occurred or stop on the spill or leak. Due to th e strict adherence to
PHMSA regulations designed to prevent spills and leaks during operation and the short tim efram e th a t
rufa red knots are present during m igration, such occurrences are unlikely.

Based on th e avoidance and m inim ization measures, literature review, field investigations, and habitat
types present in the Project Area, USAGE has determ ined th a t the Proposed Action may affect, but is not
likely to adversely affect the rufa red knot.

Pallid Sturgeon

Suitable habitat fo r the pallid sturgeon occurs at the Missouri River and Lake Oahe crossings. Impacts on
suitable habitat w ould be avoided by crossing these waterbodies via HDD. As discussed in fo r th e in te rio r
le a stte rn above, pipeline installation via HDD w ill avoid in-stream disturbance th a t w ould otherw ise occur
if th e pipe was installed via th e trad ition al open-cut m ethod.

Dakota Access has also m inim ized the potential fo r pallid sturgeon to be indirectly affected by th e HDD
installation across th e Missouri River and Lake Oahe. The only potential source fo r indirect impacts on
pallid sturgeon associated w ith the HDDs is an inadvertent release of non-toxic bentonite mud (used fo r
lubricating th e drill path) into the w aterbody. Dakota Access conducted geotechnical analyses at each of
th e proposed HDD crossings and designed the HDD to m inim ize the likelihood th a t the drilling mud is
inadvertently released. W hile th e likelihood o f an inadvertent release has been minimized to the
m aximum extent practicable, w ere it to occur, im plem entation o f Dakota Access' HDD Contingency Plan
w ould m inim ize any potential impacts on pallid sturgeon by quickly and efficiently containing and
rem oving th e released, non-toxic mud.

Dakota Access plans to w ith draw w a te r from the Missouri River fo r installation activities and hydrostatic
testing o f th e HDD segment fo r the Missouri River. However, potential impacts on the pallid sturgeon or
suitable habitat present w ith in th e Missouri River w ould be avoided by im plem enting the conditions fo r
perm itted intake structures outlined in th e Corps' Regional Conditions fo r North Dakota applicable to
NWP 12 U tility Line Activities (Corps, 2012) (see Section 3.2.1.2) and as described in th e USFWS Recovery
Plan fo r th e Pallid Sturgeon (USFWS, 2014f). No w ater w ithdraw al from or access to Lake Oahe is required
to com plete the Lake Oahe crossing. The HDD construction m ethod, application o f the HDD Contingency
Plan, and im plem entation o f the Corps' conditions fo r the intake structure w ith in the Missouri River w ould
avoid and minimize potential impacts to the pallid sturgeon.

M aintenance activities w ill not occur w ith in the Missouri River or Lake Oahe; therefore, no impacts on
pallid sturgeon w ould occur. The depth o f the pipeline below th e respective rivers and the design and



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operation measures th a t m eet or exceed the respective PHMSA regulations make a release into either
w aterbody extrem ely unlikely. However, in the unlikely event a leak or spill was to occur and reach the
Missouri River or Lake Oahe, impacts w ould be localized. If pallid sturgeon were present in th e area where
th e spill or leak occurred, they w ould likely relocate outside o f th e contam inated area. Further, oil floats
and, as pallid sturgeon are b ottom dwellers prim arily inhabiting th e low er w ater column (USFWS, 2014c),
impacts on pallid sturgeon in th e event o f a spill, w ould be minimal.

Based on th e avoidance and m inim ization measures, literature review, field investigations, and habitat
types present in the Project Area, USAGE has determ ined th a t the Proposed Action may affect, but is not
likely to adversely affect the pallid sturgeon.

3.5      Aquatic Resources

Under the "no action" alternative, Dakota Access w ould not construct the DAPL Project, and no impacts
on aquatic resources w ould occur. However, if the objectives o f th e DAPL Project are to be m et under the
"no action" alternative, other projects and activities w ould be required and these projects w ould result in
th e ir own impacts on aquatic resources, which w ould likely be sim ilar to or greater than th e proposed
DAPL Project. Impacts associated w ith a fu tu re project developed in response to th e "no action"
alternative are unknown, w hile only tem porary and m inor impacts, if any, on aquatic resources w ould
occur as a result o f the Proposed Action, as described in th e sections below.

3.5.1    Habitat and Communities

                 3.5.1.1    Affected Environment

W est o f W illiston, th e Missouri River is a braided channel varying in w id th from 800 feet to over 1,500
feet, w ith sand bars in many locations. The Yellowstone River confluence w ith the Missouri River is
approxim ately 20 miles west o f W illiston and 3.5 river miles upstream from the proposed Missouri
crossing. East o f W illiston, the Missouri River feeds into Lake Sakakawea, the th ird largest man-made lake
in the U.S. form ed by th e Garrison Dam, several hundred miles downstream . This portion o f th e Missouri
River is home to several fish species, including cu tth ro a t tro u t, rainbow tro u t, brown tro u t, walleye,
northern, and sauger. Am phibians are found along the shores and nearby riparian areas o f the Missouri
River. Common species found near the Missouri River crossing include W oodhouse's toad, the northern
leopard frog, and western chorus frog (Hoberg and Gause, 1992).

Lake Oahe is a 232-m ile-long reservoir th a t extends upriver from th e Oahe Dam on the Missouri River
fro m Pierre, South Dakota, to Bismarck, North Dakota. A pproxim ately three-quarters o f a mile south of
th e proposed pipeline crossing is the confluence o f the Cannonball River into the Missouri. This portion
o f the Missouri River is home to several fish species, including walleye, northern pike, and channel catfish.
Amphibians are found along the shores and nearby riparian areas o f Missouri River. Common species
found near th e Lake Oahe crossing include th e Great Plains toad, W oodhouse's toad, northern leopard
frog, and tig e r salamander (Hoberg and Gause, 1992).




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                  3.5.1.2   Impacts and Mitigation

The Missouri River, including Lake Oahe, is th e only w aterbody th a t w ould be crossed by the Proposed
Action w ith aquatic resources th a t have potential to be impacted by the Proposed Action.

All subsurface disturbing activities w ould be set back from the banks o f Lake Oahe at the HDD entry point.
This provides a b uffer o f undisturbed land between active construction and the Lake. There is potential,
although very low due to setbacks o f approxim ately 1,100 fe e t on th e west bank and 900 fe e t on the east
bank, fo r sedim ent to be transported from th e workspace into the river during precipitation events, which
could increase th e local tu rb id ity and sedim ent load in th e lake. These increased loads have potential to
te m p orarily affect sensitive fish eggs, fish fry, and invertebrates inhabiting the river. However, sediment
levels w ould quickly attenuate both over tim e and distance and w ould not adversely affect resident fish
populations or perm anently alter existing habitat. By also im plem enting the erosion and sedim ent control
measures specified in th e ECP (Appendix G) and SWPPP (Appendix A), the potential fo r sediment
tra nsp ort is likely avoided or minimized.           Following construction, the ROW w ould be restored,
revegetated, m aintained in an herbaceous or scrub-shrub state, and m onitored in accordance w ith
applicable regulations and p erm it conditions.

A successfully com pleted HDD crossing w ould m inim ize environm ental impacts on Lake Oahe since the
pipeline w ould be installed w ith o u t disturbing th e aquatic and benthic environm ents. However, crossings
via HDD carry a low risk o f an inadvertent release of drilling mud, composed prim arily o f bentonite (a
naturally occurring fine clay) slurry. Increased levels o f sedim entation and tu rb id ity from an inadvertent
release could adversely affect fish eggs, juvenile fish survival, benthic com m unity diversity and health, and
spawning habitat.      Dakota Access' HDD Construction/Contingency Plan (Appendix B) establishes
m onitoring procedures and prescribes measures to be im plem ented to m inimize th e impact in th e event
it occurs. All HDD operations conducted fo r crossing the Lake Oahe w ould adhere to th e HDD Contingency
Plan and applicable perm it conditions to reduce th e likelihood of an inadvertent release to m inimize and
m itigate environm ental impacts.          Dakota Access' construction contractor w ould ensure th a t the
appropriate response personnel and containm ent equipm ent are available onsite to effectively
im plem ent th e HDD Contingency Plan.

In addition to th e crossing o f Lake Oahe, aquatic resources could also be impacted during w ater
w ithdraw al fro m the Missouri River, which is required fo r activities associated w ith th e installation of HDD
and th e hydrostatic testing o f HDD pipeline segment located on the flowage easements. However, w ater
w ithdraw al activities w ould be conducted in accordance w ith all applicable perm it conditions and
regulations and in a m anner th a t w ould not reduce w ater flo w to a point th a t w ould im pair flo w or impact
aquatic life. Intake screens and floats w ould also be utilized, as previously discussed in Section 3.2.1.2, to
prevent entrainm en t o f aquatic life and avoid impacts on aquatic resources. In addition, by placing the
pum p w ith in a secondary containm ent structure on the barge, the potential fo r impacts on aquatic
resources associated w ith accidental fuel spills or leaks is likely avoided or minimized.

The prim ary issue related to impacts on th e aquatic environm ent from operation o f the Proposed Action
w ould be related to a release fro m th e pipeline. For portions o f th e pipeline installed beneath the lake,
th e depth o f th e pipeline profile, increased wall thickness o f the pipe, installation o f rem otely operated
valves on both sides o f the river crossing, and m onitoring o f th e system 24/7 w ould fu rth e r lim it the
potential fo r an inadvertent release into th e waterbody. As a result, operations activities are not



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anticipated to im pact aquatic resources or th e ir habitat. Adherence to th e Dakota Access FRP w ould
m inim ize potential impacts on aquatic w ild life from potential spills during th e operation o f th e pipeline.
In the event o f a leak, Dakota Access w ould w ork aggressively to contain the leak, initiate cleanup
activities, and contact th e appropriate authorities, including the Corps. The FRP is discussed under
Section 3.2.1.2 and a d ra ft o f th e FRP is included in Appendix L.

3.6      Land Use and Recreation

Under the "no action" alternative, Dakota Access w ould not construct the DAPL Project, and no impacts
on land use and recreation w ould occur. Flowever, if th e objectives of the DAPL Project are to be met
under the "no action" alternative, o the r projects and activities w ould be required and these projects
w ould result in th e ir own impacts on land use and recreation, which w ould likely be sim ilar to or greater
than th e DAPL Project. The impacts associated w ith a fu tu re project developed in response to the "no
action" alternative are unknown, w hile only tem porary and m inor impacts or insignificant perm anent
impacts on land use and recreation w ould occur as a result o f th e Proposed Action, as described in the
sections below.

3.6.1    Land Ownership

The proposed 24-inch pipeline w ould cross seven contiguous Corps flowage easements over eight
privately-ow ned parcels (Figure 2) th a t are associated w ith the Buford-Trenton-lrrigation District
(Garrison Dam). Based upon Corps-provided easement docum ents and mapping, th e distance across the
flow age easements on th e north side o f the Missouri River in W illiam s County is approxim ately 14,953
fe e t (2.83 miles).

The flow age easements allow the G overnm ent to flood and saturate th e land, surface, and subsurface of
these properties. Generally, these easements prohibit the construction o f structures fo r human
habitation; provide th a t any o the r structures require w ritte n approval by th e Corps; and provide th a t no
m ineral exploration, excavation or placem ent o f fill m aterial may occur on the easement area w ith o u t the
prio r approval o f the Corps.

The proposed pipeline route w ould also cross federal lands on th e east and west banks o f Lake Oahe in
M o rton and Emmons counties. The distance from the w estern boundary o f federally-ow ned lands to the
eastern boundary o f federally-ow ned lands on both sides of the lake, including the w id th of the lake, at
th e proposed crossing location is approxim ately 6,450 feet. The proposed pipeline w ould be routed to
parallel existing linear infrastructure (an overhead power line and a buried gas transm ission pipeline)
across Lake Oahe in th e same area. The FIDD entry and exit points, measuring approxim ately 200 by 250
feet, w ould be located on private lands, as w ould th e stringing corridor required to facilitate the
installation. The northern boundary o f the Standing Rock Sioux Reservation is located approxim ately 0.55
m ile south o f th e Lake Oahe Project Area.

Dakota Access is securing a 50-foot-w ide perm anent easement th a t is generally centered on the pipeline
(25 fee t on either side o f the centerline). W ithin th e 50-foot-w ide easement, a 30-foot corridor free of
large w oody vegetation, located w ith in flowage easement LL3440E on th e north bank o f the Missouri
River, w ould be required to allow fo r a clear line o f sight once construction is com pleted to perform visual
inspections during operation o f the pipeline. The corridor w ould be m aintained in a vegetative state.



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3.6.2    Land Use

                 3.6.2.1    Affected Environment

Land use w ith in th e Project Area was assigned a classification based on th e principal land characteristic in
a given area.        Aerial photography, th e National Land Cover Database (M ulti-Resolution Land
Characteristics Consortium, 2011), th e M orton County Zoning Map (M orton County, 2014), and the
W illiam s County Comprehensive Plan w ere used to identify and classify general land use fo r the Project
Area (Figures 10 and 11).

Agricultural Land

Agriculture is the prim ary land use w ith in th e Project Area. These lands are prim arily used fo r ranching
and cultivating crops. Agricultural lands allows fo r land uses such as farm ing, ranching, animal feeding
operations, grain storage, and related functions. Agricultural land w ith in the flowage easements are
prim arily pivot irrigated cropland (i.e., areas used fo r production o f annual crops such as corn and
soybeans).

Developed Land

Developed land includes open space around structures such as homes, farmsteads, outbuildings, well
sites, and areas associated w ith roads and ditches.

Open Space

Open space includes all land th a t is not agriculture or developed; namely wetlands, open water,
grasslands, and scrub-shrub. Open space is found prim arily along th e river banks. See sections 3.2 and
3.3 fo r a discussion on w a te r resources and vegetation.

                 3.6.2.2    Impacts and Mitigation

The Proposed Action w ould result prim arily in tem porary, short-term impacts on land use during
construction. Construction activities w ould require th e tem porary and short-term removal of existing
agricultural land from crop and forage production w ith in the construction fo o tp rin t. During construction,
tem porary impacts such as soil com paction and crop damage are possible along the construction ROW.
M itigation measures to m inim ize impacts such as topsoil segregation and decom paction practices w ould
be fu lly im plem ented in accordance w ith th e ECP and SWPPP. Upon the com pletion o f construction
activities, th e Project Area w ould be restored and returned to pre-construction land use.

As m entioned above, much o f th e cropland w ith in the Corps flow age easements uses pivot irrigation
systems. Dakota Access w ould coordinate w ith all landowners on acceptable methods fo r construction
and restoration, including potential impacts to irrigated fields. Compensatory damages w ould be paid
accordingly.

The nearest residence to the Proposed Action on the flow age easements is approxim ately 1,750 fe e t east
o f th e pipe centerline. Tem porary impacts on nearby residences could include inconvenience caused by




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noise and dust generated from construction equipm ent and tra ffic congestion associated w ith the
tra nsp ort of equipm ent, materials, and construction workers. Impacts from noise and dust during
construction w ould dim inish w ith distance from these areas and w ould be lim ited to th e tim e o f
construction which w ould typically occur during daylight hours.

The prim ary im pact on fam ily farm s w ould be th e loss o f standing crops and use o f the land w ith in the
w o rk area fo r th e seasons during which DAPL Project-related activities occur, as w ell as potential
dim inished yields fo r a few years fo llo w ing construction. Dakota Access proposes to im plem ent m itigation
measures to m inim ize these potential impacts as described in the ECP. Dakota Access w ould repair
surface drains and drainage tiles disturbed during ROW preparation, construction, and maintenance
activities. Dakota Access w ould repair or replace fences and gates removed or damaged as a result of
ROW preparation, construction, or maintenance activities.

A t Lake Oahe, prim ary im pact on ranching operations w ould be tem porary prohibition o f livestock grazing
in th e construction ROW, workspace areas, and restrictions on livestock m ovem ent across the
construction ROW and workspace areas during construction. Given the narrow, linear nature o f the DAPL
Project and the alignm ent o f the pipeline along property boundaries, livestock grazing reductions and
livestock m ovem ent restrictions w ould be m inor. Long-term or perm anent impacts on fam ily ranches are
not anticipated. Following construction and restoration, th e w ork area w ould be restored and ranching
w ould be allowed to continue over the operational ROW. Landowners w ould be compensated fo r
tem porary loss o f land and low er yields. Grazing activities w ould return to normal after Revegetation of
th e disturbed areas.

Once in operation, a perm anent 50-foot ROW w ould be m aintained except at segments o f the ROW above
th e HDD profile on th e flow age easements (between the HDD workspace and the river shore) th a t w ould
be m aintained by clearing w oody vegetation over a 30 fo o t corridor (a 50 fo o t easement w ould still be
obtained). M aintenance w ould include the removal o f any large trees and shrubs; agricultural land use
w ould not be impacted by maintenance activities in this area. Trees outside o f th e ROW w ould be
protected by Dakota Access in a m anner com patible w ith th e safe operation, maintenance, and inspection
o f th e pipeline. Applicable regulations w ould be adhered to regarding tree and shrub removal from along
th e route. Field surveys have confirm ed th a t no shelter belts w ould be impacted w ith in th e Project Area
or Connected Actions.

Tables 3-12 and 3-13 below detail the acreage o f land use impacts associated w ith the Proposed Action.


                                              Table 3-12
             Land Use Impacts on the Flowage Easements Project Area and Connected Action
                                            Construction Workspace
               Land Use                                                         Permanent ROW (acres) ^
                                                     (acres) ^
 Agricultural Land                                      54.0                                15.1
 Developed                                              1.6                                 0.8
 Open Space                                             6.0                                 2.0
                                 Total                  61.3                                17.9
 ^ Construction Workspace includes the permanent ROW.
 ^ Permanent ROW includes the 50-foot permanent easement and the 30-foot maintenance easement.



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                                             Table 3-13
               Land Use Impacts on the Federal Lands Project Area and Connected Action
                                                                                           Federal Lands -
                                   Construction             Connected Action -
           Land Use                                                                       Permanent ROW
                                 Workspace (acres)        Permanent ROW (acres)
                                                                                              (acres)^
 Agricultural Land                        0.0                        0.0                         0.1
 Open Space                              15.5                        1.1                         1.0
                         Total            15.5                         1.1                      1.2
 ^ Land Use Impacts on federal lands are limited to the maintained 50 foot permanent easement and do not
   include approximately 6.3 acres of permanent easement beneath the HDD profile within the banks of Lake
   Oahe.



Dakota Access w ould obtain and com ply w ith applicable state regulations, county perm its, and zoning and
land use regulations. Permits may include, but are not lim ited to, grade and fill permits, ditch crossing
perm its, road and u tility perm its, and conditional use perm its. Dakota Access w ould retain one or more
Els to m o nito r compliance w ith environm ental conditions of county permits.

3.6.3    Recreation and Special Interest Areas

                  3.6.3.1   Affected Environment

Generally, recreation and special interest areas include federal, state, or county parks and forests;
conservation lands; w ild life habitat management areas; hunter management areas; natural landmarks;
scenic byways; designated trails; recreational rivers; and campgrounds.             Nearby recreational
opportunities in th e vicinity of the Project Area and the Connected Action include W ildlife Managem ent
Areas (WMAs), Lake Oahe, and the Missouri River, none of which are being impacted by the construction,
although th e HDD w ould cross under Lake Oahe itself.

The Missouri River and its shoreline are open to th e public and used fo r recreational activities such as
boating, swimming, and fishing. Because th e flowage easements are federally regulated and privately
owned, there is very lim ited, if any, recreational opportunities w ith in the flow age easements.
A dditionally, th ere is little boating and open w ater angling on th e entire upper end o f Lake Sakakawea
because o f lack of access and extrem ely tu rb id w ater th rougho ut much o f th e recreational season (USAGE,
2007).

Lake Oahe's 2,250 m ile shoreline is open to the public and offers a variety o f opportunities to ou td o o r
recreationists such as fishing, swim m ing, sightseeing, camping, and picnicking. M ore than 1.5 m illion
visitors enjoy Lake Oahe's recreation facilities each year. Fishing is the m ajor recreational activity of
visitors to th e Oahe project, w ith 44% o f visitors engaging in this activity (USAGE, 2010c).

There are no public boat access sites, marinas, or public swim m ing beaches w ith in one mile of the flowage
easements or federal lands crossings. There are no designated state parks or recreation areas, historic




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trails, scenic by-ways, designated wilderness or natural areas or o ther sensitive land uses th a t w ould be
affected by the crossings (North Dakota Parks and Recreation Departm ent, 2014).

A t th e flow age easement crossing, the closest N ationwide Rivers Inventory (NRI) segment is a one mile
stretch o f the Missouri River w ith in the Fort Union Trading Post National Historic Site, which is about 9.2
river miles upstream fro m th e crossing. At th e federal lands crossing, th e closest NRI segment is Square
Butte Creek to the O liver/M ercer County Line, which is about 50 river miles upstream from the Project
Area (National Park Service, 2009).

N orth Dakota has approxim ately 54,373 miles o f river, but no designated w ild & scenic rivers (USFWS et
al., 2014).

W ildlife Management Areas

The North Dakota Game and Fish D epartm ent manages th e Trenton and Overlook W MAs; neither of which
are crossed by the Proposed Action. The Trenton W M A encompasses 2,647 acres and is located
southw est of W illiston near Trenton, along th e Missouri River and Lake Sakakawea. A bout 13.55 acres o f
th e Trenton W M A extends into the eastern portion o f flowage easement LL3440E (Figure 6) but the
closest edge is approxim ately 800 fee t from th e HDD workspace. This area is largely prim itive and the
landscape has been allowed to develop naturally. The W M A provides recreational opportunities fo r
fishing and hunting w aterfow l, deer, and pheasants. The Overlook W M A encompasses 32 acres and is
located 6.5 miles north o f Cartw right, about 1,430 feet w est o f th e HDD entry point in McKenzie County.
The Overlook W M A is only accessible by boat and is used fo r hunting deer.

The Oahe W M A is located along Missouri River and Oahe Reservoir, about 17 miles south o f Bismarck
(USGS, 2014b). The proposed pipeline at th e Lake Oahe crossing is about 14.5 miles south of the Oahe
W MA.

W ater Quality and Recreation

Section 303(d) o f th e CWA requires states to subm it th e ir lists o f w ater quality lim ited waterbodies. This
list has become known as th e "TMDL list" or "Section 303(d) list." A TMDL is th e am ount of a particular
po lluta n t a stream, lake, estuary, or o ther w aterbody can "handle" w ith o u t violating State w ater quality
standards. The final 2014 Section 303(d) list, which was subm itted to Environm ental Protection Agency
(EPA) as part o f th e integrated Section 305(b) w ater quality assessment report and Section 303(d) TMDL
list, includes a list of waterbodies not m eeting w ater quality standards and those fo r which a TMDL is
needed.

Lake Sakakawea is on th e 2014 Section 303(d) list o f impaired waters as not supporting fish consum ption
because o f high levels o f m ethyl-m ercury; however. Lake Sakakawea w ould not be crossed or otherwise
impacted as a result o f the Proposed Action on th e flowage easements. Lake Oahe is not listed as needing
a TMDL and fu lly supports recreational use (North Dakota Departm ent o f Health, 2015). Because Lake
Oahe already meets the state w a ter quality standards, the Proposed and Connected Action Areas are not
anticipated to result in impacts th a t w ould cause an im pairm ent o f w ater quality or the designated use of
Lake Oahe.




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Wilderness Areas

The Wilderness Act o f 1964 defines wilderness as lands th a t may contain ecological, geological, scientific,
educational, scenic or historical value. There are three designated wilderness areas w ith in North Dakota:
Chase Lake, Lostwood, and Theodore Roosevelt Wilderness Areas. There are no designated wilderness
areas, and no designated Nature Preserves or Natural Areas w ith in one mile o f either crossing (Wilderness
Institute, 2014).

Standing Rock Sioux Reservation

The Standing Rock Sioux Reservation is situated at the border o f South Dakota and North Dakota,
approxim ately 0.55 miles south o f the Lake Oahe Project Area. The Cannon Ball River is located along the
northern border o f th e Standing Rock Sioux Reservation in Sioux County, North Dakota. The western
border o f th e reservation ends at th e Perkins County, South Dakota and Adams County, North Dakota
lines, w hile th e Missouri River is the eastern border o f th e reservation. The southern border o f the
reservation is located w ith in Dewey and Ziebach counties in South Dakota. The to ta l land area o f the
Standing Rock Sioux Reservation is 2.3 m illion acres and o f that, 1,408,061 m illion is trib a lly owned. The
Standing Rock Sioux Tribal members are descendants o f the Teton and Yankton Bands o f the
Lakota/Dakota Nations (Standing Rock Sioux Tribe, 2016). Some o f the many attractions w ith in the
reservation include Sitting Bull Grave Site, Standing Rock M onum ent, Fort Manuel, Lewis and Clark Legacy
Trail, and th e Standing Rock Tribal Office (Standing Rock Tourism, 2016). The terrain o f the reservation
consists o f river valleys, lakes, woodlands, prairies, and rolling hills. Big game on th e reservation includes
w h ite tail deer, m ule deer and antelope, w hile small game includes jackrabbit, cottontail, and squirrel
(Standing Rock Sioux Tribe and Standing Rock Sioux Tribe Game & Fish Departm ent, 2016).

                  3.6.3.2   Impacts and Mitigation

The recreational enjoym ent o f w ild life (such as hunting or bird watching) may be tem porarily affected by
construction activities, depending on season and location. Flowever, this effect w ould be short-term .

Recreationists may observe ROW clearing along the river banks. Because the pipeline w ould cross
underneath the river via the FIDD m ethod, there w ould be no disruption to the course or cross-current of
th e river, and w ould not im pact lake/river recreationists.

3.7     Cultural and Historic Resources and Native American Consultations

Section 106 o f the National Historic Preservation Act o f 1966 (NHPA), as amended, and im plem ented by
36 CFR Part 800, requires Federal lead agencies to assess th e effects o f perm itted actions on historic
properties. Historic properties are defined in th e NHPA as prehistoric and historic archaeological sites,
standing structures, or o the r historic resources listed in, or eligible fo r listing in the National Register o f
Historic Places (NRHP).

Under th e "no action" alternative, Dakota Access w ould not construct the DAPL Project and no impacts
on cultural and historic resources w ould occur. However, If th e objectives o f the DAPL Project are to be
m et under th e "no action" alternative, o ther projects and activities w ould be required and these projects
could result in th e ir own impacts on cultural and historic resources, which w ould likely be sim ilar to or



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greater than th e DAPL Project. The "no action" alternative w ould likely result in an increase in truck and
rail tra ffic th a t could have an adverse effect on cultural, historic and Native American resources.
Furtherm ore, impacts to resources associated w ith these methods may not be identified and evaluated
because th e protections afforded under Section 106 o f th e NHPA w ould not apply unless a federal perm it
w ere to be required.

3.7.1    Cultural Resources Studies

The scope o f the cultural resource analysis was designed to be com m ensurate w ith th e Proposed Action.
The Proposed Action is to authorize th e crossing o f federal flow age easements near the upper end o f Lake
Sakakawea north o f the Missouri River in W illiam s County, North Dakota and federally owned lands at
Lake Oahe in M orton and Emmons counties. North Dakota.

The cultural resource inform ation fo r th e Project Area, and fo r areas in th e vicinity o f th e Proposed Action
(to provide context) was obtained through a com bination o f cultural resources investigations
commissioned by Dakota Access on private lands w ith in a 400-foot-w ide linear corridor as defined by the
DAPL centerline and previous cultural investigations conducted on private lands adjacent to the Proposed
Action area, and previous cultural investigations conducted on federal lands.             New cultural resources
investigations w ere not conducted on federal lands as part o f the Proposed Action, as no impacts are
anticipated to occur on federal lands.

Based on data com piled fro m previously executed archaeological investigations, it is recognized th a t much
o f th e region has been inhabited by human populations fo r approxim ately 12,000 years. Throughout
much o f the state the recorded prehistoric occupations range from Paleoindian Period encampments to
Late Prehistoric Period sites. M ultip le sites have been explored th a t suggest th e area was inhabited by
societies adapted fo r lifestyles on th e Plains and in the various geographical regions of th e state dating
back to 6000 BC. The current Project Area has a m oderate to high probability fo r archaeological deposits
based on proxim ity to perm anent w a ter sources, topography, lack o f significant ground disturbances, and
depositional processes.

                  3.7.1.1   Affected Environment

Flowage Easements, Williams County, North Dakota

The Missouri River is a large perennial river th a t serves as the border between W illiam s and McKenzie
counties. North Dakota. The flow age easements consist o f a series o f expansive agricultural fields located
on the northern side of the River. W hile th e individual tracts are privately owned, the USAGE maintains
easement rights across these tracts to facilitate flo o d w a te r control th ro u g h o u t the region. The DAPL
Project proposes to traverse certain sections of these easements, and install th e pipeline via HDD under
th e Missouri River. As these tracts are federally managed, cultural resources investigations were
conducted in accordance w ith Section 106 o f the NHPA, and in compliance w ith th e North Dakota State
Historic Preservation Office (NDSHPO) Guidelines Manual fo r Cultural Resources Inventory Projects
(SHSND, 2012). Specifically, th e cultural resources investigations were confined to a 400-foot-w ide linear
corridor (survey corridor), as defined by the DAPL centerline. Prior to field investigations, a Class I
lite ra tu re and records search was conducted w ith in an expanded study area corridor, which extended fo r
a m ile on either side o f the DAPL centerline. The Class I literature review determ ined th a t th e DAPL survey



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corridor traverses one previously recorded site (32WI1367), and th a t portions of the DAPL survey corridor
have been subject to previous surveys (Larson et al. 1987). Site 32WI1367, also known as the Buford-
Trenton Irrigation System (BTIS), is a National Register nom inated cultural resource consisting o f a
pum ping plant, main canal, and associated irrigation components. The BUS construction began in 1940
and continued through the 1950's managed by the D epartm ent o f Interior, W ork Progress A dm inistration,
and th e Farm Security A dm inistration. The DAPL survey corridor traverses one o f th e extant irrigation
canals listed as a contributing elem ent o f the BTIS in the northeastern corner o f Section 30 of Township
152 North, Range 103 West.

The Class ll/lll inventory investigations w ith in the DAPL survey corridor across the flow age easements
consisted o f a com bination o f pedestrian surveys and shovel probing. Archaeologists walked along fixed
transects spaced 30 m (98 ft.) apart w ith in the survey corridor, and systematically excavated shovel probes
across high probability settings, or in areas w ith low surface visibility. The Class ll/lll investigations
resulted in th e revisit o f the portion o f Site 32WI1367 w ith in the survey corridor, and the docum entation
o f a new prehistoric site (32MZ2874) located on the southern banks o f the Missouri River (Appendix I).
The assessment o f site 32W I1367 consisted o f mapping and docum entation o f the canal feature. No
artifacts, evidence o f features, or o th er undocumented components were noted. Dakota Access has
designed an HDD to install the pipeline below this canal feature. Additionally, th e HDD workspace w ould
be off-set a sufficient distance to ensure th a t no com ponents or associated features o f this canal w ould
be adversely impacted.

As site 32MZ2874 is located on the southern banks o f the Missouri River, it is not located on USACE-
managed flow age easement tracts. However, the site is referenced herein given its proxim ity to the
workspace associated w ith HDD o f the Missouri River. Site 32MZ2874 is a small prehistoric a rtifact scatter
th a t is recom m ended as unevaluated fo r listing in the NRHP pending fu rth e r testing investigations. The
HDD workspace on the southern banks o f th e Missouri River has been designed to avoid im pacting this
site and is situated beyond th e mapped site boundary. Exclusionary fencing w ould be installed along the
eastern border o f th e HDD workspace during drilling activities to prevent inadvertent impacts or
trespassing.

Federal Lands - Lake Oahe Crossing: Morton and Emmons Counties, North Dakota

The proposed crossing o f federally-ow ned tracts at Lake Oahe is located in Section 10, Township 134
North, Range 79 W est in M orto n County, North Dakota, and Section 11, Township 134 North, Range 79
W est in Emmons County, North Dakota (see Figure 3). Dakota Access proposes to install the pipeline via
HDD below Lake Oahe, and th e HDD entry and exit point workspaces and stringing area w ould be located
on private land beyond the boundary o f the federal lands. W hile no activities associated w ith the
Proposed Action w ill occur on th e surface of federal lands, the HDD entry and exit point workspaces and
stringing areas are considered Connected Actions, and as such w ere subject to cultural resources
investigations in accordance w ith Section 106 o f the NHPA, and in compliance w ith th e NDSHPO
Guidelines (SHSND, 2012). No new cultural resources investigations of any kind w ere conducted on
federal lands in association w ith th e DAPL project as no impacts are anticipated to occur between the
HDD workspaces on either side o f Lake Oahe. However, previous cultural resource surveys o f USACE
managed lands are cited in the report; Dakota Access Pipeline Project, Class ll/lll Cultural Resources
Inventory o f th e Crossings o f Flowage Easements and Federal Lands. Prepared collaboratively fo r Dakota
Access, LLC in March of 2016 (Landt and McCord 2016). This report is contained in Appendix I.



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Prior to field investigations, a Class I literature and records search was conducted w ith in an expanded
study area corridor, which extended fo r a mile on either side of the DAPL centerline. The Class I literature
review determ ined th a t no previously recorded sites are located on the private lands w ith in the
Connected Action areas (i.e., HDD workspaces and stringing area). A to ta l o f 43 previously recorded
cultural resources are located w ith in th e study area corridor. Of these, 18 are located in M orton County
and th e rem aining 25 are located in Emmons County. These consist o f isolated finds and site leads (i.e.,
resources reported to the SHSND w ith o u t field verification), prehistoric artifact scatters, and historic
resources. A to ta l o f 10 o f the previously recorded sites w ith in th e study area corridor are located on
federal lands directly adjacent to the banks o f Lake Oahe and the Cannonball River. Specifically, seven o f
these sites (32M 00001, 32MOx0004, 32M 00054, 32M 00060, 32M 00061, 32M 00064, and 32MO0259)
are located in M orton County, on the w estern side of the Lake Oahe. The remaining three sites
(32EM0019, 32EM0021, and 32EM0221) are located in Emmons County, on th e eastern side of Lake Oahe.
A m ore comprehensive discussion o f these sites and associated mapping detail is provided in Appendix I.

The Class ll/lll inventory investigations at Lake Oahe to o k place exclusively w ith in the Connected Action
areas located on private lands beyond the lim its federal lands (i.e., HDD workspaces and stringing area).
The Class ll/lll inventory investigations w ith in th e Connected Action areas associated w ith th e Lake Oahe
crossing consisted o f a com bination o f pedestrian surveys and shovel probing. Archaeologists walked
along fixed transects spaced 30 m (98 ft.) apart w ith in the survey corridor, and systematically excavated
shovel probes across high probability settings, or in areas w ith low surface visibility. The Class ll/lll
investigations w ith in the Connected Action areas resulted in the docum entation o f one new
archaeological site (32MO570). This site consists o f a singular lithic flake in isolated contexts and is
recom m ended as not eligible fo r listing in the NRHP and no fu rth e r w ork is w arranted.

                 3.7.1.2   Impacts and Mitigation

The impacts a ttrib uta ble to the HDD on cultural resources w ould not be significant. The geotechnical
analysis perform ed to support the HDD crossings supports the lack of anticipated impacts due to
vibrations related to construction and HDD activities. Vibrations produced during th e HDD process are
not o f a m agnitude th a t w ould cause any impacts to cultural resources. Vibrations associated w ith the
drilling process w ould be lim ited to the im m ediate vicinity o f th e drilling equipm ent on the surface and
downhole. The vibrations produced from the downhole tooling are o f a very low m agnitude and are
attenuated very quickly by the fo rm atio n such th a t vibrations are never fe lt at the surface. A vibration
m onitoring analysis conducted by GeoEngineers in 2009 found th a t peak particle velocities were less than
0.07 inches/second w ith in approxim ately 50 feet o f HDD operations. These velocities are well below th a t
which w ould cause any structural impacts and moreover, th e recorded vibrations were, in fact,
im perceptible to human senses (GeoEngineers, 2009).

Flowage Easements

Dakota Access has conducted Class ll/lll inventory surveys w ith in th e 400-foot-w ide survey corridor across
th e flowage easements. The survey investigations resulted in the revisit o f site 32WI1367 on the northern
side of the Missouri River, and th e docum entation of site 32MZ2874 on the southern banks o f the Missouri
River. Impacts to site 32W I1367 w ould be avoided via HDD to ensure the integrity o f construction design
fo r these historic-age features is preserved. Additionally, no impacts to site 32MZ2874 are anticipated to
occur as the HDD workspace is located beyond the site boundaries.                        These management



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recom m endations have been included as viable avoidance options in th e Class ll/lll report subm itted to
th e USACE regional archaeological staff. A m ore thorough discussion o f the cultural setting, relevant
previous studies, as w ell as geologic and geom orphic analysis of th e region, and results of th e current
survey w ith associated mapping detail can be referenced in Appendix I.

Federal Lands

Dakota Access has conducted Class ll/lll inventory surveys w ith in the Connected Action areas on private
lands associated w ith the Lake Oahe crossing. These investigations resulted in the docum entation o f one
prehistoric site consisting o f a singular lithic artifact (32MO570). This site is recom mended as not eligible
fo r listing in th e NRHP. No additional cultural resources w ere docum ented w ith in th e Connected Action
areas associated w ith th e Lake Oahe crossing. W hile the Class I background review determ ined th a t eight
previously recorded sites are located on federal lands, no evidence o f these sites was encountered w ithin
th e Connected Action areas on private lands.

Dakota Access' UDP was developed (Appendix F) fo r use during all DAPL Project construction activities
regardless o f jurisdiction or landownership. The UDP describes actions th a t w ould take place in th e event
th a t an undocum ented cultural resource site is discovered during construction activities. The UDP
explicitly calls fo r w ork to stop until the correct a u thority or agency can be contacted and th e find can be
properly evaluated.

3.7.2    Native American Consultations

The 2004 Program m atic Agreem ent fo r the Operation and M anagem ent o f the Missouri River Main Stem
System fo r Compliance w ith the National Historic Preservation Act, as amended, (PA) was developed to
address challenges associated w ith cultural and historic resource impacts involved w ith th e ongoing
operation and maintenance o f the Missouri River system o f main stem dams. This agreem ent outlines
th e processes through which affected Tribes, agencies and interested parties are consulted by th e Corps
on issues th a t may affect im p o rtan t historic and cultural resources. These processes are essential to fu lfill
th e Corps' Tribal Trust Responsibilities and also comply w ith Section 106 of the NHPA.

The United States D epartm ent o f Defense recognizes its tru s t responsibilities to federally recognized
Indian Tribes and has established an American Indian and Native Alaskan Trust policy th a t directs its
agencies, including th e Corps, to w ork w ith Tribes in a manner th a t incorporates tribal needs, traditional
resources, stewardship practices, and the developm ent o f viable working relationships. In addition, EO
13175, Consultation and Coordination w ith Indian Tribal Governments (EO 13175), outlines policy and
criteria regarding th e establishm ent o f "regular and meaningful consultation and collaboration w ith tribal
officials in the developm ent o f Federal policies th a t have tribal implications, and are responsible fo r
strengthening the governm ent-to-governm ent relationship between the United States and Indian tribes"
(https://w w w .w hiteh ouse.gov/the-press-office/m em orandum -tribal-consultation-signed-president).

EO 13175 continues w ith the follow ing; "H istory has shown th a t failure to include the voices o f tribal
officials in form u latin g policy affecting th e ir com m unities has all to o often led to undesirable and, attim es,
devastating and tragic results. By contrast, m eaningful dialogue between Federal officials and tribal
officials has greatly im proved Federal policy tow ard Indian tribes. Consultation is a critical ingredient o f a




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sound and productive Federal-tribal relationship". These concepts are reflected in th e Omaha District's
PA/Section 106 coordinatio n/consultation process.

Section 106 coordination/consultation was initiated fo r th e Proposed Action beginning in October 2014,
w ith an inform ation le tte r regarding a prelim inary geo-testing o f th e proposed Oahe crossing alignm ent.
Per th e Omaha District's usual process, this le tte r was sent to Tribes, THPOs, SHPOs, agencies and
interested parties, soliciting inform ation relevant to the Proposed Action. Subsequently, the same
process was utilized in circulating inform ation and pertinent data fo r the installation o f the Oahe pipeline
crossing, in the form o f a le tte r distributed in July 2015. The USACE recom mended a "No Historic
Properties Subject to Effect" D eterm ination to the North Dakota SHPO and th e SHPO concurred on April
22, 2016.

3.8      Social and Economic Conditions

Under th e "no action" alternative, Dakota Access w ould not construct th e DAPL Project and no impacts
on social and economic conditions w ould occur. Although th e impacts associated w ith a fu tu re project
developed in response to the "no action" alternative are unknown, if the objectives o f the DAPL Project
are to be m et under the "no action" alternative, o ther projects and activities w ould likely be required (e.g.
transportation o f oil by tru ck or rail). A lternative shipping methods w ould likely result in th e ir own impacts
on social and economic conditions, such as increases in vehicular accidents and personal injury, worsening
tra ffic congestion, and increased infrastructure deterioration.

The overall DAPL Project is a $3.78 billion dollar investm ent directly im pacting th e local, regional, and
national labor force by creating nearly 12,000 construction jobs. Dakota Access has publically com m itted
to utilizing American labor to build the pipeline. Dakota Access has team ed up w ith th e various craft and
labor unions in th e DAPL Project regions and nationally to ensure th e DAPL Project is constructed by highly
qualified and experienced local and regional labor resources. These construction jobs w ould create
considerable labor income and state income tax revenue - including the generation o f m ore than $13.4
m illion in ad valorem taxes. Upon authorization, the DAPL Project w ould put welders, mechanics,
electricians, pipefitters, heavy equipm ent operators, and others w ith in the heavy construction industry to
w ork.

3.8.1    Demographics, Employment, Income and Economic Justice

                  3.8.1.1    Affected Environment

The Proposed Action at the flow age easements and th e Missouri River are in McKenzie County and
W illiam s County. The tw o census tracts (CT) crossed are CT9625 and CT 9535, respectively. Demographic
inform ation including population, income, and em ploym ent statistics fo r these census tracts, counties in
th e general geographic area, and the state o f North Dakota are provided in Table 3-14. The industries
em ploying the greatest num ber of persons in these census tracts is agriculture follow ed by educational
services health care and social assistance fields; and construction.

A t the Lake Oahe crossing, tw o Census tracts are crossed, CT9665 in Emmons County and CT204 in M orton
County. Demographic inform ation including population, income, and em ploym ent statistics fo r these
census tracts, counties, and the state o f North Dakota are provided in Table 3-15. The to p three industries



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providing em ploym ent in Emmons County are agriculture follow ed by educational services, health care
and social assistance fields, and then construction. Educational services, health care and social assistance
are th e leading industry employers in CT204 in M orton County follow ed by agriculture and retail trade.
Although not directly affected by the Proposed Action or Connected Action Areas, Sioux County borders
th e Missouri River to the w est and is south of the Lake Oahe crossing point. Due to proxim ity of this
county to th e project, it has been incorporated as part o f the geographical area fo r the county baseline
data fo r analysis purposes relating to the Lake Oahe crossing.

                 3.8.1.2    Impacts and Mitigation

The Proposed Action is assumed to have a short construction w indow w ith a small num ber of construction
w orkers dedicated to these crossings. It is possible th a t counties w ith in the general Project Area
(McKenzie, W illiams, M orton, Emmons, and Sioux) could experience short-term tem porary effects to the
local econom y through induced spending from construction employees working on th e crossing. No
residential homes or farm s w ould be relocated resulting fro m the proposed action. Additionally, no
dem ographic changes in th e Census tracts affected or the counties representing in th e geographical area
are anticipated because no perm anent em ploym ent w ould be created as a result o f the Proposed Action.

The DAPL Project also has trem endous secondary and sustainable economic benefits to th e United States
by supporting energy independence, increasing em ploym ent opportunities, and adding to demand in
many m anufacturing sectors, which w ould be a boost to the overall economy. W hen considering the
economic impact and benefit, once U.S. workers are em ployed on the DAPL Project, consistent w ith most
infrastructure projects, th e w orkers w ould spend th e ir earnings in th e com m unities w here they w ork and
live, resulting in m ultiplied economic impacts th a t w ould be nearly $5 billion ju st during th e construction
phase. This economic im pact w ould affect m anufacturing in many dom estic sectors such as the follow ing
examples. It results in new vehicles being purchased, which positively impacts the auto industry. It w ould
result in new homes being built, which improves and increases the housing construction, resale, and
lending business located in th e region and across the U.S. It impacts the food industry by requiring m ore
food services and products to be delivered and consumed in the DAPL Project region. And it delivers
abundant American energy to U.S. markets, thereby enhancing supply. The list could continue w ith a
description o f many secondary benefits, but in summary, th e economic impact to the U.S. as w ell as the
im m ediate region w here the pipeline is located is considerable.




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                                                             Table 3-14
            M inority and Low income Popuiation Statistics for the Flowage Easements Project Area and Connected Action
                                                                                        Percent
                                                                                       Native
                                                                 Am.
                                                                                      Hawaiian                                   Persons
                            Total                    Black or   Indian                            Some    Two or     Total
   Geographic Area                                                                      and                                     Below the
                          Population       W hite    African     and      Asian                   Other   More      Minority
                                                                                       Other                                     Poverty
                                                       Am.      Alaska                            Race    Races    Population
                                                                                       Pacific                                    Level
                                                                Native
                                                                                      Islander
state
 North Dakota               704,925         89.20      1.53      5.25      1.15         0.04      0.73     2.10      10.80        11.9
Counties W ithin Baseline Analysis (Baseline Area)
 McKenzie                    8,333          78.98     0.22      17.16     0.60          0.00      1.04     2.00      21.02        14.6
Williams                     27,066         90.76      1.12      4.16     0.55          0.03      1.27     2.12       9.24         8.2
Average                      17,700        84.87      0.67      10.66     0.58          0.01      1.16     2.06      15.13        11.40
Proposed Action Area
CT9625                        1,522         97.50     0.00       1.05     0.20          0.00      0.53     0.72       2.5          5.8
CT9535                        1,708         74.41     0.47      17.15     0.00          0.00      0.00     7.96      25.59         7.7
Average                      1,615         85.96      0.23       9.10     0.10          0.00      0.26     4.34      14.04        6.75
State Comparison to Proposed Action Area
 Proposed Action            -703,310        -3.24     -1.30      3.86     -1.05         -0.04     -0.46    2.24       3.24        -5.15
County Comparison to Proposed Action Area
 Proposed Action            -16,085         1.09      -0.43     -1.56     -0.48        -0.01      -0.89    2.28      -1.09        -4.65

Source: U.S. Census Bureau, American Community Survey (2010-2014 5-year estimates).
Note: totals may not sum across the table due to rounding used in data collection.




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                                                               Table 3-15
                                M inority and Low income Population Statistics for Federal Lands Project Area
                                                                                     Percent
                                                         Am.                Native
  Geographic        Total                    Blacker    Indian            Hawaiian        Some       Two or                    Persons Below
                                                                                                              Total Minority
     Area         Population       W hite    African    and       Asian   and Other       Other       More                      the Poverty
                                                                                                               Population
                                               Am.     Alaska                Pacific       Race       Races                        Level
                                                       Native               Islander
 state
 North Dakota       704,925         89.20      1.53      5.25     1.15        0.04         0.73       2.10        10.80            11.9
 Counties W ithin Baseline Analysis (Baseline Area)
 Morton              27,439         93.98      0.50      3.70     0.20        0.00         0.50       1.30         6.20             8.7
 Emmons               3,491         99.28      0.00      0.23     0.17        0.00         0.00       0.32         0.72            13.5
 Sioux                4,317         13.67      0.02     82.26     0.25        0.07         0.53       3.20        86.33            36.4
 Average             15,465        68.98       0.17     28.73     0.21        0.02         0.34       1.60        31.08            58.6
 Proposed Action Area
 CT204                3,143         96.5         0       1.4        0          0               0.8     1.3         3.5              4.4
 CT9665               3,491         99.3         0       0.2       0.2         0               0       0.3         0.7             13.5
 Average              3,317        97.88       0.00      0.83     0.09        0.00         0.40       0.81         2.12            8.95
 State Comparison to Proposed Action Area
 Proposed
                    -701,608        8.68       -1.53    -4.42     -1.07      -0.04         -0.33      -1.29       -8.68            49.65
 Action
 Baseline Area Comparison to Proposed Action Area
 Proposed
                     -12,148        28.90      -0.17    -27.90    -0.12      -0.02         0.05       -0.79       -28.96           -2.95
 Action
 Source: U.S. Census Bureau, American Community Survey (2010-2014 5-year estimates).
 Note: totals may not sum across the table due to rounding used in data collection.




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3.9      Environmental Justice

EO 12898, Federal Actions to Address Environm ental Justice in M in o rity Populations and Low-income
Populations, requires federal agencies to identify and address disproportionately high and adverse human
health or environm ental o f th e ir programs and policies on m inority and low-incom e populations and
com m unities and Indian tribes. The CEQguidance suggests th a t an environm ental justice population may
be identified if "th e m in o rity population percentage of th e affected area exceeds 50%, or if the m inority
population percentage o f the affected area is m eaningfully greater than the m in o rity population in the
general population or other appropriate unit o f geographic analysis" (CEQ, 1997). The CEQ defines low-
income populations based on an annual statistical poverty threshold. In 2013, the poverty threshold fo r
th e 48 contiguous states fo r an individual under th e age o f 65 living alone was $12,119 (U.S. Census
Bureau, 2014).

Under th e "no action" alternative, Dakota Access w ould not construct the proposed Project and no
environm ental justice impacts w ould occur. However, If th e objectives of th e Project are to be m et under
th e "no action" alternative, o th e r projects and activities w ould be required and these projects could result
in th e ir own environm ental injustice impacts, which w ould likely be sim ilar to or greater than the proposed
Project. It is reasonable to assume th a t alternative methods of crude oil transportation w ould be relied
on to m eet m arket demands. M in o rity or low income com m unities along utilized rail lines or truck routes
could be affected by increasing noise and creating transportation delays due to the substantial increasing
truck tra ffic on county, state and interstate highways as w ell as rail tra ffic across railroad crossings.

3.9.1    Affected Environment

Transportation projects, such as under th e Federal Transit A dm inistration, and natural gas pipeline
projects under the Federal Energy Regulatory Commission (e.g. Docket Nos. CP12-507-000 and CP12-508-
000, DOE FE 12-97-LNG, and FERC/EIS-0252F), typically use a 0.5 mile buffer area to examine
Environmental Justice effects. The census tracts crossed by the Proposed Action encompass an area
greater than 0.5 m ile radius fo r th e project; therefore additional census tracts w ere not evaluated.

Since tw o census tracts are w ith in 0.5 mile o f th e Flowage Easements at the Missouri River, and another
tw o census tracts are located w ith in 0.5 mile o f the federal lands at Lake Oahe, an average of the
dem ographic data from tw o respective census tracts was compared to the average demographic data of
th e counties in the general vicinity o f each crossing as well as th e state o f North Dakota dem ographic data.

For th e Flowage easements and Missouri River crossing, which are generally centrally located w ithin
McKenzie and W illiam s Counties, the averaged data from those tw o counties was used to obtain the
Baseline Area data set.

Lake Oahe crossing is generally centrally located w ith in Emmons County on th e east side o f the Lake,
how ever it is near the southern boundary o f M orton County. Therefore Sioux County (located greater
than 0.5 miles) was included in the geographical area o f the Lake Oahe. Thus M orton, Emmons, and Sioux
county data was averaged to obtain the Baseline Area data set.




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3.9.2    Impacts and Mitigation

For analyzing impacts to the m in o rity and low income populations at th e Proposed Action Area at the
flow age easements and Missouri River Crossing, Census Tracts CT9625 and CT9535 were compared to the
averaged county baseline (McKenzie and W illiam s Counties - "Baseline Area") data and then to th e state
data to determ ine if there w ere any siting concerns relative to Environmental Justice.

The m ino rity population o f the Proposed Action Area at th e Missouri River is greater than th e state as a
w hole (3% greater) but low er than surrounding county geographical area (1% lower). N either of these
differences is considered meaningful.

The percentage o f the population below th e poverty level fo r th e Proposed Action Area at the Missouri
River is 5% low er than th e state as a w hole and also 5% low er than surrounding county geographical area.
These differences are not considered m eaningful.

For analyzing impacts to the m ino rity and low income populations at the Lake Oahe Crossings, data fo r
th e averaged Census Tracts (CT204 and CT9665) was compared to the averaged county baseline (M orton,
Emmons and Sioux - "Baseline Area") fo r the county geographical area (M orton, Emmons, and Sioux
Counties - "Baseline Area") data and then to th e state to determ ine if there w ere any siting concerns
relative to Environmental Justice.

Based on this analysis, th e m in o rity population o f the Proposed Action Area at Lake Oahe is low er than
th e state as a w hole (9% lower). Although th e average m inority population o f the counties geographical
baseline is greater than the state as a w hole, the m in o rity population in th e averaged census tra c t of the
Proposed Action Area at Lake Oahe is much low er than surrounding county geographical area. In this
case, the census tracts associated w ith the Proposed Action Area at Lake Oahe have a m eaningfully low er
m in ority percentage (29% lower) than th e Baseline Area consisting o f th e three county area.

No appreciable m ino rity or low -incom e populations exist w ith in th e Census tracts directly affected by the
Proposed Action at either crossing (Tables 3-14 and 3-15). No local com m unity w ith appreciable m inority
or low -incom e populations exists at either the crossing o f federal lands or flowage easements (Tables 3-
14 and 3-15). Based on this analysis, there is no concern regarding environm ental justice to m inority
populations at the Proposed Action Area at th e Missouri River Crossing or at Lake Oahe.

                 3.9.2.1    Standing Rock Sioux Reservation

It is recognized th a t th e Standing Rock Sioux Tribe is downstream o f the Lake Oahe Crossing, which has a
high population o f m inorities and low -incom e residents. Dakota Access and the Corps sought to engage
Tribal representatives in th e vicinity o f th e Proposed Action, and especially the Standing Rock Sioux Tribe,
in discussion as to the nature o f the Project, cultural resource concerns and th e Lake Oahe crossing. The
initial contact by Dakota Access w ith the Standing Rock Sioux Tribe was in October o f 2014 w ith additional
contacts and subsequent meetings occurring through March 2016. Direct and Indirect impacts from the
Proposed and Connected Actions w ill not affect members o f the Standing Rock Sioux Tribe or the Tribal
reservation. The Lake Oahe crossing w ill be installed via FIDD beneath th e river from private lands
adjacent to Corps owned lands to avoid impacts to environm ental resources (e.g. w ater, soil, cultural
resources, vegetation, etc.). The FIDD drilling process is an expensive technique th a t itself is a m itigation



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measure w ith no anticipated effects to th e environm ent including vibration or frac-out w ith in or outside
o f the Proposed Action fo r th e short duration o f th e construction project (see sections 2.3.2.6 and 3.1.1.2
fo r additional inform ation).

As discussed in m ore detail in sections o f this Environmental Assessment (i.e. Section 2.3.1), Dakota Access
utilized a complex routing model to examine alignm ent options fo r the Project and an array o f
environm entally protective criteria w ere used to cite the Project. Perhaps m ost im portant fo r purposes
o f this analysis, are the citing criteria th a t require the avoidance o f Tribal reservations and federal lands.
Since th e route must cross the Missouri River, it was not practicable to fu lly avoid federal land (see
discussion in Section 2.1.3), and hence th e necessity fo r this EA. However, m aintaining a m inim um
distance o f 0.5 m ile from Tribal land, consistent w ith o ther federal citing criteria, avoided tribal land as a
m itigation and routing measure. Furtherm ore, the Proposed Action, and hence the route and installation
methods, is at a distance sufficient such th a t there are no direct or indirect impacts to Tribal lands,
members or protected cultural resources.

A nother prim ary consideration in routing included a preference fo r co-locating th e route w ith existing
infrastructure. The Proposed Action is co-located w ith existing power and pipe lines across Lake Oahe
and partially co-located w ith a gas line at the flow age easements and Missouri River. As examples, the
routing model affirm atively excludes such locations as Tribal lands. National Registry Historic Places,
wilderness, parks, landmarks and an array o f other special needs areas.

As a result o f this routing criteria, th e nature o f th e action (construction associated w ith laying an
underground oil pipeline), the short te rm duration o f effects, construction and operation on private lands,
th e concurrent reclam ation activities, state o f the art construction techniques, use o f high quality
materials and standards th a t m eet or exceed federal standards, there w ill be no direct or indirect effects
to th e Standing Rock Sioux trib e. This includes a lack o f im pact to its lands, cultural artifacts, w ater quality
or quantity, tre a ty hunting and fishing rights, environm ental quality, or socio-economic status. Therefore,
th ere is no resulting adverse or disproportionate impacts o f the Proposed Action w ith respect to
Environmental Justice considerations.

The Standing Rock Sioux Reservation boundary is over 0.5 miles south o f th e Lake Oahe Project Area
crossing. Based on aerial imagery, the closest residence on th e Standing Rock Sioux Reservation is a rural
residence located greater than 1.5 miles from th e Lake Oahe Project Area Crossing. This distance is well
beyond any federal or state siting criteria. The North Dakota Energy Conversion and Transmission Facility
Siting Act Exclusion and Avoidance Areas Criteria (49-22-05.1) establishes an avoidance setback
requirem ent o f 500 fe e t from inhabited rural residences.

The pipeline route expressly and intentionally does not cross the Standing Rock Sioux Reservation and is
not considered an Environmental Justice issue. If it were it determ ined th a t there w ould be some effects
to the Standing Rock Sioux Tribe as a low income, m in o rity population, it w ould not disproportionately or
predom inately bear impacts fro m the Proposed Actions (the impacts w ill actually disproportionately
affect private lands, non-low income populations and non-m inority populations). The impacts along the
M issouri River and the Lake Oahe crossing are not disproportionate to th e tribe. The Missouri River
crossing is on private lands w ith private lands and US federal lands downstream ; th e nearest reservation
is Fort Berthold approxim ately 50 miles due east and Standing Rock Reservation is approxim ately 160
miles southeast. The Lake Oahe HDD crosses under US Federal lands from lands th a t are privately owned;



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private lands continue downstream of the crossing on th e east side o f the Lake and Standing Rock
Reservation (0.55 miles). Thus, th e impacts at best can be said to be equivalent between tribal lands and
private landowners at th e Lake Oahe crossing. As stated above, linear projects typically use a 0.5 mile
b uffer area to examine Environmental Justice effects. There are no low-incom e, m inority or tribal lands
w ith in 0.5 m ile o f the Proposed Action.

Concerns have been expressed regarding an inadvertent release reaching intake structures on Lake Oahe.
Given th e engineering design, proposed installation m ethodology, quality o f material selected, operations
measures and response plans th e risk o f an inadvertent release in, or reaching. Lake Oahe is extrem ely
low. W hile th e locations o f w a ter intakes is not public inform ation fo r disclosure in this docum ent, there
are private a n d /or non-tribal intakes closer to the Lake Oahe crossing than any intakes owned by the tribe;
fu rth e r dem onstrating th e lack o f disproportionate impacts o f an inadvertent release to the Tribe and the
reservation. W e understand th a t due to th e rural nature o f this area, tribal drinking w ater supplies are
obtained from a com bination o f wells and surface w ater. The siting and construction o f oil pipelines
upstream o f drinking w a ter intakes is not uncommon througho ut th e United States and is not considered
an Environmental Justice issue. In th e unlikely event o f a release, sufficient tim e exists to close the nearest
intake valve to avoid human impact.

Dakota Access has com m itted to plan fo r th e protection o f this and other w ater crossings and associated
w a te r intakes as part o f its emergency preparedness protocol and in accordance w ith PHMSA
requirem ents outlined in 49 CFR §§ 194 and 195 (see section 3.11 fo r fu rth e r detail).             Tribal
representatives have been identified fo r early contact along w ith other federal, state and local
governm ents by th e Corps as w ell as independently by th e applicant.

Based on th e above sections, it has been determ ined th a t there are no environm ental justice issues or
concerns resulting from the Proposed Action.

3.10    Hazardous Waste

The EPA (2015) defines hazardous waste as waste th a t is dangerous or potentially harm ful to human
health or the environm ent, occurring as liquids, solids, gases, or sludges. They can be generated through
th e disposal o f commercial products, such as cleaning fluids or pesticides, or m anufacturing processes.
Im proper managem ent and disposal of hazardous substances can lead to pollution of groundw ater or
o th er drinking w ater supplies and the contam ination o f surface w ater and soil. The prim ary federal
regulations fo r the m anagement and disposal o f hazardous substances are th e Comprehensive
Environmental Response, Compensation, and Liability Act (CERCLA) and the Resource Conservation and
Recovery Act (RCRA).

A review of regulated facilities fo r hazardous materials along the Proposed Action corridor was conducted
by searching online records m aintained by th e EPA (2014). Presently, there are no recognized Radiation
Inform ation Database, Brownfields, Superfund, Toxic Release Inventory, or air emission sites w ith in one
m ile o f the flowage easements and Lake Oahe crossings. No operating sensitive receptors, such as schools
or hospitals, are reported w ith in at least one mile. Additionally, there are no NPDES discharge sites w ith in
one m ile o f th e Project Areas.




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W ith the Proposed Action, th ere is potential fo r tem porary impacts to public safety from hazardous
m aterial use. O ther hazards to w orker safety may also exist along the Proposed Action corridor, but do
not pose a significant impact. Because there were no regulated sites found w ith in the one-m ile search
radius o f the Project Area, no impacts to th e Proposed Action, Proposed Action media, or w orker safety
are expected. In the unlikely event contam ination is encountered during construction, th e UDP (Appendix
F) w ould be im plem ented to p rotect people and the environm ent and avoid or m inimize any effects from
unearthing th e material.

Any hazardous materials discovered, generated, or used during construction w ould be managed and
disposed o f in accordance w ith applicable local, tribal, state, and federal regulations. Should emergency
response be required during construction, th e contractor w ould have some of th e ir own trained or
contracted responders, and local response teams w ould be expected to assist.

Dakota Access w ould com ply w ith any laws, regulations, conditions, or instructions issued by the EPA, or
any Federal, state, or local governm ental agency having jurisdiction to abate or prevent pollution, such as
th e RCRA, and State hazardous waste managem ent rules.

3.11    Reliability and Safety

The PHMSA, a federal agency w ith in the U.S. DOT is the prim ary federal regulatory agency responsible fo r
ensuring the safety o f America's energy pipelines, including crude oil pipeline systems. As a part o f th a t
responsibility, PHMSA established regulatory requirem ents fo r the construction, operation, maintenance,
m onitoring, inspection, and repair o f liquid pipeline systems.

Construction activities could present safety risks to those perform ing the activities, residents and other
pedestrians in th e neighborhood. Given the low population density o f th e area, risks w ould be lim ited to
w orkers involved w ith the Proposed Action. All activities w ould be conducted in a safe manner in
accordance w ith th e standards specified in th e Occupational Safety and Health A dm inistration (OSHA)
regulations.

To prevent pipeline failures resulting in inadvertent releases, Dakota Access w ould construct and maintain
th e pipeline to m eet or exceed industry and governm ental requirem ents and standards. Specifically, the
steel pipe w ould m eet PHMSA specifications under 49 CFR § 195, fo llo w standards issued by the American
Society o f Mechanical Engineers, National Association fo r Corrosion Engineers and API. Once installed,
th e pipeline w ould be subjected to testing to verify its integrity and compliance w ith specifications,
including hydrostatic pressure testing at th e crossings, checking coating integrity, and X-ray inspection o f
th e welds. The pipeline w ould be placed into service only after inspection to verify compliance w ith all
construction standards and requirem ents. Dakota Access w ould m aintain and inspect th e pipeline in
accordance w ith PHMSA regulations, industry codes and prudent pipeline operating protocols and
techniques. The pipeline ROW w ould be patrolled and inspected by air every 10 days, w eather perm itting,
but at least every three weeks and not less than 26 tim es per year, to check fo r abnorm al conditions or
dangerous activities, such as unauthorized excavation along th e pipeline route.

As discussed in Section 3.2.1.2, Dakota Access has drafted a FRP, in accordance w ith 49 CFR 194, which
details th e procedures to be im plem ented in the event o f an inadvertent pipeline release and w ould be in




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place prior to commencing transportatio n o f crude oil. The FRP is discussed under Section 3.2.1.2 and a
d ra ft o f th e FRP is included in Appendix L.

Following com pletion o f construction and th ro u g h o u t operation o f the Proposed Action facilities, the
O perator and qualified contractors w ould m aintain emergency response equipm ent and personnel at
strategic points along th e pipeline route. These personnel w ould be trained to respond to pipeline
emergencies as w ell as in the National Incident M anagem ent System (NIMS) Incident Command System
(ICS). Additionally, contracts w ould be in place w ith oil spill response companies th a t have the capability
to m obilize to support cleanup and rem ediation efforts in th e event of a pipeline release. The Operator
w ould also coordinate w ith local emergency responders in preventing and responding to any pipeline
related problems. These activities w ould include conducting and hosting, over a period o f tim e,
emergency response drills w ith both Dakota Access employees and local emergency responders along the
pipeline route.

Dakota Access w ill conduct emergency response drills/exercises in accordance w ith PREP, which is
recognized, and approved, by th e EPA, US Coast Guard, and PFIMSA. These emergency response exercises
w ill consist o f annual table to p exercises and equipm ent deploym ent drills. Dakota Access is com m itted
to conducting a w orst case discharge fu ll scale exercise at e ither the Missouri River crossing near W illiston
or the crossing at Lake Oahe once every 6 years and w ill include both open w a te r and ice response. Dakota
Access w ill alternate the location and type o f exercise. Regulatory and stakeholder participation w ill be
encouraged and solicited fo r th e exercises.

In addition to the testing and inspection measures listed above, Dakota Access w ould utilize a supervisory
control and data acquisition (SCADA) system to provide constant rem ote oversight o f the pipeline
facilities. Power fo r the SCADA system w ould be provided from an existing pow er grid. In th e event of a
pow er outage, a 500 w a tt U ninterruptable Power Supply w ould supply low voltage pow er to the
Programmable Logic C ontroller and com m unication equipm ent. Com munication w ith the SCADA system
w ould be accomplished via satellite (Flughes Global Network) and telephone (4G cellular [ATT] or landline
depending on availability/coverage). Both form s o f com m unication are continually engaged to poll
inform ation fro m these sites fo r 100% reliable rem ote m onitoring / operation o f these sites through the
SCADA system to th e Operations Control Center (OCC) in Sugarland, Texas (a backup control room is
located in Bryan, Texas), and are proven to have the least potential fo r interruption during pipeline
operations.

If an alarm criteria threshold is met, th e SCADA system w ould alert Dakota Access' OCC Operators, located
in Sugarland and Bryan, Texas, o f rapid drops in pressure, w ho w ould then activate th e controls as
necessary and in itia te procedures fo r an appropriate response. The OCC prioritizes and responds to all
alarms in accordance w ith the control room m anagem ent regulations referenced in PFIMSA CFR 195.446
(e). This regulation requires th a t th e OCC O perator have a SCADA system alarm management plan; in
general, the plan must include review of the SCADA alarm operations to ensure alarms support safe
pipeline operations, identify any required m aintenance th a t may affect safety at least once every calendar
m onth, verify correct safety-related alarm values and descriptions at least once every calendar year when
associated field equipm ent are changed or calibrated, determ ine effectiveness o f the alarm management
plan through a yearly review, and m o n ito r content and volum e o f activity at least once a calendar year to
assure controllers have adequate tim e to review incoming alarms. Leak Warn, a leading softw are program
fo r m onitoring pipelines, is being tailored to th e pipeline facilities, in accordance w ith Pipeline and



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Hazardous M aterials Safety A dm inistration requirem ents. The O perator w ould utilize a Com putational
Pipeline M onitoring System (CPM) to m o nitor th e pipeline fo r leaks. The CPM is a state-of-the-art pipeline
m onitoring tool and features a real-tim e transient model th a t is based on pipeline pressure, flow , and
tem p erature data, which is polled from various field instrum ents every 6 seconds and updates th e model
calculations to detect pipeline system variations every 30 seconds. A fter the system is tuned, this state-
o f-the -a rt CPM system is capable o f detecting leaks down to 1 percent or better o f th e pipeline flo w rate
w ith in a tim e span o f approxim ately 1 hour or less and capable o f providing rupture detection w ith in 1 to
3 minutes. S ta te -o f-the -a rt leak detection equipm ent and softw are utilized during operations or the
pipeline w ill be updated per federal standards in accordance w ith PHMSA requirem ents. In th e event th a t
a leak is confirm ed through verification, pump station shutdown w ould be initiated w ith in a
predeterm ined am ount o f tim e to effectuate. Next, the rem otely controlled isolation valves (mainline
valve sites w ould be installed on both sides o f large w aterbody crossings fo r isolation in th e event o f an
emergency shutdown), which are operable from the OCC, w ould be closed. These valves have a closure
tim e o f no greater than three (3) minutes. M onitoring o f th e pipeline segments installed via HDD w ould
be accomplished in the same m anner as those segments installed by conventional methods (i.e., SCADA,
internal inspection devices, and aerial patrols). Typically, repairs are not made on any section of pipe
greater than 10 to 20 fee t below the ground surface depending on th e repair needed. If a m aterial impact
was on the pipeline below the 10-foot depth, operation o f th e system w ould be m odified accordingly (e.g.,
reduce operating pressure) or th e line w ould be re-drilled.             If inspections identify an anomaly,
requirem ents w ould be follow ed to com ply w ith U.S. DOT requirem ents.

In the unlikely event o f a leak during operations o f th e pipeline, the O perator w ould im plem ent the
response measures described in th e FRP. Below is a list o f typical response activities. However, each spill
m itigation situation is unique and w ill be treated according to the actual spill circumstances present at
th e tim e o f release.

N otification: The O perator w ill conduct notifications in accordance w ith federal and state guidelines.
These guidelines, along w ith additional notification form s/procedures are presented in Appendix B of the
FRP. Local governm ent response agencies w ould be notified firs t follow ed by federal and state agencies
as w ell as surrounding com m unities, and governm ents (including tribal governm ents and utilities) in
accordance w ith the relevant provisions o f the FRP and relevant law. Response notification to such
entities as th e National Response Center, PHMSA, EPA, USACE, and affected state regulatory entities w ill
be made in accordance w ith the requirem ents dictated by th e incident type. A com plete list o f required
notifications is included in the FRP. In accordance w ith PHMSA policy, th e FRP w ill be updated every five
years or sooner if there are m aterial changes to the Plan.

M obilize Response Equipment: Emergency equipm ent w ould be available to allow personnel to respond
safely and quickly to emergency situations. Company-owned equipm ent w ill be inspected and exercised
in accordance w ith PREP guidelines and w ould be m obilized and deployed by the O perator from strategic
staging locations along the pipeline. Additionally, th e operator w ill contractually secure OSROs to provide
trained personnel and equipm ent necessary to respond, to the maximum extent practicable, to a w orst
case discharge or substantial th re a t o f such discharge. At a m inim um , each OSRO w ill have a containm ent
booms, absorbents, boats, and vacuum trucks available. A com plete list o f equipm ent and list o f trained
personnel necessary to continue operations of the equipm ent and staff th e oil spill removal organization
fo r each o f the OSRO contractors is included in th e FRP.




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Response Activities: Following incident command protocols, th e O perator w ould w ork in unison to
cooperate w ith and assist fire, police and o ther firs t responders when im plem enting actions to protect
personnel, public safety and the environm ent. The FRP includes a spill response checklist which lists
activities th a t could be conducted during a spill which w ould be m odified to best address the specific
circumstances o f a spill event. Incident response activities may include: initiating spill assessment
procedures including surveillance operations, tra je cto ry calculations, and spill volum e estim ating;
berm ing or deploym ent o f containm ent an d /o r sorbent booms; lining shorelines w ith sorbent or diversion
booms to reduce impacts; and recovering contained product as soon as possible to prevent the spread o f
contam ination using appropriate hoses, skimmers, pumps, and storage containers or vacuum trucks at
collection areas. The response activities w ould continue until an appropriate level of cleanup is obtained
as provided by th e responsible federal, state or o ther governm ental authorities. The nature and location
o f th e incident w ill affect the regulatory and notification requirem ents, fo r which m ore detail is provided
in th e FRP. Incidents involving discharges to navigable waters are governed th e Oil Pollution Act o f 1990.

Dakota Access w ill im plem ent numerous measures to m inimize the risk of a pipeline leak and protect the
users o f downstream intakes:

        1) Spill Prevention, Leak Detection and Spill Response Measures:

          Based on a w orst case discharge (WCD) scenario specific to Lake Sakakawea and Lake Oahe,
calculated by guidance in 49 CFR § 194.105, a largest possible release volum e was determ ined specific to
th e segment o f the pipeline th a t w ould cross Corps-managed lands. This calculation was based on
environm ental assumptions such as air tem perature, w ind dire ctio n /p ro b a b ility and w ind speeds th a t
w ere averaged from data over a one-year period derived from th e U.S. Geological Survey National
Flydrological Dataset (NFID, version 2). This inform ation was extrapolated into a 24-hour model. The WCD,
at the end o f the 24-hour period, produced a surface oil slick attenuation distance, volum e rem aining in
th e w a ter column, volum e th a t w ould be ashore and the volum e w ould evaporate w ith in this tim efram e.
It is im po rta nt to note, this WCD scenario is also calculated on the assumption th a t the pipeline is on to p
o f the river verses FIDD. Because the proposed pipeline w ould be installed at a m inim um depth o f 36 feet
below the Missouri River above Lake Sakakawea and 92 feet below th e lakebed o f Lake Oahe, there is a
greater response tim e combined w ith th e use of th e autom ated SCADA system.

W hile th e potential risk fo r a WCD scenario is low, such a spill w ould result in high consequences. Review
and approval o f th e overall regional FRP, which encompasses th e regional DAPL Pipeline response
strategies in th e event o f an oil spill, is th e responsibility and jurisdiction o f PFIMSA. Federal regulations
49 CFR 194 specify m inim um requirem ents o f such an FRP. For the proposed project, th e DAPL Pipeline
FRP w ill be required to align w ith th e content and directions identified in the M id-M issouri Sub-Area
Contingency Plan. A tactical GRP specific to a response strategy fo r Lake Sakakawea and Lake Oahe was
provided by th e applicant and includes specific response strategies and equipm ent fo r all affected water.
Both the FRP and GRP w ill be finalized a fte r construction and be subm itted to the USACE fo r review and
th e incorporation o f USACE com m ents p rior to subm ittal to PFIMSA.

W ith in these response plans, DAPL training exercise program w ould be consistent w ith th e exercise
requirem ents as outlined in th e PREP Guidelines th a t were developed by the U.S. Coast Guard in
conjunction w ith PFIMSA and EPA. Training exercises include quarterly notification exercise, annual




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ta b leto p exercises to include a WCD scenario every three years, annual facility-ow ned equipm ent
deploym ent exercises annual contractor exercises and unannounced exercises by governm ent agencies.

The applicant has com m itted to additional full scale open w ater and full scale w in te r/ic e exercises th a t
w ill be conducted at Lake Sakakawea and Lake Oahe. A full scale exercise w ill occur once every 3 years
(triennial cycle) w ith th e location and type of exercise occurring on alternating schedules (e.g. open w ater
exercise at Oahe th e first triennial cycle, follow ed by w in te r exercise at Sakakawea the follow ing triennial
cycle, follow ed by a w in te r exercise at Oahe the follow ing triennial cycle, etc.). Stakeholder (federal, state,
local, and Tribal) involvem ent w ill be solicited fo r each exercise. The firs t exercise w ill occur w ith in the
firs t 3 years after the pipeline becomes operational.

         2) Risk Analysis

         W hile an oil spill is considered unlikely and a high precaution to minimize th e chances has been
taken, it is still considered a low risk/high consequence event. A risk analysis conducted by DAPL
addressed nine industry-recognized pipeline integrity th re a t categories in com bination w ith public and
environm ental im pact th a t could occur in th e event o f a release into Lake Sakakawea and Lake Oahe.
These th re a t categories include the follow ing: 1) th ird -p a rty damage, 2) external corrosion, 3) internal
corrosion, 4) pipe m anufacturing defects, 5) construction related defects 6) incorrect operations, 7)
equipm ent failure, 8) stress corrosion cracking and 9) natural forces. DAPL derived the follow ing analysis
risk process fro m the W. Kent M uhlbauer Relative Index M ethodology (2004), in accordance w ith 49 CFR
195.452 "Hazardous Liquid Pipelines in High Consequence Area", API RP 1160 "Managing System Integrity
fo r Hazardous Liquid Pipelines", and ASME B31.8S "Managing System Integrity o f Gas Pipelines".

         1 - Third Party Damage

Pipeline failure due to th ird party damage is ranked low fo r the Missouri River above Lake Sakakawea and
Lake Oahe (36 and 92 fe e t below th e river and lakebed, respectively). The only th ird party damage th a t
w ould threaten this portion o f the pipeline w ould be another HDD in the same location o f the DAPL
Pipeline. Due to tracking technological advances such as subm eter accuracy, a perm anent and accurate
record o f th e proposed pipeline w ould be docum ented so no such possibility o f another pipeline being
placed via HDD in the same location w ould occur.

         2 - External Corrosion

Pipeline failure fo r the portion of th e proposed project th a t crosses Lake Sakakawea is classified as low.
The potential is ranked low due to the high perform ance external coating system th a t is being used (heavy
epoxy-concrete abrasion resistant layer over fusion bonded epoxy) and deep w ell cathodic protection.
This portion o f the pipeline is constructed w ith a thicker wall pipe compared to segments o f the pipeline
in upland-classified areas. A conservative corrosion grow th rate was determ ined to take 70 years before
a through-w all metal loss could occur. Because in-line inspection metal loss detection tools run every five
years, external corrosion activity w ould be detected and m itigated prior to it becoming an integrity threat.

         3 - Internal Corrosion




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Pipeline failure due to the internal corrosion th re a t fo r th e portion o f the proposed project th a t w ould
cross Lake Sakakawea is ranked low. Causes of internal corrosion w ould be due to accum ulation o f w ater
and solids in low spots o f the pipeline. However, DAPL internal corrosion m itigation program fo rth e entire
DAPL pipeline include chemical analysis o f the crude product stream, pipeline operations (maintenance
o f m inim um flo w rates th a t keep entrained w ater and solids moving through the system), a maintenance
pigging program, wall pipe design and in-line inspection perform ed every five years. The potential does
exist, but successful im plem entation and continual m onitoring o f th e effectiveness o f th e above programs
w ill m itigate the risk. As w ith th e external corrosion threat, the internal corrosion w ould be detected and
m itigated p rio r to it becoming an in te g rity threat.

        4 - Pipe M anufacturing Defects

Pipeline failure due to m anufacturing defects is considered low fo r th e portion o f the pipeline th a t crosses
Lake Sakakawea and Lake Oahe. Upon com pletion o f construction and prior to the commissioning o f the
pipeline, th e segment o f the pipeline crossing Corps-managed lands w ould be hydrostatically strength-
tested fo r eight hours at 1,800 psig which w ould be 1.25 tim es greater than th e 1,440 MAOP. Should any
strength-related defects be found in th e pipe as a result o f the hydrostatic test, this segment o f the
pipeline w ould have been over-pressured by m ore than tw o-tim es to have a potential effect on those
defects. An over-pressure event o f this m agnitude is not likely w ith th e equipm ent installed.

        5 - Construction Related Defects

Pipeline failure fo r th e segment th a t crosses under Lake Sakakawea due to construction related defects is
categorized as low. All pipe jo ints w ould be welded by qualified welders and th e required 100% girth weld
radiography w ould provide a tw o-dim ensional grayscale image o f th e weld. A fte r construction and prior
to commissioning o f the pipeline, the hydrostatic testing w ould be perform ed. A fte r the drill string is
installed and p rior to th e line being put into service, an in-line inspection to o l w ould be ran to identify an
injurious mechanical damage th a t may have gone undetected during construction.

        6 - Incorrect Operations

Pipeline failure due to incorrect operations (e.g. overpressure event caused by human error) is ranked low
fo r the section of the pipeline th a t crosses Lake Sakakawea and Lake Oahe. This section o f the DAPL
pipeline has a design factor nearly 2-times greater than th e maximum allowable operating pressure (1440
psig) o f the pipeline. In addition, the system is controlled and m onitored 24 hours a day, 365 days a year
by experienced controllers in the control center in Sugarland, Texas. The system is designed w ith
instrum ents and pressure relief systems to m inimize the o p p o rtu n ity fo r overpressure.

        7 - Equipment Failure

Pipeline failure due to equipm ent failure fo r the section o f the pipeline th a t crosses the Missouri River
above Lake Sakakawea and Lake Oahe are categorized as low. The only equipm ent located in this section
o f the pipeline are the shut-off valves on either side o f th e Missouri River above Lake Sakakawea and Lake
Oahe which are rem otely operated. These valves are secured in perim eter fencing.

        8 - Stress Corrosion Cracking



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The potential fo r pipeline failure due to stress corrosion cracking fo r th e portion o f the pipe th a t crosses
th e Missouri River above Lake Sakakawea and Lake Oahe is ranked as low because this section w ill operate
at a low stress and is externally coated w ith a fusion bond epoxy coating.

         9 - Natural Forces

The potential fo r pipeline failure due to natural forces is ranked low fo r the segment o f the pipeline th a t
crosses Lake Sakakawea and Lake Oahe. The National Pipeline M apping System, m aintained by PHMSA,
rates this geographic location fo r natural hazards as th e follow ing: Hurricane- Low; Earthquake- Low;
Flood- High and; Landslide-High. Erosion o f cover/ exposure of the pipeline to debris during flood
conditions is highly unlikely due to the depth o f cover at th e Missouri River and Lake Oahe crossings (36
fe e t and 92 fe e t below th e river and lakebed, respectively). In addition, landslide/ creep o f th e pipeline is
highly unlikely as th e pipe is at a depth below th a t which w ould be affected by land m ovem ent.

         10 - Consequences

In th e event th a t a pipeline failure occurs and product is released into the Missouri River at either crossing,
th e w orst case consequence scenario is ranked high because several drinking w ater intake High
Consequence Areas (HCAs) and m ultiple ecologically sensitive HCAs could be impacted. To m inimize the
im pact o f a release (e.g. size and spread) the pipeline w ill continuously be m onitored by a real-tim e
m onitoring and leak detection system , which is considered to be the best available technology; m otor
operated isolation an d /o r check valves are installed on either side o f th e Missouri River above Lake
Sakakawea and Lake Oahe which can be actuated to close as soon as a leak is detected; PHMSA-approved
FRP w ill be in place, all w eather access and collection points w ill be staged strategically downstream o f
each lake crossing, and DAPL has com m itted to additional fu ll scale open w ater and fu ll scale w in te r/ice
exercises th a t w ill be conducted at Lake Sakakawea and Lake Oahe. A fu ll scale exercise w ill occur once
every 3 years (triennial cycle) w ith th e location and type o f exercise occurring on alternating schedules
(e.g. open w ater exercise at Oahe th e firs t triennial cycle, follow ed by w in te r exercise at Sakakawea the
fo llo w ing triennial cycle, follow ed by a w in te r exercise at Oahe the follow ing triennial cycle, etc.).
Stakeholder (federal, state, local, and Tribal) involvem ent w ill be solicited fo r each exercise. The firs t
exercise w ill occur w ith in th e firs t 3 years a fte r the pipeline becomes operational.




3.12     Air Quality and Noise

Under th e "no action" alternative, Dakota Access w ould not construct th e DAPL Project and no impacts
on air quality and noise w ould occur. However, If th e objectives o f the DAPL Project are to be m et under
th e "no action" alternative, o the r projects and activities w ould be required and these projects w ould
result in th e ir ow n impacts on air quality and noise, which w ould likely be sim ilar to or greater than the
DAPL Project. If th e "no action" alternative is im plem ented and the Project is not constructed, shippers
w ill likely rely on truck or rail to tra n sp o rt crude oil. Additional road and rail tra ffic necessary to transport
th e volum e o f crude oil proposed by th e DAPL project w ould increase th e emissions o f combustion
products due to the potential releases during th e filling operations o f trucks or rail cars and th e use of
diesel engines. These w ould be recurring inputs into the environm ent which could have an adverse impact
on air quality in the region. Similarly, an increase in noise from truck and rail tra ffic w ould be widespread



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and long term as opposed to th e noise impacts of the preferred action which are tem porary and prim arily
lim ited to th e vicinity o f the construction workspace.

3.12.1 Air Quality

                 3.12.1.1 Affected Environment

The Clean Air Act (CAA) o f 1970 requires th a t states adopt am bient air quality standards. The CAA (42
u se 7401 et seq.) establishes am bient air quality standards, perm it requirem ents fo r both stationary and
m obile sources, and standards fo r acid deposition and stratospheric ozone (03) protection. The standards
have been established in order to p rotect the public from potentially harm ful am ounts o f pollutants.
Under th e CAA, the EPA establishes prim ary and secondary air quality standards. Primary air quality
standards protect public health, including th e health o f "sensitive populations, such as people w ith
asthma, children, and older adults." Secondary air quality standards protect public w elfare by prom oting
ecosystem health, and preventing decreased visibility and damage to crops and buildings.

According to th e EPA, North Dakota has no nonattainm ent areas fo r criteria pollutants. The Bismarck air
quality m onitoring station in Burleigh County is located approxim ately 23 miles n orth-northw e st o f the
Lake Oahe crossing. The Bismarck air quality m onitoring station measures sulfur dioxide, nitrogen dioxide,
particulate m atter, ground-level ozone, and m eteorological data (North Dakota Departm ent of Health,
2013). The W illiston air quality m onitoring station in W illiam s County is located approxim ately 18 miles
northeast o f th e flow age easement crossing. The W illiston air quality m onitoring station measures
particulate m atter, ground-level ozone, and m eteorological data. The m onitoring objective o f both
stations is to measure population exposure to air quality parameters.

M on itoring data fo r these stations from 2003-2013 show pollutan t levels fo r sulfur dioxide, nitrogen
dioxide, ozone, and particulate m a tte r did not exceed state or deferral am bient air quality standards at
any o f the state-operated m onitoring sites (N orth Dakota D epartm ent o f Health, 2013).

                 3.12.1.2 Impacts and Mitigation

W ith the Proposed Action, no long-term impacts to air quality w ould occur; the proposed pipeline w ould
not em it any criteria air pollutants. Short-term impacts to air quality may occur during construction phase
o f th e Proposed Action. The contribution o f the Proposed Action to greenhouse gas emissions during
construction w ould be considered a m inor indirect im pact to clim ate change.

During construction, emissions from fuel-burning internal com bustion engines (e.g., transportation trucks,
heavy equipm ent, drill rigs, etc.) w ould tem porarily increase the levels o f some criteria pollutants,
including carbon monoxide, nitrogen dioxide, ozone, particulate m atter, and non-criteria pollutants such
as volatile organic compounds. Construction o f th e Lake Oahe crossing is likely to take six to eight weeks
to com plete. Conventional pipeline construction across the flowage easements w ould take approxim ately
tw o weeks and activities at th e HDD exit point fo r crossing the Missouri River on th e flowage easement
LL3440E w ould likely operate fo r fo u r to six weeks. To reduce th e emission of criteria pollutants, fuel-
burning equipm ent running tim es w ould be kept to a m inim um and engines w ould be properly
m aintained. This tem porary increase in emissions is not expected to im pact air quality or visibility in the
region long-term .



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3.12.2   Noise

                  3.12.2.1 Affected Environment

Sound is a sequence o f waves o f pressure th a t propagates through compressible media such as air or
w ater. W hen sound becomes excessive, annoying, or unwanted it is referred to as noise.

Decibels (dB) are the units o f m easurem ent used to quantify th e intensity o f noise. To account fo r the
human ear's sensitivity to low level noises, the decibel values are corrected fo r human hearing to weighted
values known as decibels o f th e A-weighted scale (dBA; see Table 3-16). The EPA has set values th a t
should not be exceeded. W hile the prim ary responsibility o f regulating noise was transferred from the
EPA to state and local governm ents in 1981, the Noise Control Act o f 1972 and the Quiet Communities
Act o f 1978 are still in effect.

                                                    Table 3-16
                                                   Noise Values

                            Area                              Noise Level                   Effect

 All areas                                                  Leq (24) <70 dBA   Hearing
 Outdoors in residential areas and farms where people
                                                                               Outdoor activity interference
 spend varying amounts of time in which quiet is a basis    Ldn <55 dBA
                                                                               and annoyance
 for use
 Outdoor areas where people spend limited time such as                         Outdoor activity interference
                                                            Leq (24) <55 dBA
 school yards, playgrounds, etc.                                               and annoyance
                                                                               Indoor activity interference
 Indoor residential areas                                   Ldn <45 dBA
                                                                               and annoyance
                                                                               Indoor activity interference
 Indoor areas with human activities such as schools, etc.   Leq (24) <45 dBA
                                                                               and annoyance
 Source: (The Engineering ToolBox, 2015)
 Leq: 24-hr equivalent sound level
 Ldn: day-night average sound level



The dom inant land use in the proposed Project Area is agricultural. The Day-Night Average Sound (Ldn)
level fo r agricultural crop land is 44 dBA, and rural residential is 39 dBA (The Engineering ToolBox, 2015).

                  3.12.2.2 Impacts and Mitigation

Construction o f th e Proposed Action w ould tem porarily affect th e noise levels on and around th e flowage
easement and federal lands crossing areas. Construction w ould cause tem porary increases in the am bient
sound environm ent in the areas im m ediately surrounding active construction. The use o f heavy
equipm ent or trucks w ould be the prim ary noise source during construction and excavation. The level of
im pact w ould vary by equipm ent type, duration o f construction activity and the distance between the
noise source and th e receptor. Construction activities w ould typically be lim ited only to daytim e hours.
Potential exceptions include w o rk determ ined necessary based on w eather conditions, safety




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considerations, a n d/o r critical stages o f th e HDD [e.g. if pausing fo r th e night w ould put th e drill at risk o f
closing or jam m ing].

Once constructed and in-service, normal pipeline operations are not audible and noise impacts w ould be
lim ited to the short-term construction w indow . Dakota Access w ould m itigate noise impacts by lim iting
equipm ent running tim es and the duration o f Proposed Action construction to the m inim um am ount
necessary to com plete the Proposed Action. Noisy construction activities w ould typically be lim ited to
th e least noise-sensitive tim es o f day (daytim e only).

It is not anticipated th a t the tem porary increase in am bient sound levels associated w ith construction
w ould result in a significant noise impact.




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                                        4.0      CUMULATIVE IMPACTS

Cumulative impacts to the environm ent result from the increm ental im pact o f the action when added to
o th er past, present, and reasonably foreseeable fu tu re actions regardless o f w hat agency (Federal or non-
Federal) or person undertakes such other actions. Cumulative impacts may result from individually m inor
but collectively significant actions taking place over a period o f tim e 40 CFR Part 1508.

Consultation w ith the North Dakota Public Service Commission (NDPSC) personnel, and subsequent
evaluation o f its online resources, provided a systematic source o f inform ation th a t was useful fo r
evaluating cum ulative impacts. Although th e NDPSC does not m aintain a centralized repository fo r energy
infrastructure developm ent projects, it provides a summary o f siting applications, which offers one m etric
o f energy project developm ent (excluding gathering lines), particularly over tim e (NDPSC, 2012a). The
siting application summary (NDPSC, 2012b) contains records starting in 1996. The num ber o f statewide
siting applications increases m arkedly starting in 2007, coinciding w ith developm ent of th e Bakken
Formation oil field. Prior to tha t, only three to fo u r applications w ould typically be subm itted on an annual
basis (NDPSC, 2012a).

Past actions in the vicinity o f the Proposed Action include oil and gas developm ent and associated
infrastructure, u tility installation, and agriculture. These past activities most likely have had effects on
soils, w ater resources, vegetation, w ildlife, land use, visual resources, paleontological resources, and
cultural resources. The DAPL Project route was sited to m inimize green-space impacts by co-locating w ith
existing u tility corridors over much o f its length. As a result, the flow age easement crossing, as designed,
w ould be co-located w ith a Oneok/TransCanada natural gas pipeline and th e Lake Oahe FIDD w ould be
co-located w ith a natural gas pipeline and a 345 kV pow er line. At both of these locations, the
predom inant land use is agriculture. In addition to ongoing agricultural practices and th e expansion o f
regional oil and gas developm ent activities, cum ulative impacts associated w ith the DAPL Project as w hole
w ere also considered.

If th e Corps approval o f the Proposed Action m arkedly changed th e rate at which the oil and gas industry
grows, or facilitated a rapid increase in production, then the changes in the industry's rate o f grow th and
th e associated environm ental consequences could be considered along w ith th e effects of th e Proposed
Action as a cum ulative im pact and w ould need to be quantified in this EA. Flowever, according to Bruce
Flicks, N orth Dakota Industrial Commission's Departm ent o f M ineral Resources Oil and Gas Division, the
critical factors lim iting th e rate at which the industry grows w ith in North Dakota is the availability o f drill
rigs and hydrofracing crews (U.S. Arm y Corps of Engineers, 2011). Because th e availability o f rigs and
crews is the critical fa cto r affecting the grow th of the industry in the region, approval of the Proposed
Action is not anticipated to have a cum ulative impact o f increasing production or reliance upon non-
renewable resources.

Cumulative impacts w ere evaluated fo r th e follow ing resources and w ere determ ined to be negligible or
nonexistent based on past and foreseeable fu tu re actions in th e Project Area and th e m inor and
tem porary contribu tion o f th e Proposed Action to effects on these resources:

     •   Geology and Soils                                                         Section 4.1
     •   Water and Aquatic Life Resources                                          Section 4.2




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4.1     Geology and Solis

The continued developm ent o f oil and gas exploration and production in the region at its current level
increases th e potential fo r adverse cum ulative impacts to geologic and soil resources. Cumulative impacts
could occur when fu tu re utilities seek to be co-located w ith in existing corridors or alternatively when
greenfield developm ent occurs in landslide prone or highly erodible areas. However, w ith th e proper
im plem entation o f reclam ation and restoration BMPs these impacts can be reduced.

A nother potential cum ulative im pact to geologic resources is the continued developm ent o f the mineral
resource, which could lead to its depletion. The mineral resource is understood to be finite. The effect
w ould be prim arily economic to the various entities w ith financial interests; secondarily there could be
indirect impacts, potentially beneficial, associated w ith technological advances w ith in the industry th a t
w ould fa cilitate the recovery o f m ineral resources th a t cannot be recovered currently.

Agricultural practices throu gh o u t the region as well as the thousands o f miles o f gathering pipelines that
may be bu ilt in th e region could contribute to cum ulative impacts on soils. Agricultural practices can result
in increased erosion and ru n o ff when soils are exposed fo r long periods such as when fields are fallow or
prio r to seeding. Impacts to soils as a result o f pipeline installation are tem porary and typically associated
w ith excavation activities which may result in com paction and erosion when soils are exposed prior to
revegetation. Impacts to soils as a result o f th e Proposed Action w ould be m itigated through the
im plem entation o f BMPs which may include topsoil segregation, erosion controls, and decompaction.
Furtherm ore, adherence to NPDES storm w ater perm its w ould require adequate design, grading, and use
o f BMPs to ensure th a t erosion and sedim ent control measures are properly utilized. Generally, because
o f th e utilization o f to p soil segregation and erosion controls, as well as the m inim al workspace
requirem ents and m inim um duration o f exposed excavations during construction of th e Proposed Action,
th e cum ulative impacts on soils when com bined w ith agricultural practices and o ther pipeline installations
w ould not be significant.

No impacts on mineral extraction, mining, or other deeper geologic resources w ould be cum ulative, since
these uses o f geologic resources (i.e., mining) do not occur in the Project Area. Clearing and grading
associated w ith construction o f the Proposed Action and other projects in th e vicinity could increase soil
erosion in th e area. The introduction o f contam inants to groundw ater due to accidental spills of
construction-related chemicals, fuels, or hydraulic fluid could have an adverse effect on groundw ater
quality. Because the direct effects w ould be localized and lim ited prim arily to the period o f construction.




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cum ulative impacts on geology, soils, and sediments w ould only occur if o ther projects were constructed
at th e same tim e and place as the Proposed Action facilities.

There are smaller diam eter, unregulated, crude oil gathering lines th a t have leaked and affected soil and
ground/surface w ater.      These pre-existing lines have lim ited cathodic protection (external corrosion
protection) and as such th e y are not routinely m onitored. The Proposed Action is th e construction o f a
regulated large diam eter crude oil transmission line and, as discussed th ro u g h o u t this docum ent, is highly
regulated and m onitored. The cum ulative impacts of this pipeline are m inimized by th e regulatory
criteria, th e m onitoring, protections and response im plem ented by Dakota Access during th e operation
o f th e pipeline.

4.2    W ater and Aquatic Life Resources

Cumulative impacts on w ater resources (i.e., groundw ater, surface waters, wetlands) associated w ith the
Proposed Action w ould be avoided, tem porary, an d /o r m inor, as all surface waterbodies w ould be crossed
via trenchless m ethods (i.e., HDD or bore), no perm anent fill or loss o f wetlands are anticipated, and
potential spill-related impacts w ould be avoided or greatly reduced by regulating fuel storage and
refueling activities and by requiring im m ediate cleanup should a spill or leak occur. Spill response and
rem ediation measures associated w ith construction activities are discussed in detail in Dakota Access'
SWPP, SPCCand ECP.

Recently com pleted construction or current construction w ith in th e vicinity o f the Project Area could
extend th e period o f exposure o f soils as a result o f incom plete revegetation. These exposed soils may
increase the potential fo r soil erosion or sedim ent transport via overland flo w during precipitation events
resulting in sedim entation in surface waterbodies. These increased loads could have th e potential to
te m p orarily im pact w a te r quality, wetlands, and sensitive fish eggs, fish fry, and invertebrates inhabiting
w aterbodies in th e Project Area watersheds. However, all projects, including the DAPL Project as a whole,
are subject to regulation by the USAGE under the ON A. By installing th e pipeline using th e HDD technique
at th e Missouri River and Lake Oahe crossings, as well as other crossings associated w ith the DAPL Project
as a w hole, and im plem enting th e erosion and sedim ent control measures specified in th e ECP (Appendix
G) and SWPPP (Appendix A), th e potential fo r increased sediment loading from terrestrial sources is
m inim ized and the cum ulative effect is considered to be negligible.

In addition to w a te r quality impacts associated w ith sedim ent loading from erosion and run-off, an
inadvertent release o f non-hazardous drilling mud could occur during HDD activities, including those at
Lake Oahe and th e Missouri River. The likelihood o f inadvertent releases o f drilling mud is greatly
m inim ized through thorough geotechnical analysis and detailed design/m itigation plans at each crossing
and careful m onitoring o f drilling mud returns and pressure during HDD activities. If an inadvertent
release w ere to occur w ith in a w aterbody during HDD activities, such as those at the Missouri River and
Lake Oahe crossings, impacts on w ate r quality and aquatic resources w ould be m inor. Drilling mud is non-
hazardous and impacts on w a te r quality and aquatic resources w ould be akin to those associated w ith
sedim ent loading. Due to the q ua ntity o f drilling mud used in relation to th e size o f waterbodies typically
crossed via HDD, impacts w ould be tem porary and m itigated through im plem entation o f an HDD
Contingency Plan (Appendix B) Impacts on all w aterbodies crossed by th e DAPL Project in its entirety
w ould be minim ized or avoided via HDD an d /o r use o f erosion and sedim ent control measures; thereby
m inim izing the potential fo r cum ulative impacts on w ater and aquatic life resources.



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Impacts on w a ter and aquatic life resources associated w ith sedim ent loading, including potential
inadvertent releases o f non-hazardous drilling mud, as a result o f the Proposed Action and th e DAPL
Project as a w hole w ould be tem porary and short-term . Therefore, these impacts, when evaluated w ith
o th er oil and gas developm ent and infrastructure projects in th e region and agricultural practices, w ould
result in m inor cum ulative impacts on w ater and aquatic life resources.

Spills or leaks o f hazardous liquids during construction and operation o f the Proposed Action, or other
projects in the vicinity, have th e potential to result in long-term impacts on surface and groundw ater
resources as w ell as aquatic life resources. However, construction impacts w ould be m itigated by the
proper design and im plem entation o f BMPs w ould ensure avoidance, m inim ization, an d /o r m itigation o f
potential impacts on w a te r resources and aquatic resources, as required by th e various regulating
agencies th a t have jurisdiction over the DAPL Project. Operational risks are being m itigated by DAPL
Project design to m eet or exceed the applicable federal regulations as detailed in Sec 3.11- Reliability and
Safety. In the unlikely event o f an unanticipated release during operations o f th e pipeline, the effects
w ould be rem ediated fo llow ing the cleanup procedures and rem ediation activities described in Section
3.2.2.2.Therefore, th e potential cum ulative impacts fro m the Proposed Action on w ater resources and
aquatic resources resulting from spills w ould be m inor.

In addition, w hile construction and operation of the Proposed Action along w ith the o ther potential
projects and activities could result in cum ulative impacts on existing wetlands in th e Project Area
watersheds, regulation o f activities under th e CWA by the Corps requires perm itting and m itigation fo r
w etland impacts so th a t there w ould be no net loss in the regional w etland resources. Therefore,
cum ulative impacts on w etland resources in th e Project Area w ould be minim al.

4.3     Vegetation, Agriculture, and Range Resources

As described w ith in Section 3.3.1, all vegetation disturbed by construction w ith in th e flowage easements
and the Project Area/Connected Actions of the federal lands w ould be restored to pre-construction
conditions follow in g the com pletion o f construction activities, w ith the exception o f one PFO wetland
located w ith in the perm anent ROW on the flowage easements th a t w ould be converted to shrub-scrub or
herbaceous wetlands.

No forest fragm entation w ould occur as a result of construction and operation o f th e Proposed Action.
No in te rio r (core) forest habitat is crossed by the Proposed Action, and the only w ooded area th a t w ould
be perm anently impacted by the Proposed Action include one PFO wetland (0.05 acre) located w ith in the
perm anent ROW on th e flowage easements between HDD boxes. However, much o f the forest and PFO
w etlands in the vicinity o f the Project Area have already been fragm ented by agricultural activities, roads,
and o the r commercial or industrial developments. Further, construction o f the Proposed Action facilities
w ould not result in the perm anent loss o f w etland features. Although trees w ith in a 30-foot corridor
centered on the pipeline th a t could compromise th e integrity o f th e pipeline coating w ould be selectively
removed th ro ug ho u t th e operational life o f the Proposed Action, this portion o f the PFO w etland impacted
by the Proposed Action w ould be converted to PEM or PSS and allowed to revegetate w ith scrub-shrub or
herbaceous species. Therefore, fu rth e r fragm entation o f wetlands or creation o f new forest-edge habitat
as a result o f th e Proposed Action w ould be negligible.




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Generally, the greatest im pact to th e native vegetative com m unity is associated w ith past and current
agricultural practices. Pipeline projects impact a relatively small area in relation to th e to ta l landscape, as
these impacts are typically short in duration and tem porary in nature. Examples of impacts to vegetation,
agriculture, and range resources could include introduction o f non-native plants an d /o r noxious weeds,
habitat fragm entation, altered vegetative structure, reduced population sizes below critical threshold
levels, sedim entation or degradation o f surface waters, erosion, and siltation.                  However, the
im plem entation o f BMPs outlined in the SWPPP (Appendix A) and ECP (Appendix G) and reclam ation o f
disturbed areas w ith native vegetation w ould reduce the chances o f adverse individual or cum ulative
impacts. In addition, w hile other project pipeline corridors may require clearing o f forested areas and
potential habitat fragm entation, te m porary workspace areas w ould be revegetated upon com pletion of
construction. Further, these projects w ould be located in a region of North Dakota th a t is dom inated by
open or agricultural land, thereby m inim izing the potential fo r perm anent habitat fragm entation.
Regionally, there have been releases o f hazardous m aterial from unregulated, smaller diam eter gathering
pipelines th a t have had an adverse effect on vegetation, agriculture and range resources. In the unlikely
event o f an unanticipated release during operations o f the pipeline, th e effects w ould be rem ediated
fo llo w ing th e cleanup procedures and rem ediation activities described in Section 3.11. Therefore, the
potential cum ulative impacts from th e Proposed Action on vegetation, agriculture and range resources
w ould be m inor.

4.4      Threatened, Endangered, Candidate, and Proposed Species

As required by th e ESA, the status o f each species listed as threatened or endangered is evaluated every
5 years by USFWS to assess its recovery and determ ine if a change in its listing status is warranted. W here
available, these docum ents w ere utilized to identify the potential fo r ongoing regional oil and gas
developm ent to significantly threaten the species listed in the Project area. For species in which a 5-Year
Review was not available, Dakota Access utilized the species Recovery Plan an d /o r Final Rule to evaluate
potential threats on the species resulting from regional oil and gas developm ent.

Species fo r which no suitable habitat is present in th e Project Area or Connected Action Area, such as the
black-footed ferret, Dakota skipper, and gray w olf, w ere not evaluated, as th e Proposed Action w ould not
co ntribu te to cum ulative impacts on these species. Further, the northern long-eared bat was not
evaluated since th e species is not provided federal protection in the Project Area or Connected Action
Area under th e Interim 4(d) Rule; this area is w ell outside of th e published W hite-Nose Syndrome Buffer
Zone.

H abitat loss and m odification are th e prim ary threats to th e continued existence o f interior least tern,
w hooping crane, piping plover, rufa red knot, and pallid sturgeon. The potential cum ulative impacts from
oil and gas activities in th e region on th e current listing or potential elevated fu tu re listing o f these five
species are discussed in detail below.

4.4.1    Interior Least Tern

The USFWS does not address oil and gas activities, including potential spills, as a potential or ongoing
th re a t to th e in te rio r least te rn in either the 5-year review, or th e recovery plan (USFWS, 2013e). The
prim ary th re a t to in te rio r least terns and th e cause of the initial population declines resulted from river




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channelization, im poundm ents, and changes in river flo w resulting in loss of suitable habitat througho ut
th e ir range.

4.4.2    Whooping Crane

According to th e USFWS (2007) International Recovery Plan fo r the W hooping Crane {Grus Americana)
th e USFWS considers oil and gas activities as a secondary threat, especially w ithin th e w intering range in
th e southeast United States. Potential threats on whooping cranes along the Central Flyway m igratory
route in th e region of the Proposed Action include loss o f stopover habitat from conversion o f natural
wetlands (e.g., prairie potholes) to croplands, as well as developm ent activities associated w ith natural
gas and oil production. The Proposed Action w ould not result in any loss of stopover habitat fo r the
whooping crane; therefore, it w ould not contribute to cum ulative impacts on the species.

4.4.3    Piping Plover

The USFWS (2009b) 5-Year Review fo r the piping plover does specifically address threats from oil and gas
activities in North Dakota. Flowever, impacts from oil and gas activities th a t are threatening piping plover
are associated w ith the developm ent of oil and gas exploration wells located near th e alkali lakes habitat,
which accounts fo r 83% o f the U.S. Northern Great Plains piping plover breeding habitat. The Proposed
Action is not located w ith in the vicinity o f any o f these areas and w ould therefore not contribute to
cum ulative impacts on piping plovers.

4.4.4    Rufa Red Knot

According to th e Final Rule (79 FR 73706) fo r the rufa red knot (USFWS, 2014b), the USFWS considers oil
and gas activities as a secondary thre at, especially near th e coast (prim arily in southeast Texas in the
w inte rin g range). Potential threats to these species along th e Central Flyway m igratory route in the region
o f th e Proposed Action include loss o f stopover habitat from conversion o f natural wetlands (e.g., prairie
potholes) to croplands and developm ent (including oil and gas exploration). The Proposed Action w ould
not result in any loss o f stopover habitat fo r th e rufa red knot; therefore, it w ould not contribute to
cum ulative impacts on th e species.

4.4.5    Pallid Sturgeon

The USFWS (2014c) Revised Recovery Plan fo r the Pallid Sturgeon (Scaphirhynchus albus) specifically
addresses the potential effects o f energy developm ent such as oil and gas pipelines on pallid sturgeon. It
states th a t w hile a rupture o f a pipeline w ith in sturgeon habitat could pose a threat, the impacts w ould
be localized and th e m agnitude o f th e im pact w ould be dependent on th e quantity and tim ing of the
m aterial released. It is highly unlikely th a t a cum ulative im pact resulting from a spill or leak w ould occur,
as it w ould require m ultiple pipelines in th e same general area to experience anomalous events
simultaneously. Even if this w ere to occur, these impacts w ould be localized and tem porary and w ould
likely not result in a significant im pact on the recovery o f pallid sturgeon, as a whole, as it is found in other
w aterbodies and in other regions th rou gho ut its range (USFWS, 2014c).




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4.4.6    Conclusion

The collocation o f utilities in established corridors; the proper im plem entation of erosion control devices;
compliance w ith perm its issued fo r regulated activities; and rapid, thorough, environm entally appropriate
reclam ation efforts, and design and operation o f projects to m eet or exceed regulatory requirem ents are
industry standards that, when applied consistently, on a regional basis, w ould m inim ize cum ulative
impacts now and in the futu re . Based on th e pipeline route, and th e utilization o f HDDs, the Proposed
Action is not likely to have any perm anent adverse impacts to habitat utilized by listed species, including
aquatic species as discussed in Section 3.4. Therefore, th e Proposed Action w ill not have a cum ulative
effect on listed species.

4.5      W ildlife Resources

Regionally, th e greatest impacts to w ild life (past, present or future) can be associated w ith agricultural
developm ent. Agricultural land use replaced th e existing natural diversity w ith th e m onoculture row
crops. The practice also introduced noxious weeds, soil pests, and other exotics, which all had significant
cum ulative impacts on regional w ildlife. Relative to the habitat and land use impacts associated w ith past
agricultural activities, the Proposed Action impacts, as well as those associated w ith the oil and gas
industry on a regional basis and Connected Actions w ould be nominal. This is due to th e short duration
and small scale o f the Proposed Action relative to the regional landscape and the large scale o f agricultural
activities in the region.

The Proposed Action w ould not perm anently alter the character o f th e m ajority o f available habitats as
m ost impacts are expected to be tem porary (see Section 4.3 fo r a discussion o f vegetation impacts
associated w ith the Proposed Action and the DAPL Project as a whole). Possible tem porary, short-term
impacts on w ild life include the te m porary displacement of some m obile individuals to similar, adjacent
habitats during construction activities. Further, w hile o ther oil and gas projects' pipeline corridors may
require clearing o f forested habitat (if present), once construction is complete, tem porary workspace
areas w ould be able to revegetate. In addition, th e perm anent easement w ould be allowed to revegetate
w ith herbaceous species, w hich provides habitat to a variety o f species th a t utilize herbaceous and edge
habitats. W hen analyzed on a regional basis, these impacts do not change significantly in m agnitude when
compared to th e current and historic impacts previously imposed upon the regional w ild life by agricultural
developm ent. Therefore, fu rth e r habitat fragm entation as a result o f th e Proposed Action or o ther oil
and gas developm ents in th e region w ould be negligible and is not anticipated to significantly contribute
to cum ulative effects on w ildlife.

4.6      Land Use and Recreation

Regional oil and gas developm ent and related activities could cause an impact to land use and recreation
in th e Project Area. However, increased impacts are not anticipated based on the design of th e DAPL
Project and BMPs th a t w ould be im plem ented to restore th e impacted area. Tem porary impacts to land
use w ould potentially occur during the period o f active construction but areas w ould revert to
preconstruction use fo llo w ing restoration. Because construction w ould be short term and land use
conversion w ould be m inim al, th e cum ulative im pact on land use as a result o f th e Proposed Action w ould
be te m porary and minor.




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The flow age easement crossing w ould be located in an area w ith a greater density o f prior development,
w hile th e Lake Oahe crossing w ould be located in an area w ith relatively little surface developm ent. That
said, since the Proposed Action has been co-located w ith existing pipelines the additional im pact incurred
by th e Proposed Action w ould be negligible if restored as proposed.

The potential cum ulative impacts from th e Proposed Action on land use and recreation resources resulting
fro m spills w ould be m inor. Although there have been releases o f hazardous m aterial from small
diam eter, unregulated gathering pipelines th a t have had an adverse effect on land use and recreation
resources, it is highly unlikely fo r an unanticipated release to occur w ith in the EA review area during
operations of th e DAPL pipeline, which is subject to DOT construction regulations and pipeline leak
detection m onitoring guidelines.

In th e event o f an unanticipated release during operations of th e pipeline, th e effects w ould be
rem ediated follow ing th e cleanup procedures and rem ediation activities described in Section 3.11.
Cumulatively, the impacts associated w ith land use and recreation resources w ould be minimal.




4.7     Cultural and Historic Resources and Native American Consultations

Dakota Access w ould im plem ent measures to avoid or m itigate adverse effects to cultural resources th a t
have been determ ined, in consultation w ith th e federal land managing agencies, NDSHPO, and Native
American tribes, to be eligible fo r listing in th e NRHP. At the one potential NRHP-eligible site mapped
adjacent to th e workspace w ith in the EA review area, Dakota Access w ould install exclusionary fencing
along th e o u ter workspace boundary during construction to prevent inadvertent trespassing by
construction staff or vehicles. This area w ould be classified generically as sensitive environm ental areas,
and w ould be closely m onitored by El staff. If an unanticipated discovery occurs during construction,
Dakota Access w ould fo llo w th e measures described in its UDP (Appendix F).

Although the possibility o f an unanticipated discovery is low based on the negative findings o f the field
survey efforts in the Project Area, the measures outlined in th e UDP includes a thorough notification
protocol which w ould ensure th a t th e necessary cultural resources specialists and agency personnel are
involved to appropriately address the nature and significance and o f th e find. The Proposed Action is not
anticipated to im pact cultural resources; therefore, cum ulative impacts associated w ith th e Proposed
Action w ould not occur.

4.8     Social and Economic Conditions

Construction of the overall DAPL Project w ould contribute m ore than $1 billion in direct spending just fo r
materials - th e m ajority o f which w ould be purchased in th e U.S. Fifty-seven percent o f th e pipe; the
m ajority o f the valves, fittings, valve actuators; and the m ajority of the remaining materials w ould be
m anufactured in th e U.S., creating significant opportunities fo r regional and national m anufacturing. In
addition to m anufactured goods and services, th e DAPL Project w ould provide $195 m illion in easement
payments to th e landowners whose property is crossed by the DAPL Project.



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The Proposed Action w ould have a relatively short construction w indow w ith a small num ber o f
construction workers dedicated to th e crossings. It is possible th a t nearby tow ns could experience short-
te rm tem porary increases to the local economy through induced spending fro m construction employees
w orking on the Proposed Action. No residential homes or farm s w ould be relocated as a result o f the
Proposed Action. Additionally, no demographic changes in the Census tracts affected w ith in the Project
Area counties are anticipated because no perm anent employees w ould be created as a result o f the
Proposed Action. Therefore, the only indirect socioeconomic impacts from the Proposed Action are likely
to be related to the tem porary influx o f workers, such as increased demand fo r short term housing and
th e secondary economic benefits discussed in Section 4.10.

The regional population has dram atically increased over th e last seven year period due to oil and gas
developm ent; concentrated in th e Project Area. The m ajority o f th e current available and transient labor
force in the region is involved in the exploration and production o f th e resources, or construction of
related infrastructure, both o f which are labor intensive efforts though tem porary in nature. W ell rigs are
m obile and the num ber o f available drilling leases is lim ited as well as the mineral resource itself. For
these reasons the labor pool effects associated w ith the exploration and production o f the resource are
considered to be a tem porary impact.

Regarding cum ulative impacts to socioeconomic resources, th e Proposed Action w ould provide a benefit
to local m erchants and vendors as well as providing potential tem porary em ploym ent opportunities to
th e local w orkforce. As such, no substantive negative direct, indirect, or cum ulative impacts to
socioeconomic resources w ould result from th e Proposed Action.

4.9    Transportation and Traffic

As discussed in Section 3.3, roads th ro u g h o u t North Dakota have received a sharp increase in truck tra ffic
due to increased oil and gas activity. The greater am ount of tra ffic has led to a decline in the
transportation infrastructure and a decrease in road safety th ro u g h o u t the state. Additional oil and gas
developm ent and production may continue to contribute to cum ulative effects on roads in the vicinity of
th e Project Area requiring a higher frequency o f road maintenance and repair on public roadways.

Cumulative impacts fro m construction o f th e Proposed Action w ould tem porarily increase tra ffic in the
im m ediate vicinity o f the Project Area. This increase in tra ffic w ould be tem porary and is not expected to
result in significant impacts to North Dakota's transportatio n infrastructure. Road im provem ents such as
grading w ould be made as necessary and any impacts resulting from Dakota Access's use w ould be
repaired in accordance w ith applicable local permits. Traffic interruptions w ould be minimized to the
extent practical and w ould result in insignificant, tem porary cum ulative impacts on regional
transportation resources as it w ould be localized to the im m ediate vicinity o f the Project Area and m ajor
delivery routes.

During operations o f the Proposed Action, there is expected to be a positive effect on tra ffic resources in
N orth Dakota. Once in operation, Dakota Access plans to transport 450,000 bpd o f crude oil via pipeline
which w ould significantly reduce the demand fo r the comm ercial trucking o f crude oil on county, state
and interstate highways. It is anticipated th a t the cum ulative effects o f the DAPL Project and o ther fu tu re
pipeline projects w ould be beneficial to the transportatio n infrastructure in North Dakota by decreasing
oil hauled by tru ck tra ffic and th e re fo re reducing wear and tear on roads and highways.



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4.10    EnvironmentalJustice

The Proposed Action and Connected Actions and associated cum ulative effects where practicable have
been co-located w ith existing utilities and across USAGE easements and fee owned property. The DAPL
Project avoids crossing Tribal reservation lands across its entire length. There are no reasonable past,
present or reasonably foreseeable actions th a t togethe r w ith these Proposed Actions w ill have a
cum ulative significant adverse effect on th e environm ent o r a disproportionate im pact on low income or
m in ority populations, including the Standing Rock Sioux or other tribes in or around th e Project.

Additionally, th e holders o f the mineral rights and landowners in th e region, including particular tribes
and trib al members, have witnessed a recent w indfall from oil and gas developm ent. Oil and gas
developm ent generally occurs on private land w ith permission o f th e landowner. Given this ascent, there
is no disproportionate im pact to low income, m inority or trib a l populations benefited by the
Environmental Justice policy. The DAPL Project was routed to avoid sensitive lands and populations,
including triba l lands, and areas and does not have a disproportionate im pact on any low income, m inority
or trib al population benefited by Environmental Justice policy, as discussed in section 3.9, above. For
these reasons, th e Proposed Action and its associated cum ulative actions and effects have no significant
cum ulative im pact to low-incom e, m in ority or tribal populations.

4.11    Air Quality and Noise

No operation emissions are associated w ith th e Proposed Action, as no m ajor aboveground facilities
w ould be constructed in the Project Area. Potential cum ulative impacts on air quality w ould result from
concurrent construction o f th e Project and other developm ent projects in the region. Cumulative impacts
on air quality associated w ith construction o f the Proposed Action w ould be tem porary and short-term ;
therefore, even if construction o f o th er projects were concurrent w ith th e Proposed Action, cum ulative
construction-related air quality impacts w ould be negligible.

Construction of th e Proposed Action w ould affect am bient noise levels at some nearby residences during
active construction. The noise im pact o f th e pipeline construction w ould prim arily originate from the HDD
equipm ent and w ould be highly localized to th e HDD entry and exit sites. However, because the duration
o f construction w ould be short-term , the contribution o f the Proposed Action to cum ulative impacts on
noise w ould be negligible.




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                5.0      IRREVERSIBLE AND IRRETRIEVABLE COMMITMENT OF RESOURCES

As required by NEPA, irreversible and irretrievable com m itm ents o f resources involved in the Proposed
Action should it be im plem ented, m ust be addressed in th e EA. Irreversible com m itm ents o f resources
result in a loss o f fu tu re options. C om m itm ents o f resources which are irreversible are those resources
which are destroyed or consumed and are neither renewable nor recoverable fo r use by fu tu re
generations. Examples o f irreversible com m itm ents o f resources include consum ption of petroleum -
based fuels or minerals and destruction cultural resources. Irretrievable com m itm ents o f resources result
in a loss o f productivity. Com m itm ents o f resources which are irretrievable occur when th e productive
use or value o f a renewable resource is lost fo r a period o f tim e. For example, tim b e r or soil productivity
may be lost fo r a period o f tim e resulting in an irretrievable loss o f production, but th e action is reversible.

Construction activities associated w ith th e Proposed Action w ould result in the consum ption of materials
such as alum inum , steel, other metals, w ood, gravel, sand, plastics, and various form s o f petroleum-based
fuels, th e use o f which w ould constitute an irreversible com m itm ent of resources. M ost of these materials
are nonrenewable and w ould be irreversibly com m itted if not recycled or reused during maintenance or
at th e end o f th e life o f the Proposed Action.

Areas o f vegetation removal or conversion along th e perm anent right-of-w ay, such as areas w here trees
or shrubs w ere established p rior to construction but w ould be m aintained in an herbaceous state during
operation, w ould represent an irretrievable com m itm ent o f resources. Additionally, erosion, compaction,
or an overall loss o f soil productivity could occur if these impacts are not properly m itigated. Use o f w ater
fo r dust control and hydrostatic testing w ould also be irretrievable. O ther irretrievable com m itm ents of
resources could occur if areas te m p orarily impacted by construction were not restored.

Overall, there w ould be a very m inim al com m itm ent o f irreversible an d /o r irretrievable resources as a
result o f th e Proposed Action since the m ajority o f impacts w ould be tem porary and w ould occur w ith in
agricultural land. Additionally, irreversible a n d /o r irretrievable com m itm ents of resources w ould be
m inim ized through the m itigation measures fo r the affected environm ents identified th rougho ut this EA.




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                                        6.0    MITIGATION SUMMARY

Dakota Access has selected th e Proposed Action to m inim ize impacts to natural/cultural resources as
summarized in Table 8-2. System and routing alternatives w ere considered fo r the entire DAPL Project in
order to m eet purpose and need, design criteria and construction requirem ents, w hile minimizing
potential impacts to th e existing environm ent and socioeconomic setting. Impacts to the environm ent
w ould be tem porary and not significant as a result o f avoiding, m inim izing and m itigation any potential
impacts. The m ajority o f potential impacts w ould be m itigated by HDD technology which w ould bore
beneath resources and allow pipeline construction to proceed w ith the least am ount o f impacts possible.
Dakota Access has w ould also im plem ent general m itigation measures such as those described in th e ECP
(Appendix G). The ECP has been developed based on decades o f experience im plem enting BMPs during
construction in accordance w ith generally accepted industry practices fo r linear infrastructure and cross-
county pipelines. It is intended to m eet or exceed federal, state, and local environm ental protection and
erosion control requirem ents, specifications and practices. The ECP describes current construction
techniques and m itigation measures th a t w ould be em ployed to minimize th e effects o f construction on
environm ental resources. Some o f th e basic procedures identified in the ECP are listed below:

    •    BMPs designed to m inim ize th e effects o f construction on environm ental resources;
    •    Tem porary and perm anent erosion and sedim ent control measures;
    •    Soil handling procedures designed to preserve the integrity o f th e soil (e.g., topsoil segregation,
         decom paction, etc.);
    •    W etland and w aterbody crossing and stabilization procedures
    •    W ildlife and livestock m itigation measures
    •    Restoration and revegetation procedures
    •    Refueling and waste m anagement procedures
    •    W eed managem ent procedures
    •    W in te r construction practices
    •    S torm w ater managem ent procedures

Dakota Access incorporates environm ental requirem ents into all construction specifications and the ECP
w ould be included in contract docum ents and enforced as such th rougho ut the proposed action. The
construction contractor(s) m ust com ply w ith all applicable perm its and plans during all phases o f
construction. In addition to the ECP, th e Proposed Action w ould be constructed in accordance to the
measures detailed in Dakota Access' SWPPP, SPCC, HD Construction Plan, HDD Contingency Plan, and
UDP.

To fu rth e r ensure compliance w ith perm its, plans, obligations, and com m itm ents, Dakota Access w ould
have fu ll-tim e Els to m o nito r construction and compliance. The Els w ould be responsible fo r observing
construction activities to verify th a t w ork is carried o u t in accordance w ith environm ental perm it
requirem ents and ensure th a t designed avoidance and m itigation measures are properly executed during
construction.

No additional m itigation measures were identified fo r geology and soils; w ater resources; vegetation,
agriculture, and range resources; w ild life resources; aquatic resources; land use and recreation; cultural
and historic resources, social and economic conditions; environm ental justice; or air and noise. General



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m itigation measures, as described in sections 3.1 through 3.7, or avoidance associated w ith th e trenchless
installation (i.e., HDD or bore) o f the proposed pipeline are expected to m itigate adverse impacts to
resources.




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      7.0        FEDERAL, TRIBAL, STATE, AND LOCAL AGENCY CONSULTATION AND COORDINATION

The follow ing is a listing o f all individuals and agencies consulted during preparation o f th e EA regardless
o f w h e th er a response was received. On March 30, 2015, Dakota Access sent letters to interested parties
(indicated by the Corps) requesting comm ents on the federal actions associated w ith crossing Corps
flow age easements and Corps owned and managed federal land. A sample request fo r com m ent letter
sent to individuals and agencies consulted, along w ith the m ailing list and comm ents received, is included
in Appendix J. Appendix K contains th e Notice o f Availability o f th e Draft EA fo r com m ent. Table 7-1
includes a summary o f agency personnel consulted.

                                                  Table 7-1
                                         Agency/Entity Consultation List
                                                                                           Date Received/
            Agency/Entity                    Name                   Address
                                                                                         Relevant EA Section
                                                           110114th Ave. NW STB 1400
            American Rivers          Kristen McDonald                                             N/A
                                                           Washington, DC 20005-5637
  Bureau of Indian Affairs - Fort                                 PO Box 370
                                     Floward Bemer                                                N/A
        Berthold Agency                                       New Town, ND 58763
  Bureau of Indian Affairs - Great                           115 Fourth Avenue S.E.
                                     William Benjamin                                             N/A
      Plains Regional Office                                  Aberdeen, SD 57401
   Bureau of Indian Affairs-Fort                                 P.O. Box 370
                                     Earl Silk                                                    N/A
        Berthold Agency                                       New Town, ND 58763
     Bureau of Indian Affairs-                                      P.O. Box E
                                     Robert Demery                                                N/A
         Standing Rock                                        Fort Yates, ND 58538
                                                           99 23rd Avenue West, Suite
   Bureau of Land Management         Rick Rymerson                     A                          N/A
                                                              Dickinson, ND 58601
                                                                1200 Missouri Ave
    Dakota Prairie Grasslands        Dennis Neitzke                                               N/A
                                                               Bismarck, ND 58504
                                                                  P.O. Box 1095
     Dakota Resource Council         MarkTrechock                                                 N/A
                                                               Dickinson, ND 58601
                                                           400 East Broadway Avenue,
       Bismarck-Mandan
                                     Brian Ritter                   Suite 417                     N/A
    Development Association
                                                              Bismarck, ND 58501
                                                                210 2nd Ave NW
  Morton County Commissioners        Dawn Rhone                                                   N/A
                                                               Mandan, ND 58554
                                                               210 2nd Ave NW
 Morton County Extension Agent       Kari Presler                                                 N/A
                                                            Mandan, ND 58554-3158
                                                               2916 37th St. NW
   Morton County Weed Board          Wayne Carter                                                 N/A
                                                               Mandan, ND 58554
            Emmons County                                          P.O. Box 129
                                     Marlys Ohihauser                                             N/A
            Commissioners                                       Linton, ND 58552
    Emmons County Extension                                   Courthouse, Box 278
                                     Connie Job                                                   N/A
            Agent                                            Linton, ND 58552-0278




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                                     Agency/Entity Consultation List
                                                                                         Date Received/
        Agency/Entity                    Name                     Address
                                                                                       Relevant EA Section
                                                              510 Sampson Ave.
 Emmons County Weed Board         Sam Renschler                                               N/A
                                                              Linton, ND 58552
                                                              205 East Broadway
 Williams County Commissioners    Beth Innis                      PO Box 2047                 N/A
                                                           Williston, ND 58802-2047
                                                              302 East Broadway
 Williams County Extension
                                                                  PO Box 1109                 N/A
 Agent
                                                           Williston, ND 58802-1109
                                                                   109 Main St
 Williams County Weed Board       Jim Basaraba                                                N/A
                                                           Williston, ND 58801-6018
 National Audubon Society State   Genevieve                118 Broadway, Suite 512
                                                                                              N/A
 Office                           Thompson                     Fargo, ND 58102
 Natural Resources Conservation                                 PO Box 583
                                  Kyle Hartel                                                 N/A
 Service                                                   Watford City, ND 58854
 Natural Resources Conservation                              2540 Overlook Lane
                                  Michele R. Doyle                                            N/A
 Service                                                   Mandan, ND 58554-1593
 Natural Resources Conservation                               318 Broadway St. S
                                  Jennifer M. H. Vetter                                       N/A
 Service                                                    Linton, ND 58552-7612
 Natural Resources Conservation                                 1106 West 2nd St
                                  David Schmidt                                               N/A
 Service                                                   Williston, ND 58801-5804
                                                           NDSU Dept 7680 PO Box
 NDSU Dept of Soil Science-
                                                                    6050                      N/A
 Department Chair
                                                            Fargo, ND 58108-6050
 North Dakota Council of                                     1948 Anderson Drive
                                  Leo Keelan                                                  N/A
 Humane Societies                                              Minot, ND 58701
 North Dakota Department of                                  600 East Boulevard
                                  Peter Wax                                                   N/A
 Health                                                      Bismarck, ND 58505
                                                             4900 Ottawa Street
 North Dakota Farm Bureau                                                                     N/A
                                                             Bismarck, ND 58503
                                                                                         April 22, 2015/
                                                              307 1st Street East
 North Dakota Forest Service      Larry Kotchman                                         Section 2.0 and
                                                          Bottineau, ND 58318-1100
                                                                                           Section 3.5
 North Dakota Game & Fish                                 100 N. Bismarck Expressway
                                  Steve Dyke                                                  N/A
 Department                                                Bismarck, ND 58501-5095
 North Dakota Game & Fish                                      406 Dakota Ave
                                  Dave Fryda                                                  N/A
 Department                                                  Riverdale, ND 58565
                                                              100 North Bismarck
 North Dakota Game & Fish
                                  Bruce Kreft                     Expressway                  N/A
 Department
                                                           Bismarck, ND 58501-5095




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                                                Table 7-1
                                      Agency/E ntity Consultation List
                                                                                         Date Received/
         Agency/Entity                    Name                   Address
                                                                                       Relevant EA Section
 North Dakota Game & Fish                                 13932 West Front Street
                                   Kent Luttschwager                                           N/A
 Department                                               Williston, ND 58801-8602
 North Dakota Game & Fish                                     406 Dakota Ave
                                   Fred Ryckman                                                N/A
 Department                                                 Riverdale, ND 58565
                                                             100 North Bismarck
 North Dakota Game & Fish
                                   Terry Steinwand               Expressway                    N/A
 Department
                                                          Bismarck, ND 58501-5095
                                                                                         April 16, 2015/
 North Dakota Industrial
                                                            600 East Boulevard            Section 3.1.2,
 Commission - Oil and Gas          Lynn Flelms
                                                            Bismarck, ND 58505          Section 3.1.3, and
 Division
                                                                                          Section 3.1.4
 North Dakota Industrial
                                                            600 East Boulevard
 Commission - Oil and Gas          Bruce E. Flicks                                             N/A
                                                            Bismarck, ND 58505
 Division
                                                         1707 North 9th St. P.O. Box
 North Dakota Land Department      Mike Brand                       5523                       N/A
                                                          Bismarck, ND 58506-5523
                                                                                         April 20, 2015/
                                                         1600 East Century Avenue,
 North Dakota Parks &                                                                     Section 3.3.1,
                                   Kathy Duttenhefner              Suite 3
 Recreation Department                                                                   Section 3.4 and
                                                         Bismarck, ND 58503-0649
                                                                                           Section 3.5.
 North Dakota Petroleum                                        P.O Box 1395
                                   Ron Ness                                                    N/A
 Council                                                    Bismarck, ND 58502
 North Dakota State Flistorical                           612 East Boulevard Ave.         April 2, 2015/
                                   Susan Quinnell
 Society                                                    Bismarck, ND 58505            Section 3.7.1
 North Dakota State Water                                  900 East Boulevard Ave.
                                   John Paczkowski                                             N/A
 Commission                                               Bismarck, ND 58505-0850
                                                               P.O. Box 2057
 North Dakota Tourism Division     Sarah Otte Coleman                                          N/A
                                                          Bismarck, ND 58502-2057
 U.S. Army Corps of Engineers,                                1513 12th St. SE
                                   Daniel Cimarosti                                            N/A
 Regulatory Office                                          Bismarck, ND 58504
 U.S. Fish and Wildlife Service,                            3425 Miriam Avenue
                                   Scott Larson                                                N/A
 North Dakota Field Office                                Bismarck, ND 58501-7926
                                                         2110 Miriam Drive, Suite A
 USDA-APHIS-WS                     Philip Mastrangelo                                          N/A
                                                            Bismarck, ND 58501
 USDA-Natural Resources                                   220 East Rosser Avenue,         April 13, 2015/
 Conservation Service-North        Mary Podoll                   Room 270                Section 3.1.5 and
 Dakota State Office                                      Bismarck, ND 58502-5020          Section 3.2.3
 USDOI-Office of Surface Mining                               P.O. Box 11018,
                                                                                          April 13, 2015/
 Reclamation and Enforcement-      Jeffrey Fleischman    150 East B Street, Rm 1018
                                                                                           Section 1.1
 Dick Cheney Federal Building                                Casper, WY 82602



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                                              Table 7-1
                                    Agency/E ntity Consultation List
                                                                                        Date Received/
         Agency/Entity                  Name                    Address
                                                                                      Relevant EA Section
                                 Omaha District;          1616 Capitol Avenue
 U.S. Army Corps of Engineers                                                                N/A
                                 CENWO-PM-AA             Omaha, NE 68101-4901
 North Dakota Parks &                                  1600 E. Century Ave. Suite 3
                                 Mr. Jesse Hanson                                            N/A
 Recreation Department                                  Bismarck, ND 58503-0649"
 North Dakota Chapter of the                                  PO Box 1442
                                 Mr. Kory Richardson                                         N/A
 Wildlife Society                                          Bismarck, ND 58502
                                                          311 East Thayer Ave
 Sierra Club - North Dakota
                                 Mr. Blaine Nordwall           Suite 113                     N/A
 Office
                                                          Bismarck, ND 58501




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                           8.0       STATUS OF ENVIRONMENTAL COMPLIANCE

Table 8-1 is a listing o f environm ental protection statutes and o ther environm ental requirem ents, as well
as the status o f Applicant compliance w ith these statutes and requirem ents, regarding this EA.

                                              Table 8-1
                          Environmental Permits, Approvals, and Consultations

    Jurisdiction        Permit or Authorization            Status              Requirement or Action

 Federal
                                                      Pending,
                                                      Application        RHA, Section 10: Missouri River/Lake
 Corps                 RHA, Section 10
                                                      Submitted Dec      Oahe
                                                      2014
                                                      Pending,
                                                      Application        NWP 12, Section 404 Waters with
                       Section 404 CWA
                                                      Submitted Dec      PCN
                                                      2014

                       Survey permission,             Received April     Survey permission, geotechnical
 Corps - Omaha         geotechnical investigation     2015               investigation
 District              Title 30 Rights-of-Way for                        Real Estate Outgrant and EAfor
                       pipelines through Federal                         Crossing the Missouri River/Lake
                                                      Pending
                       Lands and Temporary                               Oahe (Fee title Lands on both sides of
                       Construction License                              river/lake)
                       Flowage Easement Consent
                                                      Pending            Consent to Cross
                       to Cross
                       Section 7 Endangered
                                                      Received May       Compliance under 404 Permit NWP
 USFWS                 Species Act (ESA)
                                                      2016               12 Joint Application
                       Consultation
 Bureau of             Letter of consent to cross     Received           BOR water conveyance facilities, near
 Reclamation           irrigation works               December 2015      cities of Buford and Trenton, ND
 State
                       North Dakota Energy
 North Dakota Public   Conversion and
                                                      Received
 Service Commission    Transmission Facility Siting                      Siting Application, PU-14-842
                                                      January 2016
 (NDPSC)               Act: Certificate of Corridor
                       and Route
 North Dakota
                                                      Permits Received   Crossing Permits for the Lake Oahe
 Office of the State   Sovereign Land Permit
                                                      April 2016         and the Missouri River Crossings
 Engineer
 State Historical
                                                      Received April     Section 106
 Society of North      Section 106 NHPA
                                                      2016               Concurrence/Consultation
 Dakota




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                                              Table 8-1
                          Environmental Permits. Annrovals. and Consultations

    Jurisdiction        Permit or Authorization           Status              Requirement or Action

                       Section 401 Water Quality
                                                     Pending            Automatic with NWP 12
                       Certification
                       Hydrostatic Test Water
                                                     Permits Received   Obtain permit coverage prior to
                       Discharge Permit No.
                                                     May 2016           discharge
 North Dakota          NDG07-0000
 Department of         North Dakota Pollutant
 Health                Discharge Elimination
                       System (NDPDES)               Permit Received
                                                                        Obtain permit coverage
                       Construction Stormwater       April 2016
                       General Permit (NDRIO-
                       0000)



Table 8-2 provides a summary o f th e environm ental m itigation measures discussed th rougho ut this EA
th a t Dakota Access has com m itted to as part o f th e Proposed Action design to avoid or minimize potential
impacts on environm ental and human resources througho ut construction and operation activities.




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                                                             Table 8-2
                                 Summary of Environmental Impact Avoidance and Mitigation Measures

        Resource                                            Environmental Avoidance/Mitigation Measures

                          To protect the terrain of the Project Area and Connected Actions, Dakota Access would, to the extent feasible, restore
                          the areas affected by pipeline construction to pre-construction contours and similar vegetation (excepting trees within
                          approximately 15 feet of the centerline). Pre-construction and as-built surveys would be completed and provided to
                          the Garrison Project.
                          Although not anticipated, if blasting is found to be necessary, Dakota Access would follow procedures specified in its
                          Blasting Plan (Appendix E).
                          Dakota Access, in accordance with North Dakota One Call, would require that the construction contractor, prior to
                          initiating any ground disturbance activities, identify all underground utilities to minimize the potential for encountering
                          buried utility structures.
                          Dakota Access has completed a geotechnical analysis of the flowage easement and federal land crossing sites to
                          facilitate engineering and design, including selection of appropriate materials and construction methods to limit any
                          environmental impacts attributable to landslides.
                          The proposed pipeline would be designed and constructed to meet or exceed industry specifications, which would
                          effectively mitigate the effects of fault movement, landslides, subsidence, and subsidence.
 Geology and Soils        In the event paleontological resources are discovered during construction, Dakota Access would implement measures
                          outlined in its Unanticipated Discoveries Plan Cultural Resources, Human Remains, Paleontological Resources and
                          Contaminated Media (UDP) (Appendix F) to avoid further impacts to these resources.
                          If any vertebrate fossils are found during pipeline construction, Dakota Access would immediately cease construction
                          activities and notify the appropriate agency personnel, including the North Dakota state paleontologist as well as the
                          USACE archaeologist. The appropriate authorities would determine the significance of the find and prescribe the
                          mitigation procedures to be completed prior to resuming pipeline construction.
                          Dakota Access would minimize or avoid impacts on soils by implementing the mitigation measures described in the
                          DAPL Project's SPCC, SWPPP, and ECP as well as requirements of applicable state and federal permits. These
                          documents would be included as contract documents and enforced as such throughout the DAPL Project.
                          To minimize potential impacts on soil productivity, topsoil would be separated during trench excavation in agricultural
                          land, and if applicable, other areas where soil productivity is an important consideration. Unless otherwise requested
                          by the landowner, topsoil in cropland would be removed to a maximum depth of 12 inches from the trench and spoil
                          storage area and stored separately from the trench spoil. After the trench is backfilled, topsoil would be returned to
                          its approximate original location in the soil horizon.




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                          Compaction of agricultural soils would be minimized by restricting construction activities during periods of prolonged
                          rainfall. Where unacceptable levels of compaction occur in agricultural lands, a chisel plow or other deep tillage
                          equipment would be utilized to loosen the soil.
                          Dakota Access would retain Els to monitor the contractor's compliance with applicable requirements to protect soil
                          resources during construction of the DAPL Project. The Garrison Project would be notified if the Els have concerns on
                          the Project Area or Connected Action Area.
                          The HDD workspace sites would be cleared, graded and matted as needed to minimize rutting and compaction.
                          Permanent impacts to soils would be avoided through the application of BMPs during construction, restoration, and
                          post-construction revegetation management, as outlined in the ECP (Appendix G).
                          Impacts to Lake Oahe and the Missouri River would be minimized by using HDD construction methods to install the
                          proposed pipeline underneath the Missouri River and Lake Oahe.
                          The HDD Contractor plans to install steel surface casing, where defined in the site specific HDD plans, to reduce the
                          probability of an inadvertent release when the drill bit is working near the surface.
                          The drilling mud and cuttings would be disposed of in accordance with applicable laws and regulations, likely in an
                          existing landfill or by land farming.
                          Dakota Access would conduct all HDD work according to the HDD Construction Plan (Appendix B) that it has prepared,
                          and implement the HDD Contingency Plan (Appendix B) in the event of an inadvertent release.
                          The Missouri River water withdrawal activity would comply with all applicable permit conditions and regulations,
                          including the specifications on permitted intake structures outlined in the USACE's Regional Conditions for North
 Water Resources          Dakota applicable to NWP 12 (Utility Line Activities). This regional condition requires that the applicant 1) utilize an
                          intake screen with a maximum mesh opening of %-inch, 2) wire, Johnson-like screens must have a maximum distance
                          between wires of 1/8-inch, 3) water velocity at the intake screen shall not exceed %-foot per second, 4) intake
                          structure shall be floating, and 5) at the beginning of pumping, the intake shall be placed over water with a minimum
                          depth of 20 feet.
                          The barge/float required for water withdrawal from the Missouri River would be fitted with a secondary containment
                          structure, and the pump would be placed within this structure to contain accidental spills of fuels. The intake hose
                          would be suspended by floats within the water column and screened to prevent impingement entrainment of foreign
                          objects and aquatic species.
                          Water discharges associated with hydrostatic testing on Corps flowage easements would be conducted in accordance
                          with applicable permits. Hydrostatic test water discharges would not occur on Corps fee property.




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                           Dakota Access would conduct trench dewatering and hydrostatic test discharges in a manner consistent with the North
                           Dakota Pollutant Discharge Elimination System (NDPDES) General Permit NDG-070000, as applicable.
                          Discharged hydrostatic test water would not contain additives unless written approval is received from Dakota Access
                          and applicable permits authorize such additives.
                          Where appropriate, water would be discharged into an energy dissipation and/or filtering device as described in
                          Dakota Access' SWPPP (Appendix A) to remove sediment and to reduce the erosive energy of the discharge.
                          Impacts to waterbodies would be minimized by conducting pipeline construction activities in accordance with
                          applicable regulatory requirements and waterbody construction procedures described in Section 2.3.2.8 and the ECP.
                          Fuel and all other hazardous materials would be stored in accordance with the requirements of Dakota Access' SPCC,
                          SWPPP, and ECP. These documents also describe response, containment, and cleanup measures.
                          Els would monitor compliance with applicable waterbody protection requirements during construction of the facilities.
                          The Project ECP (Appendix G) and SWPPP (Appendix A) describe additional mitigation measures and contains
                          illustrations of how sediment control devices should be utilized.
                           Dakota Access would maintain a vegetative buffer until the actual crossing of the waterbody takes place.
                          Temporary sediment control measures, such as silt fence, would minimize the introduction of sediment into
                          waterbodies during construction and minimize the movement of spoil and sediment from surface runoff during and
                          after construction.
                           Dewatering activities would be conducted in accordance with applicable permits and Dakota Access' SWPPP, and ECP.
                          All surface drainage contours and vegetation would be returned as closely as practical to preconstruction conditions.
                          The potential for groundwater contamination would be avoided by implementing the protective measures set forth in
                          the Project specific SPCCs prepared by the contractor and in Dakota Access' SPCC Plan (Appendix A).
                          In the event of a leak, Dakota Access would work aggressively to isolate the source through the use of remote-
                          controlled shut-off valves, initiate cleanup activities, and contact the appropriate federal and state authorities to
                          coordinate leak containment and cleanup. Dakota Access proposes to meet or exceed all applicable regulations and
                          requirements for pipeline design, construction, and operation.
                          Construction workspace on the flowage easements has been selected based on an absence of wetlands within the
                          Project area.
                          Dakota Access is in the process of obtaining verification for use of NWP 12 for the crossings of both the Missouri River
                          and Lake Oahe Section 10 waterbodies.




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                          The Project ECP and SWPPP specify several measures to protect wetlands and waterbodies from becoming polluted
                          with fuels or other hazardous materials during construction. This plan prohibits the storage of fuel or other hazardous
                          materials within 100 feet of a wetland or waterbody. The ECP also specifies that equipment must be refueled at least
                          100 feet from waterbodies unless, due to site-specific conditions, there is no practical alternative such as the proposed
                          pumping intake structure located on the barge at the Missouri River Crossing. In that case, the contractor must
                          implement site-specific protective measures and containment procedures described in the ECP. Contractors would be
                          required to provide trained personnel, appropriate equipment, and materials to contain and clean up releases of fuel,
                          lubricating oil, or hydraulic fluid that result from equipment failure or other circumstances.
                          The Project has been designed in accordance with accepted floodplain management practices; no impacts to floodplain
                          elevations or velocities are anticipated. Following construction, disturbed areas would be restored to pre-construction
                          grades and contours as practical.
                          If necessary, soil displaced by the installation of the 24-inch pipeline on the flowage easements would be removed
                          from the floodplain and hauled to an upland location in order to ensure original floodplain elevations are restored.
                          Remotely operated above-ground mainline valve sites would be installed on both sides of the Missouri River and Lake
                          Oahe crossings for isolation in the event of an emergency shutdown.
                          Dakota Access will identify an all-weather access and collection point downstream of both the Missouri River crossing
                          and Lake Oahe crossing. At each location, Dakota Access will provide an equipment storage facility that includes a
                          permanent storage area for winter and open water spill response equipment.
                          Impacts to cultivated crops make up the majority of temporary impacts and would return to cultivated crops post-
                          construction.
                          Within areas disturbed by construction of the Project, and not being actively cultivated, including the flowage
                          easement Project Area, Dakota Access would implement active revegetation measures and rapid colonization by
                          annual and perennial herbaceous species to restore most vegetative cover within the first growing season.
                          In areas that require permanent revegetation, Dakota Access would specify appropriate seed mixes, application rates,
                          and seeding dates, taking into account recommendations of appropriate state and federal agencies and landowner
                          requests.
                          In non-agricultural areas, vegetation cleared from ATWS would be allowed to revegetate after construction depending
                          on arrangements with the landowner.
                          Temporary revegetation measures may also be implemented to quickly establish ground cover to minimize the
                          potential for soil erosion and noxious weeds to establish. A temporary seed mix may be applied in these situations.
                          The Project ECP (Appendix G) contains more details regarding temporary revegetation.



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                          When constructing in agricultural areas, a minimum of 1 foot of topsoil (organic layer) would be stripped from the
                          trench line and stockpiled separately from trench spoil to preserve the native seed stock. The ECP contains additional
                          details regarding topsoil segregation.
                          At stream approaches, the contractor would leave a 20-foot buffer of undisturbed herbaceous vegetation on all stream
                          banks during initial clearing, except where grading is needed for bridge installation or where restricted by applicable
                          regulations and/or permit conditions.
                          Dakota Access would work with County Weed Boards to ensure the Project ECP contains relevant and necessary
                          mitigation measures that would be implemented to prevent the spread of noxious weed species during construction
                          and operation of the Project.
                          Herbaceous cover would be seeded on disturbed upland areas during restoration and it is expected that pre-existing
                          herbaceous and shrub habitats would quickly reestablish themselves.
                          In the unlikely event that a listed species is encountered on the Project at Corps owned lands during construction,
                          construction activities would stop and the Corps would be contacted.
                          Herbaceous cover would be seeded on disturbed upland areas during restoration and it is expected that pre-existing
                          herbaceous and shrub habitats would quickly reestablish themselves.
                          In the unlikely event that a listed species is encountered on the Project at Corps owned lands during construction,
                          construction activities would stop and the Corps would be contacted.
                          Installation and removal of the temporary waterline on the flowage easements are anticipated to be complete prior to
                          nesting season; therefore, impacts on the interior least tern and piping plover are not anticipated. However, if the
                          water withdrawal activities are not able to be completed prior to nesting season as expected, Dakota Access would
                          conduct surveys prior to placement of the waterline to confirm the presence/absence of these species within the
 Wildlife Resources       pipeline ROW. If these species are nesting within the Project Area, Dakota Access would postpone water withdrawal
                          activities at the Missouri River until these species have left the area.
                          Direct impacts on potentially suitable habitat for the interior least tern and piping plover at the Missouri River and Lake
                          Oahe would be avoided by crossing the waterbodies via HDD.
                          Lake Oahe would be crossed using a HDD construction method, avoiding impacts on potential migrating rufa red knot
                          loafing habitat.
                          Impacts on the pallid sturgeon or suitable habitat present within the Missouri River would be avoided by implementing
                          the conditions on permitted intake structures outlined in the USACE's Regional Conditions for North Dakota applicable
                          to NWP 12 (Utility Line Activities) and as described in the USFWS Recovery Plan for the Pallid Sturgeon.




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                           Impacts on the pallid sturgeon or suitable habitat present within Lake Oahe would be avoided by crossing the lake via
                           HDD.
                          A successfully completed HDD crossing would avoid aquatic resource impacts to Lake Oahe since the pipeline would be
                          installed without disturbing the aquatic and benthic environments.
                          All construction equipment utilized on or in waters of the state would be subject to inspection by the Department in
                          accordance with the North Dakota Administrative Code (Title 30, Article 3, Chapter 6-01). Further, Dakota Access
                          would implement required measures including the removal of all aquatic vegetation from vessels, motors, trailers, or
                          construction equipment. All water would be drained from bilges or confined spaces. All Aquatic Nuisance Species will
                          be removed from equipment in accordance with the North Dakota Administrative Code (Title 30, Article 3, Chapter 6).
                          All HDD operations conducted for the Missouri River and Lake Oahe crossings would adhere to the HDD Contingency
                          Plan and applicable permit conditions to reduce the likelihood of an inadvertent release to minimize and mitigate
                          environmental impacts. Dakota Access' construction contractor would ensure that the appropriate response
                          personnel and containment equipment are available onsite to effectively implement the HDD Contingency Plan.
                          Water withdrawal activities at the Missouri River would be conducted in accordance with all applicable permit
 Aquatic Resources
                          conditions and regulations and in a manner that would not reduce water flow to a point that would impair flow or
                          impact aquatic life.
                          Intake screens and floats would also be utilized during the withdrawal of water from the Missouri River to prevent
                          entrainment of aquatic life and avoid impacts on aquatic resources.
                          The potential for impacts on aquatic resources associated with accidental fuel spills or leaks during the withdrawal of
                          water from the Missouri River would be avoided or minimized by placing the pump within a secondary containment
                          structure on the barge.
                          For portions of the pipeline installed beneath the lake, the depth of the pipeline profile, the increased wall thickness of
                          the pipe, the installation of remotely operated valves on both sides of the river crossing, monitoring of the system
                          24/7, aerial patrols, and in-line inspection, would further limit the potential for an inadvertent release into the river.
                          Adherence to the GRPs for Lake Oahe and the Missouri River would minimize potential impacts on aquatic wildlife
                          from potential spills during the operation of the pipeline.




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                            Conduct emergency response drills/exercises in accordance with the National Preparedness for Response Exercise
                            Program (PREP) consisting of table top exercises and equipment deployment drills. Dakota Access has committed to
                            additional full scale open water and full scale winter/ice exercises that will be conducted at Lake Sakakawea and Lake
                            Oahe. A full scale exercise will occur once every 3 years (triennial cycle) with the location and type of exercise
                            occurring on alternating schedules (e.g. open water exercise at Oahe the first triennial cycle, followed by winter
                            exercise at Sakakawea the following triennial cycle, followed by a winter exercise at Oahe the following triennial cycle,
                            etc.). Stakeholder (federal, state, local, and Tribal) involvement will be solicited for each exercise. The first exercise will
                            occur within the first 3 years after the pipeline becomes operational.
                            In the event of a leak, Dakota Access would work aggressively to contain the leak, initiate cleanup activities, and
                            contact the appropriate authorities, including the Corps.
                            Mitigation measures to minimize impacts to soils, such as topsoil segregation and decompaction practices, would be
                            fully implemented in accordance with the ECP and SWPPP.
                            Dakota Access would coordinate with all landowners on acceptable methods for construction and restoration,
                            including potential impacts to irrigated fields.
                            Dakota Access would repair surface drains and drainage tiles disturbed during ROW preparation, construction, and
                            maintenance activities.
                            Dakota Access would repair or replace fences and gates removed or damaged as a result of ROW preparation,
                            construction, or maintenance activities.

 Land Use and Recreation    Following construction and restoration, the work area would be restored and ranching would be allowed to continue
                            over the operational ROW. Landowners would be compensated for temporary loss of land and lower yields. Grazing
                            activities would return to normal after revegetation of the disturbed areas.
                           Trees would be protected by Dakota Access in a manner compatible with the safe operation, maintenance, and
                           inspection of the pipeline. Applicable regulations would be adhered to regarding tree and shrub removal from along
                           the route.
                            Dakota Access would obtain and comply with applicable state regulations, county permits, and zoning and land use
                            regulations. Permits may include, but are not limited to, grade and fill permits, ditch crossing permits, road and utility
                            permits, and conditional use permits. Dakota Access would retain one or more Els to monitor compliance with
                            environmental conditions of county permits.
                            In accordance with Section 106 of the NHPA, Dakota Access has made a good faith effort to identify significant historic
 Cultural and Historic
                            properties within the Project area. Based on the result of these efforts, no properties consisted to be eligible, or
 Resources
                            potentially eligible for listing in the NRHP would be adversely impacted by the proposed Project or Connected Action.



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                           Impacts to the NRHP-eligible BUS (site 32WI1367) would be avoided via HDD to ensure the integrity of construction
                           design for these historic-age features is preserved.
                           HDD workspaces, as well as staging and stringing areas, would be positioned in excess of 100 feet beyond the mapped
                           boundaries of the previously recorded cultural sites in the vicinity of the Lake Oahe crossing.
                           Dakota Access' UDP was developed (Appendix F) for use during all DAPL Project construction activities which describes
                           actions that would be taken in the event of a previously unrecorded cultural resource site is discovered during
                           construction activities. The UDP explicitly calls for work to stop until the correct authority or agency can be contacted
                           and the find can be properly evaluated.
                          The USAGE will conduct archeological monitoring of construction for the HDD activities on both sides of Lake Oahe.
                           No residential homes or farms would be relocated resulting from the proposed action.
 Social and Economic
                           No demographic changes in the Census tracts affected are anticipated, because no permanent employees would be
 Conditions
                           created as a result of the Proposed Action.
                           In the unlikely event contamination is encountered during construction, the UDP (Appendix F) would be implemented
                           to protect people and the environment and avoid or minimize any effects from unearthing the material.
                           Any hazardous materials discovered, generated, or used during construction would be managed and disposed of in
                           accordance with applicable local, tribal, state, and federal regulations. Should emergency response be required during
 Hazardous Waste
                           construction, the contractor would have some of their own trained or contracted responders, and local response
                           teams would be expected to assist.
                           Dakota Access would comply with all applicable laws and regulations to abate or prevent pollution, such as the RCRA,
                           and State hazardous waste management rules.
                           All activities would be conducted in a safe manner in accordance with the standards specified in the OSHA regulations.
                          To prevent pipeline failures resulting in inadvertent releases, Dakota Access would construct and maintain the pipeline
                          to meet or exceed industry and governmental requirements and standards. Specifically, the steel pipe would meet
                          PHMSA specifications under 49 CFR § 195, follow standards issued by the American Society of Mechanical Engineers,
 Reliability and Safety   National Association for Corrosion Engineers and API.
                           Dakota Access would maintain and inspect the pipeline in accordance with PHMSA regulations, industry codes and
                           prudent pipeline operating protocols and techniques. The pipeline ROW would be patrolled and inspected by air every
                           10 days, weather permitting, but at least every three weeks and not less than 26 times per year, to check for abnormal
                           conditions or dangerous activities, such as unauthorized excavation along the pipeline route.




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                          Dakota Access is currently drafting a FRP, in accordance with 49 CFR 194, which details the procedures to be
                          implemented in the event of an inadvertent pipeline release and would be in place prior to commencing
                          transportation of crude oil.
                          Following completion of construction and throughout operation of the Project facilities, the Operator and qualified
                          contractors would maintain emergency response equipment and personnel at strategic points along the pipeline route.
                          Contracts would be in place with oil spill response companies that have the capability to mobilize to support cleanup
                          and remediation efforts in the event of a pipeline release. The operator would also coordinate with local emergency
                          responders in preventing and responding to any pipeline related problems.
                          A SCADA system would be utilized to provide constant remote oversight of the Project facilities.
                          A Computational Pipeline Monitoring System (CPM) would be utilized to monitor the pipeline for leaks.
                          LeakWarn is being tailored to the Project facilities, in accordance with PFIMSA requirements, to monitor the pipeline
                          for leaks.
                          To reduce the emission of criteria pollutants, fuel-burning equipment running times would be kept to a minimum and
                          engines would be properly maintained.
 Air Quality and Noise    Dakota Access would mitigate noise impacts by limiting equipment running times and the duration of Project
                          construction to the minimum amount necessary to complete the Project. Noisy construction activities would typically
                          be limited to the least noise-sensitive times of day (daytime).




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                                 9.0     LIST OF PREPARERS AND REVIEWERS

Dakota Access, in cooperation w ith the USAGE Preparers, reviewers, consultants and Federal officials
include th e follow ing:

                                                    Table 9-1
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 Bismarck Regulatory Chief        Operations Division                     Corps of Engineers, Omaha District

 Oahe Project Archaeologist       Oahe Dam and Lake Project               Corps of Engineers, Omaha District
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                                  Operations Division                     Corps of Engineers, Omaha District
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                                                  Table 9-1
                                      List of Preparers and Reviewers
           Name                             Title/Office                              Agency
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                                                                        LLC




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                         10.0      ACRONYMS, INITIALS, AND ABBREVIATIONS

ANSI                   American National Standards Institute

API                    American Petroleum Institute

ATWS                   Additional Tem porary Workspace

BMP                     Best M anagem ent Practice

bpd                    barrels per day

BTIS                    Buford-Trenton Irrigation System

CAA                    Clean A ir Act

CERCLA                 Comprehensive Environmental Response Compensation and Liability Act

CEQ                    Council on Environmental Quality

CFR                    Code o f Federal Regulations

Corps                   U.S. Arm y Corps o f Engineers

Company                 Energy Transfer Company

CWA                    Clean W ater Act

DA                      D epartm ent o f th e Army

dB                      Decibels

Dakota Access           Dakota Access, LLC

DAPL Project            Dakota Access Pipeline Project

DOT                     D epartm ent o f Transportation

EA                      Environmental Assessment

ECP                     Environmental Construction Plan

ECD                     Erosion Control Device

El                      Environmental Inspector

EG                      Executive Order

EPA                     U.S. Environmental Protection Agency

ESA                     Endangered Species Act

FEMA                    Federal Emergency M anagem ent Agency




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FERC                    Federal Energy Regulatory Commission

FIRM                    Flood Insurance rate Maps

FRP                     Facility Response Plan

FRFM                    Flood Risk and Floodplain M anagem ent Section

g                      gravitational acceleration

GIS                    Geographic Inform ation System

GRP                    Geographical Response Plan

HDD                     Horizontal Directional Drilling

MP                     m ilepost

MSL                     Mean Sea Level

NDPSC                   N orth Dakota Public Service Commission

NDPDES                  N orth Dakota Pollutant Discharge Elim ination System

NDSHPO                  N orth Dakota State Historic Preservation Office

NEPA                    National Environmental Preservation Act

NFIP                    National Flood Insurance Program

NHPA                    National Historic Preservation Act

NLCD                    National Land Cover Dataset

NPDES                   National Pollutant Discharge Elimination System

NPS                     U.S. National Park Service

NRCS                    Natural Resources Conservation Service

NRHP                    National Register o f Historic Places

NRI                     N ationw ide Rivers Inventory

NSF                     National Science Foundation

NWI                     National W etland Inventory

NWP                     N ationw ide Permit

OSHA                   Occupational Safety and Health Adm inistration

OSRO                   Oil Spill Response Organization




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PA                      Programmatic Agreem ent

PEM                     Palustrine Emergent

PRO                     Palustrine Forested

PHMSA                   Pipeline and Hazardous M aterials Safety A dm inistration

PREP                    National Preparedness fo r Response Exercise Program

Project Area           Areas th a t are potentially impacted by construction an d /o r operation o f the
                       Proposed Action

Proposed Action        Crossing o f federal flowage easements near the upper end o f Lake Sakakawea
                       north o f the Missouri River in W illiam s County, North Dakota and federally owned
                       lands at Lake Oahe in M orton and Emmons counties, N orth Dakota

RCRA                    Resource Conservation and Recovery Act

RHA                     Rivers and Harbors Act

ROW                     Right-of-W ay

SPCC                   Spill Prevention, Control and Countermeasure Plan

SWPPP                  S torm w ater Pollution Prevention Plan

THPO                   Tribal Historic Preservation Office

UDP                     Unanticipated    Discoveries Plan Cultural Resources,         Human     Remains,
                        Paleontological Resources and Contaminated Media

USAGE                   U.S. Arm y Corps o f Engineers

USDA                    U.S. D epartm ent o f Agriculture

USFWS                   U.S. Fish and W ildlife Service

USGS                    U.S. Geological Survey

WMA                    W ildlife M anagem ent Area




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Figure 2:      Project Layout— Flowage Easements
Figure 3:      Project Layout— Federal Lands
Figure 4:      Soils— Flowage Easements
Figure 5:      Soils— Federal Lands
Figure 6:      Natural Resources— Flowage Easements
Figure 7:      Natural Resources— Federal Lands
Figures:       Cultural Resources— Flowage Easements
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Figure 16      W hooping Crane—Central Flyway




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                                 North Dakota                                                                                                                                                    Figure 2
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                                                                                                             Project Centerline
                                                                                                -       -    DAPL Centerline                                                              Dakota Access Pipeline Project
                              North Dakota                                                                                                                                                           Figure 3
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                                                                                                              Project Centerline
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                             North Dakota                                                                                                                                                                                               Figure 5
                                        r r ^                                                                 Workspace                                                                                                                  Soils
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                                 North Dakota                                                     □         F ield D e lin e a te d PRO W e tla n d                                                     Figure 6-A
                                                                      U                           I        I F ield D e lin e a te d P S S W e tla n d                                              Natural Resources
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                                                                                                  = =Temporary Above Ground Waterline
                                                                                                         Workspace
                                                                                                                                                                                             Dakota Access Pipeline Project
                                 North Dakota                                                     ^ “      Field D e lin e a te d W a te rb o d y
                                                                                                                                                                                                        Figure 6-B
                                                                      U                           ^ ■ F ie ld Delineated PEM Wetland
                                                                                                  F ^ ^ Pield Delineated PFO Wetland
                                                                                                  1        [Field Delineated PSS Wetland
                                                                                                                                                                                                    Natural Resources
                                                                                                                                                                                                   Flowage Easements
                                                                                                            USACE Flowage Easements
                                                                                                                                                                                             Williams County, North Dakota


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Path: P :\G IS \C lie n t\E T C _ E n e rg yT ra n sfe r\D a ko ta A cce ss_ D A P L \M a p s\E N V \N D _ F lo w E a se m e n ts\0 6 N D _ B _ F lo w E a se m e n tN a tu ra lR e so u rce s.m xd
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                                                                                                •        Milepost                                                              I         I Standing Rock Sioux Reservation                DAKOTA ACCESS, LLC
                                                                                                         Project Centerline
                                                                                                                                                                                                                             Dakota Access Pipeline Project
                             North Dakota                                                   -       -    DAPL Centerline                                                                                                                Figure 7
                                        r r ^                                                            Field Delineated Waterbody                                                                                                Natural Resources
                                                                                                                                                                                                                                     Federal Lands
                                                                                                         Workspace                                                                                                                Morton County and
                                                                                           ^ ^ 3 USACE Federal Lands                                                                                                         Emmons County, North Dakota

                                                                                                        0                                1,750
                                                                                                                                            □ Feet
Path: P :\G IS \C lie n t\E T C _ E n e rg yT ra n sfe r\D a ko ta A cce ss_ D A P L \M a p s\E N V \N D _ F lo w E a se m e n ts\0 7 N D _ L a ke O a h e _ N a tu ra lR e so u rce s.m xd
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                                                                                                     LL3426E
                                                                                                                            LL3431E


                                                                                  LL3426E




                                                                                                       LL3450E




                                                                                                 LL3430E



                                                                                                                         LL3453E




                                                                                                                                        LL3483E




                                                                                                                                                        LL3440E




                                                                                                 •     M ile p ost
                                                                                                 a     B arge Location W itfi P u m p in g Intake S tru ctu re *
                                                                                                                                                                                DAKOTA ACCESS, LLC
                                                                                             =       = T em p o ra ry A b o ve G ro u n d W a te rline
                                                                                                       Pro je ct C e n te rlin e
                                                                                             —       ■ D A P L C e n te rlin e
                                                                                                                                                                   Dakota Access Pipeline Project
                                 North Dakota                                                          W o rkspa ce
                                                                                                                                                                              Figure 8
                                                                                             ^ 3       u S A C E F low ag e E a se m e nts
                                                        t= l_ L i                            fS<N P ro je ct A rc fia e o lo g ic a l S u rve y
                                                                                                                                                                         Cultural Resources
                                                                                                                                                                         Flowage Easements
                                                                                                                                                                   Williams County, North Dakota


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Path: P :\G IS \C lie n t\E T C _ E n e rg yT ra n sfe r\D a ko ta A cce ss_ D A P L \M a p s\E N V \N D _ F lo w E a se m e n ts\0 8 N D _ C R .m xd
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                                                                                                           Milepost
                                                                                                           Project Centerline
                                                                                                                                                                                      DAKOTA ACCESS, LLC
                                                                                                           DAPL Centerline
                                                                                                           USACE Federal Lands                                           Dakota Access Pipeline Project
                             North Dakota                                                       f x y j Project Archaeological Survey                                               Figure 9
                                                                                                           Workspace                                                          Cultural Resources
                                                                                                I    I     Standing Rock Sioux Reservation
                                                                                                                                                                                 Federal Lands
                                                                                                                                                                              Morton County and
                                                                                                                                                                         Emmons County, North Dakota
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                                                                                                                        LL3426E-2


                                                                                                                                                                      LL3431E




                                                                                              LL3426E-2




                                                                                                                                LL3450E-2 V : ^




                                                                                          >         :              LL3430E                     .        ^              f
           Cultivated Crops

            Developed, Low Intensity

            Developed, Open Space

            Emergent Herbaceous Wetland

     . '•/y Grassland/Herbaceous

           Open V\i^ter                                                                                                                                                    |«sw- .
            Pasture/Hay

           Shrub/Scrub

           Woody Wetlands                                                                                                                                                               LL3483E-1
                                                                                                         Milepost
                                                                                                         Project Centerline
                                                                                                                                                                                                   DAKOTA ACCESS, LLC
                                                                                                         DAPL Centerline
                                                                                                         Workspace
                                                                                                                                                                                 Dakota Access Pipeline Project
                                 North Dakota                                                            USACE Flowage Easements
                                                                                                                                                                                           Figure 10-A
                                                                                                                                                                                           Landcover
                                                                                                                                                                                       Flowage Easements
                                                                                                                                                                                 Williams County, North Dakota

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                                                                                                                                 1,200
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Path: P :\G IS \C lie nt\E T C _ E n e rg yT ra n sfe r\D a ko ta A cce ss_ D A P L \M a p s\E N V \N D _ F lo w E a se m e n ts\1 0 N D _ A _ L a n d co ve r.m xd




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                                                                LL3430E

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                                                                                                                                                                      LL3440E



            Cultivated Crops

             Deciduous Forest

             Developed, Low Intensity

           I Developed, Open Space

  Y/ / \ Emergent Herbaceous Wetlands
            Grassland/Herbaceous

             Mixed Forest

            Open V\i^ter

             Pasture/Hay

            Shrub/Scrub

            Woody Wetlands




                                                                                                        B arge Lo ca tion W itfi P u m p in g In take S tru ctu re
                                                                                                •       M ile p ost                                                                       DAKOTA ACCESS, LLC
                                                                                            =       =   T em p o ra ry A b o ve G rou n d W a te rline
                                                                                                        P ro je ct C e n te rlin e
                                                                                                                                                                           Dakota Access Pipeline Project
                                 North Dakota                                               —       — D A P L C e n te rlin e
                                                                                                                                                                                     Figure 10-B
                                           U                                                            W o rkspa ce                                                                 Landcover
                                                                                           ^ ^ ^ U S A C E F low ag e E a se m e nts                                             Flowage Easements
                                                                                                                                                                           Williams County, North Dakota


                                                                                                                                 1,200
                                                                                                                                     Feet                         e
Path: P :\G IS \C lie nt\E T C _ E n e rg yT ra n sfe r\D a ko ta A cce ss_ D A P L \M a p s\E N V \N D _ F lo w E a se m e n ts\1 0 N D _ B _ L a n d co ve r.m xd
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            Cultivated Crops

            Deciduous Forest

            Developed, Open Space

    ;       Emergent Herbaceous Wetlands

        ^ G rassland/Herbaceous

            Open W ater

            W oodv W etlands


                                                                                            •        Milepost
                                                                                                     Project Centerline                                                                                DAKOTA ACCESS, LLC
                                                                                        -       -    DAPL Centerline
                                                                                                                                                                                          Dakota Access Pipeline Project
                           North Dakota                                                              W orkspace
                                                                                                                                                                                                    Figure 11
                                                                 I
                                                                                       ^ ^ 3 USACE Federal Lands
                                     O S]                                               I           I Standing Rock Sioux Reservation
                                                                                                                                                                                                   Landcover
                                                                                                                                                                                                  Federal Lands
                                                                                                                                                                                               Morton County and
                                                                                                                                                                                          Emmons County, North Dakota

                                                                                                                              1,750
                                                                                                                                □ Feet
Path: P :\G IS \C lie n t\E T C _ E n e rgyT ran sfer\D ako taA ccess_ D A P L\M a p s\E N V \N D _ F lo w E ase m e nts\1 1 N D _ L ake O ah e _L an d cove r.m xd
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                                                                                                                                                                            S pring
                                                                                                                                                                            Brook




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            r«rview


                                                                                                                            le x a n d e r




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                                                                                                                                                                                                Cit




                                                                                                     •Preferred Alternative
                                                                                                      Route Alternarive
                                                                                                     ■USACE Garrison Flowage Easements                                                         DAKOTA ACCESS, LLC
                                                                                                     lO tfier Government Lands

                                                                                                                                                                                      Dakota Access Pipeline Project
                                 North Dakota                                                                                                                                                    Figure 12
                                           U                                                                                                                                                 Route Alternative
                                                                                                                                                                                         Missouri River Crossing
                                                                                                                                                                                      Williams County, North Dakota


                                                                                                 0           2          4
                                                                                                                                                ■Miles             e
Path: P :\G IS \C lie n t\E T C _ E n e rg yT ra n sfe r\D a ko ta A cce ss_ D A P L \M a p s\E N V \N D _ F lo w E a se m e n ts\1 2 N D _ M isso u ri_ R _ X in g .m xd
                                                                                                                                                                            NAD 1983 UTM Zone 14N
                                                                                                                                                                                                             1:400,000

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                                             4                                                          ■Preferred Alternative
                                                                                                         Route Alternarive
                                                                                                        =>USACE Garrison Flowage Easements                                                                 DAKOTA ACCESS, LLC
                                                                                                        IStandIng Rock Sioux Reservation
                                                                                                        I USAGE Lake Oafie Fee-Owned Land
                                                                                                                                                                                             Dakota Access Pipeline Project
                                  North Dakota                                                          lO tfier Government Lands
                                                                                                                                                                                                       Figure 13
                                         t n r                                                                                                                                                     Route Alternative
                                                                                                                                                                                                  Lake Oahe Crossing
                                                                                                                                                                                         Emmons & Morton Counties, North Dakota



                                                                                                    0      2      4
                                                                                                                                 I Miles                                e              NAD 1983 UTM Zone 14N
Path: P :\G IS \C lie n t\E T C _ E n e rg yT ra n sfe r\D a ko ta A cce ss_ D A P L \M a p s\E N V \N D _ F lo w E a se m e n ts\1 3 N D _ L a ke _ O a h e _ X in g _ u p d a te 2 0 1 6 0 4 1 2 .m xd
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                                                                                                                                                                                  FIGURE 14


                                                                                                                                                                                                                 Project Area
                                                                                         Connected Action                                                                                                                                                                                  Connected Action
                                                                                                                                                                                                      USACE Fee-Owned Lands
                                                                                                                                                                                                                                                                                                                             Hoiiztental Drilling Rig
                                                                                                                                                                                                                                                                                                              Entu Point
   Drilling Mud Pit
                                                                                                      Private Land USACE Land                                                                                                                                           USACE Land Private Land                   v
                                                                                                                                                                                                    LAKE OAHE
                                                                        jssigned




                                                                                                                                                                                                      j»iign«o




STAGE 1 - DRILLING PILOT HOLE                                                                                                                                                                   Dlrecticn of Drilling Operation




                                                                                                                                                                                                      5.450
                                                                                                                                                                                                                                                                                                                              Hoiijtonlal Orilling Rig

                                                                                                                   Private USACE                                                                                                                                                           Private
                                                                                                                                                                                                    LAKE OAHE
                      A b o v e w a t $ r iin $                                                                                                                                                                                                                                                          30 A b o v e W a t e r lin e
                                                                                                                                                   •115 ■Depth of Pipeline                                                      Daiith sf Lak» Oahs|ici'-2CI
                                                                                                                                                                                                                                                                               Dull Pipe


                                                                                                                                                                             Reamer / Swivel Head                                                              Pilot Mole




STAGE 2 - REAMING AND PIPELINE PULL-BACK                                                                                                                 Direction of Reaming and Puii-Back Operation



N o te : T h is d ia g r a m is c o n c e p tL ia l a n d n o t d ra w n to s c a le . D im e n s io n s s h o w n a re a p p r o x im a te                                   Total Length of Directional Drill = 7,500'                                            DAPL-WGM-GNOOO-PPL-STY-0021 - Figure 2 (03-21-16)



                                                                                                                                              CROSS-SECTION DIAGRAM OF LAKE OAHE HDD CROSSING




                                                                                                                                                                                                                                                                                           USACE DAPL0071380
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                                                                                                                                        FIGURE 15




                                                                      -Project Area-                                                                                                                                                      Connected Action •
                                                                                                                                                                                                                                                                                      H orijtontal Drilling R
                                Exit Poim
                                                                                                    USAC E FLO W AG E EASEMENTS                                                                                                               Private Land
                                                                                                                                                                                  M IS S O U R I R IV E R

                                                                                                                                                          I Depth pfPipelme                                 Depth of Kivei




                                                                                                                                                                                                                                             V             -           ,:


     STAGE 1 - DRILLING PILOT HOLE                                                                                                           Direction of Drilling Operation




                                                                                             -1 4 6 0 '                                                                                    -9 2 5 '-                                                      - 3 3 0 '-
          PrB-Fabrical9cj
                                                                                                                                                                                                                                                                                      Harlstontal Drilling Rig
          Pull-Back Section
                                                                                                      USAC E FLO W AG E EASEMENTS                                                                                                             Private
                                                                                                                                                                                  MISSOURI RIVER
              5 Above Waterline
                                                                                                                                               30 '- EE 'H O sD th Of Pieeiirie                             Depth of RiverU 2S                                               10' Above Wateflinel
                                                                                                                                                                                                                                             Drill Pipe


                                                                                                                                                                                   Ream er! Swiue Head                       Pilot Hole



                  ^ 0 ^                                                                                                                                                                                                                                                          ISouth

     STAGE 2 - REAMING AND PIPELINE PULL-BACK                                                                         Direction of Reaming and Pull-Back Operation


                                                                                                                               Total Length of Directional Drill = 2,715'
N ote: T h is d ia g ra m is co n ceptual and not draw n to scale D im e n s io n s show n a re a p p ro xim a te .                                                                                                                       DAPL-W GM -GN0Q0-PPL-STY-Q 022- Figure 2 (03-21-16)



                                                                                     CROSS-SECTION DIAGRAM OF MISSOUR RIVER HDD CROSSING




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                                                            Williams

                                                           Flowage Easements




                                                               McKenzie
                                                                                                                                                                                                                                        Minnesota
  Montana                                                                                                                                                   North Dakota



                                                                                                                                                Morton

                                                                                                                                                                                 Federa Land



                                                                                                                                                                                Emmons




                                                                                                                                                           South Dakota

                                                                                                                                                                                                                                   DAKOTA ACCESS, LLC
                                                  W in nipeg                                    1 = 1          DAPL Action Area
                                                                               of                                                                                                                                                  Figure 16
                                                                                                 \ / / '/ \ Whooping Crane Migration Corridor                                                                           Dakota Access Pipeline Project
                                             N ORTH
                                             PAKOT,^                  MINNESOTA                                                                  Whooping Crane Migration Corridor from Whooping Cranes & Wind      USACE NO Flowage Easement/408 Areas
                                                                                                                                                 Development - An Issue Paper By Regions 2 and 6, U. S. Fish and
                                                                                                                                                 Wildlife Service April 2009 (Stehn, I , and I . Wassenich. 2008.
                                                                                                                                                 Whooping crane collisions with power lines: an issue paper.          Whooping Crane Migration Corridor
                                                                  Minnc^Ol'^
                                          SO I! TH                                                                                               2006 North American Crane Workshop. In press.)



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                                         DAKOTA
                                                                                                                                                                                                                                               1:2,800,000
      OAfJ V                                                                                                                              40
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Source: A rcG IS O n lin e M apping




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                  M ITIGATED FINDING O F NO SIGNIFICANT IMPACT
                       ENVIRONMENTAL ASSESSMENT
                     DAKOTA ACCESS PIPELIN E PRO JECT
         W ILLIAMS, MORTON, AND EMMONS COUNTIES, NORTH DAKOTA

Iiifroiuctioii: In accordance with the National Environmental Policy Act (NEPA) and its
implementing regulations, an Environmental Assessment (EA) was prepared to evaluate the
potential effects of the United States Army Corps of Engineers (USAGE), Omaha District
(District), granting permission under Section 14 of the Rivers and Harbors Act of 1899, codified
33 U.S.C. Section 408 (Section 408), to Dakota Access, L.L.C. (Dakota Access) to allow the
proposed Dakota Access Pipeline (DAPL) Project to cross federal real property interests
administered by the District. Specifically, the DAPL project would cross federal flowage
easemente near the upper end of Lake Sakakawea, north of the Missouri River in Williams County,
North Dakota, and federally-owned property at Lake Oahe in Morton and Emmons counties, North
Dakota. Dakota Access proposes the DAPL Project to efficiently and safely transport at least
570,000 barrels of crude oil per day (bpd) from the Bakken and Three Forks production region in
North Dakota to a crude oil market hub located near Fatoka, Illinois, and ultimately to refineries
located in the Midwest and the Gulf Coast, where 80% of the U.S. refining capabilities exist.

The EA foliow's guidelines promulgated by the Council on Environmental Quality (CEQ) for
implementing the procedural provisions of NEPA (40 Code of Federal Regulations [CFR] 1500-
1508 and Corps regulation ER 200-2-2 [33 CFR 230]). This action is being completed in
accordance with CEQ regulations in Section 1506.5(a) and 1506.5(b), which allow an applicant to
prepare an EA for federal actions. The Corps has independently evaluated and verified the
information and analysis undertaken in the EA and takes full responsibility for the scope and
content contained herein. Corps offices involved with the preparation and review of this document
are provided in Section 9.0 of the EA.

Purpose and Need: The purpose and need o f the federal action is to determine whether USAGE
may grant permission for Dakota Access to place the pipeline on federal real property interests
acquired and managed by USAGE for the Garrison Dam/Lake Sakakawea and Oahe Dam/Lake
Oahe projects. Section 408 authorizes the Corps to grant permission to Dakota Access to modify
federal flood control and navigation projects, provided the modifications are not injurious to the
public interest and will not impair the usefulness of the projects. The EA addresses the purpose
and need of the pipeline, as well as the location and method o f installation of the pipeline, but the
analysis is limited to the effects o f allowing the pipeline to cross federal flowage easements near
the upper end of Lake Sakakawea, and federally owned lands at Lake Oahe in North Dakota.

Project Sm nm ary: The proposed DAPL project is an approximately 1,100 long crude oil pipeline
W'Mch would begin near Stanley, North Dakota, and end at Patoka, Illinois. In North Dakota, there
are two pipeline segments, including the 148-naile Supply Line and the 210-miIe Mainline, which
total approximately 358 miles across seven counties (Mountrail, Williams, McKenzie, Dunn,
Mercer, Morton, and Emmons). The diameter of the pipeline increases incrementally at designated
tank terminals from 12 inches to 20, 24, and ultimately, 30 inches. The DAPL pipeline is co-

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located with existing pipelines and other linear facilities previously installed on the federal real
property interests over which the District has administrative and regulatory authority.

The portion o f the DAPL project relevant to the EA and this FONSl is the portion that Dakota
Access proposes to construct on Corps-owned lands and flowage easements. The construction
requires real estate actions and Section 10 permits and Section 408 permissions. The EA and this
Finding o f No Significant Impact deal exclusively with granting the Section 408 permissions.
More detailed information is available in Section 1.0 of the EA.

Requester’s Preferred Alternative: The Requester’s Preferred Alternative, identified in the EA
as the Proposed Action, is the construction of the DAPL project on Corps real property interests
as discussed in the Preferred Alternative in the EA. Implementation o f the Requester’s Preferred
Alternative would involve the installation of 2.83 miles of a 24-inch diameter pipeline through
seven tracts over which the Corps acquired flowage easements for the operation of the Garrison
Dam/Lake Sakakaw'ea Project, and 0.21 miles of a 30 inch diameter pipeline on federal property
administered by the District for the Oahe Dam/Lake Oahe Project. As proposed, Dakota Access
would trench the pipeline on federal flowage easements and install the pipeline via HDD under
the Missouri River and Lake Oahe.

Alternatives: There is the potential for daily production in excess of 570,000 barrels per day in
the Bakken and Three Forks production area, but there is no existing pipeline infrastructure
sufficient to transport that volume of crude oil from North Dakota to the refineries. Because the
Corps can only grant permission for the modification of a federal project if it would not be injurious
to the public interest, the EA evaluated alternatives to the construction of the pipeline as a whole,
as well as the alignment of the pipeline and method for installation on federal property. The EA
also analyzed the potential for the pipeline to impair the usefulness of the federal projects.
More information on the alternatives analysis is included in Section 2.0 of the EA,

Sm nm ary of Environm ental Impact: As discussed in the Biological Opinion and the EA, the
Proposed Action would result in no adverse impacts to any federally-listed threatened or
endangered species or their habitats. The U.S Fish and Wildlife Service has concurred that the
portions of the DAPL project that cross federal real property interests administered by the
District will have either “No Effect” or “May Affect, But Not Likely to Adversely Affect” on
listed species.

The Standing Rock Sioux Tribe (SRST) and other tribal governments object to the pipeline and its
alignment because the proposed route crosses under Lake Oahe a few miles upstream of the SRST
water intakes. Tribes are concerned that a leak or rapture would contaminate the river, including
the SRST’s drinking water. The tribes argue the District did not adequately consult on the DAPL
pipeline alignment. The EA establishes that the District made a good faith effort to consult with
the tribes and that it considered all tribal comments. In addition, the pipeline will be located under
Lake Oahe, and Dakota Access has developed response and action plans, and will include several
monitoring systems, shut-off valves and other safety features to minimize the risk of spills and
reduce or remediate any potential damages.




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Summary of Cultural Impacts: Tribes are also concerned that the installation of the pipeline
and a potential leak or rupture could damage or destroy cultural and sacred resources in the area.
The District referenced a Class I Literature Review performed by Dakota Access, as well as
existing Corps of Engineers Class III surveys and the North Dakota State Historic Preservation
Office (SHPO) Guidelines Manual for Cultural Resources Inventory Projects as part of the
National Historic Preservation Act (NHPA) Section 106 evaluation.                        Section 106
consultation/coordination with Tribal governments and members, THPOs, the SHPO, the
Advisory Council on Historic Preservation (ACHP), and other interested parties began in
September 2014. The Corps conducted formal govemment-to-govemment consultation with tribal
representatives via meetings; site visits; distribution of pertinent information; conference calls, and
emails in order to inform tribal governments and private members, and to better understand their
concerns. The Corps’ EA administrative record details over 250 interactions between District and
Dakota Access representatives and consulting parties (Tribes, THPOs, the SHPO, ACHP, and
interested parties) for the DAPL project. All information received during the Section 106 process
was considered during the Corps decision-making process.

Ultimately, the District made a “No Historic Properties Affected” determination, with which the
North Dakota SHPO concurred in a letter dated April 26, 2016. By letter dated June 2, 2016, the
ACHP disputed the District’s finding under 36 C.F.R. Section 800.4(d)(iv)(A) and requested the
ASA(CW) to prepare a summary of the decision and a rationale for the finding. In a final agency
decision sent to the ACHP by letter dated July 25, 2016, the ASA(CW) affirmed the agency
decision and fulfilled USAGE Section 106 responsibilities for the Proposed Action.

Mitigation Measures: The District coordinated closely with Dakota Access to avoid, mitigate
and minimize potential impacts of the Proposed Action so that the pipeline would not impair the
usefulness of the projects and the impacts to the environment would be temporary and not
significant. The majority o f potential impacts would be mitigated by HDD technology, by which
Dakota Access would install the pipeline beneath sensitive resources without surface disturbance,
and allow pipeline construction to proceed with the fewest possible impacts. Additional mitigation
measures are set out in the Environmental Construction Plan; the Storm water Pollution Prevention
Plan; the Spill Prevention, Control, and Countermeasure Plan; the HDD Construction Plan; the
HDD Contingency Plan; the Unanticipated Cultural Resources Discovery Plan, and the
Geographical Response Plan. Unavoidable impacts to land use and vegetation would be temporary
and land would return to current land use once construction is complete. No long-term impacts are
anticipated to any resources. Social and noise impacts to rural residents in the general vicinity
would be minimal as construction would be completed during daylight hours and the locations are
remote from most populated areas. See Section 6.0 in the EA for more details on best management
practices and mitigation measures to which the applicant has committed for the Proposed Action.
Dakota Access must comply with all of the measures in T able 8-2 of the EA. which will be attached
to the District real estate instrament(s).

Conditions of Easement (Lake Oahe crossing) and Consent to Modify Flowage Easements
(Missouri River crossing): The following conditions will be placed on real estate outgrants:




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a. All enviroranfiiitd commitments outlined in Section 6.0 and Table 8-2 of the EA must be
   followed and incorporated by reference.

b. The pipeline must be maintained and operated per ASME B31.3, B31.4, B31.8, CFR 192,
   CFR 195, API 1104, and related codes.

c. Cathodic Protection will be utilized and maintained per applicable codes and Dakota
   Access’ Operations and Maintenance Manual. Wall thickness testing will be performed
   on a five-year interval through the use of in-line inspection. The periodic in-line
   inspection will be performed in-lieu o f periodic hydrologic tests. Inspection reports must
   be sent to the Operation Project Managers (OPMs) at the Oahe and Garrison Project
   Offices.

d. The Facility Response Plan will be submitted to the Corps for review prior to the
   operation of the pipeline.

e. All plans not final at the time the EA is complete will be submitted to the Corps for
   review and the incorporation of Corps comments prior to submittal to U.S. Department of
   Transportation Pipeline and Hazardous Materials Safety Administration. ^

    These plans include, but are not limited to the following:

       1.   Geographical Response Plan;
       2.   Operations and Maintenance Manual;
       3.   Risk Assessment (Integrity Management Plan); and,
       4.   Spill Models (Using the National Hydrography Dataset by the USGS)

f. Any plans that have been updated in condition “e” listed above must be sent to Corps
   Environmental Compliance Coordinators at the Omaha District Office, and the OPMs at
   the Oahe and Garrison Project Offices within one year o f completion of the update.

g. Dakota Access must provide as-built drawings for both crossings to the Corps’ Section
   408 Coordinator at the Omaha District Office and the OPMs at both the Oahe and
   Garrison Project Offices within six months o f the completion of pipeline construction.


h. Commitment for Training Exercises:
     a. Dakota Access must conduct full scale open water and foil scale winter/ice
        exercises at Lake Sakakawea and Lake Oahe. A full scale exercise will occur once
        every 3 years (triennial cycle) with the location and type o f exercise occurring on
        alternating schedules (e.g. open water exercise at Oahe the first triennial cycle,
        followed by winter exercise at Lake Sakakawea the following triennial cycle,
        followed by a winter exercise at Lake Oahe the following triennial cycle, etc.).
        The first exercise will occur within the first 3 years after the pipeline becomes
        operational.




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             b. To facilitate Corps staff involvement, Dakota Access must notify the Corps
                Environmental Compliance Coordinators at the Omaha District Office, Oahe and
                Garrison Project Offices at least ninety (90) days prior to initiation of the training
                exercises. Dakota Access must also solicit the participation of key stakeholders
                (federal, state, local, and Tribal) in these exercises.


    i.    Within one year o f operation of the pipeline, Dakota Access must provide for all-weather
          access and collection points downstream of the HDD crossings at Lake Oahe and Lake
          Sakakawea. Dakota Access must provide an equipment storage facility for each crossing
          on non-federal lands that includes a fenced permanent storage area for winter and open
          water spill response equipment. The storage facility should he placed in a strategic
          location and near existing facilities that would support access to the water in both high
          and low water conditions. Dakota Access will coordinate with the Corps and any other
          applicable stakeholders to obtain all necessary permits and approvals prior to
          construction for any ground disturbing activities associated with these facilities. The
          storage facility should contain sufficient response equipment at a minimum to mitigate an
          unintended worst case release for this crossing.

Coordination and Public Review:

The Corps published a draft EA on December 8, 2015, on the Corps Omaha District website
(http://www.nwo.Corps.armv.mil/Missions/CivilWorks/Planning/ProiectReports.aspxL
Additionally, notifications were made to cooperating agencies, other federal, state and local
agencies, and signatory and non-signatory Tribes to the District Section 106 Programmatic
Agreement. Notices o f availability were included in the Public Notice section of the Bismarck
Tribune, Williston Herald, and Capital Journal on December 8, 2015. The notice stated that the
EA would be available for viewing on the Corps website, and that hard copies would be available
at the Bismarck Public Library, Williston Community Library, and the Rawlins Municipal Library
in Pierre, North Dakota. The draft EA was available for public comment through January 8,2016,
and comments were accepted through January 11, 2016.

The Corps fully considered and responded to comments received, and made additional
clarifications within the EA as necessary. No significant comments remain unresolved. More
information on how the comments received during the review process were addressed is presented
in Appendix J o f the EA. Because all comments have been resolved, neither a supplemental nor a
revised EA will be offered for further public review, and no further NEPA compliance actions are
required prior to the District granting the Section 408 permission for the Proposed Action. The
proposed pipeline route and installation method were selected to minimize impacts to sensitive
resources, and the applicant is required to comply with all applicable federal, state, and local laws
and regulations, all management and response plans referenced in the EA, as well as the conditions
attached to the Corps outgrants.

Cumulative Impacts: Cumulative impacts to the environment result from the incremental impact
o f the action when added to other past, present, and reasonably foreseeable future actions
regardless o f what agency (Federal or non-Federal) or person undertakes such other actions.




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Ciimulative impacts may result from individually minor but collectively significatit actions taking
place over a peiiod of time. In Section 4.0, the EA addresses cumulative impacts on: Geology and
Soils Section; Water and Aquatic Lite Resources; Vegetation, Agriculture, and Range Resources;
Threatened, Endangered, Candidate, and Proposed Species; Wildlife Resources; Land Use and
Recreation; Cultural and Historic Resources; Social and Economic Conditions; Transportation and
Traffic; Environmental Justice, and Air Quality and Noise.

The alignment of the pipeline was selected because it will be co-located witliin existing utility
corridors and be installed on federal real property interests using the HDD metliod. This avoids
impacts to formerly undisturbed areas and surface resources. In addition, the District placed
conditions and safeguards on the Proposed Action as the pipeline crosses federal real property
interests to minimize potential effects of the placement and operation and maintenance of the
pipeline. Therefore, this project will have insignificant incremental impact to other past, ongoing,
or reasonably future actions of a similar nature.

Conclusion: I have evaluated the anticipated environmental, economic, cultural, and social
effects, and any cumulative effects of the Proposed Action and determined that the Proposed
Action is not injurious to the public interest and will not impair the usefulness of the federal
projects. Moreover, for the reasons stated herein and discussed in greater detail in the
Environmental Assessment, the District granting the referenced Section 408 permissions does not
constitute a major federal action that would significantly affect the quality of the human
environment. As a result, I have determined that preparation of an Enviromiiental Impact
Statement is not required. This conclusion and the processes and documents supporting it are in
compliance with all applicable laws, executive orders, regulations and guidelines.




       2 5 JUL 2016
Date                                        John W. Henderson, P.E.
                                            Colonel, Corps of Engineers
                                            District Commander




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                                DEPARTMENT OF THE ARMY
                               CORPS OF ENGINEERS, OMAHA DISTRICT
                                      1616 CAPITOL AVENUE
                                      OMAHA NE 68102-4901
        REPLY TO
        ATTENTION OF




CENWO

MEMORANDUM FOR RECORD

SUBJECT: Application for an Easement for an Oil Pipeline to Cross U.S. Army Corps of
Engineers-Managed Federal Land at Lake Oahe, North Dakota


1. References.

   a. 30 U.S.C. § 185, Rights-of-way for Pipelines through Federal Lands.

   b. 33 U.S.C. § 408, Taking Possession of, Use of, or Injury to Harbor or River
Improvements.

   c. Engineering Regulation 405-1-12, Real Estate Handbook, September 30, 1994.

   d. Engineering Regulation 1130-2-550, Recreation Operations and Maintenance Policies,
September 30, 2013.

   e. Engineering Circular 1165-2-216, Policy and Procedural Guidance for Processing
Requests to Alter U.S. Army Corps of Engineers Civil Works Projects Pursuant to 33 U.S.C.
408, June 21, 2016.

   f. CEMP-CR/CECC-R, Memorandum, Subject: Real Estate Guidance Letter No. 27 –
Official U.S. Army Corps of Engineers Real Estate Policy, October 29, 2008.

   g. Notice of Availability, Dakota Access Lake Oahe Crossing, December 03, 2016.

2. Purpose. The purpose of this memorandum is to document the U.S. Army Corps of Engineers
(Corps) decision on the Dakota Access, LLC (Dakota Access) application for an easement to
cross Corps-managed federal lands at Lake Oahe, North Dakota. See the attached Unexecuted
Easement, Exhibit A, for a map of the area that would be covered by the easement.

3. Authority. Congress authorized “appropriate agency head[s]” to grant rights-of-way or
easements through federal lands for oil pipelines in the Mineral Leasing Act. 30 U.S.C. §
185(a). Congress outlined how agencies were to exercise their discretion under this authority --
before granting a right-of-way, agencies must impose conditions, including requirements to
control or prevent damage to the environment, public or private property, hazards to public
health and safety, and measures to protect the interests of individuals living in the general area
who rely on certain natural resources in the area for subsistence. 30 U.S.C. § 185(h)(2). Further,

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Engineers-Managed Federal Land at Lake Oahe, North Dakota

section 185 requires agencies to impose requirements for the operation of pipelines that “protect
the public from sudden ruptures and slow degradation of the pipeline.” 30 U.S.C. § 185(g).

4. Background. The Corps received an application for an easement on October 21, 2014 from
Dakota Access. Specifically, the application requested an easement for a 30-inch diameter light
crude oil pipeline. The approximately 1,168 mile Dakota Access Pipeline (DAPL) will connect
the Bakken and Three Forks oil production region in North Dakota to an existing crude oil
market hub near Patoka, Illinois. The pipeline crosses three Corps districts: Omaha, Rock Island
and St. Louis. The Corps was required to consider three categories of requests submitted by
Dakota Access for: (1) individual verifications that activities at more than 200 locations along
the DAPL route satisfied the terms and conditions of Nationwide Permit (NWP) 12 (under the
Clean Water Act, 33 U.S.C. § 1344, or the Rivers and Harbors Act of 1899, 33 U.S.C. § 403),
which authorizes activities required for the construction of utility lines in federally-regulated
waters; (2) a real estate easement to lay the pipeline under a Corps-managed lake (Lake Oahe)
and adjacent Corps-managed property; and (3) permissions to cross or lay the pipeline in seven
locations used by the Corps for navigation or flood control under section 14 of the Rivers and
Harbors Act of 1899, 33 U.S.C. § 408 (section 408). Of the total length of the pipeline, only
approximately three percent of the route is subject to Corps jurisdiction.

The pipeline would cross Lake Oahe at approximately one-half mile upstream of the northern
boundary of the Standing Rock Sioux Tribe’s (SRST’s) reservation. Dakota Access would use a
technique called horizontal directional drilling (HDD) to place the pipeline approximately 92 feet
below the lake bed. The Corps would need to provide Dakota Access with three separate
permissions for this specific crossing. Dakota Access required and received verification that the
crossing meets the terms and conditions of NWP 12. Because the pipeline would cross Corps-
managed property, section 408 required the Corps to “grant permission for the alteration or
permanent occupation or use of [the project] when in the judgment of the Secretary such
occupation or use will not be injurious to the public interest and will not impair the usefulness of
such work.” 33 U.S.C. § 408. Finally, the Corps would need to grant Dakota Access an
easement (i.e., a “right-of-way”) because the pipeline would cross Corps-managed federal
property. 30 U.S.C. § 185(a).

The Omaha District prepared environmental documentation under NEPA to support the required
section 408 permission to cross Lake Oahe. The District published a draft EA on December 8,
2015, which was circulated for public comment. See 40 C.F.R. § 1508.9 (defining EAs). After
reviewing the comments received, the Corps published the final EA and a Finding of No
Significant Impact (FONSI) for the crossing on July 25, 2016. See 40 C.F.R. § 1508.13
(defining FONSIs). The Corps must now take action on the application for an easement by
Dakota Access.

5. General Policy Evaluation. The Corps evaluated the Dakota Access application as a policy
matter under the Non-Recreational Outgrant Policy at ER 1130-2-550, Chapter 17.




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Engineers-Managed Federal Land at Lake Oahe, North Dakota

    a. ER 1130-2-550 requires that the Corps determine that “[t]he impact associated with an
individual action or the accumulated impact of a series of actions must not adversely impact the
capability of the project to generate the benefits for which the project was congressionally
authorized, constructed, and is operated” before granting an easement. ER 1130-2-550, paras.
17-3 and 17-9.b.(1) (2013).

The Lake Oahe project was authorized by the Flood Control Act of 1944, Public Law 78- 534,
along with four other Missouri River main stem projects. The five reservoirs are elements of a
plan for the development of the Missouri River main stem. The main stem plan is a component
of the comprehensive river basin development program in the Missouri River Basin, the Pick-
Sloan Plan. Formed from separate proposals recommended by the Bureau of Reclamation and
the Corps, the Pick-Sloan Plan was one of the first plans nationwide that recognized the role of
tributary basins and the importance of comprehensive planning in flood control. The
Congressionally-authorized purposes of the Lake Oahe project include flood control, navigation,
hydropower, recreation, water supply, and water quality.

The Omaha District found that the proposed DAPL crossing at Lake Oahe “will not impair the
usefulness” of the Lake Oahe project when the District granted permission to impact the project
under 33 U.S.C. 408. FONSI at p. 6 (July 25, 2016) and District Commander’s Approval of
Section 408 Decision Document (July 21, 2016). This finding is supported by the Final EA that
was issued on July 25, 2016 and various memoranda supporting the District Commander’s
Section 408 approval. The analysis supporting the grant of permission under 33 U.S.C. 408 is
adopted in support of the Corps finding that granting an easement for the pipeline to cross Lake
Oahe will not adversely impact the capability of the project to generate the benefits for which the
project was Congressionally authorized.

   b. Corps policy is to evaluate whether the proposed easement would be “[c]onsistent with
complete land use classifications and resource objectives identified in the approved project
master plan.” ER 1130-2-550, para. 17-9 b.(3). The Corps has reviewed the proposed easement
and has determined that it is consistent with the Final Oahe Dam/Lake Oahe Master Plan
(September 2010).

    c. Corps policy is to evaluate whether there is no viable alternative to utilization of public
lands and waters. ER 1130-2-550, para. 17-9 b.(2). Corps policy specifically lists pipelines as
examples of instances where there is no viable alternative. Here, that policy is supported by the
alternatives analysis in the Final EA. See Final EA at Section 2.0, Alternatives. Accordingly,
the Corps finds here that there is no viable alternative to utilization of Corps-managed public
lands at Lake Oahe.

    d. Corps policy requires that the grant of the easement must be consistent with the applicable
appendices to ER 1130-2-550. ER 1130-2-550, para. 17-9b.(4). The applicable appendices are
Appendix E, General Outgrant Application Information, Appendix F, National Environmental
Policy Act (NEPA) Guidance, Appendix G, Mitigation Guidance, and Appendix H, Additional
Guidance for Specific Outgrant Applications. The applicant submitted the materials that are


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Engineers-Managed Federal Land at Lake Oahe, North Dakota

required in Appendix E. The Corps’ evaluation of the proposed pipeline crossing at Lake Oahe
complied with NEPA requirements upon the completion of the Final EA and FONSI, thereby
meeting the requirements of ER 1130-2-550, Appendix F. The easement will also comply with
the mitigation guidance in Appendix G. The Final EA outlined the various mitigation measures
that the applicant will undertake. Final EA at Table 8-2. Further, various mitigation measures
are conditions in Unexecuted Easement. See Unexecuted Easement para. 2 b. and Exhibit “D,”
Special Conditions. The applicant complied with the portion of Appendix H relevant to oil
pipelines. Appendix H, para. f, requires the applicant to make certain disclosures of ownership.
The applicant made the ownership disclosures in its application and has provided updated
information to the Corps as recently as December 2, 2016. See Dakota Access, LLC, Standard
Form 299, Application for Transportation and Utility Systems and Facilities on Federal Lands,
Attachment, Section I, at pp.1-2 (submitted June 29, 2015).

    e. Corps policy is to grant an easement when it is in the public interest. ER 1130-2-550,
para. 17-9b.(5). The Omaha District found that the proposed DAPL crossing of the Corps
project at Lake Oahe “will not be injurious to the public interest” when the District granted
permission to impact the project under 33 U.S.C. 408. FONSI at p. 6 and District Commander’s
Approval of Section 408 Decision Document (July 21, 2016). This finding is supported by the
Final EA that was issued on July 25, 2016 and various memoranda supporting the District
Commander’s Section 408 approval. The analysis of the public interest supporting the grant of
permission under 33 U.S.C. 408 is adopted in support of the Corps finding that granting an
easement for the pipeline to cross Lake Oahe is in the public interest.

    f. Corps policy is to determine whether the applicant has a demonstrated need for the project.
ER 1130-2-550, at para. 17-9b.(6). As described in the Dakota Access application, the overall
project purpose or need is to move a supply of crude oil from the Bakken and Three Forks
production region in North Dakota to a crude oil market hub located near Patoka, Illinois.
Dakota Access, LLC, Standard Form 299, Application for Transportation and Utility Systems
and Facilities on Federal Lands, at p. 6 (submitted June 29, 2015). The overall pipeline project
will improve overall safety to the public and the environment by reducing crude oil shipped by
truck and by rail and significantly increase the amount shipped by pipeline. As stated above,
Dakota Access has shown that there is no viable alternative to crossing the federal project. The
Corps finds that the applicant has a demonstrated need for the project.

    g. Corps policy is determine whether the applicant has the technical and financial
capabilities to comply with the easement’s consideration, mitigation and administrative
expenses. ER 1130-2-550, at para. 17-9b.(7)&(8). The applicant’s parent company, Energy
Transfer, has completed more than 30 capital projects over $50 million. Energy Transfer Capital
Projects in Excess of US$ 50 million, 2006-2014 (provided Dec, 2, 2016). Many of these
projects were pipelines of 30 inches or more in diameter. Id. The Corps finds that the parent
company’s completion of those projects demonstrates that the applicant possess the technical and
financial capabilities to comply with the easement.




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Engineers-Managed Federal Land at Lake Oahe, North Dakota

    h. Corps policy is that it will coordinate and consult with federally-recognized Native
American tribes when reservation lands are involved. ER 1130-2-550, para. 17-3. The proposed
DAPL crossing at Lake Oahe is not on reservation lands; therefore, by policy there is no
requirement to coordinate with any federally-recognized tribe. However, the Corps reached out
to the SRST to coordinate and consult on the DAPL project. As established in the analyses set
forth in the Final EA, the Corps attempted to engage in meaningful discussions with the SRST
on numerous occasions about the nature of the project, cultural resources, and the Lake Oahe
crossing beginning in October 2014 and continuing through March 2016. Final EA at 85; see
also Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs. No. 16-cv-01534, Memorandum
Opinion Denying Plaintiff’s Request for Preliminary Injunction, Docket No. 39 at 48 (D.C. Dist.
Sept. 9, 2016)(finding that, on the preliminary injunction record, the Corps exceeded its NHPA
obligations at many sites).

The Department of the Army also invited the SRST to engage in additional discussions about
whether to grant this easement. See Letter from The Honorable Jo-Ellen Darcy, Assistant
Secretary of the Army (Civil Works) to The Honorable Dave Archambault II, Chairman,
Standing Rock Sioux Tribe, dated November 14, 2016. Specifically, the Army invited the SRST
to engage in discussion with the Corps concerning the following topics:

   • Potential conditions in an easement for the pipeline crossing, which would further
   reduce the risk of a spill or rupture, hasten detection and response, or otherwise
   enhance the protection of Lake Oahe, the Tribe’s water supplies, and its treaty rights;
   • With such conditions, the risk to the Tribe of a spill from the pipeline crossing Lake
   Oahe at the proposed location; and
   • In light of such conditions, whether to grant an easement for the pipeline to cross
   Lake Oahe at the location currently proposed.

On November 22, 2016, the Corps extended an offer to the SRST to discuss those topics and to
seek conditions that would address the Tribe’s concerns. Letter from COL John W. Henderson,
District Commander, to Mr. Dave Archambault II, Chairman, SRST, dated November 22, 2016.
The SRST responded the following day, November 23, 2016, stating that “[t]he Tribe’s
fundamental position remains clear -- the easement to cross Lake Oahe at the Tribe’s doorstep
must be denied,” but added that, “I am willing to talk further with you, including on issues
relating to pipeline safety. But for such discussions to be productive, it is my view that they
must take place in the context of the Tribe’s basic position regarding the pipeline and the Lake
Oahe crossing.” Letter from Mr. Dave Archambault II, Chairman, SRST, to COL John W.
Henderson, District Commander, dated November 23, 2016. In this letter, the Tribe requested
that the Corps:

   . . . [P]rovide the Tribe with the information sought in our expert’s October 28, 2016
   report. The information provided should be sure to include: 1) Comprehensive
   construction and design documentation that includes piping, instrumentation, control
   system and electrical design; 2) Documentation that lists the industry codes, standards
   and recommended practices that have been adopted and applied to the design,


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   construction and operation of the Dakota Access Pipeline project. Include both codes
   and standards required by regulation and recommended practices applicable to the
   project adopted and applied voluntarily; 3) Material specifications including analysis
   of selected grade of pipe, wall thickness, pipe yield strength, corrosion allowance,
   ductility, pipe and weld coating systems and stress induced by installation of the pipe;
   and 4) Data and source materials underlying and relied on in any risk analysis. We
   are continuing to consult with pipeline experts who may have additional questions,
   but our experts cannot proceed without the fundamental baseline.

Letter from Mr. Dave Archambault II, Chairman, SRST, to COL John W. Henderson, District
Commander, dated November 23, 2016.

On December 2, 2016, representatives of the SRST, Dakota Access, and the Corps met to discuss
the Tribe’s request, along with potential terms and conditions that could be placed in the
easement.

Accordingly, the Corps finds that it provided more than adequate coordination and consultation
with the federally-recognized SRST, in accordance with ER 1130-2-550, para. 17-3, despite the
fact that SRST reservation lands are not involved and the SRST reservation would not be directly
impacted by the easement.

   i. The Corps finds that granting Dakota Access an easement for the pipeline to cross Lake
Oahe would be consistent with the Corps policy on non-recreational outgrants, ER 1130-2-550,
Chapter 17, and Omaha District policy.

6. Specific Statutory Findings. An easement must meet the statutory requirements of 30 U.S.C.
§ 185. Additionally, the grant of an easement must be consistent with Corps policy
implementing that statute. See Reference 1.c., ER 405-1-12, 8-182 (1994).

    a. The Corps must determine that the proposed easement will not be inconsistent with the
authorized purposes of the federal project. 30 U.S.C. § 185(b)(1). As discussed above, at para.
5.a., pp.2-3, the proposed easement would not be inconsistent with the authorized purposes of the
Lake Oahe project.

    b. The Corps cannot grant an easement if the width of the easement exceeds 50 feet plus the
ground occupied by the pipeline and related facilities, unless it is determined that a wider right
of-way is necessary for operation and maintenance after construction, for protection of the
environment, or for public safety. The width of the requested easement will not exceed 50 feet,
plus the ground occupied by the pipeline. See attached Unexecuted Easement at p.1 (stating
width of a right-of-way being 50 feet plus the ground occupied by the pipeline (that is, the pipe
and its related facilities).




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    c. Any special requirements for safe operation of the pipeline or related facilities should be
imposed. See Exhibit D to the Unexecuted Easement containing special conditions addressed
during discussions on December 2, 2016.

    d. The Corps is required to impose necessary stipulations to prevent or control damage to the
environment, including fish and wildlife habitat, damage to public or private property, and
hazards to public health and safety; and require restoration, revegetation, and curtailment of
erosion of the surface of the land when deemed appropriate. See 30 U.S.C. § 185(h)(2); ER
1130-2-550, para. 17-5, Mitigation, and App. G, Mitigation Guidance (2013). The proposed
easement requires mitigation and has added special conditions to the easement to mitigate any
impacts to the environment. See Unexecuted Easement, at para. 2.b., and Exhibit D to the
Unexecuted Easement, Special Conditions.

   e. The Corps is required by statute to obtain ownership information from the applicant. 30
U.S.C. § 185(i). The applicant made these disclosures in its application and has provided
updated information to the Corps as recently as December 2, 2016. See Dakota Access, LLC,
Standard Form 299, Application for Transportation and Utility Systems and Facilities on Federal
Lands, Attachment, Section I, at pp.1-2 (submitted June 29, 2015).

    f. The Corps is required by statute to determine whether applicant has the technical and
financial capability to construct, operate, maintain, and terminate the project for which the permit
or right-of-way is requested, in accordance with this law. 30 U.S.C. § 185(j). As discussed
previously in this memorandum, the Corps is satisfied that the applicant has the required
technical and financial capability.

    g. The statute requires the Corps to provide federal, state, and local governments, as well as
the public, the opportunity to comment on the easement application. 30 U.S.C. § 185(k). Corps
policy is that no further comment periods are necessary if the pipeline proposal and related
aspects have previously been scrutinized through NEPA procedures. ER 405-1-12, para. 8-
182c.(8) (1994). The Corps provided a public comment period for the NEPA process that
evaluated the DAPL crossing at Lake Oahe. Thus, this process satisfied the public comment
requirement in 30 U.S.C. § 185(k). See Final EA, App. J.

    h. The Corps must also include certain other conditions required by statute and policy. The
grantee must pay all costs of environmental assessment and monitoring. ER 405-1-12, para. 8-
182c.(5) (1994). This is included in the attached Unexecuted Easement at para. 2.c and in the
Special Conditions in Exhibit D. The Corps must also be reimbursed for costs and be paid
consideration for the easement. 30 U.S.C. § 185(l). This requirement is included in the attached
Unexecuted Easement at para. 2.a. and 2.c. The easement cannot be for a term of more than 30
years. 30 U.S.C. § 185(n). The attached Unexecuted Easement is limited to a term of 30 years.
See Unexecuted Easement at para. 1. The easement must also contain certain language about
suspension or termination of the easement. 30 U.S.C. § 185(o). This requirement is included in
the attached Unexecuted Easement at para. 16. The easement must also contain a condition that
allows for the joint use of the easement area for other easements granted under 30 U.S.C. § 185.


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7. The Corps of Engineers, through the Department of the Army, is required by statute to notify
Congress when an application is received and when the Corps is going to grant an easement for a
pipeline that is greater than 24 inches in diameter. 30 U.S.C. § 185(w). The Army notified
Congress of the application on September 13, 2015. In accordance with this memorandum, I
recommend that the Army notify Congress that the Corps intends to grant the attached easement
to Dakota Access.

8. After notification to Congress, the Omaha District intends to execute and issue the easement
to Dakota Access.




Encl                                        JOHN W. HENDERSON, P.E.
                                            Colonel, Engineer
                                            Omaha District Commander




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                    DEPARTMENT OF THE ARMY
         EASEMENT FOR FUEL CARRYING PIPELINE RIGHT-OF-WAY
                           LOCATED ON
                        LAKE OAHE PROJECT
            MORTON AND EMMONS COUNTIES, NORTH DAKOTA


        This Easement is made on behalf of THE UNITED STATES OF AMERICA
(the "United States"), between THE SECRETARY OF THE ARMY, acting by and
through the Chief, Real Estate Division, U.S. Army Engineer District, Omaha, hereinafter
referred to as the "Grantor," under and by virtue of the authority vested in Title 30,
United States Code, Section 185, and DAKOTA ACCESS, LLC, a Limited Liability
Company, duly organized and existing under and by virtue of the laws of the State
of Delaware, with its principal office at 1300 Main, Houston, Texas 77002,
hereinafter referred to as the "Grantee."

NOW THEREFORE:

        The Grantor, for good and valuable consideration set forth below, the receipt and
sufficiency of all of which are hereby acknowledged, upon and subject to the terms,
covenants and conditions set forth in this Easement for right-of-way, does hereby:

        Grant and convey to Grantee, an easement for a fuel carrying pipeline right-of-
way for the installation, construction, operation, maintenance, repair, replacement and
termination of a thirty-inch (30) diameter, horizontal directional drill (HDD) buried
oil pipeline for the purpose of transporting crude oil, and related facilities, hereinafter
collectively referred to as the "Facilities," over, across, in and upon lands of the United
States at and under Lake Oahe and the Lake Oahe Project, as identified in Exhibits
"A" and "B," hereinafter referred to as the "Premises," and which are attached hereto
and made a part hereof; with the width of a right-of-way being fifty (50) feet plus the
ground occupied by the pipeline (that is, the pipe and its related facilities);

      Make no claim of title during the term of this Easement to any Facilities of
whatever nature located, constructed, or placed on the Premises by the Grantee.




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         THIS EASEMENT is granted subject to the following conditions.

 1.     TERM

         This easement is hereby granted for a term of Thirty Years, beginning on the
 date of execution by the Grantor and ending thirty (30) years from the date of execution
 by the Granter.

        The Grantor shall renew this Easement in accordance with the provisions of 30
U.S.C. § 185, so long as the project is in commercial operation and is operated and
maintained in accordance with all of the provisions of this Easement and applicable law.
The Grantor prior to renewing this Easement must receive from the Grantee written
notice of its intent to seek renewal or extension not less than one year prior to the
Easement expiration or termination date and all plans, contracts, agreements, or other
information or material which the Granter deems necessary to determine whether a right-
of-way shall be renewed and the terms and conditions which should be included in the
right-of-way.

2.      CONSIDERATION, MITIGATION, AND DAMAGES

        a. As consideration for this Easement, the Grantee shall pay cash consideration in
advance to the Gran tor in the amount of Eight Thousand Fifty and No/100 Dollars
($8,050.00), payable annually on or before the anniversary date of the beginning of
this easement.

        b. The Grantee will mitigate damages caused to the Premises, surrounding areas,
or to the Lake Oahe Project, during initial installation and construction of the Facilities,
and damages caused during operation, maintenance, or subsequent construction work,
and complete all site restoration in accordance with the Mitigation/Restoration Plan
submitted by Grantee on file in the U.S. Army Engineer District, Omaha, specifically
referenced in the Grantee's pipeline Environmental Assessment ("EA") in Section
3.3.2.5 "Clean-up and Restoration," and further outlined in the Stormwater
Pollution Prevention Plan ("SWPPP") presented in Appendix A of the EA and the
Environmental Construction Plan presented in Appendix G of the EA.

        c. The Grantee shall reimburse the Granter in advance for the costs incurred in
monitoring the construction, operation, maintenance, and termination of the pipeline and
related facilities on the Premises in the amount of Seven Hundred Fifty and No/100
Dollars ($750.00) payable annually on or before the anniversary date of the
beginning of the Easement.

      d. Any checks or drafts payable to the Grantor will be made to the order of the
"FAO-USAED, OMAHA", and delivered to USAED, Omaha, ATTN: CENWO-RE,
1616 Capitol Avenue, Omaha, Nebraska 68102.




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         e. Any payments due under the terms of this Easement must be paid on or before
 the date that they are due to avoid the mandatory sanctions imposed by the Debt
 Collection Act of 1982, as amended (31 U.S.C. Section 3717). This statute requires the
 imposition of an interest charge for the late payment of debts owed to the United States;
 an administrative charge to cover the costs of processing and handling delinquent debts;
 and the assessment of an additional penalty charge on any portion of a debt that is more
 than 90 days past due.

 3.     NOTICES

         All correspondence and notices to be given pursuant to this Easement shall be in
 writing and addressed, if to the Grantee, to DAKOTA ACCESS LLC, 1300 Main
 Street, Houston, Texas 77002 and, if to the Grantor, to the U. S. Army Engineer
District, Omaha, Attention: Chief, Real Estate Division, 1616 Capitol Avenue,
Omaha, Nebraska 68102, or as may from time to time otherwise be directed by the
parties. Notices shall be mailed by certified mail, postage prepaid, return receipt
requested, addressed to the addresses above. The effective date of the notice shall be the
earlier of the actual date of receipt or the date the addressee is notified of the attempted
delivery of the certified mail, whether or not the addressee actually accepts delivery.

4.      AUTHORIZED REPRESENTATIVE

        Except as otherwise specifically provided, any reference herein to "Grantor" or
"Chief, Real Estate Division" shall include their duly authorized representatives. Any
reference to "Grantee" shall include assignees, transferees and their duly authorized
representatives.

5.      SUPERVISION BY THE GRANTOR

        a. The installation and/or operation and maintenance of said pipeline shall be
accomplished without cost or expense to the United States under the general supervision
and subject to the approval of the Grantor' s representative having immediate jurisdiction
over the property, hereinafter designated as "said officer," and in such manner as not to
endanger personnel or property of the United States on the said United States land or
obstruct travel on any road thereon. The Grantee shall have the right of ingress and
egress for such purposes, subject to approval of access by said officer.

        b. The use and occupation of said Premises incident to the exercise of the
privileges hereby granted shall be subject to such rules and regulations as the said officer
may from time to time prescribe.

6.     APPLICABLE LAWS AND REGULATIONS

       The Grantee shall construct, operate. maintain, and terminate the said pipeline in
accordance applicable federal, state, county, and municipal laws, regulations, and
ordinances. As required by 30 U.S.C. § 185, the Grantee shall construct, operate, and



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 maintain the Facilities as common carriers. The pipeline installation shall be in
 accordance with the U.S. Department of Transportation's Minimum Federal Safety
 Standards and any other applicable federal or state safety requirements.

 7.      CONDITION OF PREMISES

        The Grantee acknowledges that it has inspected the Premises, knows its condition,
 and understands that the same is granted without any representations or warranties
 whatsoever and without any obligation on the part of the United States.

 8.      INSPECTION AND REPAIRS

        a. Upon completion of any phase of the pipeline project which causes damage to
the Premises, the Grantee shall restore said damage immediately, at the Grantee's own
expense, to the same condition in which they existed prior to the commencement of such
work, to the satisfaction of the said officer.

        b. The Grantee shall supervise the said pipeline and cause it to be inspected at
reasonable intervals, and shall immediately repair any defects or leaks found by such
inspection, or when requested by the Grantor to repair any defects or leaks.

9.      PROTECTION OF GOVERNMENT PROPERTY

        The Grantee shall be responsible for any damage that may be caused to the
property of the United States by the activities of the Grantee under this Easement and
shall exercise due diligence in the protection of all property located on the Premises
against fire or damage from any and all other causes. Any property of the United States
damaged or destroyed by the Grantee incident to the exercise of the privileges herein
granted shall be promptly repaired or replaced by the Grantee to a condition satisfactory
to the Grantor, or at the election of the Grantor, reimbursement made therefor by the
Grantee in an amount to reimburse for the loss satisfactory to the Grantor.

10.     RIGHT TO ENTER

        a. The right is reserved to the Granter, the United States, its officers, agents, and
employees to enter upon the premises at any time and for any purpose necessary or
convenient in connection with government purposes, to make inspections, to remove
timber or other material, except property of the Grantee, to flood the Premises, to
manipulate the level of the lake or pool in any manner whatsoever and/or to make any
other use of the lands as may be necessary in connection with government purposes, and
the Grantee shall have no claim for damages on account thereof against the Grantor, the
United States or any officer, agent, or employee thereof.

        b. If the entry will involve removal of timber or other material, or heavy
equipment, the Grantor will provide reasonable notice to Grantee of any such entry or use
so that Grantee may take any necessary measures to assure the safety of its pipeline and



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 any personnel of the United States working in proximity to such pipeline. Grantee will
 ensure that Grantor has emergency contact information.

 11.    TRANSFERS AND ASSIGNMENTS

         Without prior written approval by the Grantor, the Grantee shall neither transfer
 nor assign this Easement or any part thereof nor grant any interest, privilege or license
 whatsoever in connection with this Easement. The provisions and conditions of this
 Easement shall extend to and be binding upon and shall inure to the benefit of the
 representatives, successors and assigns of the Grantee.

 12.    INDEMNITY

         a. The Grantee shall be strictly liable to the United States for damage or injury
which may arise from or be incident to the activities of the Grantee under this Easement,
or for damages to the property of the Grantee, or for damages to the property or injuries
to the person of the Grantee's officers, agents, or employees or others who may be on the
Premises at their invitation or the invitation of any one of them, and the Grantee shall
hold the United States harmless from any and all such claims not including damages due
to the fault or negligence of the United States or its contractors. Grantee shall exercise
due diligence in the protection of all property located on the Premises.

          b. All owners of any interest in, and all affiliates or subsidiaries of the Grantee
shall be liable to the United States in the event that a claim for damage or injury cannot
be collected from the Grantee. Liability without fault hereunder shall be limited to Ten
Million and No/100 Dollars ($10,000,000.00) for any one incident. Liability of such
Grantee for damages in excess Ten Million and No/100 Dollars ($10,000,000.00) shall
be in accord with ordinary rules of negligence. However, this condition shall not impose
strict liability on the Grantee for damage or injury resulting from (a) an act of war or
force majeure, or (b) negligence of the United States. In any case where liability without
fault is imposed pursuant to this condition and the damage or injuries involved were
caused by the negligence of a third party, the rules of subrogation shall apply in
accordance with the law of the jurisdiction where the damage or injury occurred.

        c. The Grantee does hereby accept liability, if any, imposed by Federal and state
statutes to third parties for injuries incurred in connection with the use and occupancy of
the pipeline right-of-way.

13.    SUBJECT TO EASEMENTS

        a. This Easement is subject to all other existing easements, or those subsequently
granted as well as established access routes for roadways and utilities located, or to be
located, on the Premises.

        b. To minimize adverse environmental impacts and the proliferation of separate
rights-of-way across federal lands, the utilization of rights-of-way in common shall be



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 required to the extent practical, and this Easement hereby reserves to the Grantor the right
 to grant additional rights-of-way or permits for compatible uses on or adjacent to the
 Premises.

      c. Provided that the proposed grant of any new easement or route will be coordinated
 with the Grantee, and easements will not be granted which will, in the opinion of the
 Grantor, interfere with the use of the Premises by the Grantee.

 14.    REQUIRED SERVICES

        This condition was deleted.

 15.    RELOCATION OF FACILITIES

        In the event all or any portion of said Premises occupied by said Facilities shall be
needed by the United States, or in the event the existence of said Facilities shall be
considered detrimental to governmental activities, the Grantee shall, from time to time,
upon notice to do so, and as often as so notified, promptly seek authorization from the
Federal Energy Regulatory Commission, or other applicable entity, to remove said
Facilities, or portion thereof, to such other location or locations on said Premises as may
be designated by the Grantor. In the event said Facilities shall not be removed or
relocated within ninety (90) days after any aforesaid notice, the Grantor, after receipt of
required approvals, may cause the same to be done at the expense of the Grantee.

16.     SUSPENSION OR TERMINATION

         a. Abandonment of the Easement herein granted or noncompliance with any
provisions of this Easement or applicable provisions of 30 U.S.C. 185 may be grounds
for suspension or termination of the right of way if (a) after due notice to the Grantee, (b)
a reasonable opportunity to comply with this Easement or applicable provisions of 30
U.S.C. § 185, and (c) an appropriate administrative proceeding pursuant to 5 U.S.C. §
554, the Grantor determines that any such ground exists that suspension or termination is
justified. No administrative proceeding shall be required where the Easement by its
terms provides that it terminates on the occurrence of a fixed or agreed upon condition,
event, or time.

        b. If the Grantor determines that an immediate temporary suspension of activities
within the Premises is necessary to protect public health or safety or the environment, the
Grantor may abate such activities prior to an administrative proceeding.

        c. Deliberate failure of the Grantee to use the Easement for the purpose for which
it was granted or renewed for any continuous two-year period shall constitute a
presumption of abandonment of the Easement; provided, that where the failure to use the
right-of-way is due to circumstances not within the Grantee's control, the Grantor is not
required to commence proceedings to suspend or terminate the right-of-way.




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 17.     SOIL AND WATER CONSERVATION

         The Grantee shall maintain, in a manner satisfactory to said officer, all soil and
 water conservation structures that may be in existence upon said Premises at the
 beginning of or that may be constructed by the Grantee during the term of this Easement,
 and the Grantee shall take appropriate measures to prevent or control soil erosion within
 the right-of-way herein granted. Any soil erosion occurring outside the Premises
 resulting from the activities of the Grantee shall be corrected by the Grantee as directed
 by said officer.

 18.    ENVIRONMENTAL PROTECTION

         a. Within the limits of their respective legal powers, the parties hereto shall
protect the Premises against pollution of its air, ground, and water. The Grantee shall
promptly comply with any laws, regulations, conditions, or instructions affecting the
activity hereby authorized if and when issued by the Environmental Protection Agency,
or any federal, state, interstate, or local governmental agency having jurisdiction to abate
or prevent pollution. The disposal of any toxic or hazardous materials within the
Premises is strictly prohibited. Such regulations, conditions, or instructions in effect or
prescribed by the said Environmental Protection Agency or any federal, state, interstate,
or local governmental agency are hereby made a condition of this Easement. The
Grantee shall not discharge waste or effluent from the Premises in such a manner that the
discharge will contaminate streams or other bodies of water or otherwise become a public
nuisance.

        b. The use of any pesticides or herbicides within the Premises shall be in
conformance with all applicable federal, state, and local laws and regulations. The
Grantee must obtain approval in writing from said officer before any pesticides or
herbicides are applied to the Premises.

         c. The Grantee will use all reasonable means available to protect the environment
and natural resources, and where damage nonetheless occurs arising from the Grantee's
activities, the Grantee shall be liable to restore the damaged resources.

19.    ENVIRONMENTAL CONDITION OF PROPERTY

        An Environmental Condition of Property (ECP) documenting the known history
of the property with regard to the storage, release, or disposal of hazardous substances
thereon, is attached hereto and made a part hereof as Exhibit "C." Upon expiration,
revocation, or termination of this Easement, another ECP shall be prepared which will
document the environmental condition of the property at that time. A comparison of the
two studies will assist the said officer in determining any environmental restoration
requirements. Any such requirements will be completed by the Grantee in accordance
with the condition on RESTORATION.




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 20.     HISTORIC PRESERVATION

         The Grantee shall not remove or disturb, or cause or permit to be removed or
 disturbed, any historical, archeological, architectural or other cultural artifacts, relics,
 vestiges, remains or objects of antiquity. In the event such items are discovered on the
 Premises, the Grantee shall immediately notify the Grantor, and the site and the material
 shall be protected by the Grantee from further disturbance until the Grantor gives
 clearance to proceed.

 21.    NON-DISCRIMINATION

       The Grantee shall not discriminate against any person or persons or exclude them
from participation in the Grantee's operations, programs or activities conducted on the
Premises because ofrace, color, religion, sex, sexual orientation, gender identity, age,
handicap, or national origin, pursuant to Executive Order 13672, 21July20 14. The
Grantee will comply with the Americans with Disabilities Act and attendant Americans
with Disabilities Act Accessibility Guidelines (ADAAG) published by the Architectural
and Transportation Barriers Compliance Board. The Grantee shall comply with
Department of Justice rules on non-discrimination.

22.     HAZARDOUS WASTE MANAGEMENT

        The Grantee will not store or dispose of non-DoD hazardous materials on the
 premises unless authorized under I 0 U.S.C. § 2692, Storage, Treatment, and Disposal of
Non-Defense Toxic and Hazardous Materials. The Grantee shall strictly comply with the
hazardous waste management requirements under the Resource Conservation and
Recovery Act and the applicable state hazardous waste management rules, including
proper hazardous waste characterization, labeling, storage, disposal and documentation
requirements . Except as specifically authorized by the Grantor in writing, the Grantee
must provide, at its own expense such hazardous waste management facilities as needed
to maintain compliance with all laws and regulations. Army hazardous waste
management facilities will not be available to the Grantee.

23.    HAZARDOUS WASTE OR FUEL SPILL

        The Grantee shall submit to the Grantor and maintain, thereafter, a plan for
responding to hazardous water, fuel, and other chemical spills prior to commencement of
use of the Premises. Such plan shall be independent of the Government's spill
contingency plan and, except for initial fire response and/or spill containment, shall not
rely on use of project personnel or equipment. Should the Grantor provide any personnel
or equipment, whether for initial fire response and/or spill containment, or otherwise on
request of the Grantee or because the Grantee was not, in the opinion of the said officer,
conducting timely clean-up actions, the Grantee agrees to reimburse the Grantor for its
costs.




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 24.     RESTORATION

          On or before the expiration or termination of this Easement, the Grantee shall,
 without expense to the United States, and within such time as the Grantor may indicate,
 remove said Facilities and restore the Premises to the satisfaction of the Grantor. In the
 event the Grantee shall fail, neglect or refuse to remove said Facilities and restore the
 Premises, the Grantor shall have the option to take over said Facilities without
 compensation, or to remove said Facilities and perform the restoration at the expense of
 the Grantee, and the Grantee shall have no claim for damages against the United States or
 its officers or agents for such action. This provision is subject to all regulatory
 requirements and approvals covering any of the activities described in this condition.

 25.    DISCLAIMER

        It is understood that this instrument is effective only insofar as the rights of the
United States in the said property are concerned, and that the Grantee shall obtain such
permission as may be necessary on account of any other existing rights. It is also
understood that the granting of this Easement does not eliminate the necessity of
obtaining any Department of the Army permit that may be required pursuant to the
provisions of Section 10 of the Rivers and Harbors Act of March 3, 1899 (30 Stat. 1151;
33 U.S.C. § 403), Section 404 of the Clean Water Act (33 U.S.C. § 1344), or any other
permit or license which may be required by federal, state or local statute in connection
with the use of the Premises. The grant of this Easement pursuant to 30 U.S.C. § 185
shall grant no immunity from the operation of the federal antitrust laws.

26.     OTHER AGENCY AGREEMENTS

        It is understood that the provision of the Easement shall not abrogate or interfere
with any agreements or commitments made or entered into between the Grantee and any
other agency of the United States with regard to financial aid to the Grantee in connection
with the installation, operation, or maintenance of said pipeline.

27.     CONSTRUCTION, OPERATION AND REHABILITATION PLAN

        In compliance with 30 U.S.C. § 185, the Grantee will follow the plan(s) of
construction, operation, and rehabilitation submitted to the Grantor prior to the execution
of this Easement, on file in the U.S. Army Engineer District, Omaha District.
Restoration will be in accordance with Section 3.3.2.5 of the EA "Clean-up and
Restoration" and further outlined in the SWPPP and the Environmental
Construction Plan presented in Appendices "A" and "G," respectively, of the EA.
Ground disturbing activities will not occur on Corps-managed lands; therefore,
reseeding is not anticipated in those areas. However, if reseeding were to become
necessary on Corps-managed lands, all activities shall be conducted in accordance
with applicable Lake Oahe revegatation guidelines.




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                                                                       DACW45-2-16-8059

28.  FEDERAL ENERGY REGULATORY COMMISSION ORDER ISSUING
CERTIFICATES

       The Grantee shall comply with the conditions set forth in the Federal Energy
Regulatory Commission 's Order Issuing Certificate dated December 24, 2014, as
applicable, to Docket No. OR14-42-00, Dakota Access LLC.

29.     SPECIAL CONDITIONS

        See attached Exhibit "D" for the Special Conditions for this Easement.

30.     EXECUTIVE ORDER 13658

       a. Any reference in this section to "prime contractor" or "contractor" shall mean
the Grantee and any reference to "contract" shall refer to the Easement.

       b. It has been determined that this contract is not subject to Executive Order
13658 or the regulations issued by the Secretary of Labor in 29 CFR part 10 pursuant to
the Executive Order.

        c. If a duly authorized representative of the United States discovers or determines
whether before or subsequent to executing this contract, that an erroneous determination
regarding the applicability of Executive Order 13658 was made, contractor, to the extent
permitted by law, agrees to indemnify and hold harmless the Unites States, its officers,
agents, and employees, for and from any and all liabilities, losses, claims, expenses, suits,
fines, penalties, judgments, demands or actions, costs, fees, and damages directly or
indirectly arising out of, caused by, related to, resulting from or in any way predicated
upon, in whole or in part, the erroneous Executive Order 13658 determination. This
includes contractor releasing any claim or entitlement it would otherwise have to an
equitable adjustment to the contract and indemnifying and holding harmless the United
States form the claims of subcontractors and contractor employees.




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                                                                               DACW45-2-16-8059

         IN WITNESS WHEREOF, I have hereunto set my hand to this Easement by
 authority of the Secretary of the Army, this             e""' day of A Jrt.t ,.,.y
 2017.



                                                                DAVID V. CHIPMAN
                                                                Chief, Real Estate Division, Omaha District
                                                                Real Estate Contracting Officer


                                         ACKNOWLEDGMENT


STATE OF       1\ r rx(J..~ 'Lci                  )
                                                  ) ss:
COUNTY OF 'txiul\\o.S                             )
                         CJ


        PERSONALLY APPEARED BEFORE ME, the undersigned authority in and
for said County and State, within my jurisdiction, the within named David V. Chipman,
who acknowledged that he is the Chief of Real Estate Division, U.S . Army Engineer
District, Omaha, and that in said capacity he executed the above and foregoing
Department of the Army Easement for Fuel Carrying Pipeline Right-Of-Way by
authority of the Secretary of the Army for the purposes therein expressed and as the act
and deed of the United States of America.


      GIVEN UNDER MY HAND AND SEAL, this _ c;;ei_
                                                t"'_ day of
  ttovv-o..:r ':j , 2017.


(SEAL)
                 General Notary - State of Nebraska
                      JOSHUA 0. ANDREWS
                    My Comm. Exo. Aua. 27 2018.
                                                               NOTARY PUBLIC

My Commission Expires:




                                                                        Version Dated 3 December 2016

                                                                                          USACE_ESMT000011
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                                                                          DACW45-2-16-8059

                  THIS EASEMENT is also executed by the Grantee this ~y of
~fJIWA#.'(1° 17.




                                                    ACKNOWLEDGMENT


 STATE OF                   -rexas                  )

                              \-brr\~
                                                    ) ss:
 COUNTY OF                                          )


        PERSONALLY APPEARIJ>1BEFO                                   ed authority in and
 for the county and state, on this ~day of                             , 2017, within my
 jurisdiction, the within named Robert Rose, who acknowledge       at he is Vice
 President, Land and Right of Way, DAKOTA ACCESS LL                 Delaware Limited
  Liability Company, and that for and on behalf of the said company, and as its act and
 deed he executed the above and foregoing Department of the Army Easement for Fuel
 Carrying Pipeline Right-Of-Way, having been duly authorized by said company so to
 do.


 (SEAL)

       ,••"""'''
     ...... tl'I' P(I .,,
                              DONNA WALTERS
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                                                 'Texas                      · ~
  ~;(_ r.<).;~ Comm Expues 03-04-2020
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                             Nolorv ID 2342771
                                                               NOTARY PUBLIC

 My Commission Expires:




                                                                     Version Dated 3 December 2016

                                                                                    USACE_ESMT000012
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                                   CERTIFICATE OF AUTHORITY


        I hereby certify that I am the                                                                              of
the organization named in the foregoing                                                                     States of

America; that said organization is organized under the laws of the State of

__D_e_IG\
       ~""""'""~
               °' '---~
                      _._____ ; that the seal, if applicable, affixed to said instrument
             (Stale)                                                             p
is the seal of said organization; that                      Ro be t-
                                                  ~~~~~~~~~~~~~~~~~~-
                                                                       1         f\ O~e_
                                                                        (Name of Officer)
who signed said agreement was then V;<.e. Pref.4.et't - ~ ~ ~\)hr ti.f \Jo...'f of said
                                                                    (Title ofOfficer)                       f
organization and has been duly authorized to sign the foregoing agreement on

behalf of said organization, binding said organization to                                 the terms therein.

         I, as the Secretary/Attesting Officer, hereby attest to the validity of the

Signature of said Officer; and that said signature affixed to such agreement is

genume.

         IN WITNESS WHEREOF, I have hereunto set my hand and affixed the seal,
                                                                                                                -Z.<>11-
if applicable, of said organization, this               '6-tb day of           ~b>r\A""'"'I                     , ~.



                                                                           Secreta1y or Allesting Officer




                                                                           Corporation or 01ganizalion


         This form certifies that the person signing the al/ached instrument has the authority to do so. The signature of the
Secreta1y'At1esting Officer and the individual signing the al/ached instrument cannot be the same.


MRO Form 851 (2 1 Aug 02) (Edition dated I Oct 91 is obsolete)




                                                                                                         USACE_ESMT000013
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           Case 1:16-cv-01534-JEB          Document
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                                                         \OOj ~ ,s:::t?. 03/23/17 Page 314 of 607
                       DA~OTA ACCESS LLC          .                     • · WellsFargoBank.N.A
                                                                                                                                       008854
                          ROW ACCOUNT
                       8111 WESTCHESTER DRIVE
                            DALLAS, TX 75225




                                                                                                       D OLLARS   $   '8 ) '8'00. 00
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         ORDER
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                                                          DETACH AND RETAIN THIS S TATEMENT
      DAKOTA ACCESS LLC                           TIE ATTACHED CHECK IS IN PAYMENT OF ITEMS DESCRiBEO BeLOW.
                                                11' NOT CORRECT PLEASE NOTIFY US PftOMPTLY. NO RECEIPT DESIRED.
                                                                                                                                       008854
                DATE                                               DESCRIPTION                                                         AMOUNT



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                                                                                                                                  Morton
                                                                                                                                  County

                                                                                                                                                              Emmons
                                                                                                                                                              County




  OAHE DAM AND RESERVOIR                                                                                                       Legend
                                                                                                                               •11 • Project Boundary (Fee}
                                               0

                                                -- -
                                                   - -   600 1,200                         2,400
                                                                                              Feet
                            Oisclaimer: The Government furnishes this data and the recipient accepts and uses
                               ~with the express understanding that the U n ~ed States Government makes no
                            warranties, expressed or implied, concerning tile accuracy, completeness, reliability,
                                                                                                                        s
                                                                                                                              -      50' W ide Proposed Easement (±7.37 Acres)

                                                                                                                              c : J Tracts
                                                                                                                              D      Sec ions

                                                                                                                               C~] Counties
                           usability, or su ~bility for any particular purpose of the infonnation and data furnished.
                           The United States shall be under no i ability whatsoever to any person by reason of any
                            use made thereof. Oata displayed on this map are approximations derived from GIS                EXHBIT "A" ATTACHED  TO AND
                                                                                                                                         USACE_ESMT000015
Date: 28-May-2015            tayers and stould NOT be used in ptace of survey data or legal land desctiptions.
                                                                                                                            MADE A PART OF DACW45-2-16-8059
Path: (regsi1}:\re2\jesse\bob_incontro\Oahe\DAPL_Easemenl\DAPL_Easement.mxd
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                      METES AND BOUNDS DESCRIPTION
                 CENTERLINE 50’ WIDE PERMANENT EASEMENT


Being a centerline description located in the Section 10, Township 134 North, Range 79
West of the 5th P.M., in Morton and Emmons County, North Dakota and Section 11,
Township 134 North, Range 79 West of the 5th P.M., in Emmons County, North Dakota,
and crossing the following tracts of land and described as follows:

Basis of Bearing:
Bearing are based on UTM Zone 14 Grid North.

Tracts of land:
Tract 1: Portion of Lot 4 and Lot 7; Book 125, Page 395; Deed Records,
Morton County.
Tract 2: Lake Oahe.
Tract 3: Portion of the N1/2 of Section 11; Civil Case No. 406; Probate Records, Emmons
County.

COMMENCING at a 3/8-inch iron rod found for the Northwest corner of said Section 10;

THENCE, crossing said Section 10, South 46 degrees 08 minutes 26 seconds East a
distance of 3,664.72 feet to the west line of said United States of America Tract 1 for
the POINT OF BEGINNING of this centerline description;

THENCE, crossing the United States of America tracts and through said Section 10 and
said Section 11, North 83 degrees 59 minutes 34 seconds East a distance of 6,420.72
feet to the east line of said United States of America Tract 3 for the TERMINAL POINT
of this centerline description, from which a 1-inch USGS monument found on said east
line bears South 01 degrees 17 minutes 30 seconds West a distance of 296.68 feet. Said
centerline having a length of 6,420.72 feet, 389.14 rods, and said fifty foot (50’) wide.

Permanent Easement containing 7.37 acres of land.




Wood Group Mustang, Inc.
17325 Park Row
Houston, Texas 77084
(832) 809-8000
April 23, 2015
Job No. 103957




                                                                          Exhibit “B”
                                                                    DACW45-2-16-8059

                                                                            USACE_ESMT000016
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                                 ENVIRONMENTAL CONDITION OF PROPERTY
                                       Helpful instructions for ECP are located at:
               https://w3.nwo.usace.army.mil/i ntranet/od-tn/policypage/policies/RE/ECQ%20Jnstructions.pdf

      This form covers Purpose, Site Location, Current Use of Property and adjacent property, Historical Use of
      Property and Adjacent Property, User provided Information, Site Reconnaissance, and Records Search and
      Interviews. Specific Records Search and Interview information will be provided in sections 4.0 and 5.0.
      Pictures, Maps, Record and Interview information are appendices.
Project Name:                                 DACW#:                   Address/location:
Dakota Access Pipeline Project               Pending                  Lak e Oahe, Morton and Emmons Counties , North Dakota , ApprolC'. 3.5 miles North of Ca nnonball, North Dakota.




1.0 Purpose

Construct, install and operate an approximate 1, 100 mile long crude oil pipeline from near
Stanley, North Dakota to Patoka, Illinois. The main trunk line of 30 inch diameter pipe will cross
government fee owned property at the Oahe Reservoir. The pipeline will transfer crude oil from
the Bakken oil production area in North Dakota to a crude oil transportation terminal in Illinois.


2.0 Site Description
2.1 Property Legal Description and Site Address:

NE 1/4 Section 10, T134 N, R79 W, Morton County, North Dakota-Lat 46.43783, Long 100.59806 and
NE 1/4 Section 11, T134 N, R79 W, Emmons County, North Dakota- Lat. 46.439908, Long. 100.576745




2.2 Site and Vicinity General Characteristics:

The proposed DAPL pipeline will cross the Oahe Reservoir and lies within the Missouri River corridor and
flood plane. The pipeline and corresponding easement band of 30 to 50 feet wide for construction and
subsequent operation and maintenance will occur on gently rolling hills and in significant elevation relief in the
transition zones of upland to river bed . Land use on the west side of the reservoir is primarily native grasses
and legumes with minimal amount of herbaceous and shrub vegetation , while on the east side is native
grasses and minor amounts of tillage and farming with scattered herbaceous vegetation. More specific
information on land features , vegetation, geology, and environmental features are addressed in the current
Draft Environmental Assessment. The proposed pipeline is to be installed by horizontal directional boring
(HOD) will be underground below Lake Oahe, with the boring entrance and exit located in the uplands on the
west side and east side respectively. The pipeline crossing will occur in a corridor that currently has an
existing overhead 500 KV power line crossing administered by Basin Electric Cooperative and an
underground 42 inch diameter natural gas line crossing administered by Northern Border Pipline.


3 0 G enera Is·1te Settm!!
Yes answers must be documented. Records and interviews must be documented.
        a. Current and Past use of Property:
                   (1 )(a) Is the property used for industrial use?
                            Record Search and/or Interview:                                                                  0Yes                !i) No             0Unk
                            Observed during site visit:                                                                      0Yes                [j] No
                   (1 )(b) Is any adjoining property used for an industrial use? For the purposes of this inquiry, adioining


                                                                                                                                                         Page 11
                                                                                                                    EXHIBIT "C"
                                                                                                                          USACE_ESMT000017
                                                                                                                    DACW45-2-16-8059
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                    ENVIRONMENTAL CONDITION OF PROPERTY, CON'T
       property is considered to be property located within a quarter mile of the subject property and individual
       properties located within a mile of the subject property that exhibit a potential for environmental
       concern.
                Record Search and/or Interview: Existing easements for overhead power [j] Yes    DNo Dunk
                                                      l;no on..l            noo J;no

                Observed during site visit: Existing power line observed.              l.i Yes   LJNo
       (2)(a) Did you observe evidence or do you have any prior knowledge that the property has been used
       for an industrial use in the past?
                Record Search and/or Interview:                                 DYes       [j] No Dunk
                Observed during site visit:                                            LJ Yes    [i]No
       (2)(b) Did you observe evidence or do you have any prior knowledge that any adjoining property has
       been used for an industrial use in the past?
               Record Search and/or Interview: Existing easemenls for overhead power ~Yes LJNo      Dunk
                                                  line and underground gas line.

                Observed during site visit: Existing power line observed.              ~Yes      DNo
       (3)(a) ls the property used as a gasoline station, motor repair facility, dry cleaners, photo developing
       laboratory, junkyard, or landfill, or as a waste treatment, storage, disposal, processing, or recycling
       facility (if applicable, identify which)?

                Record Search and/or Interview:                                        LJ Yes    [j] No    Dunk
                Observed during site visit:                                            LJ Yes    [j] No
       (3)(b) Is any adjoining property used as a gasoline station, motor repair facility, dry cleaners, photo
       developing laboratory, junkyard, or landfill, or as a waste treatment, storage, disposal, processing, or
       recycling facility (if applicable, identify which)?
                Record Search and/or Interview:                                      DYes        i.1 No Dunk
                Observed during site visit:                                            LJ Yes    [j] No
       (4)(a) Did you observe evidence or do you have any prior knowledge that the property has been used as
       a gasoline station, motor repair facility, dry cleaners, photo developing laboratory, junkyard, or landfill,
       or as a waste treatment, storage, disposal, processing, or recycling facility (if applicable, identify
       which)?
                Record Search and/or Interview:                                       LJ Yes      [j] No LJ Unk
                Observed during site visit:                                            LJ Yes    l.iNo
       (4)(b) Did you observe evidence or do you have any prior knowledge that any adjoining property has
       been used as a gasoline station, motor repair facility, dry cleaners, photo developing laboratory,
       junkyard, or landfill , or as a waste treatment, storage, disposal, processing, or recycling facility (if
       applicable, identify which)?
               Record Search and/or Interview:                                         DYes       [i]No       DUnk
                Observed during site visit:                                            DYes      i.1 No
b. Specific Property Conditions/Exterior Observations
       (5)(a) Are there currently any damaged or discarded automotive or industrial batteries, pesticides,
       paints, or other chemicals, hazardous substances or petroleum products in individual containers of>5
       gal (I 9 L) in volume or 50 gal (190 L) in the aggregate, stored on or used at the property or at the
       facility?
                 Record Search and/or Interview:                                    LJ Yes      i.1 No Dunk
                Observed during site visit:                                            DYes      l.i No
       (5)(b) Did you observe evidence or do you have any prior knowledge that there have been previously
       any damaged or discarded automotive or industrial batteries, pesticides, paints, or other chemicals,
       hazardous substances or petroleum products in individual containers of >5 gal (19 L) in volume or 50
       gal ( 190 L) in the aggregate, stored on or used at the prope1ty or at the facility?

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                  ENVIRONMENT AL CONDITION OF PROPERTY, CON'T
              Record Search and/or Interview:                                      DYes        ~No       Dunk
              Observed during site visit:                                          DYes        ~No
      (6)(a) Are there currently any industrial drums (typically 55 gal (208 L)) or sacks ofchemicals located
      on the property or facility?
              Record Search and/or Interview:                                     DYes        ~ No     Dunk
              Observed during site visit:                                          DYes       ~ No
      (6)(b) Did you observe evidence or do you have any prior knowledge that there have been previously
      any industrial drums (typically 55 gal (208 L)) or sacks of chemicals located on the :>roperty or facility?
              Record Search and/or Interview:                                     DYes        ~No        LJ Unk
              Observed during site visit:                                          DYes       ~No

      (7)(a) Did you observe evidence or do you have any prior knowledge that fill dirt has been brought
      onto the property that originated from a contaminated site?
               Record Search and/or Interview:                                 DYes         ~No      Dunk
              Observed during site visit:                                          DYes       ~No

      (8)(a) Are there currently any pits, ponds, or lagoons located on the property in connection with waste
      treatment or waste disposal?
              Record Search and/or Interview:                                     DYes       ~No        Dunk
              Observed during site visit:                                          DYes       ~No
      (8)(b) Did you observe evidence or do you have any prior knowledge that there have been previously,
      any pits, ponds, or lagoons located on the property in connection with waste treatment or waste
      disposal?
               Record Search and/or Interview:                                   DYes        ~No      Dunk
              Observed during site visit:                                          DYes       ~No
      (9)(a) Is there currently any stained soil on the property?
               Record Search and/or Interview:                                     D Yes      ~No        LJUnk
              Observed during site visit:                                          DYes       ~No
      (9)(b) Did you observe evidence or do you have any prior knowledge that there have been previously,
      any stained soil on the property?
               Record Search and/or Interview:                                 DYes      ~No       D Unk
              Observed during site visit:                                          DYes       l.iNo
     (I O)(a) Are there currently any registered or unregistered storage tanks (above or underground) located
     on the property?
              Record Search and/or Interview:                                     DYes       ~No      Dunk
              Observed during site visit:                                          DYes       ~No
      (I O)(b) Did you observe evidence or do you have any prior knowledge that there have been previously,
      any registered or unregistered storage tanks (above or underground) located on the property?
               Record Search and/or Interview:                                   DYes       ~No     Dun.1<
              Observed during site visit:                                          LJ Yes     l.iNo
      ( 11 )(a) Are there currently any vent pipes, fill pipes, or access ways indicating a fill pipe protruding
      from the ground on the property or adj acent to any structure located on the property?
                Record Search and/or Interview:                                      DYes          ~No      Dunk
              Observed during site visit:                                          DYes       l.iNo
      ( 11 )(b) Did you observe evidence or do you have any prior knowledge that there have been previously,


                                                                                                  Page I 3

                                                                                        USACE_ESMT000019
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                              ENVIRONMENTAL CONDITION OF PROPERTY, CON'T
                  any vent pipes, fill pipes, or access ways indicating a fill pipe protruding from the ground on the
                  property or adjacent to any structure located on the property?
                          Record Search and/or Interview:                                        DYes       Ii] No Dunk
                          Observed during site visit:                                          DYes        Ii] No
                  (12)(a) Are there currently any strong, pungent, or noxious odors located on the property?
                          Record Search and/or Interview:                                    DYes       Ii] No       Dunk
                          Observed during site visit:                                          DYes        Ii] No
                  ( l 2)(b) Did you observe evidence or do you have any prior knowledge that there have been previously,
                  any strong, pungent, or noxious odors located on the property?
                            Record Search and/or Interview:                                 DYes       Ii] No Dunk
                          Observed during site visit:                                          DYes       li]No
                  (13)(a) Are there currently any standing surface water, pools or sumps containing liquids likely to be
                  hazardous substances or petroleum products, located on the property?
                          Record Search and/or Interview:                                   DYes        [j] No Dunk
                          Observed during site visit:                                          DYes       Ii] No
                 (13)(b) Did you observe evidence or do you have any prior knowledge that there have been previously,
                 any standing surface water, pools or sumps containing liquids likely to be hazardous substances or
                 petroleum products located on the property?
                         Record Search and/or Interview:                                     DYes      [j] No Dunk
                          Observed during site visit:                                          DYes       Ii] No
          c. Facilitv Conditions or Interior Observations
(c. )(1) Are there facilities currently on site? See comments below no enclosed struct. Ii] Yes DNo                   Dunk
(c.)(2) Is there evidence or prior knowledge of facilities previously on site?                  DYes [j] No           Dunk
                                                      If answers (c.)(1) and (c.)(2) are No, than questions 14-16 are D NIA
                   (14)(a) Is there currently evidence of leaks, releases or staining by substances other than water, or foul
                   odors, associated with any flooring, drains, walls, ceilings, or exposed grounds on the property?
                             Record Search and/or Interview:                                     DYes       [j] No DUnk
                          Observed during site visit:                                          DYes       [j] No
                 (14)(b) Did you observe evidence or do you have any prior knowledge that there have been previously
                 any leaks, releases or staining by substances other than water, or foul odors, associated with any
                 flooring, drains, walls, ceilings, or exposed grounds on the property, infrastructure Conditions
                          Record Search and/or Interview:                                      DYes       Ii] No Dunk
                          Observed during site visit:                                          DYes       Ii] No
                 (I 5) Describe the means of heating and cooling the buildings on the property, including the fuel source
                 for heating and cooling.
The facility that is adjacent to the proposed pipeline site is an overhead high voltage power line and on the west and east
side of the Oahe Reservoir there is a secured area of above ground piping, valves and controls for the underground gas
line. No enclosed buildings exist, or have existed, on the Government property under consideration for the proposed
DAPL oil pipeline to my knowledge.
                 (I 6) Describe sumps or drains visually and/or physically observed or identified from the interviews that
                 are present in the buildings on the property.

N/A


         d. Infrastructure Conditions
                 (17) Identify the source of potable water for the property.

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                         ENVIRONMENT AL CONDITION OF PROPERTY, CON'T

N/A



             ( 18) Identify the sewage disposal for the property.

N/A


             (19)(a) If the property is served by a private well or non-public water system, is there evidence or do
             you have prior knowledge that contaminants have been have been identified in the well or system that
             exceed guidelines applicable to the water system?
                     Record Search and/or Interview:                                      LJ Yes ~No Dunk
                     Observed during site visit:                                        DYes       [j] No
             (19)(b) If the property is served by a private well or non-public water system is there evidence or do
             you have prior knowledge that the well has been designated as contaminated by any government
             environmental/health agency?
                     Record Search and/or Interview:                                      LJ Yes ~No Dunk
                     Observed during site visit:                                        LJ Yes     [j] No
             (I 9)(c) Does the property discharge waste water (not including sanitary waste or storm water) onto or
             adjacent to the property and/or into a storm water system?
                      Record Search and/or Interview:                                   LJ Yes [j] No Dunk
                     Observed during site visit:                                        DYes       [j] No
             (19)(d) Does the property discharge waste water (not including sanitary waste or storm water) onto or
             adjacent to the property and/or into a sanitary sewer system?
                     Record Search and/or Interview:                                   LJ Yes ~No Dunk
                     Observed during site visit:                                        LJ Yes     ~No
             (20)(a) Has there been a discharge of any substance or material from the property that might
             contaminate the public water system?
                     Record Search and/or Interview:                                    LJ Yes [j] No        Dunk
                     Observed during site visit:                                        DYes       Ii] No
             (20)(b) Is the propetty known to be served by asbestos cement mains, lead containing lines, or piping
             that uses copper and/or lead solder?
                      Record Search and/or Interview:                                  DYes      ~No         Dunk
                     Observed during site visit:                                        LJ Yes     [i]No
             (21 )(a) Is the property served by a private/nonpublic water system that has been found to be
             contaminated in excess of drinking water guidelines or otherwise contaminated?
                       Record Search and/or Interview:                                    DYes      ~No      Dunk
                     Observed during site visit:                                        DYes       ~No

      e. CERCLA and Related Liability
            (22) Is there any knowledge of environmental remediation orders or agreements applicable to the
            property or any facility located on the property?
                     Record Search and/or Interview:                                LJ Yes [j] No Dunk
                     Observed during site visit:                                        LJ Yes     ~No

             (23)(a) ls there information on the past existence of hazardous substances or petroleum products with
             respect to the property or any facility located on the property?

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                            ENVIRONMENTAL CONDITION OF PROPERTY, CON'T
                        Record Search and/or Interview: Draft Env. Assess.,                  DYes       [j] No     Dunk
                        Observed during site visit:                                          DYes       [j] No
                (23)(b) ls there information on the current existence of hazardous substances or petroleum products
                with respect to the property or any facility located on the property?
                        Record Search and/or Interview:                                    D Yes       [j] No DUnk
                        Observed during site visit:                                          DYes       [j] No
                (23)(c) ls there information on the past existence of environmental violations with respect to the
                property or any facility located on the property?
                         Record Search and/or Interview:                                    DYes       [i]No Dunk
                        Observed during site visit:                                          DYes       [j] No
                (23)( d) ls there information on the current existence of environmental violations with respect to the
                property or any facility located on the property?
                         Record Search and/or Interview:                                     DYes       [j] No D Unk
                        Observed during site visit:                                          DYes       [j] No
                (24) Is there any knowledge of any environmental site assessment of the property or facility that
                indicated the presence of hazardous substances or petroleum products on, or contamination of, the
                property or recommended further assessment of the property?
                         Record Search and/or Interview:                                  DYes       [i]No Dunk
                        Observed during site visit:                                          D Yes      [j] No
                (25) ls there any knowledge of any past, threatened, or pending lawsuits or administrative proceedings
                concerning a release or threatened release of any hazardous substances or petroleum products involving
                the property by any owner or occupant of the property?
                         Record Search and/or Interview:                                   DYes       [j] No Dunk
                        Observed during site visit:                                          DYes       [j] No
                (26) Is there any prior knowledge that any hazardous substances or petroleum products, unidentified
                waste materials, tires, automotive or industrial batteries, or any other waste materials have been dumped
                above grade, buried and or burned on the property?
                         Record Search and/or Interview:                                       DYes       [i]No 0Unk
                        Observed during site visit:                                          DYes       [j] No

3.1 TOXIC SUBSTANCES CONTROL ACT (TSCA):
            a. ls there a transfonner, capacitor, or any hydraulic equipment known to contain or likely to contain
            polychlorinated biphenyls (PCBs) or any records indicating the presence of such?
                      Record Search and/or Interview:                                   DYes        [j] No Dunk
                        Observed during site visit:                                          DYes       [j] No

3.2 ASBESTOS ABATEMENT AND INSPECTION:
                                                                                              If no facilities then [j] N/A
                a. Were any of the facilities located on the property constructed prior to 1980?
                       Record Search and/or Interview:                                       DYes       DNo Dunk
                        Observed during site visit:                                          DYes       DNo
                b. Have all facilities on the property been inspected by a certified asbestos abatement team?
                       Record Search and/or Interview:                                        DYes      DNo        Dunk
                        Observed during site visit:                                          DYes       DNo


                                                                                                            Page I 6

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                         ENVIRONMENTAL CONDITION OF PROPERTY, CON'T
            c. Is there any documented evidence of asbestos (e.g., tests, surveys, management plan) in any of the
            facilities on the property?
                      Record Search and/or Interview:                                  DYes      LJNo       Dunk
                     Observed during site visit:                                             LJ Yes     DNo
            d. Has all friable asbestos on the property or within facilities on the property been removed or become
            subject to an Operation and Maintenance (O&M) program so that it does not create the potential for
            human exposure?
                     Record Search and/or Interview:                                      LJ Yes     DNo Dunk
                     Observed during site visit:                                             DYes       DNo
            e. Does the site survey of pre-1980 construction identify potential asbestos containing materials (e.g.,
            boiler insulation, floor tiles, building siding, shingles, roofing felt, wall and ceiling insulation, acoustical
            ceiling tiles, window putty, fuse boxes, heat reflectors, air duct lining)?
                      Record Search and/or Interview:                                        DYes        LJNo       Dunk
                     Observed during site visit:                                             LJ Yes     DNo


3.3 LEAD-BASED PAINT ABATEMENT AND fNSPECTION:
                                                                           If there were never structures then Iii NIA
            a. Were any structures or facilities on the property constructed prior to 1979?
                   Record Search and/or Interview:                                       DYes       DNo Dunk
                     Observed during site visit:                                            LJ Yes      DNo
            b. Has a screening test been conducted on the property for lead-based paint?
                    Record Search and/or Interview:                                    LJ Yes           DNo        Dunk
                     Observed during site visit:                                            LJ Yes      LJNo
            c. Did the results of the screening tests identify lead-based paint?
                    Record Search and/or lnterview:                                         LJ Yes      LJNo       Dunk
                     Observed during site visit:                                            DYes        LJNo
            d. ls any of the on-site paint peeling or chiooed?
                     Record Search and/or Interview:                                        LJ Yes      DNo        Dunk
                     Observed during site visit:                                            0Yes        D No


3.4 FEDERAL INSECTICIDE, FUNGICIDE, AND RODENTICIDE ACT (FIFRA):
            a. Are there or has there been any pesticides, fungicides, or herbicides used on the property?
                    Record Search and/or Interview:                                      LJ Yes     LJNo           liJ Unk
                     Observed during site visit:                                            DYes        liJ No
            b. In greater than household quantities?
                     Record Search and/or Interview:                                        DYes        LJNo       liJ Unk
                     Observed during site. visit:                                           DYes        liJ No
            c. Applied not in accordance with the manufacturers recommendations?
                    Record Search and/or Interview:                                         LJ Yes      LJNo       Iii Unk
                     Observed during site visit:                                            DYes        liJ No
            d. Are there or has there been any pesticides, fungicides, or herbicides stored onsite?
                    Record Search and/or Interview:                                      LJ Yes DNo                liJ Unk
                     Observed during site visit:                                            LJ Yes      ~No



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                             ENVIRONMENTAL CONDITION OF PROPERTY, CON'T
                e. In greater than house-hold quantities?
                         Record Search and/or Interview:                                   0   Yes    DNo       [j] Unk
                         Observed during site visit:                                       0Yes       ~No

                f. Have there been reports or evidence of a spill of any pesticides, fungicides, or herbicides on the
                property?
                        Record Search and/or Interview:                                      0Yes        ~No        Dunk
                         Observed during site visit:                                       0Yes       lllJ No

3.5 MEDICAL/BIOHAZARDOUS WASTE:
            a. Has the property been used for chemical or biological testing?
                    Record Search and/or Interview:                                        0Yes       [j] No    Dunk
                         Observed during site visit:                                       DYes       !Ill No
                b. Has the property been used for burying medical or biohazardous waste?
                        Record Search and/or Interview:                                  0Yes         ~No       Dunk
                         Observed during site visit:                                       0Yes       [j] No

3.6 MUNITIONS AND EXPLOSIVES OF CONCERN (MEC - i.e., military munitions that may pose unique
explosives safety risks, including: (A) unexploded ordnance (UXO), as defined in I 0 U .S.C. 271 O(e)(9); (B) discarded
military munitions (DMM), as defined in I 0 U.S.C. 271 O(e)(2); or (C) munitions constituents (e.g., TNT, RDX), as
defined in 10 U.S.C. 2710(e)(3), present in high enough concentrations to pose an explosive hazard.)
                 a. Have any citizen complaints or local Jaw enforcement actions occurred regarding MEC on the
                 property?
                           Record Search and/or Interview:                                  LJ Yes li] No D u nk
                         Observed during site visit:                                      0Yes       !Ill No
                b. Has the site served as a small arms test range or otherwise to service weapons?
                        Record Search and/or Interview:                                     DYes     [j] No     Dunk
                         Observed during site visit:                                      DYes        ~No

                c. Are any ranges, berms, open burning/open detonation (OB/OD), training, or impact areas onsite?

                         Record Search and/or Interview:                                  0Yes        lllJ No   Dunk
                         Observed during site visit:                                      DYes       [j] No

3.7 RADIOLOGICAL SUBSTANCES:
           a. Has the property ever been suspected to contain radioactive waste, including mixed waste?
                   Record Search and/or Interview:                                    DYes      [j] No          D u nk
                         Observed during site visit:                                      DYes       ~ No

                b. Have radiological substances ever been used or services provided on the property?
                       Record Search and/or Interview:                                    0Yes       [i]No      Dunk
                         Observed during site visit:                                      0Yes       ~ No

                c. Has the property been surveyed for radon?
                        Record Search and/or Interview:                                   0Yes       DNo        [j] Unk
                         Observed during site visit:                                      0Yes       i.l No
                d. Did the radon survey indicate test results above 4 pCi/l (pico curies/liter)?
                        Record Search and/or Interview:                                       DYes   DNo        [j] Unk

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                              ENVIRONMENTAL CONDITION OF PROPERTY, CON'T
                          Observed during site visit:                                          0Yes       [j] No
                 e. Ifa radon survey has not been conducted does the vicinity exhibit radon above 4 pCi/I (pico
                 curies/liter)?
                           Record Search and/or Interview:                                  0Yes      LJNo [j] Unk
                          Observed during site visit:                                         LJ Yes      ~No

                 f. Do records indicate that nearby structures have elevated indoor levels of radon?
                         Record Search and/or Interview:                                     0Yes         0No       [j] Unk
                          Observed during site visit:                                          LJ Yes     ~No


3.8 Clean Air Act
               a. Does the facility emit air pollutants into the environment?
                        Record Search and/or Interview:                                       LJ Yes      [j] No    Dunk
                          Observed during site visit:                                         LJ Yes      1WJ No
                 b. ls the facility a type for which new standards of performance (NSPS) have been promulgated? See 40
                 C.F.R. Part 60 for a list of new source categories and aoolicable standards.
                           Record Search and/or Interview: Draft Env. Assess .. EPA, SD Dept. Health LJ Yes ~No Dunk
                          Observed during site visit:                                         DYes        [j] No
                 c. Is the facility in violation or has the facility been in violation of the NSPS or the permit?
                           Record Search and/or Interview:                                        LJ Yes ~No        LJ Unk
                          Observed during site visit:                                         D Yes       [j] No
                 d. Is the facility located in a nonattainment area?
                           Record Search and/or Interview: Draft Env. Assess., EPA.           LJ Yes      [j] No    Dun.1<
                          Observed during site visit:                                         DYes        [j] No
                 e. Will the facility be subject to maximum attainable control technology MACT)?
                          Record Search and/or Interview:                                  D Yes          DNo       [j] Unk
                          Observed during site visit:                                         DYes        [j] No
                 f. Is the capital expenditure required to meet the requirements of emissions reductions in the new Clean
                 Air Act, i.e., is the facility required to reduce emissions because it is a non-attainment area?
                           Record Search and/or Interview:                                       LJ Yes     ~No    Dunk
                          Observed during site visit:                                         DYes        [j] No
                 g. Does the facility incinerate any wastes of any kind?
                         Record Search and/or Interview:                                      LJ Yes      ~No       Dunk
                          Observed during site visit:                                         DYes        i.l No

3.9 ADDITIONAL ISSUES:
            a. Does the property exhibit any stressed vegetation or diseased wildlife?
                    Record Search and/or Interview:                                    DYes               ~No       DUnk
                          Observed during site visit:                                         DYes        [j] No
                 b. Does the property have erosion problems (i.e., gullies, arroyos, sediment loading during storms)?
                         Record Search and/or Interview: Erosion along shoreline             ~Yes       LJ No     Dunk
                          Observed during site visit:
                                                               of the Oahe Reservoir.         ~Yes        DNo
                 c. Are there any floodplains or wetlands?


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                                                                             -
                            Record Search and/or Interview: UIClll ~· . . . w~~~~ -. llUl " ' ·. - - - - - ·   [j] Yes   DNo       DUnk
                            Observed during site visit: Wetland Map Attached. No impact.                       ~Yes      DNo
                   d. Are there any sinkholes?

                            Record Search and/or Interview:                                                    LJ Yes    [j]No     Dunk
                            Observed during site visit:                                                        DYes      [j]No
                   e. Are there any valuable mineral resources?
                           Record Search and/or Interview:                                                     LJ Yes    [j] No    Dunk
                            Observed during site visit:                                                        DYes      [j] No
                   f. Is mold present in facilities on the property?

                            Record Search and/or Interview:                                                    DYes      [j] No    Dunk
                            Obser\'ed during site visit:                                                       LJ Yes    [j] No

3.10 OTHER CONDITIONS:
Are there any other conditions that exist on the property that should be considered in the decision to outgrant? Descri be.

No other conditions on the property of the proposed installation-DAPL Pipeline. However, the
proposed project is in close proximity of two other approver cross ings-1 . Overhead Power Line,
2. Underground Gas Line.

3. 11 ADDITIONAL COMMENTS:
The two existing utility lines have existing authorization and are regulated for installation, maintenance and operation. Several
of the answers in Section 3 and 4 were obtained from a record search of the DRAFT ENVIRONMENTAL ASSESSMENT and
PROPOSED PLANS AND SPECIFICATIONS. FINAL ANSWERS MAY BE CHANGED OR CONFIRMED UPON TH E
FINALIZATION OF THE DRAFT ENVIRONMENTAL ASSESSMENT, PLANS AND SPECIFICATIONS.


4.0 GOVERNMENT RECORDS/HISTORICAL RESOURCES INQUIRY
        a. Do any of the following Federal Government record systems list the property or any property wi thin the
        search distance noted below:
         Federal Government Source                  Approximate Minimum Search                       Response
                                                       Distance, miles (kilometers)
Federal NPL site list                            1.0 (1.6)                                     DYes             [i]No
Federal CERCLIS list                                         0.5 (0.8)                                            DYes            [j] No
Federal ~ERCLIS NFRAP site list                              property and adjoining properties                    DYes            [j] No
Federal RCRA CORRACTS TSO facilities list                    1.0 (1.6)                                            LJ Yes          [j] No
Federal RCRA non-CORRACTS TSO facilities                     0.5 (0.8)                                            LJ Yes          [j] No
list
Federal RCRA generators list                                 property and adjoining properties                    LJ Yes          [j] No
Federal ERNS list                                            property only                                        DYes            [j] No
         b. Do any of the following state record systems list the property or any property within the search distance noted
         below:
 State lists of hazardous waste sites identified          Approximate Minimum Search                     Response
        for investi2ation or remediation                    Distance, miles (kilometers)
State - Equivalent NPL                               I .0 (1.6)                                    LJ Yes          Ii] No


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                                    ENVIRONMENTAL CONDITION OF PROPERTY, CON'T
State - Equivalent CERCLIS                                     0.5 (0.8)                                                 0Yes               [j] No
State landfill and/or solid waste disposal lists               0.5 (0.8)                                                 0Yes               i.J No
State leaking UST lists                                        0.5 (0.8)                                                 0Yes               ~No

State registered UST lists                                     property and adjoining properties                         0Yes               ~No

       c. Based upon a review of fire insurance maps or consultation with the local fire                               0Yes                 [j] No
       department serving the property, are any buildings or other improvements on the
       property or on any adjoining property identified as having been used for industrial
       use or uses likely to lead to contamination of the property? Please state remarks
       below.
Remarks: The two adjoining utilities. overhead power line and underground gas pipeline, are improvements that a re associated with industrial use.
            These may have uses and operational equipme nt that could lead to contamination of the adjoining property. The respective utility companies
            would be responsible for any contamination of their leased property and for compliance with applicable e nvironmenta l regulations ..




5.0 Interviews
                 Name                                                      Position
               1 Phil Sheffield                                            Oahe Lake Manager, Operations Div., CENWO-OD-OA
               2 Francis Kuhn                                              Riverdale Realty Specialist, Real Estate Div., CECO-C-RAQ
               3 Brent Cossette                                            Natural Resources Specialist, Omaha District, CENWO-OD-TN
               4 Richard Harnois                                           Archeologist, Operations Div., CENWO-OD-OA
               5
               6


6.0 Records
               I   COE Oahe Project Real Estate Files and Records.
               2 COE Omaha Distric Real Estate Files
               3 DAPL Final Draft Environmental Assessment, 2016.05.10, with Appendices.
               4   US Environmental Protection Agency Database
               5 North Dakota Dept. of Health Database
               6

7.0 We have performed a Phase I Environmental Site Assessment in conformance with the scope and limitations of
ASTM Practice E 1527 of Sections 10 & 11, T134 N, R79 w                 the property. Any exceptions to, or deletions from
this practice are described in Section NIA          of this report. This assessment has revealed no evidence ofrecognized
environmental conditions in connection with the property.
Environmental Professional (Print)W.11"        H I          RF
                                               1 1am        ar on,
Environmental Professional's Signature HARLONWILLIAM.D.111.12 ~~!:,~~~==.~~~'.':.:~.',..,
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                                                                                                                I Date
                                                                                                                           5/20/16
8.0 CERTIFICATIONS:
       15.a. The Environmental Professional Completing this report:
               Name: William D. Harlen Ill
               Title: Envrionmental Compliance Coordinator
               Organization: US Army Corps of Engineers, Omaha District
               Address: 1616 Capitol Avenue, Omaha Nebraska 68102
               Phone number: (402) 995-2500
               Date: 5120116
               Qualifications: B.S . Forest Science with 13+ years of environmental complia nce experience

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                              ENVIRONMENTAL CONDITION OF PROPERTY, CON'T


                 "[I, We] declare that, to the best of [my our] professional knowledge and belief, [I, we] meet the
                 definition of Environmental professional as defined in 312. J 0 of 40 CFR 312 and [I, We] have the
                 specific qualifications based on education, training, and experience to assess a property of the nature,
                 history and setting of the subject property. [I, We] have developed and performed the all appropriate
                 inquiries in confonnance with the standards and practices set forth in 40 CFR Part 312."

9.0 RECOMMENDATION:
[j] I recommend that the proposed real estate outgrant be approved and that the action oroceed.
D I do not recommend that the proposed real estate outgrant be approved and recommend that no further review and
processing be done.

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                      ENVIRONMENTAL CONDITION OF PROPERTY, CON'T
                                          Appendix A
                                       Aerial Photographs

  Aerial Photo        Flight Date             Source                 Item or Feature Observed
      Date
Aug ., 2015      Unknown            Google Earth             Project Location, south central North Dakota
Unknown                             Map-Draft Env. Assess.   Detailed L. Oahe pipeline crossing map.
09/28/2015       #1                 On Site                  Existing Condtions, West Side of Lake
09/28/2015       #2                 On Site                  Existing Condtions, West Side of Lake
09/28/2015       #3                 On Site                  Existing Conditions, East Side of Lake
09/28/2015       #4                 On Site                  Existing Conditions, East Side of Lake
09/28/2015       #5                 On Site                  Existing Conditions, East Side of Lake
Aug., 2014       Unknown            Google Earth             Nat. Wetland Inventory Map




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                     DAPL Pipe Line Crossing
                 Morton and Emmons County, North Dakota
                Sec 10, R134N, R79W I Sec. 11, T134N, R79W




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                                     DAPL LAKE OAHE CROSSING




Pipeline HOD Crossing, West side of Lake Oahe, Photo-West to East.     # .1




Pipeline HOD Approximate Entrance Point, West side of Lake Oahe, Photo-West to East      #     2

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                                     DAPL LAKE OAHE CROSSING




Pipeline HOD Crossing, East Side of Lake Oahe, Photo East to West.




Pipeline HOD Crossing, Approximate Exit Point, East Side of Lake Oahe, Photo East to West.   #   +

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                                     DAPL LAKE OAHE CROSSING




DAPL Pipeline Alignment to East, East Side of Lake Oahe, Photo West to East.   #5




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                                                                    OAHE PROJECT, DAPL PIPELINE CROSSING
                                                                      National Wetlands Inventory Map




 •                      E1tuorlno ond Morino Ooopwotor
 •                      E1tuarlno ond MorlnoWotlond
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 •                      Froehwutor EmorgontWotlond
 •                      Fr111hwotor Forostod/ShrubWottand
 •                      Fr111hwetor Pond
 •                      Loko
 •                      Othor
 •                      Rlvorlno



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                                    OAHE DAPL ECP
                                  RE-CERTIFICATION


This addendum to the Draft DAPL ECP of May, 2016 is to certify that the Environmental
Conditions of the Property has been reviewed and updated within 180 days of the certification
date of May 13, 2016. Based upon recent visual assessments and review of the site, I certify
that all conditions are unchanged from the date of the documentation .




                                                    Eric D. Stasch

                                                    Operations Project Manager




                                                    Date




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                                                SPECIAL CONDITIONS
                                       LAKE OAHE, EASEMENT NO DACW45-2-16-8059

Condition
            Procedures and Specifications: For the pipeline segments crossing Lake Oahe and its "could affect" High Consequence Areas
            ("could affect" HC.As) (as defined in 49 CFR § 195.450), Grantee must meet the U.S. Almy Co1p of Engineers easement special
            conditions_by developing, implementing, and maintaining for the duration of the easement all easement special conditions in
            specifications and procedures for the design, constrnction, testing, operation and maintenance specifications and procedures as
   l.
            required in 49 CFR §§ 195.100, 195.202, 195.302, and 195.402 and this easement.

            For the pmposes of these special conditions, "pipeline segment" is defined as Lake Oahe and the "could affect" HC.As noted in EA
            for the vicinity of Lake Oahe ..
   2.       Grantee will conduct all HDD work according to the HDD Constrnction Plan [August 18, 2015] (Final EA, Appendix B) that it has
            prepared, and imolement the HDD Contingency Plan [March 11, 2011] (.Appendix B) in the event of an inadvertent release.
   3.       Grantee is not authorized to discharge hydrostatic test water under this easement.
   4.       Grantee will follow response, containment, mitigation measures, and cleanup measures desc1ibed in SPCC, SWPPP, and ECP.
            Grantee will use temporaiy sediment control measures, such as silt fence, to minimize the introduction of sediment into waterbodies
   5.
            during construction and minimize the movement of spoil and sediment from surface rnnoff dming and after construction.
   6.       Grantee will retmn all surface drainage contours and vegetation to preconstrnction conditions as much as practical.
            Grantee will avoid groundwater contamination by implementing the protective measures set fo1t h in the Project specific spill
   7.       prevention, contr·ol and Counte1measures prepared by the contr·actor and in the Spill Prevention, Contr·ol and Counte1measure Plan
            [December 2014] (Final EA, .Appendix A).

                                                                  Documentation Conditions
   8.       The Grantee will submit the Facility Response Plan to the Oahe OPM for review prior to the operation of the pipeline.
            The Grantee will submit all plans not final at the time this easement is granted to the Oahe OPM for review and the inco1poration of
            U.S. Almy Co1ps of Engineers comments prior to the Grantee's submittal to the Pipeline and Hazardous Management Safety
            Administration. These plans include, but are not limited to the following:
   9.           a. Geographical Response Plan,
                b. Operations and Maintenance Manual,
                c. Risk Assessment (Integiity Management Plan), and
                d. Spill Models (Using the National Hydrography Dataset by the U.S. Geological Smvey)
            The Grantee must send any updated plans in the Facility Response Plan to the Oahe OPM for review by the U.S. Almy Co1ps of
   10.      Engineers Environmental Compliance Coordinators at the Omaha Distr·ict Office and the Oahe Project Office within one year of the
            update.


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11.   The Grantee shall provide as-built drawings for the crossing at Lake Oahe to the Oahe OPM within 6 months of the completion of
      pipeline construction.
12.   All records demonstrating compliance with these easement conditions herein must be maintained for the duration of the easement.

                                                     Pioeline Safetv Conditions (Construction)
      Pipeline Design Factor - Pipelines: Pipe installed must comply with a design factor of 0.50 or lower in the Lake Oahe crossing and
13.
      "could affect" HCAs.
      Pipe Girth Weld- Nondestructive Tests: Grantee must nondestructively test all girth welds in accordance with 49 CFR §§
14.
      195.228, 195.230 and 195.234.
      Pressure Test Level: The pre-in-se1vice hydrostatic test for mainline pipe must be to a pressure producing a hoop stress of either: a
15.   minimum 100% specified minimum yield strength (SMYS) or a minimum of 1.25 times maximum operating pressure (MOP) for
      eight (8) continuous hours for pipeline se2!Ilents using a design factor of 0.50 or less.
      Assessment of Test Failures: Any pipe failure occuning during the pre-in se1vice hydrostatic test must undergo a root cause failure
      analysis to include a metallurgical examination of the failed pipe. The results of this examination must preclude a systemic pipeline
16.
      material issue and the results must be repo1ted to the Operations Project Manager at the Oahe Project Office (Oahe OPM) within 60
      days of the failure.
      Coatings for Trenchless Installation: Coatings used for directional bore, slick bore and other trenchless installation methods must
17.   be capable of resisting abrasion and other damage that may occur due to rocks and other obstructions encountered in this installation
      technique.
      Pipe Coating: Pipe coatings must be non-shielding to cathodic protection (CP). Coatings such as tape and shrink sleeves would be
      shielding coatings to CP that protects the pipe from external conosion. The application of a conosion resistant coating to the steel
18.   pipe must be pe1fo1med according to a coating application quality control program. The program must address pipe surface
      cleanliness standards, blast cleaning, application temperature control, adhesion, cathodic disbondment, moisture pe1meation, bending,
      minimum coating thickness, coating imoerfections and coating repair.
      Field Coating: Field joint coatings must be non-shielding to CP. Grantee must implement field giith weld joint coating application
      specification and quality standards to ensure pipe surface cleanliness, application temperature control, adhesion quality, cathodic
19.
      disbondment, moisture pe1meation, bending, minimum coating thickness, holiday detection and repair quality. Field coating
      aoolicators must use valid qualified coating procedures and be trained to use these procedures.
      Construction Coating Survey after Installation: Promptly after a ditch for the pipeline is backfilled, but not later than three months
      after placing the pipeline in se1vice, the operator must perfo1m an assessment to ensure integiity of the coating using direct cunent
20.   voltage gi·adient (DCVG) or alternating current voltage gi·adient (ACVG). The operator must repair any coating damage classified as
      moderate or severe (voltage drop gi·eater than 35% for DCVG or 50 dBµV for ACVG) in accordance with section 4 and Appendix
      A of NACE SP0502-2008 (or latest edition referenced in 49 CFR & 195.3) within six months of the assessment.
      Mainline Valve(s) with Remote Control or Automatic Shutdown:
21.


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          a. Mainline valves with remote control or automatic shutdown for water crossings and reservoirs must be installed on either side
             of the crossing and additional mainline valves(s) installed either upstream, downstream, or both to protect the water body
             from the “could affect” HCA on either side of the water crossing. Mainline valves must either be located outside of the flood
             plain or have valve actuators and other control equipment installed so as to not be impacted by flood conditions.

          b. Mainline valves with remote control or automatic shutdown must contain transit inhibit switches that prevent the valves from
             shutting at a rate (and in conjunction with pumps being shutdown) so that no pressure surges can occur, or other damage
             caused by unintended valve closures or too fast of a closure.

          c. Mainline valves must be remotely controlled and actuated or automatic shutdown, and the Supervisory Control and Data
             Acquisition (SCADA) system must be capable of closing the valve and monitoring the valve position, upstream pressure and
             downstream pressure so as to minimize the response time in the case of a failure. Remote power backup is required to ensure
             communications are maintained during inclement weather. Mainline valves must be capable of closure at all times. If it is
             impracticable to install a remote controlled valve, Grantee must submit a valve design and installation plan to the appropriate
             Oahe OPM to confirm the alternative approach provides an equivalent level of safety.

          d. Mainline valves in the pipeline segment must have actuation capability (i.e., remote control shut-off, automatic shut-off,
             manual shut-off where personnel are in proximity, or alternative equivalent technology) to ensure pipeline ruptures are
             promptly mitigated based upon maximum valve shut-off times, location, and spacing specified.

           e. For each mainline valve that is a remote-control shut-off or automatic shut-off valve, the operator must conduct a point-to-
               point verification between SCADA displays and the mainline valve, sensors, and communications equipment in accordance
               with 49 CFR § 195.446(c) and (e), or an equivalent verification.
      Supervisory Control and Data Acquisition (SCADA) System: Grantee must develop, install, operate, and maintain a SCADA
22.
      system to provide remote monitoring and control of the entire pipeline segment in accordance with 49 CFR Part 195 requirements.
      Computational Pipeline Monitoring (CPM) Leak Detection: The pipeline segment must have a computational pipeline monitoring
      (CPM) leak detection system in accordance with 49 CFR § 195.134 and must have adequate pressure sensors at pump stations,
      laterals, mainline valves and liquid flow volume measurement along the pipeline at inflows, outflows and spaced along the pipeline to
23.   perform accurate leak detection. The pipeline segment must be operated as a continuously pressurized pipeline (with no pressure,
      slack line pipeline segments). If the pipeline segment is operated as a slack line pipeline segment, an operating plan must be
      developed, reviewed by a responsible third party independent expert engineering company and submitted to the Oahe OPM for “no
      objection” prior to being implemented by Grantee.

      Grantee will minimize or avoid impacts on soils by implementing the mitigation measures described in the DAPL Project’s Spill
24.
      Prevention Control and Countermeasure Plan [December 2014] (SPCC), Storm water Pollution Prevention Plan[July 2015] (SWPPP),
      and Environmental Construction Plan [April 2015 (ECP) as well as requirements of applicable state and federal permits.


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      Pipeline Safetv Conditions (Operation)
      Overpressure Protection Contr ol: Grantee must limit mainline pipeline segment ove1pressure protection to a maximum of 110%
      maximum operating pressure (MOP) during surge events consistent with 49 CFR § 195.406(b). Before commencing operation,
      Grantee must perfo1m a surge analysis showing how the pipeline segment will be operated to be consistent with these ove1pressure
      protection conditions. Grantee shall equip the pipeline with field devices to prevent ove1pressure conditions. Remotely actuated
25.   valves or automatic shutoff valves should be fitted with devices that will stop the transit (intentional or uncommanded) of the
      mainline valve should an ove1pressure condition occur or an impending ove1pressure condition is expected. Sufficient pressure
      sensors, on both the upstream and downside side of valves, must be installed to ensure that an ove1pressure situation does not
      occur. Sufficient pressure sensors must be installed along the pipeline to conduct real time hydraulic modeling, and which can be
      used to conduct a surge analysis to dete1mine whether pipeline segments have experienced an overpressure condition.
      Cathodic Protection: The initial Cathodic Protection system must be operational within six (6) months of placing a pipeline segment
      in se1vice. Cathodic Protection will be operated and maintained per applicable codes and the Grantee's 'Operations and Maintenance
26.
      Manual'. Wall thickness testing will be perfo1med in-lieu of periodic hydro tests. The Grantee shall send the inspection rep01ts to the
      Operations Project Manager at the Oahe Project Office (hereinafter the Oahe OPM)."
      Interference Current Surveys: Interference smveys must be pe1fo1med over the entire pipeline segment within six months of
      placing the pipeline in se1vice to ensure compliance with applicable NACE International Standard Practice 0169-2007 (2007 or the
      latest version inco1porated by reference in§ 195.3) and 0177 (2007 or the latest NACE standard version, since NACE SP 0177 is not
      inco1porated by reference in 49 CFR § 195.3) (NACE SP 0169-2007 and NACE SP 0177) for interference current levels. If
      interference cmTents are found, Grantee must dete1mine if there have been any adverse effects on the pipeline and mitigate such
      effects as necessaiy as required below.

      The inte1ference cunent mitigation program for the pipeline segment must include:
              1) As frequently as needed, including when new or uprated high voltage alternating cmTent power lines greater than or equal
                  to 69 kVA or electiical substations are co-located near the pipeline, but not to exceed eve1y seven yeai·s conduct an
27.
                  interference smvey (at times when static or dynamic voltages are at the highest values for a time pedod of at least 24-
                  hours) to detect the presence and level of any electrical current that could impact external conosion where interference is
                  suspected;
              2) Analyze the results of the smvey to identify locations where interference cunents are greater than or equal to 20 Amps
                  per meter squai·ed; and
              3) a remedial action plan and apply for any necessruy pe1mits within four months of completion of the inspection or testing
                  that identified the presence of delete1ious electiical stray current.
              4) Implement remedial actions to protect the pipeline segment from detiimental inte1ference cmTents. Remedial actions
                  must be completed promptly, but no later than one year after completion of the smvey, or as soon as practicable after
                  obtaining necessa1y pe1mits. Remedial action means the implementation of measures including, but not limited to,


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                   additional grounding along the pipeline to reduce interference currents below 20 Amps per meter squared. The following
                   criteria shall be used to determine when remedial actions are required.
                        a) AC-induced corrosion does not occur at AC densities less than 20 A/m2 (1.9 A/ft2). The operator shall monitor
                            these locations per (a) above.
                        b) AC corrosion is unpredictable for AC densities between 20 to 100 A/m2 (1.9 to 9.3 A/ft2). These locations
                            require an engineering assessment to determine if remediation is required.
                        c) AC corrosion occurs at current densities greater than 100 A/m2 (9.3 A/ft2). These areas require mitigation. Any
                            location that is determined to require mitigation must be mitigated to reduce the AC current density to less than
                            20 A/m2.
      Corrosion Surveys: Grantee must complete corrosion surveys for the pipeline segment within six (6) months of placing the
      respective CP system(s) in operation to ensure adequate external corrosion protection per NACE RP 0169-2007. The survey shall
28.   also address the proper number and location of CP test stations as well as alternating current (AC) interference mitigation and AC
      grounding programs per NACE RP 0177. At least one (1) CP test station must be located within each “could affect” HCA with a
      maximum spacing between test stations of one-half mile.
      Initial Inline Inspection (ILI): Within three (3) years of placing a pipeline segment in service, Grantee must perform a baseline ILI
29.   using a high-resolution Magnetic Flux Leakage (HR-MFL) tool, high resolution (HR) deformation tool, and an ultrasonic crack
      detection tool or equivalent of each.
      ILI Deformation Tool: Grantee must perform a high resolution deformation tool run after completion of the hydrostatic strength test
      and backfill of the pipeline segment and prior to placing the pipeline segment in service. Grantee must remediate pipe in accordance
30.   with 49 CFR Part 195 and Subpart O. All expanded pipe must be remediated in accordance with PHMSA’s “Interim Guidelines for
      Confirming Pipe Strength in Pipe Susceptible to Low Yield Strength for Liquid Pipeline” dated October 6, 2009 or any subsequent
      PHMSA update to this guideline.
      Future ILI: Future ILI inspections must be based upon pipeline segment integrity threats and must include as a minimum of a high-
      resolution Magnetic Flux Leakage (MFL) tool, high resolution deformation tool, and an ultrasonic crack detection tool or equivalent
      of each. ILI inspections must be performed on the entire pipeline segment on a frequency consistent with 49 CFR § 195.452(j)(3)
      assessment intervals or on a frequency determined by fatigue studies or anomalies found that are indicative of actual operating
      conditions.
31.         1) Conduct periodic close interval surveys (CIS) along the entire pipeline segment with current interrupted to confirm voltage
                 drops in association with periodic ILI assessments under § 195.452(j)(3). Pipeline segments under Lake Oahe would not be
                 able to CIS due to water segment and depth of directional drill across Lake Oahe.
            2) CIS must be conducted within three (3) months of running ILI surveys when using a five (5) year ILI frequency, not to
                 exceed sixty-eight (68) months, in accordance with 49 CFR § 195.452 (j) (3) assessment intervals.
      CIS findings must be integrated into ILI Tool findings.
      Internal Corrosion: Grantee must limit basic sediment and water (BS&W) to 0.5% by volume and report BS&W testing results to
32.
      Ain the annual report. Grantee must report upset conditions causing BS&W level excursions above the limit on the annual report.



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          1) Grantee must nm cleaning pigs twice in the first year and as necessary in succeeding year·s based on the analysis of oil
               constituents, liquid test results, weight loss coupons located in areas with the greatest internal conosion threat and other
               internal conosion threats. At a minimum in the succeeding years following the first year· Grantee must nm cleaning pigs
               eve1y five years unless analysis necessitates ear-lier action.
          2) Liquids collected dming cleaning pig nms, such as BS&W, must be sampled, analyzed and internal corrosion mitigation plans
               developed based upon lab test results.
          3) Grantee shall review the program at least qua1terly based upon the Ciude oil quality and implement adjustments to monitor
               for, and mitigate the presence of, deleterious crnde oil stream constituents.
      Pipeline Patrolling: Grantee must patrol the pipeline segment tight-of-way on a two (2) week inte1val but not exceeding three (3)
33.   weeks, for at least twenty-six (26) times each calendar· year-, to inspect for excavation activities, gr01md movement, unstable soil, wash
      outs, leakage, or other activities or conditions affecting the safe operation of the pipeline segment.
34.   The Grantee shall conduct the following training exercises:

          1) A full scale open water and a full scale winter/ice exercises at Lake Sakakawea and Lake Oahe. A full scale exercise will
              occur once eve1y 3 year·s (tiiennial cycle) with the location and type of exercise occm1ing on alternating schedules (e.g. open
              water exercise at Lake Oahe the first u·iennial cycle, followed by winter exercise at Lake Sakakawea the following triennial
              cycle, followed by a winter exercise at Lake Oahe the following u·iennial cycle, etc.). The first exercise will occur within the
              first 3 year·s after the pipeline becomes operational.

          2) To facilitate USACE staff involvement, the Grantee shall notify the USACE Environmental Compliance Coordinators at the
             Omaha Distiict Office and the Oahe Project Office at least ninety (90) days p1ior to initiation of the u·aining exercises. The
                Grantee shall also solicit the part icipation of key stakeholders (federal, state, local, and Tiibal) in these exercises.
      Within 1 month following the pipeline becoming operational, the Grantee shall provide for an all-weather access and collection point
      downsti·eam of the HDD crossing at Lake Oahe. The Grantee shall provide an equipment storage facility on non-federal lands that
      includes a fenced pe1manent storage area for winter and open water spill response equipment. The storage facility should be placed in
35.   a sti·ategic location and near· existing facilities that would suppo1t access to the water. The Grantee will coordinate with the USACE
      and any other applicable stakeholders to obtain all necessa1y pennits and approvals prior to constiuction for any gr01md disturbing
      activities associated with these facilities. The storage facility should contain sufficient response equipment at a minimum to mitigate
      an unintended worst case release for this Lake crossing.

                                                            Overall Condition from EA
      Grantee is generally responsible for commitments made and mitigation measures in the Final Environmental Assessment, Grantee
36.   Pipeline Project Crossing ofFlowage Easements and Federal Lands (July 2016), including all Plans includes within Appendices
      thereof, even if they are not specifically made as a condition to this easement.



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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
STANDING ROCK SIOUX TRIBE,          )
                                     )  Case No. 1:16-cv-1534-JEB
                        Plaintiff,   )
v.                                   )
                                     )
U.S. ARMY CORPS OF ENGINEERS, )
                                     )
                        Defendant. )
____________________________________)


                       DECLARATION OF MARTHA S. CHIEPLY



       In accordance with the provisions of 28 U.S.C. 1746, I, Martha S. Chieply, declare that

the following statements are true and correct to the best of my knowledge, information, and

belief and are based upon my personal knowledge and/or my review of information contained in

the records of the United States Army Corps of Engineers (“Corps”) or supplied by current

employees:

   1. I am currently employed as the Regulatory Branch Chief, Omaha District, Northwestern

       Division, for the United States Army Corps of Engineers (USACE or Corps), Omaha

       District. I have served in this capacity since April 2006. Prior to this assignment, I was

       the Mississippi Valley Division Appeals Review Officer, USACE.

   2. I graduated from North Carolina State University in 1983 with a Bachelor’s of Science

       degree in Forestry.

   3. As part of my normal duties as the Omaha District Regulatory Branch Chief, I am

       responsible for the oversight and execution of the permit and enforcement program under

       the regulatory authority of the Clean Water Act and the Rivers and Harbors Act for the

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       Omaha District, USACE. I managed the staff assigned to evaluate the Preconstruction

       Notifications (PCN) submitted by Dakota Access L. L. C. (Dakota Access or Applicant)

       for the Dakota Access Pipeline (DAPL) project for areas within the Omaha District area

       of responsibility. I signed letters, initiated emails, and led coordination meetings with

       USACE Regulatory Chiefs; District Tribal Liaisons; Corps personnel, and other Federal

       and State Resource agencies involved in the DAPL project. I was the signatory for the

       July 25, 2016 Nationwide Permit (NWP) #12 verifications for twelve (12) regulated

       crossings subject to the USACE, Omaha District, authority for which the Applicant

       provided PCNs. 1 I was also responsible for ensuring that the Omaha District coordinated

       on the DAPL project with resource agencies, tribes and other consulting parties in a

       timely and transparent manner, in compliance with applicable laws and regulations.

    4. The DAPL project is a proposed 1,170-mile crude oil pipeline from the Bakken and

       Three Forks production region of North Dakota to Patoka, Illinois. The proposed project

       will cross approximately 200 waters of the United States (WOUS) within areas managed

       by three Corps Districts (Omaha, Rock Island, and St. Louis). Each crossing qualifies for

       NWP #12 for Utility Lines. Each District is responsible for ensuring activity verified

       under a NWP is in compliance with Section 106 of the National Historic Preservation Act




1
  The Applicant originally submitted approximately 209 PCNs (86 were subject to the authority
of the St. Louis District, approximately 110 were subject to the authority of the Rock Island
District, and 13 were subject to the Omaha District). Five PCNs were withdrawn for a variety of
reasons resulting in a total of 202 PCNs verified by the three Corps Districts (82 verifications in
the St. Louis District, approximately 108 verifications in the Rock Island District, and 12
verifications in the Omaha District). The Applicant withdrew four PCNs under the authority of
the St. Louis District after relocating the crossings to an area where a PCN was not required.
The Applicant withdrew two PCNs under the authority of the Rock Island District and one PCN
under the authority of the Omaha District after the Applicant elected to pursue HDD to avoid
impacts to historic properties.
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   (NHPA). The Omaha District’s efforts to fulfill its obligations under the NHPA are as

   follows.

5. On November 9, 2009, the Omaha District sent to all tribes, including the Standing Rock

   Sioux Tribe and the Cheyenne River Sioux Tribe, a letter providing early notification of

   anticipated reissuance of the 2012 Nationwide Permits (NWP) and information regarding

   the reissuance process to facilitate better understanding and streamline coordination

   (Exhibit 1). Contact was initiated with both tribes as noted by a March 3, 2010, Omaha

   District Tribal Coordination Final Report prepared by Mr. Jim Winters. The purpose was

   to discuss the NWPs. Mr. Winters talked to Ms. Donna Peterson and Mr. Robert Walters

   of the Cheyenne River Sioux Tribe and Mr. Brandon Eagleshield and Mr. Byron Olsen of

   the Standing Rock Sioux Tribe. Through the letters, the Corps explained the Nationwide

   Permit program and sought to exchange information and gain insight into the tribes’

   vision and concerns about the Corps Nationwide Permit Program. Tribal input could

   inform modifications to the NWP by prompting the Districts to add regional conditions or

   decide not to use all or part of the NWP based on region-specific issues and/or concerns.

6. On October 22, 2010, Headquarters, USACE issued a memorandum to all USACE

   Divisions and Districts to provide support for government to government consultation

   with Tribal nations across the country for Nationwide Permit (NWP) 2012

   reauthorization. The memorandum provided background on NWP rulemaking efforts,

   materials and a draft template to use to inform Tribal nations of the NWP 2012

   reauthorization rulemaking process and invited formal consultation with the Tribes.

   (Exhibit 2).




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7. On February 16, 2011 the Omaha District sent the Standing Rock Sioux Tribe and the

   Cheyenne River Sioux Tribe a letter and invitation to begin consultation on the proposal

   to reissue the NWPs. (Exhibit 3). Additional contact was initiated by email on March 8,

   2012 to Cheyenne River Sioux Tribe and March 9, 2012 to Stand Rock Sioux Tribe to

   provide information on the finalized 2012 NWPs.

8. In June 2014, representatives from Dakota Access met with Mr. Jason Renschler, the

   North Dakota Regulatory Office Project Manager, to inform him of the Applicant’s plans

   to construct the DAPL pipeline. At that time, Mr. Renschler informed the Applicant of

   the Corps process for coordinating activities proposed for Corps project lands. In

   particular, Mr. Renschler stressed the importance of Tribal coordination and mentioned

   the Programmatic Agreement for the Operation and Management of the Missouri River

   Main Stem System for Compliance with the National Historic Preservation Act, dated

   March 19, 2004 (Programmatic Agreement or PA), which defines the District’s process

   to consult and coordinate with affected Tribes (this includes PA signatory Tribes and

   Tribes who may have an interest in the area or action but did not sign the PA), SHPOs,

   THPOs, the Advisory Council for Historic Preservation (ACHP) and other consulting

   parties on a proposed action. Information provided through the PA process was utilized

   to inform Regulatory personnel in Section 106 compliance determinations for

   Preconstruction Notification’s (PCNs) received on the DAPL project. Omaha District

   Operations, Natural Resource personnel are primarily responsible for implementing the

   PA.

9. On October 2, 2014 a meeting was scheduled at the SRST Ft. Yates reservation with the

   Standing Rock Sioux Tribe, Dakota Access personnel, and Mr. Jason Renschler. Mr.



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   Renschler arrived at the meeting on time but was informed by the Tribal Chairman, Mr.

   David Archambault, that the meeting had started earlier than planned and was over.

   Chairman Archambault gave Mr. Renschler a copy of the meeting materials Dakota

   Access personnel had provided to the Tribe.

10. On December 29, 2014, the Applicant submitted five PCNs for NWP #12 for the DAPL

   project to the North Dakota Regulatory Office (NDRO). (Exhibit 4). Ultimately, three of

   the PCNs were withdrawn (ND PCN#1, 3, and 5), leaving two PCNs in North Dakota.

   ND PCN#1 was previously reviewed by the USACE and determined to be an isolated,

   non-jurisdictional waterbody and not subject to Section 404. ND PCN#3, which crossed

   the Little Missouri River, had been incorrectly identified as requiring verification under

   Section 10 of the Rivers and Harbor Act, when it was subject only to Section 404 of the

   Clean Water Act. Later, DAPL changed the construction methodology from open trench

   to Horizontal Directional Drilling (HDD), which did not require a Section 404 permit

   because there would be no discharge of dredged or fill material into federally-regulated

   waters. Finally, ND PCN#5 was field verified and determined to not require a PCN

   because it had less than .5 acres of wetland impacts. The two remaining PCNs were ND

   PCN#2, which consisted of HDD crossing of the Missouri River at the Garrison Project

   at Lake Sakakawea, and ND PCN #4 which involved an HDD crossing of the Missouri

   River at Lake Oahe. The Missouri River is a Section 10 water of the US and the

   crossings required verification of NWP #12.

11. By letter dated February 5, 2015, the NDRO informed the Applicant that the PCN #12

   package for the DAPL project was incomplete and additional information was needed for

   PCN #2, 3, 4, and 5, which were still being considered at that time. (Exhibit 5). In a



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   previous telephone conversation the NDRO had already informed the Applicant that

   PCN#1 did not require a PCN. As detailed in the letter, additional site specific

   information was needed to consider the PCN package to be complete and to determine

   impacts.

12. By letter dated March 20, 2015, the Applicant submitted a PCN for NWP #6 (Survey

   Activities) authorization for proposed geo-technical exploration activities for the Lake

   Oahe crossing (ND PCN#4) to the Omaha District, Lake Oahe Project, Natural

   Resources Office (NRO). The NDRO evaluated the application, determined the

   conditions for verifying the NWP were met and notified NRO on April 3, 2015 that it

   was appropriate to process the NWP #6 for the geo-technical borings. NDRO issued a

   NWP verification dated April 1, 2015. (Exhibit 6).

13. By letter dated March 25, 2015, the Applicant responded to the February 5, 2015 NDRO

   letter with additional information on the DAPL crossings. The NDRO could not verify

   the NWP #12 until the NRO completed its review of the crossings under the NHPA and

   the Endangered Species Act. USACE initiated Endangered Species Act (ESA)

   consultation with the U.S. Fish and Wildlife Service (USFWS) on December 29, 2015. A

   revised Biological Assessment was provided to the USFWS on March 28, 2016. The

   USFWS provided an ESA concurrence letter on May 2, 2016. Section 106 required the

   Corps to consult with Tribes, the North and South Dakota State Historic Preservation

   Offices and the ACHP.

14. By letter dated September 3, 2015, the Omaha District Commander invited tribes across

   the entire proposed pipeline footprint to initiate Section 106 consultation for those PCNs

   submitted by DAPL. (Exhibit 7). The time frame between receipt of information from



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   DAPL on the crossings and September entail further coordination with DAPL on aspects

   of the project. The letter to the Standing Rock Sioux Tribe had additional language

   acknowledging previous Standing Rock Sioux Tribe (SRST) letters in response to the

   geo-technical exploration. (Exhibit 8).

15. I signed a similar letter dated February 17, 2015, to notify tribes, including the SRST and

   the CRST, of the PCN applications provided by DAPL and invited the tribes to consult

   with the USACE. (Exhibit 9). Where the USACE had email addresses for Tribal

   contacts, Mr. Matt Bilodeau (later Mr. Aaron Sandine) emailed letters to those contacts

   and attempted to contact the tribes to verify receipt of the February 17, 2015 letter.

   Telephone log entries were completed for all contacts with Tribes; approximately 6 calls.

16. Mr. Matt Bilodeau, Project Manager Omaha District Regulatory, contacted the CRST by

   phone March 12, 2015. Mr. Steve Vance verified that the tribe had received the

   invitation to consult. He stated that he had concerns with project, that it might be

   difficult for the tribe to provide comments because of Tribal leadership changes, and

   thought the tribe might want to consult.

17. By letter dated November 20, 2015 and email dated November 17, 2015, the Corps

   notified all tribes of a general Tribal Meeting in Sioux Falls, South Dakota on December

   8-9, 2015. (Exhibit 10). The list of Tribes was compiled from a list of federally listed

   tribes within the Omaha, St. Louis, and Rock Island Districts. The letter went to all tribes

   and included a link to a FTP site which contained all of the Applicant’s cultural resources

   survey material.

18. Five tribes, including the CRST, attended the Sioux Falls meeting, but tribal

   representatives stated that they did not consider it to be consultation. (Exhibit 11). We



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   were informed that only one tribe was able to access the material on the FTP site,

   although the reason for this was unclear. Dakota Access personnel also attended the

   meeting and later provided the tribes with hard copies of the tribal cultural survey

   information and electronic copies stored on flash drives. The tribes committed to review

   the cultural information and participate in a second Tribal meeting to be held January 25,

   2016 at Sioux Falls.

19. In a letter to me dated December 8, 2015, SRST Archeologist, Dr. Kelly Morgan,

   indicated that the SRST was interested in consultation, but mentioned that the Corps had

   not adequately addressed issues previously raised by SRST THPO and had not scheduled

   government to government consultation between Colonel Henderson and Chairman

   Archambault. She listed specific points the tribe wished to discuss, including its

   opposition to bore testing, the fact that she did not concur in the “No Historic Properties

   Affected” determination from Mr. Richard Harnois, Omaha District Archeologist, and

   their request that a Class III Cultural Resources survey and EIS be completed by the

   Corps. She declined to participate in the tribal consultation in Sioux Falls, South Dakota

   the Corps had scheduled because she claimed that the Corps had not consulted with the

   SRST. She stated that the pipeline should be federalized because it would cross U.S. Fish

   and Wildlife easements and accused the Corps of circumventing the Section 106 process.

   She stressed that cultural sites and the SRST’s water supply were at risk from the DAPL

   project.

20. By letter dated January 8, 2016, the SRST provided comments to the Draft

   Environmental Assessment on the Dakota Access Pipeline Project, Crossing of Flowage

   Easements and Federal Lands. The EA was being prepared to support the 33 U.S.C.



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   Section 408 permission and easement to authorize the Applicant to cross under Lake

   Oahe, but was relevant to the regulatory discussion because I could not verify NWP #12

   until the Section 408 permission was granted. Ultimately, consultation for the

   verifications was consolidated with consultation for the Section 408 permission.

21. A second Tribal meeting was held on January 25, 2016 in Sioux Falls. In a January 7,

   2016 email the Applicant notified USACE of the meeting location and indicated Dakota

   Access personnel were calling all of the Tribes on the USACE and USFWS list to notify

   them of the meeting. The Applicant provided email notice on January 12, 2016 to all

   listed tribes, including the Standing Rock Sioux Tribe and Cheyenne River Sioux Tribe.

   The purpose of the meeting was to continue communication and discussion of the DAPL

   project and obtain input from the Tribes regarding their review of the Applicant’s cultural

   resource survey. The SRST attended the meeting. Transcripts from this meeting were

   prepared and provided by a February 17, 2016 email to all tribes. The Tribes requested

   another meeting with the Omaha District Commander and the Regulatory Chiefs from all

   three Districts. The Ponca Tribe offered to host. Tribes also requested that Dakota

   Access personnel not attend the meeting.

22. By February 4, 2016 letter and February 11, 2016 email, the USACE invited all tribes to

   a third general Tribal Meeting to obtain input from Tribes on cultural resources of Tribal

   interest which was held at Niobrara, Nebraska, at the Ponca Tribal Headquarters on

   February 18-19, 2016. (Exhibit 12). The Omaha District Commander, Colonel

   Henderson, officiated the meeting along with the Regulatory Chiefs from Omaha, Rock

   Island, and St. Louis Districts. Dr. Kelly Morgan, Standing Rock Sioux Tribe THPO

   Tribal Archeologist, and Mr. Steve Vance, Cheyenne River Sioux Tribe THPO, attended.



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   Dakota Access personnel did not participate in the discussions, but at the end of the

   meeting, the Dakota Access Project Manager, Ms. Monica Howard, was allowed in the

   meeting room to answer questions along with the Dakota Access Vice President, Mr.

   Joey Mahmoud, who participated by teleconference.

23. On February 19, 2016, the USACE sent its draft meeting notes from the Niobrara

   meeting to the host Ponca Tribe who provided them to the other Tribes. On March 25,

   2016, the Corps provided the final meeting notes to all tribes by letter. The Tribes

   requested that they be provided the opportunity to conduct Tribal Surveys and be granted

   access for Tribal monitoring during construction.

24. After the Niobrara meeting the same day (February 19, 2016) Corps personnel (Mr. Matt

   McCullor, Mr. Joel Ames, and I) agreed to meet again with the SRST and CRST

   together. Both Dr. Morgan and Mr. Vance wanted to discuss specific cultural resource

   issues of importance to their Tribes. At that meeting, the SRST expressed concerns

   regarding Tribal cultural resources at the James River Crossing (SD PCN #4) and that

   cultural resources would be impacted by the HDD activities under a site which could

   contain burials. Based on Tribal surveys of SD PCN #4 the USACE archeologist

   confirmed presence of cultural resources. Upon USACE direction DAPL agreed to move

   the alignment.

25. I have reviewed Document 6-59 in Standing Rock Sioux Tribe v. United States Army

   Corps of Engineers, Case 1:16:cv-01534 JEB. Document 6-59 is a map that reflects a

   previously-proposed alignment of the pipeline, SD PCN#4. USACE Corps Archeologist,

   Mr. Matt McCullor, surveyed the location depicted in Document 6-59 on March 18, 2016

   in conjunction with Ms. Sara Childers, THPO for the Upper Sioux Community, and



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   identified cultural resources in the area. Previous cultural surveys by the Applicant also

   identified cultural resources in the vicinity of the proposed pipeline alignment. Based

   upon the results of that survey, I directed Dakota Access to realign the pipeline away

   from Tribal identified cultural resources. Dakota Access rerouted the pipeline to the

   south so that it no longer traverses the location depicted in Document 6-59. Mr.

   McCullor and Ms. Childers surveyed the new route on May 4, 2016 and identified no

   cultural resources.

26. There were four USACE meetings with the Standing Rock Sioux Tribe. The first was

   held on the Tribal reservation at Fort Yates on January 22, 2016 between USACE

   personnel, Chairman Archambault, and other members of the SRST. Colonel Henderson

   participated in three meetings with the SRST; the first on February 26, 2016, the second

   on April 29, 2016, and third on May 14, 2016.

27. In letters dated February 9, 2016 and March 15, 2016, the ACHP joined the DAPL

   Section 106 consultation effort as a consulting agency. After this notice, the District

   copied the ACHP on all letters and emails to Tribes.

28. By letter dated March 2, 2016, USACE provided the Tribes, including the Standing Rock

   Sioux Tribe and the Cheyenne River Sioux Tribe, the opportunity to conduct surveys at

   PCN locations where the landowner allowed tribal access. (Exhibit 13). Some

   landowners specifically denied access to tribal members for surveys, but tribal surveys

   were made available at 7 of the 11 PCNs in North Dakota and South Dakota. The Upper

   Sioux Tribe conducted tribal surveys for all North and South Dakota PCNs where access

   was allowed. The Osage Tribe conducted surveys in other DAPL permit areas outside of

   Omaha District.



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29. In a letter dated March 22, 2016, the Standing Rock Sioux Tribe acknowledged receipt of

   the USACE March 2, 2016 letter and urged the USACE to expand its review of the

   DAPL project by redefining the area of potential impacts (APE) consistent with 36 CFR

   Section 800.16(d). Their letter indicated that until ‘genuine compliance’ with Section

   106 process DAPL occurred, the Standing Rock Sioux Tribe Historic Preservation Office

   would not send Traditional Cultural Specialists to participate in partial compliance

   efforts. In my email response dated March 22, 2016, I acknowledged receipt of the

   Tribe’s letter and detailed the rationale for the USACE definition of Permit Area and

   reiterate that the Corps has no jurisdiction outside the permit area. I expressed regret that

   the Tribe declined the opportunity to participate in Tribal surveys, but welcomed any

   knowledge or information regarding historic properties, including sites of religious

   significance, that the Tribe would share with the USACE. (Exhibit 14).

30. The SRST relented, however, and tribal representatives surveyed the Lake Oahe crossing

   with USACE archeologist Mr. Rick Harnois on March 7 and 22, 2016 and May 10, 2016.

31. By letter dated March 24, 2016, from the SRST to Lowry A. Crook, Principal Deputy

   Assistant Secretary for Civil Works and Colonel John Henderson, the SRST provided

   supplemental comments to the Draft Environmental Assessment on the Dakota Access

   Pipeline Project, Crossing of Flowage Easements and Federal Lands. The USACE fully

   considered the SRST comments.

32. By letter dated May 17, 2016, the SRST provided objections and input to the USACE

   April 22, 2016 finding of No Historic Properties Subject to Affect.” In a letter dated June

   2, 2016, the ACHP requested Ms. Jo-Ellen Darcy, Assistant Secretary of the Army for

   Civil Works (ASA(CW)) to review the Corps findings. By letter dated June 13, 2016, I



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   confirmed receipt of SRST letter and provided a recent Question and Answer summary.

   Additionally I committed to provide the Ms. Darcy’s response to the ACHP letter when I

   received it.

33. By letter dated May 6, 2016, the ACHP provided additional questions relating to the

   DAPL permit area, tribal consultation, consulting parties, timing, federal agency

   coordination, and the next steps. In a letter dated May 13, 2016, Colonel Henderson

   provided a response, emphasized that consultation was still underway, and communicated

   the Corps’ commitment to fulfilling its obligations under Section 106. (Exhibit 15).

34. By letter dated May 19, 2016 the Cheyenne River Sioux Tribe (CRST) provided

   comments and concerns in response to the USACE April 22, 2016 finding of No Historic

   Properties Subject to Affect.” By letter dated June 13, 2016, I confirmed receipt of the

   tribe’s letter and provided a Question and Answer summary to answer questions on

   procedural and technical questions.

35. By letter dated June 2, 2016, to all tribes I provided additional information in response to

   questions regarding the DAPL pipeline. A copy of the letter went to the SRST and

   CRST.

36. By letter dated June 3, 2016 the CRST objected to the DAPL project, indicated the

   USACE Environmental Assessment failed to analyze issues regarding the protection of

   the Tribe’s cultural resources, and failed to initiate or satisfy its consultation obligations.

   By letter dated June 22, 2016, I confirmed receipt of the tribe’s letter and provided a

   Question and Answer summary to answer procedural and technical questions.

37. Corps archeologist, Mr. Matt McCullor, reviewed the Applicant’s cultural survey

   information and, by Memorandum for the Record dated July 7, 2016, concluded there



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   was No Effect to historic properties as a result of any non-reporting PCN crossings.

   (Exhibit 16).

38. By letter dated June 30, 2016, the SRST provided additional comments regarding the

   Corps' consultation efforts and activities that may be occurring under NWP #12 crossings

   where pre-construction notifications were not required. By letter dated 25 July 2016, I

   provided a copy of Ms. Darcy’s reply to the ACHP’s letter, enclosed a Question and

   Answer summary to answer procedural and technical questions, and conveyed that

   USACE consultation with tribes is only required for activities that have the potential to

   affect historic properties of religious or cultural significance to tribes.




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     39. In response to tribal comments and concerns provided to the District during its Section

          106 consultation efforts, the District made tribal monitoring during construction a

          condition of the North Dakota and South Dakota PCNs verifications. The seven tribes

          who provided input, Osage, Ponca, Cheyenne River Sioux Tribe, Flandreau Santee Sioux

          Tribe, Upper Sioux Tribe, Yankton Sioux Tribe, and SRST were invited by letter dated

          July 8, 2016 and provided the opportunity to send a tribal representative to participate in

          Tribal monitoring during pipeline construction. The CRST and SRST elected to

          participate. The NWP verifications required Dakota Access to provide the tribal

          representatives notice of 5 days and 48 hours before initiation of construction activities.




In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.



Executed on _______________________________.
             August 18, 2016



__________________________________, in Omaha, Nebraska.
                              Digitally signed by CHIEPLY.MARTHA.S.1230524919
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Martha Chieply




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Olson, David B HQ02
From:                 Ensch, Michael G HQ02
Sent:                 Wednesday, October 27, 2010 12:57 AM
To:                   CDL-All-Division-Commanders; CDL-All-District-DEs
Cc:                   DLL-MSC-OPERATIONS CHIEFS; DLL-DISTRICT-OPERATIONS CHIEFS; CDL-REG-
                      CHIEFS; Gaffney-Smith, Margaret E; Moyer, Jennifer A HQ02; Stockton, Steven L HQ02;
                      Grisoli, William T MG HQ02; Stockdale, Earl H HQ02; Wood, Lance D HQ02
Subject:              Reissuance of Regulatory Nationwide Permits: Memo to MSC Cdr's and DE's concerning
                      Tribal Consultation
Attachments:          Tribal Consultation Procedures Memorandum 22 October 2010.pdf


Commanders:

Theattachedmemorandum,dated22Oct10,isprovidedtosupportgovernmenttogovernment
consultationwithTribalnationsacrossthecountryforNationwidePermit(NWP)2012
reauthorization.ThememorandumprovidesbackgroundonNWPrulemakingefforts,provides
materialsandadrafttemplateforyoutousetoinformTribalnationsoftheNWP2012
reauthorizationrulemakingprocessandinvitesformalconsultationonthisactivitywiththe
Tribes.

TheCorpsHQRegCoPiscurrentlyinvolvedwithOMBintheformalinteragencyvetting
process.WhentheOMBprocessiscomplete,theRegulatoryCoPwillpreparethefederal
registernoticefortheproposedNWPs.Althoughwecannotprovidetheproposeddocumentto
theTribesatthistime,weanticipatethatwewillbeabletoprovidetheTribeswitha
postŞvettedcopyoftheproposedNWPsPRIORtoitspublicationintheFederalRegister.

Asweprogressthroughtherulemakingprocess,wewillcontinuetoprovideguidancetoallof
youandyourRegulatoryteamregardingconsultationproceduresandprotocolandwillprovide
therelevantdocumentsforreviewandcommentassoonastheyareavailable.

YourattentiontothisimportantelementofourNWPrenewalprocessisappreciated.

Regards,

Mike

MichaelG.Ensch,SES
Chief,Operations&RegulatoryCoP
andLakes&RiversDivisionRIT
HQUSACE,CECWŞLRD
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      EXHIBIT 6




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      EXHIBIT 7




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                                   DEPARTMENT OF THE ARMY
                                   CORPS OF ENGINEERS, OMAHA DISTRICT
                                             1616 Capitol AVE
                                      OMAHA, NEBRASKA 68102-9000




                                              SEP 3, 2015
District Commander



Cheyenne River Sioux Tribe
Mr. Harold Frazier, Chairman
PO Box 590, 2001 North Main St
Eagle Butte, SD 57625

Dear Chairman Frazier:

   The U.S. Army Corps of Engineers (Corps) Regulatory Branch has received
Preconstruction Notifications (PCNs) associated with the proposed Dakota Access
Pipeline Project (DAPL). The proposed approximate 1,150-mile, 30-inch diameter,
crude oil pipeline would extend from Stanley, North Dakota through South Dakota and
Iowa to a delivery point at Patoka, Illinois. The purpose of this letter is to initiate Section
106 consultation and review, determine your interest in consulting on this undertaking
for those portions subject to the Corps jurisdiction, and to gather information that will
assist the Corps in identifying historic properties.

    The majority of the proposed 1,150-mile pipeline would be located in upland areas
not requiring Corps authorization under Sections 10 or 404, and over which the Corps
does not have control or responsibility. The Corps has regulatory authority and
responsibility for those portions of the pipeline that require authorization under Section
10 of the Rivers and Harbors Act (33 U.S.C. 401 et seq.) and Section 404 of the Clean
Water Act (33 U.S.C. 1344). When linear projects cross a single or multiple water
bodies several times at separate and distant locations, each crossing is considered a
single and complete project for purposes of nationwide permit authorization. Under our
Regulatory authority, we are currently evaluating 209 single and complete crossings
requiring PCN’s. The locations of the PCN areas are enclosed along with an overall
DAPL fact sheet, points of contact and maps. DAPL has voluntarily started
archaeological surveys for the project. The Cultural Resource Inventory Reports that
have been submitted to the Corps are available at the following ftp location
 ftp://ftp.perennialenv.com/ (User: EnergyTransfer, password: DAPL). Besides those
26TU                        U26T




provided at the FTP site, the Corps will make those survey results available to Section
106 consulting parties for review and comment as DAPL provides them.

   The Corps will consult on those areas comprising the waters of the United States
that will be directly affected by the proposed work or structures and uplands affected as
a result of authorizing the work or structures. Corps regulations implementing the
National Historic Preservation Act may be found at 33 C.F.R. 325, App. C.




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Subparagraph 1.g.(1) defines the “permit area” as those areas comprising waters of the
United States that will be directly affected by the work or structure, and uplands directly
affected as a result of the authorization of the work or structure. Activities undertaken




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outside the waters of the United States must meet all of 3 requirements set out in
subparagraphs 1.g.(1)(i.)-(iii). Crossings of Section 10 navigable waters include the
Missouri, James, Des Moines, Mississippi, and Illinois rivers. DAPL is also currently
working with the Districts to obtain the necessary easements for crossing federal lands,
as well as modifications of Corps projects pursuant to Section 14 of the Rivers and
Harbors Act Appropriation Act of 1899 (33 U.S.C. § 408) (Section 408).

  The DAPL project crosses 3 Corps Districts (Omaha, Rock Island and St. Louis).
While each district will make permit decisions for those proposed regulated crossings in
their district, the Omaha District is the lead Corps District in its oversight role in all
coordination, permit evaluation, and compliance activities. Regulatory points of contact
are Martha Chieply, Omaha District Regulatory Chief
 Martha.S.Chieply@usace.army.mil ; (402) 995-2451 and Jason Renschler, Project
30TU                                   U30T




Manager Jason.J.Renschler@usace.army.mil ; (701) 255-0015, ext 2010. Please note
                30TU                                        U30T




that previous consultation on the project has also been initiated as part of the Corps
Section 408 review process for the areas located on Corps Project Lands.

   Please let the Corps know if you would like to consult on this undertaking. In addition,
the Corps requests information that will assist us in identifying historic properties. The
Corps would like to know if you have any knowledge or concerns regarding historic
properties, including sites of religious importance, at the project locations you would like
the Corps to consider. If there are any known Traditional Cultural Properties within
those areas, please notify us by September 30, 2015. The Corps will treat any
information provided with the greatest confidentiality.

   We request your engagement and/or comments by September 30, 2015. If you are
interested in participating in consultation for this proposal or desire additional
information, please contact Mr. Joel Ames, Tribal Liaison
 Joel.O.Ames@usace.army.mil (402) 945-2909). Should you have site specific
30TU                            U30T




concerns regarding the project please contact Roberta Hayworth (St. Louis District)
 Roberta.L.Hayworth@usace.army.mil (314) 331-8833 or Ron Deiss (Rock Island
30TU                                          U30T




District) Ronald.W.Deiss@usace.army.mil (309) 794-5185.
         30TU                                        U30T




                                              Sincerely,




                                              John W. Henderson, P.E.
                                              Colonel, Corps of Engineers
                                              District Commander




                                                                                   Chieply 0046
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Enclosure 1
                                                                                                   Case 1:16-cv-01534-JEB Document 185-1 Filed 03/23/17 Page 405 of 607




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 ^       North                                                                                            KS          MO                   KY   VA
         Dakota                                                                                                                       TN        NC
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                                                                                                                        Miles
                                                                                              1 inch = 110 miles
                                                                                        Service Layer Credits: Sources: Esri, HERE,
                                                                                          DeLorme, US GS , Interm ap, increment P




                                                                                             ^ DAPL Terminals
                                                                                             _
                                                                                                                                            p
        South
        Dakota                                                                                        Dakota Access Pipeline

                                                                                                      Project Counties

                                                                                                      Project States




                                                   Iowa




                                                                     Illinois



                                                                                                DAPL Project
                                                                                                                                                 Case 1:16-cv-01534-JEB Document 185-1 Filed 03/23/17 Page 406 of 607




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                                                                                                               DeLorme, US GS , Interm ap, increment P




Trenton
          Epping
                 ^
                 _ ^ _ ^
              Williams
                          _
                                 Stanley

                                                                                                                  ^ DAPL Terminals
                                                                                                                  _
                                                                                                                                                                 p
          _
          ^        Ramberg
                                 Mountrail
                                                                                                                           Dakota Access Pipeline
                         Johnson Corner
     McKenzie      _                                                                                                       Project Counties
                 ^ ^
                 _
   Watford City                                                                                                            Project States
                                                               North
                          Dunn
                                                               Dakota
                                             Mercer




                                                      Morton




                                                                 Emmons




                                                                                                                     DAPL Project
                                                                                                                     North Dakota
                                                                                                                                                                      Case 1:16-cv-01534-JEB Document 185-1 Filed 03/23/17 Page 407 of 607




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                                                                                              TX         OK          AR      MS

                    Campbell   McPherson                                                0             25               50
                                                                                                                         Miles
                                                                                            1 inch = 50 miles
                               Edmunds                                                Service Layer Credits: Sources: Esri, HERE,
                                                                                        DeLorme, US GS , Interm ap, increment P




                                  Faulk
                                                                                           ^ DAPL Terminals
                                                                                           _
                                                                                                                                          p
                                           Spink

                                                                                                    Dakota Access Pipeline

                  South                                                                             Project Counties
                  Dakota                    Beadle                                                  Project States
                                                     Kingsbury




                                                     Miner        Lake




                                                         McCook           Minnehaha




                                                                 Turner     Lincoln




                                                                                             DAPL Project
                                                                                             South Dakota
                                                                                                                                               Case 1:16-cv-01534-JEB Document 185-1 Filed 03/23/17 Page 408 of 607




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Lyon                                                                                                                         TX         OK          AR      MS

                                                                                                                       0             20               40
                                                                                                                                                        Miles
Sioux    O'Brien
                                                                                                                           1 inch = 40 miles
                                                                                                                     Service Layer Credits: Sources: Esri, HERE,
                                                                                                                       DeLorme, US GS , Interm ap, increment P



        Cherokee   Buena Vista

                                                                                                                          ^ DAPL Terminals
                                                                                                                          _
                                                                                                                                                                         p
                                                                                                                                   Dakota Access Pipeline
                                            Webster
                        Sac       Calhoun

                                                              Iowa                                                                 Project Counties

                                                                                                                                   Project States
                                                      Boone      Story




                                                              Polk       Jasper




                                                                                  Mahaska     Keokuk




                                                                                        Wapello    Jefferson




                                                                                                   Van Buren

                                                                                                               Lee
                                                                                                                             DAPL Project
                                                                                                                                Iowa
                                                                                                                                                                              Case 1:16-cv-01534-JEB Document 185-1 Filed 03/23/17 Page 409 of 607




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Hancock
                                                                                                      0             15               30
                                                                                                                                       Miles
                                                                                                          1 inch = 30 miles
                    Schuyler                                                                        Service Layer Credits: Sources: Esri, HERE,
                                                                                                      DeLorme, US GS , Interm ap, increment P



Adams            Brown

                                                                                                         ^ DAPL Terminals
                                                                                                         _
                                                                                                                                                        p
                                                                                                                  Dakota Access Pipeline
                                       Morgan

                               Scott
                                                                                                                  Project Counties
          Pike
                                                                                                                  Project States


                                                                              Illinois
                                                Macoupin
                                                           Montgomery



                                                                        Fayette


                                                                Bond

                                                                                          Clay


                                                                             Marion


                                                                                         ^Patoka
                                                                                         _
                                                                                            Wayne


                                                                                                            DAPL Project
                                                                                                              Illinois
                                                                                                                                                             Case 1:16-cv-01534-JEB Document 185-1 Filed 03/23/17 Page 410 of 607




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        A              B            C            D                    E
 1 Mile          Longitude Latitude County               WOUS
 2 State of North Dakota - Omaha Dsitrict
 3        6.34 -102.477           48.292 Mountrail       Unnamed Tributary
 4      16.55 -102.859 47.6021 Dunn                      Little Missouri River
 5      96.78 -103.9057 47.9601 Williams                 Missouri River
 6     164.89 -100.5871 46.4386 Morton                   Lake Oahe/Missouri River
 7     204.81 -100.1361           46.001 Emmons          Unnamed Tributary
 8
 9 State of South Dakota - Omaha District
10     256.72 -99.48468 45.4822 Edmunds                  Unnamed Wetland
11      310.6 -98.70515 45.0023 Spink                    Unnamed Wetland
12     315.74 -98.65283 44.9416 Spink                    Unnamed Wetland
13     315.88 -98.65067 44.9396 Spink                    Unnamed Wetland
14     348.11 -98.27189 44.6138 Beadle                   James River
15     348.94 -98.25483 44.6132 Beadle                   Unnamed Wetland
16     363.19 -98.00938 44.5371 Beadle                   Shue Creek
17     371.12 -97.90718 44.4533 Beadle                   Middle Pearl Creek
18     385.96 -97.69944 44.3041 Kingsbury                Redstone Creek
19     391.83 -97.6172 44.2462 Kingsbury                 Rock Creek
20     395.14 -97.56862 44.2122 Kingsbury                Unnamed Wetland
21     415.83 -97.31892 43.9849 Lake                     East Fork Vermillion River
22     421.85 -97.23034 43.9268 Lake                     Unnamed Wetland
23     430.21 -97.13393 43.8381 McCook                   Unnamed Wetland
24     430.86 -97.13119 43.8291 McCook                   Unnamed Wetland
25     478.48 -96.58128 43.3699 Lincoln                  Unnamed Wetland
26     481.79 -96.52635           43.345 Lincoln         Big Sioux River
27
28 States of Iowa & Illinois - Rock Island District
29      497.3        -96.267      43.233 Sioux, IA       PFO Wetland
30      497.9        -96.258      43.232 Sioux, IA       PFO Wetland
31      546.5        -95.511      42.827 Cherokee, IA    PFO Wetland
32      639.5        -93.966      42.169 Boone, IA       PFO Wetland/Des Moines R.
33      685.3        -93.307       41.77 Jasper, IA      PFO Wetland
34        693        -93.191      41.712 Jasper, IA      PEM Wetland>500'
35      702.9          -93.05     41.634 Jasper, IA      PFO Wetland
36      735.9        -92.573      41.337 Mahaska, IA     PEM Wetland>500'
37      736.1        -92.568      41.333 Mahaska, IA     PEM Wetland>500'
38        737          -92.56     41.325 Mahaska, IA     PEM Wetland>500'
39      739.1        -92.533      41.305 Mahaska, IA     PFO Wetland
40      766.8        -92.176      41.038 Jefferson, IA   PFO Wetland
41      767.3        -92.174      41.031 Jefferson, IA   PFO Wetland
42      795.1        -91.761      40.802 Van Buren, IA   PFO Wetland
43      777.1        -92.042      40.941 Jefferson, IA   PFO Wetland
44      820.1        -91.483      40.541 Lee, IA         PFO Wetland
45      825.5        -91.409      40.488 Lee, IA         PFO Wetland
46        828        -91.377      40.476 Lee, IA         Mississippi River
47        828        -91.363      40.475 Hancock, IL     Mississippi River
48      856.5 -90.9781 40.2067 Hancock, IL               PFO Wetland
49      857.5 -90.9653            40.194 Hancock, IL     PFO Wetland
50        861 -90.9273 40.1535 Adams, IL                 Cultural Site
51      862.5 -90.9082 40.1357 Schuyler, IL              PFO Wetland
52
53 State of Illinois - St. Louis District
54        882        -90.763      39.967 Brown           Trib to Dry Fork
55        892          -90.62     39.899 Brown           Trib to Camp Creek
56        896        -90.597      39.839 Brown           Unnamed Ditch
57      896.5        -90.594      39.834 Brown           Unnamed Ditch
58        898        -90.584      39.811 Brown           Il River
59        898        -90.583       39.81 Brown           IL River
60      898.5          -90.58     39.808 Brown           IL River
61      900.5        -90.551      39.788 Scott           Unnamed Ditch
62      900.5          -90.55     39.788 Scott           Coon Run
63      900.5        -90.549      39.788 Scott           Coon Run
64      900.5        -90.549      39.787 Scott           Coon Run
65        956          -89.82     39.286 Macoupin        Macoupin Creek
66       1008        -89.163      38.863 Fayette         Kaskaskia
67       1010        -89.144      38.847 Fayette         Wetland Kaskaskia
68       1010        -89.144      38.847 Fayette         Cassar Creek
69       1010        -89.141      38.843 Fayette         Wetland Steve Creek




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                                                           Dakota Access Pipeline
                                                                   Permitting Process in North Dakota
U.S. ARMY CORPS OF ENGINEERS                                                                BUILDING STRONG ®
Congressional Districts: ND-1

Description
Dakota Access, LLC, is proposing to construct an
1,134-mile pipeline system to carry up to 570,000
barrels per day of U.S. light sweet crude (450,000
barrels per day initially) from the rapidly expanding
Bakken and Three Forks production region of North
Dakota through the states of North Dakota, South
Dakota, Iowa and Illinois terminating at a crude oil
hub near Patoka, Illinois, with various potential
points of destination along the pipeline. The pipeline
crosses four states within the boundaries of three
U.S. Army Corps of Engineers Districts (Omaha
District, Rock Island District, and St. Louis District).

Pipeline Details in North Dakota
The Dakota Access pipeline in North Dakota would consist of approximately 143 miles of oil gathering pipelines
and 200 miles of larger 30-inch diameter transmission pipeline to interconnect with existing pipelines in Illinois for
shipment to processing facilities and refineries in the Midwest and the Gulf Coast to reach U.S. customers.

Pipeline Right of Way and Footprint in North Dakota
The Dakota Access pipeline would start with a terminal in the Stanley area, and run west with five more terminals
in Ramberg Station, Epping, Trenton, Watford City and Johnsons Corner before becoming a transmission line
going through Williston, the Watford City area, south of Bismarck crossing the Missouri River again north of
Cannon Ball. The pipeline will parallel existing pipelines, power lines or existing roads where possible. During
construction, an additional 25 -100 feet of workspace may be needed adjacent to a 50-foot permanent easement.
The pipeline will be covered by a minimum of 36 inches of soil and more if it crosses under roads, rivers, lakes or
streams. On agricultural land, the pipeline will be buried under a minimum of 48 inches of soil, drain tiles will be
crossed with a minimum of 24 inches of separation between the pipe and the drain tile, and topsoil will be
segregated during construction to a minimum of 12 inches or in accordance with landowner requirements.

U.S. Army Corps of Engineers’ Role
The U.S. Army Corps of Engineers is not evaluating the complete 1,134-mile pipeline as its regulatory authority is
limited to waters of the United States. If the entire pipeline was constructed in a stream, river, wetland, or other
jurisdictional water body, the Corps would evaluate the construction of the entire pipeline. However, in the case of
this pipeline, the majority of the pipeline is being constructed in uplands, outside of the Corps’ regulatory authority.

The Corps is evaluating Dakota Access, LLC, permit requests for segments of the pipeline that cross waters of
the United States. These crossings comprise a small percentage of the overall pipeline project. Department of the
Army permits will be required under Section 404 of the Clean Water Act and Sections 10 and 408 of the Rivers
and Harbors Act. Section 404 and/or Section 10 for crossings of waters of the United States (streams, rivers,
wetlands), including navigable rivers such as the Missouri, Des Moines, Mississippi, and Illinois rivers; Section
408 for alteration, occupation or use of a Corps civil works project. The Corps’ Omaha District evaluates permit
requests in North Dakota and South Dakota. The Corps’ Rock Island District evaluates permit requests in Iowa.
The Rock Island and St. Louis Districts share permit evaluation authority in portions of Illinois.



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                                                      Dakota Access Pipeline
                                                                  Permitting Process in North Dakota
U.S. ARMY CORPS OF ENGINEERS                                                              BUILDING STRONG ®
Omaha District’s Role
The Omaha District has received an application from Dakota Access, LLC, requesting verification of work in
waters of the United States in association with construction of segments of the 30-inch diameter crude oil pipeline
in North Dakota within the Omaha District’s regulatory boundaries.

In the information received, Dakota Access, LLC, is currently requesting verification of 2 crossings of regulated
water bodies under Nationwide Permit (NWP) 12 (utility line activities) in North Dakota – both being the Missouri
River crossings. In accordance with Department of the Army regulations, we are evaluating each separate, and
distant, water body crossing as a single and complete project, and will make final determinations regarding
compliance of the activities with NWP 12 once our evaluation is complete. If any work in waters, including
navigable rivers and wetlands, is authorized under NWP 12, such work must be completed according to the terms
of the permit, as well as all general terms of the nationwide permits, regional conditions and any special
conditions that are determined to be necessary. If any work in waters does not fall within the terms and conditions
of NWP 12, the applicant will be advised of procedures for applying for an Individual Permit.

Omaha District’s Permit Evaluation
The Omaha District will evaluate the water body crossings to ensure the construction activity does not adversely
impact the water body. The District’s evaluation will look at any impacts the crossing segments may have on
navigation. The Corps does not regulate pipelines, or monitor and enforce compliance with pipeline safety
regulations. These items may be addressed by the respective states and other federal agencies.

Environmental Impact Statement
The Omaha District is evaluating the applicant’s request to verify segments of the pipeline in North Dakota under
NWP 12. Activities authorized under the 2012 Nationwide Permits have been evaluated and documented in
accordance with the National Environmental Policy Act with a finding of no significant impact; therefore, an
Environmental Impact Statement is not required. If a segment does not meet the terms and conditions of NWP 12,
that segment must be evaluated as an Individual Permit and an Environmental Assessment will be required.

Public Comment
If pipeline segments are verified under NWP 12, there will not be a public comment period. If a segment does not
meet the terms and conditions of NWP 12 and must be evaluated as an Individual Permit, there will be an
opportunity to comment on that segment. Additional information regarding the U.S. Army Corps of Engineers’ role
in permitting the Dakota Access, LLC, pipeline can be obtained by contacting the appropriate Corps office.

North and South Dakota:                Iowa and Illinois:                     Illinois:

USACE, Omaha District                  USACE, Rock Island District            USACE, St. Louis District
Regulatory Branch                      Regulatory Branch                      Regulatory Branch
1616 Capitol Avenue – Suite 9000       Clock Tower Building                   1222 Spruce Street
Omaha, NE 68102                        P.O. Box 2004                          St. Louis MO 63103-2833
Phone: (402) 995-2469                  Rock Island, IL 61204-2004             Phone: (314) 331-8575
                                       Phone: (309) 794-5669

                                              UPDATE: February 11, 2015

                     U.S. ARMY CORPS OF ENGINEERS – OMAHA DISTRICT
                          1616 CAPITOL AVENUE – SUITE 9000 – OMAHA, NE 68102
                                         www.nwo.usace.army.mil

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                                                        Dakota Access Pipeline
                                                                   Permitting Process in South Dakota
U.S. ARMY CORPS OF ENGINEERS                                                                BUILDING STRONG ®
Congressional Districts: SD-1

Description
Dakota Access, LLC, is proposing to construct an 1,134-mile
pipeline system to carry up to 570,000 barrels per day of
U.S. light sweet crude (450,000 barrels per day initially) from
the rapidly expanding Bakken and Three Forks production
region of North Dakota through the states of North Dakota,
South Dakota, Iowa and Illinois terminating at a crude oil
hub near Patoka, Illinois, with various potential points of
destination along the pipeline. The pipeline crosses four
states within the boundaries of three U.S. Army Corps of
Engineers Districts (Omaha District, Rock Island District,
and St. Louis District).

Pipeline Details in South Dakota
The Dakota Access pipeline in South Dakota would consist of approximately 273 miles of a 30-inch diameter
transmission pipeline, one pump station, and other ancillary facilities to ultimately interconnect with existing
pipelines in Illinois for shipment to processing facilities and refineries in the Midwest and the Gulf Coast to reach
U.S. customers.

Pipeline Right of Way and Footprint in South Dakota
The Dakota Access pipeline enters South Dakota in Campbell County and will cross McPherson, Edmunds,
Faulk, Spink, Beadle, Kingsbury, Miner, Lake, McCook, Minnehaha, Turner, and Lincoln Counties. The pipeline
exits South Dakota just south of Sioux Falls where it crosses the Big Sioux River into Iowa. The pipeline will
parallel existing pipelines, power lines or existing roads where possible. During construction, an additional 25 -100
feet of workspace may be needed adjacent to a 50-foot permanent easement. The pipeline will be covered by a
minimum of 36 inches of soil and more if it crosses under roads, rivers, lakes or streams. On agricultural land, the
pipeline will be buried under a minimum of 48 inches of soil, drain tiles will be crossed with a minimum of 24
inches of separation between the pipe and the drain tile, and topsoil will be segregated during construction to a
minimum of 12 inches or in accordance with landowner requirements.

U.S. Army Corps of Engineers’ Role
The U.S. Army Corps of Engineers is not evaluating the complete 1,134-mile pipeline as its regulatory authority is
limited to waters of the United States. If the entire pipeline was constructed in a stream, river, wetland, or other
jurisdictional water body, the Corps would evaluate the construction of the entire pipeline. However, in the case of
this pipeline, the majority of the pipeline is being constructed in uplands, outside of the Corps’ regulatory authority.

The Corps is evaluating Dakota Access, LLC, permit requests for segments of the pipeline that cross waters of
the United States. These crossings comprise a small percentage of the overall pipeline project. Department of the
Army permits will be required under both Section 404 of the Clean Water Act and Sections 10 of the Rivers and
Harbors Act. Section 404 and/or Section 10 for crossings of waters of the United States (streams, rivers,
wetlands), including navigable rivers such as the Missouri River, Des Moines River, Mississippi River, and Illinois
Rivers. The Corps’ Omaha District evaluates permit requests in North Dakota and South Dakota. The Corps’
Rock Island District evaluates permit requests in Iowa. The Rock Island and St. Louis Districts share permit
evaluation authority in portions of Illinois.



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                                                      Dakota Access Pipeline
                                                                 Permitting Process in South Dakota
U.S. ARMY CORPS OF ENGINEERS                                                              BUILDING STRONG ®
Omaha District’s Role
The Omaha District has received an application from Dakota Access, LLC, requesting verification of work in
waters of the United States in association with construction of segments of the 30-inch diameter crude oil pipeline
in North Dakota within the Omaha District’s regulatory boundaries.

In the information received, Dakota Access, LLC, is currently requesting verification of 12 crossings of regulated
water bodies under Nationwide Permit (NWP) 12 (utility line activities) in South Dakota. In accordance with
Department of the Army regulations, we are evaluating each separate, and distant, water body crossing as a
single and complete project, and will make final determinations regarding compliance of the activities with NWP
12 once our evaluation is complete. If any work in waters, including navigable rivers and wetlands, is authorized
under NWP 12, such work must be completed according to the terms of the permit, as well as all general terms of
the nationwide permits, regional conditions and any special conditions that are determined to be necessary. If any
work in waters does not fall within the terms and conditions of NWP 12, the applicant will be advised of
procedures for applying for an Individual Permit.

Omaha District’s Permit Evaluation
The Omaha District will evaluate the water body crossings to ensure the construction activity does not adversely
impact the water body. The District’s evaluation will look at any impacts the crossing segments may have on
navigation. The Corps does not regulate pipelines, or monitor and enforce compliance with pipeline safety
regulations. These items may be addressed by the respective states and other federal agencies.

Environmental Impact Statement
The Omaha District is evaluating the applicant’s request to verify segments of the pipeline in South Dakota under
NWP 12. Activities authorized under the 2012 Nationwide Permits have been evaluated and documented in
accordance with the National Environmental Policy Act with a finding of no significant impact; therefore, an
Environmental Impact Statement is not required. If a segment does not meet the terms and conditions of NWP 12,
that segment must be evaluated as an Individual Permit and an Environmental Assessment will be required.

Public Comment
If pipeline segments are verified under NWP 12, there will not be a public comment period. If a segment does not
meet the terms and conditions of NWP 12 and must be evaluated as an Individual Permit, there will be an
opportunity to comment on that segment. Additional information regarding the U.S. Army Corps of Engineers’ role
in permitting the Dakota Access, LLC, pipeline can be obtained by contacting the appropriate Corps office.

North and South Dakota:                Iowa and Illinois:                     Illinois:

USACE, Omaha District                  USACE, Rock Island District            USACE, St. Louis District
Regulatory Branch                      Regulatory Branch                      Regulatory Branch
1616 Capitol Avenue – Suite 9000       Clock Tower Building                   1222 Spruce Street
Omaha, NE 68102                        P.O. Box 2004                          St. Louis MO 63103-2833
Phone: (402) 995-2469                  Rock Island, IL 61204-2004             Phone: (314) 331-8575
                                       Phone: (309) 794-5669

                                              UPDATE: February 11, 2015

                     U.S. ARMY CORPS OF ENGINEERS – OMAHA DISTRICT
                          1616 CAPITOL AVENUE – SUITE 9000 – OMAHA, NE 68102
                                         www.nwo.usace.army.mil

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     U.S. Army Corps of Engineers Regulatory Program Points of Contacts
                    For Dakota Access Pipeline Activities


Mississippi Valley Division
U




US Army Corps of Engineers (CEMVD-PD-OD)
1400 Walnut Street
Vicksburg, Mississippi    39180-3262

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      U




Rock Island District
US Army Corps of Engineers (CEMVR-OD-P)
1500 Rock Island Drive
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1222 Spruce Street
St. Louis, Missouri     63103

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Regulatory Chief
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Great Lakes and Ohio River Division
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US Army Corps of Engineers (CELRD-PD)
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Regulatory Program Manager
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Louisville District
US Army Corps of Engineers (CELRL-OP-F)
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Mr. Michael S. Ricketts (District POC)
West Section Chief
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           U




Northwestern Division
U




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Mr. David W. Gesl
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       U




Omaha District (Lead District)
US Army Corps of Engineers (CENWO-OD-R)
1616 Capitol Avenue
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Ms. Martha S. Chieply (District POC)
Regulatory Chief
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Mr. Joel O. Ames (District-wide Tribal Liaison)
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Email: joel.o.ames@usace.army.mil
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North Dakota Regulatory Field Office (CENWO-OD-RND)
Mr. Jason J. Renschler (ND POC)
Regulatory Project Manager
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Email: jason.j.renschler@usace.army.mil
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South Dakota Regulatory Field Office (CENWO-OD-RSD)
Mr. Jeff Breckenridge (SD POC)
Regulatory Project Manager
South Dakota Regulatory Office
28563 Powerhouse Road
Pierre, South Dakota       58501
605-945-3384;              Fax: 605-224-5945
Email: jeff.l.breckenridge@usace.army.mil
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     A         B           C           D               E                               F
   PCN
             Mile     Longitude Latitude            County                          WOUS
 1 Area
 2 State of North Dakota - Omaha Dsitrict
 3   2          96.78 -103.9057    47.9601       Williams    Missouri River
 4   4         164.89 -100.5871    46.4386       Morton      Lake Oahe/Missouri River
 5
 6
 7 State of South Dakota - Omaha District
 8             315.74 -98.6528         44.9416   Spink       Unnamed Wetland
     3
 9             315.88 -98.6507         44.9396   Spink       Unnamed Wetland
10 17          335.35 -98.4308         44.7613   Spink       Unnamed Wetland
11   4         352.27 -98.2336         44.5880   Beadle      James River
12   6         363.19 -98.0094         44.5371   Beadle      Shue Creek
13   7         371.12 -97.9072         44.4533   Beadle      Middle Pearl Creek
14   8         385.96 -97.6994         44.3041   Kingsbury   Redstone Creek
15   9         391.83 -97.6172         44.2462   Kingsbury   Rock Creek
16 10          395.14 -97.5686         44.2122   Kingsbury   Unnamed Wetland
17 12          421.85 -97.2303         43.9268   Lake        Unnamed Wetland
18 13          430.21 -97.1339         43.8381   McCook      Unnamed Wetland
19 14          430.86 -97.1312         43.8291   McCook      Unnamed Wetland
20
21
22 State of Iowa - Rock Island District
23               485.2 43.3398        -96.5133   Lyon        Unnamed Wetland
     1
24               485.2 43.3400        -96.5132   Lyon        Tributary to Big Sioux River
25   2           486.0 43.3319        -96.5016   Lyon        Tributary to Big Sioux River
26   3           500.2 43.2325        -96.2671   Sioux       Unnamed Wetland
27   4           500.7 43.2319        -96.2584   Sioux       Unnamed Wetland
28   5           549.5 42.8267        -95.5109   Cherokee    Unnamed Wetland
29                 550 42.8244        -95.5016   Cherokee    Unnamed Wetland
     6
30                 550 42.8243        -95.5020   Cherokee    Tributary to Little Sioux River
31   7           596.3 42.4756        -94.7473   Calhoun     West Fork Camp Creek
32   8           600.4 42.4483        -94.6792   Calhoun     Camp Creek
   PCN
              Mile     Longitude Latitude           County                          WOUS
33 Area
34 State of Iowa - Rock Island District cont.
35   9           604.9 42.4220        -94.5975   Calhoun     Lake Creek
36 10            608.9 42.3918        -94.5348   Calhoun     Purgatory Creek
37 11            610.4 42.3896        -94.5054   Calhoun     West Cedar Creek
38 12            613.7 42.3728        -94.4458   Calhoun     East Cedar Creek
39 13            617.8 42.3368        -94.3849   Webster     Hardin Creek
40 14              622 42.3075        -94.3135   Webster     West Buttrick Creek
41 15              627 42.2731        -94.2298   Webster     Tributary to East Buttrick Creek
42 16            628.7 42.2609        -94.2016   Webster     East Buttrick Creek
43 17              642 42.1699        -93.9760   Boone       Tributary to the Des Moines River
                                                                                                                                                               Case 1:16-cv-01534-JEB Document 185-1 Filed 03/23/17 Page 423 of 607




44 17A             642 42.1699        -93.9810   Boone       Tributary to the Des Moines River


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      A        B              C          D              E                               F
45                 642.5   42.1685   -93.9662    Boone       Unnamed Wetland
     18
46                 642.5   42.1687   -93.9661    Boone       Des Moines River
47   19            643.5   42.1657   -93.9466    Boone       Tributary to Mineral Branch
48   20            666.7   41.9559   -93.6318    Story       Walnut Creek
49   21            671.9   41.9073   -93.5629    Story       Ballard Creek
50   22            672.6   41.9018   -93.5531    Story       Tributary to Ballard Creek
51   23            688.9   41.7696   -93.3068    Jasper      Tributary to Indian Creek
52   24            692.1   41.7380   -93.2690    Jasper      Tributary to Indian Creek
53   25            692.4   41.7368   -93.2633    Jasper      Tributary to Indian Creek
54   26            692.9   41.7345   -93.2538    Jasper      Tributary to Indian Creek
55   27            696.7   41.7115   -93.1914    Jasper      Unnamed Wetland
56                 698.9   41.6992   -93.1525    Jasper      Unnamed Wetland
     28
57                 698.9   41.6991   -93.1530    Jasper      Tributary to Prairie Creek
58                 706.5   41.6338   -93.0505    Jasper      Unnamed Wetland
59   29            706.6   41.6338   -93.0499    Jasper      Unnamed Wetland
60                 706.6   41.6333   -93.0502    Jasper      Unnamed Wetland
61   30            707.2   41.6263   -93.0453    Jasper      Tributary to the South Skunk River
62   31            736.4   41.3692   -92.6190    Mahaska     Tributary to the South Skunk River
63                 739.8   41.3368   -92.5729    Mahaska     Unnamed Wetland
     32
64                 740.2   41.3331   -92.5678    Mahaska     Unnamed Wetland
   PCN
              Mile     Longitude Latitude           County                         WOUS
65 Area
66 State of Iowa - Rock Island District cont.
67 33           740.9 41.3247         -92.5596   Mahaska     Unnamed Wetland
68 34              743 41.3048        -92.5332   Mahaska     Unnamed Wetland
69 35              747 41.2559        -92.5010   Mahaska     Tributary to Snyder Creek
70 36           751.7 41.2223         -92.4285   Mahaska     Tributary to Olive Branch
71 37           765.9 41.0890         -92.2355   Wapello     Tributary to Wolf Creek
72 38           766.8 41.0807         -92.2227   Wapello     Tributary to Cedar Creek
73 39           768.4 41.0649         -92.2002   Wapello     Tributary to Cedar Creek
74 40           770.3 41.0429         -92.1794   Jefferson   Tributary to Cedar Creek
75              771.2 41.0312         -92.1741   Jefferson   Unnamed Wetland
     41
76              771.3 41.0305         -92.1742   Jefferson   Tributary to Honey Creek
77 42           775.1 40.9920         -92.1318   Jefferson   Tributary to Rock Creek
78 43           776.9 40.9774         -92.1035   Jefferson   Bonell Creek
79 44           777.6 40.9718         -92.0927   Jefferson   Tributary to Bonell Creek
80 48           789.5 40.8833         -91.9077   Van Buren   Tributary to Cedar Creek
81 49           789.6 40.8819         -91.9059   Van Buren   Tributary to Cedar Creek
82 51           795.2 40.8337         -91.8227   Van Buren   Tributary to Little Cedar Creek
83 52           795.6 40.8310         -91.8170   Van Buren   Tributary to Little Cedar Creek
84 53           799.2 40.8024         -91.7608   Van Buren   Unnamed Wetland
85 54           800.1 40.7942         -91.7471   Van Buren   Tributary to Little Cedar Creek
86 45           780.8 40.9427         -92.0452   Jefferson   East Branch Lick Creek
87                 781 40.9412        -92.0423   Jefferson   Unnamed Wetland
     46
                                                                                                                                                              Case 1:16-cv-01534-JEB Document 185-1 Filed 03/23/17 Page 424 of 607




88                 781 40.9412        -92.0422   Jefferson   Tributary to East Branch Lick Creek
89              781.9 40.9343         -92.0281   Jefferson   Unnamed Wetland
     47

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      A         B              C           D               E                                 F
      47
90                  781.9   40.9345    -92.0274    Jefferson      Tributary to East Branch Lick Creek
91    50            793.1   40.8513    -91.8541    Van Buren      Unnamed Wetland
92    57            823.8   40.5451    -91.4881    Lee            Tributary to Sugar Creek
93                  824.3   40.5405    -91.4828    Lee            Unnamed Wetland
      58
94                  824.3   40.5406    -91.4825    Lee            Tributary to Sugar Creek
95    59            825.1   40.5317    -91.4724    Lee            Tributary to Sugar Creek
96    55            817.6   40.6204    -91.5333    Lee            Tributary to Painter Creek
    PCN
                Mile      Longitude Latitude             County                         WOUS
97 Area
98 State of Iowa - Rock Island District cont.
99 56              817.9 40.6165        -91.5339   Lee            Tributary to Painter Creek
100 60             829.8 40.4879        -91.4087   Lee            Unnamed Wetland
101                830.4 40.4850        -91.3975   Lee            Unnamed Wetland
      61
102                830.4 40.4848        -91.3976   Lee            Tributary to Lamalees Creek
103 62               831 40.4801        -91.3870   Lee            Tributary to Lamalees Creek
104 63             831.3 40.4780        -91.3839   Lee            Tributary to Lamalees Creek
105 64             831.4 40.4756        -91.3768   Lee            Mississippi River
106
107
    PCN
                Mile      Longitude Latitude             County                         WOUS
108 Area
109 State of Illinois - Rock Island
110 1              832.5 40.4752        -91.3640   Hancock        Mississippi River
111 2              834.5 40.4717        -91.3290   Hancock        Unnamed Wetland
112                  835 40.4692        -91.3240   Hancock        Tributary to Larry Creek
113 3                835 40.4693        -91.3240   Hancock        Tributary to Larry Creek
114                  835 40.4691        -91.3240   Hancock        Tributary to Larry Creek
115 4                842 40.4077        -91.2140   Hancock        Tributary to West Fork Bear Creek
116 5              845.5 40.3777        -91.1630   Hancock        Bear Creek
117                  849 40.3397        -91.1160   Hancock        Unnamed Wetland
118                  849 40.3392        -91.1160   Hancock        Unnamed Wetland
       6
119                  849 40.3396        -91.1160   Hancock        Tributary to Meadow Ditch
120                  849 40.3395        -91.1160   Hancock        Tributary to Meadow Ditch
121 7              850.5 40.3209        -91.0980   Hancock        Bronson Creek
122 8              852.5 40.3016        -91.0780   Hancock        Tributary to Bronson Creek
123 9              852.5 40.2987        -91.0750   Hancock        Tributary to Bronson Creek
124 10             853.5 40.2920        -91.0680   Hancock        Tributary to Bronson Creek
125 11             854.5 40.2803        -91.0550   Hancock        Tributary to Panther Creek
126 12               855 40.2761        -91.0500   Hancock        Tributary to Panther Creek
127
    PCN
                Mile      Longitude Latitude             County                         WOUS
128 Area
129 State of Illinois - Rock Island cont.
130                  855 40.2715        -91.0460   Hancock        Tributary to Panther Creek
      13
131                  855 40.2714        -91.0460   Hancock        Tributary to Panther Creek
                                                                                                                                                                   Case 1:16-cv-01534-JEB Document 185-1 Filed 03/23/17 Page 425 of 607




132                855.5 40.2655        -91.0400   Hancock        Tributary to Panther Creek


                                                                                                                                                    Chieply 0067
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      A         B              C           D              E                               F
133                 855.5   40.2648    -91.0390    Hancock      Tributary to Panther Creek
134                  856    40.2628    -91.0370    Hancock      Unnamed Wetland
      14
135                  856    40.2650    -91.0390    Hancock      Tributary to Panther Creek
136                  856    40.2642    -91.0380    Hancock      Tributary to Panther Creek
137                  856    40.2619    -91.0360    Hancock      Panther Creek
138                 860.5   40.2134    -90.9860    Hancock      Tributary to Williams Creek
      15
139                 860.5   40.2127    -90.9840    Hancock      Tributary to Williams Creek
140                  861    40.2067    -90.9780    Hancock      Unnamed Wetland
      16
141                  861    40.2063    -90.9780    Hancock      Williams creek
142   17              861   40.2036    -90.9750    Hancock      Tributary to Williams Creek
143                 861.5   40.2007    -90.9720    Hancock      Tributary to Williams Creek
      18
144                 861.5   40.1998    -90.9710    Hancock      Tributary to Williams Creek
145                  862    40.1940    -90.9660    Hancock      Unnamed Wetland
      19
146                  862    40.1940    -90.9660    Hancock      Tributary to Williams Creek
147   20            862.5   40.1910    -90.9630    Adams        Tributary to Williams Creek
148                 864.5   40.1698    -90.9420    Adams        Tributary to Cedar Creek
149                 864.5   40.1693    -90.9420    Adams        Tributary to Cedar Creek
      21
150                 864.5   40.1683    -90.9420    Adams        Cedar Creek
151                 864.5   40.1680    -90.9419    Adams        Tributary to Cedar Creek
152                  866    40.1514    -90.9250    Adams        Tributary to S Branch to Cedar Creek
      22
153                  866    40.1536    -90.9270    Adams        S Branch to Cedar Creek
154                 867.5   40.1360    -90.9080    Schuyler     Unnamed Wetland
      23
155                 867.5   40.1360    -90.9080    Schuyler     South Fork Creek
156                  868    40.1310    -90.9000    Schuyler     Unnamed Wetland
157                  868    40.1300    -90.9000    Schuyler     Unnamed Wetland
      24
158                  868    40.1300    -90.9000    Schuyler     Tributary to Missouri Creek
159                  868    40.1280    -90.8990    Schuyler     Tributary to Missouri Creek
    PCN
                Mile      Longitude Latitude           County                         WOUS
160 Area
161 State of Illinois - Rock Island cont.
162                868.5 40.1258        -90.8940   Schuyler     Tributary to Missouri Creek
      25
163                868.5 40.1249        -90.8930   Schuyler     Tributary to Missouri Creek
164 26               869 40.1220        -90.8900   Schuyler     Tributary to Missouri Creek
165 27               869 40.1181        -90.8880   Schuyler     Tributary to Missouri Creek
166 28             869.5 40.1142        -90.8860   Schuyler     Tributary to Missouri Creek
167 29             869.5 40.1115        -90.8840   Schuyler     Tributary to Missouri Creek
168 30             870.5 40.1020        -90.8740   Brown        Missouri Creek
169                  871 40.0977        -90.8700   Brown        Unnamed Wetland
      31
170                  871 40.0975        -90.8700   Brown        Tributary to Missouri Creek
171 32               871 40.0940        -90.8680   Brown        Tributary to Missouri Creek
172 33               872 40.0867        -90.8610   Brown        Tributary to Missouri Creek
173                  872 40.0845        -90.8550   Brown        Tributary to Missouri Creek
174                  872 40.0845        -90.8560   Brown        Tributary to Missouri Creek
175                  872 40.0839        -90.8550   Brown        Tributary to Missouri Creek
      34
                                                                                                                                                                 Case 1:16-cv-01534-JEB Document 185-1 Filed 03/23/17 Page 426 of 607




176                  872 40.0846        -90.8550   Brown        Tributary to Missouri Creek
177                872.5 40.0828        -90.8530   Brown        Tributary to Missouri Creek

                                                                                                                                                  Chieply 0068
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       A         B              C            D                E                             F
178                  872.5   40.0826     -90.8530     Brown       Tributary to Missouri Creek
179                  872.5   40.0797     -90.8500     Brown       Tributary to Missouri Creek
180   35             872.5   40.0798     -90.8500     Brown       Tributary to Missouri Creek
181                  872.5   40.0796     -90.8500     Brown       Tributary to Missouri Creek
182                   873    40.0732     -90.8440     Brown       Tributary to Little Missouri Creek
      36
183                  873.5   40.0717     -90.8420     Brown       Tributary to Little Missouri Creek
184   37               874   40.0653     -90.8350     Brown       Tributary to Little Missouri Creek
185   38               874   40.0630     -90.8320     Brown       Tributary to Little Missouri Creek
186                  874.5   40.0599     -90.8290     Brown       Unnamed Wetland
      39
187                  874.5   40.0605     -90.8300     Brown       Little Missouri Creek
188                  874.5   40.0567     -90.8260     Brown       Tributary to Little Missouri Creek
189                  874.5   40.0563     -90.8250     Brown       Tributary to Little Missouri Creek
      40
190                  874.5   40.0580     -90.8270     Brown       Tributary to Little Missouri Creek
191                  874.5   40.0575     -90.8270     Brown       Tributary to Little Missouri Creek
    PCN
                Mile        Longitude Latitude           County                         WOUS
192 Area
193 State of Illinois - Rock Island cont.
194                  875 40.0498           -90.8200   Brown       Tributary to South Branch Little Missouri Creek
      41
195                  875 40.0496           -90.8200   Brown       Tributary to South Branch Little Missouri Creek
196 42             875.5 40.0480           -90.8180   Brown       Tributary to South Branch Little Missouri Creek
197                875.5 40.0461           -90.8150   Brown       Tributary to South Branch Little Missouri Creek
198                875.5 40.0460           -90.8150   Brown       Tributary to South Branch Little Missouri Creek
199                875.5 40.0457           -90.8150   Brown       Tributary to South Branch Little Missouri Creek
200 43             875.5 40.0444           -90.8130   Brown       Tributary to South Branch Little Missouri Creek
201                875.5 40.0445           -90.8140   Brown       Tributary to South Branch Little Missouri Creek
202                  876 40.0437           -90.8130   Brown       Tributary to South Branch Little Missouri Creek
203                  876 40.0432           -90.8120   Brown       Tributary to South Branch Little Missouri Creek
204 44               876 40.0401           -90.8080   Brown       South Branch Little Missouri Creek
205 45             879.5 40.0004           -90.7920   Brown       West Creek
206
207
208 State of Illinois - St. Louis District
209 1                881 39.9790           -90.7860   Brown       Tributary to Dry Fork
210                  883 39.9668           -90.7636   Brown       Tributary to Dry Fork
       2
211                  883 39.9668           -90.7632   Brown       Tributary to Dry Fork
212 3              886.5 39.9337           -90.7084   Brown       Tributary to Camp Creek
213                  888 39.9184           -90.6896   Brown       Unnamed Wetland
       4
214                  888 39.9183           -90.6897   Brown       Tributary to Camp Creek
215 5              888.5 39.9143           -90.6842   Brown       Tributary
216 6                889 39.9125           -90.6760   Brown       Tributary to Camp Creek
217 7              889.5 39.9120           -90.6670   Brown       Tributary to Camp Creek
218 8                890 39.9120           -90.6590   Brown       Tributary to Camp Creek
219 9              890.5 39.9110           -90.6470   Brown       Tributary to Camp Creek
220 10               892 39.9010           -90.6240   Brown       Tributary to Camp Creek
                                                                                                                                                                   Case 1:16-cv-01534-JEB Document 185-1 Filed 03/23/17 Page 427 of 607




221                892.5 39.8980           -90.6190   Brown       Unnamed Wetland
      11
222                892.5 39.8990           -90.6200   Brown       Tributary to Camp Creek

                                                                                                                                                    Chieply 0069
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       A         B             C            D              E                                  F
223
    PCN
                Mile        Longitude Latitude          County                          WOUS
224 Area
225 State of Illinois - St. Louis District cont.
226                  899 39.8110          -90.5840   Pike          Unnamed Wetland
227 12             899.5 39.8090          -90.5800   Morgan        Unnamed Wetland
228                  889 39.8110          -90.5820   Pike/Morgan   Illinois River
229 13               903 39.7720          -90.5280   Scott         Tributary to Eagle Run
230                  904 39.7585          -90.5107   Scott         Tributary to Wolf Run
231 14               904 39.7587          -90.5110   Scott         Tributary to Wolf Run
232                  904 39.7588          -90.5113   Scott         Tributary to Wolf Run
233                904.5 39.7548          -90.5061   Scott         Tributary to Wolf Run
234                904.5 39.7553          -90.5067   Scott         Tributary to Wolf Run
      15
235                904.5 39.7559          -90.5075   Scott         Tributary to Wolf Run
236                904.5 39.7563          -90.5080   Scott         Tributary to Wolf Run
237                905.5 39.7463          -90.4945   Scott         Tributary to Wolf Run
      16
238                905.5 39.7459          -90.4935   Scott         Tributary to Wolf Run
239 17             905.5 39.7443          -90.4897   Scott         Tributary to Wolf Run
240                906.5 39.7346          -90.4719   Scott         Tributary to Mauvaise Terre Creek
      18
241                906.5 39.7343          -90.4713   Scott         Tributary to Mauvaise Terre Creek
242                  907 39.7321          -90.4683   Scott         Tributary to Mauvaise Terre Creek
      19
243                  907 39.7311          -90.4667   Scott         Tributary to Mauvaise Terre Creek
244                  910 39.7086          -90.4250   Scott         Plum Creek
      20
245                  910 39.7083          -90.4246   Scott         Tributary to Plum Creek
246 21               912 39.6877          -90.3955   Scott         Tributary to Walnut Creek
247                  915 39.6620          -90.3525   Scott         Tributary to Sandy Creek
      22
248                  915 39.6613          -90.3515   Scott         Tributary to Sandy Creek
249 23             915.5 39.6540          -90.3460   Scott         Tributary to Sandy Creek
250 24               916 39.6525          -90.3418   Scott         Tributary to Sandy Creek
251 25               916 39.6514          -90.3378   Morgan        Tributary to Sandy Creek
252                  917 39.6453          -90.3261   Morgan        Tributary to Brush Fork
253                  917 39.6465          -90.3268   Morgan        Tributary to Brush Fork
      26
254                  917 39.6452          -90.3260   Morgan        Tributary to Brush Fork
255                  917 39.6480          -90.3288   Morgan        Tributary to Brush Fork
    PCN
                Mile        Longitude Latitude          County                          WOUS
256 Area
257 State of Illinois - St. Louis District cont.
258                917.5 39.6399          -90.3176   Morgan        Tributary to Brush Fork
      27
259                917.5 39.6399          -90.3178   Morgan        Brushy Fork
260                  920 39.6289          -90.2781   Morgan        Unnamed Wetland
261 29               920 39.6301          -90.2796   Morgan        Tributary to Spoon Creek
262                  920 39.6290          -90.2781   Morgan        Tributary to Spoon Creek
263                  925 39.5830          -90.2166   Morgan        Coal Creek
      30
264                  925 39.5830          -90.2159   Morgan        Coal Creek
                                                                                                                                                                    Case 1:16-cv-01534-JEB Document 185-1 Filed 03/23/17 Page 428 of 607




265                925.5 39.5764          -90.2049   Morgan        Tributary to Lick Creek
      31
266                925.5 39.5766          -90.2054   Morgan        Lick Creek

                                                                                                                                                     Chieply 0070
                                                                             Case 1:16-cv-01534-JEB Document 21-18 Filed 08/18/16 Page 86 of 117


      A          B              C           D              E                                F
267   32               927   39.5591    -90.1870     Morgan      Tributary to Lick Creek
268   33               928   39.5567    -90.1761     Morgan      Tributary to Little Apple Creek
269   34              928    39.5543    -90.1708     Morgan      Little Apple Creek
270   35             928.5   39.5500    -90.1680     Morgan      Tributary to Little Apple Creek
271   36               929   39.5480    -90.1640     Morgan      Tributary to Little Apple Creek
272                   929    39.5462    -90.1601     Morgan      Tributary to Little Apple Creek
      37
273                   929    39.5455    -90.1589     Morgan      Tributary to Little Apple Creek
274   38               930   39.5377    -90.1466     Morgan      Tributary to Little Apple Creek
275                  930.5   39.5344    -90.1408     Morgan      Unnamed Wetland
276   39             930.5   39.5345    -90.1408     Morgan      Tributary to Left Fork Apple Creek
277                  930.5   39.5343    -90.1401     Morgan      Tributary to Left Fork Apple Creek
278                  930.5   39.5326    -90.1337     Morgan      Tributary to Left Fork Apple Creek
279                   931    39.5316    -90.1312     Morgan      Unnamed Wetland
      40
280                   931    39.5306    -90.1285     Morgan      Tributary to Left Fork Apple Creek
281                   931    39.5318    -90.1317     Morgan      Left Fork Apple Creek
282                  931.5   39.5286    -90.1252     Morgan      Tributary to Left Fork Apple Creek
      41
283                  931.5   39.5278    -90.1239     Morgan      Tributary to Left Fork Apple Creek
284   42             931.5   39.5240    -90.1250     Morgan      Tributary to Left Fork Apple Creek
285
286
287
    PCN
                Mile        Longitude Latitude          County                         WOUS
288 Area
289 State of Illinois - St. Louis District cont.
290                932.5 39.5190          -90.1100   Macoupin    Baitter Branch
291                932.5 39.5190          -90.1100   Macoupin    Tributary to Baitter Branch
      43
292                932.5 39.5190          -90.1100   Macoupin    Tributary to Baitter Branch
293                932.5 39.5190          -90.1100   Macoupin    Tributary to Baitter Branch
294                  933 39.5120          -90.1001   Macoupin    Unnamed Wetland
      44
295                933.5 39.5114          -90.0979   Macoupin    Apple Creek
296 45             935.5 39.4873          -90.0768   Macoupin    Tributary to Panther Creek
297                  939 39.4624          -90.0198   Macoupin    Unnamed Wetland
298                  939 39.4619          -90.0185   Macoupin    Tributary to Solomon Creek
      46
299                  939 39.4617          -90.0177   Macoupin    Tributary to Solomon Creek
300                  939 39.4622          -90.0195   Macoupin    Tributary to Solomon Creek
301                  940 39.4548          -90.0022   Macoupin    Tributary to Solomon Creek
302 47             940.5 39.4534          -89.9995   Macoupin    Solomon Creek
303                940.5 39.4520          -89.9967   Macoupin    Tributary to Solomon Creek
304                943.5 39.4323          -89.9533   Macoupin    Nassa Creek
305                943.5 39.4309          -89.9505   Macoupin    Tributary to Nassa Creek
306 48               944 39.4290          -89.9472   Macoupin    Tributary to Nassa Creek
307                  944 39.4293          -89.9478   Macoupin    Tributary to Nassa Creek
308                  944 39.4301          -89.9489   Macoupin    Tributary to Nassa Creek
309                  945 39.4159          -89.9314   Macoupin    Tributary to Otter Creek
      49
                                                                                                                                                                  Case 1:16-cv-01534-JEB Document 185-1 Filed 03/23/17 Page 429 of 607




310                945.5 39.4150          -89.9299   Macoupin    Tributary to Otter Creek
311 50             946.5 39.3990          -89.9189   Macoupin    Otter Creek

                                                                                                                                                   Chieply 0071
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      A          B              C           D              E                               F
312   51             956.5   39.2859    -89.8198     Macoupin     Macoupin Creek
313   52             957.5   39.2831    -89.8077     Macoupin     Unnamed Wetland
314   53             963.5   39.2134    -89.7446     Macoupin     Tributary to Honey Creek
315   54             967.5   39.1572    -89.7317     Macoupin     Cahokia Creek
316   55             973.5   39.0950    -89.6734     Montgomery   Tributary to Lake Fork
317                  977.5   39.0512    -89.6170     Montgomery   Tributary to Grave Branch
      56
318                   978    39.0512    -89.6155     Montgomery   Unnamed Wetland
319   57             978.5   39.0470    -89.6013     Montgomery   Tributary to Lake Fork
    PCN
                Mile        Longitude Latitude           County                         WOUS
320 Area
321 State of Illinois - St. Louis District cont.
322                  979 39.0470          -89.5960   Montgomery   Tributary to Lake Fork
323 58               979 39.0470          -89.5960   Montgomery   Tributary to Lake Fork
324                  979 39.0470          -89.5960   Montgomery   Unnamed Wetland
325                979.5 39.0480          -89.5880   Montgomery   Tributary to Lake Fork
326 59             979.5 39.0470          -89.5890   Montgomery   Unnamed Wetland
327                979.5 39.0470          -89.5880   Montgomery   Unnamed Wetland
328 60               980 39.0464          -89.5744   Montgomery   Tributary to Lake Fork
329                  981 39.0461          -89.5611   Montgomery   Unnamed Wetland
      61
330                  981 39.0461          -89.5603   Montgomery   Tributary to Shoal Creek
331 62             981.5 39.0461          -89.5508   Montgomery   Shoal Creek
332 63               983 39.0434          -89.5198   Montgomery   Tributary to Panama Creek
333 64             984.5 39.0450          -89.4970   Montgomery   Unnamed Wetland
334 65               989 39.0381          -89.4196   Montgomery   Unnamed Wetland
335 66             991.5 39.0110          -89.4030   Bond         Tributary to East Fork Shoal Creek
336                  992 39.0050          -89.3920   Bond         Tributary to East Fork Shoal Creek
      67
337                  992 39.0050          -89.3920   Bond         Unnamed Wetland
338                  993 38.9985          -89.3801   Bond         Tributary
      68
339                  993 38.9978          -89.3778   Bond         Tributary
340                994.5 38.9880          -89.3490   Bond         Unnamed Wetland
341                994.5 38.9880          -89.3500   Bond         Tributary to Dry Branch
342                994.5 38.9880          -89.3490   Bond         Dry Branch
      69
343                994.5 38.9870          -89.3470   Bond         Tributary to Dry Branch
344                994.5 38.9880          -89.3490   Bond         Unnamed Wetland
345                994.5 38.9880          -89.3470   Bond         Unnamed Wetland
346                  995 38.9830          -89.3400   Bond         Tributary to Dry Branch
      70
347                  995 38.9830          -89.3400   Bond         Tributary to Dry Branch
348 71             995.5 38.9816          -89.3359   Bond         Tributary to Dry Branch
349 72             997.5 38.9657          -89.3107   Bond         Kingsbury Branch
350
351
    PCN
                Mile        Longitude Latitude           County                         WOUS
352 Area
353 State of Illinois - St. Louis District cont.
                                                                                                                                                                   Case 1:16-cv-01534-JEB Document 185-1 Filed 03/23/17 Page 430 of 607




354               1002.5 38.9200          -89.2390   Fayette      Hurricane Creek
355               1002.5 38.9210          -89.2390   Fayette      Tributary to Hurricane Creek

                                                                                                                                                    Chieply 0072
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      A          B            C             D                  E                             F
356   73         1002.5    38.9210      -89.2390     Fayette       Unnamed Wetland
357              1002.5    38.9210      -89.2390     Fayette       Unnamed Wetland
358              1002.5    38.9210      -89.2400     Fayette       Unnamed Wetland
359   74           1003    38.9140      -89.2311     Fayette       Tributary to Hurricane Creek
360              1003.5    38.9104      -89.2256     Fayette       Unnamed Wetland
361              1003.5    38.9089      -89.2235     Fayette       Tributary to Hurricane Creek
      75
362              1003.5    38.9085      -89.2228     Fayette       Tributary to Hurricane Creek
363              1003.5    38.9083      -89.2225     Fayette       Tributary to Hurricane Creek
364                1004    38.9051      -89.2177     Fayette       Unnamed Wetland
      76
365                1004    38.9052      -89.2177     Fayette       Tributary to Hurricane Creek
366   77         1006.5    38.8778      -89.1894     Fayette       Tributary to Buck Creek
367                1010    38.8620      -89.1530     Fayette       Tributary to Kaskaskia River
368                1010    38.8590      -89.1520     Fayette       Unnamed Wetland
369                1010    38.8590      -89.1510     Fayette       Unnamed Wetland
370                1010    38.8570      -89.1490     Fayette       Unnamed Wetland
371                1010    38.8550      -89.1480     Fayette       Unnamed Wetland
372                1010    38.8540      -89.1480     Fayette       Unnamed Wetland
373                1010    38.8540      -89.1480     Fayette       Unnamed Wetland
374              1010.5    38.8520      -89.1460     Fayette       Unnamed Wetland
      78
375              1010.5    38.8490      -89.1450     Fayette       Unnamed Wetland
376                1011    38.8480      -89.1430     Fayette       Cassar Creek
377                1011    38.3470      -89.1430     Fayette       Unnamed Wetland
378                1011    38.8470      -89.1420     Fayette       Unnamed Wetland
379                1011    38.8460      -89.1420     Fayette       Unnamed Wetland
380                1011    38.8440      -89.1420     Fayette       Unnamed Wetland
381                1011    38.8430      -89.1420     Fayette       Unnamed Wetland
382                1011    38.8460      -89.1420     Fayette       Unnamed Wetland
383   79         1011.5    38.8360      -89.1330     Fayette       Tributary to Steve Creek
    PCN
                Mile        Longitude Latitude           County                          WOUS
384 Area
385 State of Illinois - St. Louis District cont.
386               1011.5 38.8340          -89.1300   Fayette       Unnamed Wetland
      80
387               1011.5 38.8340          -89.1300   Fayette       Steve Creek
388 81            1012.5 38.8230          -89.1220   Marion        Flat Creek
389               1012.5 38.8200          -89.1220   Marion        Unnamed Wetland
      82
390               1012.5 38.8200          -89.1220   Marion        Tributary to Flat Creek
391                 1015 38.7935          -89.0972   Marion        Tributary to North Fork Kaskaskia River
      83
392                 1015 38.7938          -89.0978   Marion        Tributary to North Fork Kaskaskia River
393                 1015 38.7909          -89.0923   Marion        Tributary to North Fork Kaskaskia River
394 84            1015.5 38.7903          -89.0910   Marion        Unnamed Wetland
395               1015.5 38.7909          -89.0923   Marion        Unnamed Wetland
396               1016.5 38.7850          -89.0740   Marion        Tributary to North Fork Kaskaskia River
397 85            1016.5 38.7850          -89.0740   Marion        Unnamed Wetland
398               1016.5 38.7850          -89.0740   Marion        Unnamed Wetland
                                                                                                                                                                    Case 1:16-cv-01534-JEB Document 185-1 Filed 03/23/17 Page 431 of 607




399               1017.5 38.7800          -89.0650   Marion        Unnamed Wetland
      86
400               1017.5 38.7800          -89.0650   Marion        North Fork Kaskaskia River

                                                                                                                                                     Chieply 0073
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      EXHIBIT 8




                                                                Chieply 0074
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Case
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    EXHIBIT 10




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                                DEPARTMENT OF THE ARMY
                               CORPS OF ENGINEERS, OMAHA DISTRICT
                                      1616 CAPITOL AVENUE
                                      OMAHA NE 68102-4901




                                       November 20, 2015

Cheyenne River Sioux Tribe
Mr. Harold Frazier, Chairman
PO Box 590, 2001 North Main St
Eagle Butte, SD 57625

Dear Chairman Frazier:

   I am writing you as a follow-up to previous correspondence you have received
regarding the Dakota Access Pipeline Project (DAPL), a linear pipeline affecting North
Dakota, South Dakota, Iowa and Illinois. As a reminder, DAPL is a proposed 1,100-mile,
30-inch diameter, crude oil pipeline which would extend from Stanley, North Dakota
through South Dakota and Iowa to a delivery point at Patoka, Illinois, thus affecting
three Corps of Engineers (Corps) Districts (Omaha, Rock Island and St. Louis).

   The Omaha District Regulatory Division is the lead Corps District for this proposed
project. The Corps has regulatory authority and responsibility for those portions of the
pipeline that require authorization under Section 10 of the Rivers and Harbors Act (33
U.S.C. 401 et seq.) and Section 404 of the Clean Water Act (33 U.S.C. 1344). The
majority of the proposed 1,150-mile pipeline would be located in upland areas not
requiring Corps authorization under Sections 10 or 404, and over which the Corps does
not have control or responsibility. When linear projects cross a single or multiple water
bodies several times at separate and distant locations, each crossing is considered a
single and complete project for purposes of nationwide permit authorization. Under our
Regulatory authority we are evaluating approximately 209 single and complete
crossings requiring Pre-Construction Notifications (PCNs).

   The purpose of this letter is to notify you of a National Historic Preservation Act
(NHPA) Section 106 consultation meeting that will be taking place. We will be holding
an initial consultation meeting on 8 and 9 Dec at the Sheraton Hotel in Sioux Falls,
South Dakota. A block of rooms have been reserved for December 7 and 8, 2015 under
the name Energy Transfer. Please make reservations by December 2, 2015. Energy
Transfer has covered the cost of lodging and will cover travel as well as providing
Breakfast and lunch during the meetings for a representative of your Tribe. To make
reservations please call the Sheraton Hotel at (605) 331-0100. Should you have
question regarding cost reimbursement, please contact Monica Howard at
Monica.Howard@energytransfer.com, or by phone at (713) 898-8222. Be sure to keep
all receipts associated with your travel.

   Your assistance in identification of all historic properties, including sites of religious
and cultural significance, or traditional cultural properties (TCP) in the PCN areas is
critical to determining the effect of this project. My staff is anxious to hear from your



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Tribe of any culturally significant concerns that may affect these areas. The Corps will
treat historic property information as sensitive and will not disseminate to the public.

  If you are interested in participating in consultation for this proposed project, please
contact please contact Monica Howard at Monica.Howard@energytransfer.com, or by
phone at (713) 898-8222. Regulatory Technical point of contacts are Chief of
Regulatory Ms. Martha Chieply at Martha.S.Chieply@usace.army.mil, (402) 995-2451
and Regulatory Project Manager, Mr. Jason Renschler by phone (701) 255-0015 or by
email Jason.J.Renschler@usace.army.mil.

  Thank you for participating in this consultation effort, we look forward to working with
you.

                                            Sincerely,




                                            Martha S. Chieply
                                            Regulatory Chief, Omaha District




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   EXHIBIT 11




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    EXHIBIT 13




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    EXHIBIT 14




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From:               Chieply, Martha S NWO
To:                 "Jon Eagle"; Ames, Joel O NWO; "Valerie Hauser"; "John Eddins"; "Anthony G. Lopez"
Cc:                 Dave Archambault, II; Dean DePountis; Peter Capossela; Curtis McKay; Kelly Morgan; LaDonna Allard; Jenkins,
                    Paul C (Chris) NWS; Breckenridge, Jeff L NWO
Subject:            SRST letter- DAPL
Date:               Tuesday, March 22, 2016 4:28:00 PM
Attachments:        2303_001.pdf




Hello Mr Eagle,

Thank you for your letter dated March 22, 2016 concerning the adequacy of survey for the proposed Dakota Access
Pipeline (DAPL). You stated your position “that the entire length of the pipeline route” is “subject to section 106 of
the National Historic Preservation Act”. The Corps respectfully disagrees with this position. In this regard, it is
important to note the Corps doesn’t regulate or oversee the construction of pipelines, and the Corps’ regulatory
control is limited to only a small portion of the land and waterways that the pipeline traverses. In addition, no
statute authorizes the federal government to oversee construction of domestic oil pipelines.

The U.S. Army Corps of Engineers (Corps) is required to follow the procedures of Appendix C of 33 CFR 325
(Appendix C) for the protection of historic properties. According to these regulations, the Corps only has authority
over the Permit Area. The Permit Area is defined as “those areas comprising the waters of the United States that
will be directly affected by the proposed work or structures and uplands directly affected as a result of authorizing
the work or structures” (Appendix C. I(g)). Appendix C also states that three tests must be met to include land
outside “waters of the United States” in the permit area. To include uplands in the permit area, the work must be
directly associated, integrally related, and would not occur but for the in-water authorized activity.

In response to your request that the Corps redefine the area of potential effects, it is important to reiterate the Corps
has no jurisdiction outside the permit area. The Corps’ permitting actions are only regarding a small part of a much
larger pipeline project; we have no control or responsibility over the larger project, and we don’t regulate the larger
action. Therefore, the Corps does not have sufficient control and responsibility to extend jurisdiction to the entire
pipeline. However, Appendix C does allow the Corps to consider the potential effects outside the permit area to
known historic properties but “the Corps is not responsible for identifying or assessing potentially eligible historic
properties outside the permit area” (Appendix C. 5(f) ). The Corps fully intends to comply with these procedural
requirements.

The Corps recognizes that tribes have special expertise in assessing the eligibility of historic properties that may
possess religious and cultural significance, and therefore we worked with DAPL to provide you with the opportunity
take part in surveys at the Preconstruction Notification permit areas. I’m sorry to hear that have chosen to decline
this opportunity, but we still welcome any knowledge or information regarding historic properties, including sites of
religious significance, that you would like to share with the Corps. The Corps will treat any information provided
with the greatest confidentiality.

We are emailing our response as we wanted to get back to you immediately upon receipt of your letter and will
follow up with a letter. Should the SRST decide to change its position regarding participation in surveying various
PCN crossing, please notify Joel Ames by 1200 March 23rd.

Respectfully

Martha S. Chieply
Omaha Regulatory
1616 Capitol Avenue
Omaha, NE 68102-4901

Martha.S.Chieply@usace.army.mil

402 995-2451 - Office
402 926-9613 - Blackberry


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-----Original Message-----
From: Jon Eagle [mailto:j.eagle@standingrock.org]
Sent: Tuesday, March 22, 2016 10:16 AM
To: Ames, Joel O NWO <Joel.O.Ames@usace.army.mil>; Chieply, Martha S NWO
<Martha.S.Chieply@usace.army.mil>
Cc: Dave Archambault, II <darchambaultII@standingrock.org>; Dean DePountis <ddepountis@standingrock.org>;
Peter Capossela <pcapossela@nu-world.com>; Curtis McKay <cmckay@standingrock.org>; Kelly Morgan
<kmorgan@standingrock.org>; LaDonna Allard <lallard@standingrock.org>
Subject: [EXTERNAL] FW: Attached Image

Good morning,



I want to thank you for taking time out of your busy schedules to visit with my staff and I during your recent visit to
Standing Rock. I am sincerely looking forward to working with you.



Jon Eagle Sr.

Tribal Historic Preservation Officer

Standing Rock Sioux Tribe

PO Box D

Fort Yates, ND 58538

(701) 854-8645; FAX (701) 854-2138



“Le makoce ki teunkilapi sni ki hehan un lakotapi kte sni.”




From: SR THPO [mailto:thpo.copier@standingrock.org]
Sent: Tuesday, March 22, 2016 10:13 AM
To: Jon Eagle
Subject: Attached Image




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    EXHIBIT 16




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DATE: July 7, 2016

SUBJECT: McCullor’s Review of DAPL’s Cultural Resource Survey Report for MFR.



I, Matt McCullor, received a copy of DAPL’s Cultural Resource Survey Report the week prior to the TDY in
Sioux Falls, SD concerning the DAPL project (25 Jan 16. Since receipt of the report covering areas within
the Omaha District, and a week after the Sioux Falls Consultation meeting, I reviewed the report. I
received access to other portions of the report from DAPL and performed a quick review of those
portions.

The reports for the Omaha District titled “Level III Intensive Cultural Resources Survey for Dakota Access
Pipeline Project for Campbell, McPherson, Edmunds, Faulk, Spink, Beadle, Kingsbury, Miner, Lake,
McCook, Minnehaha, Turner, and Lincoln Counties, South Dakota” and “Dakota Access, LLC Dakota
Access Pipeline Project (ND) 2014 Dakota Access Class II/III Cultural Resources Inventory.” During
review of reports, nothing drew my attention except the crossing of the James River (PCN 4). No
crossings would cause affects to Historic Properties, except for the crossing of the James River.

From time to time, I reviewed the report that covered the Omaha District. These reviews were to
remind myself of the findings at each PCN and to understand the areas the Upper Sioux Community
would be surveying.

In summary, I reviewed all the report sections I had access to that concerned river crossings (both PCN
and non-PCN crossings) for the DAPL Project, especially the areas in the Omaha District. No Non-PCN
crossing caused concerns about affects to Historic Properties.




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                               DEPARTMENT OF THE ARMY
                              CORPS OF ENGINEERS, OMAHA DISTRICT
                                     1616 CAPITOL AVEUNE
                                        OMAHA NE 68102

                                          MAY 0 6 201B

District Commander


Mr. Harold Frazier, Chairman
Cheyenne River Sioux Tribe
PO Box 590
Eagle Butte, South Dakota 57625


Dear Chairman Frazier:

   At a recent Dakota Access Pipeline (DAPL) meeting, Mr. Steve Vance, Cheyenne
River Sioux Tribe Tribal Historic Preservation Officer requested a meeting. In trying to
coordinate the meeting, Mr. Joel Ames, Omaha District Tribal Liaison indicated that you
had left him a voicemail confirming your interest in meeting. Unfortunately it appears
we have been unsuccessful in identifying any potential meeting dates.

   I take requests to meet with Tribes seriously and would like to meet to discuss not
only the DAPL project, but any other topics you may want to discuss. My hope is that
we can arrange a meeting prior to making a decision on the DAPL project, but in the
meantime we will continue to work with your staff as we progress forward.

    I seek opportunities such as this to work collaboratively on matters of mutual interest.
If you have any additional questions or concerns, please contact me or Mr. Joel Ames
at 402-995-2909, or via e-mail atjoel.o.ames@usace.army.mil.

                                                  Sincerely,




                                                 /John W. Henderson, P.E.
                                                  Colonel, Corps of Engineers
                                                  District Commander




                                                                              USACE DAPL0064300
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EXHIBIT GG
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From:    "Ames. Joel Q NWQ" <NWQ>
To:      Henderson
          "John W COL" <NWQ:>
CC:      Wilson
          Codv <NWQ:>
Date:    5/3/2016 8:25:40 AM
Subject: FW: [EXTERNAL] Re: Another Letter

Sir, FYSA, I have heard back from the YST THPO this morning. In the below string you will see that he was unaware of the letter we received. I'l
continue to reach out to the Chairman    Joel




— Original Message—
From: Ames, Joel O NWO
Sent: Tuesday, May 03, 2016 8:22 AM
To: 'Perry Little'
Subject: RE: [EXTERNAL] Re: Another Letter

Once again. Thank You Perry, I'll keep you posted if I hear back from him           Joel




— Original Message—
From: Perry Little [mailto:yst.thpo@gmail.com]
Sent: Tuesday, May 03, 2016 8:17 AM
To: Ames, Joel O NWO
Subject: Re: [EXTERNAL] Re: Another Letter

no I don't and I haven't seen him this morning.

On Tue, May 3, 2016 at 7:52 AM, Ames, Joel O NWO > wrote:




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Perry,
Thanks for the information. I have called the Chairman and also sent him a text message, have not received a response. Do you have the
Chairman's e-mail address? We were hoping that a meeting could be set up with you and the Chairman and Corps representatives in the near
future, at the project office. Would you be able to assist with that?     Joel




— Original Message—
From: Perry Little [mailto:yst.thpo@gmail.com ]
Sent: Tuesday, May 03, 2016 7:45 AM
To: Ames, Joel O NWO >
Subject: [EXTERNAL] Re: Another Letter

I don't know who wrote this maybe faith youll need to contact Robert himself on this I have no idea sorry

On Mon, May 2, 2016 at 11:22 AM, Ames, Joel O NWO > > wrote:



Perry,
We just received this letter from the Chairman. As you know, we have been try to arrange this meeting. Please contact Cody and I so we can work
the arrangements. Thanks in advance................Joel




Pidamaya!

Perry Little



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THPO Director
605-384-3641 ext. 1033
605-469-5538 or 605-469-6056
Blockedwww.yanktonsiouxtribe.net




Pidamaya!

Perry Little
THPO Director
605-384-3641 ext. 1033
605-469-5538 or 605-469-6056
Blockedwww.yanktonsiouxtribe.net




                                                                                                          USAGE DAPL0064319
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EXHIBIT HH
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M nicoujou                            Itazipco      CHEYENNE RIVER SIOUX TRIBE
                                                                   C ultu ral Preservation O ffice
                                                                   PO BO X 590 98 S. W illow St.
                                                                 Eagle Butte, South Dakota 57625
                                                                       Telephone: (605) 964-7554
                                                                             Fax: (605) 964-7552

                                                          Steven Vance
                                                          Tribal Historic Preservation Officer
                                                          sig v ev x rstp res fi)os.ftiook,corn


Siha Sapa                          O ohenum pa



Date: May 19,2016

Colonel John Henderson
District Engineer
Omaha District
Department of the Army
U.S. Army Corps of Engineers,
1616 Capitol Avenue, Suite 9000
Omaha, Nebraska 68102

The Cheyenne River Sioux Tribe (CRST) submits these concerns and comments to the
proposed Dakota Access Pipeline (DAPL) project.

In a letter dated April 22, 2016 from the Department o f the Army US Army Corps o f
Engineers (US ACE), was o f “concurrence with our “Not Eligible” and “No Historic
Properties Affected” determination. This was sent to Ms, Fern Swenson, North Dakota
Deputy State Historic Preservation Officer (SHPO), requesting concurrence.

I disagree with the evaluation o f Not Eligible and disagree with the determination o f No
Historic Properties Affected. CRST Tribal Historic Preservation Officer (THPO), states
that all Native cultural properties or sites are Eligible and the proposed project will have
Adverse Effects to those cultural resources.

The US ACE has made statements that they have conducted Section 106 Consultation
with Tribes. The CRST THPO has received emails and maybe a couple telephone calls
and disagrees that this method is not meaningful consultation. In Niobrara, Nebraska on
February 18-19, 2 0 1 6 ,1 verbally invited USACE staff to discuss the proposed DAPL
application with our Tribal Council, face-to-face.

I asked for this to occur because USACE titled the two (2), previous meetings in Sioux
Falls as consultation. Again I repeat from the letter sent by the USACE Omaha District
on November 19, 2015 that CRST comments are “in the comment resolution stage”. I
have not received response on the comments from the Standing Rock Sioux Tribe
(SRST), on April 8, 2015 (not August 21, 2015), comments I supported, I don’t know if
these was a response to SRST but I also supported the concerns and was not notified of
any response. If there was a response 1 am requesting a copy.




                                                                                       USACE DAPL0067923
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 Again, briefly are the comments from SRST:

    • Opposed to any geotechnical boring.
    • Mitigation for site 32M 00001, an earth lodge village.
    • The current Environmental Assessment (EA) in insufficient for oil pipelines.
    ® A request that an Environmental Impact Statement (EIS) be completed.
    • A Class III Archaeological Study, with Tribal involvement, be conducted.
    • Risks o f disturbing burials by dredging the Missouri, other tributaries.
    « Disagrees with the “No Historic Properties Affected” determination.
    « Concerns for all residents along the proposed route o f the quality o f water.

I thought USACE would respond to my letter at the first meeting held in Sioux Falls,
South Dakota on December 8, 2015. Instead the Tribes at this meeting was given an
agenda and USACE allowed the applicant. Energy Transfers, to give a presentation of
their proposed project. While Tribes had no material o f the presentation USACE told the
Tribes that they sent an email to access the reports through a site but none o f the Tribes
could access the site. USACE staff also stated that there was issues in getting access to
the site. USACE deemed this meeting as consultation. This was not conducted with the
interest o f the Tribes in mind. 1 request response to my comments on August 17, 2015.

US Fish and Wildlife (USFWS), was not in attendance at this meeting in Sioux Falls, SD,
USACE said they informed them o f the meeting but they were unable to attend. This was
a request from me that they be present. The meeting was almost useless.

After reviewing the studies conducted in 1980, 1983, 2009, and 2014 by Merjent, Inc.,
Alpine Archaeological Consultants, Inc., and Gray & Pape, Inc., all o f which are non-
Tribal archaeological firms. I disagreed with the determination o f cultural site as Not
Eligible submitted by Merjent Inc. This determination is o f the European point of view,
not the Native view and is non-compliance to Section 106 as Tribes have not been
offered opportunity to survey. 1 request the same opportunity for Tribal identification.

1 disagreed with the applicant addressing affects to Native cultural resources. This is also
true for the several archaeological firms who have made identification and evaluation of
cultural resources without Tribal involvement. Consultation before identification.

1 request the other agencies participate in the Section 106 Consultation, such as US
Environmental Protection Agency (USEPA). The eastern boundaries o f CRST is the
Missouri River/Oahe Dam, which is downstream of the proposed crossing. Contaminant
from the proposed Horizontal Directional Drilling (HDD), will have effects to not just the
few navigable rivers in the report but all streams, creeks, and other channels where water.
There is still the subsurface water sources that have not been mentioned. USACE cannot
address these concerns then so USEPA should.

February 2016 EPA was issued guidance by issuing the EPA Policy on Consultation and
Coordination with Indian Tribes. This is guidance for discussing Tribal treaty rights and
affects to water and air quality from projects which will effect Tribes, downstream or
nearby, such as DAPL.




                                                                                  USACE DAPL0067924
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Colonel Henderson stated in the meeting in Nebraska that the Bureau o f Indian Affairs
(BIA), was involved. This is information that was not shared with Tribes and it came as a
surprise to Tribes. I responded that BIA is also a federal agency. The question is how,
when, where, and why is BIA in^■■olved?

This being an oil pipeline I request the Department o f Energy (DOE), or Federal Energy
Regulatory Commission (FERC), participate in addressing the proposed pipeline.

With multiple agencies mentioned, USACE, USFWS, BIA, DOE, FERC, USEPA, BLM,
(maybe Rural Utilities Service), and the multiple resources that would have potential
effects, I request that the Bureau o f Land Management (BLM), be participating.

I continue to disagree with USACE using Appendix C as it is outdated and confusing
when responding to comments and concerns of water and water quality. Colonel
Henderson stated in a letter to ACHP on April 11, 2016 (Appendix C);

        “..the Corps regulatory offices only have authority over the permit area, which is
        defined as “those areas comprising the waters o f the United States that will be
        directly affected by the proposed work or structures and uplands directly affected
        as a result of authorizing the work or structures”.

        He further states “ ... the Corps cannot redefine the area o f potential effects.
        However, Appendix C does allow the Corps to consider the potential effects
        outside the permit area to known historic properties, but the Corps is not
        responsible for identifying or assessing potential eligible historic properties
        outside the permit area”.

USACE comments for the Area o f Potential Effect (page 2);

       “ ... the IdDD construction is considered a federal undertaking and thus subject to
       the terms o f the Missouri River Programmatic Agreement and Section 106. Any
       construction activity related to the HDD installation is considered as part of this
       undertaking, regardless o f land ownership.”

USACE comments on Section 106 Consultation (page 7):

       “Solicitation for consultation and comments for the DAPL Oahe Crossing Project
       was initiated in an information letter dated 22 July, 2015.”

Again I will reflect on the “informational” meeting in Niobrara, Nebraska. I asked
Colonel Henderson when the USACE deem that consultation has started. He responded
with “Consultation starts when Tribes say it starts”. 1 questioned it again. This time he
responded “Officially it started September 2015”. And yet the letter on April 22, 2016
states, page 7, “ Solicitation for consultation and comment for the DAPL Oahe Crossing
Project was initiated in an information letter dated 22 July, 2015”.

I continue to say that there has been no meaningful Tribal consultation with USACE and
USFWS, who finally attended the Niobrara, Nebraska meeting, on this proposed project.
There has been thousands o f pages o f reports, studies, information, proposed route (with
no alternatives), produced and proposed by Energy Transfers, contract archaeologists.




                                                                                    USACE DAPL0067925
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USACE, USFWS, but no consideration o f involving Tribes until December 2015. There
has been no productive progress for the concerns or comments from Tribes.

The letter also states (bottom of page 7);

       “While some o f these comments overlapped those made in direct response to the
       cultural resources review, the majority concerned larger issues, often related to
       the pipeline project as a whole and w'ere beyond the scope o f the Oahe crossing
       action. As such, these comments are not addressed in this effort”.

Where we are at this point with USACE on the proposed DAPL is still at the beginning.
So how it is that USACE can submit a letter to the ND SHPO for concurrence with their
Not Eligible and No Historic Properties Affected?

USACE, as the designated lead agency for DAPL, camrot address all issues o f concern.
Trying to conclude the consultation is premature and a violation o f federal mandates and
compliances. I request FERC or BLM be the lead federal agency. USACE has not met
the “good faith effort” nor have USAGE kept the interest o f Tribes in mind.


Respectfully,




Cc; Chairman Harold Frazier
    file




                                                                               USACE DAPL0067926
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  EXHIBIT II
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Mnicoujou                            Itazipco     CHEYENNE RIVER SIOUX TRIBE
                                                                  Cultural Preservation Offiee
                                                                  PO BOX 590 98 S. Willow St.
                                                                Eagle Butte, South Dakota 57625
                 plVER                                                Telephone: (605) 964-7554
                                                                            Fax: (605) 964-7552

                                                       Steven Vance
                                                       Tribal Historic Preservation Officer
                                                       stevev.crstpres@outlook.com


Siha Sapa                        Oohenumpa



Date: May 2, 2016

Richard Hamois
Sr. Field Archaeologist
Department of the Army
Corps of Engineers, Omaha District
Oahe Project
28563 Powerhouse Road
Pierre, SD 57501-6174

The Cheyenne River Sioux Tribe (CRST) submits these concerns and comments to the
proposed Dakota Access Pipeline (DAPL) project.

Information received April 28, 2016 from the Department of the Army US Army Corps
of Engineers (USACE), was of “concurrence with our “Not Eligible” and “No Historic
Properties Affected” determination. This was sent to Ms. Fern Swenson Deputy State
Historic Preservation Officer (SHPO), and copy to me.

I disagree with the evaluation of Not Eligible and disagree with the determination of No
Historic Properties Affected. CRST THPO states that all Native cultural findings are
Eligible and the proposed project will have Adverse Effects to cultural resources.

The USACE continues to make statements that they have consulted with Tribes. All that
CRST has been receiving are emails and maybe a phone call. USACE has been asked by
the THPO to schedule a meeting with CRST Tribal Council. This was at the meeting in
Niobrara, Nebraska on February 18-19, 2016.

I asked for this to occur because USACE titled the two (2), previous meetings in Sioux
Falls as consultation. Again I repeat from the letter sent by the USACE Omaha District
on November 19, 2015 that CRST comments are “in the comment resolution stage” . I
have yet to be contacted on the comments from the Standing Rock Sioux Tribe (SRST),
on April 8, 2015 and CRST THPO comments on August 17, 2015.

Again, briefly are the comments from SRST:

   •   Opposed to any geotechnical boring.
   •   Mitigation for site 32M 00001, an earth lodge village.




                                                                                  USACE DAPL0068220
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    •   The current Environmental Assessment (EA) in insufficient for oil pipelines.
    •   A request that an Environmental Impact Statement (EIS) be completed.
    •   A Class III Archaeological Study, with Tribal involvement, be conducted.
    •   Risks of disturbing burials by dredging the Missouri, other tributaries.
    •   Disagrees with the “No Historic Properties Affected” determination.
    •   Concerns for all residents along the proposed route of the quality of water.

CRST THPO requested Tribal participation after reviewing that studies were conducted
in 1980, 1983, and 2009 without Section 106 Consultation.

1 disagreed with the determination of Not Eligible because o f this same non-compliance
to Section 106.

I disagreed with the applicant addressing affects to cultural resources. This is also true for
the several archaeological firms who have made identification and evaluation without
Section 106 Consultation.

I request the other agencies participate in the Section 106 Consultation, such as US
Environmental Protection Agency (USEPA). Contaminant from the proposed DAPL will
spill into not just the few navigable rivers but all streams, creeks, and other channels
where water, or rain, can travel into all waters crossed. If USACE can not address these
concerns then USEPA should.

Just to mention that Colonel Henderson stated in the meeting in Nebraska that the Bureau
of Indian Affairs (BIA), was involved. 1 responded that BIA is also a federal agency.

1 also request that the Bureau of Land Management (BLM), be participating as the
question of “surface and sub-surface” management.

To date these have not been addressed or responded to me.

1 also continue to disagree with USACE Appendix C as outdated and confusing when
responding to comments and concerns of water and water quality. Colonel Henderson
stated in a letter to ACHP on April 11, 2016 (Appendix C);

        “..the Corps regulatory offices only have authority over the permit area, which is
        defined as “those areas comprising the waters of the United States that will be
        directly affected by the proposed work or structures and uplands directly affected
        as a result of authorizing the work or structures” .

        He further states “ ... the Corps cannot redefine the area of potential effects.
        However, Appendix C does allow the Corps to consider the potential effects
        outside the permit area to known historic properties, but the Corps is not
        responsible for identifying or assessing potential eligible historic properties
        outside the permit area” .

1 am requesting that the USACE utilize 36 CFR 800 for consultation, not Appendix C or
let BLM take the lead and initiate the proper and respectful consultation Tribes have been




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requesting. USACE has not met the “good faith effort” nor have USACE kept the interest
of Tribes in mind.
Back to the April 22 letter.

USACE comments for the Area of Potential Effect (page 2):

       “ ... the HDD construction is considered a federal undertaking and thus subject to
       the terms of the Missouri River Programmatic Agreement and Section 106. Any
       construction activity related to the HDD installation is considered as part of this
       undertaking, regardless o f land ownership.”

USACE comments on Section 106 Consultation (page 7):

       “Solicitation for consultation and comments for the DAPL Oahe Crossing Project
       was initiated in an information letter dated 22 July, 2015.”

Again I will reflect on the “informational” meeting in Niobrara, Nebraska. I asked
Colonel Henderson when the USACE deem that consultation has started. He responded
with “Consultation starts when Tribes say it starts” . I would not accept this and
questioned it again. This time he responded “Officially it started September 2015” .

I continue to say that there has been no meaningful consultation with USACE and US
Fish and Wildlife Service (USFWS), on this proposed project. There has been thousands
of pages of reports, studies, information, proposed route (with no alternatives), and so on.
There has been no productive progress for the concerns or comments from Tribes.

The letter also states (bottom of page 7):

       “While some of these comments overlapped those made in direct response to the
       cultural resources review, the majority concerned larger issues, often related to
       the pipeline project as a whole and were beyond the scope of the Oahe crossing
       action. As such, these comments are not addressed in this effort” .

For where we are at this point with the proposed DAPL is still at the beginning. So how it
is that USACE can submit a letter to the ND SHPO for concurrence with their Not
Eligible and No Historic Properties Affected?


Respectfully,




Cc; file
CRST Chairman Harold Frazier




                                                                                USACE DAPL0068222
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 EXHIBIT JJ
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                                 DEPARTMENT OF THE ARMY
                                CORPS OF ENGmEERS, OMAHA DISTRiCT
                                       1616 CAPITOL AVENUE
                                       OMAHA NE 68102-4901

                                          10^22 2016
District Commander

Harold C. Frazier, Chairman
Cheyenne River Sioux Tribe
PO Box 590
Eagle Butte, SD 57625

Dear Chairman Frazier,

   I am writing to confirm receipt of your letter dated June 3,2016 regarding the Dakota Access
Pipeline (DAPL). The U.S. Army Corps of Engineers is committed to meaningful and
transparent consultation with our Tribal partners. Efforts to arrange a meeting have continued.
On April 29 2016, Mr. Ames spoke with Vice-chairman LeBeau, at the conclusion of a SRST
Meeting, in an attempt to arrange a meeting. Additionally, on May 6,20161 sent you a letter
(attached) addressing your Tribes request, neither action has received a response.

  To best address the concerns in your letter, I am providing you a recent Question and Answer
summary from the consultation meetings that have been held over the past months, I hope this
will clarify some of the procedural and technical questions you posed.

   Additionally, the Advisory Council on Historic Preservation sent an inquiry (attached) to
Ms. Jo-Ellen Darcy, the Assistant Secretary of the Army for Civil Works and the Agency Head,
In that letter, similar questions were raised about Section 106 and consultation as were raised in
your letter. I will ensure you receive a copy of Ms, Darcy’s response, who will respond shortly.

  My staff is always available to answer questions. Please contact Ms. Martha Chieply at
(402) 995-2451 if you have any questions.

                                                   Sincerely



                                                  JohhVA Henderson, P.E.


Enclosures




                                         Prirfiect on   R e c c e d Paper




                                                                                     USAGE DAPL0064062
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EXHIBIT KK
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                                DEPARTMENT OF THE ARMY
                               CORPS OF ENGINEERS, OMAHA DISTRICT
                                      1616 CAPITOL AVENUE
                                      OMAHA NE 68102-4901




                                         June 13, 2016

Steven Vance
Cheyenne River Sioux Tribe
Cultural Preservation Office
PC Box 590 98 S Willow St.
Eagle Butte, SD 57625


Dear Mr. Vance,

  On behalf of the Commander I am 'writing to confirm receipt of your letter dated
May 19,2016, regarding the Dakota Access Pipeline Project (DAPL). The U.S. Army Corps of
Engineers is committed to meaningfiil and transparent consultation with our Tribal partners.

   In order to address several of the concerns from your letter, I am providing you a recent
Question and Answer summary from the Consultation meetings that have been held over the past
months. I hope this dociunent will provide answers to your procedural and technical questions,
including how Tribal comments will be considered and addressed in the Environmental
Assessment (EA) process.

   Additionally, the Advisory Council on Historic Preservation (ACHP) sent an inquiry letter to
the Assistant Secretary of the Army for Civil Works (ASACW) Ms. Jo-Ellen Darcy, see
attached. Their inquiries have elevated this project to the Agency Head, therefore the ASACW
will respond to the ACHP. A response is being prepared to address those concerns. I 'will ensure
you receive a copy of Ms. Darcy’s response.

   My staff is always available to answer questions. Please contact Ms. Martha Chieply at (402)
995-2451 if you have any questions.


                                         Sincerely,



                                         Martha S. Chieply
                                         Chief, Regulatory Branch
                                         Omaha District
Enclosure




                                                                                 USAGE DAPL0064120
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                                  DEPARTMENT OF THE ARMY
                                 CORPS OF ENGINEERS. OMAHA DISTRICT
                                        1616 CAPITOL AVENUE
                                        OMAHA NE 68102-4901




                                             June 2. 2016



     1 am w ritin g you to follow -up to m ultiple pre\ ious consultation correspondence.s and
meetings between January and February 2 0 In vvith the se\eral J'ribal represeniaiixes regarding
the Dakota Access Pipeline Project (D A P I.). a linear pipeline affecting North Dakota. South
Dakota. Iowa and Illinois. As a reminder, D A PI. is a proposed 1,100-m ile, 30-inch diameter,
crude oil pipeline which would extend from Stanley, North Dakota through South Dakota and
lov\ a to a deliv ery point at Paioka, Illinois, thus requiring a review by three Corps o f Engineers
(Corp.s) Districts (Omaha. Rock Island and St l .ouis).

    The Omaha D istrict i.s the lead Corps D istrict on regulatory' compliance for this proposed
project. The Corps has regulatory authority and responsibility for those portions o f the pipeline
that require authorization under Section 10 o f the Rivers and Harbors .Act (33 U.S.C. 401 et seq.)
and Section 404 o f the Clean Water .Act (33 I f S.C. 1344). However, the m ajority o f the
proposed 1100-mile pipeline would be located in upland areas not requiring Corps authorization
under Sections 10 or 404. and over w hich the Corps does not have control or responsibility.
When linear projects cross a single or m ultiple water bodies several times at separate and distant
locations, each crossing is considered a single and complete project for purposes o f Nationwide
Pennit authorization. Under our Regulatory authority, we are currently evaluating approximately
209 single and complete crossings requiring Pre-Construction N otifications (PCNs).

    .As explained above, the purpose o f this letter is to provide additional inform ation in response
to numerous questions that have been posed to the Corps over the past six months. Please llnd
attached the Question and .An.svver fact sheet for the Dakota .Aceess Pipeline Projeet.

   Regulatory Technical point o f contacts are C h ie f o f Regulatory Ms. Martha Chieply at
Martha.S.Chieply ausace.anny.m il or 402-995-2451 and Regulatory Project Manager. Mr. Jason
Renschler at Jason.J.Ren.schler d;u.sace.army.mil or 701-255-0015 extension 2010.

                                            Sincerely.




                                            Martha S. Chieply
                                            Chief. Regulatory Branch
                                            Omaha District
Enclosure




                                                                                        USAGE DAPL0064121
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                               Responses to Questions

1. What are the specific actions that the Corps is considering regarding the
Dakota Access Pipeline, beyond the draft EA? For example, if you proceed along
the EA track (rather than preparing a full EIS), we assume you would finalize an
EA, and prepare a FONSI. Is that correct? Beyond that, are you contemplating an
easement across Corps lands, a 404 permit, a 408 permit, and/or a verification
that the project qualifies under Nationwide Permit 12? Please let us know all of
the actions contemplated by the Corps on this proposed project

There are four actions that the applicant, Dakota Access, has requested from the United
States Army Corps of Engineers (Corps). The first is for permits under Section 10 of the
Rivers and Harbors Act and Section 404 of the Clean Water Act (Section 10/404), for
209 proposed jurisdictional crossings of waters of the United States in the states of
North Dakota, South Dakota, Iowa and Illinois. The second is a consent to cross
flowage easements held by the Corps at Lake Sakakawea, ND and Carlyle Reservoir,
IL. The third is for easements to cross federal property administered by the Corps for a
flood control and navigation project at Lake Oahe, ND. The fourth is permission to cross
the west levee of the Illinois River, the Illinois River navigation channel, and the east
levee of the Illinois River in Pike, Morgan, and Scott Counties, Illinois. Regarding these
last three actions requested by the applicant, the Corps must evaluate the placement of
the pipeline on Corps project lands and flowage easements and potential impacts to
levees under 33 USC 408 (Section 408) to determine if the use or occupation will be
injurious to the public interest or impair the usefulness of the project(s).

As part of this Section 408 review process, the Omaha and St. Louis Districts prepared
Environmental Assessments (EA) to determine whether these proposed federal actions
(granting permissions for various crossings under Section 408) have the potential to
cause significant environmental effects. If it is determined that the actions will not have
significant environmental impacts, a Finding of No Significant Impact (FONSI) will be
signed. If either EA determines that the environmental impacts of the proposed federal
action will be significant, an Environmental Impact Statement would be prepared. If the
Corps is able to sign a FONSI, and the Section 408 determinations show the action will
not be injurious to the public interest and will not impair the usefulness of the Corps
projects, then the Corps would issue the appropriate real estate interests to allow the
installation of the pipeline on Corps managed property in North Dakota and Illinois.
Corps Regulatory offices in Omaha, St Louis, and Rock Island Districts are evaluating
whether they can verify the proposed jurisdictional crossings under Nationwide Permit
12.

2. What is your expected timeline for decision making?

The processes under NEPA, Section 408, Section 10 of the Rivers and Harbors Act,
and Section 404 of the Clean Water Act (Section 10/404), for 209 proposed
jurisdictional crossings of waters of the United States in the states of North Dakota,




                                                                              USACE DAPL0064122
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South Dakota, Iowa and Illinois are all ongoing, so the timeline and schedule are
dependent on the completion of these processes.

3. How will the concerns and information provided by the Tribe, inciuding the
comments on the draft EA be incorporated into the Corps'process? Which Corps
officiai win decide what wiii be done in response to the points raised by the
Tribe?

The Corps will consider all comments received from the tribes and public and will
address them in the final EA and decision document. The information is used to assist
in making a determination under NEPA, Section 408, and Sections 404/10. As it
currently stands, each District Commander will have the final decision on the NEPA
decision documents. Section 408 determinations, and Sections 404/10 for the areas
under his jurisdiction.

4. The draft EA assumes that the project will use horizontal directional drilling
(HDD). But in certain other projects, the proponent proposed HDD, but iater found
that to be infeasibie. Has the Corps considered the possibility that HDD wouid not
be feasibie at the proposed Lake Oahe crossing, and that a different approach,
that requires dredging, wouid be necessary? Wouid that make a difference in
your assessment o f the environmentai risks o f the proposal?

The Corps considered the possibility that horizontal directional drilling (HDD) may not
be feasible at the proposed site and requested that the applicant complete a
geotechnical investigation (borings) to determine feasibility. GeoEngineers, a DAPL
subcontractor, drafted a preliminary HDD design report, which presented the results of
the site exploration program and HDD design to the Corps on August 12, 2015.
GeoEngineers later provided a revised HDD design report, dated August 28, 2015,
which addressed Corps comments. Finally, in November 2015, GeoEngineers provided
an addendum which detailed the hydraulic fracture analysis calculations. Results from
the investigation are discussed in the EA and the geotechnical reports are included as
Appendix D. Based on this information, it was determined that HDD is a feasible
construction method. If HDD is determined to be infeasible, the Corps would reassess
the project.

5. The draft EA assumes that HDD will not disturb cuiturai resources. But
certainly HDD o f this magnitude will cause tremors that impact the ground above,
beiow and extending to the side of the actuai drilling. What is the basis on which
the draft EA suggests that HDD will not damage cultural resources?

 The potential impacts from vibrations produced during the HDD process are not
 normally addressed in EAs. DAPL’s and GeoEngineer’s experience with HDD
 construction indicate the vibrations produced during the drilling process are not of a
 magnitude to impact natural features, cultural resource features or structures. Any
 vibrations associated with the drilling process would be limited to the immediate vicinity
 of the drilling equipment on the surface and downhole. The vibrations produced by




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equipment at the surface are no more than any other type of civil earthwork project.
Vibrations produced from the downhole tooling are of a very low magnitude and are
attenuated very quickly by the formation such that vibrations are not felt at the surface.
GeoEngineers performed vibration monitoring at one HDD site where adjacent
homeowners were concerned about vibration from the construction activities and the
results of the vibration monitoring indicated the vibrations were imperceptible to human
senses and the peak particle velocities were less than 0.07 inches/second, which are
well below that which would cause structural impacts. A set of those recorded
vibrations can be provided, if desired. Based on this information, it is not anticipated
that the vibrations during construction will have a perceptible impact to cultural
resources.

6. Has the Corps considered whether it would be reasonable and appropriate to
require Dakota Access to provide financial assurances, in the form of a
permanent fund or otherwise, to address potential oil spill damages? if that has
not been considered, why not? More broadly, in light of the history o f oil spills
across the country, how can Dakota Access effectively assure us that our water
wiii be safe?

Financial assurances have been considered, but the Corps does not have authority to
require Dakota Access to provide such assurances. The Corps appreciates the Tribe’s
concerns about the potential impacts related to releases from the pipeline. However, the
portions of the pipeline installed beneath the lake will be 92 feet deep. In addition, the
Corps required an increased wall thickness of the pipe, installation of remotely operated
valves on both sides of the river crossing, and monitoring of the system 24/7 to further
limit the potential for an inadvertent release into Lake Oahe. Moreover, Dakota Access
will adhere to the Dakota Access Facility Response Plan (to be issued before the DAPL
project is put into operation in accordance with Department of Transportation, Pipeline
and Hazardous Materials Safety Administration (PHMSA) and federal regulations) which
will minimize impacts on the water body from potential spills during the operation of the
pipeline. Finally, in the event of an inadvertent release, Dakota Access would follow
their Facility Response Plan provisions, work aggressively to contain the leak, initiate
cleanup activities, and contact the appropriate authorities, including the Tribe, in a
timely manner.

7. Why does the draft EA not show the Reservation on its maps and not mention
the Reservation in its text? And why are potential on-Reservation impacts of the
proposed pipeline ignored in the draft EA?

The draft EA did not identify the Standing Rock Sioux reservation because the
reservation was outside the scope of the EA. In response to the Standing Rock Sioux
Tribe’s comments, the Corps has broaden the scope of the EA to include the Standing
Rock Sioux Tribe Reservation. The on-reservation impacts were not in the draft of the
EA for the same reason. This will also be corrected in the EA.




                                                                              USACE DAPL0064124
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8. With regard to the "Class ll/Class III Cultural Resources Inventory of the
Crossings of Flowage Easements and Federal Lands" ("Inventory") for the Dakota
Access project, why was the April 2015 draft prepared by Merjent, but the
November 2015 draft was prepared by Gray & Pape? Who did the actual
investigation for this report?

Dakota Access initially retained 4 consultants, with a different consultant assigned to
lead the field work for each state (North Dakota, South Dakota, Illinois, and Iowa).
Merjent was initially assigned as the consultant for North Dakota and completed a large
portion of the field investigations and submitted the associated reports. After the
consultant staff was reduced to two companies (one for ND and SD and another for lA
and IL), the follow-on work was completed by Gray & Pape. The change in consultants
did not result in any significant change to the nature or quality of project deliverables. As
noted above, Merjent prepared and submitted the necessary reports based on their
fieldwork. Agency comments related to Merjent's draft reports were primarily editorial in
nature and did not result in changes to National Register of Historic Places’ (NRHP)
 recommendations for recorded archaeological resources. Agency recommended
changes to subsequent draft reports were incorporated as appropriate. The authors
who addressed agency comments are identified in the revised report covers.

9. Beyond review of the cultural resources work done in the 1980's for the
Northern Border Pipeline, what independent investigation and field work was
done regarding cultural resources in the preparation o f the draft Inventory and
the draft EA? When was that work done, and who did it?

The majority of the Class II/I 11 investigations for the survey area were conducted by
Merjent. However, a revisit of site 32M000259 was conducted by Gray & Pape in the
2015 field season. No evidence of site 32M000259 was documented within the project
survey corridor by either consultant. Cultural resource investigations were conducted
by professional cultural resource specialists from Merjent and from Gray & Pape
following established research guidelines. Research methodology/ reporting has been
independently reviewed and accepted by the North Dakota State Historic Preservation
Office. The Class ll/lll investigations were conducted between August and November of
2014.

10. Are the standards and practices for identifying and evaluating cultural
resources the same today as they were in the early 1980's? If not, how did the
Corps take that into account in the draft EA?

The current standards and guidelines for survey investigations in North Dakota were
formally adopted in 2013. These standards supersede both the 1981 and the 2006
versions of the state manual. The Class ll/lll investigations detailed in the draft
inventory report were conducted in compliance with the 2013 state manual. Corps
project lands were not resurveyed because they will not be impacted by the DAPL
project.




                                                                               USACE DAPL0064125
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11. In discussing the economic impact o f the proposed pipeline, the draft EA says
"in summary, the economic impact to the U.S. as well as the immediate region
where the pipeline is located is tremendous and critical to keep Americans
employed and our economy moving forward. " Draft EA at 60. Is that the position
of Dakota Access or the Corps? If that is the Corps' position, on what basis was
that determination made? Did the Corps consider whether the proposed pipeline
is economically viable in the context of collapsing oil prices? Did the Corps
consider whether reliance on fossils fuels is detrimental to the national interest
because of climate change?

While Dakota Access played a major role in preparing the draft EA, the final NEPA
decision document will represent the position of the Corps. The conclusion that the
pipeline could have a positive economic impact is based on the fact that the overall
project is a $3.78 billion dollar investment directly impacting the local, regional, and
national labor forces by potentially creating thousands of temporary construction jobs.
Dakota Access is working with the various craft and labor unions to ensure the project is
constructed using highly qualified and experienced local and regional labor resources.
These construction jobs would likely create considerable labor income and state income
tax revenue. No demographic changes in the Standing Rock Sioux Reservation, located
approximately 0.55 mile south of the Lake Oahe Project, are anticipated because no
permanent employment would be created as a result of the DAPL project.

The proposed pipeline will be economically viable even with collapsing oil prices
because nine shippers have executed long-term transportation and deficiency contracts
for capacity on the pipeline, and have contractually committed to pay Dakota Access for
the availability of transportation service, even during periods when that transportation
service is not actually utilized by the committed shipper. This provides Dakota Access
material financial security during periods of low commodity prices and ensures the
viability of the project notwithstanding price volatility in crude oil markets.

Finally, the DAPL project will not have a significant impact on the nation’s reliance on
fossil fuels because the project will not increase crude oil production. Instead, it will
transport the volume of oil already in production in a more efficient and safer manner.
Moreover, this project does not have any appreciable impact on aggregate supply and
demand for crude oil or refined products, whether in the U.S. or globally.

12. What is the depth of the HDD at the two Missouri River crossings?

The anticipated HDD depth at the Missouri River crossing near Williston, ND is 33 feet.
The anticipated HDD depth at the Missouri River crossing on Lake Oahe is 92 feet.

13. How close is the Dakota Access Pipeline to the existing natural gas pipeline at
the Missouri River Crossing near Lake Oahe?

The proposed Dakota Access Pipeline will be approximately 314 feet to the north of the
existing pipeline crossing the Missouri River at Lake Oahe at the location of the HDD




                                                                             USACE DAPL0064126
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exit point on the west side of the river. The proposed Dakota Access Pipeline angles
closer to the existing pipeline as it crosses the Missouri River and will be approximately
78 feet to the north of the existing pipeline crossing at the location of the HDD exit point
on the east side of the river.

14. What is the Corps going to do to protect cultural resources?

The Corps will follow all applicable federal regulations to meet the requirements of
Section 106 of the National Historic Preservation Act. In addition to the surveys the
applicant has completed, the Corps acknowledges the government to government
relationship between the Corps and the Tribes and our trust responsibilities, and we
have sought and will continue to engage in consultation. We have held three
comprehensive consultation meetings, met with individual tribes, and attempted to
accommodate specific requests. As a result of these meetings, we have received
information from the Tribes that is being considered prior to making a final decision.

15. How many regulatory permits will be Issued for each state?

The Corps is reviewing 209 pre-construction notifications (PCN’s) that have been
submitted for the proposed project. They include 2 in North Dakota, 11 in South
Dakota, 65 in Iowa and 131 in Illinois.

16. How do you fix a leak In a pipeline underground?

Addressing a pipeline leak is very dependent on the nature and location of the leak. In
all cases, the leaking section would first be isolated by stopping the flow of oil by means
of shutting Off the pumps and closing the valves. Product within the pipeline segment
would be removed from the isolated segment utilizing a variety of methods which could
include a vacuum system to draw the remaining product to a vacuum truck or by
pushing the crude forward with a specialized pipeline tool. Depending on the location of
the leak and type of failure, the compromised section of pipe would either be repaired
by Department of Transportation, American Petroleum Institute, or industry approved
methodologies or removed and replaced with new pipe in the same location or a new
section installed immediately adjacent to the failed section. In general, if the pipeline
had been conventionally installed where the leak occurred, the pipeline would be
excavated and the leaking section would be repaired or replaced by cutting the section
out and replacing it with a new section. If the leak occurred within a non-typical section,
i.e. a bore or HDD, the section would likely be replaced by the same construction
method adjacent to the original at a slight offset. The old pipe section would then be
 removed where feasible or cleaned, cut, capped, filled with an inert gas (nitrogen) or
water and left in place.

 17. How deep will the pipeline be In the wetland areas?

 No wetlands are present within the Project Area and Connected Action at the Lake
 Oahe crossing based on the wetland delineation field surveys conducted in 2015.




                                                                               USACE DAPL0064127
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The 2015 field wetland investigations identified four wetlands located within the
permanent easement on the flowage easements at the Missouri River crossing. These
wetlands occur over the centerline of a buried pipe associated with a HDD. As such,
the pipeline would be approximately 69 feet below the surface where the wetlands are
located.

Many of the 209 proposed jurisdictional crossings of waters of the United States in the
states of North Dakota, South Dakota, Iowa and Illinois contain wetland areas. These
wetland areas will be crossed in accordance with 49 CFR Part 195.248 which requires a
minimum of 48 inches of cover over the pipe.

18. What is Iowa DNR doing?

We prefer not to speculate on the actions of another agency, therefore we would
suggest contacting the DNR.

19. What is DAPL’s plan if there is a discovery on private lands?

Dakota Access’ Unanticipated Discovery Plan (UDP) was developed for use during all
DAPL Project construction activities regardless of jurisdiction or landownership. The
UDP has been reviewed and approved by the State Historical Society of North Dakota
and describes notification and actions that would take place in the event that an
undocumented cultural resource is discovered during construction activities. The UDP
explicitly calls for work to stop until the correct authority or agency can be contacted and
the find can be properly evaluated. This approved UDP is included as Appendix F of
the EA.

20. How many wetlands will be trenched?

Construction workspace on the flowage easements has been selected based on an
absence of wetlands within the Project Area and, as confirmed by field surveys in 2015,
no wetlands would be impacted by trench excavation within the construction ROW,
ATWS, HDD workspace, or HDD stringing corridor on the flowage easements or
Connected Action. Surface impacts to wetland areas would be limited to periodic
maintenance of the 50-ft operational right-of-way to keep this area free of woody
vegetation greater than 3 inches in diameter at breast height or 20 feet tall and in
compliance with PHMSA regulations.

No wetlands would be impacted by the HDD workspace on private land and the
permanent ROW on federal land at the crossing of Lake Oahe, because no wetlands
exist within the Project Area and Connected Action Area at the Lake Oahe Crossing.

Many of the 209 proposed jurisdictional crossings of waters of the United States in the
states of North Dakota, South Dakota, Iowa and Illinois contain wetland areas. Dakota




                                                                              USACE DAPL0064128
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Access will utilize HDDs at several locations to avoid direct impacts to resources, such
as wetlands and waterbodies, and/or to avoid areas in which constructability by
conventional means is not feasible. Barring any sensitive resources or restrictions, the
majority of minor and intermediate waterbodies including wetlands will typically be
crossed via the conventional open-cut trench and backfill method.


21. What is the makeup o f the river bottom?

In general, the subsurface conditions encountered in the borings at the Northern
Missouri River crossing were consistent with published geology for the area, consisting
of very loose to medium dense sand with varying amounts of silt and gravel, medium
dense to very dense gravel with varying amounts of silt and sand, very soft to hard silt
and hard clay.

In general, the Southern Missouri River crossing the subsurface conditions encountered
in the borings were consistent with the published geology of the area, consisting
predominantly of medium stiff to hard clay with varying amount of sand, overlaid by
medium dense to very dense sand with varying amounts of silt, clay and gravel.


22. Were any artifacts collected on Federal Lands during the surveys?

No artifacts were collected on Federal lands.

23. Who is in charge of overseeing the pipeline construction?

There are four levels of observations and oversight of construction. First, the
Department of Transportation, PHMSA and its direct hire inspectors have the federal
oversight responsibility for the installation of the pipeline to ensure its conformance to
the Federal DOT standards pursuant to 49 CFR Part 195. Second, the North Dakota
Public Services Commission has hired an independent engineer and inspection outfit
called Keitu Engineers & Consultants that will have direct oversight and review of all
construction activities for the project. Third, the USACE has both regulatory oversight
and Section 408 oversight to inspect and ensure compliance with the various approvals
granted for the pipeline in conformance with the permits and approvals granted from the
USACE. Last, the company has the overall responsibility and accountability of the
installation to insure all construction activities conform to the plans, specifications,
permits and approvals for the pipeline. To ensure this process, Dakota Access has
identified two project managers who are employed by Dakota Access that are
responsible and accountable for the project in North Dakota plus there will be multiple
craft inspectors (environmental, archaeological, welding, mechanical, civil, drilling, and
 restoration inspectors) who will oversee the day-to-day construction activities.

 24. Can we have a MOU for inadvertent discoveries?




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The Nationwide Permit verifications that are being reviewed have General Conditions
that address inadvertent discoveries. Specifically Nationwide Permit General Condition
#21 “Discovery o f Previously Unknown Remains and Artifacts” address’s this concern.
In regards to crossings, Omaha District has a standard operating procedure for the
discovery of human remains.




                                                                          USACE DAPL0064130
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Milford Wayne Donaldson, FAIA
Chairman

Teresa Leger de Fernandez
Vice Chairman

John M. Fowler
Executive Director                             Ilf
                                       Preserving A m erica's H e rita g e



June 2, 2016


The Honorable Jo-Ellen Darcy
Assistant Secretary of the Army (Civil Works)
108 Army Pentagon
Washington, DC 20310-0108

Ref:    Dakota Access Pipeline Project

Dear Ms. Darcy:

On May 19, 2016, the Advisory Council on Historic Preservation (ACHP) sent a letter to Lieutenant
General Thomas P. Bostick, Commanding General and Chief of Engineers for the Corps of Engineers,
regarding our objection to effect determinations made by the Corps for the referenced undertaking
pursuant to Section 106 of the National Historic Preservation Act (NHPA) (54 U.S.C. § 300101 et seq.)
and its implementing regulations, “Protection of Historic Properties” (36 C.F.R. Part 800). I wanted to
share a copy of the enclosed letter with you.

Subsequent to conveying our letter to Lieutenant General Bostick, the ACHP met with Energy Transfer,
the projeet proponent, at their request on May 25, 2016, to discuss their involvement in the Dakota Access
Pipeline Project (DAPL). We advised Energy Transfer of our desire for the Corps to participate in this
meeting, but, unfortunately, no Corps representatives attended.

Energy Transfer representatives shared with ACHP staff an overview of the company, the purpose and
need for DAPL, and the efforts it had undertaken to identify historic properties and contact federally
recognized Indian tribes interested in areas along the anticipated project corridor. We understand that
planning for DAPL dates to 2012. Energy Transfer indicated it spent extensive time and resources to
identify historic properties, particularly archaeological sites. This information was provided to Indian
tribes in 2014 and 2015 so they could share any concerns and make known their interest in investigating
areas along the right-of-way. We were advised that consultants for the company had surveyed
approximately 95 percent of the projeet right-of-way for the presence of historic properties, including the
portions of the project outside o f Corps and U.S. Fish and Wildlife (FWS) jurisdiction.

We appreciated receiving this information, however, it does not change the conclusions outlined in our
letters regarding shortcomings in the Section 106 review carried out by the Corps and FWS. We continue
to disagree with the Corps’ findings regarding effects on historic properties and believe a comprehensive
Programmatic Agreement (PA), as we recommended to Lieutenant General Bostick, be developed. The
Corps should consider how the information gathered by Energy Transfer, as well as the information
submitted to the Corps by the Indian tribes, could be used to support the PA. Such a PA could address
multiple procedural issues including the following:


                                ADVISORY COUNCIL O N HISTORIC PRESERVATION
                             401 F Street NW, Suite 308 • Washington, DC 20001-2637
                     Phone: 202-517-0200 • Fax: 202-517-6381 • achp@achp.gov • www.achp.gov


                                                                                              USACE DAPL0064131
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   •   Recognition of varying jurisdiction and authority over components of the DAPL Project;
   •   Completion of an appropriate identification effort and analysis of effects;
   •   Phasing of the Section 106 reviews to facilitate tribal assistance in identification of properties of
       concern to the tribes; and
   •   Consideration of effects to historic properties in portions of the undertaking outside the Corps’
       jurisdiction.

We look forward to assisting the Corps in this endeavor should it choose to resolve our objection by
developing such an agreement. However, we recognize that, per 36 CFR § 800.5(c )(3) of our regulations,
the final decision regarding the effects on historic properties is the responsibility of the Corps.

Should you have any questions or wish to discuss this matter further, please contact Reid Nelson at
(202) 517-0206, or by e-mail at melson@achp.gov.

Sincerely,


         %
John M. Fowler
Executive Director

Enclosure




                                                                                             USACE DAPL0064132
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EXHIBIT LL
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                                                       Operations Division
                                                 Real Estate Routing and Review

    Project:                      Dakota Access Pipeline Consent (Garrison) and Easement (Oahe)


    Date Received:                5/26/2016

    POC Field Office:          Wade Spooner/Jeremy Thury
    POC District Office:       Brent Cossette




                                                                                    Date                                               Signature
                                                                            HARLON.WILLIAM D.III.12583128S
    Environm ental Compliance, OD-TN

    S ustainability, OD-TN                                                    C 0 S S E T T E ,B R E N T J A M E S .1 2 4 9 3 6 4 2 8 9 '-H '* S S ^ ^ “   '~ “



    Environm ental Stewardship, OD-TN                                         COSSETTE.BRENTjAMES.l 2493B 42S 9


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    Dam Safety, ED-GB                                                        WORDEN.ROBEilT.J.1231346097


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    408 Review

    NEPA, Eric Laux                                                         L A U X . E ^ A l 231341427



t
    Chief, OD-TN: JCeily-Crefie

    Chief, OD-T: Larry D. Janis




                                                                                                                                           USAGE DAPL0071180
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                                         DEPARTMENT OF THE ARMY
                                        CORPS OF ENGINEERS. OMAHA DISTRICT
                                               1616 CAPITOL AVENUE
                                               OMAHA NE 68102-4901
                REPLY TO
                ATTENTION OF




       CENWO-OD-T                                                                          10 June 2016


       MEMORANDUM FOR Commander, U.S. Army Corps of Engineers, Omaha District (Henderson)

SUBJECT: Dakota Access Pipeline Project, Garrison Project (Consent Flowage Easements), Oahe Project
                                                 (Easement)

       1. References:

         a. EC 1165-2-216, Policy and Procedural Guidance for Processing Requests to Alter US
       Army Corps of Engineers Civil Works Project Pursuant to 33 USC 408.

          b. NWDR 1110-2-5, Land Development Guidance at Corps Reservoir Projects

       2. In accordance with reference 1.a., enclosed for District-level approval is the proposal for
       modification and alteration of the Garrison Project on Corps fee property. The modification has
       undergone an agency review (ATR) by the Omaha District (NWO) and is recommended for
       approval as the request has been determined to not be injurious to the public interest and not
       impair the usefulness of work built by the United States.

       3. Background:

          a. The Dakota Access, LLC, (Dakota Access) is requesting an easement on Corps-
       owned lands with a 30- inch light crude oil pipeline. The pipeline will cross under the
       Missouri River (Lake Sakakawea) via horizontal directional drill (HDD) and continues south
       to Lake Oahe and crosses under Lake Oahe with a second HDD. The project will begin
       near Stanley, North Dakota and end at Patoka, Illinois. The total length of the pipeline is
       about 1,100 miles.

           b. Corps technical reviewers have reviewed and have determined the request to not be
       injurious to the public interest and not impair the usefulness of work built by the United
       States.

       4. The point of contact for this project and/or issues regarding this application is
       Mr. Brent Cossette, Natural Resources Specialist, CENWO-OD-TN, 402-995-2712 or
       brent.i.cossette@usace.armv.mil.




       3 Ends                                /      /LA R R Y D,.JANIS
       1. Summary of Findings              /          Chief, Recreation and Natural Resources Branch
       2. Technical Review Package
       3. Finding of No Significant Impact


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CENWO-OD-T
 SUBJECT: Dakota Access Pipeline Project, Garrison Project (Consent Flowage Easements),
                               Oahe Project (Easement)



                           DISTRICT COMMANDER’S APPROVAL
                                          OF
                            SECTION 408 DECISION DOCUMENT

I attest that the Decision Document for the Dakota Access Pipeline Project is consistent with
Army policy, and has been reviewed for legal sufficiency by District Counsel. Accordingly, I
approve this Decision Document


                                                   2 5 JUL 20ie
   )HN W. HENDERSON                                     Date
^Colonel, Corps of Engineers
 District Commander




                                                                             USAGE DAPL0071182
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                                             OMAHA DISTRICT, CORPS OF ENGINEERS
                                                  CERTIFICATION CHECKLIST
                      TO ALTER US A R M Y CORPS OF ENGINEERS CIVIL W O R KS P R O JE C TS PUR SUANT TO
                                                       33 USC 408


                    Dakota Access Pipeline Project, Garrison (Consent Flow age Easem ents), O atie Project (Easem ent)



  Ttie Dakota Access, LLC, (Dakota A ccess) is requesting an easem ent on Corps-owned lands with a 30- inch light crude oil
  pipeline. The pipeline will cross under the Missouri R iver (Lake Sakakawea) via horizontal directional drill (HDD) and continues
  south to Lake O ahe and crosses under Lake Oahe w ith a second HDD. The project will begin near Stanley, North Dakota and
  end at Patoka, Illinois. T h e to ta i length of the pipeline is about 1,100 miles.

  33 U.S.C. § 408 prohibits non-federal entities from building upon, altering, destroying, injuring or in any m anner whatever
  impairing the usefulness o f any w ork built by the United States for the preservation and im provem ent o f navigable w aters or to
  prevent floods. Before any construction, including horizontal drilling and laying pipeline, m ay com m ence within the boundaries of
  the Corps projects, the Secretary o f the Army m ust grant permission for such alteration, occupation or use of navigation and
  flood control structures when in the judgm ent of the Secretary such occupation or use will not be injurious to the public interest
  and will not im pair the usefulness of such work.

  The proposed activities will not im pair the usefulness o f a USACE project and are not injurious to the public interest.




                          Representing
                           Authorized           Not injurious to public interest or         Comments
     Office                                                                                                            Signature/Date
                           Purpose for                  Project Purposes                    (Attached)
                             Project
                                                Concur     Non-Concur         N/A
                                                                                                               C O SS ETTE .B R E S ' i S S ,
   Operations              Recreation                                                   See N /A on Request    N T .JA M E S .12493
                                                                                             Package           64289

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  Section 408                   All
  Coordinator

Office of Counsel               All
   Certification

  Chief OD-TN                   All


  Chief OD-T




                                                                                                               USACE DAPL0071183
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                                 SUMMARY OF FINDINGS
                           PURSUANT 33 USC 408 and EC 1165-2-21 i

  Dakota Access Pipeline Project, Garrison Project {Consent Flowage Easements), Oahe
                                   Project (Easement)

 Summary of Rationale and Conclusion (EC 1165-2-216, Par 7(c)(5)(a)): The Dakota
 Access, LLC, is requesting an easement on Corps-owned lands with a 30- inch light crude
 oil pipeline. The pipeline will cross under the Missouri River (Lake Sakakawea) via
 horizontal directional drill (HDD) and continues south to Lake Oahe and crosses under Lake
 Oahe with a second HDD. The project will begin near Stanley, North Dakota and end at
 Patoka, Illinois. The total length of the pipeline is about 1,100 miles.


Written Request (EC 1165-2-216, Par 7(c)(5)(b)): See attached.

Project History, Description, and Authorization (EC 1165-2-216, Par 7(c)(5)(c&d)): The
Garrison Dam/Lake Sakakawea Project was authorized on December 22"'*, 1944, by the Flood
Control Act of 1944, Public Law 534, 78‘^ Congress,     session, along with four other Missouri
River main stem projects. The project was authorized for flood control, navigation, irrigation,
hydropower, municipal and industrial water supply, fish and wildlife, recreation and other
purposes.

The Oahe Project was authorized by the Flood Control Act of 1944, Public Law 534, 78''’
Congress, 2"'' Session, along with four other Missouri River main stem projects - Gavins Point,
Fort Randall, Big Bend, and Garrison. These five reservoirs are elements of a plan for the
development of the Missouri River main stem.

Section 408 Determination: The Section 408 ATRT recommending a Section 408
determination consists of subject matter experts in the following offices; operations, real estate,
regulatory, office of counsel, engineering, planning, and emergency management. '

       Impact to the Usefyl,D,,esg^of.the USACE Project Determination (BC 11fifi-?-?iR Par
       ZCg.)..C5,M,§j); Due to the proposed pipeline request, the ATRT members determined this
       request will not limit the ability of either the Garrison or Oahe Projects to function as
       authorized and will not compromise or change any authorized project conditions,
       purposes, or outputs. Reference attached memos of the request package.

   2- iniurious to the Public Interest Determination (EC 1165-2-216. Par 7fc¥5)fffl: The
      ATRT members considered all mitigation measures in the environmental assessment
      along with conditions for the easement and believe this development will not be injurious
      to the public interest.

Policy Compliance Certification (EC 1165-2-216, Par 7(c)(5)(g)): Each ATRT member has
reviewed this request in accordance with applicable policies and regulations. Please see
attached certification checklist.




                                                                                     USACE DAPL0071184
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 Certification of Legal Sufficiency (EC 1165-2-216, Par 7(c)(5Mh)): District Office of Counsel
 concurs that the proposal meets all legal and policy requirements. See attached certification
 checklist.

 Certification of Adequate Real Estate Docunnentation (EC 1165-2-216, Par 7(c)(5)(i)|: Chief
 of the District Real Estate Division concurs that the real estate documentation is adeouate See
 attached certification checklist.

 USACE Studies (EC 1165-2-216, Par 7(c)(5)(j)): There are no ongoing USAGE studies that
 relate to this proposed request.

Operations & Maintenance (O&M) Manual (EC 1165-2-216, Par 7(c)(5)(k)): There will be no
assumed responsibilities or costs for USACE for this proposed request, therefore, no changes
or impacts will occur to the O&M Manual. Dakota Access LLC will be responsible to O&M per
their Corps easement.

Project Partnership Agreement (PPA) or Cooperative Agreement Changes (EC 1165-2-
216, Par 7(c)(5)(l)); Not applicable.

Environmental Compliance (EC 1165-2-216, Par 7(c)(5)(m)); A decision on a Section 408
request is a federal action, and therefore subject to the National Environmental Policy Act
(NEPA) and other environmental compliance requirements. An Environmental Assessment was
conducted and is attached.

Finding of No Significant Impact (FONSI)/Record of Decision (ROD) (EC 1165-2-216, Par
7(c)(5)(n)): The proposed request was reviewed in accordance with NEPA regulations and was
found to need an environmental assessment. A mitigated FONSI was Issued and Is attached.

Funds Pursuant Section 214 (EC 1165-2-216, Par 7(c)(5)(o)): Not applicable.

Final Conclusions or Information (EC 1165-2-216, Par 7(c)(5)(p)):

                      Level: Certain proposed alterations, once recommended by the District
and Division Commanders, will require a final decision by the Director of Civil Works at
HQUSACE If any of the seven questions listed in the EC 1165-2-216 are answered “yes” None
of the questions were answered “yes" for this proposal; therefore, a Section 408 decision may
be rendered by the District Commander.




                                                        T///M
Brent Cossette                                     Date
Section 408 Coordinator, Corps of Engineers
Omaha District




                                                                                 USACE DAPL0071185
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                                     APPENDIX B-1
            Vicinity Map of Proposed Request Located on Garrison Project, ND




t   earth




                                                                         USACE DAPL0071186
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                                  J.W   ■
          P ip e lin e Crossing

                                                 f ^ >lisEff !    ^
                                                                 Ha




                                            Oahe<Dam




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                               Section 408 Determination Checklist

                                         Determination Checklist
                              US Army Corps of Engineers, Omaha District
                                        Per EC 1165-2-216

                                                 Exemptions

11     Alterations performed by District as part of a federally authorized project.


□
       Alterations performed by the non-federa! Sponsor that are specified in the Operations,
       Maintenance, Repair, Replacement, and Rehabilitation Manual, Including repair, replacement, and
       rehabilitation alterations described under §5 1of ER 1110-2-401.

□      Routine Operations and Maintenance activities specified in the O&M manual.


□      Alterations compliant with an approved Project Master Plan, Shoreline Management Plan, or
       Operational Management Plan.

□      Real Estate Outgrants issued to implement an approved Project Master Plan, Shoreline
       Management Plan, or Operational Management Plan.


□
       Alterations included within Real Estate Outgrants Issued pursuant to the procedures in ER/EP
       1130-2-550, Chapters 16 or 17, except for alterations that need to be reviewed in accordance to
       Appendix B-E of EC 1165-2-216.

U      Alterations undertaken by a non-federal sponsor as an in kind contribution for an authorized
       USACE proiect pursuant to an executed project partnership agreement

□      Requests for alterations received by District for review or coordination before 31 July 2014,
       however, requests for alterations received prior to 31 July 2014 will continue to be reviewed under
       EC 1165-2-214 and prior 33 USC 408 reviews.
                                         Cateaorlcal Permissions

□                                   (list currently being compiled for approval)


                                        HQUSACE Decision Level
yes    no

□0           Does the proposed alteration require a Type II lEPR (Safety Assurance Review) reference


□0
             EC 1165-2-214?
             Does the proposed alteration require an Environmental Impact Statement (EIS) in which
             USACE is the lead agency?

□0           Does the proposed alteration change how the USACE project will meet its authorized
             purpose?

□0           Does the proposed alteration preclude or negatively Impact alternatives for a current
             General Investigation (Gl) or other study?

□0           Is the non-federal sponsor for a USACE project proposing to undertake the alteration as In-
             kind contributions eligible for credit under Section 221 of Flood Control Act of 1970, as


□0
             amended?
             Is the proposed alteration for installation of hydropower facilities?


□0
            Is there a desire for USACE to assume operations and maintenance responsibilities of the
            proposed navigation alteration pursuant to Section 204(f) of Water Resources Development
            ActfWRDA) of 1986?
                                    District/Division Decision Level

0     Request is not applicable in any of the above categories and recommendation is for District Level
      Section 408 Determination.

□     Request is not applicable in any of the above categories and recommendation is for Division Level
      Section 408 Determination.




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                                                                                                                     Requester Checklist
                                                                                                            S e c tio n 4 0 8 W ritte n R e q u e s ts
                                                                                          U S A rm y C o rp s o f E n g in e e rs , O m a h a D i s t r i c t


                         General: Requester is responsible for providing all information that identifies as necessary to
                         satisfy all applicable federal laws, executive orders, regulations, policies, and ordinances.
                                                                                               W ritten R equest (E C 1165-2-216 P ar 7(c)(2))
   C om plete D escription:                                                           [ X ] draw ings, sketches, m aps, and plans su fficie n t to determ ine the purpose scope and
                                                                                           location                                                                                           ’
   A lso Pursuing S ection 10/404/103                                                1   ]N o                                          ^--------------------------------------------------------------
   perm its?                                                                          r X 1 Y es
   Indicate if also seeking:                                                          [  ] credit under Section 221 o f the F lo o d Control A c t o f 1970

                                                                                      [ ] credit under Section 204(f) o f W R D A 1986
                                                                                      [ X 1 N ot A p p lic a b le -N o t A pplicable___________
  W ill require the use o f federally ow ned                                          [ JN o
  real property?
                                                                                      [ X ] Y es, this request requires the use o f federally-ow ned real p ro p erty or property ow ned by
                                                                                      the non-federal sponsor._________
  Is there a non-federal sponsor?                                                     [X JN o
                                                                                      [ ] Y es, the request originates from the non -fed eral sponsor
                                           L J       ^ w ritten statem ent from the non-federal sp o n so r endorsing th e alteration is included
                                  R equired D ocum entation for A ll R equests (E C 1165-2-216 P a r 7fc)(3)>
 T echnical A nalysis and D esign          [ X ] project design is at 60% or m ore o f final d esig n
 H ydrologic and H ydraulics System
                                           [ X ] N o, not required and justification included - P roposes p ro ject is located above the flood
 P erfo rm ance A nalysis
                                           pool w ith no potential hydrologic im pacts, therefore, perform ance analysis is n ot applicable
                                           [ 1 Y es_____________________
 E nvironm ental C om pliance              [X ] N E PA com pleted and attached                                                           ^
                                                                                     [ X ] E A com pleted and attached ( if applicable)
                                                                                     [ ] EIS com pleted and attached (if applicable)
                                                                                     [ ] A dditional environm ental com pliance requirem ents included
 D escription o f R eal Estate                                                       [ ] Included in a com pleted R ight o f A vailability checklist
 R equirem ents                                                                      [ X ] Included in the w ritten request
                                                                                     [ ] N o t A pplicable


 E xecutive O rder 11988 Considerations                                             [ ] Sufficient inform ation is included in th e w ritten request.
                                                                                    [ X ] N ot A pplicable - A lteration w ill n o t be located w ithin flood plain.
R equester R eview P lan                                                            [ X ] N o requester review plan is needed.
                                                                                    [ ] A requester review plan w as determ ined necessary b y D istrict and is included.
                                                                                   J ] R equest requires a T ype II lE P R an d requester review plan is req u ired and is Tnchidpd
O perations & M aintenance                                                          [X  ] no O & M w ill be necessary
                                                                                    r v 1 t i n r \ j p r A / f ____________ ______ ________ ______________ *----------------------------------------------------------------------------------


                                                                                    [ ] O & M w ill be n ecessary and U SA C E w ill assum e; ju stificatio n for augm enting O & M is
                                                                                        provided
                                                                                    [ ] O & M w ill be n ecessary and w ill be perform ed by th e non-federal sponsor; inform ation for
                                                                                        updating the O & M m anual is provided __________
O ther Inform ation                        [ ^ ] U SA C E determ ines no other inform ation is required from requester
                                            —] U SA C E determ ines other inform ation is required and is attached in the subm ittal
                                      F or D am s and R eservoirs • See A ttached E ngineering M emos
S ee EC 1165-2-216, A ppendix B P art B-4 R equirem ents
                               F o r N on-F ederal Hydropow er D evelopm ent at U SA C E Facilities: tN /A i
See EC 1165-2-216, A ppendix C P art C-4A TR> equirem       ents
                                                 : __ ---------------------------------------------------------------------------------------------------------------------------------------------------------


                               F pr Levee, F loodw all o r Flood R isk M anagem ent C hannel Projects (N /A )
S ee EC 1165-2-216, A ppendix D P art D -4 R equirem ents
                                  F o r N avigation C hannels, Jetties. B ridges, an d oth er Features (N /A )
See EC 1165-2-216, A ppendix E P art E-4 R equirem ents




                                                                                                                                                                                                                  USACE DAPL0071189
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                              DEPARTMENT OF THE ARMY
                             CORPS OF ENGINEERS, OMAHA DISTRICT
                                    1616 CAPITOL AVENUE
                                    OMAHA NE 68102-4901




CENWO-OD-TN                                                                10 June 2016


MEMORANDUM FOR RECORD

SUBJECT: Dakota Access Pipeline Consent to Flowage Easements - Garrison Project

1. Dakota Access, LLC, (Dakota Access) is requesting a consent to multiple
flowage easements at Lake Sakakawea for a 24 inch light crude oil pipeline.

The pipeline would cross under the Missouri River via horizontal directional drill
(HDD) and continue south to Lake Oahe and cross Lake Oahe with a second HDD.
The project will begin near Stanley, North Dakota and end at Patoka, Illinois. The
total length of the pipeline is about 1,100 miles.

Relative to the Garrison Project Office, Dakota Access is requesting a consent to
flowage easement for a 24 inch diameter light crude oil pipeline.

2. Please place the following special conditions on the consent to easement:

   a. All environmental commitments in the Environmental Assessment and Finding of
      No Significant Impact must be conducted and incorporated by reference.

   b. Pipeline must be maintained and operated per ASME B31.3, B31.4, B31.8, CFR
      192, CFR 195, API 1104, and related codes.

   c. Cathodic Protection will be operated and maintained per applicable codes and
      Dakota Access’s Operations and Maintenance Manual. Wall thickness testing
      will be performed on a 5 year interval through the use of in-line inspection. The
      periodic in-line inspection will be performed in-lieu of periodic hydro tests.
      Inspection reports must be sent to the Garrison Project Office.

   d. The Facility Response Plan will be submitted to the United States Army Corps of
      Engineers (USACE) for review prior to the operation of the pipeline.

   e. All plans not final at the time the Environmental Assessment is complete will be
      submitted to the USACE for review and the incorporation of USACE comments
      prior to submittal to PHMSA.

      These plans include, but are not limited to the;
         a. Geographical Response Plan
         b. Operations and Maintenance Manual
         c. Risk Assessment (Integrity Management Plan)



                                     Printed on
                                                  0   Recycled Paper




                                                                           USACE DAPL0071190
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          d. Spill Models (Using the National Hydrography Dataset by the USGS)

 f.    Any plans that have been updated in condition “d” must be sent to USACE
       Environmental Compliance Coordinators at the Omaha District Office and the             '
       Garrison Project Office within one year of the update.

 g. Must provide as-built drawings for the crossing of the Missouri River to the
    USACE Section 408 Coordinator Omaha District Office and the Operations
    Project Manager Garrison Project Office within 6 months of the completion of
    pipeline construction.

 h. Commitment for Training Exercises;
      a. Must conduct full scale open water and full scale wlnter/ice exercises that
         at Lake Sakakawea and Lake Oahe. A full scale exercise will occur once
         every 3 years {triennial cycle) with the location and type of exercise
         occurring on alternating schedules (e.g. open water exercise at Oahe the
         first triennial cycle, followed by winter exercise at Sakakawea the following
         triennial cycle, followed by a winter exercise at Oahe the following triennial
         cycle, etc.). The first exercise will occur within the first 3 years after the
         pipeline becomes operational,

          b. To facilitate USACE staff involvement, Dakota Access must notify the
             USACE Environmental Compliance Coordinators at the Omaha District
             Office and the Garrison Project Office at least ninety (90) days prior to
             initiation of the training exercises. Dakota Access must also solicit the
             participation of key stakeholders (federal, state, local, and Tribal) in these
             exercises.

i.    W ithin one year o f operation of the pipeline, DAPL must provide for an all-
      weather access and collection point downstream of the Lake Sakakawea
      Missouri River HDD crossing. DAPL must provide an equipment storage facility
      on non-federal lands that includes a fenced permanent storage area for winter
      and open water spill response equipment. The storage facility should be placed
      in a strategic location and near existing facilities that would support access to the
      water. DAPL would coordinate with the USACE and any other applicable
      stakeholders to obtain all necessary permits and approvals prior to construction
      for any ground disturbing activities associated with these facilities. The storage
      facility should contain sufficient response equipment at a minimum to mitigate an
      unintended worst case release for this crossing.




                                              BRENT J. COSSETTE
                                              Section 408 Coordinator, Omaha District




                                                                              USACE DAPL0071191
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                              DEPARTMENT OF THE ARMY
                             CORPS OF ENGINEERS, OMAHA DISTRICT
                                  GARRISON PROJECT OFFICE
                                         PO BOX S27
                             RIVERDALE, NORTH DAKOTA 58565-0527



CENWO-OD-GA                                                          19 May 2016


MEMORANDUM THRU

Garrison Project Office, Omaha District (CENWO-OD-GA), (Lindquist)

Recreation and Natural Resource Branch, Omaha District, Corps of Engineers
      (CENWO-OD-TN), (Cossette)

FOR Real Estate Branch, Omaha District, Corps of Engineers (CENWO-RE), (Noel)

SUBJECT: Dakota Access, LLC. Construction of Dakota Access Pipeline (DAPL)
crossing flowage easements LL3440E, LL3483E-1, LL3453E, LL3430E, LL3450E-2,
LL3431E & LL3426E-2 north of Lake Sakakawea/Missouri River in Williams Counties,
ND.

1. An application has been submitted to the U.S. Army Corps of Engineers (USACE)
   Gamson Project Office by Dakota Access, LLC to receive a Consent to Easement
   for the construction, operation. & maintenance of 1,100 miles of 12-30” diameter
   crude oil pipeline under Lake Sakakawea in Williams Counties.

          1. The 24" dia. Pipeline is proposed to cross sections 7 ,1 8 ,1 9 & 30
             Township 153N, Range 103W on USACE flowage easements LL3440E,
             LL3483E-1, LL3453E, LL3430E, LL34350E-2, LL3431E& LL3426E-2 on
             the North side of Lake Sakakawea/ Missouri River for 2.83 miles.


         2. Construction workspace needed to trench in pipeline and stage HDD
            boring site within flowage easements totals 59.3 ac.


   2. The proposed installation for this project is to open cut and trench on flowage
      easements and cross the river using HDD.

  3. Review by Natural Resource staff indicated the following conditions;




                                                                            USACE DAPL0071192
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         1. No impacts to USACE fee title land is proposed. All activity proposed Is
            located on USACE flowfage easement on private land.

         2. All environmental commitments In the Environmental Assessment, Finding
            of No Significant Impact, and Plan of Development submitted by Dakota
            Access and all conservation recommendations in the Biological Opinion as
            applicable and are hereby Incorporated by reference

        3. This pipeline Is also crossing the Missouri River for .21 miles on Corps
           Fee title land at Lake Oahe. This segment of the project is not reflected in
           this memo and was not reviewed by the Garrison Project Office.

        4. An Environmental Assessment has been completed on the flowage easement
           crossing and is currently being reviewed by USACE within the project and
           Omaha district office.


  4. Garrison Project Natural Resource Staff recommends consent to easement.
     Point of contact is Jeremy J. Thury. Phone: 701-654-7761.

  5. For Your Action.




End                            ALFRED C, STONESIFER
ROA packet                     Supervisory Natural Resource Specialist




     CONCURRENCES:

  a. CENWO-OD-GA concurs with the above recommendation.


                               Signature:

                               Todd J. Lindquist
                               Operation Project Manager




                                                                          USACE DAPL0071193
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                            Garrison Project, ND

                            Date:^ / ^ y         :?0 / 6>


b. CENWO-OD-T concurs with the finding of no significant environmental concerns
   and the recommendations for resolution of th^encroachments, based on the
   attached documentation.

                            Signatu^

                            Larry D/jams'"
                            Chief. Recreation and Natural Resource Branch
                            Omaha District

                            Date : 7 / n / / 4




                                                                    USACE DAPL0071194
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                             DEPARTMENT OF THE ARMY
                            CORPS OF ENGINEERS, OMAHA DISTRICT
                                 GARRISON PROJECT OFFICE
                                        PO BOX 527
                            RIVERDALE, NORTH DAKOTA 58565-0527




CENWO-OD-GA                                                         19 May 2016


MEMORANDUM THRU

Garrison Project Office, Omaha District (CENWO-OD-GA), (Lindquist)

Recreation and Natural Resource Branch, Omaha District, Corps of Engineers
      (CENWO-OD-TN), (Cossette)

FOR Real Estate Branch, Omaha District, Corps of Engineers (CENWO-RE), (Noel)

SUBJECT: Dakota Access, LLC. Construction of Dakota Access Pipeline (DAPL)
crossing flowage easements LL3440E, LL3483E-1, LL3453E, LL3430E, LL3450E-2,
LL3431E & LL3426E-2 north of Lake Sakakawea/Missouri River in Williams Counties,
ND.

1. An application has been submitted to the U.S. Army Corps of Engineers (USACE)
   Garrison Project Office by Dakota Access, LLC to receive a Consent to Easement
   for the construction, operation, & maintenance of 1,100 miles of 12-30” diameter
   crude oil pipeline under Lake Sakakawea in Williams Counties.

          1. The 24” dia. Pipeline is proposed to cross sections 7, 18, 19 & 30
             Township 153N, Range 103W on USACE flowage easements LL3440E,
             LL3483E-1, LL3453E, LL3430E, LL34350E-2, LL3431E & LL3426E-2 on
             the North side of Lake Sakakawea/ Missouri River for 2.83 miles.


         2. Construction workspace needed to trench in pipeline and stage HDD
            boring site within flowage easements totals 59.3 ac.


   2. The proposed installation for this project is to open cut and trench on flowage
      easements and cross the river using HDD.

   3. Review by Natural Resource staff indicated the following conditions:




                                                                           USACE DAPL0071195
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        1. No impacts to USACE fee title land is proposed. All activity proposed is
           located on USACE flowage easement on private land.

        2. All environmental commitments In the Environmental Assessment, Finding
           of No Significant Impact, and Plan of Development submitted by Dakota
           Access and all conservation recommendations In the Biological Opinion as
           applicable and are hereby Incorporated by reference

        3. This pipeline Is also crossing the Missouri River for .21 miles on Corps
           Fee title land at Lake Oahe. This segment of the project Is not reflected in
           this memo and was not reviewed by the Garrison Project Office.

        4. An Environmental Assessment has been completed on the flowage easement
           crossing and Is currently being reviewed by USACE within the project and
           Omaha district office.


  4. Garrison Project Natural Resource Staff recommends consent to easement.
     Point of contact Is Jeremy J. Thury. Phone; 701-654-7761.

  5. For Your Action.




End                            ALFRED C. STONESIFER
ROA packet                     Supervisory Natural Resource Specialist




     CONCURRENCES:

  a. CENWO-OD-GA concurs with the above recommendation.


                                Signature:

                                Todd J. Lindquist
                                Operation Project Manager




                                                                         USACE DAPL0071196
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                            Garrison Project, ND

                            Date:


b. CENWO-OD-T concurs with the finding of no significant environmental concerns
   and the recommendations for resolution of the encroachments, based on the
   attached documentation.

                            Signature:_________________________

                            Larry D. Janis
                            Chief, Recreation and Natural Resource Branch
                            Omaha District

                            Date:




                                                                   USACE DAPL0071197
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                DAKOTA ACCESS, LLC



VIA EMAIL


O ctober 7, 2015


Brent Cossette
N atural Resource Specialist
E nvironm ental Stewardship
CENWO-OD-TN
United States A rm y Corps o f Engineers, Omaha D istrict
1616 Capital Avenue, Suite 9000
Omaha, NE 68102
B rentJ.Cossette@ usace.arm y.m il


Re:     Updated Request for Consent to Easement Across Flowage and Saturation
        Easements for the Proposed Dakota Access Pipeline Project in Williams County,
        North Dakota


Dear M r. Cossette:


Dakota Access, LLC, (Dakota Access) is proposing th e Dakota Access Pipeline (DAPL) Project;
an approxim ate 1,100 m ile long, 12- to 30-inch d ia m e te r light crude oil pipeline project
beginning near Stanley, N orth Dakota, and ro u ting th ro u g h South Dakota, Iowa and ending at
Patoka, Illinois.


DAPL is proposed to cross private lands w hich the U.S. Corps o f Engineers (Corps) has seven
flow age and sa turation easem ents over (Figure 1), associated w ith the B uford-T renton-
Irrigation D istrict (Garrison Dam) and n o rth o f Lake Sakakawea/ M issouri River.                    It is
understood th a t due to these crossings, th e Corps w ill need to provide consent to easem ent
fo r th e pipeline to be constructed and installed on lands w here Corps has easements.


Dakota Access has p erfo rm ed e nviron m e n tal and geotechnlcal analysis o f the subsurface at
these crossings to d ete rm in e e n viron m e n tal fea tu re s and feasible crossing m ethods.         It is
a nticipa ted   th a t   the   pipeline    w ill   cross   the   flow age   easem ents   via    conventional
tre n c h /b a c k fill m ethod; this a d d itio n a lly includes a p o rtio n o f the planned horizontal
dire ction a l d rill (HDD) e n try p o in t fo r th e Lake Sakakaw ea/M issouri River crossing (Figure 2).


The purpose o f this le tte r is to provide an update to the fo rm a l request fo r in itia tio n o f the
Corps consent to easem ent process dated M arch 9, 2015. The fo llo w in g provides a dd itio n al
in fo rm a tio n regarding this request.




                                                                                                   1 I Pa g e




                                                                                               USACE DAPL0071198
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              DAKOTA ACCESS, LLC




DAPL Project Crossing Corps Easements
The proposed 24-inch d ia m e te r pipeline in this location o f the DAPL Project w ill cross seven
(7) contiguous Corps flow age          and sa turation      easem ents on the         n orth   side o f Lake
Sakakaw ea/M issouri River fo r a pp ro xim a te ly 2.97 miles.          The proposed pipeline w ill cross
Corps easem ents id e n tifie d below in the respective section, tow nsh ip , range and co un ty and
as depicted in the attached Figures 1 and 2.



                            LL3440E                    152N                 103W           19, 20, 29, 30
                           LL3483E-1                   152N                  103W               19, 20
                            LL3453E                    152N                  103W               18, 19
 Williams
                            LL3430E                    152N                  103W               18, 19
                           LL3450E-2                   152N                 103W                 18
                            LL3431E                    152N                 103W                7, 18
                           LL3426E-2                   152N                 103W                  7


Dakota Access is securing a 50 fo o t w id e p erm anent easem ent along the entire Project
a lig nm en t th a t is generally centered on the pipeline (i.e. 25 fe e t on e ith e r side o f the
centerline). Based upon Corps provided easem ent docum ents and m apping, Dakota Access
understands th a t the distance across Corps flow age and sa turation easem ent areas n orth o f
the M issouri River is a pp ro xim a te ly 15,692 fe e t (2.97 miles).


Dakota Access p erfo rm ed a geotechnlcal boring program to assess soil and geology to assist
w ith design o f the HDD (Figure 2). Tw o soil borings w ere advanced on the p ro p e rty w here
Corps has easements. The plan is to establish the HDD e n try p o in t on the n o rth side o f the
rive r and the HDD exit p o in t on th e south side o f the river. A te m p o ra ry workspace, w hich
measures app ro xim a te ly 200 fe e t by 250 fe e t w ill be used on the Corps easem ents to
fa c ilita te th e M issouri River HDD on th e n o rth side o f the river.          The HDD w ill result in
a pp ro xim a te ly 1,570 fe e t o f pipeline on Corps easements.


For a ctivities associated w ith th e in stallatio n o f HDD and th e h ydrosta tic testin g o f the HDD
segm ent, Dakota Access plans to w ith d ra w a l w a te r fro m th e M issouri River.           A cquisition
points w o u ld coincide w ith the proposed pipeline crossing o f the river. The pum p w ill be set
on a barge o r flo a t anchored ju st offshore o f each bank at the proposed perm anent
easem ent. The b a rg e /flo a t w o u ld be a pp ro xim a te ly 12 fe e t w ide by 14 fe e t long and fitte d
w ith a secondary co n ta in m e n t stru cture .   The pum p's intake hose w ill be e ig ht inches in
d ia m e te r and connect the screened intake to the pum p. The intake hose w ill push the w a te r
fro m th e pum p to th e to p o f bank and the n to the HDD e q u ip m e n t o r pipeline section. The


                                                                                                      2 I Pa g e




                                                                                               USACE DAPL0071199
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             DAKOTA ACCESS, LLC


intake hose w o u ld be te m p o ra rily (during constru ctio n only) located w ith in the 5 0-fo o t
perm anent pipeline easem ent (Figure 2).         No ground disturbance along the perm anent
easem ent is anticipated.


Dakota Access plans to install rem aining pipeline using conventional open-cut co nstru ctio n
m ethods on Corps flow age and sa tu ra tio n easem ent lands n orth o f the HDD e n try point.
A fte r pipeline in stallatio n is com pleted th e re w ill be no above ground facilitie s associated
w ith the pipeline. The proposed typical co nstru ctio n easem ent fo r the DAPL is 150 fe e t w ide
(and includes the 50 fe e t o f p erm anent easem ent as indicated in Figure 3). A dd itio n al
te m p o ra ry w orkspace is included at road crossings and change in pipe alignm ent.              All
dim ensions and a dd itio n al co nstru ctio n in fo rm a tio n are included in the E nvironm ental
Assessment (EA).


We appreciate yo u r assistance w ith th is request fo r Corps consent to cross flow age and
sa tu ra tio n easem ent areas n o rth o f th e M issouri River. W e understand the M arch 9, 2015
fo rm a l DAPL Project request fo r consent to easem ent fro m the Corps o fficia lly in itia te d the
Corps real estate process. W e fu rth e r understand th a t the e nviron m e n tal review fo r crossing
these easem ents w ill be com bined w ith the e nviron m e n tal review fo r the proposed DAPL
crossing o f the Corps ow ned lands at Lake Oahe.


Should you have any questions o r com m ents, o r require any o th e r in fo rm a tio n fo r this
request, please co nta ct me at 713.989.7186, M onica.H ow ard(5)enerevtransfer.com , o r at
Dakota Access, LLC, c/o M onica Howard, 1300 M ain S treet Rm 14.030, Houston, IX 77002.


Sincerely,


Dakota Access, LLC




M onica Howard
D irecto r E nvironm ental Sciences




Enc.    Figure 1 - Corps Flowage and S aturation Easement Areas Crossed by Proposed DAPL
        Project
        Figure 2 - DAPL Project Layout
        Figure 3 - DAPL Project Typical ROW C onfiguration



                                                                                            3 I Pa g e




                                                                                      USACE DAPL0071200
     Case 1:16-cv-01534-JEB Document 185-1 Filed 03/23/17 Page 526 of 607



CENWO-ED-G                                                                     j, fi DEC 2015


M E M O RANDU M TH R U CHiEF, E NG INEERING DIVISIO N

M EM O RANDU M FO R C E N W O -O D -TN /C O S SE TTE

SUBJECT: Dakota A ccess Pipeline Project Crossing o f Lake Oahe



The U.S. A rm y Corps of Engineers (USACE), Omaha District (Corps) received an A pplicant’s
T echnical S upplem ent fo r a proposed Dakota Access Pipeline Horizontal Directional Drilling
(H D D ) crossing o f Lake O ahe in Morton and Emmons Counties, North Dakota fo r the installation
o f a 30” diam eter steel pipeline fo r transportation o f crude oil from the Bakken and Three Forks
plays in North Dakota and South Dakota to points east.

O ahe Dam, including Lake Oahe, is a congressionally authorized and federally constructed
project along the M issouri River. The US A rm y Corps o f Engineers m aintains and operates
O ahe Dam and Lake Oahe, in cooperation with other agencies. The Corps has a
congressionally m andated responsibility to ensure that the federally constructed projects are
appropriately operated and m aintained. No im provem ents shall be passed over, under, or
through the walls, levees, im proved channels or floodways; nor shall any excavation or
construction be permitted within the lim its o f the projects right-of-way, nor shall any change be
m ade in any feature o f the w orks w ithout prior approval o f the Corps. The US A rm y Corps o f
E ngineers R egulation ER 200-2-2 (33 CR Part 230) applies.

Ail (13) geotechnlcal com m ents by Mr. Dean Lang and Mr. Jason W agner that w ere generated
during the technical review have been entered into a log. Once the com m ents were
satisfactorily addressed by the Engineer-of-Record, Dakota Access LLC and G eoEngineers,
they were closed out. Technical record o f com m ents and responses, follow -up com m ents and
responses, etc., are kept in Projnet.

Dakota A ccess LLC and G eoEngineers will fully im plem ent all required and agreed upon
technical changes, as has been recorded by the review process in Projnet.

Dakota A ccess LLC and G eoEngineers are responsible fo r am ending the O perations &
M aintenance (O&M ) M anual fo r the project to reflect the as-built conditions fo r any perm anent
m odifications or encroachm ents. The am endm ent to the O&M M anual is required to be
provided to the Corps fo r record keeping purposes within 60 days o f com pletion o f construction.
The Corps can provide guidance on developing an addendum to the O&M Manual, upon
request.

T he com m ents herein pertain only to the geotechnlcal and flow able easem ent issues related
HDD and G eotechnlcal investigations in the floodw ay and do not constitute USACE approval of
a ny perm its that m ay be required.




                                                                                      USACE DAPL0071201
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CENW O -ED-G
S U B JE C T: Dakota Access Pipeline P roject Crossing o f Lake Oahe



If you have any questions, please contact Mr. Dean Lang at (402) 995-2231, Mr, Jason W agner
at (402) 995-2276, or the undersigned at (402) 995-2218.




                                            DAVID P. R A Y = .E .
                                            Chief, G eotechnlcal Engineering
                                             and Sciences Branch




                                                                               USACE DAPL0071202
   Case 1:16-cv-01534-JEB Document 185-1 Filed 03/23/17 Page 528 of 607



CENWO-ED-DA                                                                 18 December 2015

MEMORANDUM FOR CENWO-OD-TN (Cossette)

SUBJECT:     Dakota Access Pipeline (DAPL) Review

  1. The U.S. Army Corps of Engineers, Omaha District (Corps) received an Applicant’s
     Technical Supplement for proposed Dakota Access Pipeline (DAPL) Horizontal
     Directional Drilling (HDD) plan for the installation of steel pipeline below Lake
     Sakakawea, North Dakota, for transportation of crude oil.

  2. Garrison Dam, including Lake Sakakawea, is a congressionally authorized and federally
     constructed project along the Missouri River. The US Army Corps of Engineers (Corps)
     maintains and operates Garrison Dam and Lake Sakakawea in cooperation with other
     Federal agencies.

  3. The Corps has a congressionally mandated responsibility to ensure that the federally
     constructed projects are appropriately operated and maintained. No improvements shall
     be passed over, under or through the walls, levees, improved channels or floodways, nor
     shall any excavation or construction be permitted within the limits of the project right-of-
     way, nor shall any change be made in any feature of the works without prior approval of
     the Corps.

  4. Mechanical aspects of this project were reviewed by Michael T. Smith, Design Branch
     Mechanical Section Chief, and all mechanical comments generated during the technical
     review were entered into the ProjNet / DrChecks. Once the comments were satisfactorily
     addressed by the Engineer-of-Record (Jonathan Fredland), they were closed out in
     ProjNet/DrChecks, Technical record of comments and responses, follow-up comments
     and follow-up responses, etc. is kept in ProjNet / DrChecks.

  5. The Engineer-of-Record will fully implement all required and agreed upon technical
     changes, as has been recorded by ProjNet / DrChecks review process.

  6. The Engineer-of-Record is responsible for amending the O&M Manual for the project to
     reflect the as-built conditions for any permanent modifications or encroachments. The
     amendment to the O&M Manual is required to be provided to the Corps for record
     keeping purposes within 60 days o f completion of construction. The Corps can provide
     guidance on developing an addendum to the O&M Manual, upon request.

  7. The comments herein pertain only to the mechanical issues related to pipeline lake
     crossing and do not constitute Corps o f Engineers’ approval of any permits that may be
     required.

 8. If you have any questions, please contact Michael T. Smith at 402-995-2133.




                                                                                 USACE DAPL0071203
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  }U   ^ aa1                 R€.
  Michael T. Smith, P.E.
  Chief, Design. Branch Mechanical Section
  US Army Corps o f Engineers, Omaha District




                                                            USACE DAPL0071204
    Case 1:16-cv-01534-JEB Document 185-1 Filed 03/23/17 Page 530 of 607




CENWO-ED-HA                                                            04 November 2015


MEMORANDUM FOR CENWO-OD-TN

SUBJECT: W ater Quality Team Review of Draft Environmental Assessment for
Dakota Access Pipeline Project Crossings of Flowage Easements and Federal Lands.


 1. The Omaha District Water Quality Team (WQ) is responsible for coordinating
compliance with the guidance and requirements set forth in the U.S. Army Corps of
Engineers’ Engineering Regulation - ER 1110-2-8154, “W ater Quality and
Environmental Management for Corps Civil Works Projects”. The guiding principles
taken from ER 1110-2-8154 serve as the basis for surface water quality management
activities in the Omaha District. W Q has reviewed the D ra ft Environmental
Assessment for Dakota Access Pipeline Project Grossings of Flowage Easements and
Federal Lands and has no comments at this time. Additional documentation
supporting ER 1110-2-8154 is provided in the comments below.

2. The Corps’ water quality management authority is founded on the Federal Water
Pollution Control Act (FWPCA) of 1948 and its amendments including the Clean
Water Act (CWA) of 1977 and the Water Quality Act of 1987. The FWPCA
Amendments of 1972 (PL 92-500) strongly affirm the Federal interest in water
quality. Executive Order 12088, Federal Compliance with Pollution Control
Standards, dated 13-October-1978, requires compliance by Federal facilities and
activities with applicable pollution control standards in the same manner as any
non-Federal entity.

3. The ultimate responsibility to control water quantity and quality at all Corps projects
rests with the Corps.

4. If you have any questions or comments regarding this review, please me at (402)
995-2347.




                                  John Hargrave
                                  LImnologlst
                                  Omaha District W ater Control and Water Quality
                                  Section
                                  Hydro logic Engineering Branch
                                  Engineering Division




                                                                             USAGE DAPL0071205
     Case 1:16-cv-01534-JEB Document 185-1 Filed 03/23/17 Page 531 of 607


                               DEPARTMENT OF THE ARMY
                              CORPS OF ENGINEERS, OMAHA DISTRICT
                                     1616 CAPITOL AVENUE
                                     OMAHA NE 68102-4901



CENWO-ED-HB                                                                   9 March 2016


MEMORANDUM FOR CENWO-OD-TN (Cossette)

SUBJECT; Executive Order 11988 and NWDR 1110-2-5 Compiiance Memo for the
Proposed Dakota Access Pipeline (DAPL) Project in Williams County, North Dakota,
across Flowage and Saturation Easements


1. The Omaha District Flood Risk and Floodplain Management Section (FRFM) is
responsible for coordinating the compliance with the requirements of Executive Order
11988 (Flood Plain Management). FRFM reviewed the updated proposed project
submittal by Mrs. Monica Howard originally submitted March 2015, and as found It to be
in compliance with EO 11988. Executive Order 11988 is applicable to all planning,
design, and construction civil works projects, activities under the operation and
maintenance program, and to real estate program (ER 1165-2-26). Specific to
alteration of civil works projects EO 11988 compliance is identified in EC1165-2-216 in
Section 7.c.(3).ix.(e) and Section 7.c.(4)(b).

2. The proposed project is approximately 1,100 miles long, 12- to 30-inch diameter light
crude oil underground pipeline beginning near Stanley, North Dakota and routing
through South Dakota, Iowa and ending at Patoka, Illinois. This review is for the portion
o f the proposed project that crosses seven USAGE flowage and saturation easements
(LL3440E, LL3483E-1, LL3453E, LL3430E, LL3450E-O, LL34316E, and LL3426E-2) for
approximately 3 miles, with a portion of it within the Garrison Dam flood control pool.

3. The following comments are outlined using the review criteria identified in ER 1165-
2-26:

    a. Determine if the proposed action is in the base floodplain; The project is located
in Williams County, North Dakota which participates in the National Flood Insurance
Program (NFIP). The portion of the proposed pipeline that crosses the USAGE flowage
and saturation easements is in the Zone A Special Flood Hazard Area (SFHA) shown
on Map Panel 3803120025A.

     b. Identify and evaluate practicable alternatives to the action or to location of the
action; The proposed project is functionally dependent on its location in the floodplain.

   c. Advise the general public in the affected area and obtain their views and
comments ; It should be ensured that the proposed project is in compliance with




                                      Pnntwl on   Recycled Paper




                                                                              USAGE DAPL0071206
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CENWO-ED-HB
SUBJECT: Executive Order 11988 and NWDR 1110-2-5 Compliance Memo for the
Proposed Dakota Access Pipeline (DAPL) Project in Williams County, North Dakota,
across Flowage and Saturation Easements

floodplain management criteria of Williams County and the State of North Dakota. It is
recommended that the applicant obtain a local floodplain permit prior to construction.

    d. Identify beneficial and adverse impacts due to the action: The proposed pipeline
has no adverse impacts on the operation of the Garrison flood control pool (see the
below comments for compliance with NWDR 1110-2-5).

     e. Identify the potential for the project to induce development in the base
floodplain: Because this project will not change zoning or restrictions, the project is not
expected to have any impact on development potential within the Zone A SFHA.

    f. Determine viable methods to minimize any adverse impacts:

       (1) Provided that the site topography is left at its natural ground elevation after
construction, the proposed project should not adversely impact the USAGE flowage and
saturation easements.

       (2) Flood-related problems should not occur if the pipeline is buried far enough
below the beds of the Missouri River to prevent exposure due to streambed erosion
during periods of high flood flows.

       (3) The shutoff valve location presented in the original proposal was identified as
a potential issue, but has since been addressed and removed according to Dakota
Access Pipeline Project Figure 6-B, dated August 2015.

4. Plans for the proposed pipeline were reviewed for compliance with appendix A
(Typical Cut and Fill Volumes for Land Development Proposals) of NWDR 1110-2-5,
Land Development Guidance at Corps Reservoir Projects. Provided that the site
topography is left at its natural ground elevation after construction and all excess
material is hauled off site, there are no flood risk and floodplain management concerns
from this office and therefore the proposed project is recommended for approval.




                                                                              USAGE DAPL0071207
     Case 1:16-cv-01534-JEB Document 185-1 Filed 03/23/17 Page 533 of 607




CENWO-ED-HB
SUBJECT: Executive Order 11988 and NWDR 1110-2-5 Compliance Memo for the
Proposed Dakota Access Pipeline (DAPL) Project in Williams County, North Dakota,
across Flowage and Saturation Easements

5. The comments herein pertain only to flood risk and floodplain management
concerns. If you have any questions, please contact Mr. Brennan Beam at (402) 995-
2317 or myself at (402) 995-2322.




                                          TONY D. KRAUSE, P. E „ CFM
                                          Chief, Flood Risk and Floodplain
                                           Management Section
                                          Hydrologic Engineering Branch
                                          Engineering Division




                                                                        USACE DAPL0071208
            Case 1:16-cv-01534-JEB Document 185-1 Filed 03/23/17 Page 534 of 607


                                         U.S. ARAI\' CORPS OF ENGINEERS OMAHA DISTRICT
                                       NEPA CONSIDER4iTION CHECKLIST for PROJECT ACTIONS

   Project Name:                                                            Address/Locatkm;
 GARRISON PROJECT LAKE SAKAKAWEA                                           7.18,19,20,29, & 30 152N-103W
   Brief Description of Proposed Action:
 CROSSING OF FLOWAGE EASEMENT WITH 12"-30 CRUDE OIL PIPELINE.
                                                                                                                                                   IN IT IA L .
   1 The proposed action svould have significant adverse cfifects on public health or safety.                                YESn        N O ^
                                                                                                                                                   777“
  2. The proposed action is in a location w ith unique geographic characlcristics such as historical o i                     YESD       NOD
  palcoololoeical icsources                                                                                                                                       <
  3 A n Archaeologist reviewed dns federal tmdertakuig fo r cultural ckarance. See attached documentation                    YESQ       NOO                       j
  or copy o f o ffic ia l em ail
  4 The proposed actian would advcjscly affect park, recreation, or rcfiigc lands: principle drinking water                  YESn       K O gj
  aquifers: wetlands; floodplain, prune o r unique fiim dands: or ecologically si.tnificant or critica l habitat
  area 5-                                                                                                                                          vTT
  5. The proposed action w ould have highly controvetsisl cnv ironiuental effects,                                           YESQ       NOH
                                                                                                                                                   / r
   6. The proposed action would have high ly uncertain envixonmcntal effects o r involve uiuqae or unknown                   yesD       N og
  CQ^iTuniticatal tisks.
  7 The proposed action would establish a precedent for future action or represents a decision in principle
                                                                                                                                                    Tr
                                                                                                                             YESQ       N O |3 t
  about 1future consideration w ith sigiiificaiU environmental effects.                                                                            jr
  8. The proposed action is related to other actions w ith individiM illy insignificant, but ctuuulatively                'Y H S li.
  significant environmental effects.                                                                                                               J1
  9. The pnqmscd action would adversely affect properties listed or eligible fi*r listing in the National                 YESn          NOD
  Register o f H istoric Places. Sec atlacbed documentation o r copy o f ofiEciai eninil
  10. The (Hoposed action would affect either directly or indirectly, a iqiecies included o r proposed to be              YESQ          N on
  included on die lis t o f endangered or threatened species. Attach USFWS c<»cuiTence.
  11, The proposed action may violate Federal, State, Local or Tribal law or regulation imposed fo r the                  YESn          NOQt
  protectian o f the env ironmeat or imposed to cnsiue compliance w ith Hxci ii) i vc O idvr l'f> I I *!)■s.

  W ild life Coordination Act.
                                                         W ellands'i, V t-ildvi Scci.ic K ivxt’. Act. or the fis h and                             jr
  12. The prcqmsed action is in conformance w ith the project Master Plan and or the project OMP.                         YESQ          NO a
                                                                                                                                                   JT
  13 There is evidence o f liazaidous or toxic materials, w hich were stored on, disposed o f on. o r have                YESn          NO a
  otherwise confim inated the subject property.                                                                                                    jr
  14. The proposed action requires a Regulatory Section 10 404 perm it. Can s till be categorically excluded              Y E S |^      N o n
                                                                                                                                                   JT
  15. The proposed action involves surface disturbance greater than one (1) acre -C an s till be categorically           YESS           NOQ
  excluded but may need a NPDES pe rm it Consult w ith D istrict o r Project ECO i f there is a question
  16. This action requires that the affected Tribes be consulted per the Prof»rajnnm{ic .Aj»Tc«>.crt fo r the
                                                                                                                                                   jr
                                                                                                                         YESD           NOD
  operation and management o f the M issouri R iver main stem Systran fo r compliance w ith the Natim ial
  H istoric Preservation A c t Can stUl be categorically excluded. See attached dociirneidation.

  r r H A S BEEN D E T E R M IN E D THAT THE PROPOSED ACTION:
  |_ I Q tialifies lo r a Categorical Exclusion in accordance w ith ER           Paragraph 9 datedM arch 4. 198S fCbeck !k t« n naop

  U   Is adequately covered in an existing E A (Environmental Assessment) or E IS (Environmental Impact Statement) cntilled

                                                                                                                         and dated
                          kces^                                                       Jb/C7
 1 1 Requires m itigative measures (attach description).

 U    M ay not be categoncally excluded - Proposal forwar ded to Ornalia D istrict O ffice (CENWCWJD-TN) fo r fiirth e r review


1 Signature qfPrtqiBrer                                                                                                  Phone                                    1



                                                                                                                                                                  1
                                                                                s /z > A                                 1
                                                                                                                         Date




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                                                                                                                                                    1 /2




                                                                                                                                       USAGE DAPL0071209
             Case 1:16-cv-01534-JEB Document 185-1 Filed 03/23/17 Page 535 of 607



            Richard R NWO
 From:                      Cain, David I NWO
 Sent:                      Monday. December 07, 2015 2:31 PM
 To:                        Cossette, Brent NWO
 Cc:                        Crane, Kelly A NWO; Lindquist, Todd J NWO; Spooner, Wade D NWO; Harnois, Richard D
                            NWO; Price, Julie A NWO; Maier, Megan M NWO; Rogers, Richard R NWO
 Subject:                   RE: DAPL Tribal Admin Record (UNCLASSIFIED)
 Attachments:               Garrison O&G Pipeline update02172015.pdf; Documenti .docx


 Classification: UNCLASSIFIED
 Caveats; NONE

 Brent,
 The only connection to DAPL we have had officially was the use o f flowage easement lands. It had been determined that
 we do not have jurisdiction on lands we do not have access to. Formal Consultation was not Initiated for the DAPL
 proposal due to the determination that the Regulatory Branch would have the lead role. This being said, due to the
 involvement with the civil works branch the proposal was mentioned in an oil and gas update PA letter dated February
 n, 2015. The project was listed with Hess Hawkeye, Bakkenlink, Bakken Bridge, Paradigm Sakakawea, North Dakota
 Pipeline/Enbridge Western Expansion; the other currently proposed pipelines.

I must emphasize consultation was not officially initiated by the Garrison office for the DAPL pipeline. It is my
understanding that the only consultation that has been officially initiated is for the Oahe Geotechnical Investigation,
which is a separate project ail together from the pipeline project. I do not want to speak for the Oahe Archaeologists, so
Rick and Megan, please correct me if I'm speaking out of turn. However, I have been made aware, indirectly, that a G to
e meeting had been arranged for the DAPL project in Sioux Falls, but the generic document attached above is the only
documentation I have of the meeting, so I can't tell you if we have already had this meeting or if ft has yet to even be
officiated.



David I. Cain
Lead Field Archeologist
USACE, Garrison Project
2 0 1 1st Street
Riverdale,ND 58565
Office:(701)554-7706




— Original Message—
From: Cossette. Brent NWO
Sent: Monday, December 0 7 ,2015 1:05 PM
To: Harnois, Richard D NWO; Cain, David I NWO; Price, Julie A NWO
Cc: Crane, Kelly A NWO
Subject: DAPL Tribal Admin Record (UNCLASSIFIED)

CLASSIFICATION: UNCLASSIFIED



All:




                                                                                                    USACE DAPL0071210
               Case 1:16-cv-01534-JEB Document 185-1 Filed 03/23/17 Page 536 of 607


 Rogers, Richard R NWO
From:                       Cain, David I NWO
Sent:                       Monday, December 07 , 2015 2:31 PM
To:                         Cossette, Brent NWO
Cc:                         Crane, Kelly A NWO; Lindquist, Todd J NWO; Spooner, Wade D NWO; Harnois, Richard 0
                            NWO; Price, Julie A NWO; Maier, Megan M NWO; Rogers, Richard R NWO
Subject:                    RE: DAPL Tribal Admin Record (UNCLASSIFIED)
Attachments:                Garrison O&G Pipeline update02172015.pdf; Documenti .docx


Classification: UNCLASSIFIED
Caveats: NONE

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Rick and Megan, please correct me if I'm speaking out o f turn. However, I have been made aware, indirectly, that a G to
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officiated.



David I. Cain
Lead Field Archeologist
USACE, Garrison Project
2011st Street
Riverdale, ND 58565
Office:{701)654-7706




— Original Message—
From: Cossette, Brent NWO
Sent: Monday, December 07, 2015 1:05 PM
To; Harnois, Richard D NWO; Cain, David I NWO; Price, Julie A NWO
Cc: Crane, Kelly A NWO
Subject: DAPL Tribal Admin Record (UNCLASSIFIED)

CLASSIFICATION: UNCLASSIFIED



All:




                                                                                                  USACE DAPL0071211
                           Case 1:16-cv-01534-JEB Document 185-1 Filed 03/23/17 Page 537 of 607
                                                                                           a naaa




                                                                                         NorthTDakota



                                                                   LL3431E




                                            lil!3426E-2




                                                      LL»3450E-2




                                                    LE3430E




                                                                             LL3440E ■




                                                                                     I
0          1,000          2,000
                              Feet   N                    Figure 1                          Proposed Centerline
    1 inch = 2,000 feet                  Corps Flowage and Saturation Easement Areas        Corps Flowage
                                                 Crossed by Proposed Dakota                 Easement Areas
         D A K O TA ACCESS, LLC                    Access Pipeline Project
For Environmental Purposes Only




                                                                                         USACE DAPL0071212
                   Case 1:16-cv-01534-JEB Document 185-1 Filed 03/23/17 Page 538 of 607




                                                              LL3426E-2
                                                                                         LL3431E


                                                   LL3426E-2




                                                                 LL3450E-2




                                                            LL3430E




                                                                                                        LL3483E-1K




                                                                                                                 LL3440E




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                                                                    a      P um ping Intake                                                 DAKOTA ACCESS, LLC
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                                                                                                                               Dakota Access Pipeline Project
                    North Dakota                                           P ro je ct C e n te rlin e
                                                                                                                                           Figure 2
                                                                —       " D A P L C e n te rlin e
                                                                           W o rkspa ce                                                 Project Layout
                                                               ^ ^ J u S A C E F low ag e E a se m e nts                             Flowage Easements
                                                                                                                               Williams County, North Dakoda


                                                            * B arge lo ca tio n d e p e n d a n t on
                                                              w a te r level
Path: P:\GIS\Client\ETC_EnergyTransfer\DakotaAccess_DAPL\Maps\ENV\ND_FlowEasements\02ND_FlowEasement_Layout.mxd
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                                                                                                                                                   Date: August, 2015




                                                                                                                                              USACE DAPL0071213
                                    Case 1:16-cv-01534-JEB Document 185-1 Filed 03/23/17 Page 539 of 607




                                                                                        SIDEBOOM                      SIDEBOOM WITH              o
                                                                                           WITH                       COUNTERWEIGHT              q;
                  q;                                                                                                                             I—
                  I—                                                                  COUNTERWEIGHT                      RETRACTED               in
                  in
                                                                                        EXTENDED
                                                                                                                                                 o
                       ADDITIONAL                DITCH                                                                                                      TOPSOIL
                        TOPSOIL                  SPOIL                                                                                                      STORAGE
                        STORAGE                 STORAGE
                                                                                                                                                 <J5
                                                                                                                                                 Q       APPLICABLE



                                                            TOPSOIL




                                                                  50’                                           50’
                          TEMP. ROW WIDTH                   PERM. ROW WIDTH                              TEMP. ROW WIDTH

                                        50’                                                      75’                                                            25’
                                    SPOIL SIDE                                           WORKING SIDE                                                   TOPSOIL SIDE
                                                                               150’
                                                                      CONST. ROW WIDTH
     NOTES:
 ©      DEPTH OF TOPSOIL SEGREGATED BASED UPON SITE-SPECIFIG OONDITIONS.




 c     12/12/14 RER                    ISSUED FOR REVIEW
                                                                                        TYPICAL RIGHT-OF-W AY CO NFIGURATION
 B 12/12/14 RER                        ISSUED FOR REVIEW
 A     9/16/14   MR                    ISSUED FOR REVIEW
REV.    DATE     BY                           DESCRIPTION                     CHK.
                                                                                          1 iP i A M R   n n M < ;T R i i r i i n M     n ii i   w ir t h    T R P < ;n ii   < ;F R R F R A T in w
         PROJECT NO.       10395700
                                                                                      DRAWN BY: MR                 DATE:    0 9 /1 5 /1 4            DWG. NO.                                        REV.
                                                                                      CHECKED BY:RL                DATE:    0 9 /1 5 /1 4
                                                                                                                                                                Figure 3                              c
                                                                                      SCALE:   N.T.S.             APR.:




                                                                                                                                                                        USACE DAPL0071214
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EXHIBIT MM
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                                    DEPARTMENT OF THE ARMY
                                   C O R P S OF ENGINEERS, OMAHA DISTRICT
                                                 OAHE PR O JE C T
                                            28563 POW ERHOUSE ROAD
                                              PIERRE SD 57501-6174



                                            October 24, 2014
REPLY T O
ATTENTION O F :

   Field Archeologists


   «Prefix» «FirstMiddle_Name» «Last_Name»
   «Title»
   ((Organization))
   ((Address 1)>
   ((City)), ((State)) ((Zip))

   Dear ((Salutation)) ((Last Name)):

      The U.S. Amoy Corps of Engineers, Oahe Project Office, has received a request from Dakota
   Access LLC to conduct soil borings related to the Dakota Access Pipeline (DAPL) project. The
   proposed soil borings will take place in Section 10 and 11, Township 134 N, Range 79 West,
   Morton and Emmons Counties, North Dakota.

      The proposed activity will involve drilling seven (7) 4” diameter holes approximately ISO-
   165’ below the ground surface. The purpose of the soil bores is to evaluate subsurface
   stratigraphy in order to determine feasibility for a potential horizontal directional drill under the
   Missouri River related to the DAPL project. Once the bores are complete they will be backfilled
   with a mixture of cement-bentonite grout. The upper 2-3 feet will be backfilled with native soil.
   The area of disturbance anticipated for each bore hole is 10’ in diameter.

       The equipment used for this project will include a tmck-mounted and all-terrain-mounted
   drilling rig. This equipment will be operated fi-om a barge at the underwater locations. Access
   to the onshore bore locations will be along existing roads and two-track trails (see attached map).

       The Area of Potential Effect (APE) for this action will include the six bore tests located
   within the US ACE boundary and the access routes leading to the onshore bore locations See
   attached map).

     A search of US ACE cultural files indicates three recorded cultural sites within the project
   APE.

    Site Number            Site Name              Site Type                              NR Status

    32EM0019                                      Historic Farmstead                     Unevaluated

    32EMX0072                                      Isolated Find/Flake                   Not Eligible

    32EMX0071                                      Isolated Find/Flake                   Not Eligible




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  The following sites area located OUTSIDE the project area hut within a one-mile radius.

Site Number           Site Name             Site Tvue                    NR Status

32EM0094                                    Artifact Scatter             Unevaluated

32EM0021                                    Artifact Scatter             Unevaluated

32EM0093                                    Historic Farmstead            Unevaluated

32EM0172                                    Historic Foundation           Unevaluated

32M00130                                    Artifact Scatter              Unevaluated

32M00001        North Cannonball Site       Earthlodge Village           'Eligible

32M00054        Donahue Farmstead           Historic Farmstead            Unevaluated

32MO1081                                    Historic Artifact Scatter     Unevaluated

32M00200                                    Railroad Grade/Tumtahle       Unevaluated

   If you have any comments or concems regarding this project and wish to consult on this
matter, please respond in writing no later than 11/24/14. Please reference “DAPL test hores” in
or correspondence. If you have any questions please contact Richard Hamois at (605) 945-3406
or via email at richard.d.hamois@usace.army.mil



                                                    Sincerely,



                                                    Richard D. Hamois
                                                    Sr. Field Archaeologist
                                                    Oahe Project




                                                                                     USAGE DAPL0067131
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       Counties, North Dakota. Larson-Tibesar Associates Laramie, WY.

Larson, Thomas, Kurt Schweigert and Keith H. Dueholm Et AL,
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       Counties North Dakota. Larson-Tibesar Associates Laramie, WY.

Slessman, Scott, Vanesa Zietz, Zonna Bames Et AL,
2010 A Cultural Resources Inventory o f U.S. Army Corps o f Engineers Managed Lands on
      Lake Oahe, Burleigh, M orton, Emmons and Sioux Counties, North Dakota. SWCA
      Consultants

Root, Matthew J. and Cynthia Kordecki
1983 The Cannonball Region. In Archaeology o f the Northern Border Pipeline, North Dakota;
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                                            General Project Location

                    Lake O ahe - Sheet Index Map

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Operations/Regulatory GIS Unit
2003   Lake Oahe Boating and Recreation Guide. U.S. Army Corps o f Engineers, Omaha District, Omaha.



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         Omaha T ribe of Nebraska                                                                 Clifford    Chairman



         Ponca T nbe o f Nebraska                                       W right                               Vice C hairm an



         Rosebud Sioux T nbe                                            Eaele Bear                            Tnbal H istoric Preservation Ofricer




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         South Dakota D epartm ent o f G am e, Fish and
                                                                         Vonk                     Jeffrey R


                                                                                                  P a is e


         South Dakota State H istoncal Society                                                                State Historic Preservation Officer




         W innebaco T nbe o f Nebraska                                   Snvder                               Tribal Council Member

                                                                         FIvfnsHawk


         Yankton Sioux T nbe                                             A rcham beau                         Vice C hairw om an

         Shading designates the Primary point o f contact for all PA actions
CF       Copy ftim ished o f the letter sent to Primary point o f contact for same Tribe/Agency
sms      D enotes Signatory (S ) or Nan-Signatory (N S)




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          Yankton Sioux T ribe                                            A rcham beau                          Vice C hairw om an

         ■Shading designates the Prim ary point o f contact for all PA actions.
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EXHIBIT NN
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Mnicoujou                            Itazipco    CHEYENNE RIVER SIOUX TRIBE
                                                               Cultural Preservation Offiee
                                                               PO BOX 590 98 S. Willow St.
                                                             Eagle Butte, South Dakota 57625
                plVER                                              Telephone: (605) 964-7554
                                                                         Fax: (605) 964-7552

                                                      Steven Vance
                                                      Tribal Historic Preservation Officer
                                                      stevev.crstpres@outlook.com


Siha Sapa                          Oohenumpa



Date: August 17, 2015

Richard Hamois
Sr. Field Archaeologist
Department of the Army
Corps of Engineers, Omaha District
Oahe Project
28563 Powerhouse Road
Pierre, SD 57501-6174

The Cheyenne River Sioux Tribe (CRST) appreciates the opportunity to comment to the
proposed Dakota Access Pipeline (DAPL) project.

Information received from the Corp on October 29, 2014 was of proposed soil boring in
Section 10 and 11, Township 134N, Range 79 W, Morton and Emmons Counties, North
Dakota.

A formal comment was sent to Martha Chieply, Regulatory Chief for the Corp by the
Tribal Historic Preservation Officer (THPO) of Standing Rock Sioux Tribe (SRST),
Waste Win Young. Specific questions, concerns, suggestions, and requests were stated in
the letter.

       Opposed to any geotechnical boring.
       Mitigation for site 32M 00001, an earth lodge village.
       The current Environmental Assessment (EA) in insufficient for oil pipelines.
       A request that an Environmental Impact Statement (EIS) be completed.
       A Class III Archaeological Study, with Tribal involvement, be conducted.
       Risks of disturbing burials by dredging the Missouri, other tributaries.
       Disagrees with the “No Historic Properties Affected” determination.
       Concerns for all residents along the proposed route of the quality of water.

Has any of these been addressed?

Respectfully she shared the comments with other THPO’s that have ancestral connection
to the location mentioned.




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As THPO for CRST I support the comments submitted by THPO Waste Win Young and
thought this would have initiated more dialog between agencies and Tribes. I assumed the
Corp would have involved more of the Tribes with aboriginal association to the proposed
project by offering a field visit or an opportunity to conduct a “Tribal Survey” . The letter
from the Corp dated October 24, 2014 noted 9 unevaluated sites, 2 not eligible, and 1
eligible. Studies were conducted in 1980, 1983, and 2009. Again no Tribal participation.

I have objection to the process of identification conducted by past and present companies
who are contracted by proponents of applicants. Their archaeologists continue to state
that Tribes migrated to this continent. Similar to the Columbus story, these do not reflect
to the Oceti Sakowin.

Examples that discredit this would be buffalo skulls dating 500 - 10,000 years old with
charcoal in them. Projectile points (arrow heads) dating to 8,000 years old. They may
have no meaning to scientists and other disciplines but these match Tribal history and
culture of the Northern Plains Indigenous People.

The reason for mentioning this is the few sites identified are unevaluated or not eligible.
The two (2) “isolated fmd/flake” as not eligible I disagree with. Again the evaluation and
determination was without Tribal involvement and reflect the European view.

DAPL cannot address the affects to cultural and historical resources. Sacred sites (water
included). Traditional Cultural Properties, Properties of Cultural or Religious Significant
to Tribe, etc., of the proposed pipeline when they have not been properly identified.

Another concern of mine is the question of the “Appendix C” of 33 CFR Part 325 that
determines the permit area. I asked this of the Advisory Council on Historic Preservation
(ACHP) and they also question it. ACHP needs to be invited into the discussion.

The other agencies not participating is a question. The proposed route crosses many
bodies of water and birds have to land in these waters. There has been a concern of why
birds have been slowly changing their migratory route by slowly moving west to travel
north. Again a natural cycle Native Nations monitor. I sense it is from modem
development that affects waterbodies. Fish and Wildlife needs to be in the discussion.

CRST has concern of all the bodies of water proposed to be crossed, not just the
Missouri. Other crossing (horizontal directional drilling/boring), of creeks, streams, lakes,
or rivers will all eventually empty into Lake Oahe. Which will then travel on to the
Mississippi and the Gulf. This is not a local concem but a global concem.

These bodies of water were utilized by Natives and were “bloodlines” of survival when
traveling across this land. Today America calls them Interstate Highways or Freeways.

Recent findings of the quality of pipes have serious concems. Pipe that have been placed
in fields and stored for numerous months are questioned of their condition by the time
they are to be placed underground. There are specific timeframes these pipes are to be
inspected for corrosion and prepared with a protective coating prior to installation. Photos
of pipe stored for up to two (2) years by companies show no coating. These pipes sit
stacked on top of each other, four pipes high, through all extremes of weather conditions
in the northem plains area. Rodents and other animals have made nests or homes inside




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the bottom pipes. Their waste deposits are corrosive. Birds have nested and defecated on
the pipe which is also corrosive.

The welding also is a recent discovery on pipe previously buried and proposed to be
buried. Welds have been examined and there is discovery of faulty welding. The
difference from one welder finishing a shift and the next welder coming on have
discrepancies. Fractures as long as six feet have been welded shut instead of replacing
them. When these defects are brought to the attention of the company the person or
persons reporting is usually terminated and replaced.

The aggressive pace this company has conducted itself brings these to question. It is not
“i f ’ the pipe will leak but “when” . The long term effects of a leak or major spill will
remain with local residence and those downstream, while companies move on.

The northem hemisphere of this continent has been long inhabited by numerous Native
Nations and their travels took them into each other’s territory. This happened long before
the arrival of European immigrants and explorers. These Tribes maintained their own
order as to where they would establish their territory or encampments. These homes were
never permanent as homes are today. As Tribes traveled and bartered between each other
their journey could take them far to the north into today Canada. They would also joum ey
far south into now South America. These travels would span over several years and
decades. Modem day studies attempt to portray these travels as annual, they are wrong.

The Tribes who were here before this managed to move about with little disturbance from
other Nations, until the arrival of European and Spanish people. Tribes treated the land as
a living being which they lived in harmony with. They did not dismpt the way the land
evolved over time, they adjusted. The Spirit that came from Earth strengthened the Spirit
in their bodies and respect was shown for this. Today this energy of Spirit is missing in
the research o f history. I will state that all Native sites identified have “feeling”, one of
the criterion for eligibility.

Never will the real history of this continent be discovered under the means of how this
country wishes to educate people. Scientists continue to report theories when most of
them were taught by their parents of a “creation” .

We will continue to pass oral tradition and Creation Stories amongst our own, praying
their generation will have better opportunity from the present.

CRST request continued communication with this proposed project.

Respectfully


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Cc; file




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                                DEPARTMENT OF THE ARMY
                              CORPS OF ENGINEERS, OMAHA DISTRICT
                                        1616 Capitol AVE
                                 OMAHA, NEBRASKA 68102-9000




                                          SEP 3, 2015
District Commander




Cheyenne River Sioux Tribe
Mr. Harold Frazier, Chairman
PO Box 590, 2001 North Main St
Eagle Butte, SO 57625

Dear Chairman Frazier:

   The U.S. Army Corps of Engineers (Corps) Regulatory Branch has received
Preconstruction Notifications (PCNs) associated with the proposed Dakota Access
Pipeline Project (DAPL). The proposed approximate 1,150-mile, 30-inch diameter,
crude oil pipeline would extend from Stanley, North Dakota through South Dakota and
Iowa to a delivery point at Patoka, Illinois. The purpose of this letter is to initiate Section
106 consultation and review, determine your interest in consulting on this undertaking
for those portions subject to the Corps jurisdiction, and to gather information that will
assist the Corps in identifying historic properties.

     The majority of the proposed 1,150-mile pipeline would be located in upland areas
not requiring Corps authorization under Sections 10 or 404, and over which the Corps
does not have control or responsibility. The Corps has regulatory authority and
responsibility for those portions of the pipeline that require authorization under Section
 10 of the Rivers and Harbors Act (33 U.S.C. 401 et seq.) and Section 404 of the Clean
Water Act (33 U.S.C. 1344). When linear projects cross a single or multiple water
bodies several times at separate and distant locations, each crossing is considered a
single and complete project for purposes of nationwide permit authorization. Under our
 Regulatory authority, we are currently evaluating 209 single and complete crossings
requiring PCN’s. The locations of the PCN areas are enclosed along with an overall
 DAPL fact sheet, points of contact and maps. DAPL has voluntarily started
archaeological surveys for the project. The Cultural Resource Inventory Reports that
have been submitted to the Corps are available at the following ftp location
..ftp://ftp.perennialenv.com7 (User: EnergyTransfer, password: DAPL). Besides those
provided at the FTP site, the Corps will make those survey results available to Section
 106 consulting parties for review and comment as DAPL provides them.

   The Corps will consult on those areas comprising the waters of the United States
that will be directly affected by the proposed work or structures and uplands affected as
a result of authorizing the work or structures. Corps regulations implementing the
National Historic Preservation Act may be found at 33 C.F.R. 325, App. C.




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Subparagraph 1.g.(1) defines the “permit area” as those areas comprising waters of the
United States that will be directly affected by the work or structure, and uplands directly
affected as a result of the authorization of the work or structure. Activities undertaken




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outside the waters of the United States must meet all of 3 requirements set out in
subparagraphs 1.g.(1)(i.)-(iii). Crossings of Section 10 navigable waters include the
Missouri, James, Des Moines, Mississippi, and Illinois rivers. DAPL is also currently
working with the Districts to obtain the necessary easements for crossing federal lands,
as well as modifications of Corps projects pursuant to Section 14 of the Rivers and
Harbors Act Appropriation Act of 1899 (33 U.S.C. § 408) (Section 408).

   The DAPL project crosses 3 Corps Districts (Omaha, Rock Island and St. Louis).
While each district will make permit decisions for those proposed regulated crossings in
their district, the Omaha District is the lead Corps District in its oversight role in all
coordination, permit evaluation, and compliance activities. Regulatory points of contact
are Martha Chieply, Omaha District Regulatory Chief
..Martha.S.Chieplv@.usace.arm v.m il: (402) 995-2451 and Jason Renschler, Project
Manager Jason. J.Renschler@ usace.armv.mil: (701) 255-0015, ext 2010. Please note
that previous consultation on the project has also been initiated as part of the Corps
Section 408 review process for the areas located on Corps Project Lands.

   Please let the Corps know if you would like to consult on this undertaking. In addition,
the Corps requests information that will assist us in identifying historic properties. The
Corps would like to know if you have any knowledge or concerns regarding historic
properties, including sites of religious importance, at the project locations you would like
the Corps to consider. If there are any known Traditional Cultural Properties within
those areas, please notify us by September 30, 2015. The Corps will treat any
information provided with the greatest confidentiality.

    We request your engagement and/or comments by September 30, 2015. If you are
 interested in participating in consultation for this proposal or desire additional
 information, please contact Mr. Joel Ames, Tribal Liaison
..Joel.O.Ames@usace.arm v.m il (402) 945-2909). Should you have site specific
concerns regarding the project please contact Roberta Hayworth (St. Louis District)
..Roberta.L.Havworth@ usace.armv.mil (314) 331-8833 or Ron Deiss (Rock Island
 District) ..Ronald.W.Deiss@ usace.armv.mil (309) 794-5185.


                                       Sincerely,




                                       John W. Henderson, P.E.
                                       Colonel, Corps of Engineers
                                       District Commander




                                                                              USACE DAPL0069760
                                    E nclosure 1
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Bakken Supply Area




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                                                                                                                                                                                                                                        Iowa
                                                                                                                                           Kirksv                                                                                                      Page 4


                                                                                                                                                                                      Q u in c y
                                                                                                                                                                                                                                                      DAKOTA ACCESS, ILC
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                                      Case 1:16-cv-01534-JEB Document 185-1 Filed 03/23/17 Page 561 of 607




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                                                                                                                                                                                Illinois
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                                                                                                                                                        a n sv i
             R o lf a
                                                                                                                                                                                               DAKOTA ACCESS, ILC

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            A                   B                C                  D                          E
1    Mile                L ongitude         L atitude     C ounty            WO US
2    S ta te o f N orth D akota - O m ah a Dsltrlct
3               6 .3 4     -1 0 2 .4 7 7       4 8 .2 9 2 M ountrail         U n n am ed T rib u tary
4           16.55          -1 0 2 .8 5 9     4 7 .6 0 2 1 Dunn               Little M issouri River
5           9 6 .7 8      -1 0 3 .9 0 5 7    4 7 .9 6 0 1 W illiam s         M issouri River
6        1 64.89          -1 0 0 .5 8 7 1    4 6 .4 3 8 6 M o rto n          Lake O a h e /M isso u ri River
7        2 0 4 .8 1       -1 0 0 .1 3 6 1      4 6 .0 0 1 E m m ons          U n n am ed T rib u tary
8
9    S ta te o f S o u th D akota - O m ah a D istrict
10       2 5 6 .7 2       -9 9 .4 8 4 6 8    4 5 .4 8 2 2 E dm unds          U n n am ed W e tlan d
11          310 .6        -9 8 .7 0 5 1 5    4 5 .0 0 2 3 Spink              U n n am ed W e tlan d
12       3 1 5 .7 4       -9 8 .6 5 2 8 3    4 4 .9 4 1 6 Spink              U n n am ed W e tlan d
13       3 1 5 .8 8       -9 8 .6 5 0 6 7    4 4 .9 3 9 6 Spink              U n n am ed W e tlan d
14       3 4 8 .1 1       -9 8 .2 7 1 8 9    4 4 .6 1 3 8 B eadle            Ja m e s River
15       3 4 8 .9 4       -9 8 .2 5 4 8 3    4 4 .6 1 3 2 B eadle            U n n am ed W e tlan d
16       3 6 3 .1 9       -9 8 .0 0 9 3 8    4 4 .5 3 7 1 B eadle            Shue C reek
17       3 7 1 .1 2       -9 7 .9 0 7 1 8    4 4 .4 5 3 3 B eadle            M iddle Pearl C reek
18       3 8 5 .9 6       -9 7 .6 9 9 4 4    4 4 .3 0 4 1 Kingsbury          R ed sto n e C reek
19       3 9 1 .8 3        -9 7 .6 1 7 2     4 4 .2 4 6 2 Kingsbury          Rock C reek
20       3 9 5 .1 4       -9 7 .5 6 8 6 2    4 4 .2 1 2 2 Kingsbury          U n n am ed W e tlan d
21       4 1 5 .8 3       -9 7 .3 1 8 9 2    4 3 .9 8 4 9 Lake               East Fork V erm illion River
22       4 2 1 .8 5       -9 7 .2 3 0 3 4    4 3 .9 2 6 8 Lake               U n n am ed W e tlan d
23       4 3 0 .2 1       -9 7 .1 3 3 9 3    4 3 .8 3 8 1 M cCook            U n n am ed W e tlan d
24       4 3 0 .8 6       -9 7 .1 3 1 1 9    4 3 .8 2 9 1 M cCook            U n n am ed W e tlan d
25       4 7 8 .4 8       -9 6 .5 8 1 2 8    4 3 .3 6 9 9 Lincoln            U n n am ed W e tlan d
26       4 8 1 .7 9       -9 6 .5 2 6 3 5      4 3 .3 4 5 Lincoln            Big Sioux River
27
28 S ta te s o f Iowa & Illinois - Rock Island D istrict
29          49 7 .3          -96.267           4 3 .2 3 3 Sioux, lA          PFO W e tla n d
30          49 7 .9          -9 6 .2 5 8       4 3 .2 3 2 Sioux, lA          PFO W e tla n d
31          546.5            -95.511           4 2 .8 2 7 C h ero k ee, lA   PFO W e tla n d
32          639.5            -93.966           4 2 .1 6 9 B oone, lA         PFO W e tla n d /D e s M oines R.
33          685.3            -93.307            4 1 .7 7 Ja sp e r, lA       PFO W e tla n d
34              693          -93.191           4 1 .7 1 2 Ja sp e r, lA      PEM W e tla n d > 5 0 0 '
35          702 .9             -93.05          4 1 .6 3 4 Ja sp e r, lA      PFO W e tla n d
36          735 .9           -92.573           4 1 .3 3 7 M ahaska, lA       PEM W e tla n d > 5 0 0 '
37          736 .1           -9 2 .5 6 8       4 1 .3 3 3 M ahaska, lA       PEM W e tla n d > 5 0 0 '
38              737            -92.56          4 1 .3 2 5 M ahaska, lA       PEM W e tla n d > 5 0 0 '
39          739 .1           -92.533           4 1 .3 0 5 M ahaska, lA       PFO W e tla n d
40          7 6 6 .8         -92.176           4 1 .0 3 8 Jefferso n , lA    PFO W e tla n d
41          767.3            -9 2 .1 7 4       4 1 .0 3 1 Jefferso n , lA    PFO W e tla n d
42          795 .1           -91.761           4 0 .8 0 2 Van B uren, lA     PFO W e tla n d
43          777 .1           -92.042           4 0 .9 4 1 Jefferso n , lA    PFO W e tla n d
44          820 .1           -91.483           4 0 .5 4 1 Lee, lA            PFO W e tla n d
45          825.5            -91.409           4 0 .4 8 8 Lee, lA            PFO W e tla n d
46              828          -91.377           4 0 .4 7 6 Lee, lA            M ississippi River
47              828          -91.363           4 0 .4 7 5 H ancock, IL       M ississippi River
48          856.5          -9 0 .9 7 8 1     4 0 .2 0 6 7 H ancock, IL       PFO W e tla n d
49          857.5          -90 .9 6 5 3        4 0 .1 9 4 H ancock, IL       PFO W e tla n d
50              861        -90 .9 2 7 3      4 0 .1 5 3 5 A dam s, IL        C ultural Site
51          862.5          -9 0 .9 0 8 2     4 0 .1 3 5 7 Schuyler, IL       PFO W e tla n d
52
53 S ta te o f Illinois - St. Louis District
54              882          -90.763           3 9 .9 6 7 Brown              Trib to Dry Fork
55              892            -90.62          3 9 .8 9 9 Brown              Trib to C am p C reek
56              896          -90.597           3 9 .8 3 9 Brown              U n n am ed Ditch
57          896.5            -9 0 .5 9 4       3 9 .8 3 4 Brown              U n n am ed Ditch
58              898          -9 0 .5 8 4       3 9 .8 1 1 Brown              II River
59              898          -90.583            3 9 .8 1 Brown               IL River
60          898.5              -9 0 .5 8       3 9 .8 0 8 Brown              IL River
61          900.5            -90.551           3 9 .7 8 8 S co tt            U n n am ed Ditch
62          900.5              -90.55          3 9 .7 8 8 S co tt            Coon Run
63          900.5            -90.549           3 9 .7 8 8 S co tt            Coon Run
64          900.5            -90.549           3 9 .7 8 7 S co tt            Coon Run
65              956            -89.82          3 9 .2 8 6 M acoupin          M acoupin C reek
66           1008            -89.163           3 8 .863 F ay ette            Kaskaskia
67           1010            -8 9 .1 4 4       3 8 .8 4 7 F ay ette          W etlan d Kaskaskia
68           1010            -8 9 .1 4 4       3 8 .8 4 7 F ay ette          C assar C reek
69           1010            -89.141           3 8 .843 F ay ette            W etlan d S teve C reek




                                                                                                                    USACE DAPL0069767
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                                                             Dakota Access Pipeline
                                                                                 Permitting Process in Illinois
U.S. A RM Y CORPS OF ENGINEERS                                                                     BUILDING STR O N G .
Congressional Districts: IL -13,1 5 ,1 8                                              DAPL P roject
                                                                                         liNnoia
Description

Dakota A ccess, LLC, is proposing to construct an
1,134-mile pipeline system to carry up to 570,000
barrels p er day of U.S. light sw eet crude {450,000
barrels p er day initially) from the rapidly expanding
B akken and T h ree Forks production region of North
Dakota through th e sta te s of North Dakota, South
Dakota, Iowa an d Illinois term inating at a crude oil
hub n e a r Patoka, Illinois, with various potential
points of destination along th e pipeline. T he pipeline
c ro s s e s four s ta te s within the boundaries of three
U.S. Army C orps of E ngineers Districts (O m aha
District, Rock Island District, and St. Louis District).
                                                                                                      .   -I .   -


Pipeline Details in Illinois

The D akota A ccess pipeline in Illinois will co nsist of approximately 177 miles of 30-inch diam eter pipeline and one
term inal to interconnect with existing pipelines in Illinois for shipm ent to processing facilities and refineries in th e
M idwest and the Gulf C oast to reach U.S. custom ers.

Pipeline Right of Way and Footprint in Illinois

The D akota A ccess pipeline will c ro ss th e counties of Hancock, Schuyler, A dam s, Brown, Pike, Scott, Morgan,
Macoupin, Montgomery, Scott, Fayette, and Marion counties. T he expected terminal is in Patoka, Illinois. The
pipeline will parallel existing pipelines, pow er lines or existing roads w here possible. During construction, an
additional 25 -100 feet of w orkspace m ay be n eed ed adjacent to a 50-foot perm an en t easem en t. T he pipeline will
be covered by a minimum of 36 inches of soil and m ore if it c ro sse s under roads, rivers, lakes or stream s. On
agricultural land, th e pipeline will be buried under a minimum of 48 inches of soil, drain tiles will b e cro ssed with a
minimum of 24 inches of separation betw een the pipe and the drain tile, and topsoil will be seg reg ated during
construction to a minimum of 12 inches or in a cc o rd an ce with iandow ner requirem ents.

U.S. Army Corps of Engineers’ Role

The U.S. Army Corps of E ngineers is not evaluating the com plete 1,134-mile pipeline a s its regulatory authority is
limited to w aters of th e United S tates, If th e entire pipeline w as constructed in a stream , river, wetland, or other
jurisdictional w ater body, th e Corps would evaluate the construction of the ehtire pipeline. However, in the c a s e of
this pipeline, th e majority of the pipeline is being constructed in uplands, outside of the C orps’ regulatory authority.

The C orps is evaluating D akota A ccess, LLC, permit req u ests for se g m e n ts of the pipeline that cross w aters of
the United S ta te s. T h ese crossings com prise a small percentage of the overall pipeline project. D epartm ent of the
Army perm its will be required under Section 404 of the C lean W ater Act and S ections 10 and 408 of the Rivers
and H arbors Act, Section 404 and/or Section 10 for crossings of w aters of the United S ta te s (stream s, rivers,
w etlands), including navigable rivers such a s the Missouri, D es Moines, Mississippi, and Illinois rivers; Section
408 for alteration, occupation or u se of a C orps civil works project. The C o rp s’ O m aha District evaluates permit
re q u e sts in North Dakota and South Dakota. The C orps’ Rock Island District evalu ates permit re q u ests in Iowa.
The Rock Island and St, Louis Districts sh a re perm it evaluation authority in portions of Illinois.




                                                                                                          USACE DAPL0069768
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    I iftl I                                               DaKota Access Pipeline
                                                                                  Permitting Process in Illinois
U.S. ARMY CORPS OF ENGINEERS                                                                      BUILDING STRONG,
Rock Island and St. Louis District’s Role
T he Rock Island and St. Louis Districts have received applications from Dakota A ocess, LLC, requesting
verification of work in w aters of th e United S ta te s in association with construction of se g m en ts of the 30-inch
diam eter crude oil pipeline in Illinois within the Rock Island and St. Louis District’s regulatory boundaries (50 miles
within Rock Island District, 127 m iles within St. Louis District).

In th e information received, D akota A ccess, LLC, is currently requesting verification, under Nationwide Permit
(NWP) 12 (Utility Line Activities), for 15 a re a s involving crossings of regulated w ater bodies in Illinois including the
M ississippi River and Illinois River (five a re a s within Rock Island District; ten a re a s within St. Louis District.) In
acco rd an ce with D epartm ent of th e Army regulations, w e are evaluating each .separate, and distant, w ater body
crossing a s a single and com plete project, and will m ake final determ inations regarding com pliance of the
activities with NWP 12 o n ce our evaluation is com plete. If any work in w aters, including navigable rivers and
w etlands, is authorized under NWP 12, such work m ust be com pleted according to the term s of the permit, as
well a s all general term s of the nationwide permits, regional conditions and any special conditions that a re
determ ined to be n ecessary . If an y work in w aters d o es not fall within the term s and conditions of NWP 12, the
applicant will be advised of pro ced u res for applying for an Individual Permit.

Rock Island and St. Louis District’s Permit Evaluation
The Districts will evaluate the w ater body crossings to e n su re the construction activity d o es not adversely impact
the w ater body. T he Districts’ evaluation will look at any im pacts the crossing seg m en ts m ay have on navigation.
T he C orps d o es not regulate pipelines, or monitor and enforce com pliance with pipeline safety regulations. T hese
item s m ay be a d d re sse d by the respective s ta te s and other federal agencies.

Environmental Impact Statement
T he Districts are evaluating th e applicant’s req u est to verify seg m en ts of the pipeline in Illinois under NWP 12.
Activities authorized under th e 2012 Nationwide Perm its have been evaluated and docum ented in accordance
with th e National Environm ental Policy Act with a finding of no significant impact; therefore, an Environmental
Im pact S tatem ent is not required. If a seg m en t do es not m eet the term s and conditions of NWP 12, that segm ent
m ust be evaluated a s an Individual Permit and an Environmental A sse ssm e n t will be required.

Public Comment
If pipeline seg m en ts a re verified under NWP 12, there will not be a public com m ent period. If a se g m en t d o e s not
m eet th e term s and conditions of NWP 12 and m ust be evaluated a s an Individual Permit, there will be an
opportunity to com m ent on that seg m en t. Additional information regarding the U.S. Army C orps of E ngineers' role
in permitting th e D akota A ccess, LLC, pipeline can be obtained by contacting the appropriate C orps office.

North an d South Dakota:                   Iowa and Illinois:                         Illinois:

USACE, O m aha District                    USACE, Rock Island District               USACE, St. Louis District
R egulatory Branch                         Regulatory Branch                         Regulatory Branch
8901 South 154th S treet                   Clock Tower Building                      1222 S pruce S treet
O m aha, NE 68138-3635                     P.O. Box 2004                             St. Louis MO 63103-2833
Phone: (402) 896-0896                      Rock Island, IL 61204-2004                P h o n e :(314)331-8575
                                           Phone: (309) 794-5669

                                                  UPDATE: February 10. 2015


                  U.S. ARMY CORPS OF ENGINEERS - ROCK ISLAND DISTRICT
                                                 www.m vr.usace.arm y.m il
                     U.S. ARMY CORPS OF ENGINEERS - ST. LOUIS DISTRICT
                                                w w w .m vs.usace.arm y.m ii




                                                                                                         USACE DAPL0069769
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                                                           Dakota Aocess Pipeline
                                                                                   Permitting Process in Iowa
U.S. ARM Y CORPS OF ENGINEERS                                                                         BUILDING STRONG.
Congressional Districts: ia-2 , 3, 4

Description

Dakota A ccess, LLC, is proposing to construct an
1,134-mile pipeline system to carry up to 570,000
barrels p er day of U.S. light sw eet crude (450,000
barrels p er d ay initially) from th e rapidly expanding
Bakken and T h ree Forks production region of North
Dakota through th e sta te s of North Dakota, South
Dakota, Iowa an d Illinois term inating at a crude oil
hub n ear Patoka, Illinois, with various potentiai
points of destination along th e pipeline. T he pipeline
c ro sse s four sta te s within th e boundaries of three
U.S. Army Corps of E ngineers Districts (O m aha
District, Rock Island District, and St. Louis District).
                                                                                        Ofkoit   ACC»S9PiDtiia* Pnitct
Pipeline Details in Iowa

The Dakota A ccess pipeline in Iowa will consist of approxim ately 346 miles of 30-inch diam eter pipeline and one
pum p station to interconnect with existing pipelines in lliinois for shipm ent to processing facilities and refineries in
th e M idwest an d th e Gulf C oast to reach U.S. custom ers.

Pipeline Right of Way and Footprint in Iowa

T he Dakota A ccess pipeline will cro ss the counties of Lyon, Sioux, O'Brien, C herokee, B uena Vista S ac, Calhoun,
W ebster, Boone, Story (pum p station location), Polk, Jasp er, M ahaska Keokuk, W apello, Jefferson, Van Buren,
and Lee. T he pipeline will parallel existing pipelines, pow er lines or existing ro ads w here possible. During
construction, an additional 25 -100 feet of w orkspace may be n e e d e d adjacent to a 50-foot perm anent ease m en t.
The pipeline will b e covered by a minimum of 36 inches of soil and m ore if it c ro s s e s under roads, rivers, lakes or
stream s. On agricultural land, th e pipeline will b e buried under a minimum of 48 inches of soil, drain tiles will be
cro ssed with a minimum of 24 inches of separation betw een the pipe and the drain tile, and topsoil will be
seg reg ated during construction to a minimum of 12 inches or in acco rdance with landow ner requirem ents.

U.S. Army Corps of Engineers’ Role

The U.S. Army Corps of E ngineers is not evaluating the com plete 1,134-mile pipeline a s its regulatory authority is
limited to w aters of the United S tates. If th e entire pipeline w as constructed in a stream , river, wetland, or other
jurisdictional w ater body, th e C orps would evaluate the construction of the entire pipeline. However, in the c a se of
this pipeline, the majority of th e pipeline is being constructed in uplands, outside of the C o rp s’ regulatory authority.

T he Corps is evaluating D akota A ccess, LLC, permit req u ests for se g m en ts of the pipeline that cross w aters of
th e United S tates. T h ese crossin g s com prise a small percen tag e of the overall pipeline project. D epartm ent of the
Army perm its will be required under both Section 404 of the C lean W ater Act and Section 10 of the Rivers and
H arbors Act for crossings of w aters of th e United S ta te s (stream s, rivers, w etlands), including navigable rivers
such a s th e Missouri River, D es M oines River, Mississippi River, and the Illinois River. The C orps' O m aha District
evalu ates permit req u ests in North Dakota and South Dakota. T he C orps’ Rock Island District evaluates permit
req u ests in Iowa. The Rock Island and St. Louis Districts sh a re permit evaluation authority in portions of Illinois.




                                                                                                                     USACE DAPL0069770
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    I ■■■ I                                               Dakota Access Pipeline
                                                                                   Permitting Process in Iowa
U.S. ARM Y CORPS OF ENGINEERS                                                                    BUILDING STRONG,

Rock Island District’s Role

T he Rock Island District h a s received an application from Dakota A ccess, LLC, requesting verification of work in
w aters of th e United S ta te s in association with construction of seg m en ts of the 30-inch diam eter crude oil pipeline
ac ro ss Iowa within th e Rock Island District’s regulatory boundaries.

In th e information received, Dakota A ccess, LLC, is currently requesting verification, under Nationwide Permit
(NWP) 12 (Utility Line Activities), for 17 a re a s involving crossings of regulated w ater bodies in Iowa including the
D es Moines River and M ississippi River, In accordance with D epartm ent of the Army regulations, w e are
evaluating each sep arate, an d distant, w ater body crossing a s a single and com plete project, and will m ake final
determ inations regarding com pliance of the activities with NWP 12 once our evaluation is com plete. If any work in
w aters, including navigable rivers and w etlands, is authorized under NWP 12, such work m ust be com pleted
according to th e term s of th e permit, a s well a s all general term s of the nationwide permits, regional conditions
and any special conditions that are determ ined to be n ecessary. If any work in w aters d o e s not fall within the
term s and conditions of NWP 12, th e applicant will be advised of procedures for applying for an Individual Permit.

Rock Island District’s Permit Evaluation

The Rock Island District will ev aluate th e w ater body crossings to en su re the construction activity do es not
adversely im pact th e w ater body. T he District’s evaluation will look at any im pacts the crossing seg m e n ts may
have on navigation. T he C orps d o e s not regulate pipelines, or monitor and enforce com pliance with pipeline
safety regulations. T h e se item s m ay be a d d re sse d by the respective sta te s and other federal agencies.

Environmental Impact Statement

The Rock Island District is evaluating the applicant’s req u est to verify seg m en ts of the pipeline in Iowa and Illinois
under NWP 12. Activities authorized under th e 2012 Nationwide Perm its have been evaluated and docum ented in
acco rd an ce with th e National Environm ental Policy Act with a finding of no significant impact; therefore, an
Environm ental Impact Statem en t is not required. If a se g m en t d o e s not m eet the term s and conditions of NWP 12,
that se g m e n t m ust be ev aluated a s an Individual Permit and an Environmental A ssessm en t will be required.

Public Comment

If pipeline seg m en ts are verified under NWP 12, there will not be a public com m ent period. If a seg m en t d o e s not
m eet th e term s and conditions of NWP 12 and m ust be evaluated a s an Individual Permit, there will b e an
opportunity to com m ent on that segm ent. Additional information regarding the U.S. Army C orps of E ngineers’ role
in permitting th e Dakota A ccess, LLC, pipeline can be obtained by contacting the appropriate C orps office.

North an d South Dakota:                  Iowa and Illinois:                         Illinois:

USACE, O m aha District                   USACE, Rock Island District                USACE, St. Louis District
Regulatory Branch                         Regulatory Branch                          Regulatory Branch
8901 South 154th S treet                  Clock Tower Building                       1222 S pruce Street
O m aha, NE 68138-3635                    P.O. Box 2004                              St. Louis MO 63103-2833
Phone: (402) 896-0896                     Rock Island, IL 61204-2004                 Phone: (314) 331-8575
                                          P h o n e :(309) 794-5669
                                                  UPDATE: February 10, 2015


                  U.S. ARMY CORPS OF ENGINEERS - ROCK ISLAND DISTRICT
                      CLOCK TOW ER BUILDING - P.O. BOX 2004 - ROCK ISLAND, IL 61204
                                                Viww.mvr.usace.army.mil




                                                                                                         USACE DAPL0069771
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                                                                      Dakota Access Pipeline
                                                                                  Permitting Process in North Dakota
U.S. A R M Y C O R P S O F E N G IN E E R S                                                                       BUILDING STRONG^
Congressional Districts: n d - i
                                                                                                     DAPL P ro je c t
                                                                                                     N orth D akota
Description

D akota A c c e ss, LLC, is proposing to c o n stru c t an                                                                  Legend
1,134-m ile pipeline s y ste m to carry up to 5 7 0 ,000
b arrels p e r d a y of U .S. light s w e e t cru d e (450,000
b arrels p e r d a y initially) from th e rapidly exp anding
B akken an d T h re e F orks production region of North
D akota through th e s ta te s of North D akota, South
D akota, Iowa an d Illinois term inating at a c ru d e oil
hub n e a r P a to k a , Illinois, with v ario u s potential
points of d estin atio n along th e pipeline. T h e pipeline
c ro s s e s four s ta te s within th e b o u n d a rie s of th ree
U.S. Arm y C o rp s of E n g in e e rs Districts (O m aha
District, R ock Island District, an d St. Louis District).

Pipeline Details in North Dakota

T h e D akota A c c e s s pipeline in North D akota would c o n sist of approxim ately 143 m iles of oil gath erin g pipelines
and 200 m iles of larg er 30-inch d ia m e te r tra n sm issio n pipeline to in terco n n ect with existing pipelines in Illinois for
sh ip m e n t to p ro c e ssin g facilities an d refineries in th e M idw est and th e Gulf C o a st to reach U .S. c u sto m e rs.

Pipeline Right of W ay and Footprint in North Dakota

T h e D akota A c c e s s pipeline would s ta rt with a term inal in th e S tan le y a re a , an d run w e st with five m ore term inals
in R am b erg Station, Epping, T renton, W atford City and J o h n s o n s C o rn er before becom ing a tra n sm issio n line
going through Williston, th e W atford City a re a , so u th of B ism arck cro ssin g th e M issouri R iver ag ain north of
C an n o n Ball. T he pipeline will parallel existing pipelines, p ow er lines or existing ro ad s w h ere p ossible. During
construction, an additional 25 -100 fe e t of w o rk sp a c e m ay be n e e d e d a d ja c e n t to a 50-foot p e rm a n e n t e a s e m e n t.
T h e pipeline will b e co v e re d by a m inim um of 36 in ch es of soil and m ore if it c ro s s e s u n d er ro ad s, rivers, la k es or
stre a m s . O n agricultural land, th e pipeline will be buried u n d er a m inim um of 48 in ch es of soil, drain tiles will be
c ro s s e d with a m inim um of 24 in c h e s of s e p a ra tio n b etw een th e pipe and th e drain tile, and topsoil will be
s e g re g a te d during construction to a m inim um of 12 in c h es or in a c c o rd a n c e with lan d o w n er req u irem en ts.

U.S. Arm y Corps of Engineers’ Role

T h e U .S. Army C o rp s of E n g in e e rs is not evaluating th e co m p lete 1 ,134-m ile pipeline a s its regulatory authority is
limited to w a te rs of th e United S ta te s . If th e entire pipeline w a s c o n stru cte d in a stre a m , river, w etland, or o th e r
jurisdictional w a te r body, th e C o rp s would e v alu a te th e construction of th e entire pipeline. H ow ever, in th e c a s e of
this pipeline, th e m ajority of th e pipeline is being co n stru c ted in up lan d s, o u tsid e of th e C o rp s’ regulatory authority.

T h e C o rp s is evaluating D akota A c c e ss, LLC, perm it re q u e sts for s e g m e n ts of th e pipeline th a t c ro ss w a te rs of
th e United S ta te s . T h e s e c ro ssin g s c o m p rise a sm all p e rc e n ta g e of th e overall pipeline project. D ep artm en t of th e
Army perm its will be required u n d e r S ection 4 04 of th e C lean W a te r Act and S e c tio n s 10 an d 408 of th e R ivers
and H arb o rs Act. S ection 4 0 4 an d /o r S ectio n 10 for c ro ssin g s of w a te rs of th e United S ta te s (stre a m s, rivers,
w etlan d s), including n avigable rivers su c h a s th e M issouri, D es M oines, M ississippi, and Illinois rivers; S ection
408 for alteration, o ccu p atio n or u s e of a C o rp s civil w orks project. T he C o rp s’ O m a h a District e v a lu a te s perm it
re q u e sts in North D akota an d S o u th D akota. T he C o rp s’ R ock Island District e v a lu a te s perm it re q u e s ts in Iowa.
T h e R ock Island an d St. Louis Districts s h a r e perm it evaluation authority in portions of Illinois.




                                                                                                                        USACE DAPL0069772
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                                                                    Dakota Access Pipeline
                                                                                  Permitting Process in North Dakota
U.S. A R M Y C O R P S O F E N G IN E E R S                                                                    BUILDING STR O N G .
O m aha District’s Role

T h e O m a h a District h a s receiv ed an application from D akota A c c e ss, LLC, req u estin g verification of w ork in
w a te rs of th e United S ta te s in a sso c ia tio n with construction of se g m e n ts of th e 30-inch d ia m e te r cru d e oil pipeline
in North D akota within th e O m a h a D istrict’s regulatory b o u n d aries.

In th e inform ation received, D akota A c c e ss, LLC, is currently re q u estin g verification of 2 c ro ssin g s of regulated
w a te r b o d ies u n d e r N ationw ide Perm it (NW P) 12 (utility line activities) in North D akota - both being th e M issouri
River cro ssin g s. In a c c o rd a n c e with D ep a rtm en t of th e Army regulations, w e a re evaluating e a c h s e p a ra te , and
d istant, w a te r body cro ssin g a s a sin g le an d co m p lete project, and will m ak e final d eterm in atio n s regarding
com p lian ce of th e activities with NW P 12 o n c e our evaluation is com plete. If an y w ork in w ate rs, including
navigable rivers an d w e tla n d s, is au th o rized u n d e r NW P 12, su c h work m u st be co m pleted according to th e te rm s
of th e perm it, a s well a s all g e n e ra l te rm s of th e nationw ide perm its, regional conditions an d an y sp ec ial
conditions th a t a re d eterm in ed to be n e c e s sa ry . If an y w ork in w a te rs d o e s not fall within th e te rm s and conditions
of NW P 12, th e ap p lican t will be ad v ise d of p ro c e d u re s for applying for an Individual Perm it.

O m aha District’s Permit Evaluation

T h e O m a h a District will e v a lu a te th e w a te r body c ro ssin g s to e n s u re th e construction activity d o e s not a d v ersely
im pact th e w a te r body. T h e D istrict’s evaluation will look a t an y im pacts th e cro ssin g s e g m e n ts m ay h a v e on
navigation. T h e C o rp s d o e s not reg u late pipelines, or m onitor and en fo rce com pliance with pipeline sa fety
regulations. T h e s e item s m ay be a d d re s s e d by th e resp e ctiv e s ta te s an d o th e r federal a g e n c ie s.

Environm ental Im pact Statem ent

T h e O m a h a District is evaluating th e ap p lic a n t’s re q u e s t to verify s e g m e n ts of th e pipeline in North D akota u n d er
NW P 12. Activities au th o rized u n d e r th e 2 0 1 2 N ationw ide P erm its have b ee n e v a lu ated an d d o c u m e n te d in
a c c o rd a n c e with th e N ational E nvironm ental Policy Act with a finding of no significant im pact; therefo re, an
Environm ental Im pact S ta te m e n t is not required. If a s e g m e n t d o e s not m e e t th e te rm s and conditions of NW P 12,
th a t s e g m e n t m u st be e v a lu a te d a s an Individual Perm it and an Environm ental A s s e s s m e n t will be required.

Public Com m ent

If pipeline s e g m e n ts a re verified u n d e r N W P 12, th e re will not b e a public co m m en t period. If a s e g m e n t d o e s not
m e e t th e te rm s an d conditions of NW P 12 an d m u st be ev a lu a te d a s an Individual Perm it, th e re will be an
opportunity to c o m m e n t on th a t se g m e n t. Additional inform ation regarding th e U .S. Army C o rp s of E n g in e e rs’ role
in perm itting th e D akota A c c e ss, LLC, pipeline ca n b e obtained by contacting th e app ro p riate C o rp s office.

North an d S o u th D akota:                     Iowa and Illinois:                                Illinois:

USACE, O m a h a District                        USACE, R ock Island District                     USACE, St. Louis District
R egu lato ry B ranch                            R egu latory B ranch                             R egulatory B ranch
1616 Capitol A v en u e - Su ite 9000            C lock T ow er Building                          1222 S p ru c e S tre e t
O m ah a, NE 6 8 10 2                            P.O . Box 2004                                   St. Louis MO 6 3 1 0 3 -2 8 3 3
P h o n e: (402) 995 -2 4 6 9                    R ock Island, IL 612 0 4 -2 0 0 4                P h o n e: (314) 331-8575
                                                 P h o n e: (309) 794-5669


                                                         UPDATE: February 11, 2015


                          U.S. A RM Y CORPS OF ENGINEERS - OM AHA DISTRICT
                                 1616 CAPITOL AVENUE - SUITE 9000 - OMAHA, NE 68102
                                               w w w .nw o.usace.arm y.m il




                                                                                                                      USACE DAPL0069773
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                                                                       Dakota Access Pipeline
                                                                                   Permitting Process in South Dakota
U.S. A R M Y C O R P S OF E N G IN E E R S                                                                     BUILDING STR O N G .
Congressional Districts: SD-1

Description

D akota A c c e ss, LLC, is proposing to c o n stru c t an 1 ,134-m ile
pipeline sy s te m to carry up to 5 7 0 ,0 0 0 b arrels p e r d a y of
U.S. light s w e e t c ru d e (4 5 0 ,0 0 0 b arrels p e r d a y initially) from
th e rapidly ex p an d in g B akken an d T h re e F orks production
region of North D akota through th e s ta te s of North D akota,
S outh D akota, Iowa an d Illinois term inating a t a cru d e oil
hub n e a r P a to k a , Illinois, with v ario u s potential points of
d estin atio n along th e pipeline. T h e pipeline c r o s s e s four
s ta te s within th e b o u n d a rie s of th re e U .S. Army C o rp s of
E n g in e e rs Districts (O m ah a District, R ock Island District,
and St. Louis District).

Pipeline Details in South Dakota

T h e D akota A c c e s s pipeline in S outh D akota would c o n sist of approxim ately 273 m iles of a 30-inch d ia m e te r
tra n sm issio n pipeline, o n e p um p station, an d o th e r ancillary facilities to ultim ately in terco n n ect with existing
pipelines in Illinois for sh ip m e n t to p ro c e ssin g facilities and refineries in th e M idw est and th e Gulf C o a st to reach
U.S. c u sto m e rs.

Pipeline Right of W ay and Footprint in South Dakota

T h e D akota A c c e s s pipeline e n te rs S o u th D akota in C am pbell C ounty and will c ro s s M cP herson, E dm unds,
Faulk, Spink, B ead le, Kingsbury, Miner, Lake, M cCook, M innehaha, Turner, a n d Lincoln C o unties. T he pipeline
exits S outh D akota ju st so u th of S ioux Falls w h ere it c r o s s e s th e Big S ioux River into Iowa. T he pipeline will
parallel existing pipelines, po w er lines or existing ro a d s w h e re possible. During construction, an additional 25 -100
fee t of w o rk sp a c e m ay be n e e d e d a d ja c e n t to a 50-foot p e rm a n e n t e a s e m e n t. T he pipeline will be c o v ered by a
minim um of 36 in ch es of soil an d m o re if it c r o s s e s u n d e r ro ad s, rivers, lak es or s tre a m s . On agricultural land, th e
pipeline will be buried u n d e r a m inim um of 48 in ch es of soil, drain tiles will be c ro sse d with a minimum of 24
in ch es of se p a ra tio n b etw een th e pipe an d th e drain tile, and topsoil will b e s e g re g a te d during construction to a
minim um of 12 in ch es or in a c c o rd a n c e with lan d o w n er req u irem en ts.

U.S. Arm y Corps of Engineers’ Role

T h e U .S. Army C o rp s of E n g in e e rs is not evaluating th e co m p lete 1 ,134-m ile pipeline a s its regulatory authority is
limited to w a te rs of th e United S ta te s . If th e entire pipeline w a s c o n stru cte d in a stre a m , river, w etland, or o th e r
jurisdictional w a te r body, th e C o rp s would e v alu a te th e construction of th e entire pipeline. H ow ever, in th e c a s e of
this pipeline, th e m ajority of th e pipeline is being co n stru c ted in up lan d s, o u tsid e of th e C o rp s’ regulatory authority.

T h e C o rp s is evaluating D akota A c c e ss, LLC, perm it re q u e sts for s e g m e n ts of th e pipeline th a t c ro ss w a te rs of
th e United S ta te s . T h e s e c ro ssin g s c o m p rise a sm all p e rc e n ta g e of th e overall pipeline project. D ep artm en t of th e
Army perm its will be required u n d e r both S ection 404 of th e C lean W a te r Act and S e c tio n s 10 of th e R ivers and
H arbors Act. S ection 404 an d /o r S ectio n 10 for c ro ssin g s of w a te rs of th e United S ta te s (stre a m s, rivers,
w etlan d s), including n avigable rivers su c h a s th e M issouri River, D es M oines River, M ississippi River, and Illinois
R ivers. T h e C o rp s’ O m a h a District e v a lu a te s perm it re q u e sts in North D akota and S outh D akota. T he C o rp s’
R ock Island District e v a lu a te s perm it re q u e s ts in Iowa. T he R ock Island and St. Louis Districts s h a r e perm it
evaluation authority in portions of Illinois.




                                                                                                                       USACE DAPL0069774
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                                                                    Dakota Access Pipeline
                                                                                 Permitting Process in South Dakota
U.S. A R M Y C O R P S O F E N G IN E E R S                                                                    BUILDING STR O N G .
O m aha District’s Role

T h e O m a h a District h a s receiv ed an application from D akota A c c e ss, LLC, req u estin g verification of w ork in
w a te rs of th e United S ta te s in a sso c ia tio n with construction of se g m e n ts of th e 30-inch d ia m e te r cru d e oil pipeline
in North D akota within th e O m a h a D istrict’s regulatory b o u n d aries.

In th e inform ation received, D akota A c c e ss, LLC, is currently re q u estin g verification of 12 c ro ssin g s of regulated
w a te r b o d ies u n d e r N ationw ide Perm it (NW P) 12 (utility line activities) in S outh D akota. In a c c o rd a n c e with
D ep artm en t of th e Army regulations, w e a re evaluating e a c h s e p a ra te , and distant, w a te r body cro ssin g a s a
single an d co m p lete project, an d will m a k e final d ete rm in a tio n s regarding co m pliance of th e activities with NW P
12 o n c e o u r evaluation is co m p lete. If an y w ork in w a te rs, including navigable rivers and w etlan d s, is authorized
u n d e r N W P 12, su c h w ork m u st be co m p leted according to th e te rm s of th e permit, a s well a s all g e n e ra l te rm s of
th e nationw ide perm its, regional conditions an d a n y sp ec ial conditions th a t a re d ete rm in e d to b e n e c e ssa ry . If any
w ork in w a te rs d o e s not fall within th e te rm s and conditions of NW P 12, th e applicant will be ad v ised of
p ro c e d u re s for applying for an Individual Perm it.

O m aha District’s Permit Evaluation

T h e O m a h a District will e v a lu a te th e w a te r body c ro ssin g s to e n s u re th e construction activity d o e s not a d v ersely
im pact th e w a te r body. T h e D istrict’s evaluation will look a t an y im pacts th e cro ssin g s e g m e n ts m ay h a v e on
navigation. T h e C o rp s d o e s not reg u late pipelines, or m onitor and en fo rce com pliance with pipeline sa fety
regulations. T h e s e item s m ay be a d d re s s e d by th e resp e ctiv e s ta te s an d o th e r federal a g e n c ie s.

Environm ental Im pact Statem ent

T h e O m a h a District is evaluating th e ap p lic a n t’s re q u e s t to verify s e g m e n ts of th e pipeline in S outh D akota u n d er
NW P 12. Activities au th o rized u n d e r th e 2 0 1 2 N ationw ide P erm its have b ee n e v a lu ated an d d o c u m e n te d in
a c c o rd a n c e with th e N ational E nvironm ental Policy Act with a finding of no significant im pact; therefo re, an
Environm ental Im pact S ta te m e n t is not required. If a s e g m e n t d o e s not m e e t th e te rm s and conditions of NW P 12,
th a t s e g m e n t m u st be e v a lu a te d a s an Individual Perm it and an E nvironm ental A s s e s s m e n t will be required.

Public Com m ent

If pipeline s e g m e n ts a re verified u n d e r N W P 12, th e re will not b e a public co m m en t period. If a s e g m e n t d o e s not
m e e t th e te rm s an d conditions of NW P 12 an d m u st be ev a lu a te d a s an Individual Perm it, th e re will be an
opportunity to c o m m e n t on th a t se g m e n t. Additional inform ation regarding th e U .S. Army C o rp s of E n g in e e rs’ role
in perm itting th e D akota A c c e ss, LLC, pipeline ca n b e obtained by contacting th e app ro p riate C o rp s office.

North an d S o u th D akota:                     Iowa and Illinois:                                Illinois:

USACE, O m a h a District                        USACE, R ock Island District                     USACE, St. Louis District
R egu lato ry B ranch                            R egu latory B ranch                             R egulatory B ranch
1616 Capitol A v en u e - Su ite 9000            C lock T ow er Building                          1222 S p ru c e S tre e t
O m ah a, NE 6 8 10 2                            P.O . Box 2004                                   St. Louis MO 6 3 1 0 3 -2 8 3 3
P h o n e: (402) 995 -2 4 6 9                    R ock Island, IL 612 0 4 -2 0 0 4                P h o n e: (314) 331-8575
                                                 P h o n e: (309) 794-5669


                                                         UPDATE: February 11, 2015


                          U.S. A RM Y CORPS OF ENGINEERS - OM AHA DISTRICT
                                 1616 CAPITOL AVENUE - SUITE 9000 - OMAHA, NE 68102
                                               w w w .nw o.usace.arm y.m il




                                                                                                                      USACE DAPL0069775
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      U.S. Arm y Corps of Engineers Regulatory Program Points of Contacts
                      For Dakota Access Pipeline Activities


Mississippi Valiev Division
US Army Corps of Engineers (CEMVD-PD-OD)
1400 Walnut Street
Vicksburg, Mississippi    39180-3262

Ms. Tonya L. Acuff
Regulatory Program Manager
601-634-5821;        Fax: 601-634-5816
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Rock Island District
US Army Corps of Engineers (CEMVR-OD-P)
1500 Rock Island Drive
Rock Island, Illinois   61201

Mr. Gary W. Lenz (District POC)
Regulatory Chief
309-794-5370;
Email: .qarv.w.lenz@usace.armv.mil

St. Louis District
US Army Corps of Engineers (CEMVS-OD-F)
1222 Spruce Street
St. Louis, Missouri     63103

Mr. Danny D. Mcclendon (District POC)
Regulatory Chief
314-331-8574;     Fax: 314-331-8741
Email: dannv.d.mcclendon@usace.armv.mil

G reat Lakes and Ohio River Division
US Army Corps of Engineers (CELRD-PD)
550 Main Street, Room 10032
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Ms. Suzanne L. Chubb
Regulatory Program Manager
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                                                                  USACE DAPL0069776
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Louisville District
US Army Corps of Engineers (CELRL-OP-F)
600 Martin Luther King Jr. Place
Louisville, Kentucky       40202

Ms. Lee Ann Devine
Regulatory Chief
Phone#; 502-315-6692     Fax: (502)315-6697
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Mr. Michael 8. Ricketts (District POC)
West Section Chief
812-853-0472;       Fax: (812)858-2678
Email: michael.s.ricketts@usace.armv.mil

Northwestern Division
US Army Corps of Engineers (CENWD-PDS)
1125 NW Couch Street, Suite 500
Portland, Oregon  97208-2870

Mr. David W. GesI
Regulatory Program Manager
503-808-3825;       Fax: 503-808-3725
Email: .david.w.qesl@usace.armv.mil

O m aha District (Lead District)
US Army Corps of Engineers (CENWO-OD-R)
1616 Capitol Avenue
Omaha, Nebraska 68102

Ms. Martha S. Chieply (District POC)
Regulatory Chief
402-995-2451;       Fax: 402-995-2879
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Mr. Joel 0. Ames (District-wide Tribal Liaison)
420-995-2451;       Fax: 402-995-2013
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                                                                USACE DAPL0069777
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North Dakota Regulatory Field Office (C ENW O -O D-RND)
Mr. Jason J. Renschler (NO POC)
Regulatory Project Manager
North Dakota Regulatory Office
1513 South 12th Street
Bismarck, North Dakota    58504
701-255-0015 Ext 2010;    Fax: 402-255-4917
Email: iason.i.renschler@usace.armv.mil

South Dakota Regulatory Field Office (CENW O -O D-RSD)
Mr. Jeff Breckenridge (SD POC)
Regulatory Project Manager
South Dakota Regulatory Office
28563 Powerhouse Road
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605-945-3384;             Fax: 605-224-5945
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                                                                USACE DAPL0069778
                                                                        Case 1:16-cv-01534-JEB Document 185-1 Filed 03/23/17 Page 574 of 607


     A         B            C          D                 E                                F
   PCN
 1
              Mile     Longitude  Latitude            County                          wous
   Area
 2 State of North Dakota - Omaha Dsitrict
 3   2           96.78 -103.9057   47.9601        Williams     Missouri River
 4   4          164.89 -100.5871   46.4386        Morton       Lake Oahe/Missouri River
 5
 6
 7 State of South Dakota - Omaha District
 8             315.74 -98.6528         44.9416    Spink        Unnamed W etland
     3
 9             315.88 -98.6507         44.9396    Spink        Unnamed W etland
10   17        335.35 -98.4308         44.7613    Spink        Unnamed W etland
11   4         352.27 -98.2336         44.5880    Beadle       James River
12   6         363.19 -98.0094         44.5371    Beadle       Shue Creek
13   7         371.12 -97.9072         44.4533    Beadle       Middle Pearl Creek
14    8        385.96 -97.6994         44.3041    Kingsbury    Redstone Creek
15   9         391.83 -97.6172         44.2462    Kingsbury    Rock Creek
16   10        395.14 -97.5686         44.2122    Kingsbury    Unnamed W etland
17   12        421.85 -97.2303         43.9268    Lake         Unnamed W etland
18   13        430.21 -97.1339         43.8381    McCook       Unnamed W etland
19   14        430.86 -97.1312         43.8291    McCook       Unnamed W etland
20
21
22 State of Iowa - Roc c Island District
23               485.2    43.3398      -96.5133   Lyon         Unnamed W etland
      1
24               485.2    43.3400      -96.5132   Lyon         Tributary to Big Sioux River
25   2           486.0    43.3319      -96.5016   Lyon         Tributary to Big Sioux River
26   3           500.2    43.2325      -96.2671   Sioux        Unnamed W etland
27   4           500.7    43.2319      -96.2584   Sioux        Unnamed W etland
28   5           549.5    42.8267      -95.5109   Cherokee     Unnamed W etland
29                 550    42.8244      -95.5016   Cherokee     Unnamed W etland
     6
30                 550    42.8243      -95.5020   Cherokee     Tributary to Little Sioux River
31   7           596.3    42.4756      -94.7473   Calhoun      W est Fork Camp Creek
32   8           600.4    42.4483      -94.6792   Calhoun      Camp Creek
   PCN
              Mile      Longitude      Latitude       County                          WOUS
33 Area
34 State of Iowa - Roc c Island District cont.
35   9           604.9    42.4220      -94.5975   Calhoun      Lake Creek
36   10          608.9    42.3918      -94.5348   Calhoun      Purgatory Creek
37   11          610.4    42.3896      -94.5054   Calhoun      W est Cedar Creek
38   12          613.7    42.3728      -94.4458   Calhoun      East Cedar Creek
39   13          617.8    42.3368      -94.3849   W ebster     Hardin Creek
40   14            622    42.3075      -94.3135   W ebster     W est Buttrick Creek
41   15            627    42.2731      -94.2298   W ebster     Tributary to East Buttrick Creek
42   16          628.7    42.2609      -94.2016   W ebster     East Buttrick Creek
43   17            642    42.1699      -93.9760   Boone        Tributary to the Des Moines River
44 17A             642    42.1699      -93.9810   Boone        Tributary to the Des Moines River




                                                                                                                                               USACE DAPL0069779
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      A          B            C              D              E                              F
45                642.5    42.1685       -93.9662    Boone        Unnamed W etland
      18
46                642.5    42.1687       -93.9661    Boone        Des Moines River
47   19           643.5    42.1657       -93.9466    Boone        Tributary to Mineral Branch
48   20           666.7    41.9559       -93.6318    Story        W alnut Creek
49   21           671.9    41.9073       -93.5629    Story        Ballard Creek
50   22           672.6    41.9018       -93.5531    Story        Tributary to Ballard Creek
51   23           688.9    41.7696       -93.3068    Jasper       Tributary to Indian Creek
52   24           692.1    41.7380       -93.2690    Jasper       Tributary to Indian Creek
53   25           692.4    41.7368       -93.2633    Jasper       Tributary to Indian Creek
54   26           692.9    41.7345       -93.2538    Jasper       Tributary to Indian Creek
55   27           696.7    41.7115       -93.1914    Jasper       Unnamed W etland
56                698.9    41.6992       -93.1525    Jasper       Unnamed W etland
     28
57                698.9    41.6991       -93.1530    Jasper       Tributary to Prairie Creek
58                706.5    41.6338       -93.0505    Jasper       Unnamed W etland
59   29           706.6    41.6338       -93.0499    Jasper       Unnamed W etland
60                706.6    41.6333       -93.0502    Jasper       Unnamed W etland
61   30           707.2    41.6263       -93.0453    Jasper       Tributary to the South Skunk River
62   31           736.4    41.3692       -92.6190    M ahaska     Tributary to the South Skunk River
63                739.8    41.3368       -92.5729    M ahaska     Unnamed W etland
     32
64                740.2    41.3331       -92.5678    M ahaska     Unnamed W etland
   PC N
              M ile      L ongitude      L atitude       County                         W OUS
65 A rea
66 State of Iow a - Roc c Island D istrict cont.
67   33           740.9    41.3247       -92.5596    M ahaska     Unnamed W etland
68   34             743    41.3048       -92.5332    M ahaska     Unnamed W etland
69   35             747    41.2559       -92.5010    M ahaska     Tributary to Snyder Creek
70   36           751.7    41.2223       -92.4285    M ahaska     Tributary to Olive Branch
71   37           765.9    41.0890       -92.2355    W apello     Tributary to W olf Creek
72   38           766.8    41.0807       -92.2227    W apello     Tributary to Cedar Creek
73   39           768.4    41.0649       -92.2002    W apello     Tributary to Cedar Creek
74   40           770.3    41.0429       -92.1794    Jefferson    Tributary to Cedar Creek
75                771.2    41.0312       -92.1741    Jefferson    Unnamed W etland
     41
76                771.3    41.0305       -92.1742    Jefferson    Tributary to Honey Creek
77   42           775.1    40.9920       -92.1318    Jefferson    Tributary to Rock Creek
78   43           776.9    40.9774       -92.1035    Jefferson    Bonell Creek
79   44           777.6    40.9718       -92.0927    Jefferson    Tributary to Bonell Creek
80   48           789.5    40.8833       -91.9077    Van Buren    Tributary to Cedar Creek
81   49           789.6    40.8819       -91.9059    Van Buren    Tributary to Cedar Creek
82   51           795.2    40.8337       -91.8227    Van Buren    Tributary to Little Cedar Creek
83   52           795.6    40.8310       -91.8170    Van Buren    Tributary to Little Cedar Creek
84   53           799.2    40.8024       -91.7608    Van Buren    Unnamed W etland
85   54           800.1    40.7942       -91.7471    Van Buren    Tributary to Little Cedar Creek
86   45           780.8    40.9427       -92.0452    Jefferson    East Branch Lick Creek
87                  781    40.9412       -92.0423    Jefferson    Unnamed W etland
     46
88                  781    40.9412       -92.0422    Jefferson    Tributary to East Branch Eick Creek
89   AH
                  781.9    40.9343       -92.0281    Jefferson    Unnamed W etland




                                                                                                                                                 USACE DAPL0069780
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      A          B            C             D               E                                 F
90                781.9    40.9345      -92.0274    Jefferson      Tributary to East Branch Lick Creek
91    50          793.1    40.8513      -91.8541    Van Buren      Unnamed W etland
92    57          823.8    40.5451      -91.4881    Lee            Tributary to Sugar Creek
93                824.3    40.5405      -91.4828    Lee            Unnamed W etland
      58
94                824.3    40.5406      -91.4825    Lee            Tributary to Sugar Creek
95    59          825.1    40.5317      -91.4724    Lee            Tributary to Sugar Creek
96    55          817.6    40.6204      -91.5333    Lee            Tributary to Painter Creek
    PCN
                Mile      Longitnde     Latitnde          Connty                         WOUS
97 Area
98 State of Iowa - Roc c Island District cont.
99    56           817.9    40.6165      -91.5339   Lee            Tributary to Painter Creek
100 60             829.8    40.4879      -91.4087   Lee            Unnamed W etland
101                830.4    40.4850      -91.3975   Lee            Unnamed W etland
      61
102                830.4    40.4848      -91.3976   Lee            Tributary to Lamalees Creek
103 62               831    40.4801      -91.3870   Lee            Tributary to Lamalees Creek
104 63             831.3    40.4780      -91.3839   Lee            Tributary to Lamalees Creek
105 64             831.4    40.4756      -91.3768   Lee            Mississippi River
106
107
    PCN
                Mile      Longitnde     Latitnde          Connty                         WOUS
108 Area
109 State of Illinois - Rock Island
110    1           832.5    40.4752      -91.3640   Hancock        Mississippi River
111    2           834.5    40.4717      -91.3290   Hancock        Unnamed W etland
112                  835    40.4692      -91.3240   Hancock        Tributary to Larry Creek
113    3             835    40.4693      -91.3240   Hancock        Tributary to Larry Creek
114                  835    40.4691      -91.3240   Hancock        Tributary to Larry Creek
115    4             842 40.4077         -91.2140   Hancock        Tributary to W est Fork Bear Creek
116    5           845.5    40.3777      -91.1630   Hancock        Bear Creek
117                  849 40.3397         -91.1160   Hancock        Unnamed W etland
118                  849 40.3392         -91.1160   Hancock        Unnamed W etland
       6
119                  849 40.3396         -91.1160   Hancock        Tributary to Meadow Ditch
120                  849 40.3395         -91.1160   Hancock        Tributary to Meadow Ditch
121    7           850.5    40.3209      -91.0980   Hancock        Bronson Creek
122    8           852.5    40.3016      -91.0780   Hancock        Tributary to Bronson Creek
123    9           852.5    40.2987      -91.0750   Hancock        Tributary to Bronson Creek
124 10             853.5    40.2920      -91.0680   Hancock        Tributary to Bronson Creek
125 11             854.5    40.2803      -91.0550   Hancock        Tributary to Panther Creek
126 12               855    40.2761      -91.0500   Hancock        Tributary to Panther Creek
127
    PCN
                Mile      Longitnde     Latitnde          Connty                         WOUS
128 Area
129 State of Illinois - Rock Island cont.
130                  855    40.2715      -91.0460   Hancock        Tributary to Panther Creek
      13
131                  855    40.2714      -91.0460   Hancock        Tributary to Panther Creek
132                855.5    40.2655      -91.0400   Hancock        Tributary to Panther Creek




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      A          B            C             D              E                                F
133               855.5    40.2648      -91.0390    Hancock      Tributary to Panther Creek
134                 856    40.2628      -91.0370    Hancock      Unnamed W etland
      14
135                 856    40.2650      -91.0390    Hancock      Tributary to Panther Creek
136                 856    40.2642      -91.0380    Hancock      Tributary to Panther Creek
137                 856    40.2619      -91.0360    Hancock      Panther Creek
138               860.5    40.2134      -90.9860    Hancock      Tributary to W illiams Creek
      15
139               860.5    40.2127      -90.9840    Hancock      Tributary to W illiams Creek
140                 861    40.2067      -90.9780    Hancock      Unnamed W etland
      16
141                 861    40.2063      -90.9780    Hancock      W illiams creek
142   17            861    40.2036      -90.9750    Hancock      Tributary to W illiams Creek
143               861.5    40.2007      -90.9720    Hancock      Tributary to W illiams Creek
      18
144               861.5    40.1998      -90.9710    Hancock      Tributary to W illiams Creek
145                 862    40.1940      -90.9660    Hancock      Unnamed W etland
      19
146                 862    40.1940      -90.9660    Hancock      Tributary to W illiams Creek
147   20          862.5    40.1910      -90.9630    Adams        Tributary to W illiams Creek
148               864.5    40.1698      -90.9420    Adams        Tributary to Cedar Creek
149               864.5    40.1693      -90.9420    Adams        Tributary to Cedar Creek
      21
150               864.5    40.1683      -90.9420    Adams        Cedar Creek
151               864.5    40.1680      -90.9419    Adams        Tributary to Cedar Creek
152                 866    40.1514      -90.9250    Adams        Tributary to S Branch to Cedar Creek
      22
153                 866    40.1536      -90.9270    Adams        S Branch to Cedar Creek
154               867.5    40.1360      -90.9080    Schuyler     Unnamed W etland
      23
155               867.5    40.1360      -90.9080    Schuyler     South Fork Creek
156                 868    40.1310      -90.9000    Schuyler     Unnamed W etland
157                 868    40.1300      -90.9000    Schuyler     Unnamed W etland
      24
158                 868    40.1300      -90.9000    Schuyler     Tributary to Missouri Creek
159                 868    40.1280      -90.8990    Schuyler     Tributary to Missouri Creek
    PCN
                Mile      Longitnde     Latitnde        Connty                         WOUS
160 Area
161 State of Illinois - Rock Island cont.
162                868.5    40.1258      -90.8940   Schuyler     Tributary to Missouri Creek
      25
163                868.5    40.1249      -90.8930   Schuyler     Tributary to Missouri Creek
164 26               869 40.1220         -90.8900   Schuyler     Tributary to Missouri Creek
165 27               869 40.1181         -90.8880   Schuyler     Tributary to Missouri Creek
166 28             869.5    40.1142      -90.8860   Schuyler     Tributary to Missouri Creek
167 29             869.5    40.1115      -90.8840   Schuyler     Tributary to Missouri Creek
168 30             870.5    40.1020      -90.8740   Brown        Missouri Creek
169                  871    40.0977      -90.8700   Brown        Unnamed W etland
      31
170                  871    40.0975      -90.8700   Brown        Tributary to Missouri Creek
171 32               871    40.0940      -90.8680   Brown        Tributary to Missouri Creek
172 33               872 40.0867         -90.8610   Brown        Tributary to Missouri Creek
173                  872 40.0845         -90.8550   Brown        Tributary to Missouri Creek
174                  872 40.0845         -90.8560   Brown        Tributary to Missouri Creek
175                  872 40.0839         -90.8550   Brown        Tributary to Missouri Creek
      34
176                  872 40.0846         -90.8550   Brown        Tributary to Missouri Creek
177                872.5    40.0828      -90.8530   Brown        Tributary to Missouri Creek




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       A          B             C              D                E                              F
178                872.5     40.0826       -90.8530     Brown       Tributary to Missouri Creek
179                872.5     40.0797       -90.8500     Brown       Tributary to Missouri Creek
180   35           872.5     40.0798       -90.8500     Brown       Tributary to Missouri Creek
181                872.5     40.0796       -90.8500     Brown       Tributary to Missouri Creek
182                  873     40.0732       -90.8440     Brown       Tributary to Little Missouri Creek
      36
183                873.5     40.0717       -90.8420     Brown       Tributary to Little Missouri Creek
184   37             874     40.0653       -90.8350     Brown       Tributary to Little Missouri Creek
185   38             874     40.0630       -90.8320     Brown       Tributary to Little Missouri Creek
186                874.5     40.0599       -90.8290     Brown       Unnamed W etland
      39
187                874.5     40.0605       -90.8300     Brown       Little Missouri Creek
188                874.5     40.0567       -90.8260     Brown       Tributary to Little Missouri Creek
189                874.5     40.0563       -90.8250     Brown       Tributary to Little Missouri Creek
      40
190                874.5     40.0580       -90.8270     Brown       Tributary to Little Missouri Creek
191                874.5     40.0575       -90.8270     Brown       Tributary to Little Missouri Creek
    PC N
192 A rea
                M ile       L ongitnde      L atitnde      Connty                          wous
193 State of Illinois - R ock Island cont.
194                   875    40.0498        -90.8200    Brown       Tributary to South Branch Little Missouri Creek
      41
195                   875    40.0496        -90.8200    Brown       Tributary to South Branch Little Missouri Creek
196 42              875.5    40.0480        -90.8180    Brown       Tributary to South Branch Little Missouri Creek
197                 875.5    40.0461        -90.8150    Brown       Tributary to South Branch Little Missouri Creek
198                 875.5    40.0460        -90.8150    Brown       Tributary to South Branch Little Missouri Creek
199                 875.5    40.0457        -90.8150    Brown       Tributary to South Branch Little Missouri Creek
200   43            875.5    40.0444        -90.8130    Brown       Tributary to South Branch Little Missouri Creek
201                 875.5    40.0445        -90.8140    Brown       Tributary to South Branch Little Missouri Creek
202                   876 40.0437           -90.8130    Brown       Tributary to South Branch Little Missouri Creek
203                   876 40.0432           -90.8120    Brown       Tributary to South Branch Little Missouri Creek
204 44                876 40.0401           -90.8080    Brown       South Branch Little Missouri Creek
205 45              879.5    40.0004        -90.7920    Brown       W est Creek
206
207
208 State of Illinois - St. Lonis D istrict
209    1              881    39.9790        -90.7860    Brown       Tributary to Dry Fork
210                   883    39.9668        -90.7636    Brown       Tributary to Dry Fork
       2
211                   883    39.9668        -90.7632    Brown       Tributary to Dry Fork
212    3            886.5    39.9337        -90.7084    Brown       Tributary to Camp Creek
213                   888    39.9184        -90.6896    Brown       Unnamed W etland
       4
214                   888    39.9183        -90.6897    Brown       Tributary to Camp Creek
215    5            888.5    39.9143        -90.6842    Brown       Tributary
216    6              889    39.9125        -90.6760    Brown       Tributary to Camp Creek
217    7            889.5    39.9120        -90.6670    Brown       Tributary to Camp Creek
218    8              890    39.9120        -90.6590    Brown       Tributary to Camp Creek
219    9            890.5    39.9110        -90.6470    Brown       Tributary to Camp Creek
220 10                892    39.9010        -90.6240    Brown       Tributary to Camp Creek
221                 892.5    39.8980        -90.6190    Brown       Unnamed W etland
      11
222                 892.5    39.8990        -90.6200    Brown       Tributary to Camp Creek




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      A          B             C             D                E                               F
223
    PCN
                Mile        Longitnde     Latitnde      Connty                          WOUS
224 Area
225 State of Illinois - St. Louis District cont.
226                  899     39.8110      -90.5840   Pike          Unnamed W etland
227 12             899.5     39.8090      -90.5800   Morgan        Unnamed W etland
228                  889     39.8110      -90.5820   Pike/Morgan   Illinois River
229 13               903     39.7720      -90.5280   Scott         Tributary to Eagle Run
230                  904     39.7585      -90.5107   Scott         Tributary to W olf Run
231 14               904     39.7587      -90.5110   Scott         Tributary to W olf Run
232                  904     39.7588      -90.5113   Scott         Tributary to W olf Run
233                904.5     39.7548      -90.5061   Scott         Tributary to W olf Run
234                904.5     39.7553      -90.5067   Scott         Tributary to W olf Run
      15
235                904.5     39.7559      -90.5075   Scott         Tributary to W olf Run
236                904.5     39.7563      -90.5080   Scott         Tributary to W olf Run
237                905.5     39.7463      -90.4945   Scott         Tributary to W olf Run
      16
238                905.5     39.7459      -90.4935   Scott         Tributary to W olf Run
239 17             905.5     39.7443      -90.4897   Scott         Tributary to W olf Run
240                906.5     39.7346      -90.4719   Scott         Tributary to Mauvaisc Terre Creek
      18
241                906.5     39.7343      -90.4713   Scott         Tributary to Mauvaisc Terre Creek
242                  907     39.7321      -90.4683   Scott         Tributary to Mauvaisc Terre Creek
      19
243                  907     39.7311      -90.4667   Scott         Tributary to Mauvaisc Terre Creek
244                  910     39.7086      -90.4250   Scott         Plum Creek
      20
245                  910     39.7083      -90.4246   Scott         Tributary to Plum Creek
246 21               912     39.6877      -90.3955   Scott         Tributary to W alnut Creek
247                  915     39.6620      -90.3525   Scott         Tributary to Sandy Creek
      22
248                  915     39.6613      -90.3515   Scott         Tributary to Sandy Creek
249 23             915.5     39.6540      -90.3460   Scott         Tributary to Sandy Creek
250 24               916     39.6525      -90.3418   Scott         Tributary to Sandy Creek
251 25               916     39.6514      -90.3378   Morgan        Tributary to Sandy Creek
252                  917     39.6453      -90.3261   Morgan        Tributary to Brush Fork
253                  917     39.6465      -90.3268   Morgan        Tributary to Brush Fork
      26
254                  917     39.6452      -90.3260   Morgan        Tributary to Brush Fork
255                  917     39.6480      -90.3288   Morgan        Tributary to Brush Fork
    PCN
                Mile        Longitnde     Latitnde      Connty                          WOUS
256 Area
257 State of Illinois - St. Lonis District cont.
258                917.5     39.6399      -90.3176   Morgan        Tributary to Brush Fork
      27
259                917.5     39.6399      -90.3178   Morgan        Brushy Fork
260                  920     39.6289      -90.2781   Morgan        Unnamed W etland
261 29               920     39.6301      -90.2796   Morgan        Tributary to Spoon Creek
262                  920     39.6290      -90.2781   Morgan        Tributary to Spoon Creek
263                  925     39.5830      -90.2166   Morgan        Coal Creek
      30
264                  925     39.5830      -90.2159   Morgan        Coal Creek
265                925.5     39.5764      -90.2049   Morgan        Tributary to Fick Creek
      31
266                925.5     39.5766      -90.2054   Morgan        Fick Creek




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        A        B            C              D                E                              F
267    32           927    39.5591       -90.1870    Morgan       Tributary to Lick Creek
268    33           928    39.5567       -90.1761    Morgan       Tributary to Little Apple Creek
269    34           928    39.5543       -90.1708    Morgan       Little Apple Creek
270    35         928.5    39.5500       -90.1680    Morgan       Tributary to Little Apple Creek
271    36           929    39.5480       -90.1640    Morgan       Tributary to Little Apple Creek
111                 929    39.5462       -90.1601    Morgan       Tributary to Little Apple Creek
       37
111,                929    39.5455       -90.1589    Morgan       Tributary to Little Apple Creek
HA     38           930    39.5377       -90.1466    Morgan       Tributary to Little Apple Creek
275               930.5    39.5344       -90.1408    Morgan       Unnamed W etland
276    39         930.5    39.5345       -90.1408    Morgan       Tributary to Left Fork Apple Creek
111               930.5    39.5343       -90.1401    Morgan       Tributary to Left Fork Apple Creek
278               930.5    39.5326       -90.1337    Morgan       Tributary to Left Fork Apple Creek
279                 931    39.5316       -90.1312    Morgan       Unnamed W etland
       40
280                 931    39.5306       -90.1285    Morgan       Tributary to Left Fork Apple Creek
281                 931    39.5318       -90.1317    Morgan       Left Fork Apple Creek
282               931.5    39.5286       -90.1252    Morgan       Tributary to Left Fork Apple Creek
       41
283               931.5    39.5278       -90.1239    Morgan       Tributary to Left Fork Apple Creek
284    42         931.5    39.5240       -90.1250    Morgan       Tributary to Left Fork Apple Creek
285
286
287
    PCN
                Mile        Longitnde     Latitnde      Connty                          WOUS
288 Area
289 State of Illinois - St. Louis District cont.
290                932.5     39.5190      -90.1100   Macoupin     Baitter Branch
291                932.5     39.5190      -90.1100   Macoupin     Tributary to Baitter Branch
      43
292                932.5     39.5190      -90.1100   Macoupin     Tributary to Baitter Branch
293                932.5     39.5190      -90.1100   Macoupin     Tributary to Baitter Branch
294                  933     39.5120      -90.1001   Macoupin     Unnamed W etland
      44
295                933.5     39.5114      -90.0979   Macoupin     Apple Creek
296 45             935.5     39.4873      -90.0768   Macoupin     Tributary to Panther Creek
297                  939     39.4624      -90.0198   Macoupin     Unnamed W etland
298                  939     39.4619      -90.0185   Macoupin     Tributary to Solomon Creek
      46
299                  939     39.4617      -90.0177   Macoupin     Tributary to Solomon Creek
300                  939     39.4622      -90.0195   Macoupin     Tributary to Solomon Creek
301                  940     39.4548      -90.0022   Macoupin     Tributary to Solomon Creek
302 47             940.5     39.4534      -89.9995   Macoupin     Solomon Creek
303                940.5     39.4520      -89.9967   Macoupin     Tributary to Solomon Creek
304                943.5     39.4323      -89.9533   Macoupin     Nassa Creek
305                943.5     39.4309      -89.9505   Macoupin     Tributary to Nassa Creek
306 48               944     39.4290      -89.9472   Macoupin     Tributary to Nassa Creek
307                  944     39.4293      -89.9478   Macoupin     Tributary to Nassa Creek
308                  944     39.4301      -89.9489   Macoupin     Tributary to Nassa Creek
309                  945     39.4159      -89.9314   Macoupin     Tributary to Otter Creek
      49
310                945.5     39.4150      -89.9299   Macoupin     Tributary to Otter Creek
311 50             946.5     39.3990      -89.9189   Macoupin     Otter Creek




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       A         B            C              D             E                                  F
312   51          956.5    39.2859       -89.8198    Macoupin     Macoupin Creek
313   52          957.5    39.2831       -89.8077    Macoupin     Unnamed W etland
314   53          963.5    39.2134       -89.7446    Macoupin     Tributary to Honey Creek
315   54          967.5    39.1572       -89.7317    Macoupin     Cahokia Creek
316   55          973.5    39.0950       -89.6734    Montgomery   Tributary to Lake Fork
317               977.5    39.0512       -89.6170    Montgomery   Tributary to Grave Branch
      56
318                 978    39.0512       -89.6155    Montgomery   Unnamed W etland
319   57          978.5    39.0470       -89.6013    Montgomery   Tributary to Lake Fork
    PCN
                Mile        Longitnde     Latitnde       Connty                         WOUS
320 Area
321 State of Illinois - St. Louis District cont.
322                  979     39.0470      -89.5960   Montgomery   Tributary to Lake Fork
323 58               979     39.0470      -89.5960   Montgomery   Tributary to Lake Fork
324                  979     39.0470      -89.5960   Montgomery   Unnamed W etland
325                979.5     39.0480      -89.5880   Montgomery   Tributary to Lake Fork
326   59           979.5     39.0470      -89.5890   Montgomery   Unnamed W etland
327                979.5     39.0470      -89.5880   Montgomery   Unnamed W etland
328 60               980     39.0464      -89.5744   Montgomery   Tributary to Lake Fork
329                  981     39.0461      -89.5611   Montgomery   Unnamed W etland
      61
330                  981     39.0461      -89.5603   Montgomery   Tributary to Shoal Creek
331 62             981.5     39.0461      -89.5508   Montgomery   Shoal Creek
332 63               983     39.0434      -89.5198   Montgomery   Tributary to Panama Creek
333 64             984.5     39.0450      -89.4970   Montgomery   Unnamed W etland
334 65               989     39.0381      -89.4196   Montgomery   Unnamed W etland
335 66             991.5     39.0110      -89.4030   Bond         Tributary to East Fork Shoal Creek
336                  992     39.0050      -89.3920   Bond         Tributary to East Fork Shoal Creek
      67
337                  992     39.0050      -89.3920   Bond         Unnamed W etland
338                  993     38.9985      -89.3801   Bond         Tributary
      68
339                  993     38.9978      -89.3778   Bond         Tributary
340                994.5     38.9880      -89.3490   Bond         Unnamed W etland
341                994.5     38.9880      -89.3500   Bond         Tributary to Dry Branch
342                994.5     38.9880      -89.3490   Bond         Dry Branch
      69
343                994.5     38.9870      -89.3470   Bond         Tributary to Dry Branch
344                994.5     38.9880      -89.3490   Bond         Unnamed W etland
345                994.5     38.9880      -89.3470   Bond         Unnamed W etland
346                  995     38.9830      -89.3400   Bond         Tributary to Dry Branch
      70
347                  995     38.9830      -89.3400   Bond         Tributary to Dry Branch
348 71             995.5     38.9816      -89.3359   Bond         Tributary to Dry Branch
349 72             997.5     38.9657      -89.3107   Bond         Kingsbury Branch
350
351
    PCN
                Mile        Longitnde     Latitnde       Connty                         WOUS
352 Area
353 State of Illinois - St. Lonis District cont.
354               1002.5     38.9200      -89.2390   Fayette      Hurricane Creek
355               1002.5     38.9210      -89.2390   Fayette      Tributary to Hurricane Creek




                                                                                                                                                 USAGE DAPL0069786
                                                                             Case 1:16-cv-01534-JEB Document 185-1 Filed 03/23/17 Page 582 of 607


      A           B             C             D                  E                            F
356   73          1002.5     38.9210      -89.2390     Fayette       Unnamed W etland
357               1002.5     38.9210      -89.2390     Fayette       Unnamed W etland
358               1002.5     38.9210      -89.2400     Fayette       Unnamed W etland
359   74            1003     38.9140      -89.2311     Fayette       Tributary to Hurricane Creek
360               1003.5     38.9104      -89.2256     Fayette       Unnamed W etland
361               1003.5     38.9089      -89.2235     Fayette       Tributary to Hurricane Creek
      75
362               1003.5     38.9085      -89.2228     Fayette       Tributary to Hurricane Creek
363               1003.5     38.9083      -89.2225     Fayette       Tributary to Hurricane Creek
364                 1004     38.9051      -89.2177     Fayette       Unnamed W etland
      76
365                 1004     38.9052      -89.2177     Fayette       Tributary to Hurricane Creek
366   77          1006.5     38.8778      -89.1894     Fayette       Tributary to Buck Creek
367                 1010     38.8620      -89.1530     Fayette       Tributary to Kaskaskia River
368                 1010     38.8590      -89.1520     Fayette       Unnamed W etland
369                 1010     38.8590      -89.1510     Fayette       Unnamed W etland
370                 1010     38.8570      -89.1490     Fayette       Unnamed W etland
371                 1010     38.8550      -89.1480     Fayette       Unnamed W etland
372                 1010     38.8540      -89.1480     Fayette       Unnamed W etland
373                 1010     38.8540      -89.1480     Fayette       Unnamed W etland
374               1010.5     38.8520      -89.1460     Fayette       Unnamed W etland
      78
375               1010.5     38.8490      -89.1450     Fayette       Unnamed W etland
376                 1011     38.8480      -89.1430     Fayette       Cassar Creek
377                 1011     38.3470      -89.1430     Fayette       Unnamed W etland
378                 1011     38.8470      -89.1420     Fayette       Unnamed W etland
379                 1011     38.8460      -89.1420     Fayette       Unnamed W etland
380                 1011     38.8440      -89.1420     Fayette       Unnamed W etland
381                 1011     38.8430      -89.1420     Fayette       Unnamed W etland
382                 1011     38.8460      -89.1420     Fayette       Unnamed W etland
383   79          1011.5     38.8360      -89.1330     Fayette       Tributary to Steve Creek
    PC N
                M ile       L ongitnde     L atitnde       Connty                          W OUS
384 A rea
385 State of Illinois - St. Louis D istrict cont.
386               1011.5     38.8340       -89.1300    Fayette       Unnamed W etland
      80
387               1011.5     38.8340       -89.1300    Fayette       Steve Creek
388 81            1012.5     38.8230       -89.1220    Marion        Flat Creek
389               1012.5     38.8200       -89.1220    Marion        Unnamed W etland
      82
390               1012.5     38.8200       -89.1220    Marion        Tributary to Flat Creek
391                 1015     38.7935       -89.0972    Marion        Tributary to North Fork Kaskaskia River
      83
392                 1015     38.7938       -89.0978    Marion        Tributary to North Fork Kaskaskia River
393                 1015     38.7909       -89.0923    Marion        Tributary to North Fork Kaskaskia River
394 84            1015.5     38.7903       -89.0910    Marion        Unnamed W etland
395               1015.5     38.7909       -89.0923    Marion        Unnamed W etland
396               1016.5     38.7850       -89.0740    Marion        Tributary to North Fork Kaskaskia River
397   85          1016.5     38.7850       -89.0740    Marion        Unnamed W etland
398               1016.5     38.7850       -89.0740    Marion        Unnamed W etland
399               1017.5     38.7800       -89.0650    Marion        Unnamed W etland
      86
400               1017.5     38.7800       -89.0650    Marion        North Fork Kaskaskia River




                                                                                                                                                    USAGE DAPL0069787
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EXHIBIT PP
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From:     "Ames. Joel Q NWQ" <NWQ>
To:       "CRST Chairman Frazier" <haroldcfrazier@yahoo.com>
CC:
Date:     3/7/2016 9:41:40 AM
Subject: RE: Phone Call

Hello Chairman,
I hope all is going well for you. Are you free to speak this week, what would be a good time to reach you. Thanks in advance            Joel




— Original Message—
From: Ames, Joel O NWQ
Sent: Wednesday, March 02, 2016 7:54 AM
To: 'CRST Chairman Frazier'
Subject: RE: Phone Call
Importance: High

Chairman,
Will you have some time to talk today, if so, what is the best time to reach you?           Joel



— Original Message—
From: Ames, Joel O NWQ
Sent: Friday, February 26, 2016 7:38 AM
To: 'CRST Chairman Frazier'
Subject: FW: Phone Call

Hello Chairman,
I was wondering if you might have some time to chat this morning. I'm in the office until 1100 today, then traveling the afternoon. If there is a good
time to speak please let me know. Thanks in advance        Joel




                                                                                                                                      USAGE DAPL0066310
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— Original Message—
From: Ames, Joel O NWQ
Sent: Tuesday, February 23, 2016 11:27 AM
To: 'CRST Chairman Frazier'
Subject: RE: Phone Call

Chairman,
Are you available to speak sometime today. I tried calling you a while ago          Joel



— Original Message—
From: Ames, Joel C NWQ
Sent: Monday, February 22, 2016 7:17 AM
To: CRST Chairman Frazier
Subject: Phone Call

Hello Chairman,
I hope all is going well for you. What is a good time to reach you today? I know we have been playing phone tag for a bit   Joel



Tribal Liaison
USAGE Omaha District
 1616 Capitol Ave, Suite 9000
Omaha, NE 68102-4901
Voicemail (402) 995-2909
Fax (402) 995-2013
joel.o.ames@usace.army.mil

http://www.nwo.usace.army.mil/About/TribalNations.aspx

Facebook: www.facebook.com/OmahaUSACE
Google: www.glpl.us/CmahaUSACE
Twitter: www.twitter.com/OmahaUSACE




                                                                                                                                   USAGE DAPL0066311
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EXHIBIT QQ
                                         Case 1:16-cv-01534-JEB Document 185-1 Filed 03/23/17 Page 587 of 607

From:    "Ames. Joel Q NWQ" <NWQ>
To:      Janis
         "Larrv D NWQ:" <Price>
         "Julie A" <NWQ>
CC:
Date:    5/9/2016 11:25:48 AM
Subject: CRST - DAPL

Larry/Julie,
I forgot to tell you earlier, when we were up meeting with the SRST the past Friday, I had an opportunity to speak with Ryman Le Beau (CRST V-
Chairman). During the conversation I told him that we had been attempting to reach the Chairman and asked that he let him know we are still
willing to meet. Not sure if he passed that on but did want to let you know       Joel




Tribal Liaison
USACE Omaha District
 1616 Capitol Ave, Suite 9000
Omaha, NE 68102-4901
Voicemail (402) 995-2909
Fax (402) 995-2013
joel.o.ames@usace.army.mil

http://www.nwo.usace.army.mil/About/TribalNations.aspx

Facebook: www.facebook.com/OmahaUSACE
Google: www.glpl.us/OmahaUSACE
Twitter: www.twitter.com/OmahaUSACE




                                                                                                                                USAGE DAPL0064289
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EXHIBIT RR
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                               DEPARTMENT OF THE ARMY
                              CORPS OF ENGINEERS, OMAHA DISTRICT
                                     1616 CAPITOL AVENUE
                                     OMAHA NE 68102-4901

                                     December 4, 2013

Planning, Programs, and Project Management Division


«Prefix» «FirstMiddle_Name» «Last_Name», «Suffix»«Title»
«Organization»
«Address1»
«Address2»
«City», «State» «Zip»

Dear «Salutation» «Last_Name»:

  An environmental assessment has been prepared by the U.S. Army Corps of
Engineers' Omaha District {Corps) to evaluate potential environmental impacts from
construction and operation of a crude oil pipeline across private lands encumbered by
federal flowage easements and land owned by the federal government under the
management by the US Army Corps of Engineers.

   Dakota Access, LLC proposes to construct and operate the Dakota Access Pipeline
Project (Project). The proposed Project would connect the Bakken and Three Forks
crude oil production areas in North Dakota to existing infrastructure in Illinois. In North
Dakota, the Project crosses Corps federal flowage easements at the Missouri River
upstream of Lake Sakakawea in Williams County and Corps managed federal land at
Lake Oahe in Morton and Emmons counties. The pipeline is 24 inches in diameter
where it crosses approximately 2.83 miles of the flowage easements at the Missouri
River and is 30 inches in diameter where it crosses approximately 0.21 miles at Lake
Oahe. The applicant intends to horizontally directionally drill beneath both waterbody
crossings. General information about the project supplied by the applicant is located
on-line at http://www.daplpiDelinefacts.com/.

  The Omaha District is seeking Tribal and public comments on the environmental
assessment for these two project areas. Comments must be received by January 7,
2016 and can be provided to:

                      U.S. Army Corps of Engineers, Omaha District;
                                  Attn: John Shelman,
                             CENWO-PIVl-AC\402-995-2708
                                  1616 Capitol Avenue
                                   Omaha, NE 68102
                          iohnathan.a.shelman@usace.armv.mil




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                                                                              USAGE DAPL0067166
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                                         -2 -




   A hard copy can be request from Mr. Shelman, however copies will be available at
the following public libraries:

Bismarck Public Library   Williston Community Library      Rawlins Municipal Library
515 N. Fifth Street       1302 Davidson Dr.                1000 East Church Street
Bismarck, ND 58501        Williston, ND 58801              Pierre, SO 57501

   W e appreciate your cooperation in the review of this Environmental Assessment. We
look forward to finalizing this portion of the Dakota Access Pipeline Project.

                                     Sincerely,




                                      Eric A. Laux
                                      Chief, Environmental Resources and Missouri
                                       River Recovery Program Plan Formulation Section




                                                                         USACE DAPL0067167
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Copy Furnished; (Electronic Distribution)

CENWO-PM (Amy McClean)
CENWO-PM^ AC (Eric Laux)
CENWO-PM-AC (Matthew Vandenberg)
CENWO-OD-TN (Jolene Hulsing)
CENWO-OD-TN (Chris Whiehl)
CENWO-OD-T (Larry Janis)
CENWO-D (Kathryn Schenk)
CENWO^OD-FR (Cody Wilson)
CENWO^OD-FR (Tom Curran)




                                                                USACE DAPL0067168
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EXHIBIT SS
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                               DEPARTMENT OF THE ARMY
                              CORPS OF ENGINEERS, OMAHA DISTRICT
                                     1616 CAPITOL AVENUE
                                     OMAHA NE 68102-4901




                                     February 17, 2015


Mr. Steve Vance
Cheyenne River Sioux Tribe, THRO
PO Box 590
Eagle Butte, SD 57625

Dear Mr. Vance,


   The U.S. Army Corps of Engineers (USACE) is currently evaluating pre-construction
notifications (PCN’s) from Dakota Access Pipeline Project (DAPL) consultants for
portions of the overall pipeline project that required submittal of a notification for work in
waters of the United States, in accordance with Section 10 of the Rivers and Harbors
Act (33 U.S.C. 401 et seq.) and Section 404 of the Clean W ater Act (33 U.S.C. 1344).
DAPL is an approximate 1,100-mile, 30-inch diameter, proposed crude oil pipeline,
which would extend from the Bakken production area near Stanley, North Dakota
through South Dakota and Iowa to a delivery point at Patoka, Illinois, thus affecting
three Corps Districts (Omaha, Rock Island, St. Louis). To date, USACE has received
55-PCN’s. The location of the PCN areas is enclosed.

  The USACE permitting process is the only Federal action associated with the project
and therefore USACE is solely responsible for conducting consultation with interested
Tribes in accordance with Section 106 of the National Historic Preservation Act. The
purpose of this letter is to initiate Section 106 consultation and review, determine your
interest in consulting on this undertaking, and to gather information that will assist the
Corps in identifying historic properties.

   Please note the Corps is neither funding nor constructing the proposed pipeline and
would have permitting authority over only a very small percentage of the overall 1,100-
mile pipeline project. The majority of the work in association with construction of the
pipeline will occur in uplands and not waters of the United States. Navigable waters
crossings include the Missouri, James, Big Sioux, Des Moines, Mississippi, and Illinois
rivers.

    Our regulations define the extent of the federal action as the “permit area” (33 CFR
Part 325, Appendix C). This definition requires some interpretation but generally for
pipelines it includes waters of the U.S. and adjacent upland areas that are dependent
on the location of the crossing. The project proponent is conducting Class III surveys
for cultural resources along the route. Proper identification of all historic properties,
including sites of religious and cultural significance, or traditional cultural properties
(TCP), in the permit area is an essential element of those surveys.




                                                                                USACE DAPL0070663
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    Please let us know if you would like to consult on this undertaking and if you have
any information that will assist us in identifying historic properties. We would like to
know if you have any knowledge or concerns regarding cultural resources, sites of
religious importance, or TCPs you would like the Corps to consider. The Corps will treat
any information provided with the greatest confidentiality. We request your comments
prior to March 30, 2015, to help facilitate a timely Section 106 review.

   Enclosed you will find the current proposed alignment provided by the applicant.
Additional information about the project can be obtained at http://www.enerqvtransfer
.com/ops copp.aspx. If you are interested in participating in coordination for this
proposed project, please contact Mr. Joel Ames, Tribal Liaison, by email at
ioel.G.ames@usace.armv.mil or Ms. Devetta Hill, Field Support Section, at
devetta.a.hill@usace.armv.mil or by phone at (402) 995-2462.

   Thank you for participating in this early consultation effort concerning the Dakota
Access Pipeline Project. We look forward to future consultation after surveys are
completed. Please contact me at Martha.S.Chieplv@usace.armv.mil or by calling (402)
995-2451 if you have any questions.

                                        Sincerely,




                                        Martha S. Chieply
                                        Chief, Regulatory Branch
                                        Operations Division

Enclosures




                                                                          USACE DAPL0070664
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EXHIBIT TT
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From;              Breckenridge, Jeff L NWO
To:                Hill. Devetta A NWO: Ames. Joel 0 NWO
Cc:                Lawrence. Karen L NWO: Renschler. Jason J NWO: Harnois. Richard D NWO
Subject;           RE: DAPL (UNCLASSIFIED)
Date:              Monday, March 23, 2015 10:25:00 AM




Classification: UNCLASSIFIED
Caveats: NONE

All,
1 talked to Steve Vance this morning. Below is a summary of his comments.
1. The Cheyenne River Sioux Tribe (CRST) is requesting formal Tribal Consultation.
2. CRST wants to be involved in the Section 106 process (Consultation, Identification, Evaluation, &
Determination). They want to be involved in the scoping and review of Level 111 Cultural Surveys, etc.
3. He would like to review any EA's/NEPA documentation for the project
4. 1 tried to explain the Corps limited involvement with the entire pipeline route. He felt that they could work with
the SHPOs to review the entire route.

Steve was on his way to Minneapolis for a cultural review of another pipeline coming out of Canada through
Minnesota and wanted to make sure his comments got to us before the March 30th deadline.

Jeffrey L. Breckenridge, P.E.
Regulatory Project Manager
South Dakota Regulatory Office



    Original Message-----
From: Hill, Devetta A NWO
Sent: Thursday, March 19, 2015 1:26 PM
To: Breckenridge, Jeff L NWO; Ames, Joel O NWO
Cc: Lawrence, Karen L NWO
Subject: DAPL (UNCLASSIFIED)

Classification: UNCLASSIFIED
Caveats: NONE

All,

1 got a call today from Steve Vance, the THPO for the Cheyenne River Sioux Tribe. He received the letter and is
interested in commenting on the project. He said he could be reached at 605.200.0650.

Thanks

Devetta Hill
U.S. Army Corps of Engineers
Omaha District
1616 Capitol Avenue
Omaha, NE 68102-4901
402.995.2462

Just because the monkey is off your back doesn't mean the circus has left town.




Classification: UNCLASSIFIED




                                                                                                     USAGE DAPL0070574
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Caveats: NONE




Classification: UNCLASSIFIED
Caveats: NONE




                                                                USAGE DAPL0070575
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EXHIBIT UU
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              Experience List – Greater than 7,000 feet



Date              Utility                  Prime Contractor              Diameter of Bore        Length                   Location

       ENERGY TRANSFER COMPANY                                                                                    MISSISSIPPI RIVER
2016                                      PRECISION PIPELINE                30" STEEL            7,282'
                 (OIL)                                                                                        SANDUSKY, IA & NAUVOO, IL

                                         MICHELS D IRECTIONAL                                                  LAKE SAKAKAWEA - SOUTH
2016   PARADIGM MIDSTREAM (GAS)                                             16" STEEL            11,397'
                                              CROSSINGS                                                             NEW TOWN, ND

                                         MICHELS DIRECTIONAL                                                  LAKE SAKAKAWEA - NORTH
2016   PARADIGM MIDSTREAM (OIL)                                             16" STEEL            11,229'
                                              CROSSINGS                                                            NEW TOWN, ND
                                                                                                                  ATHABASCA RIVER
2016       TRANSCANADA (OIL)                MICHELS CANADA                  12" STEEL             7,228'
                                                                                                            FORT MCKAY, ALBERTA, CANADA
       MARTIN OPERATING PARTNERS      EMS (ENERGY MAINTENANCE                                               UNION CANAL & MARTIN BARGE
2015                                                                        12" STEEL            11,548'
                 (GAS)                        SERVICES)                                                         CANAL BEAUMONT, TX
                                                                                                                 ATHABASCA RIVER
2015      TRANSCANADA (OIL)                MICHELS CANADA                   42" STEEL            7,205'
                                                                                                            FORT MCMURRAY, AB, CANADA
                                                                                                                HOUSTON SHIP CHANNEL
2015 ENTERPRISE PRODUCTS PIPELINE               WILLBROS                    24" STEEL             7,432'
            COMPANY (GAS)                                                                                        MORGAN'S POINT, TX

         MAGELLAN MIDSTREAM                                                                                 HOLLAND BOTTOMS WETLANDS
2015                                       SOUTHERN PIPELINE                12" STEEL            11,563'
          PARTNERS, L.P. (OIL)                                                                                   JACKSONVILLE, AR

                                                                                                                HOUSTON SHIP CHANNEL
2015         PHILLIPS 66 (OIL)            TROY CONSTRUCTION                 18" STEEL            12,459'
                                                                                                                    BAYTOWN, TX
                                         MICHELS DIRECTIONAL                                                            MP 49.3
2014         PHILLIPS 66 (OIL)                                               8" STEEL             7,321'
                                              CROSSINGS                                                              BILLINGS, MT
          ENBRIDGE ENERGY
                                                                                                             MISSISSIPPI RIVER & LEVEES
2014   FLANAGAN SOUTH PIPELINE             MICHELS PIPELINE                 36" STEEL            9,040'
                                                                                                                   QUINCY, IL/MO
                (OIL)




           Bold print denotes crude oil pipelines that (1) are of at least the same circumference as the Lake Oahe pipeline, (2) run beneath
           freshwater bodies, and (3) are longer than the HDD portion of the Lake Oahe crossing.
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                                                                                                                   WATER TO WATER E-F
2013              SCANA                           UTEC                       8" STEEL            7,177'
                                                                                                                    CHARLESTON, SC
                                                                                                                    LAND TO WATER D-E
2013              SCANA                           UTEC                       8" STEEL            7,304'
                                                                                                                     CHARLESTON, SC

2013   TEXAS EASTERN TRANSMISSION         MICHELS DIRECTIONAL               30" STEEL            8,101'               KILL VAN KULL
                  (GAS)                        CROSSINGS                                                             BERGEN PT. NJ/NY
                                                                                                                     POTOMAC RIVER
2012      AT&T COMMUNICATIONS           MICHELS COMMUNICATION                8" STEEL            10,053'
                                                                                                                   FORT BELVOR, VA/MD

2012   CONOCOPHILLIPS PIPELINE (OIL)    PILCHUCK CONTRACTORS                 8" STEEL            12,902'                 MP66
                                                                                                              BIG HORN COUNTY, WYOLA, MT
          ENTERPRISE PRODUCTS             MICHELS DIRECTIONAL                                                         MISSOURI RIVER
2011                                                                         8" STEEL            7,020'
            OPERATING (GAS)                    CROSSINGS                                                               DECATUR, NE

          ENTERPRISE PRODUCTS             MICHELS DIRECTIONAL                                                         MISSOURI RIVER
2011                                                                         8" STEEL            7,002'
          OPERATING (NITROGEN)                 CROSSINGS                                                               DECATUR, NE

          ENTERPRISE PRODUCTS             MICHELS DIRECTIONAL                                                         MISSOURI RIVER
2011                                                                         8" STEEL            7,019'
          OPERATING (AMMONIA)                  CROSSINGS                                                               DECATUR, NE

       CAROLINA GAS TRANSMISSION              CAROLINA GAS                                                             COOPER RIVER
2010                                                                        16" STEEL            9,931'
                 (GAS)                        TRANSMISSION                                                            CHARLESTON, SC

         OKALOOSA GAS DISTRICT            PATTERSON & WILDER                                                         WALTON COUNTY
2006         FLORIDA (GAS)                   CONSTRUCTION                   10" STEEL            8,400'               OKALOOSA, FL

                                                                                                                  ST. LAWRENCE SEAWAY
2005     GAZ METROPOLITAN (GAS)             MICHELS CANADA                  20" STEEL            7,455'
                                                                                                             TROIS-RIVIERIES QUEBEC, CANADA

        SOUTH CAROLINA GAS AND            MICHELS DIRECTIONAL                                                          COOPER RIVER
2004       ELECTRIC COMPANY                    CROSSINGS                     8" STEEL            7,074'               CHARLESTON, SC

        SOUTH CAROLINA GAS AND           JACOBS CONSTRUCTION                                                           COOPER RIVER
2004       ELECTRIC COMPANY                    SERVICES                      8" STEEL            7,025'               CHARLESTON, SC




           Bold print denotes crude oil pipelines that (1) are of at least the same circumference as the Lake Oahe pipeline, (2) run beneath
           freshwater bodies, and (3) are longer than the HDD portion of the Lake Oahe crossing.
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EXHIBIT VV
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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
STANDING ROCK SIOUX TRIBE,          )
                                    )   Case No. 1:16-cv-1534-JEB
                        Plaintiff,  )
v.                                  )
                                    )
U.S. ARMY CORPS OF ENGINEERS, )
                                    )
                        Defendant. )
____________________________________)


                         DECLARATION OF JONATHAN SHELMAN



       In accordance with the provisions of 28 U.S.C. 1746, I, Johnathan Shelman, declare that

the following statements are true and correct to the best of my knowledge, information, and

belief and are based upon my personal knowledge and/or my review of information contained in

the records of the United States Army Corps of Engineers (“Corps”) or supplied by current

employees:

   1. I am currently employed as the Environmental Resource Specialist for the United States

       Army Corps of Engineers (USACE), Omaha District (Omaha District). I have served in

       this capacity since 2009. Prior to this assignment, I was an environmental scientist for

       Jacobson Helgoth Consultants, an environmental engineering consulting firm in Omaha,

       Nebraska.

   2. I graduated from the University of Nebraska at Omaha in 2003 with an environmental

       science degree.

   3. As part of my normal duties as an Environmental Resource Specialist, I am responsible

       for ensuring the Omaha District is compliant with NEPA and other environmental

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   regulations. Specifically, in preparing or overseeing the preparation of NEPA documents,

   I am responsible for: determining the scope of the project, developing alternatives that

   meet the purpose and need of the project, screening alternatives to determine which

   alternatives can be logically excluded or which ones should be carried through the

   environmental consequences analysis, completing the affected environment,

   environmental and cumulative impact analysis, assuring that all federal, state, local

   agencies and Tribal entities are solicited for their opinion on the preferred and other

   alternatives, revising the document to address any concerns, and finally assessing

   whether significant impacts to the human environment would occur as a result of a

   federal decision that would warrant the preparation of an Environmental Impact

   Statement.

4. I oversee NEPA compliance for the Dakota Access Pipeline (DAPL) project. Under

   careful Corps oversight, an Environmental Assessment was prepared by a third party

   consulting firm, Perennial Environmental. The EA analyzed the effects of activities

   required for the construction of the DAPL on federal lands with regards to potential

   impacts to Corps Civil Works projects, specifically on lands encumbered by federal

   flowage easements upstream of Lake Sakakawea and through federally owned property at

   Lake Oahe. The EA was required to support the 33 U.S.C. § 408 permission to authorize

   the pipeline to cross over real property interests acquired and managed by the Corps for

   the Garrison Dam/Lake Sakakawea and Oahe Dam/Lake Oahe flood control and

   navigation projects. The EA analyzes “whether the placement of the pipeline on federal

   real property interests is injurious to the public interest or will impair the usefulness of

   the federal projects.” See EA page 1.



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5. The preparation of the EA was completed in accordance with 40 CFR § 1506.5(a)-(b),

   which authorizes the Corps to allow an applicant to prepare an EA. Although an

   applicant prepares the EA, the Corps is ultimately responsible for evaluating the

   environmental issues and the scope of the content of the EA.

6. I was a member of the project delivery team that independently evaluated and verified the

   information and analysis undertaken in the EA. The Corps has taken full responsibility

   for the scope and content of the EA.

7. Scoping letters were sent March 30, 2015 to numerous federal, state and local agencies

   including many non-government entities. Similar letters were sent to over 20 tribes on

   October 24, 2015 in accordance with the Programmatic Agreement for the Operation and

   Management of the Missouri River Main Stem System for Compliance with the National

   Historic Preservation Act, dated March 19, 2004 (Programmatic Agreement or PA) the

   Corps has with Tribes within the Missouri River basin. Although the Standing Rock

   Sioux Tribe is not a signatory to this agreement, Richard Harnois, Senior Field

   Archaeologist for the USACE, Omaha District, Oahe Project, sent a letter to the SRST on

   the same date. This scoping letter described the two proposed crossings within the

   flowage easements upstream of Lake Sakakawea and through federal land at Lake Oahe

   and solicited comments that would be considered in the EA. All comments received

   during scoping were addressed in the EA.

8. The draft EA was released for public review on December 8, 2015. It was made

   available on the Corps website and at the Bismarck, ND, Williston, ND and Pierre, SD

   public libraries with a request for comments to be received by January 8, 2016.

   Notifications were mailed to all signatories of the PA, which includes the Cheyenne



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   River Sioux Tribe, and the Standing Rock Sioux Tribes who are, again, not included in

   the PA. Comments were received from several Tribal Nations near the beginning of

   January 2016, including from Standing Rock Sioux Tribe, Three Affiliated Tribes and the

   Northern Cheyenne Tribe.

9. Appendix J of the Final EA synopsizes the comments received on the draft EA and shows

   how and where they were addressed in the EA. The Standing Rock Sioux Tribe is listed

   on the Index of Commenters as Commenter #15. SRST comments are addressed on pages

   7-10 and pages 15-19 of the Summary of Comments Received.

10. Tribal comments were carefully considered and the draft EA was substantially modified

   in several places in response to the comments received as documented in the final EA

   released in July 2016. For example, in response to several comments from tribal

   members of the Fort Berthold Reservation expressing concern regarding a response plan

   in the event of a release, the Corps added additional information on how DAPL would

   respond to an inadvertent release to Section 3.2.1.2 and Section 3.11. In addition, the

   Corps added the Draft Facility Response Plan as Appendix L to the EA which is

   described in more detail in paragraph 13. Impacts from winter/ice conditions was added

   to Section 3.2.1.2 in response to another comment from a member of the Fort Berthold

   Reservation.

11. The draft EA did not include a discussion of the SRST reservation because the crossing

   was outside the reservation boundaries. In response to comments submitted by the

   SRST, the final EA contains a substantive discussion of the reservation, (see Section

   2.3.1) tribal water intakes (see added text at Section 3.2.1.2 describing potential risk and

   mitigation measures associated with drinking water intakes downstream of the Missouri



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   River and Lake Oahe crossings) and Environmental Justice Impacts (see added text in

   Section 3.9.2 discussing potentially affected Tribal Nations). Section 3.7 of the EA was

   also revised to include a discussion of vibration associated with construction equipment

   on cultural resources in response to a comment submitted by the SRST.

12. A more robust analysis of alternative route alignments was also completed and calculated

   the amount of undisturbed ground and environmental resources that would be impacted

   by not collocating the pipeline with existing linear infrastructure (See Section 2.1.4 and

   Table 2-1 in the EA).

13. In addition, the Corps required Dakota Access to provide additional documents during

   the Corps’ review of the project in response to concerns about the safety of the pipeline

   and the possibility of a leak contaminating the Missouri River and the SRST’s water

   supply. These documents included a Facility Response Plan (Appendix L) which outlines

   spill detection; lists parties to be notified (including the SRST); describes activities

   associated with a spill response, containment and recovery of spill methods; training

   procedures; worst-case discharge maps; and associated reference materials. Dakota

   Access also provided an Unanticipated Discoveries Plan (Appendix F) and an Emergency

   Response Plan. These documents became conditions of the Corps outgrants to assure that

   Dakota Access safely constructs, operates and maintains the DAPL project to protect

   Lakes Sakakawea and Oahe, the quality of water in the Missouri River and the areas

   surrounding and downstream of the crossings.




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   14. Following the revision of the EA, the project delivery team concluded that there would

       not be significant impacts to the human environment as a result of modifying federal

       flowage easements or allowing an easement on federal property. The Omaha District

       Commander, Colonel John Henderson, was briefed by multiple branch chiefs within the

       Omaha District and decided that an Environmental Impact Statement was not required

       and signed a Mitigated Finding of No Significant Impact (FONSI). The FONSI also

       reiterated the conditions of the easements (See pages 3-5 of the FONSI), which focused

       on the mitigation measures the Corps relied on in rendering the impact determination.




In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.



              "VHVTU
Executed on _______________________________.
                     Digitally signed by

SHELMAN.JOHNAT SHELMAN.JOHNATHAN.A.1103408101
                 DN: c=US, o=U.S. Government, ou=DoD,

HAN.A.1103408101 ou=PKI, ou=USA,
                 cn=SHELMAN.JOHNATHAN.A.1103408101

__________________________________, in Omaha, Nebraska.
                 Date: 2016.08.18 15:30:07 -05'00'



Johnathan Shelman




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